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            ORAL ARGUMENT NOT YET SCHEDULED
              No. 23-1069 (consolidated with No. 23-1071)



         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


                        HEALTHY GULF, et al.,
                            Petitioners,

                                   v.

         FEDERAL ENERGY REGULATORY COMMISSION,
                       Respondent,

                     COMMONWEALTH LNG, LLC,
                        Respondent-Intervenor.



                On Petition for Review of Orders of the
                Federal Energy Regulatory Commission


                         JOINT APPENDIX

                           VOLUME I OF I




                 Counsel listed inside front brief cover

                        Dated October 20, 2023
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                                        181 FERC ¶ 61,143
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION


         Before Commissioners: Richard Glick, Chairman;
                               James P. Danly, Allison Clements,
                               Mark C. Christie, and Willie L. Phillips.


         Commonwealth LNG, LLC                                         Docket Nos. CP19-502-000
                                                                                   CP19-502-001

                       ORDER GRANTING AUTHORIZATION UNDER SECTION 3
                                 OF THE NATURAL GAS ACT

                                          (Issued November 17, 2022)

        1.     On August 20, 2019, as amended July 8, 2021, Commonwealth LNG, LLC
        (Commonwealth) filed an application under section 3 of the Natural Gas Act (NGA)1 and
        Part 153 of the Commission’s regulations2 for authorization to site, construct, and
        operate a natural gas liquefaction and export facility, including an NGA section 3 natural
        gas pipeline, in Cameron Parish, Louisiana (Commonwealth LNG Project). The
        Commonwealth LNG Project will be located on the west side of the Calcasieu Ship
        Channel, near the entrance to the Gulf of Mexico. For the reasons discussed in this order,
        we will authorize Commonwealth’s proposed project, subject to the conditions discussed
        and attached herein.

        I.     Background and Proposal

        2.    Commonwealth is a Texas limited liability company, with its primary place of
        business located in Houston, Texas, and is authorized to do business in the State of
        Louisiana. Commonwealth is a wholly owned subsidiary of Commonwealth Projects,
        LLC, which is in turn wholly owned by a private individual, Paul Varello.3

        3.      The proposed Commonwealth LNG Project consists of: six liquefaction trains;
        six liquified natural gas (LNG) storage tanks; one marine loading berth; a 3.04-mile-long,

               1
                   15 U.S.C. § 717b.
               2
                   18 C.F.R. pt. 153 (2021).
               3
                   Application at 4; id. at Ex. B.



                                                                                          JA001
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        42-inch-diameter pipeline; and other process and support facilities. Specifically,
        Commonwealth proposes to construct the following:

                     Six 1.4 million metric tonnes per annum (MTPA) liquefaction trains, each
                      with an approximately 60-megawatt gas turbine with mechanical drive;

                     Six 50,000 cubic meter (m3) (net capacity equivalent to approximately
                      1.06 billion cubic feet (Bcf)) full-containment LNG storage tanks;4

                     A single berthing dock with the capacity to service vessels from 10,000 m3
                      to 216,000 m3;

                     A potable water supply line from existing municipal water systems;

                     A 180-megawatt simple cycle electric power generator for the LNG Facility
                      auxiliary loads, including emergency and back-up systems;

                     Various operational buildings and structures;

                     A 3.04-mile-long, 42-inch-diameter natural gas pipeline with tie-ins
                      (including metering and emergency shut-off systems) at the existing
                      12- and 20-inch-diameter Bridgeline pipelines and the 16-inch-diameter
                      Kinetica pipeline; and

                     An interconnection to the LNG terminal, including a pig receiver, separator,
                      liquid storage facility, custody transfer meters, pressure regulators,
                      emergency shutdown valves, and gas analyzers.

         4.     Each liquefaction train has a design production capacity of approximately 65.1 Bcf
         per year (1.4 MTPA) for a total design export capacity of 8.4 MTPA. However, under
         optimal operating conditions, the project will have a peak liquefaction capacity of up to
         441.4 Bcf per year (approximately 9.5 MTPA). The 3.04-mile pipeline will be capable of


               4
                 In the 2021 amendment, Commonwealth proposed to modify the LNG storage
        tank design from an inner and outer tank fabricated from nine percent nickel steel to a nine
        percent nickel steel inner tank and a concrete outer tank with carbon steel liner in order to
        bring the design into compliance with all appropriate code requirements and preclude the
        need for a Special Permit from the Department of Transportation’s (DOT) Pipeline and
        Hazardous Materials Safety Administration (PHMSA). Amendment at 3-4. The
        amendment also proposes to increase the net capacity of the LNG storage tanks from
        40,000 m3 to 50,000 m3, for a total working storage volume of 300,000 m3. Id. at 4.




                                                                                             JA002
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        delivering up to 1.44 Bcf per day (Bcf/d) of natural gas to support the peak liquefaction
        capacity.

        5.      Commonwealth states that the purpose of the proposed project is to liquefy and
        export to foreign markets domestically produced natural gas sourced from the existing
        interstate and intrastate pipeline systems of Kinetica Partners, LLC (Kinetica) and EnLink
        Bridgeline Holdings LP (Bridgeline), respectively, in southwest Louisiana.

        6.     On April 17, 2020, the Department of Energy’s Office of Fossil Energy (DOE/FE)
        authorized Commonwealth to export 9.5 MTPA (1.21 Bcf/d) of LNG to nations with
        which the United States has a Free Trade Agreement (FTA) for a 25-year term.5
        Commonwealth’s application to export up to 9.5 MTPA of LNG to non-FTA nations is
        pending with DOE/FE.6

        II.    Notice, Interventions, Protests, and Comments

        7.     Notice of Commonwealth’s application was published in the Federal Register on
        September 9, 2019, with motions to intervene due by September 24, 2019.7 Notice of
        Commonwealth’s amendment to the 2019 application was published in the Federal
        Register on July 20, 2021, with motions to intervene due by August 3, 2021.8 Cameron
        LNG, LLC and Public Citizen, Inc, filed timely, unopposed motions to intervene in
        response to the notices of the 2019 application and the 2021 amendment,




               5
                 See Commonwealth LNG, LLC, FE Docket No. 19-134-LNG, Order No. 4521
        (Apr. 17, 2020) (Order No. 4521) (authorizing exports for a 25-year term, beginning on
        the earlier of the date of first exportation or seven years from the date of DOE/FE’s
        authorization).
               6
                 On September 11, 2020, Commonwealth requested to amend its pending
        application to the DOE/FE to request an export term to non-FTA nations through
        December 31, 2050, instead of the originally requested 20-year term. See Commonwealth
        LNG, LLC, Application to Amend Requested Export Term in Pending Long-Term
        Application Through December 31, 2050, FE Docket No. 19-134-LNG (filed Sept. 11,
        2020). Commonwealth states that these volumes are not additive to the approved export
        volumes in Order No. 4521.
               7
                   84 Fed. Reg. 47,284 (Sept. 24, 2019).
               8
                   86 Fed. Reg. 38,337 (July 20, 2021).




                                                                                           JA003
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         respectively.9 On March 5, 2020, Venture Global Calcasieu Pass, LLC, filed an opposed
         motion to intervene out of time. This late intervention was granted on May 8, 2020.10 On
         August 3, 2021, Center for Biological Diversity, Healthy Gulf, Louisiana Bucket Brigade,
         Louisiana Environmental Action Network, National Audubon Society, Port Arthur
         Community Action Network, Restore Explicit Symmetry To Our Ravaged Earth, Sierra
         Club, and Turtle Island Restoration Network filed a joint timely motion to intervene,
         which was opposed. This intervention was granted on October 12, 2021.11

         8.     Protests were filed by National Audubon Society and, jointly, by Center for
         Biological Diversity, Healthy Gulf, Louisiana Environmental Action Network, Louisiana
         Bucket Brigade, Port Arthur Community Action Network, Restore Explicit Symmetry To
         Our Ravaged Earth, Sierra Club, and Turtle Island Restoration Network (collectively, the
         Environmental Coalition).12 On August 18, 2021, Commonwealth filed an answer to the
         comments and protests by the National Audubon Society and the Environmental
         Coalition. Although the Commission’s Rules of Practice and Procedure do not permit
         answers to protests,13 we will accept the answers herein because they clarify the concerns
         raised and provide information that has assisted in our decision making. In addition, we
         received a number of comments in support of the project, citing an increase in job
         opportunities, local economic investment, and minimization of environmental impacts.
         Numerous individuals and entities also filed comments expressing concerns about the

               9
                 Timely, unopposed motions to intervene are automatically granted pursuant to
         Rule 214 of the Commission’s Rules of Practice and Procedure. 18 C.F.R. § 385.214
         (2021).
               10
                    May 8, 2020 Notice Granting Late Intervention.
               11
                    Oct. 12, 2021 Notice Granting Intervention.
               12
                  Two slightly different but overlapping coalitions of organizations filed further
        comments on October 25, 2021 and May 23, 2022. For ease of reference, we also refer to
        these commenters under the umbrella of the Environmental Coalition. Specific organizations
        are listed at notes 18 & 47, infra. On October 12, 2022, Louisiana Bucket Brigade filed, in
        this and several other Commission gas project dockets, a letter addressed to President Biden
        expressing general opposition to LNG export terminals on environmental, economic, climate,
        and national security grounds and sharing information about its Defend U.S. Consumers
        campaign, which Louisiana Bucket Brigade states will increase public awareness about the
        risks associated with continued gas export terminal development. Louisiana Bucket Brigade
        October 12, 2022 Letter at 1-4. The Bucket Brigade’s October 12th letter generally expresses
        the same issues already raised in its joint protest and environmental comments in this
        proceeding.
               13
                    18 C.F.R. § 385.213(a)(2) (2021).




                                                                                           JA004
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        need for and environmental impacts of the project. The protests and comments were
        addressed in the draft Environmental Impact Statement (EIS), and as appropriate, below.

        9.     On May 23, 2022, the Natural Resources Defense Council (NRDC) filed a timely
        motion to intervene and comments pursuant to the Commission’s regulation at section
        380.10(a), which states that “[a]ny person who files a motion to intervene on the basis of a
        draft environmental impact statement will be deemed to have filed a timely motion, in
        accordance with § 385.214, as long as the motion is filed within the comment period for
        the draft environmental impact statement.”14 NRDC’s comments are addressed in the
        final EIS,15 and as appropriate, below.

         III.   Discussion

                A.       Public Interest Standard Under Section 3 of the NGA

        10.    Because the proposed facilities will be used to export natural gas to foreign
        countries, the construction and operation of the proposed facilities and site of their
        location require approval by the Commission under section 3 of the NGA.16 Section 3
        provides that an application shall be approved if the Commission finds the proposal “will
        not be [in]consistent with the public interest,” subject to “such terms and conditions as the
        Commission [may] find necessary or appropriate.”17


                14
                     18 C.F.R. § 380.10(a) (2021).
                15
                     Unless otherwise noted, “EIS” refers to the final EIS.
                16
                  15 U.S.C. § 717b(a). The regulatory functions of NGA section 3 were
        transferred to the Secretary of Energy of the DOE in 1977 pursuant to section 301(b) of
        the Department of Energy Organization Act, Pub. L. No. 95-91, 42 U.S.C. § 7101 et seq.
        The Secretary subsequently delegated to the Commission the authority to approve or
        disapprove the construction and operation of natural gas import and export facilities and
        the site at which such facilities shall be located. The most recent delegation is in DOE
        Delegation Order No, 00-004.00A, effective May 16, 2006. The Commission does not
        authorize importation or exportation of the commodity itself. Rather, applications for
        authorization to import or export natural gas must be submitted to the DOE. See
        EarthReports, Inc. v. FERC, 828 F.3d 949, 952-53 (D.C. Cir. 2016) (detailing how
        regulatory oversight for the export of LNG and supporting facilities is divided between the
        Commission and DOE).
                17
                  15 U.S.C. § 717b(a), (e)(3). For a discussion of the Commission’s authority to
         condition its approvals of LNG facilities under section 3 of the NGA, see, e.g., Distrigas




                                                                                            JA005
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        11.    Commenters state that Commonwealth fails to provide evidence of market need for
        the project, that authorizing additional LNG infrastructure would likely result in an
        overbuild of capacity, and that the project’s contribution to climate change and other
        adverse environmental impacts render it contrary to the public interest.18 The
        Environmental Coalition asserts that the project does not provide meaningful public
        benefit if it merely duplicates capacity that is already provided by other existing projects.19
        Louisiana Bucket Brigade asserts that LNG companies are exploiting Russian hostilities to
        garner support for their proposed LNG projects and that expanding the number of LNG
        terminals poses national security risks.20 Last, the Environmental Coalition argues that the
        Commission cannot simply defer to the DOE’s assessment of the public interest,
        especially since DOE has “disclaimed authority to consider export-induced gas production
        and other effects occurring ‘upstream’ of delivery of LNG to an export carrier” under the
        National Environmental Policy Act (NEPA).21

        12.    Section 3(a) of the NGA provides, in part, that “no person shall export any natural
        gas from the United States to a foreign country or import any natural gas from a foreign
        country without first having secured an order of the Commission authorizing it to do so.”22
        As noted above, in 1977 the Department of Energy Organization Act transferred the
        regulatory functions of section 3 of the NGA to the Secretary of Energy. Subsequently, the
        Secretary of Energy delegated to the Commission authority to “[a]pprove or disapprove the
        construction and operation of particular facilities, the site at which such facilities shall be




        Corp. v. FPC, 495 F.2d 1057, 1063-64 (D.C. Cir.), cert. denied, 419 U.S. 834 (1974);
        Dynegy LNG Prod. Terminal, L.P., 97 FERC ¶ 61,231 (2001).
               18
                 Environmental Coalition August 3, 2021 Protest at 2-3, 6; Center for Biological
        Diversity, Healthy Gulf, John Allaire, Louisiana Environmental Action Network, National
        Audubon Society, PACAN, Scenic Galveston, Inc., Sierra Club, and Turtle Island
        Restoration Network October 25, 2021 Comments at 1, 16.
               19
                Environmental Coalition August 3, 2021 Protest at 2 (citing Env’t Def. Fund v.
        FERC, 2 F.4th 953, 973 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 1668 (2022)).
               20
                    Louisiana Bucket Brigade October 12, 2022 Letter at 1-2.
               21
                 Environmental Coalition August 3, 2021 Protest at 2-3 (citing National
        Environmental Policy Act Implementing Procedures, 85 Fed. Reg. 78,197, 78,198, 78,201
        (Dec. 4, 2020)).
               22
                    15 U.S.C. § 717b(a).




                                                                                              JA006
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        located, and with respect to natural gas that involves the construction of new domestic
        facilities, the place of entry for imports or exit for exports.”23

        13.     However, as we have previously explained,24 the Secretary has not delegated to the
        Commission any authority to approve or disapprove the import or export of the
        commodity itself.25 Therefore, we decline to address commenters’ and protestors’
        economic claims (e.g., those regarding market demand for LNG), which are relevant only
        to the exportation of the commodity of natural gas, which is within DOE’s exclusive
        jurisdiction, and are not implicated by our limited action of reviewing proposed terminal
        sites. The Commission’s authority under NGA section 3 applies “only to the siting and
        the operation of the facilities necessary to accomplish an export[,]”26 while “export
        decisions [are] squarely and exclusively within the [DOE]’s wheelhouse.”27 Similarly,
        issues related to the impacts of natural gas development and production are related to
        DOE’s authorization of the export and not the Commission’s siting of the facilities,28
        notwithstanding DOE’s interpretation of its own obligations under NEPA.

        14.  As the U.S. Court of Appeals for the District of Columbia Circuit has explained, the
        NGA section 3 standard that a proposal “shall” be authorized unless it “will not be




               23
                    DOE Delegation Order No. 00-004.00A.
               24
                 See Alaska Gasline Dev. Corp., 171 FERC ¶ 61,134, at P 15, order on
        reh’g, 172 FERC ¶ 61,214 (2020).
               25
                  See supra note 16; see also Freeport LNG Dev., L.P., 148 FERC ¶ 61,076, reh’g
        denied, 149 FERC ¶ 61,119 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 36
        (D.C. Cir. 2016) (finding that because the DOE, not the Commission, has sole authority to
        license the export of any natural gas through LNG facilities, the Commission is not
        required to address the indirect effects of the anticipated export of natural gas in its NEPA
        analysis); Sabine Pass Liquefaction, LLC, 146 FERC ¶ 61,117, reh’g denied, 148 FERC
        ¶ 61,200 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 59 (D.C. Cir. 2016).
               26
                    Trunkline Gas Co., LLC, 155 FERC ¶ 61,328, at P 18 (2016).
               27
                    Sierra Club v. FERC, 827 F.3d at 46.
               28
                    Id.




                                                                                            JA007
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        consistent with the public interest[,]”29 “sets out a general presumption favoring such
        authorization[s].”30 To overcome this favorable presumption and support denial of an
        NGA section 3 application, there must be an “affirmative showing of inconsistency with
        the public interest.”31 We have reviewed Commonwealth’s application to determine if the
        siting, construction, and operation of its facilities as proposed would not be consistent with
        the public interest.32 Construction of the Commonwealth LNG Project would impact
        approximately 230.8 acres of land (165.8 acres for the terminal and 48.4 acres for the
        pipeline), and operation of the project would continue to impact about 153.0 of those acres
        (152.7 acres for the terminal and 0.3 acres for the pipeline).33 An additional 47 acres of
        open water would be affected by construction and operation of the marine berthing dock
        facilities. After construction, the Commonwealth LNG Project would be on open land
        (89.3 %), developed land (8.2 %), open water (2.3 %), and forested land (0.2 %).34

        15.    Commission staff has prepared a comprehensive EIS thoroughly analyzing all
        environmental impacts properly associated with our action of approving the siting and
        operation of the Commonwealth LNG Project. As discussed below, the EIS finds that,
        although some impacts would be permanent and significant, such as impacts on visual
        resources, most impacts would not be significant or would be reduced to less-than-
        significant levels with the implementation of avoidance, minimization, and mitigation


               29
                   15 U.S.C. § 717b(a). In addition, NGA section 3(c) provides that the exportation
         of gas to FTA nations “shall be deemed to be consistent with the public interest.” Id. §
         717b(c). As noted above, Commonwealth has received authorization to export to FTA
         nations. See supra P 6.
               30
                 EarthReports v. FERC, 828 F.3d at 953 (quoting W. Va. Pub. Servs. Comm’n v.
        U.S. Dep’t of Energy, 681 F.2d 847, 856 (D.C. Cir. 1982)); see also Sierra Club v. U.S.
        Dep’t of Energy, 867 F.3d 189, 203 (D.C. Cir. 2017).
               31
                  Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
         Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d 1105, 1111 (D.C.
         Cir. 1987)).
               32
                  See Nat’l Steel Corp., 45 FERC ¶ 61,100, at 61,332-33 (1988) (observing that
        DOE, “pursuant to its exclusive jurisdiction, has approved the importation with respect to
        every aspect of it except the point of importation” and that the “Commission’s authority in
        this matter is limited to consideration of the place of importation, which necessarily
        includes the technical and environmental aspects of any related facilities”).
               33
                    Final EIS at 2-10, tbl. 2.2-1.
               34
                    See id. at 4-167, tbl. 4.8.1-1.




                                                                                             JA008
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        measures recommended in the EIS35 and adopted by this order. We find that the various
        arguments raised regarding the Commonwealth LNG Project do not amount to an
        affirmative showing of inconsistency with the public interest that is necessary to overcome
        the presumption in section 3 of the NGA.

        16.     In accordance with the Memorandum of Understanding signed on August 31, 2018,
        by the Commission and the Department of Transportation’s (DOT) Pipeline and Hazardous
        Materials Safety Administration (PHMSA),36 PHMSA undertook a review of the proposed
        project’s ability to comply with the federal safety standards under Part 193, Subpart B, of
        Title 49 of the Code of Federal Regulations.37 On August 2, 2022, PHMSA issued a Letter
        of Determination (LOD) indicating that Commonwealth has demonstrated that the siting of
        the proposed Commonwealth LNG Project complies with these federal safety standards.
        The LOD includes six conditions that must be met, four of which overlap with Commission
        staff’s recommended conditions, which conditions are adopted herein in Appendix A.
        Two of the LOD conditions pertain to emergency response planning for hazards that extend
        over a highway that bisects Commonwealth’s property.38 The Commission is responsible
        for review and approval of Emergency Response Plans developed in coordination with
        federal, state, and local emergency response organizations. Accordingly, Environmental
        Condition 39 requires Commonwealth to file for review and written approval by Director
        of OEP Emergency Response Plans and any associated cost sharing plan provisions in
        coordination with federal, state, and local agencies for hazards that may reach State
        Highway 27. Commission staff will coordinate with DOT PHMSA on any overlapping
        conditions; e.g., the emergency response requirements. If the project is subsequently
        modified so that it differs from the details provided in the documentation submitted to
        PHMSA, further review would be conducted by PHMSA.

        17.    Commonwealth will operate its LNG terminal under the terms and conditions
        mutually agreed to by its customers and will solely bear the responsibility for the recovery
        of any costs associated with construction and operation of the terminal and associated

               35
                  As part of its environmental review, staff developed mitigation measures it
        determined would appropriately and reasonably reduce the environmental impacts
        resulting from project construction and operation.
               36
                  Memorandum of Understanding Between the Department of Transportation and
         the Federal Energy Regulatory Commission Regarding Liquefied Natural Gas Facilities
         (Aug. 31, 2018), https//www.ferc.gov/legal/mou/2018/FERC-PHMSA-MOU.pdf.
               37
                    49 C.F.R. pt. 193, subpt. B (2021).
               38
                 Specifically, these LOD provisions call for signage to be added and maintained
        on or near the state highway to aid in evacuation and procedures on coordination with
        local agencies to evacuate persons on the state highway right of way.




                                                                                           JA009
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         facilities. Accordingly, Commonwealth’s proposal does not trigger NGA
         section 3(e)(4).39

         18.    In view of the above, after careful consideration of the entire record of this
         proceeding, including the findings and recommendations of the final EIS, we find that,
         subject to the conditions imposed in this order, Commonwealth’s proposal is not
         inconsistent with the public interest. Therefore, we will grant Commonwealth’s
         application.

                B.       Environmental Analysis

         19.    To satisfy the requirements of NEPA,40 Commission staff evaluated the potential
         environmental impacts of the proposed project in an EIS. The U.S. Army Corps of
         Engineers (COE); U.S. Coast Guard (USCG); U.S. Department of Energy (DOE); DOT’s
         PHMSA; U.S. Fish and Wildlife Service (FWS); National Oceanic and Atmospheric
         Administration’s National Marine Fisheries Service (NMFS); and U.S. Environmental
         Protection Agency (EPA) participated as cooperating agencies, as defined by NEPA.
         Cooperating agencies have jurisdiction by law or special expertise with respect to
         resources potentially affected by a proposal and participate in the NEPA analysis.

         20.     On February 22, 2018, the Commission issued a Notice of Intent (NOI) to Prepare
         an Environmental Impact Statement for the Planned Commonwealth LNG Project,
         Request for Comments on Environmental Issues, and Notice of Public Scoping Session.
         The NOI was issued during the Commission’s pre-filing review process for
         Commonwealth’s project that began on August 15, 2017, in Docket No. PF17-8-000. The
         pre-filing review process provides opportunities for interested stakeholders to become
         involved early in project planning, facilitates interagency cooperation, and assists in the

                39
                     15 U.S.C. § 717b(e)(4) (governing orders for LNG terminal offering open access
         service).
                40
                   42 U.S.C. §§ 4321 et seq. See also 18 C.F.R. pt. 380 (2021) (Commission’s
         regulations implementing NEPA). On July 16, 2020, CEQ issued a final rule updating its
         1978 regulations, Update to the Regulations Implementing the Procedural Provisions of
         the National Environmental Policy Act, 85 Fed. Reg. 43,304 (July 16, 2020), which was
         effective September 14, 2020; however, the NEPA review of this project was in process at
         that time and was prepared pursuant to the 1978 regulations. On April 20, 2022, CEQ
         issued a final rule to amend three provisions of its NEPA regulations which became
         effective on May 20, 2022. National Environmental Policy Act Implementing
         Regulations Revisions, 87 Fed. Reg. 23,453 (Apr. 20, 2022). The April 2022 final rule
         generally restores provisions of the 1978 regulations that were modified in 2020.
         Therefore, the Commonwealth LNG Project EIS is consistent with the April 2022 final
         rule.




                                                                                           JA010
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        identification and resolution of issues prior to a formal application being filed with the
        Commission. The NOI was published in the Federal Register41 and was mailed to project
        stakeholders. FERC staff held a public scoping session in Johnson Bayou, Louisiana on
        March 13, 2018, to receive public comments on the project. The pre-filing process ended
        on August 20, 2019, when Commonwealth filed its application. During the scoping
        periods, we received over 240 comments from landowners; federal, state, and local
        agencies; Native American Tribes; companies and non-governmental organizations; and
        other interested individuals.

        21.    On October 15, 2019, the Commission issued a Notice of Schedule for
        Environmental Review of the Commonwealth LNG Project (NOS). The NOS was
        published in the Federal Register on October 21, 2019.42 The NOS established an
        anticipated issuance date for the final EIS of October 2, 2020.

         22.     On March 16, 2020, the Commission suspended the environmental review schedule
         pending sufficient responses from Commonwealth to Commission staff data requests and
         an official interpretation from PHMSA pertaining to Commonwealth’s proposed LNG
         storage tank design. On June 8, 2021, Commonwealth filed an amendment to its
         application to modify the proposed LNG storage tank design and capacities in a manner
         that resolved many of the data requests’ issues and would not require Commonwealth to
         request a special permit to waive PHMSA’s minimum federal regulations.

         23.     On September 24, 2021, the Commission issued a second NOI that was published
         in the Federal Register on September 30, 2021,43 and established a revised issuance date
         for the final EIS of September 9, 2022. It also established an additional public scoping
         comment period that closed on October 25, 2021.

         24.    On March 31, 2022, Commission staff issued a draft EIS. Notice of the draft EIS
         was published in the Federal Register on April 6, 2022, establishing a 45-day public
         comment period that ended on May 23, 2022.44 Copies of the notice were mailed to
         413 stakeholders. Commission staff held virtual public comment sessions on April 25
         and 26, 2022, to solicit and receive comments on the draft EIS. The Commission received
         written and verbal comments on the draft EIS concerning potential project impacts on
         surface water and wetlands, vegetative communities of special concern, migratory birds
         and other wildlife, aquatic resources and essential fish habitat, special status species,

               41
                    83 Fed Reg. 10,470 (Mar. 29, 2018).
               42
                    84 Fed. Reg. 56,185 (Oct. 21, 2019).
               43
                    86 Fed. Reg. 54,182 (Sept. 30, 2021).
               44
                    87 Fed. Reg. 19,918 (Apr. 6, 2022).



                                                                                          JA011
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         recreation areas, visual resources, environmental justice communities, air quality and
         noise, reliability and safety, cumulative impacts, greenhouse gas emissions, and climate
         change. We received verbal comments from 10 individuals. We received over 40 written
         comments from federal agencies, state agencies, non-governmental organizations, and
         individuals, as well as multiple copies of two form letters.

         25.    Commission staff issued the final EIS for the project on September 9, 2022. The
         notice of availability of the final EIS was published in the Federal Register on
         September 15, 2022. The final EIS addresses: geology, soils, water resources, wetlands,
         vegetation, wildlife, aquatic resources, threatened and endangered species, land use,
         recreation, visual resources, socioeconomics, environmental justice, cultural resources, air
         quality, noise, safety, cumulative impacts, and identified alternatives. It also addresses all
         substantive environmental comments received on the draft EIS.

         26.    The final EIS concludes that construction and operation of the project would result
         in some adverse environmental impacts, but that with the mitigation measures
         recommended in the EIS, most of these impacts would be reduced to less than significant
         levels. The EIS concludes that impacts on visual resources, including visual impacts
         affecting environmental justice communities, would be significant.

         27.    The Commission received comments on the final EIS from the EPA and from
         Commonwealth, which are addressed below. Endangered species, greenhouse gas
         emissions, visual resources, and issues related to environmental justice communities and
         certain pending permits and consultations are also discussed further below.

                         1.     Pending Permits and Consultations

         28.    Commonwealth would be responsible for obtaining all permits and approvals
         required to construct and operate the project. Commission staff listed major permits,
         approvals, and consultations in the final EIS,45 including the required coastal use permit
         and essential fish habitat consultation, which are discussed below.

                                a.     Coastal Use Permit

         29.    In the final EIS, Commission staff noted that Commonwealth would construct and
         operate the project in compliance with conditions that would be set forth in the Louisiana
         Department of Natural Resources Office of Coastal Management’s coastal use permit,
         which will serve as the state’s Coastal Zone Management Act consistency determination.46
         Because Commonwealth has not yet obtained the permit, Commission staff included a

                45
                     Final EIS at 1-16 to 1-18.
                46
                     See Final EIS at 4-174.



                                                                                              JA012
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        recommendation that, prior to construction, Commonwealth should file with the
        Commission a copy of the consistency determination. The Environmental Coalition
        argues that this approach “fails to provide the opportunity for informed, meaningful public
        participation that NEPA requires” and that the Commission cannot conditionally issue a
        certificate when there is reason to believe that various permits will not or should not have
        been issued by the relevant agencies “due to inconsistencies with state laws.”47

        30.     The Commission’s practice of issuing conditional certificates has consistently been
        affirmed by courts as lawful.48 As we have explained, the Commission’s longstanding
        approach is a practical response to the reality that it may be impossible for an applicant to
        obtain all approvals necessary to construct and operate a project in advance of the
        Commission’s issuance of its certificate without unduly delaying a project.49 We find that
        there is a sufficiently developed record before us regarding the benefits and adverse
        impacts of the project before us upon which to base our determination. Accordingly,
        staff’s recommendation that Commonwealth should file with the Commission a copy of
        the determination of consistency with the Coastal Zone Management Act before
        construction has been adopted as environmental condition 17 and is included in appendix
        A of this order.



               47
                 Center for Biological Diversity, John Allaire, Louisiana Bucket Brigade,
        Micah 6:8 Mission, National Audubon Society, RESTORE, Sierra Club, and Turtle Island
        Restoration Network May 23, 2022 Comments at 32-34 (Environmental Coalition
        May 23, 2022 Comments).
               48
                  See Del. Riverkeeper Network v. FERC, 857 F.3d 388, 399 (2017) (upholding
        Commission’s approval of a natural gas project conditioned on securing state certification
        under section 401 of the Clean Water Act); see also Myersville Citizens for a Rural Cmty.,
        Inc. v. FERC, 783 F.3d 1301, 1320-21 (2015) (upholding the Commission’s conditional
        approval of a natural gas facility construction project where the Commission conditioned
        its approval on the applicant securing a required federal Clean Air Act air quality permit
        from the state); Del. Dep’t. of Nat. Res. & Envtl. Control v. FERC, 558 F.3d 575, 578-79
        (D.C. Cir. 2009) (holding Delaware suffered no concrete injury from the Commission’s
        conditional approval of a natural gas terminal construction despite statutes requiring
        states’ prior approval because the Commission conditioned its approval of construction on
        the states’ prior approval); Pub. Utils. Comm’n. of Cal. v. FERC, 900 F.2d 269, 282 (D.C.
        Cir. 1990) (holding the Commission had not violated NEPA by issuing a certificate
        conditioned upon the completion of the environmental analysis).
               49
                See, e.g., Broadwater Energy LLC, 124 FERC ¶ 61,225, at P 59 (2008);
         Crown Landing LLC, 117 FERC ¶ 61,209, at P 26 (2006); Millennium Pipeline Co., L.P.,
         100 FERC ¶ 61,277, at PP 225-231 (2002).




                                                                                            JA013
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                               b.     Essential Fish Habitat Consultation

        31.     Under the Magnuson-Stevens Fishery Conservation and Management Act, as
        amended in 1996, a federal agency must consult with NMFS when authorizing a
        proposed activity that will adversely affect essential fish habitat (EFH). As described in
        the final EIS, the consultation process starts by the action agency (the Commission)
        providing notification of the action to NMFS.50 The action agency then prepares an
        EFH assessment. Next, NMFS reviews the assessment and may provide conservation
        recommendations. Finally, the action agency must respond to NMFS, and for any
        conservation recommendation that is not recommended, explain its reasoning for not
        adopting the recommendation. The Commonwealth LNG Project would impact essential
        fish habitat as a result of construction of Commission-jurisdictional facilities (the LNG
        terminal and pipeline) as well as non-jurisdictional facilities (through a beneficial use of
        dredged materials (BUDM) pipeline and placement area). Therefore, Commission staff
        initiated consultation with NMFS for the project.51

        32.     In the final EIS, Commission staff described potential impacts on EFH as well as the
        consultation history between the Commission and NMFS. The Environmental Coalition
        states that the draft EIS did not provide an opportunity for meaningful comment on the
        Commission’s assessment of the project’s impact on EFH because, for example, the public
        has not yet been able to review any potential conservation measures recommended by
        NMFS.52 The draft and final EIS stated that Commonwealth would mitigate temporary
        impacts on EFH through implementation of the Project’s Wetland and Waterbody
        Construction and Mitigation Procedures, including revegetation and through wetland
        mitigation bank credits. Commonwealth is actively coordinating mitigation requirements
        for EFH with the U.S. Army Corps of Engineers (Corps) as part of the section 404 and 10
        permitting process and the Louisiana Department of Natural Resources Office of Coastal
        Management (OCM) as part of the Coastal Use Permit process and will provide mitigation
        for EFH impacts according to the results of the Louisiana Wetland Rapid Assessment
        Method and Wetland Value Assessment calculations, respectively, as recommended by
        NMFS. As stated in the final EIS, Commonwealth’s mitigation proposal for impacts on
        EFH has been modified since the draft EIS. We note that on October 26, 2022,53 NMFS
        filed its EFH Conservation Recommendations. One of NMFS’ Conservation
        Recommendations is that the applicant be required to purchase wetland mitigation
        bank credits from the Corps’ approved tidally influenced mitigation banks within the

               50
                    Final EIS at 4-129 to 4-130.
               51
                    See October 5, 2022 letter to NMFS initiating EFH consultation.
               52
                    Environmental Coalition May 23, 2022 Comments at 89.
               53
                    See NMFS October 26, 2022 letter.



                                                                                            JA014
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         Chenier Plain. The Corps is in the process of determining mitigation requirements for
         impacts on wetlands (some of which are EFH). Although wetland mitigation is still
         pending, the Corps is the agency responsible for, and with special expertise in, ensuring no
         net loss of wetlands. Our staff has not recommended any additional mitigation, nor does
         the record support doing so. Accordingly, we will not require any additional wetland
         mitigation outside of the Corps’ requirements.

        33.    NFMS states that the water control structure54 should be replaced by an open tidal
        ditch to allow for control of water ingress volumes and salinity levels in the culvert waters
        but also permit ingress and egress of marsh fauna at the terminal site.55 The water control
        structure was discussed in the draft EIS but details were further developed in the final EIS.
        NMFS is mainly concerned that the structure will strand EFH species. Its most recent
        concerns are that more information is needed to identify the purpose and need for the water
        control structure, and that Commonwealth has not identified how its actions would impact
        water levels and salinity enough to require it. NFMS requested additional data related to
        water level and salinity, monitoring, operation, reporting, and alternatives. Commonwealth
        responded to these concerns in its November 4, 2022 filing. The structure would mimic the
        natural behavior of the existing drainage once construction is complete, primarily of the
        large wetlands and waterbodies west of the terminal. The OCM has stated that the project,
        including the water control structure, would have little to no negative impacts on the local
        hydrology. The current hydrology is maintained through an existing water control
        structure, which the proposed structure is intended to mimic. Alternatives were discussed
        in appendix D of the final EIS. Given that Commonwealth has stated it would consult with
        state and federal agencies, including OCM, NMFS, and the Corps, to confirm the final
        design of the structure, that specific details of the culvert and water control structure design
        would be determined during the final design of the Terminal, and the intent of the structure
        is to maintain salinity, hydrology, and water levels, we conclude that the intent of NMFS
        Conservation Recommendation 2 has been met.

        34.    Commonwealth would also use a pipeline to move dredge materials, which is not
        jurisdictional to the Commission. As described in the draft EIS, Commonwealth’s plan
        was to place dredge materials at a 1,100-acre dredge materials placement area (DMPA)
        about 500 feet offshore and directly south of the Terminal. Commonwealth’s proposal, as
        detailed in the final EIS, is now to transport dredge slurry to a 640-acre BUDM site within
        the wetlands on the south shore of Calcasieu Lake in the FWS Cameron Prairie NWR.
        Commonwealth has been developing the BUDM site proposal with input from multiple
        agencies, including the Coastal Protection and Restoration Authority. This beneficial use
        is accepted as mitigation for impacts on wetlands by the Corps. NFMS relayed concerns

                54
                     See id.
                55
                     See Final EIS at 2-7.



                                                                                              JA015
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         regarding this non-jurisdictional area in its October 26, 2022 letter, including the use of
         exterior borrow, gapping of erosion control devices, and final target marsh fill elevation,
         which Commonwealth addressed in it is November 4, 2022 filing. However, this relates
         to a Corps-jurisdictional area and will be addressed by permits issued by the Corps and
         potentially the FWS. We note that this location would be used for initial dredge material
         disposal during construction and two maintenance dredge events. The final placement of
         future maintenance dredging would be coordinated with the Corps.

         35.     NMFS also states that the Corps should provide a complete EFH assessment which
         clearly characterizes, delineates, and quantifies impacts on EFH by habitat type, includes
         all activities associated with this project, and describes measures taken to avoid, minimize,
         mitigate, or offset the adverse impacts of the proposed activities on EFH. As the lead
         federal agency, Commission staff prepared an EFH assessment within the final EIS as
         appendix D. However, we note that the Corps may choose to provide an updated EFH
         assessment, including the finalized wetland mitigation.

                         2.     Eastern Black Rail

         36.    A stated in the final EIS with respect to the eastern black rail, FWS’s Biological
         Opinion found that the project would likely adversely affect, but is not likely to jeopardize
         the continued existence of the species.56 The Environmental Coalition argues that the
         Biological Opinion fails to analyze the entire agency action, does not properly define the
         action area, fails to adequately analyze the project’s effects, improperly relies on
         speculative mitigation measures to support its decision that the project will not jeopardize
         the continued existence of the species, and fails to adequately explain why estimated take
         numbers will not jeopardize the continued existence of the species.57 Therefore, the
         Environmental Coalition states that the Commission’s reliance on the flawed Biological
         Opinion violates section 7(a)(2) of the Endangered Species Act (ESA).58

         37.    As we have explained in prior orders, although a federal agency is required to
         ensure that its action will not jeopardize the continued existence of listed species or
         adversely modify their critical habitat, it must do so in consultation with the appropriate
         agency, in this case, FWS. Because FWS is charged with implementing the ESA, it is the



                56
                     Final EIS at 4-144 to 4-145.
                57
                  Environmental Coalition May 23, 2022 Comments at 42-61. National Audubon
         Society also states that the BO is flawed. National Audubon Society May 23, 2022
         Comments at 1.
                58
                     Environmental Coalition May 23, 2022 Comments at 61.




                                                                                             JA016
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         recognized expert regarding matters of listed species and their habitats, and the
         Commission may rely on its conclusions.59

         38.     In reviewing whether the Commission may appropriately rely on the Biological
         Opinion, the relevant inquiry is not whether the document is flawed, but rather whether
         the Commission’s reliance was arbitrary and capricious.60 Therefore, an agency may rely
         on a Biological Opinion if a challenging party fails to cite new information that the
         consulting agency did not take into account that challenges the Biological Opinion’s
         conclusions. Here, the alleged defects that the Environmental Coalition identifies do not
         rise to the level of new information that would cause the Commission to call into question
         the factual conclusions of FWS’s Biological Opinion. Thus, it is appropriate for the
         Commission to rely on the judgment of FWS, the agency that Congress has determined in
         the ESA should be responsible for providing its expert opinion regarding whether
         authorizing the project is likely to jeopardize the continued existence of the eastern black
         rail.

                         3.    Visual Resources

        39.     Commonwealth asserts that its comments on the draft EIS regarding impacts on
        visual resources were not addressed in the final EIS and continues to contend that the
        finding in the final EIS that impacts on visual resources would be significant is
        unsupported.61 Specifically, Commonwealth argues that: (1) the finding of significant
        impact on certain viewsheds is arbitrary and capricious; (2) Commission staff incorrectly
        determines that the project would “add” or “introduce” an industrial element to support
        that finding; (3) Commission staff inaccurately characterizes a poured concrete slab and
        metal canopy as a permanent recreational vehicle (RV) residence and relies on that
        property to incorrectly support staff’s finding of significant cumulative impacts on visual
        resources.

        40.    First, Commonwealth disagrees with the finding that the proposed terminal would
        have a significant impact on the viewsheds of users of the Calcasieu Ship Channel;
        users of Holly and Broussard Beaches; and motorists along the Creole Nature Trail


                59
                   Annova LNG Common Infrastructure, LLC, 170 FERC ¶ 61,140, at P 55 (2020)
         (citing City of Tacoma v. FERC, 460 F.3d 53, 75 (D.C. Cir. 2006) (finding that expert
         agencies such as FWS have greater knowledge about the conditions that may threaten
         listed species and are best able to make factual determinations about appropriate measures
         to protect the species)).
                60
                     City of Tacoma v. FERC, 460 F.3d at 75.
                61
                     Commonwealth October 27, 2022 Comments at n.8 & 8-12.




                                                                                             JA017
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        All-American Road.62 Commonwealth states that all three groups would already have
        line-of-sight to the existing, operating, larger Calcasieu Pass LNG facility.63
        Commonwealth states that users of Broussard Beach would have very limited line-of-sight
        to the Commonwealth facility, as it would lie behind the existing Calcasieu Pass LNG
        terminal, which is between the Commonwealth terminal and Broussard Beach; users of
        Holly Beach near the Town of Holly Beach, as well as at the closest beach access point to
        the project terminal, would see the larger Calcasieu Pass LNG terminal in line with
        Commonwealth’s facility. Commission staff concluded that the proposed terminal would
        have significant visual impact on users of Holly and Broussard Beaches based on visual
        renderings created by Commonwealth.64 These conclusions were based on the terminal,
        including the six LNG storage tanks, flare stack, and liquefaction trains, being visible
        from Holly and Broussard Beaches. A portion of the Creole Nature Trail All-American
        Road runs adjacent to the proposed terminal site. As stated in the final EIS, the project
        would be visible for about 12 miles of the Creole Nature Trail All-American Road.65 The
        final EIS states that for users directly adjacent to the terminal, the change from open
        marshland to a large industrial site would be a significant visual and viewshed change.66
        We agree with the staff’s conclusion in the final EIS.

        41.     Next, Commonwealth states that contrary to the draft EIS’ determination, the
        project would not “introduce” any industrial elements to the area because these elements
        are already present.67 However, the analysis states that the terminal would “add” an
        “additional” industrial element to the area;68 therefore, we agree with Commonwealth that
        the proposed terminal would not introduce a new industrial element to the project area.
        Commonwealth does not believe adding an LNG terminal to an area which already houses
        an existing LNG terminal, among other industrial facilities, would negatively impact the




               62
                    Id. at 9.
               63
                 Portions of the Calcasieu Pass LNG Project were placed into service on April 7,
         2021, and May 13 and July 28, 2022; however, construction is not yet complete.
               64
                    Final EIS at app. E.
               65
                    Final EIS at 4-173.
               66
                    Final EIS at 4-173.
               67
                    Commonwealth October 27, 2022 Comments at 9-10.
               68
                    Final EIS at 4-172.




                                                                                         JA018
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         viewshed and thus argues that a significance finding, without further justification, is
         arbitrary and capricious.69

        42.     “In considering whether the effects of the proposed action are significant,” the
        Commission “analyze[s] the potentially affected environment and degree of the effects of
        the action.”70 Although the general area already houses an existing LNG terminal, the
        construction of the Commonwealth LNG terminal would still adversely change the visual
        character of the environment, going from largely flat herbaceous land and wetlands to
        large industrial structures. We again note that much of the final EIS conclusion of impact
        on nearby visual receptors was based upon the visual renderings produced by the
        applicant.71 Additionally, the referenced existing LNG terminal is on the opposite side of
        the Calcasieu Ship Channel from the proposed project, thereby making it further removed
        from some of the sensitive receptors (e.g., an RV site and Holly Beach) than the project.
        For these reasons we agree with staff’s finding of significance with respect to visual
        resources.

        43.    Third, Commonwealth states it has concerns with staff’s conclusion that the project
        would have significant cumulative impacts on visual resources, when considered in
        conjunction with the Calcasieu Pass and CP2 LNG terminals.72 Moreover, Commonwealth
        believes this determination directly contradicts Commission staff’s finding that the
        Calcasieu Pass LNG facility would not result in significant cumulative visual impacts,
        particularly as the Calcasieu Pass final EIS included Commonwealth’s facility in its
        cumulative impacts analysis. Further, Commonwealth alleges that this conclusion is based
        solely on the extent of impacts of the project from the viewshed from a single temporary
        RV site, finding that the construction and operation of additional LNG terminals in the
        surrounding area would have a minimal cumulative impact.73 Regarding the RV site,
        Commonwealth disagrees with the description of the poured concrete slab and metal
        canopy, owned by a Mr. John Allaire, as a “permanent RV residence” and requests the
        Commission refer to this property as “temporary living quarters for recreational, camping,




                69
                     Commonwealth October 27, 2022 Comments at 9-11.
                70
                     40 C.F.R. § 1501.3(b) (2022).
                71
                     Final EIS at app. E.
                72
                     Commonwealth October 27, 2022 Comments at 11-12.
                73
                     Id.




                                                                                              JA019
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         travel, or seasonal use.”74 Regardless of whether Mr. Allaire permanently resides
         in this location, staff accurately describes the visual impacts of the proposed terminal on
         Mr. Allaire’s property.75 We agree with the finding in the final EIS that the proposed
         terminal would have a significant visual impact, and significant cumulative impact, on the
         viewshed from Mr. Allaire’s property. Mr. Allaire’s property is not adjacent to the
         Calcasieu Pass LNG terminal; therefore, Commission staff did not evaluate visual impacts
         on Mr. Allaire’s property in the final EIS for the Calcasieu Pass Project.

        44.     Finally, Commonwealth states that it has proposed a Visual Screening Plan to
        reduce viewshed impacts to the maximum extent possible, including its proposal to avoid
        disturbing native vegetation and its proposed planting of sugar berry trees.76 The final EIS
        describes Commonwealth’s Visual Screening Plan and concludes that, even with
        Commonwealth’s Visual Screening Plan, the visual impacts on the RV location could be
        significant,77 and as Commonwealth states, the final EIS did not identify any additional
        mitigation within our jurisdiction (i.e., within the project area) that would reduce these
        visual impacts.

                        4.     Environmental Justice

         45.     In conducting NEPA reviews of proposed natural gas projects, the Commission
         follows the instruction of Executive Order 12898, which directs federal agencies to
         identify and address “disproportionately high and adverse human health or environmental
         effects” of their actions on minority and low-income populations (i.e., environmental
         justice communities).78 Executive Order 14008 also directs agencies to develop

               74
                  Id. at 9 (referencing the Cameron Parish Police Jury code). Throughout the
         review process, Commonwealth and Mr. Allaire have disagreed with each other regarding
         the description of the RV, and the duration and frequency of its use.
               75
                    Final EIS at 4-172, 4-379.
               76
                    Commonwealth October 27, 2022 Comments at 12.
               77
                    Final EIS at 4-172.
               78
                  Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
        Commission is not one of the specified agencies in Executive Order 12898, the
        Commission nonetheless addresses environmental justice in its analysis, in accordance
        with our governing regulations and guidance, and statutory duties. See 15 U.S.C. § 717b;
        see also 18 C.F.R. § 380.12(g) (2021) (requiring applicants for projects involving
        significant aboveground facilities to submit information about the socioeconomic impact
        area of a project for the Commission’s consideration during NEPA review); Commission,




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        “programs, policies, and activities to address the disproportionately high and adverse
        human health, environmental, climate-related and other cumulative impacts on
        disadvantaged communities, as well as the accompanying economic challenges of such
        impacts.”79 Environmental justice is “the fair treatment and meaningful involvement of all
        people regardless of race, color, national origin, or income with respect to the
        development, implementation, and enforcement of environmental laws, regulations, and
        policies.”80
        46.   Consistent with the Council on Environmental Quality (CEQ)81 and EPA82
        guidance, the Commission’s methodology for assessing environmental justice impacts

        Guidance Manual for Environmental Report Preparation at 4-76 to 4-80 (Feb. 2017),
        https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.
              79
                  Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Feb. 1, 2021). The term
        “environmental justice community” includes disadvantaged communities that have been
        historically marginalized and overburdened by pollution. Id. at 7629. The term also
        includes, but may not be limited to minority populations, low-income populations, or
        indigenous peoples. See EPA, EJ 2020 Glossary (Aug. 18, 2022),
        https://www.epa.gov/environmentaljustice/ej-2020-glossary.
              80
                  EPA, Learn About Environmental Justice,
        https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Sep. 6,
        2022). Fair treatment means that no group of people should bear a disproportionate share
        of the negative environmental consequences resulting from industrial, governmental, and
        commercial operations or policies. Id. Meaningful involvement of potentially affected
        environmental justice community residents means: (1) people have an appropriate
        opportunity to participate in decisions about a proposed activity that may affect their
        environment and/or health; (2) the public’s contributions can influence the regulatory
        agency’s decision; (3) community concerns will be considered in the decision-making
        process; and (4) decision makers will seek out and facilitate the involvement of those
        potentially affected. Id.
              81
                  CEQ, Environmental Justice: Guidance Under the National Environmental
        Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
        https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
        EJGuidance.pdf. CEQ offers recommendations on how federal agencies can provide
        opportunities for effective community participation in the NEPA process, including
        identifying potential effects and mitigation measures in consultation with affected
        communities and improving the accessibility of public meetings, crucial documents, and
        notices. There were opportunities for public involvement during the Commission’s
        prefiling and environmental review processes. Final EIS at 1-5.
              82
                   See generally EPA, Promising Practices for EJ Methodologies in NEPA



                                                                                         JA021
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        considers: (1) whether environmental justice communities (e.g., minority or low-income
        populations)83 exist in the project area; (2) whether impacts on environmental justice
        communities are disproportionately high and adverse; and (3) possible mitigation
        measures. As recommended in Promising Practices, the Commission uses the 50% and
        the meaningfully greater analysis methods to identify minority populations.84
        Specifically, a minority population is present where either: (1) the aggregate minority
        population of the block groups in the affected area exceeds 50% or (2) the aggregate
        minority population in the block group affected is 10% higher than the aggregate minority
        population percentage in the county/parish.85

        47.     CEQ’s Environmental Justice Guidance also directs low-income populations to be
        identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
        Using Promising Practices’ low-income threshold criteria method, low-income
        populations are identified as block groups where the percent of a low-income population
        in the identified block group is equal to or greater than that of the county/parish.
        48.     To identify potential environmental justice communities, and as discussed in the
        final EIS, Commission staff used 2019 U.S. Census American Community Survey data86
        for the race, ethnicity, and poverty data at the state, county, and block group level.87
        Additionally, in accordance with Promising Practices, staff used EJScreen, EPA’s
        environmental justice mapping and screening tool, as an initial step to gather information

        Reviews (Mar. 2016) (Promising Practices), https://www.epa.gov/sites/default/files/2016-
        08/documents/nepa_promising_practices_document_2016.pdf.
              83
                 See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994).
        Minority populations are those groups that include: American Indian or Alaskan Native;
        Asian or Pacific Islander; Black, not of Hispanic origin; or Hispanic.
              84
                    See Promising Practices at 21-25.
              85
                  Here, Commission staff selected Calcasieu Parish, Cameron Parish, and Jefferson
        Davis Parish in Louisiana and Jefferson and Orange Counties, Texas as the comparable
        reference communities to ensure that affected environmental justice communities are
        properly identified. A reference community may vary according to the characteristics of
        the particular project and the surrounding communities. Final EIS at 4-190.
              86
                 U.S. Census Bureau, American Community Survey 2019 ACS 5-Year Estimates
        Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by Household Type
        by Age of Householder, https://data.census.gov/cedsci/table?q=B17017; File #B03002
        Hispanic or Latino Origin By Race, https://data.census.gov/cedsci/table?q=b03002.
               87
                    See Final EIS at fig. 4.9-1, apps. F & G.




                                                                                           JA022
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         regarding minority and low-income populations; potential environmental quality issues;
         environmental and demographic indicators; and other important factors.88
        49.     Once staff collected the block group level data, as discussed in further detail below,
        staff conducted an impacts analysis for the identified environmental justice communities
        and evaluated health or environmental hazards; the natural physical environment; and
        associated social, economic, and cultural factors to determine whether impacts would be
        disproportionately high and adverse on environmental justice communities and also
        whether those impacts would be significant.89 Commission staff assessed whether impacts
        on an environmental justice community were disproportionately high and adverse based
        on whether those impacts were predominately borne by that community, consistent with
        EPA’s recommendations in Promising Practices.90

        50.    Staff identified 91 environmental justice community block groups (out of 149 total
        block groups) within the 54-kilometer radius around the proposed LNG facility.91
        Twenty-four of the block groups are identified as environmental justice populations based
        on poverty levels, 18 based on the minority threshold, and 49 based on both the poverty
        and minority thresholds.92 However, the block group within which the Commonwealth
        LNG terminal site is located, Census Tract 9702.01, Block Group 2, is not an
        environmental justice community. The closest environmental justice block groups to the
        terminal site are Census Tract 9702.01, Block Group 3 approximately 0.1 mile from the

               88
                    See Final EIS at 4-188.
               89
                 See Promising Practices at 33 (stating that “an agency may determine that
        impacts are disproportionately high and adverse, but not significant within the meaning of
        NEPA” and in other circumstances “an agency may determine that an impact is both
        disproportionately high and adverse and significant within the meaning of NEPA”).
               90
                  Id. at 44-46 (explaining that there are various approaches to determining whether
        an action will cause a disproportionately high and adverse impact, and that one
        recommended approach is to consider whether an impact would be “predominantly borne
        by minority populations or low-income populations”). We recognize that EPA and CEQ
        are in the process of updating their guidance regarding environmental justice and we will
        review and incorporate that anticipated guidance in our future analysis, as appropriate.
               91
                  Final EIS at 4-191. For this project, we determined that a 54-kilometer radius
        around the proposed aboveground facilities was the appropriate unit of geographic
        analysis for assessing project impacts on the environmental justice communities. A
        54-kilometer radius represents the furthest extent of impacts on environmental justice
        communities.
               92
                    Final EIS at 4-191.




                                                                                             JA023
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        LNG terminal (with the closest residence, ship pilots’ temporary housing, approximately
        3,300 feet away) and Census Tract 9701, Block Group 1 approximately 2.7 miles from the
        proposed Commonwealth LNG pipeline.93 The closest town within an environmental
        justice community is Cameron (within Census Tract 9702.01, Block Group 3), which is
        over 2 miles away from the terminal site.94 With respect to the Park and Ride commuter
        parking lot locations, only one block group is an environmental justice community
        (Census Tract 33, Block Group 2). That community is within 1 mile of a Park and Ride
        lot.95
        51.     The final EIS determined that potential impacts on the identified environmental
        justice communities may relate to wetlands, surface water, aquatic resources, recreation,
        tourism, socioeconomics, traffic, noise, air quality, safety, and visual resources.96
        Environmental justice concerns are not present for other resource areas such as geology,
        groundwater, wildlife, land use, or cultural resources, due to the minimal overall impact
        the project would have on these resources.97
                                a.     Wetlands

         52.     The final EIS finds that project impacts on wetlands would be short-term and
         temporary during construction, and permanent during operation.98 While all the wetland
         impacts would be outside the boundaries of the identified environmental justice
         communities, the loss of wetland habitat, and the subsequent decrease in wetland benefits
         (i.e. shoreline and habitat protection for a variety of plant and animal species that can be
         used for recreation and/or sustenance, and recreation and education opportunities), could
         affect those environmental justice communities near the project, particularly the
         community located in Census Tract 9702.01, Block Group 3.99 However, the total
         impacted wetland area for the project (89.9 acres) represents about 0.3% of the
         approximately 27,000 acres of wetlands contained within the HUC 12 watershed, in which



                93
                     Final EIS at 4-191 to 4-192, 4-198.
                94
                     Final EIS at 4-198.
                95
                     Final EIS at 4-191.
                96
                     Final EIS at 4-192, 4-194 to 4-198.
                97
                     Final EIS at 4-192.
                98
                     Final EIS at 4-194.
                99
                     See Final EIS at 4-194.




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         the project is located.100 In addition, through implementation of the measures in
         Commonwealth’s revised Workspace Restoration Plan and project-specific Wetland and
         Waterbody Construction and Mitigation Procedures and Commonwealth’s compliance
         with Clean Water Act permitting,101 impacts on wetlands would be minimized and
         mitigated and would not have a significant impact on environmental justice
         communities.102 Environmental justice communities in the study area would experience
         cumulative impacts on wetlands; however, cumulative impacts on wetlands would be less
         than significant.103 We agree with staff’s conclusions.
                                b.     Surface Water

        53.     Regarding surface water, the final EIS finds that construction and operation of the
        terminal would permanently impact two unnamed waterbodies (a drainage ditch and a tidal
        slough) within the project area and would both temporarily (during construction) and
        permanently (during operation) impact portions of the adjacent Calcasieu Ship Channel.104
        As stated in the final EIS, these impacts would result from dredging activities, site
        construction, marine traffic, stormwater runoff, water use, hydrostatic testing, and could
        occur from accidental spills or other releases of hazardous substances.105 Environmental
        justice communities in proximity to the project, particularly the community located in
        Census Tract 9702.01, Block Group 3, would be affected most by dredging and
        resuspension of sediments. Commonwealth would attempt to minimize waterbody impacts
        by minimizing the amount of dredging needed within the Calcasieu Ship Channel.106
        Further, Commonwealth would minimize impacts on water quality by using a hydraulic
        suction dredge, where turbidity would be focused close to the river bottom and would
        equate to a storm event within a short distance of the cutterhead. The final EIS concludes
        impacts on environmental justice communities related to surface water would not be
        significant.107 Environmental justice communities in the study area would experience

               100
                     Final EIS at 4-194.
               101
                     See Final EIS at section 4.4.2.
               102
                     Final EIS at 4-194.
               103
                     Final EIS at 4-383 to 4-384.
               104
                     Final EIS at 4-194.
               105
                     Final EIS at 4-194.
               106
                     Final EIS at 4-194.
               107
                     Final EIS at 4-194.




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         cumulative impacts on surface water; however, these impacts would be less than
         significant.108 We agree.
        54.    As stated in the final EIS, construction and operation of the terminal, as well as
        marine traffic to and from the terminal, have the potential to adversely impact water
        quality in the event of an accidental release of a hazardous substance such as fuel,
        lubricants, coolants, or other material.109 Environmental condition 1 in the appendix of
        this order requires Commonwealth to implement the measures outlined in the FERC’s
        Upland Erosion Control, Revegetation and Maintenance Plan and Commonwealth’s
        Wetland and Waterbody Construction and Mitigation Procedures to minimize the
        likelihood of a spill and to implement its Spill Prevention and Response Plan in the event
        of a spill. If an accidental release were to occur, environmental justice communities along
        the ship channel, particularly the community in Census Tract 9702.01, Block Group 3, as
        well as individuals from these communities that use the channel, would be affected.110
        With the mitigation measures, the final EIS concludes that environmental justice
        communities would not be significantly impacted by an accidental release.111
        55.    EPA comments that the Commission should provide a brief discussion of the
        potential impact and mitigation measures for any potential induced flooding to the
        adjacent environmental justice communities associated with the construction of proposed
        project facilities, holistically.112 The final EIS states the terminal is in a FEMA floodplain
        and the area inside the storm surge wall would encompass 84.5 acres and 1.4 million cubic
        meters within the floodplain.113 The area within the storm surge wall would represent
        0.15 % of the total acres in the watersheds in which the project is located. In an average
        storm surge, the volume displaced by the area within the storm surge walls would
        represent 0.13 % of the overall floodplain capacity. The final EIS concludes that impacts
        are very small in relation to the overall floodplain and would not be expected to impact
        flooding.114 Therefore, impacts on environmental justice communities due to induced
        flooding are not anticipated.

               108
                     Final EIS at 4-384.
               109
                     Final EIS at 4-194.
               110
                     Final EIS at 4-194.
               111
                     Final EIS at 4-194.
               112
                     EPA October 14, 2022 Comments at 1-2.
               113
                     Final EIS at 4-78.
               114
                     Final EIS at 4-78.




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                               c.     Aquatic Resources

        56.     Recreational and commercial fishing could be impacted by construction activities
        associated with the terminal. As stated in the final EIS, project activities are anticipated to
        occur during peak fishing and recreational seasons; however, due to the overall size of the
        waterway and access to and maneuverability within the Calcasieu Ship Channel, fishing
        and recreational activities would not be significantly affected by the proposed use of
        barges.115 Temporary impacts on recreational and commercial users in the Calcasieu Ship
        Channel, who would likely include individuals from environmental justice communities,
        may occur in construction areas.116 Permanent impacts on recreational and commercial
        fisheries in the ship channel, as well as on individuals from environmental justice
        communities, may occur due to the loss of available fishing areas from operation of the
        marine facilities and LNG carrier traffic. However, although the final EIS finds that fish,
        crab, and shrimp species common to the bay could be present, the area in which project
        activities occur does not have any unique features or habitat characteristics that would
        draw recreational or commercial users to this particular location versus other locations
        within the Calcasieu Ship Channel.117 Given these characteristics, and due to the overall
        size of the waterway, the final EIS concludes that these impacts on environmental justice
        communities would not be significant.118 Environmental justice communities in the study
        area would experience cumulative impacts on aquatic resources; however, these impacts
        would be less than significant.119 We agree.
                               d.     Tourism

         57.     The EIS finds that no significant impacts on tourism are anticipated from the
         project for environmental justice communities.120 As stated in the EIS, the main tourist
         attraction near the terminal is Holly Beach.121 There are several access points to Holly
         Beach near the terminal that may experience visual and/or noise impacts. Given these
         impacts, Holly Beach users may choose to access the beach near the town, which is

               115
                     Final EIS at 4-195.
               116
                     Final EIS at 4-195.
               117
                     Final EIS at 4-195.
               118
                     Final EIS at 4-195.
               119
                     Final EIS at 4-384.
               120
                     Final EIS at 4-196.
               121
                     Final EIS at 4-196.




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         further from the site and would not be subject to significant visual or noise impacts.
         Given the availability of alternate areas on Holly Beach, further from the facility, the final
         EIS concludes that a decrease in visits would not be anticipated and impacts on
         environmental justice communities associated with tourism (e.g. loss of revenue from
         tourism) would not be significant.122 Environmental justice communities in the study area
         would experience cumulative impacts on tourism; however, these impacts would be less
         than significant.123 We agree with these conclusions.
                                e.     Socioeconomics

         58.     Regarding socioeconomics, as stated in the EIS, the temporary influx of
         workers/contractors into the area could increase the demand for community services, such
         as housing, police enforcement, and medical care.124 An influx of workers could also
         affect economic conditions and other community infrastructure. However, sufficient
         housing units would be available and impacts on community services would be
         mitigated.125 Based on the foregoing, the final EIS concludes that socioeconomic impacts
         on environmental justice communities would be less than significant.126 EPA
         recommends that the Commission “conduct a socioeconomic cost analysis of financial
         impact to the historically overburden and disadvantage populations due to increase in
         property taxes, material goods, housing, etc.”127 As stated in the final EIS, several large
         LNG terminal projects have been proposed or approved that could have overlapping
         construction schedules with the Commonwealth LNG Project including Cameron LNG
         Expansion, Driftwood LNG, Lake Charles LNG, and CP2 LNG.128 Combined, these
         additional projects could require a peak of more than 20,000 workers, a 10 percent
         increase in the current population.129 The temporary flux of workers/contractors into the
         area from all of these projects would increase the demand for housing. Should other
         major industrial projects listed in table 4.13-2 of the final EIS be constructed at the same

                122
                      Final EIS at 4-196.
                123
                      Final EIS at 4-384.
                124
                      Final EIS at 4-196.
                125
                      Final EIS at 4-180 & 4-182 to 4-184.
                126
                      Final EIS at 4-196.
                127
                      EPA October 14, 2022 Comments at 2.
                128
                      Final EIS at 4-385.
                129
                      Final EIS at 4-385.




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        time as Commonwealth, 3,500 units would still be available.130 This cumulative increased
        demand for housing could drive costs up, increase property taxes, and adversely impact
        low-income individuals.131 An increase in costs of material goods may also occur due to
        increased demand for these goods. However, impacts on property values, property taxes,
        and costs of material goods from the project alone are not anticipated. Consequently,
        while environmental justice communities in the study area would experience cumulative
        impacts on socioeconomic resources, these impacts would be less than significant.132 We
        agree with staff’s conclusions.
                                f.     Road and Marine Traffic

         59.     The final EIS finds that area residents may be affected by traffic delays during
         construction of the project.133 Project construction would temporarily increase use of area
         roads by heavy construction equipment and associated trucks and vehicles. Increased use
         of these roads would result in a higher volume of traffic, increased commute times, and
         greater risk of vehicle accidents.134 These impacts would most likely affect environmental
         justice communities near the project, such as Cameron (Census Tract 9702.01 Block
         Group 3) and Hackberry (Census Tract 9702.01 Block Group 1), as well as those
         communities to the north where workers would most likely find housing.135
         Commonwealth would implement mitigation measures to alleviate any potential road
         congestion during construction, including the use of bus lots in Carlyss, Louisiana, and the
         establishment of temporary travel lanes and the use of flaggers and signs, as necessary, to
         ensure the safety of local traffic.136 Once construction is complete, Commonwealth
         estimates that operation would average about 75 light vehicles per day and 10 heavy
         vehicles (i.e., trucks) per day. The project would not result in a change in the roadway




                130
                      Final EIS at 4-385 to 4-386.
                131
                      Final EIS at 4-385 to 4-386.
                132
                      Final EIS at 4-385 to 4-386.
                133
                      Final EIS at 4-196.
                134
                      Final EIS at 4-196.
                135
                      Final EIS at 4-196.
                136
                      Final EIS at 4-196.




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        level of service137 for any of the area roadways during construction or operation.138
        Therefore, the final EIS concludes that traffic impacts on environmental justice
        communities would be less than significant.139 Environmental justice communities in the
        study area would experience cumulative impacts associated with traffic; however, these
        impacts would be less than significant.140 EPA recommends the Commission ensures the
        alternative plan for crossing Highway 27/82 would not further disproportionally adversely
        impact the environmental justice populations near the proposed Project.141 This crossing
        location is not located within an environmental justice community (Census Tract 9702.01,
        Block Group 2) and impacts would be localized and would not have an impact on
        environmental justice communities.
        60.     As stated in the EIS, barge deliveries would occur throughout the project’s 36- to
        38-month construction period, with a higher number of deliveries expected to occur
        during certain phases of construction.142 During operations, up to 156 LNG carriers would
        call at the terminal per year.143 Because the terminal site is near the mouth of the ship
        channel, the final EIS concludes that barge deliveries would not result in significant
        impacts on marine traffic in the ship channel.144 In addition, the final EIS concludes that
        recreational boaters and fishers, which likely include individuals from environmental
        justice communities, would not experience significant changes in marine traffic.145 We
        agree.
                                g.     Noise

         61.    As stated in the final EIS, noise levels above ambient conditions, attributable to
         construction activities, would vary over time and would depend upon the nature of the

                137
                  Level of service (LOS) is a term used to describe the operating conditions of a
         roadway based on factors such as speed, travel time, maneuverability, delay, and safety.
                138
                      Final EIS at 4-196.
                139
                      Final EIS at 4-196 to 4-197.
                140
                      Final EIS at 4-386 to 4-387.
                141
                      EPA October 14, 2022 Comments at 2.
                142
                      Final EIS at 4-197.
                143
                      Final EIS at 4-197.
                144
                      Final EIS at 4-197.
                145
                      Final EIS at 4-197.




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         construction activity, the number and type of equipment operating, and the distance
         between sources and receptors.146 The closest noise sensitive area (NSA) located within
         an environmental justice community (Census Tract 9702.01 Block Group 3) is about
         3,300 feet east of the proposed terminal site and is a set of buildings on the southern tip of
         Monkey Island used to house Calcasieu Ship Channel pilots.147 Peak construction noise
         related to project activities would increase noise levels over ambient by 7 decibels on the
         A-weighted scale at this NSA and would be temporary. The majority of construction
         activities at the terminal would occur during daytime hours and prior to 10 p.m., with the
         exception of dredging activities. As recommended in the final EIS,148 environmental
         conditions 19 and 20 in the appendix to this order require that Commonwealth monitor
         noise levels between 7 p.m. to 7 a.m. to ensure noise levels during these hours are less
         than our criterion of 48.6 decibels on the A-weighted scale at the nearest NSA (see
         environmental condition 18 in the appendix to this order). Operational noise associated
         with the terminal site would be persistent and would increase noise levels over ambient by
         about 3 decibels at the closest NSA. In addition, as recommended in the final EIS,149
         environmental conditions 19 and 20 in the appendix to this order require Commonwealth
         to meet sound level requirements. The final EIS concludes that the project would not
         result in significant noise impacts on local residents and the surrounding communities,
         including environmental justice populations.150 Environmental justice communities in the
         study area would experience cumulative impacts related to noise; however, these impacts
         would be less than significant.151 We agree.
                                h.     Air Quality

         62.     As explained in the final EIS, construction and operation of the terminal site would
         result in long-term impacts on air quality.152 Construction air emissions from the project,
         when considered with current background concentrations, would be below the National
         Ambient Air Quality Standards (NAAQS), which are designated to protect public health.
         Environmental condition 1 in the appendix to this order requires Commonwealth to

                146
                      Final EIS at 4-197.
                147
                      Final EIS at 4-197.
                148
                      Final EIS at 4-241.
                149
                      Final EIS at 4-245.
                150
                      Final EIS at 4-197.
                151
                      Final EIS at 4-387.
                152
                      Final EIS at 4-197.




                                                                                              JA031
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         mitigate exhaust emissions during construction by using construction equipment and
         vehicles that comply with EPA mobile and non-road emission regulations, and usage of
         commercial gasoline and diesel fuel products that meet specifications of applicable federal
         and state air pollution control regulations. Further, environmental condition 1 in the
         appendix to this order requires Commonwealth to mitigate fugitive dust by applying water
         to the roadways and reducing vehicle speeds. The final EIS concludes that construction-
         related impacts on local air quality would not be significant.153
        63.    The final EIS states that Commonwealth conducted air dispersion modeling to
        assess operational air quality impacts and show compliance with applicable NAAQS and
        Class II Prevention of Significant Deterioration (PSD) Increments for the pollutants subject
        to PSD review.154 Additionally, staff modeled the impacts of mobile sources (LNG carriers
        and tugs) in addition to the PSD and NAAQS modeling required by the state. The
        cumulative modeling indicated that operation of the project (including LNG terminal
        stationary sources and mobile sources) may contribute to a potential nitrogen dioxide
        (NO2) 1-hour NAAQS exceedance; however, the project’s contribution (including LNG
        stationary and mobile sources) would be less than the significant impact level at each
        exceedance location.155 A majority of these potential exceedances within the modeled area
        would be within environmental justice communities.156 Commonwealth’s contribution to
        all exceedances is estimated to be less than the significant impact level at all exceedance
        locations. Although the project would be in compliance with the NAAQS and the NAAQS
        are designated to protect sensitive populations, the final EIS acknowledges that NAAQS
        attainment alone may not ensure there is no localized harm to such populations due to
        project emissions of volatile organic compounds, hazardous air pollutants, as well as issues
        such as the presence of non-project related pollution sources, local health risk factors,
        disease prevalence, and access (or lack thereof) to adequate care.157 The final EIS
        concludes that that the project would not cause or significantly contribute to a potential
        exceedance of the NAAQS and would not result in significant impacts on air quality in the
        region.158 Environmental justice communities in the study area would experience



               153
                     Final EIS at 4-197.
               154
                     Final EIS at 4-198.
               155
                     Final EIS at 4-198.
               156
                     Final EIS at 4-198.
               157
                     Final EIS at 4-198.
               158
                     Final EIS at 4-198.




                                                                                           JA032
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         cumulative impacts on air quality; however, these impacts would be less than significant.159
         We agree.
                               i.     Safety

        64.    Commission staff evaluated potential impacts from incidents identified along the
        LNG marine vessel transit route and at the LNG terminal, including potential impacts to
        people with access and functional needs as defined in National Fire Protection Association
        (NFPA) 1600, Standard on Continuity, Emergency, and Crisis Management160 and NFPA
        1616, Standard on Mass Evacuation, Sheltering, and Re-Entry Programs.161 The worst-
        case distances from these potential incidents would potentially impact three block groups,
        two of which are considered environmental justice communities. The block groups
        located with environmental justice communities that exceed the thresholds for minority
        and low income would include Census Tract 9702.01, Block Group 3 (based on the low-
        income threshold); and Census Tract 9701, Block Group 1 (based on the minority
        threshold).162

         65.    Should a catastrophic incident or other more likely emergency occur at the
         Commonwealth LNG terminal or at the LNG marine vessel along its route, people in
         environmental justice communities, including those with access and functional needs,
         could experience significant public safety impacts. However, Commission staff has
         determined that the risk (i.e., likelihood and consequence) of accidental and intentional
         events would be less than significant with implementation of the proposed safety and
         security measures recommendations. We agree and adopt all recommendations herein as
         Environmental Conditions 21 through 128, including the additional Environmental
         Condition on emergency response as a result of the PHMSA LOD. These measures
         further enhance the safety and security of the engineering design of the layers of
         protection for review subject to the approval by Commission staff and in accordance with
         recommended and generally accepted good engineering practices, which go above the
         minimum federal safety standards for the LNG terminal and LNG marine vessel
         promulgated in PHMSA and USCG regulations, such that they would further reduce the

               159
                     Final EIS at 4-387 to 4-388.
               160
                   Freely and publicly accessible to view in English and Spanish at NFPA,
         https://www.nfpa.org/codes-and-standards/allcodes-and-standards/list-of-codes-and-
         standards/detail?code=1600, accessed March 2022.
               161
                   Freely and publicly accessible to view in English only at NFPA,
         https://www.nfpa.org/codes-and-standards/all-codesand-standards/list-of-codes-and-
         standards/detail?code=1616, accessed March 2022. See Final EIS at 4-315.
               162
                     Final EIS at 4-315.




                                                                                           JA033
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         risk of incidents impacting the public to less than significant levels, including impacts to
         environmental justice communities.163 We agree with this conclusion. We encourage
         Commonwealth to engage with the two potentially impacted environmental justice
         communities164 as it develops an Emergency Response Plan (ERP) in accordance with
         Environmental Condition 37.

                                j.      Visual Impacts

         66.    Commonwealth disputes staff’s significance finding on environmental justice
         communities for visual resources, stating the “only rationale for such a finding is that
         members of an environmental justice community may visit Holly Beach, and depending
         on where they access the beach, the project could be highly visible.”165 The LNG terminal
         would be constructed on marshland within the Calcasieu Ship channel and existing
         industrial sites to the east, sandy shoreline and the Gulf of Mexico to the south, marshland
         and the town of Holly Beach to the west, and marshland to the north. As stated in the
         final EIS, construction of the LNG terminal would result in a permanent change in the
         viewshed and would add an industrial element to the area.166
         67.    Moreover, the final EIS explained that in addition to visual impacts on individuals
         from environmental justice communities who visit Holly Beach, the facility and associated
         project lighting will be visible from various locations within environmental justice
         communities. Specifically, daytime and nighttime visual renderings of the
         Commonwealth LNG terminal indicate that the facility and associated project lighting will
         be visible from environmental justice communities and up to distances of 10 miles from
         the terminal.167 In addition, the facility would also be visible from portions of Census
         Tract 9702.01, Block Group 3, which is considered an environmental justice community
         and visible from the town of Cameron an environmental justice community 2.4 miles east
         across the ship channel. There are also several buildings at the southern tip of
         Monkey Island, within environmental justice Census Tract 9702.01, Block Group 3, that
         house Lake Charles ship pilots and their offices.168 These buildings have a direct and

                163
                      Final EIS at 4-316.
                164
                  See supra P 64 (environmental justice communities in Census Tract 9702.01,
         Block Group 3 and Census Tract 9701, Block Group 1).
                165
                      Commonwealth October 27, 2022 Comments at 3.
                166
                      Final EIS at 4-195.
                167
                      See Final EIS at app. E, fig. E-3, E-7, & E-8.
                168
                      Final EIS at 4-195.




                                                                                              JA034
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        uninhibited view of the terminal site. The final EIS concludes that while the direct visual
        changes would be outside the boundaries of the identified environmental justice
        communities, the permanent changes in the viewshed would have a permanent and
        significant adverse effect on those environmental justice communities near the project.169
        We agree.
        68.     Commission staff also determined that environmental justice communities would
        experience significant cumulative visual impacts. Staff analyzed the cumulative impacts
        along the Calcasieu Ship Channel (including impacts from facilities in Cameron and just
        to the north of Cameron) and determined that the project would adversely contribute to
        visual impacts on users of the Calcasieu Ship Channel, users of Holly and Broussard
        Beaches, residents in the town of Cameron, and motorists along the Creole Nature Trail
        All-American Road.170 While the extent of impacts would vary depending on the
        proximity to the sites, environmental justice communities may experience significant
        visual changes from the construction of additional sites, flares, lighting, and storage tanks
        for several miles. Daytime and nighttime visual renderings of the Commonwealth LNG
        terminal indicate that the project lights will be visible from environmental justice
        communities and up to distances of 10 miles from the terminal.171 In addition to the visual
        impacts from the Commonwealth LNG terminal, Calcasieu Pass (0.3 miles from the
        Project) and CP2 LNG (1.3 miles from the Project) will have clearly visible features from
        LNG storage tanks, flares, facility lighting, and LNG vessels. Additionally, Port
        Louisiana (1.1 miles from the Project) will contribute to visual impacts from loading
        cranes, industrial buildings, facility lighting, and vessels. Although the Commonwealth
        project is not located within an environmental justice block group, Calcasieu Pass, CP2
        LNG, and Port Louisiana are located within environmental justice block groups (Census
        Tract 9702.01, Block Group 3 and Census Tract 9701.00, Block Group 1) along the
        Calcasieu Ship Channel and are located within 1.3 miles of the Project.172 The final EIS
        concluded, and we agree, that Commonwealth and the mentioned facilities will contribute
        to the surrounding area’s heavy nighttime lighting and will detract from the overall quality
        of the scenic views of the surrounding area.173




               169
                     Final EIS at 4-195.
               170
                     Final EIS at 4-172.
               171
                     See Final EIS at fig. E-3, E-7, & E-8.
               172
                     See Final EIS at fig. 4.9-1 & fig. 4.12-2.
               173
                     See Final EIS at 4-173.




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                               k.     Sufficiency of Cumulative Impacts Analysis

         69.     EPA comments that the Commission should assess the cumulative adverse
         environmental impact of the proposed project and other Commission projects on the
         environmental justice population.174 Cumulative impacts were addressed in the final EIS
         and are noted above.175 The final EIS concludes that environmental justice communities
         in the study area would experience less than significant adverse cumulative impacts on
         wetlands, surface water, aquatic resources, socioeconomics, traffic, noise, and air
         quality.176 However, the final EIS concluded that adverse cumulative visual impacts
         related to the project and the additional projects within the geographic scope would be
         significant.177 We agree with these conclusions.
                               l.     Environmental Justice Conclusion

         70.     As described throughout the final EIS, the proposed project would have a range of
         impacts on the environment and on individuals living in the vicinity of the project
         facilities, including environmental justice populations. The closest environmental justice
         block groups are Census Tract 9702.01, Block Group 3 approximately 0.1 mile from the
         LNG terminal (with the closest residence, ship pilots’ temporary housing, approximately
         3,300 feet away) and Census Tract 9701, Block Group 1 approximately 2.7 miles from the
         pipeline.178 The closest town within an environmental justice community is Cameron
         (within Census Tract 9702.01, Block Group 3) over 2 miles away.179 The final EIS
         concludes that, with respect to the resources with potential impacts on environmental
         justice communities near the terminal, direct and cumulative visual impacts would be
         significant.180 We agree.
         71.   Commonwealth states that the finding in the final EIS that impacts on
         environmental justice communities would be disproportionately high and adverse is not



               174
                     EPA October 14, 2022 Comments at 2.
               175
                     Final EIS at 4-383 to 4-388; see also supra PP 52-63, & 68.
               176
                     Final EIS at 4-388.
               177
                     Final EIS at 4-388.
               178
                     Final EIS at 4-198.
               179
                     Final EIS at 4-198.
               180
                     Final EIS at 4-198, 4-199, & 4-388.




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        well founded or justified.181 With respect to whether impacts on environmental justice
        communities would be disproportionately high and adverse, we clarify that only
        cumulative impacts to visual resources would be predominately borne by environmental
        justice communities and thus disproportionately high and adverse. All other direct and
        cumulative impacts would not be disproportionately high and adverse. While
        environmental justice and non-environmental justice block groups near the project’s
        terminal would both experience significant direct and cumulative visual impacts, the
        cumulative visual impacts would be predominately borne by environmental justice
        communities due to the cumulative adverse visual impacts from this project when
        considered along with the visual impacts from Calcasieu Pass, CP2 LNG, and Port
        Louisiana, all of which are located within environmental justice block groups, as noted
        above. Due to these substantial light-emitting facilities (ranging from 230 to 672 acres in
        size) within and immediately adjacent to surrounding environmental justice communities,
        we conclude that cumulative visual impacts on environmental justice communities would
        be disproportionately high and adverse as these impacts would be predominantly borne by
        environmental justice communities.182

        72.     EPA requests the Commission implement measures to mitigate, eliminate and/or
        avoid disproportionately high and adverse impacts to environmental justice communities.183
        As described above, direct and cumulative visual impacts on environmental justice
        communities near the terminal would be significant and cumulative visual impacts on
        environmental justice communities would be disproportionately high and adverse.
        Environmental condition 1 in the appendix of this order requires Commonwealth to
        implement the mitigation measures described in the Commonwealth Facility Lighting Plan,
        which would reduce visual impacts from facility lighting. Environmental condition 1 also
        requires Commonwealth to avoid disturbance of the native vegetation within the terminal
        exclusion buffer area, which will provide over 1,300 feet of vegetated buffer. However, the
        LNG facility is located within the Chenier Plain, which is almost treeless. To augment the
        native vegetation, environmental condition 1 requires Commonwealth to plant native
        sugarberry (Celtis laevigata) trees of 15-25- gallon size on 15-foot centers approximately
        30 feet inside Commonwealth’s exclusion fence for approximately 150 feet on the upland
        chenier area (i.e., their typical landscape position). Although these trees will provide some
        level of visual screening, the mature height of the native trees of the Chenier Plain is
        relatively low compared to the LNG facility’s structures, which will still be visible.
        Although Commonwealth is required to implement the mitigation described above,
        significant direct and cumulative visual impacts would still occur and cumulative visual

               181
                     Commonwealth October 27, 2022 Comments at 3-4.
               182
                     See Final EIS at 4-199.
               183
                     EPA October 14, 2022 Comments at 1.



                                                                                           JA037
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         impacts on environmental justice communities would remain disproportionately high and
         adverse.
                         5.      Greenhouse Gas Emissions and Climate Change

        73.    The CEQ defines effects or impacts as “changes to the human environment from
        the proposed action or alternatives that are reasonably foreseeable,” which include those
        effects that “occur at the same time and place” and those that “are later in time or farther
        removed in distance, but are still reasonably foreseeable.”184 An impact is reasonably
        foreseeable if it is “sufficiently likely to occur such that a person of ordinary prudence
        would take it into account in reaching a decision.”185

        74.     For this proposed action, the reasonably foreseeable and causally connected
        greenhouses gases (GHG) emissions are emissions associated with the project’s
        construction and operation. The final EIS estimates that construction of the project would
        result in 547,314 tons of carbon dioxide equivalent (CO2e) emissions (equivalent to
        496,515 metric tons of CO2e) over the 4 years of construction, inclusive of pipeline,
        terminal, barge, and commissioning emissions.186 GHG emissions from the operation of
        the project would result in an annual increase of CO2e emissions of about 3,559,091 tons
        per year (tpy) (equivalent to 3,228,754 metric tpy).187

         75.    The final EIS compared the project’s GHG emissions to the total GHG emissions
         of the United States as a whole and at the state level, which allows us to contextualize the
         project’s projected emissions.188 In addition, our NEPA analysis included a qualitative
         analysis of the project’s climate impacts189 and acknowledge that the project would
         increase the atmospheric concentration of GHGs, and would contribute cumulatively to
         climate change.190 Additionally, when states, such as Louisiana, have GHG emissions
         reduction targets, we will compare a project’s GHG emissions to those state goals to
                184
                      40 C.F.R. § 1508.1(g) (2021).
                185
                      40 C.F.R. § 1508.1(aa).
                186
                      See Final EIS at 4-213 to 4-220, tbls. 4.11.1-4, 4.11.1-5, & 4.11.1-6.
                187
                      See Final EIS at 4-224, tbls. 4.11.1-7.
                188
                  Final EIS at 4-396 (finding that the project’s operational emissions could
        potentially increase CO2 emissions based on the 2020 national levels by 0.06% and
        potentially increase CO2e emissions based on Louisiana’s 2019 levels by 1.7%).
                189
                      Final EIS at 4-395.
                190
                      Final EIS at 4-396.




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        provide additional context.191 We have done so in the EIS.192 The calculation shows the
        percentage difference that the project’s annual increase in CO2e emissions would make
        towards the state’s GHG reduction targets. The Commission does not determine whether
        an individual project’s GHG emissions comply with the state’s goals. Last, the final EIS
        disclosed the social cost of GHGs associated with the project’s reasonably foreseeable
        GHG emissions.193 By adopting the climate impact analysis in the EIS, we recognize that
        the project may release GHG emissions that contribute incrementally to future global
        climate change impacts,194 and have identified climate change impacts in the region.195 In
        light of this analysis, and because we are conducting a generic proceeding to determine
        whether and how to Commission will conduct significance determinations for GHG
        emissions going forward, the Commission is not herein characterizing these emissions as
        significant or insignificant.196

        76. NRDC urges the Commission to wait to conduct NEPA analysis until the
        Commission decides how it will determine the significance of GHG emissions.197

               191
                  See Tex. E. Transmission, LP, 180 FERC ¶ 61,186, at P 28 (2022) and Golden
         Pass Pipeline, LLC, 180 FERC ¶ 61,058, at P 21 (2022).
               192
                   Final EIS at 4-396 to 397 (finding that the project’s GHG emissions from the
         operation of the terminal would represent 3.2% of Louisiana’s 2030 projected GHG
         emission levels, assuming Louisiana achieves its planned reductions from the state’s 2005
         levels).
               193
                     Final EIS at 4-397 to 4-398.
               194
                     Final EIS at 4-396.
               195
                     Final EIS at 4-395.
               196
                   On February 17, 2022, the Commission issued the Updated Certificate Policy
         Statement and an Interim GHG Policy Statement. Certification of New Interstate Nat.
         Gas Facilities Consideration of Greenhouse Gas Emissions in Nat. Gas Infrastructure
         Project Revs., 178 FERC ¶ 61,197 (2022). The Interim GHG Policy Statement
         established a NEPA significance threshold of 100,000 tons per year of carbon-dioxide-
         equivalent (CO2e) as a matter of policy, which was meant to serve as interim guidance for
         project applicants and stakeholders and the Commission sought public comment on the
         statement. On March 24, 2022, the Commission, upon further consideration, made both
         statements draft and stated that it would not apply either statement to pending or new
         projects until the Commission issues any final guidance after public comment. Interim
         GHG Policy Statement, 178 FERC ¶ 61,197 at P 2.
               197
                     NRDC May 23, 2022 Comments at 25-27.




                                                                                          JA039
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         However, the Commission has sufficient information to proceed. It has quantified and
         contextualized the project’s construction and operational GHG emissions,198 recognized
         that the project’s contributions to GHG emissions will incrementally contribute to future
         global climate change impacts, and described those potential impacts in the region.
         Having substantively complied with NEPA, it is reasonable for the Commission to act on
         Commonwealth’s application.199

        77.     Commenters generally assert that the Commission should analyze GHG emissions
        relating to upstream production and downstream consumption of the natural gas that
        would be exported from the Commonwealth LNG Project facilities.200 As we have
        repeatedly held,201 under Sierra Club v. FERC (Freeport),202 the Commission need not
        consider the effects of upstream production or downstream transportation, consumption,
        or combustion of exported gas because the DOE's “independent decision to allow exports .
        . . breaks the NEPA causal chain and absolves the Commission of responsibility to include
        [these considerations] in its NEPA analysis.”203

        78.     The Environmental Coalition argues that the Commission must still consider
        upstream and downstream emissions because (1) the analysis would inform Commission
        decisionmaking on whether to require additional mitigation or avoidance of direct effects
        at the terminal site204 and (2) “DOE’s evaluation of Commonwealth LNG’s exports is a

               198
                     WildEarth Guardians v. Jewell, 738 F.3d 298, 309 (D.C. Cir. 2013).
               199
                  See e.g., Columbia Gulf Transmission, LLC, 180 FERC ¶ 61,206, at P 87 &
        n.206 (2022); see also, e.g., Sierra Club v. FERC, 38 F.4th 220, 226 (D.C. Cir. 2022)
        (“NEPA requires agencies to ‘take a hard look at the environmental consequences before
        taking a major action.”’) (quoting Balt. Gas & Elec. Co. v. Nat. Resources Def. Council,
        Inc., 462 U.S. 87, 97 (1983) (internal quotation marks omitted)); Del. Riverkeeper
        Network, 45 F.4th at 108 (“An agency’s compliance with NEPA’s requirements is also
        reviewed under the APA’s arbitrary and capricious standard.”) (citation omitted).
               200
                Final EIS at 4-398. See, e.g., EPA May 23, 2022 Comments at 2;
        Environmental Coalition May 23, 2022 Comments at 16, 19-20.
               201
                  See Columbia Gulf Transmission, LLC, 178 FERC ¶ 61,198, at P 46, order on
        reh’g, 180 FERC ¶ 61,206, at P 78 (2022).
               202
                     827 F.3d 36.
               203
                     Id. at 48; see also Final EIS at 4-398 (citing Freeport, 148 FERC ¶ 61,076).
               204
                  Environmental Coalition May 23, 2022 Comments at 19 (citing 15 U.S.C. §
         717b(e)(3)(A)).




                                                                                             JA040
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         connected action that cannot be segmented from FERC’s review of the terminal project,
         and FERC, as lead agency, must inform DOE’s decisionmaking as well.”205 Specifically,
         the Environmental Coalition asserts that a comprehensive analysis of related project
         impacts could persuade the Commission that the project’s direct impacts rise to the level
         of significance when combined with the indirect impacts of DOE’s connected action,
         which could then persuade the Commission to require additional mitigation of those
         direct impacts (for example, by requiring carbon capture and sequestration).206 The
         Environmental Coalition also states that the Freeport court explicitly declined to analyze
         whether the Commission’s responsibility under the NGA to act as “lead agency” or the
         prohibition against segmentation of NEPA analysis of interconnected actions requires the
         Commission to consider indirect upstream and downstream impacts.207

         79.    NRDC states that the Commission cannot defer climate analysis to DOE, especially
         as DOE has disclaimed authority to consider upstream impacts from export-induced gas
         production, and must consider the global emissions of the project, citing CEQ’s April
         2022 final rule that restored the 1978 definition of “effects” under NEPA.208

         80.    We are not persuaded that these arguments lead to a different outcome than the
         court reached in Freeport. As we have recently explained in response to similar
         arguments:

               NGA section 15(b)(1) directs the Commission to act as “lead agency
               for the purposes of coordinating all applicable Federal authorizations
               and for the purposes of complying with the National Environmental
               Policy Act.” Although the lead agency supervises the preparation of
               the environmental document where more than one federal agency is
               involved, the “lead agency” designation does not alter the scope of
               the project before the Commission either for approval or

               205
                   Environmental Coalition May 23, 2022 Comments at 16, 19-21. The
        Environmental Coalition further argues that Freeport was wrongly decided. Id. at 16-19.
        The Commission is not free to ignore controlling precedent, as the comments
        acknowledge, and declines to ask the D.C. Circuit to clarify or overrule Freeport. Id. at
        17, 19 (“[W]e do not contend that FERC can disregard D.C. Circuit cases that have not
        been overruled.”). The Environmental Coalition also urges the Commission to include
        this information on a voluntary basis to “provide important information to the public and
        to cooperating agency decisionmakers.” Id. at 16. We decline to do so.
               206
                     Environmental Coalition May 23, 2022 Comments at 16, 19-20.
               207
                     Environmental Coalition May 23, 2022 Comments at 16, 20.
               208
                     NRDC May 23, 2022 Comments at 27-29.




                                                                                             JA041
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                environmental review. Nor does the lead agency role make the
                Commission responsible for ensuring a cooperating federal agency’s
                compliance with its own NEPA responsibilities.209

         81.     Here, the project before the Commission is the construction and operation of
         facilities under section 3 of the NGA to export natural gas to foreign countries. The
         Commission fulfilled its role as lead agency in the NEPA review by publishing the final
         EIS on September 9, 2022 and by our analysis here. DOE participated as a cooperating
         agency in the creation of the EIS. As the agency responsible for authorizing exports, DOE
         is responsible for determining its obligations and providing appropriate supplemental
         environmental analysis should DOE decide to authorize exports from the proposed project
         to non-FTA nations.210

         82.    Additionally, “the requirement that an agency consider connected actions in a
         single environmental document is to ‘prevent agencies from dividing one project into
         multiple individual actions’ with less significant environmental effects.”211 As discussed
         above, the proposal before the Commission is to site, construct, and operate the
         Commonwealth LNG Project, a natural gas liquefaction and export facility. The export of
         natural gas was proposed before, and authorized by, DOE, not the Commission.

         83.    Finally, the NEPA review of project was prepared pursuant to the 1978 regulations;
         therefore, the Commonwealth LNG EIS is consistent with the April 2022 final rule that
         NRDC cites.

                         6.    Environmental Impacts Conclusion

         84.    We have reviewed the information and analysis contained in the final EIS
         regarding the potential environmental effects of the project, as well as the other
         information in the record. We are accepting the environmental recommendations in the
         final EIS as modified herein, and are including them as conditions in Appendix A to this
         order. Based on our consideration of this information and the discussion above, we agree
         with the conclusions presented in the final EIS and find that the project, if implemented as
         described in the final EIS, is an environmentally acceptable action.



                209
                    Columbia Gulf Transmission, LLC, 180 FERC ¶ 61,206, at P 82 (2022)
         (citations omitted) (analyzing section 7 facilities supporting LNG terminal).
                210
                      As noted above, Commonwealth’s LNG application is pending with DOE.
                211
                   Columbia Gulf Transmission, LLC, 180 FERC ¶ 61,206 at P 83 (quoting
         Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d at 1326).



                                                                                            JA042
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         IV.    Conclusion

         85.    For the reasons discussed above, we find that the project is not inconsistent with the
         public interest, and we will grant Commonwealth’s application for authorization under
         section 3 of the NGA to site, construct, and operate its proposed project.

         86.    Compliance with the environmental conditions appended to our orders is integral to
         ensuring that the environmental impacts of approved projects are consistent with those
         anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
         information submitted, and will issue a notice to proceed with a particular activity only
         when satisfied that the applicant has complied with all applicable conditions. We also
         note that the Commission has the authority to take whatever steps are necessary to ensure
         the protection of environmental resources during construction and operation of the project,
         including authority to impose any additional measures deemed necessary to ensure
         continued compliance with the intent of the conditions of the order, as well as the
         avoidance or mitigation of unforeseen adverse environmental impacts resulting from
         project construction and operation.

         87.    Any state or local permits issued with respect to the jurisdictional facilities
         authorized herein must be consistent with the conditions of this authorization. The
         Commission encourages cooperation between applicants and local authorities. However,
         this does not mean that state and local agencies through application of state or local laws,
         may prohibit or unreasonably delay the construction or operation of facilities approved by
         this Commission.212

         88.   The Commission on its own motion received and made a part of the record in this
         proceeding all evidence, including the application, and exhibits thereto, and comments,
         and upon consideration of the record.




                212
                   See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted) and Dominion Transmission,
         Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and local regulation
         is preempted by the NGA to the extent it conflicts with federal regulation, or would delay
         the construction and operation of facilities approved by the Commission).



                                                                                             JA043
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         The Commission orders:

                (A) Commonwealth is authorized under section 3 of the NGA to site, construct,
         and operate its Commonwealth LNG Project, as described and conditioned herein and as
         more fully described in its application and supplements, including any commitments made
         therein, subject to the environmental conditions contained in the appendix to this order.

                (B) Commonwealth’s proposed facilities shall be constructed and made
         available for service within five years of the date of this order.

                (C) Commonwealth shall notify the Commission’s environmental staff by
        telephone or e-mail of any environmental noncompliance identified by other federal,
        state, or local agencies on the same day that such agency notifies Commonwealth.
        Commonwealth shall file written confirmation of such notification with the Secretary of
        the Commission within 24 hours.

        By the Commission. Chairman Glick is concurring with a separate statement attached.
                           Commissioner Danly is concurring in part with a separate statement
                           attached.
                           Commissioner Clements is concurring with a separate statement
                           attached.
                           Commissioner Phillips is concurring with a separate statement
                           attached.

        (SEAL)




                                                      Kimberly D. Bose,
                                                         Secretary.




                                                                                          JA044
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                                               Appendix A

                                       Environmental Conditions

        As recommended in the final environmental impact statement (final EIS) and otherwise
        amended herein, this authorization includes the following conditions.

        1.    Commonwealth LNG, LLC (Commonwealth) shall follow the construction
              procedures and mitigation measures described in its application and supplements,
              including responses to staff data requests and as identified in the EIS, unless
              modified by the Order. Commonwealth must:
              a.     request any modification to these procedures, measures, or conditions in a
                     filing with the Secretary of the Commission (Secretary);

              b.     justify each modification relative to site-specific conditions;

              c.     explain how that modification provides an equal or greater level of
                     environmental protection than the original measure; and

              d.     receive approval in writing from the Director of the Office of Energy Projects
                     (OEP), or the Director’s designee, before using that modification.

        2.    The Director of OEP, or the Director’s designee, has delegated authority to address
              any requests for approvals or authorizations necessary to carry out the conditions of
              the Order, and take whatever steps are necessary to ensure the protection of life,
              health, property, and the environment during construction and operation of the
              Commonwealth LNG Project (Project). This authority shall allow:
              a.     the modification of conditions of the Order;

              b.     stop-work authority and authority to cease operation; and

              c.     the imposition of any additional measures deemed necessary to ensure
                     continued compliance with the intent of the conditions of the Order as well as
                     the avoidance or mitigation of unforeseen adverse environmental impacts
                     resulting from Project construction and operation.

         3.    Prior to any construction, Commonwealth shall file an affirmative statement with
               the Secretary, certified by senior company officials, that all company personnel,
               environmental inspectors (EI), and contractor personnel will be informed of the
               EI’s authority and have been or will be trained on the implementation of the
               environmental mitigation measures appropriate to their jobs before becoming
               involved with construction and restoration activities.




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         4.    The authorized facility locations shall be as shown in the EIS, as supplemented by
               filed plot plans, alignment sheets, and facility diagrams. As soon as they are
               available, and before the start of construction, Commonwealth shall file with the
               Secretary any revised detailed plans, diagrams, and alignment sheets at a scale not
               smaller than 1:6,000 with station positions for all facilities approved by the Order.
               All requests for modifications of environmental conditions of the Order or site-
               specific clearances must be written and must specify locations designated on these
               plans, diagrams, and alignment sheets.
         5.    Commonwealth shall file with the Secretary detailed alignment maps/sheets and
               aerial photographs at a scale not smaller than 1:6,000 identifying all route
               realignments or facility relocations, staging areas, pipe storage yards, new access
               roads, and other areas that would be used or disturbed that have not been previously
               identified in filings with the Secretary. Approval for each of these areas must be
               explicitly requested in writing. For each area, the request must include a
               description of the existing land use or cover type, documentation of landowner
               approval, whether any cultural resources or federally listed threatened or
               endangered species would be affected, and whether any other environmentally
               sensitive areas are within or abutting the area. All areas shall be clearly identified
               on the maps, or aerial photographs. Use of each area must be approved in writing
               by the Director of OEP, or the Director’s designee, before construction in or near
               that area.
               This requirement does not apply to extra workspace allowed by the Commission’s
               Upland Erosion Control, Revegetation, and Maintenance Plan and/or minor field
               realignments per landowner needs and requirements which do not affect other
               landowners or sensitive environmental areas such as wetlands.

               Examples of alterations requiring approval include all route alignments and facility
               location changes resulting from:
               a.     implementation of cultural resources mitigation measures;

               b.     implementation of endangered, threatened, or special concern mitigation
                      measures;

               c.     recommendations by state regulatory authorities; and

               d.     agreements with individual landowners that affect other landowners or could
                      affect sensitive environmental areas.

         6.    At least 60 days before construction begins, Commonwealth shall file an
               Implementation Plan with the Secretary for review and written approval by the
               Director of OEP, or the Director’s designee. Commonwealth must file revisions to
               the plan as schedules change. The plan shall identify:




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               a.    how Commonwealth will implement the construction procedures and
                     mitigation measures described in its application and supplements (including
                     responses to staff data requests), identified in the EIS, and required by the
                     Order;

               b.    how Commonwealth will incorporate these requirements into the contract bid
                     documents, construction contracts (especially penalty clauses and
                     specifications), and construction drawings so that the mitigation required at
                     each site is clear to onsite construction and inspection personnel;

               c.    the number of EIs assigned, and how the company will ensure that sufficient
                     personnel are available to implement the environmental mitigation;

               d.    company personnel, including EIs and contractors, who will receive copies of
                     the appropriate material;

               e.    the location and dates of the environmental compliance training and
                     instructions Commonwealth will give to all personnel involved with
                     construction and restoration (initial and refresher training as the Project
                     progresses and personnel change), with the opportunity for OEP staff to
                     participate in the training session(s);

               f.    the company personnel (if known) and specific portion of Commonwealth’s
                     organization having responsibility for compliance;

               g.    the procedures (including use of contract penalties) Commonwealth will
                     follow if noncompliance occurs; and

                     i. for each discrete facility, a Gantt or PERT chart (or similar project
                        scheduling diagram), and dates for:
                   ii, the completion of all required surveys and reports;
                   iii. the environmental compliance training of onsite personnel;
                    iv. the start of construction; and
                     v. the start and completion of restoration.
         7.    Commonwealth shall employ at least one EI for the Project. The EI(s) shall be:
               a.    responsible for monitoring and ensuring compliance with all mitigation
                     measures required by the Order and other grants, permits, certificates, or other
                     authorizing documents;

               b.    responsible for evaluating the construction contractor’s implementation of the
                     environmental mitigation measures required in the contract (see condition 6
                     above) and any other authorizing document;




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               c.     empowered to order correction of acts that violate the environmental
                      conditions of the Order, and any other authorizing document;

               d.     a full-time position, separate from all other activity inspectors;

               e.     responsible for documenting compliance with the environmental conditions
                      of the Order, as well as any environmental conditions/permit requirements
                      imposed by other federal, state, or local agencies; and

               f.     responsible for maintaining status reports.

         8.    Beginning with the filing of its Implementation Plan, Commonwealth shall file
               updated status reports with the Secretary on a monthly basis until all construction
               and restoration activities are complete. Problems of a significant magnitude shall
               be reported to the FERC within 24 hours. On request, these status reports will
               also be provided to other federal and state agencies with permitting responsibilities.
               Status reports shall include:
               a.     an update on Commonwealth’s efforts to obtain the necessary federal
                      authorizations;

               b.     project schedule, including current construction status of the project and work
                      planned for the following reporting period;

               c.     listing of all problems encountered, contractor nonconformance/deficiency
                      logs, and each instance of noncompliance observed by the EI during the
                      reporting period (both for the conditions imposed by the Commission and any
                      environmental conditions/permit requirements imposed by other federal,
                      state, or local agencies);

               d.     a description of the corrective and remedial actions implemented in response
                      to all instances of noncompliance, nonconformance, or deficiency;

               e      the effectiveness of all corrective and remedial actions implemented;

               f.     a description of any landowner/resident complaints which may relate to
                      compliance with the requirements of the order, and the measures taken to
                      satisfy their concerns; and

               g.     copies of any correspondence received by Commonwealth from other federal,
                      state, or local permitting agencies concerning instances of noncompliance,
                      and Commonwealth’s response.

         9.    Commonwealth shall develop and implement an environmental complaint
               resolution procedure, and file such procedure with the Secretary, for review and
               approval by the Director of OEP, or the Director’s designee. The procedure shall



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                      provide landowners with clear and simple directions for identifying and resolving
                      their environmental mitigation problems/concerns during construction of the
                      project and restoration of the right-of-way. Prior to construction, Commonwealth
                      shall mail the complaint procedures to each landowner whose property will be
                      crossed by the project.
                      a.          In its letter to affected landowners, Commonwealth shall:

                             i.         provide a local contact that the landowners should call first with their
                                        concerns; the letter should indicate how soon a landowner should
                                        expect a response;
                            ii.         instruct the landowners that if they are not satisfied with the response,
                                        they should call Commonwealth's Hotline; the letter should indicate
                                        how soon to expect a response; and
                           iii.         instruct the landowners that if they are still not satisfied with the
                                        response from Commonwealth's Hotline, they should contact the
                                        Commission’s Landowner Helpline at 877-337-2237 or at
                                        LandownerHelp@ferc.gov.

                      b.          In addition, Commonwealth shall include in its monthly status report a copy
                                  of a table that contains the following information for each problem/concern:

                             i.         the identity of the caller and date of the call;
                 i.        the location by milepost and identification number from the authorized alignment
                           sheet(s) of the affected property;
                ii.        a description of the problem/concern; and
               iii.        an explanation of how and when the problem was resolved, will be resolved, or
                           why it has not been resolved.
         10.          All conditions attached to the water quality certification issued by Louisiana
                      Department of Environmental Quality constitute mandatory conditions of this
                      Authorization Order. Prior to construction, Commonwealth shall file, for review
                      and written approval of the Director of OEP, or the Director’s designee, any
                      revisions to its project design necessary to comply with the water quality
                      certification conditions.
        11.           Commonwealth must receive written authorization from the Director of OEP, or
                      the Director’s designee, before commencing construction of any Project facilities.
                      To obtain such authorization, Commonwealth must file with the Secretary
                      documentation that it has received all applicable authorizations required under
                      federal law (or evidence of waiver thereof).




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         12.   Commonwealth must receive written authorization from the Director of OEP, or
               the Director’s designee, prior to introducing hazardous fluids into the Project
               facilities. Instrumentation and controls, hazard detection, hazard control, and
               security components/systems necessary for the safe introduction of such fluids shall
               be installed and functional.
         13.   Commonwealth must receive written authorization from the Director of OEP, or
               the Director’s designee, before placing into service the Project facilities. Such
               authorization will only be granted following a determination that the facilities have
               been constructed in accordance with FERC approval, can be expected to operate
               safely as designed, and the rehabilitation and restoration of areas affected by the
               project are proceeding satisfactorily.
         14.   Within 30 days of placing the authorized facilities in service, Commonwealth
               shall file an affirmative statement with the Secretary, certified by a senior company
               official:
               a.     that the facilities have been constructed in compliance with all applicable
                      conditions, and that continuing activities will be consistent with all applicable
                      conditions; or
               b.     identifying which of the conditions in the Order Commonwealth has complied
                      with or will comply with. This statement shall also identify any areas affected
                      by the project where compliance measures were not properly implemented, if
                      not previously identified in filed status reports, and the reason for
                      noncompliance.
         15.   Prior to construction of the Project Pipeline, Commonwealth shall file with the
               Secretary for review and written approval by the Director of OEP, or the Director’s
               designee, an alternative contingency plan for crossing Highway 27/82 in the event
               that Commonwealth is unable to successfully complete the proposed horizontal
               directional drill of Highway 27/82. Commonwealth shall develop the contingency
               plan in consultation with the Louisiana Department of Transportation and
               Development.
         16.   Commonwealth shall successfully complete the Highway 27/82 crossing prior to
               the start of construction of the remainder of the Project Pipeline.
         17.   Prior to construction of the Project, Commonwealth shall file with the Secretary
               a copy of the determination of consistency with the Coastal Zone Management
               Program issued by the Louisiana Department of Natural Resources.
         18.   During construction activities at the Terminal, Commonwealth shall monitor noise
               levels between 7:00 p.m. and 7:00 a.m., document the noise levels in the
               construction status reports, and restrict the noise attributable to construction
               activities to no more than 55 A-weighted decibel (dBA) day-night sound level (Ldn)
               (48.6 dBA total noise impacts) at noise sensitive areas (NSA) 1 and 2.




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        19.    Commonwealth shall file a full power load noise survey with the Secretary for the
               Terminal no later than 60 days after each liquefaction train is placed into service.
               If the noise attributable to operation of the equipment at the Terminal exceeds an
               Ldn of 55 dBA at NSAs, within 60 days Commonwealth shall modify operation of
               the liquefaction facilities or install additional noise controls until a noise level
               below an Ldn of 55 dBA at the NSAs is achieved. Commonwealth shall confirm
               compliance with the above requirement by filing a second noise survey with the
               Secretary no later than 60 days after it installs the additional noise controls.
        20.    Commonwealth shall file a noise survey with the Secretary no later than 60 days
               after placing the entire Terminal into service. If a full load condition noise survey
               is not possible, Commonwealth shall provide an interim survey at the maximum
               possible horsepower load within 60 days of placing the Terminal into service and
               provide the full load survey within 6 months. If the noise attributable to operation
               of the equipment at the Terminal exceeds an Ldn of 55 dBA at any nearby NSA
               under interim or full horsepower load conditions, Commonwealth shall file a report
               on what changes are needed and shall install the additional noise controls to meet
               the level within 1 year of the in-service date. Commonwealth shall confirm
               compliance with the above requirement by filing an additional noise survey with
               the Secretary no later than 60 days after it installs the additional noise controls.
         21.   Prior to initial site preparation, Commonwealth shall file with the Secretary the
               following information, stamped and sealed by the professional engineer-of-record,
               registered in the State of Louisiana:
               a.     finalized ground improvement solution of wick drains combined with
                      surcharge for the Project site;

               b.     site soil compaction via surcharge procedures and specifications; and

               c.     finalized wick drains installation design package.

         22.   Prior to initial site preparation, Commonwealth shall file with the Secretary the
               following information, stamped and sealed by the professional engineer-of-record,
               registered in the State of Louisiana:
               a.     the corrosion control and prevention plan for any underground piping,
                      structures, foundations, equipment, and components; and

               b.     the erosion control and prevention plan for the marine facility area.

         23.   Prior to initial site preparation, Commonwealth shall file with the Secretary the
               finalized plot plan with final design of finished slopes and elevations contour lines
               for the Project site. The finalized plot plan shall be stamped and sealed by the
               professional engineer-of-record, registered in the State of Louisiana.




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         24.   Prior to initial site preparation, Commonwealth shall file with the Secretary the
               finalized pile load test program (e.g., pile load test procedure, locations,
               configuration, quality assurance, and quality control, etc.). The filing shall be
               stamped and sealed by the professional engineer-of-record, registered in the State
               of Louisiana.
         25.   Prior to site initial preparation, Commonwealth shall file with the Secretary the
               final design of floodwalls (storm surge protection barriers) to comply with
               applicable code/standards requirements including but are not limited to National
               Fire Protection Association (NFPA) 59A (2019 edition) as incorporated by 33
               Code of Federal Regulations (CFR) 127, and NFPA 59A (2001 edition) in 49 CFR
               193. In addition, the floodwalls shall be designed and maintained in accordance
               with American Society of Civil Engineers (ASCE)/Structural Engineering Institute
               (SEI) 7 (2022 edition) or equivalent and ASCE/SEI 24 (2014 edition) or equivalent
               and to withstand a minimum of a 500-year mean occurrence interval in
               consideration of relative sea level rise, local subsidence, site settlement, shoreline
               recession, erosion and scour effect, and wind-driven wave effects, etc. The sea
               level rise and vertical land movement should be in accordance with at a minimum
               intermediate curve corresponding to design life of facility in Global and Regional
               Sea Level Rise Scenarios for the United States. U.S. Department of Commerce.
               National Ocean and Atmospheric Administration, National Ocean Service Center
               for Operational Oceanographic Products and Services, February 2022 or
               equivalent. The final design of floodwalls shall be stamped and sealed by the
               professional engineer-of-record, registered in the State of Louisiana.
         26.   Prior to construction of final design, Commonwealth shall file with the Secretary
               consultation with U.S. Department of Transportation’s (DOT) Pipeline and
               Hazardous Materials Safety Administration (PHMSA) that determines whether the
               use of normally closed valves to remove stormwater from curbed areas will meet
               PHMSA regulations.
         27.   Prior to construction of final design, Commonwealth shall file with the Secretary
               the following information, stamped and sealed by the professional engineer-of-
               record, registered in the State of Louisiana:
               a.     the finalized settlement monitoring program and procedures for the Project
                      site;

               b.     the total and differential settlement of final designed structures, systems, and
                      components foundations for the Project site; and

               c.     the total and differential settlement monitoring system of LNG storage tank
                      foundation design shall comply with applicable LNG industrial
                      codes/standards, including but not limited to American Petroleum Institute
                      (API) 620 (12th edition), API 625 (1st edition), API 650 (13th edition), API 653
                      (5th edition), and ACI 376 (2011 edition) or approved equivalents.



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        28.    Prior to construction of final design, Commonwealth shall file with the Secretary
               the following information, stamped and sealed by the professional engineer-of-
               record, registered in the State of Louisiana:
               a.     site preparation drawings and specifications;

               b.     finalized civil design basis, criteria, specifications;

               c.     LNG terminal structures, LNG storage tank, and foundation design drawings
                      and calculations (including prefabricated and field constructed structures);

               d.     seismic specifications for procured Seismic Category I equipment prior to the
                      issuing of request for quotations;

               e.     quality control procedures to be used for civil/structural design and
                      construction; and

               f.     a determination of whether soil improvement is necessary to counteract soil
                      liquefaction.

               In addition, Commonwealth shall file, in its Implementation Plan, the schedule for
               producing this information.

         29.   Prior to construction of the final design, Commonwealth shall file with the
               Secretary the finalized seismic monitoring program for the Project site. The
               seismic monitoring program shall comply with NFPA 59A (2019 edition) sections
               8.4.14.10, 8.4.14.12, 8.4.14.12.1, 8.4.14.12.2, and 8.4.14.13; ACI 376 (2011
               edition) sections 10.7.5 and 10.8.4; U.S. Nuclear Regulatory Commission
               Regulatory Guide (RG) 1.12 (Revision 3) sections 1 and 3 through 9 and all
               subsections, or equivalents subject to review and approval. A free-field seismic
               monitoring device should be included in the seismic monitoring program for the
               Project site. The proposed seismic monitoring system must include installation
               location plot plan; description of the triaxial strong motion recorders or other
               seismic instrumentation; the proposed alarm set points and operating procedures
               (including emergency operating procedures) for control room operators in response
               to such alarms/data obtained from seismic instrumentation; and testing and
               maintenance procedures.
         30.   Prior to construction of final design, Commonwealth shall file with the Secretary
               the settlement monitoring and maintenance plan that have been reviewed,
               approved, stamped and sealed by a professional engineer of record registered in the
               state of Louisiana, which ensures the facilities are protected for the life of the LNG
               terminal considering settlement, subsidence, and sea level rise.
         31.   Prior to construction of final design, Commonwealth shall file with the Secretary
               the final design elevation for the structures/buildings outside floodwalls area,



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               including but are not limited to admin office/main control room, maintenance
               building, elevated flare, marine flare, jetty platform control room, etc. The final
               design elevation drawings and calculations shall be stamped and sealed by the
               professional engineer-of-record, registered in the State of Louisiana.
               Information pertaining to the following specific recommendations shall be
               filed with the Secretary for review and written approval by the Director of
               OEP, or the Director’s designee, within the timeframe indicated by each
               recommendation. Specific engineering, vulnerability, or detailed design
               information meeting the criteria specified in Order No. 833 (Docket No.
               RM16-15-000), including security information, shall be submitted as critical
               energy infrastructure information pursuant to 18 CFR § 388.113. See Critical
               Electric Infrastructure Security and Amending Critical Energy Infrastructure
               Information, Order No. 833, 81 Fed. Reg. 93,732 (December 21, 2016), FERC
               Stats. & Regs. 31,389 (2016). Information pertaining to items such as offsite
               emergency response, procedures for public notification and evacuation, and
               construction and operating reporting requirements would be subject to public
               disclosure. All information shall be filed a minimum of 30 days before
               approval to proceed is requested.
         32.   Prior to initial site preparation, Commonwealth shall file an overall Project
               schedule, which includes the proposed stages of initial site preparation,
               construction, commissioning, and in-service plan relative to notice to proceed
               requests and related conditions.
         33.   Prior to initial site preparation, Commonwealth shall file procedures for
               controlling access during construction.
         34.   Prior to initial site preparation, Commonwealth shall file quality assurance and
               quality control procedures for construction activities, including transportation load
               monitoring for prefabricated process modules and LNG storage tanks.
         35.   Prior to initial site preparation, Commonwealth shall file with the Secretary the
               finalized wind design basis for the project facility, which shall include the tornado
               loads determination and consideration of its load combination as required by
               ASCE/SEI 7 (2022 edition) or approved equivalent.
         36.   Prior to initial site preparation, Commonwealth shall file its design wind speed
               criteria for all other facilities not covered by PHMSA’s Letter of Determination to
               be designed to withstand wind speeds commensurate with the risk and reliability
               associated with the facilities in accordance with ASCE 7-22 or equivalent.
         37.   Prior to initial site preparation, Commonwealth shall develop an Emergency
               Response Plan (ERP) (including evacuation and any sheltering and re-entry) and
               coordinate procedures with the U.S. Coast Guard (USCG); state, county, and local
               emergency planning groups; fire departments; state and local law enforcement; and
               other appropriate federal agencies. This plan shall be consistent with



                                                                                             JA054
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               recommended and good engineering practices and based on potential impacts and
               onsets of hazards from accidental and intentional events along the LNG marine
               vessel route and potential impacts and onset of hazards from accidental and
               intentional events at the LNG terminal, including but not limited to a catastrophic
               failure of the largest LNG tank. This plan shall address any special considerations
               and pre-incident planning for infrastructure and public with access and functional
               needs and shall include at a minimum:
               a.    materials and plans for periodic dissemination of public education and
                     training materials for evacuation and/or shelter in place of the public within
                     any transient hazard areas along the marine vessel route, and within LNG
                     terminal hazard areas;

               b.    plans to competently train emergency responders required to effectively and
                     safely respond to hazardous material incidents including, but not limited to
                     LNG fires and dispersion;

               c.    plans to competently train emergency responders to effectively and safely
                     evacuate or shelter public within transient hazard areas along the marine
                     vessel route, and within hazard areas from LNG terminal;

               d.    designated contacts with federal, state and local emergency response agencies
                     responsible for emergency management and response within any transient
                     hazard areas along the marine vessel route, and within hazard areas from LNG
                     terminal;

               e.    scalable procedures for the prompt notification of appropriate local officials
                     and emergency response agencies based on the level and severity of potential
                     incidents;

               f.    scalable procedures for mobilizing response and establishing a unified
                     command, including identification, location, and design of any emergency
                     operations centers and emergency response equipment required to effectively
                     and safely to respond to hazardous material incidents and evacuate or shelter
                     public within transient hazard areas along the marine vessel route, and within
                     LNG terminal hazard areas;

               g.    scalable procedures for notifying public, including identification, location,
                     design, and use of any permanent sirens or other warning devices required to
                     effectively communicate and warn the public prior to onset of debilitating
                     hazards within any transient hazard areas along the LNG marine vessel route
                     and within hazard areas from LNG terminal;

               h.    scalable procedures for evacuating the public, including identification,
                     location, design, and use of evacuation routes/methods and any mustering



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                     locations required effectively and safely evacuate public within any transient
                     hazard areas along the LNG marine transit route and within hazard areas from
                     LNG terminal; and

               i.    scalable procedures for sheltering the public, including identification,
                     location, design, and use of any shelters demonstrated to be needed and
                     demonstrated to effectively and safely shelter public prior to onset of
                     debilitating hazards within transient hazard areas that may better benefit from
                     sheltering in place (i.e., those within Zones of Concern 1 and 2), along the
                     route of the LNG marine vessel and within hazard areas that may benefit from
                     sheltering in place (i.e., those within areas of 1,600 British thermal units
                     (BTU)/ft2-hr and 10,000 BTU/ft2-hr radiant heats from fires with farthest
                     impacts, including from a catastrophic failure of largest LNG tank) of the
                     LNG terminal.

               Commonwealth shall notify the FERC staff of all planning meetings in advance
               and shall report progress on the development of its ERP at 3‑month intervals.

        38.    Prior to initial site preparation, Commonwealth shall file a Cost-Sharing Plan
               identifying the mechanisms for funding all Project-specific security/emergency
               management costs that would be imposed on state and local agencies. This
               comprehensive plan shall include funding mechanisms for the capital costs
               associated with any necessary security/emergency management equipment and
               personnel base. This plan shall include sustained funding of any requirement or
               resource gap analysis identified to effectively and safely evacuate and shelter
               public and to effectively and safely respond to hazardous material incidents
               consistent with recommended and good engineering practices. Commonwealth
               shall notify FERC staff of all planning meetings in advance and shall report
               progress on the development of its Cost Sharing Plan at 3-month intervals.
         39.   Prior to construction of final design of any permanent facilities,
               Commonwealth shall file Emergency Response Plans and any associated Cost
               Sharing Plan provisions in coordination with federal, state, and local agencies for
               hazards that may reach State Highway 27, including identifying potential incidents,
               impact distances, and timing of the onset of hazards reaching State Highway 27,
               and measures to notify approaching highway traffic and evacuate persons from
               impacted areas as quickly as possible relative to the onset of hazards. The ERP and
               Cost Sharing Plans should discuss consideration of signage or equivalent, and
               maintenance thereof, to facilitate notification and evacuation.

         40.   Prior to construction of final design, Commonwealth shall file change logs that
               list and explain any changes made from the front-end-engineering-design (FEED)
               provided in Commonwealth’s application and filings. A list of all changes with an




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               explanation for the design alteration shall be provided and all changes shall be
               clearly indicated on all diagrams and drawings.
        41.    Prior to construction of final design, Commonwealth shall file
               information/revisions pertaining to Commonwealth’s response: numbers 15, 45, 65,
               and 106 of its February 4, 2020 filing; numbers 124, 125c, 127, 134, 135, 148, 153,
               154, 155, 157, 161, 162, 164, 165, and 167 of its March 4, 2020 filing; numbers 7,
               17, and 18 of its June 4, 2021 filing; numbers 5, 23, 27, 28, 29, 30, 31, 32, and 33
               of its November 9, 2021 filing, which indicated features to be included or
               considered in the final design.
         42.   Prior to construction of final design, Commonwealth shall file drawings and
               specifications for crash rated vehicle barriers in accordance with American Society
               for Testing and Materials (ASTM) F2656 (2015 edition) or approved equivalent at
               each facility entrance for access control. The crash rating vehicle type shall be
               supported by a security vulnerability assessment that takes into account the
               potential target attractiveness, threats, vulnerabilities, consequences, and mitigation
               effectiveness consistent with American Institute of Chemical Engineers, Guidelines
               for Analyzing and Managing the Security Vulnerabilities of Fixed Chemical Sites,
               2003 or approved equivalent. The crash rating speed shall be supported by an
               analysis of the maximum attainable vehicle velocity based on vehicle type
               acceleration and road characteristics (e.g., straight length, radius of curvature,
               sloped/banked, coefficient of friction, etc.).
        43.    Prior to construction of final design, Commonwealth shall file drawings of
               internal road vehicle protections, such as guard rails, barriers, and bollards to
               protect transfer piping, pumps, compressors, hydrants, monitors, etc. to ensure that
               they are located away from roadway or protected from inadvertent damage from
               vehicles.
         44.   Prior to construction of final design, Commonwealth shall file drawings of the
               security fence. The fencing drawings shall provide details of fencing that
               demonstrates it is in accordance with NFPA 59A (2019 edition) or approved
               equivalent and would restrict and deter access around the entire facility and has a
               setback from exterior features (e.g., power lines, trees, etc.) and from interior
               features (e.g., piping, equipment, buildings, etc.) that does not allow the fence to be
               overcome.
         45.   Prior to construction of final design, Commonwealth shall file security camera
               and intrusion detection drawings. The security camera drawings shall show the
               locations, mounting elevation, areas covered, and features of each camera (e.g.,
               fixed, tilt/pan/zoom, motion detection alerts, low light, etc.) and shall provide
               camera coverage at access points and along the entire perimeter with redundancies
               and camera coverage interior of the facility to enable rapid monitoring of the
               terminal, including a camera at the top of each LNG storage tank, and coverage
               within pretreatment areas, within liquefaction areas, within truck transfer areas,



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               within marine transfer areas, and within buildings. The drawings shall show or
               note the location and type of the intrusion detection and shall cover the entire
               perimeter of the facility.
        46.    Prior to construction of final design, Commonwealth shall file photometric
               analyses or equivalent and associated lighting drawings. The lighting drawings
               shall show the location, elevation, type of light fixture, and lux levels of the
               lighting system and shall provide illumination along the perimeter of the terminal,
               process equipment, mooring points, and along paths/roads of access and egress to
               facilitate security monitoring and emergency response operations in accordance
               with API 540 (4th edition) or approved equivalent and applicable federal
               regulations.
        47.    Prior to construction of final design, Commonwealth shall file a plot plan of the
               final design showing all major equipment, structures, buildings, and impoundment
               systems.
         48.   Prior to construction of final design, Commonwealth shall file a building siting
               assessment to ensure plant buildings that are occupied or critical to the safety of the
               LNG plant are adequately protected from potential hazards involving fires and
               vapor cloud explosions.
        49.    Prior to construction of final design, Commonwealth shall file three-dimensional
               plant drawings to confirm plant layout for maintenance, access, egress, and
               congestion.
        50.    Prior to construction of final design, Commonwealth shall file up-to-date process
               flow diagrams (PFDs), heat and mass balances (HMBs), and piping and instrument
               diagrams (P&IDs) including vendor P&IDs. The HMBs shall demonstrate a peak
               export rate of 9.5 million metric tonnes per annum. The P&IDs shall include the
               following information:
               a.     equipment tag number, name, size, duty, capacity, and design conditions;
               b.     equipment insulation type and thickness;
               c.     storage tank pipe penetration size and nozzle schedule;
               d.     valve high pressure side and internal and external vent locations;
               e.     piping with line number, piping class specification, size, and insulation type
                      and thickness;
               f.     piping specification breaks and insulation limits;
               g.     all control and manual valves numbered;
               h.     relief valves with size and set points; and
               i.     drawing revision number and date.




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         51.   Prior to construction of final design, Commonwealth shall file P&IDs,
               specifications, and procedures that clearly show and specify the tie-in details
               required to safely connect subsequently constructed facilities with the operational
               facilities.
         52.   Prior to construction of final design, Commonwealth shall file a car seal and lock
               philosophy and car seal and lock program, including a list of all car-sealed and
               locked valves consistent with the P&IDs. The car seal and lock program should
               include monitoring and periodically reviewing correct car seal and lock placement
               and valve position.
         53.   Prior to construction of final design, Commonwealth shall file information to
               demonstrate the Engineering Procurement and Construction (EPC) contractor has
               verified that all FEED hazard identification recommendations have been addressed.
         54.   Prior to construction of final design, Commonwealth shall file a hazard and
               operability review of the final design P&IDs, a list of the resulting
               recommendations, and action taken on the recommendations. The issued for
               construction P&IDs shall incorporate the hazard and operability review
               recommendations and justification shall be provided for any recommendations that
               are not implemented.
         55.   Prior to construction of final design, Commonwealth shall file design pressure
               and set point information for the piping, equipment, and pressure relief valves
               located between the inlet feed gas high integrity pressure protection system
               (HIPPS) and the downstream pressure regulators to demonstrate pressures would
               not exceed the design pressures of these components.
         56.   Prior to construction of final design, Commonwealth shall provide a check valve
               upstream of the acid gas removal column to prevent backflow or provide a dynamic
               simulation that shows that upon plant shutdown, the swan neck would be sufficient
               for this purpose.
         57.   Prior to construction of final design, Commonwealth shall specify a second
               source of vacuum breaker gas (i.e., pad gas) for the LNG storage tanks independent
               of the liquefaction facility.
         58.   Prior to construction of final design, Commonwealth shall include LNG tank fill
               flow measurement with high flow alarm.
         59.   Prior to construction of final design, Commonwealth shall specify a discretionary
               vent valve on each LNG storage tank that is operable through the Distributed
               Control System (DCS). In addition, a car sealed open manual block valve shall be
               provided upstream of the discretionary vent valve.
         60.   Prior to construction of final design, Commonwealth shall file the safe operating
               limits (upper and lower), alarm and shutdown set points for all instrumentation
               (e.g., temperature, pressures, flows, and compositions).



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         61.   Prior to construction of final design, Commonwealth shall file cause-and-effect
               matrices for the process instrumentation, fire and gas detection system, and
               emergency shutdown system. The cause-and-effect matrices shall include alarms
               and shutdown functions, details of the voting and shutdown logic, and set points.
        62.    Prior to construction of final design, Commonwealth shall specify that all
               emergency shutdown valves are to be equipped with open and closed position
               switches connected to the Distributed Control System (DCS)/ safety instrument
               system (SIS).
        63.    Prior to construction of final design, Commonwealth shall demonstrate that all
               electrical, instrument, and control systems at the project, which activate emergency
               systems or are relied upon for isolation or shutdowns, will be designed to withstand
               a 20-minute fire exposure per UL 1709 (6th edition) or approved equivalent.
        64.    Prior to construction of final design, Commonwealth shall file an up-to-date
               equipment list, process and mechanical data sheets, and specifications. The
               specifications shall include:
               a.     building specifications (e.g., control buildings, electrical buildings,
                      compressor buildings, storage buildings, pressurized buildings, ventilated
                      buildings, blast resistant buildings);
               b.     mechanical specifications (e.g., piping, valve, insulation, rotating equipment,
                      heat exchanger, storage tank and vessel, other specialized equipment);
               c.     electrical and instrumentation specifications (e.g., power system, control
                      system, SIS, cable, other electrical and instrumentation); and
               d.     security and fire safety specifications (e.g., security, passive protection,
                      hazard detection, hazard control, firewater).

         65.   Prior to construction of final design, Commonwealth shall file a list of all codes
               and standards and the final specification document number where they are
               referenced.
         66.   Prior to construction of final design, Commonwealth shall file a complete
               specifications and drawings of the proposed LNG tank design and installation.
         67.   Prior to construction of final design, Commonwealth shall file an evaluation of
               emergency shutdown valve closure times. The evaluation shall account for the
               time to detect an upset or hazardous condition, notify plant personnel, and close the
               emergency shutdown valve(s).
         68.   Prior to construction of final design, Commonwealth shall file an evaluation of
               dynamic pressure surge effects from valve opening and closure times and pump
               operations that demonstrate that the surge effects do not exceed the design
               pressures.




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         69.   Prior to construction of final design, Commonwealth shall demonstrate that, for
               hazardous fluids, piping and piping nipples 2 inches or less in diameter are
               designed to withstand external loads, including vibrational loads in the vicinity of
               rotating equipment and operator live loads in areas accessible by operators.
         70.   Prior to construction of final design, Commonwealth shall clearly specify the
               responsibilities of the LNG tank contractor and the EPC contractor for the piping
               associated with the LNG storage tank.
         71.   Prior to construction of final design, Commonwealth shall file the sizing basis
               and capacity for the final design of the flares and/or vent stacks as well as the
               pressure and vacuum relief valves for major process equipment, vessels, and
               storage tanks.
         72.   Prior to construction of final design, Commonwealth shall file the sizing
               calculations for the PSVs of the following vessels: E-A0101 Inlet Gas Preheater, E-
               A0403 Demethanizer Reboiler, E-A0301 Regeneration gas hot oil heater.
               Specifically, the calculations shall show the influence of the backpressure on these
               PSVs since they vent to the hot oil expansion drum (V-2101A) instead of the flare.
         73.   Prior to construction of final design, Commonwealth shall specify the process
               vessels, and storage vessels for ethylene, propane, isopentane, condensate, hot oil,
               and LNG are installed with spare pressure relief valves to ensure overpressure
               protection during relief valve testing or maintenance.
         74.   Prior to construction of final design, Commonwealth shall file an updated fire
               protection evaluation of the proposed facilities. A copy of the evaluation, a list of
               recommendations and supporting justifications, and actions taken on the
               recommendations shall be filed. The evaluation shall justify the type, quantity, and
               location of hazard detection and hazard control, passive fire protection, emergency
               shutdown and depressurizing systems, firewater, and emergency response
               equipment, training, and qualifications in accordance with NFPA 59A (2001). The
               justification for the flammable and combustible gas detection and flame and heat
               detection systems shall be in accordance with International Society of Automation
               (ISA) 84.00.07 (2018 edition) or approved equivalent methodologies and would
               need to demonstrate 90 % or more of releases (unignited and ignited) that could
               result in an off-site or cascading impact would be detected by two or more
               detectors and result in isolation and de inventory within 10 minutes. The analysis
               shall take into account the set points, voting logic, wind speeds, and wind
               directions. The justification for firewater shall provide calculations for all firewater
               demands based on design densities, surface area, and throw distance as well as
               specifications for the corresponding hydrant and monitors needed to reach and cool
               equipment.
         75.   Prior to construction of final design, Commonwealth shall file spill containment
               system drawings with dimensions and slopes of curbing, trenches, impoundments,




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               tertiary containment and capacity calculations considering any foundations and
               equipment within impoundments, as well as the sizing and design of the down-
               comers. The spill containment drawings shall show containment for all hazardous
               fluids including all liquids handled above their flashpoint, from the largest flow
               from a single line for 10 minutes, including de-inventory, or the maximum liquid
               from the largest vessel (or total of impounded vessels) or otherwise demonstrate
               that providing spill containment would not significantly reduce the flammable
               vapor dispersion or radiant heat consequences of a spill.
         76.   Prior to construction of final design, Commonwealth shall file an analysis that
               demonstrates the flammable vapor dispersion from design spills would be
               prevented from dispersing underneath the elevated LNG storage tanks, or the LNG
               storage tanks would be able to withstand an overpressure due to ignition of the
               flammable vapor that disperses underneath the elevated LNG storage tanks.
         77.   Prior to construction of final design, Commonwealth shall file an analysis that
               demonstrates the flammable vapor dispersion from design spills would be
               prevented from dispersing underneath the elevated control room, or the control
               room would be able to withstand an overpressure due to ignition of the flammable
               vapor that disperses underneath the elevated control room.
         78.   Prior to construction of final design, Commonwealth shall file a technical review
               of its proposed facility design that evaluates other potential locations for the
               proposed control room, or additional mitigation measures to protection the control
               room from high radiant heats.
         79.   Prior to construction of final design, Commonwealth shall file electrical area
               classification drawings, including cross sectional drawings. The drawings shall
               demonstrate compliance with NFPA 59A (2019 edition), NFPA 70 (2017 edition),
               NFPA 497 (2017 edition), and API RP 500 (3rd edition), or approved equivalents.
               In addition, the drawings shall include revisions to the electrical area classification
               design or provide technical justification that supports the electrical area
               classification of the following areas using most applicable API RP 500 figures
               (e.g., figures 20 and 21) or hazard modeling of various release rates from
               equivalent hole sizes and wind speeds (see NFPA 497 release rate of 1 lb-
               mole/minute).
         80.   Prior to construction of final design, Commonwealth shall file analysis of the
               buildings containing hazardous fluids and the ventilation calculations that limit
               concentrations below the lower flammable limits (LFL) (e.g., 25-percent LFL),
               including an analysis of off gassing of hydrogen in battery rooms, and shall also
               provide hydrogen detectors that alarm (e.g., 20- to 25-percent LFL) and initiate
               mitigative actions (e.g., 40- to 50-percent LFL) in accordance with NFPA 59A
               (2019 edition) and NFPA 70 (2017 edition), or approved equivalents.




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         81.   Prior to construction of final design, Commonwealth shall file drawings and
               details of how process seals or isolations installed at the interface between a
               flammable fluid system and an electrical conduit or wiring system meet the
               requirements of NFPA 59A (2001) or approved equivalent.
         82.   Prior to construction of final design, Commonwealth shall file details of an air
               gap or vent installed downstream of process seals or isolations installed at the
               interface between a flammable fluid system and an electrical conduit or wiring
               system. Each air gap shall vent to a safe location and be equipped with a leak
               detection device that shall continuously monitor for the presence of a flammable
               fluid, alarm the hazardous condition, and shut down the appropriate systems.
         83.   Prior to construction of final design, Commonwealth shall file complete
               drawings and a list of the hazard detection equipment. The drawings shall clearly
               show the location and elevation of all detection equipment as well as their coverage
               area. The list shall include the instrument tag number, type and location, alarm
               indication locations, and shutdown functions of the hazard detection equipment.
         84.   Prior to construction of final design, Commonwealth shall file a technical review
               of facility design that:
               a.    identifies all combustion/ventilation air intake equipment and the distances to
                     any possible flammable gas or toxic release; and
               b.    demonstrates that these areas are adequately covered by hazard detection
                     devices and indicates how these devices would isolate or shutdown any
                     combustion or heating ventilation and air conditioning equipment whose
                     continued operation could add to or sustain an emergency.
        85.    Prior to construction of final design, Commonwealth shall file a design that
               includes hazard detection suitable to detect high temperatures and smoldering
               combustion products in electrical buildings and control room buildings.
         86.   Prior to construction of final design, Commonwealth shall file an evaluation of
               the voting logic and voting degradation for hazard detectors.
         87.   Prior to construction of final design, Commonwealth shall file a list of alarm and
               shutdown set points for all hazard detectors that account for the calibration gas of
               the hazard detectors when determining the lower flammable limit set points for
               methane, ethylene, propane, isopentane, and condensate.
         88.   Prior to construction of final design, Commonwealth shall file a list of alarm and
               shutdown set points for all hazard detectors that account for the calibration gas of
               hazard detectors when determining the set points for toxic components such as
               condensate and hydrogen sulfide.
         89.   Prior to construction of final design, Commonwealth shall file a drawing
               showing the location of the emergency shutdown buttons, including, but not limited
               to the refrigerant storage, condensate storage, and LNG storage areas. Emergency



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               shutdown buttons shall be easily accessible, conspicuously labeled, and located in
               an area which would be accessible during an emergency.
         90.   Prior to construction of final design, Commonwealth shall file facility plan
               drawings and a list of the fixed and wheeled dry-chemical, hand-held fire
               extinguishers, and other hazard control equipment. Plan drawings shall clearly
               show the location by tag number of all fixed, wheeled, and hand-held extinguishers
               and shall demonstrate the spacing of extinguishers meet prescribed NFPA 10 (2018
               edition) or approved equivalent travel distances. The list shall include the
               equipment tag number, type, capacity, equipment covered, discharge rate, and
               automatic and manual remote signals initiating discharge of the units and shall
               demonstrate they meet NFPA 59A (2019 edition) or approved equivalent.
        91.    Prior to construction of final design, Commonwealth shall file drawings and
               specifications for the structural passive protection systems to protect equipment and
               supports from cryogenic releases.
        92.    Prior to construction of final design, Commonwealth shall file calculations or test
               results for the structural passive protection systems to protect equipment and
               supports from cryogenic releases.
        93.    Prior to construction of final design, Commonwealth shall file drawings and
               specifications for the structural passive protection systems to protect equipment and
               supports from pool and jet fires.
        94.    Prior to construction of final design, Commonwealth shall file a detailed
               quantitative analysis to demonstrate that adequate mitigation would be provided for
               each pressure vessel that could fail within the 4,000 BTU/ft2-hr zone from a pool
               or jet fires; each critical structural component (including the LNG marine vessel)
               and emergency equipment item that could fail within the 4,900 BTU/ft2-hr zone
               from a pool or jet fire; and each occupied building that could expose unprotected
               personnel within the 1,600 BTU/ft2-hr zone from a pool or jet fire. Trucks at truck
               transfer stations shall be included in the analysis of potential pressure vessel
               failures, as well as measures needed to prevent cascading impact due to the 10-
               minute sizing spill at the marine area. A combination of passive and active
               protection for pool fires and passive and/or active protection for jet fires shall be
               provided and demonstrate the effectiveness and reliability. Effectiveness of passive
               mitigation shall be supported by calculations or test results for the thickness
               limiting temperature rise over the fire duration, and active mitigation shall be
               supported by reliability information by calculations or test results, such as
               demonstrating flow rates and durations of any cooling water would mitigate the
               heat absorbed by the component. The total firewater demand shall account for all
               components that could fail to a pool or jet fire.
         95.   Prior to construction of final design, Commonwealth shall file an evaluation and
               associated specifications, drawings, and datasheets for transformers demonstrating




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                how it would prevent cascading damage of transformers (e.g., fire walls or spacing)
                in accordance with NFPA 850 (2015 edition) or approved equivalent.
        96.     Prior to construction of final design, Commonwealth shall file facility plan
                drawings showing the proposed location of the firewater and any foam systems.
                Plan drawings shall clearly show the location of firewater and foam piping, post
                indicator and sectional valves, and the location and area covered by, each monitor,
                hydrant, hose, water curtain, deluge system, foam system, water-mist system, and
                sprinkler. The drawings shall demonstrate that each process area, fire zone, or
                other sections of piping with several users can be isolated with post indicator or
                sectional valves and that firewater coverage is provided by at least two monitors or
                hydrants with sufficient firewater flow to cool exposed surfaces subjected to a fire.
                The drawings shall also include piping and instrumentation diagrams of the
                firewater and foam systems.
        97.     Prior to construction of final design, Commonwealth shall specify that the
                firewater pump shelter is designed to remove the largest firewater pump or other
                component for maintenance with an overhead or external crane.
         98.    Prior to construction of final design, Commonwealth shall demonstrate that the
                firewater storage tank is in compliance with NFPA 22 (2018 edition) or approved
                equivalent.
        99.     Prior to construction of final design, Commonwealth shall specify that the
                firewater flow test meter is equipped with a transmitter and that a pressure
                transmitter is installed upstream of the flow transmitter. The flow transmitter and
                pressure transmitter shall be connected to the DCS and recorded.
         100.   Prior to construction of final design, Commonwealth shall file drawings of the
                storage tank piping support structure and support of horizontal piping at grade
                including pump columns, relief valves, pipe penetrations, instrumentation, and
                appurtenances.
        101.    Prior to construction of final design, Commonwealth shall file the structural
                analysis of the LNG storage tank and outer containment demonstrating they are
                designed to withstand all loads and combinations, including shipping loads.
        102.    Prior to construction of the final design, Commonwealth shall file the finalized
                projectile/missile impact analysis to demonstrate that the outer concrete container
                wall of the full containment LNG storage tank could withstand projectile/missile
                impact. The analysis shall detail the projectile/missile speeds and characteristics
                and methods used to determine penetration resistance and perforation depths. The
                finalized projectile/missile impact analysis shall be stamped and sealed by the
                professional engineer-of-record, registered in the State of Louisiana.
        103.    Prior to construction of final design, Commonwealth shall file an analysis of the
                structural integrity of the outer containment of the full containment LNG storage




                                                                                             JA065
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                tank demonstrating it can withstand the radiant heat from a roof tank top fire or
                adjacent tank roof fire.
         104.   Prior to construction of final design, Commonwealth shall file an analysis of the
                structural integrity of the outer containment of the full containment LNG storage
                tank demonstrating it can withstand the thermal shock caused by a failure of the
                inner tank.
         105.   Prior to commissioning, Commonwealth shall file a detailed schedule for
                commissioning through equipment startup. The schedule shall include milestones
                for all procedures and tests to be completed: prior to introduction of hazardous
                fluids and during commissioning and startup. Commonwealth shall file
                documentation certifying that each of these milestones has been completed before
                authorization to commence the next phase of commissioning and startup will be
                issued.
         106.   Prior to commissioning, Commonwealth shall file detailed plans and procedures
                for: testing the integrity of onsite mechanical installation; functional tests;
                introduction of hazardous fluids; operational tests; and placing the equipment into
                service.
         107.   Prior to commissioning, Commonwealth shall file settlement results from the
                hydrostatic tests of the LNG storage containers and shall file a plan to periodically
                verify settlement is as expected and does not exceed the applicable criteria set forth
                in API 620 (12th edition), API 625 (1st edition), API 650 (13th edition), API 653 (5th
                edition), and ACI 376 (2011 edition) or approved equivalents. The program shall
                also specify what actions would be taken after various levels of seismic events.
         108.   Prior to commissioning, Commonwealth shall file the operation and maintenance
                procedures and manuals, as well as safety procedures, hot work procedures and
                permits, abnormal operating conditions reporting procedures, simultaneous
                operations procedures, and management of change procedures and forms.
         109.   Prior to commissioning, Commonwealth shall file a plan for clean-out, dry-out,
                purging, and tightness testing. This plan shall address the requirements of the
                American Gas Association’s Purging Principles and Practice and shall provide
                justification if not using an inert or non-flammable gas for clean-out, dry-out,
                purging, and tightness testing.
         110.   Prior to commissioning, Commonwealth shall tag all equipment, instrumentation,
                and valves in the field, including drain valves, vent valves, main valves, and car-
                sealed or locked valves.
         111.   Prior to commissioning, Commonwealth shall file a plan to maintain a detailed
                training log to demonstrate that operating, maintenance, and emergency response
                staff have completed the required training.




                                                                                             JA066
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        112.    Prior to commissioning, Commonwealth shall file the procedures for
                pressure/leak tests which address the requirements of American Society of
                Mechanical Engineers (ASME) Boiler and Pressure Vessel Code Section VIII
                (2017 edition) and ASME B31.3 (2016 edition) or approved equivalents. In
                addition, Commonwealth shall file a line list of pneumatic and hydrostatic test
                pressures.
        113.    Prior to introduction of hazardous fluids, Commonwealth shall complete and
                document a pre-startup safety review to ensure that installed equipment meets the
                design and operating intent of the facility. The pre-startup safety review shall
                include any changes since the last hazard review, operating procedures, and
                operator training. A copy of the review with a list of recommendations, and actions
                taken on each recommendation, shall be filed.
         114.   Prior to introduction of hazardous fluids, Commonwealth shall complete and
                document all pertinent tests (Factory Acceptance Tests, Site Acceptance Tests, Site
                Integration Tests) associated with the DCS and SIS that demonstrates full
                functionality and operability of the system.
         115.   Prior to introduction of hazardous fluids, Commonwealth shall develop, file,
                and implement an alarm management program consistent with ISA 18.2 (2016
                edition) or approved equivalent to reduce alarm complacency and maximize the
                effectiveness of operator response to alarms.
         116.   Prior to introduction of hazardous fluids, Commonwealth shall complete and
                document a clean agent acceptance tests.
         117.   Prior to introduction of hazardous fluids, Commonwealth shall complete and
                document a firewater pump acceptance test and firewater monitor and hydrant
                coverage test. The actual coverage area from each monitor and hydrant shall be
                shown on facility plot plan(s).
         118.   Prior to introduction of hazardous fluids, Commonwealth shall complete and
                document foam system and sprinkler system acceptance tests.
         119.   Commonwealth shall file a request for written authorization from the Director of
                OEP prior to unloading or loading the first LNG commissioning cargo. After
                production of first LNG, Commonwealth shall file weekly reports on the
                commissioning of the proposed systems that detail the progress toward
                demonstrating the facilities can safely and reliably operate at or near the design
                production rate. The reports shall include a summary of activities, problems
                encountered, and remedial actions taken. The weekly reports shall also include the
                latest commissioning schedule, including projected and actual LNG production by
                each liquefaction train, LNG storage inventories in each storage tank, and the
                number of anticipated and actual LNG commissioning cargoes, along with the
                associated volumes loaded or unloaded. Further, the weekly reports shall include a
                status and list of all planned and completed safety and reliability tests, work



                                                                                            JA067
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                authorizations, and punch list items. Problems of significant magnitude shall be
                reported to the FERC within 24 hours.
         120.   Prior to commencement of service, Commonwealth shall file a request for written
                authorization from the Director of OEP. Such authorization would only be granted
                following a determination by the USCG, under its authorities under the Ports and
                Waterways Safety Act, the Magnuson Act, the Maritime Transportation Security
                Act of 2002, and the Security and Accountability For Every Port Act, that
                appropriate measures to ensure the safety and security of the facility and the
                waterway have been put into place by Commonwealth or other appropriate parties.
         121.   Prior to commencement of service, Commonwealth shall file any proposed
                revisions to the security plan and physical security of the plant.
         122.   Prior to commencement of service, Commonwealth shall label piping with fluid
                service and direction of flow in the field consistent with ASME A13.1 (2007
                edition) or approved equivalent, in addition to the pipe labeling requirements of
                NFPA 59A (2001).
         123.   Prior to commencement of service, Commonwealth shall provide plans for any
                preventative and predictive maintenance program that performs periodic or
                continuous equipment condition monitoring.
         124.   Prior to commencement of service, Commonwealth shall develop procedures for
                offsite contractors’ responsibilities, restrictions, monitoring, training, and
                limitations and for supervision of these contractors and their tasks by
                Commonwealth staff. Specifically, the procedures shall address:
                a.    selecting a contractor, including obtaining and evaluating information
                      regarding the contract employer’s safety performance and programs;
                b.    informing contractors of the known potential hazards, including flammable
                      and toxic release, explosion, and fire, related to the contractor's work and
                      systems they are working on;
                c.    developing and implementing provisions to control and monitor the entrance,
                      presence, and exit of contract employers and contract employees from process
                      areas, buildings, and the plant;
                d.    developing and implementing safe work practices for control of personnel
                      safety hazards, including lockout/tagout, confined space entry, work permits,
                      hot work, and opening process equipment or piping;
                e.    developing and implementing safe work practices for control of process safety
                      hazards, including identification of layers of protection in systems being
                      worked on, recognizing abnormal conditions on systems they are working on,
                      and re-instatement of layers of protection, including ensuring bypass,
                      isolation valve, and car-seal programs and procedures are being followed;




                                                                                           JA068
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                f.    developing and implementing provisions to ensure contractors are trained on
                      the emergency action plans and that they are accounted for in the event of an
                      emergency; and
                g.    monitoring and periodically evaluating the performance of contract
                      employers in fulfilling their obligations above, including successful and safe
                      completion of work and re-instatement of all layers of protection.
         In addition, conditions 124 through 127 shall apply throughout the life of the LNG
         Terminal facilities:

         125.   The facility shall be subject to regular FERC staff technical reviews and site
                inspections on at least an annual basis or more frequently as circumstances
                indicate. Prior to each FERC staff technical review and site inspection,
                Commonwealth shall respond to a specific data request including information
                relating to possible design and operating conditions that may have been imposed by
                other agencies or organizations. Up-to-date detailed P&IDs reflecting facility
                modifications and provision of other pertinent information not included in the semi-
                annual reports described below, including facility events that have taken place
                since the previously submitted semi-annual report, shall be submitted.
         126.   Semi-annual operational reports shall be filed with the Secretary to identify
                changes in facility design and operating conditions; abnormal operating
                experiences; activities (e.g., ship arrivals, quantity and composition of imported
                and exported LNG, liquefied and vaporized quantities, boil off/flash gas); and plant
                modifications, including future plans and progress thereof. Abnormalities shall
                include, but not be limited to, unloading/loading/shipping problems, potential
                hazardous conditions from offsite vessels, storage tank stratification or rollover,
                geysering, storage tank pressure excursions, cold spots on the storage tank, storage
                tank vibrations and/or vibrations in associated cryogenic piping, storage tank
                settlement, significant equipment or instrumentation malfunctions or failures, non-
                scheduled maintenance or repair (and reasons therefore), relative movement of
                storage tank inner vessels, hazardous fluids releases, fires involving hazardous
                fluids and/or from other sources, negative pressure (vacuum) within a storage tank,
                and higher than predicted boil off rates. Adverse weather conditions and the effect
                on the facility also shall be reported. Reports shall be submitted within 45 days
                after each period ending June 30 and December 31. In addition to the above
                items, a section entitled “Significant Plant Modifications Proposed for the Next 12
                Months (dates)” shall be included in the semi-annual operational reports. Such
                information would provide the FERC staff with early notice of anticipated future
                construction/maintenance at the LNG facilities.
         127.   In the event the temperature of any region of the LNG storage container, including
                any secondary containment and imbedded pipe supports, becomes less than the




                                                                                           JA069
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                minimum specified operating temperature for the material, the Commission shall be
                notified within 24 hours and procedures for corrective action shall be specified.
         128.   Significant non-scheduled events, including safety-related incidents (e.g., LNG,
                condensate, refrigerant, or natural gas releases; fires; explosions; mechanical
                failures; unusual over pressurization; and major injuries) and security-related
                incidents (e.g., attempts to enter site, suspicious activities) shall be reported to the
                FERC staff. In the event that an abnormality is of significant magnitude to threaten
                public or employee safety, cause significant property damage, or interrupt service,
                notification shall be made immediately, without unduly interfering with any
                necessary or appropriate emergency repair, alarm, or other emergency procedure.
                In all instances, notification shall be made to the FERC staff within 24 hours.
                This notification practice shall be incorporated into the liquefaction facility’s
                emergency plan. Examples of reportable hazardous fluids-related incidents
                include:
                a.     fire;
                b.     explosion;
                c.     estimated property damage of $50,000 or more;
                d.     death or personal injury necessitating in-patient hospitalization;
                e.     release of hazardous fluids for 5 minutes or more;
                f.     unintended movement or abnormal loading by environmental causes, such as
                       an earthquake, landslide, or flood, that impairs the serviceability, structural
                       integrity, or reliability of an LNG facility that contains, controls, or processes
                       hazardous fluids;
                g.     any crack or other material defect that impairs the structural integrity or
                       reliability of an LNG facility that contains, controls, or processes hazardous
                       fluids;
                h.     any malfunction or operating error that causes the pressure of a pipeline or
                       LNG facility that contains or processes hazardous fluids to rise above its
                       maximum allowable operating pressure (or working pressure for LNG
                       facilities) plus the build-up allowed for operation of pressure-limiting or
                       control devices;
                i.     a leak in an LNG facility that contains or processes hazardous fluids that
                       constitutes an emergency;
                j.     inner tank leakage, ineffective insulation, or frost heave that impairs the
                       structural integrity of an LNG storage tank;
                k.     any safety-related condition that could lead to an imminent hazard and cause
                       (either directly or indirectly by remedial action of the operator), for purposes
                       other than abandonment, a 20 percent reduction in operating pressure or



                                                                                               JA070
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                     shutdown of operation of a pipeline or an LNG facility that contains or
                     processes hazardous fluids;
               l.    safety-related incidents from hazardous fluids transportation occurring at or
                     en route to and from the LNG facility; or
               m.    an event that is significant in the judgment of the operator and/or management
                     even though it did not meet the above criteria or the guidelines set forth in an
                     LNG facility’s incident management plan.
               In the event of an incident, the Director of OEP has delegated authority to take
               whatever steps are necessary to ensure operational reliability and to protect human
               life, health, property, or the environment, including authority to direct the LNG
               facility to cease operations. Following the initial company notification, the FERC
               staff would determine the need for a separate follow-up report or follow up in the
               upcoming semi-annual operational report. All company follow-up reports shall
               include investigation results and recommendations to minimize a reoccurrence of
               the incident.




                                                                                            JA071
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Commonwealth LNG, LLC                                          Docket Nos. CP19-502-000
                                                                                    CP19-502-001


                                           (Issued November 17, 2022)

         GLICK, Chairman, concurring:

         1.     I concur with the Commission’s decision to grant, pursuant to section 3 of the
         Natural Gas Act (NGA),1 Commonwealth LNG, LLC’s (Commonwealth) requested
         authorization to construct and operate the Commonwealth LNG project.

         2.      I write separately, however, because I am concerned that section 3 of the NGA
         does not provide a sufficient framework for consideration of the adverse impacts
         associated with a proposed LNG facility. Under section 7 of the NGA, when the
         Commission determines whether to grant a certificate of public convenience and
         necessity for a proposed interstate gas pipeline, we essentially make two findings:
         whether the project is needed and, if so, whether it is in the public interest. As the courts
         have noted, this latter determination requires us to consider “all factors bearing on the
         public interest,”2 which we do by weighing the project’s benefits against its potential
         adverse impacts. For LNG export or import facilities, however, the Department of
         Energy determines whether the export or import is consistent with the public interest.3
         The Commission’s review is limited to considering whether the construction and
         operation of the import/export facilities would be consistent with the public interest, with
         the statutory presumption that the facilities are consistent with the public interest.4 Under
         that bifurcated framework, it is not clear how we are supposed to weigh a project’s
                1
                    15 U.S.C. § 717b(a).
                2
                    Atl. Refining Co. v. Pub. Serv. Comm’n of N.Y., 360 U.S. 378, 391 (1959).
                3
                  42 U.S.C. § 7151(b); see also 15 U.S.C. § 717b(c) (stating that exports of natural
         gas “to a nation with which there is in effect a free trade agreement . . . shall be deemed
         to be consistent with the public interest”).
                4
                  See EarthReports, Inc. v. FERC, 828 F.3d 949, 953 (D.C. Cir. 2016) (“Under
         NGA § 3, an LNG proposal shall be authorized unless the proposal will not be consistent
         with the public interest, while under NGA § 7 a finding must be made that a proposal is
         or will be required by the present or future public convenience and necessity; NGA § 3,
         unlike § 7, sets out a general presumption favoring such authorization.”) (cleaned up).




                                                                                              JA072
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         adverse impacts when the public interest determination as to the LNG export or import is
         outside our jurisdiction.

         3.     Here, the Environmental Impact Statement (EIS), while acknowledging that the
         Commonwealth LNG project operation will result in CO2 emissions in excess of 3.5
         million tons per year, fails to conclude whether these emissions would have a significant
         impact on the environment. In my view, the Commission should have assessed whether
         the project’s CO2 emissions are significant. The Commission in Northern Natural
         already demonstrated it could do so.5 Considering the significance of a reasonably
         foreseeable adverse impact would also make the Commission’s order more legally
         durable, should a protesting party challenge the Commission’s decision in court.

         4.      Climate change poses an existential threat to our security, economy, environment,
         and, ultimately, the health of individual citizens. Unlike many of the challenges that our
         society faces, we know with certainty what causes climate change: It is the result of
         GHG emissions, including carbon dioxide and methane—which are released in large
         quantities through the production and the consumption of natural gas. Given that, it is
         critical that, consistent with our statutory authority, we fully consider a project’s
         contribution to climate change as part of our public interest determination. In my
         opinion, it is readily apparent that the Commonwealth LNG project’s operational CO2
         emissions, which are projected to exceed 3.5 million tons per year (the equivalent of the
         annual GHG emissions of nearly 700,000 automobiles6), will significantly impact the
         environment. As the EIS notes, these emissions will increase Louisiana’s CO2 emissions
         nearly 2 percent over 2019 levels.7

         5.     In addition, Commonwealth sits in southwest Louisiana, an area of the country
         with several environmental justice communities and a long history of heavy
         industrialization, with the attendant consequences for those surrounding communities.
         Indeed, many of the communities in the area exhibit rates of cancer, asthma, and other

               5
                   N. Nat. Gas Co., 174 FERC ¶ 61,189, at P 32 (2021). As I have previously
         stated, this is something we regularly do with respect to myriad different environment
         impacts. See, e.g., Columbia Gulf Transmission, LLC, 180 FERC ¶ 61,206 (2022)
         (Glick, Chairman, concurring at P 4); Tenn. Gas Pipeline Co., 179 FERC ¶ 61,041 (2022)
         (Glick, Chairman, concurring at P 5 & nn.190-93).
               6
                 This figure was calculated using the U.S. Environmental Protection Agency’s
         Greenhouse Gas Equivalencies Calculator. See U.S. Envtl. Prot. Agency, Greenhouse
         Gas Equivalencies Calculator, https://www.epa.gov/energy/greenhouse-gas-
         equivalencies-calculator (last visited Nov. 15, 2022).
               7
                 Final Environmental Impact Statement, Docket Nos. CP19-502-000, et al., at 4-
         396 (Sept. 2022).




                                                                                            JA073
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        serious ailments that are well above the national average.8 I believe that the Commission
        has both a legal and moral obligation to seriously consider the impacts of any facility it
        sites in these communities, including both the impacts directly attributable to the facility
        itself and cumulatively along with other facilities in the area. Today’s order adopts the
        conclusion in the EIS that the facility will have significant visual impacts on certain
        surrounding environmental justice communities. And while I agree with that conclusion,
        I believe we must also continue to revise and refine our approach to environmental justice
        to ensure that we are adequately identifying all adverse impacts for environmental justice
        communities, mitigating them to the extent possible, and then seriously considering them
        in our public interest analysis.

        6.     Bearing those considerations in mind, this order aptly illustrates the dilemma we
        face under NGA section 3. We have what is clearly, at least in my opinion, a significant
        adverse impact in the form of 3.5 million tons of GHGs, but the potentially
        countervailing benefit to that adverse impact, namely the export of natural gas, falls
        outside our jurisdiction. Under that circumstance, it is not at all clear how the
        Commission is supposed to adequately assess the public interest, including the adverse
        impacts, without also considering the actual export and import, which Congress did not
        give this Commission jurisdiction to consider within our public interest determination.
        On the one hand, I find it difficult to believe that the Commission can consider only the
        adverse impacts associated with a section 3 facility and not the benefits the export or
        import may provide, as that would seem to tilt the public interest determination against
        the facility, which would be at least philosophically inconsistent with the standard of
        review, which as noted favors approval of the facility. On the other though, the courts
        have made clear that a section 3 facility’s adverse impacts, including with respect to
        climate change and environmental justice, must be part of public interest determination
        under section 3 and inquiry that fails to seriously weigh those factors would also be
        legally suspect.9

        7.     That uncertainty creates a challenging situation, to put it mildly, for all
        stakeholders, including the Commission. After all, surely there is a degree of adverse
        impact so great that the public interest requires the Commission to reject a section 3
        application. But without a clear framework for making that determination in light of the
        substantial benefits that LNG exports can provide (after all, Congress deemed exports to
        our free trade partners to be categorically in the public interest), there is unavoidable
               8
                 See Kimberly A. Terrell & Gianna St. Julien, Air Pollution Is Linked to Higher
        Cancer Rates Among Black or Impoverished Communities In Louisiana, Environ. Res.
        Lett. 17 (Jan. 2022), available at: https://iopscience.iop.org/article/10.1088/1748-
        9326/ac4360/pdf.
               9
                Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,
         1331 (D.C. Cir. 2022).



                                                                                            JA074
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         uncertainty regarding how the Commission can and should weigh adverse impacts.
         When it comes to infrastructure that costs billions of dollars and impacts the surrounding
         community and the environment more generally, uncertainty is bad for everyone. For
         that reason, I believe it would be beneficial for Congress to clarify how the Commission
         is supposed to weigh the public interest factors under section 3, including the benefits
         provided by imports and exports of LNG.


                For these reasons, I respectfully concur.

         ________________________
         Richard Glick
         Chairman




                                                                                            JA075
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Commonwealth LNG, LLC                                        Docket Nos. CP19-502-000
                                                                                  CP19-502-001


                                        (Issued November 17, 2022)

        DANLY, Commissioner, concurring in the judgment:

        1.     I concur in the decision to grant Commonwealth LNG, LLC’s (Commonwealth)
        Natural Gas Act (NGA)1 authorization to site, construct, and operate a natural gas
        liquefaction and export facility, including an NGA section 3 natural gas pipeline, in
        Cameron Parish, Louisiana (Commonwealth LNG Project).

         2.     There are any number of problems with this order: we should not lose sight of the
         limits of our authority under the NGA,2 we should have repudiated Northern,3 and we
         should not have included Social Cost of Greenhouse Gases calculations in this
         proceeding’s environmental document.4 All of these issues have been thoroughly




                1
                    15 U.S.C. § 717b.
                2
               See, e.g., Gulf S. Pipeline Co., LLC, 181 FERC ¶ 61,145 (2022) (Danly,
         Comm’r, concurring in part and dissenting in part at P 3).
                3
                  Id. (Danly, Comm’r, concurring in part and dissenting in part at P 4); see N. Nat.
         Gas Co., 174 FERC ¶ 61,189 (2021) (Northern). In Northern, a majority of my
         colleagues established what has been referred to (by some) as the “eyeball” test. See
         Catherine Morehouse, Glick, Danly spar over gas pipeline reviews as FERC considers
         project’s climate impacts for first time, UTIL. DIVE, Mar. 19, 2021,
         https://www.utilitydive.com/news/glick-danly-spar-over-gas-pipeline-reviews-as-ferc-
         considers-projects-cli/597016/ (“‘We essentially used the eyeball test,’ [Chairman Glick]
         said, adding that based on that analysis, ‘it didn’t seem significant in terms of the impact
         of those emissions on climate change.’”).
                4
                 Gulf S. Pipeline Co., LLC, 181 FERC ¶ 61,145 (Danly, Comm’r, concurring in
         the judgment at P 7); see also Final Environmental Impact Statement at 4-397 & 4-398
         (Final EIS).




                                                                                              JA076
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        canvassed in my concurrently-issued separate statement in Gulf South Pipeline Company,
        LLC5 and in many earlier separate statements and need not here be repeated at length.

        3.     I will start by acknowledging that the Commission is acting on this authorization
        relatively quickly following the release of the Final EIS, which was issued on September
        9, 2022. This order comes 69 days later. I note that the Commission’s action is
        approximately two months earlier than I recently predicted for the issuance of the order.6

        4.     I cannot overstate the importance of timely action on our pending NGA section 3
        applications. Simply put, “LNG . . . is needed right now.”7 FERC Staff’s 2022 Summer
        Assessment Report recognized as much.8 Moreover, the Commission has come to

               5
                   Gulf S. Pipeline Co., LLC, 181 FERC ¶ 61,145.
               6
                See Commission Danly November 4, 2022 Letter to Senator Barrasso at App. D,
        page 75 (predicting a January 9, 2023 order issuance date by estimating 4 months as the
        time between the final NEPA document and order issuance because that was the average
        processing time from January 1, 2019, to May 24, 2021).
               7
                See Senate Energy & Nat. Res. Committee, Full Committee Hearing To Review
        FERC’s Recent Guidance On Natural Gas Pipelines, https://www.energy.senate.gov/
        hearings/2022/3/full-committee-hearing-to-review-ferc-s-recent-guidance-on-natural-gas-
        pipelines, at 01:02:24 (Mar. 3, 2022) (recording Chairman Manchin).
               8
                 See FERC Staff Report to the Commission, Summer Energy Market and
        Reliability Assessment, at 6 (May 19, 2022), https://www.ferc.gov/media/report-summer-
        assessment-2022 (“Higher natural gas prices for summer 2022 are expected at major
        trading hubs across the U.S. as demand growth is forecasted to exceed supply growth
        amid increases in LNG liquefaction capacity, increase exports due to global demand for
        LNG, and limited growth in natural gas production.”) (FERC Staff’s Summer 2022
        Assessment Report); id. at 7 (“The surrounding Gulf Coast region should see a
        combination of strong industrial sector and electric power sector demand this summer in
        addition to record LNG export demand.”); id. at 8 (“Natural gas production from the
        nearby Appalachia region is typically more than able to meet summer demand in the
        Northeast and New England, resulting in slightly reduced natural gas prices as compared
        to the Texas and Louisiana Gulf Coasts (South Texas to Henry Hub), which have
        significant year-round demand for electric power generation, industrial processes, and
        LNG exports.”); id. at 9-10 (“International LNG prices continue to remain relatively high
        in 2022 amid supply uncertainties and the need to replenish Europe’s natural gas
        inventories, which combined with increased liquefaction capacity in the U.S. is expected
        to drive higher LNG exports from the U.S.”) (citing EIA, Short-Term Energy Outlook
        Market Review - Natural Gas (April 7, 2022),
        https://www.eia.gov/outlooks/steo/marketreview/natgas.php); id. at 11 (“[H]igh European
        natural gas prices have recently incentivized more LNG exports to the continent, with



                                                                                           JA077
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        understand that several project sponsors with pending applications expect their projects
        will supply Europe’s demand for LNG.9 And unlike the application at issue in this
        proceeding, some of the applications for NGA section 3 authorizations continue to suffer
        unnecessary delay.

        5.     Two such projects are pending with the Commission on remand. On August 3,
        2021, the U.S. Court of Appeals for the District of Columbia Circuit (D.C. Circuit)
        remanded, without vacatur, authorization orders for two such projects due to deficiencies
        under the Administrative Procedure Act (APA) in the Commission’s analysis of
        environmental justice issues and the Commission’s failure to respond to an argument
        regarding section 1502.21(c) of the Council on Environmental Quality’s National
        Environmental Policy Act regulations10 when deciding whether it should use the Social
        Cost of Carbon.11 It has been more than a year since the Commission reacquired
        jurisdiction over the orders on remand.12 And on August 12, 2022, in one of the relevant

        shipments to Europe outpacing exports to Asia beginning in December 2021. Continued
        increased international demand should incentivize high utilization rates of and exports
        from U.S. LNG export terminals throughout summer 2022.”) (citation omitted); id. at 41
        (“Natural gas exports are forecast to contribute to natural gas demand growth, as LNG
        exports continue to increase.”); id. (“U.S. energy sector participants may continue to
        expand production and export supplies needed globally, such as LNG.”).
               9
                 See Rio Grande LNG, LLC, 181 FERC ¶ 61,032, at P 5 (2022) (“expects to play
        a role in supplying Europe’s demand for LNG as the European Union attempts to reduce
        reliance on Russian energy supplies.”); Port Arthur LNG, LLC, 181 FERC ¶ 61,024, at
        P 3 n.7 (2022) (“Sempra Infrastructure Partners, LP has entered into negotiations with
        multiple European companies that contemplate negotiation of long-term sale and
        purchase agreements for LNG from the Liquefaction Project.”); see also Texas LNG
        Brownsville LLC, Request for Commission Action on Remand for Texas LNG Project,
        Docket No. CP16-116-000, at 2 (Aug. 12, 2022) (explaining that the applicant “is in
        active discussions with buyers of LNG, particularly in Europe, and is optimistic about the
        commercial environment and the opportunity to provide energy security to strategic allies
        of the United States”).
               10
                    40 C.F.R. § 1502.21(c).
               11
                 Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
        (D.C. Cir. 2021) (Vecinos).
               12
                 The remaining authorizations at issue on remand are for Texas LNG
        Brownsville LLC’s Texas LNG Project in Docket No. CP16-116 (Brownsville Project)
        and Rio Grande LNG, LLC’s Rio Grande LNG Terminal in Docket No. CP16-454 and
        Rio Bravo Pipeline Company, LLC’s Rio Bravo Pipeline Project in Docket No. CP16-
        455 (collectively, Rio Projects). For the authorizations relevant to Rio Projects, the D.C.



                                                                                            JA078
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        dockets, i.e., Docket No. CP16-116-000, Texas LNG Brownsville, LLC (Texas LNG)
        indicated that it “is in active discussions with buyers of LNG, particularly in Europe, and
        is optimistic about the commercial environment and the opportunity to provide energy
        security to strategic allies of the United States.”13 In that filing, Texas LNG requested
        prompt Commission action on remand and explained that “[t]he lack of Commission
        action on remand is having a material impact on Texas LNG” and that “Texas LNG has
        significant internal and external technical resources standing by to continue the
        development and eventual construction of the project, but without a final order on
        remand, Texas LNG lacks much-needed clarity on timing for project planning
        purposes.”14 On November 4, 2022, Texas LNG again requested that the Commission
        promptly issue an order on remand.15

        6.     Rio Grande LNG, LLC has also recently requested prompt Commission action on
        remand.16 And members of Congress have reached out to the Commission regarding the
        delay.17 Even still, these efforts to underscore the importance of timely Commission

         Circuit’s mandate issued on October 25, 2021. For the authorizations relevant to the
         Brownsville Project, the D.C. Circuit’s mandate issued on September 27, 2021. In regard
         to the authorizations for Annova LNG Common Infrastructure, LLC’s Annova LNG
         Brownsville Project in Docket No. CP16-480, the court in Vecinos “dismiss[ed] the
         petition . . . as moot.” Vecinos, 6 F.4th at 1327. The Commission granted a request to
         vacate the Annova LNG Brownsville Project authorization on April 15, 2021. Annova
         LNG Common Infrastructure, LLC, 175 FERC ¶ 61,030 (2021).
               13
                 Texas LNG Brownsville LLC, Request for Commission Action on Remand for
         Texas LNG Project, Docket No. CP16-116-000, at 2 (Aug. 12, 2022).
               14
                    Id. at 2-3.
               15
                  See Texas LNG Brownsville LLC, Reply Comments, Docket No CP16-116-
         000, at 18 (Nov. 4, 2022).
               16
                  Rio Grande LNG, LLC, Reply Comments, Docket Nos. CP16-454-000, et al.
         (Nov. 4, 2022) (stating “that the Commission has all information required in order to
         issue an order properly responding to the D.C. Circuit’s Remand Order as well as the
         long-pending Rio Bravo Amendment Application in Docket No. CP20-481, and
         respectfully requests that the Commission promptly and as expeditiously as possible issue
         an order on remand”).
               17
                  See U.S. Senator John Cornyn, November 4, 2022 Letter, Docket No. CP16-
         454-000, at 1 (observing that the project sponsor is “is well-positioned to provide LNG
         supply to our allies in Europe” and urging the Commission to resolve the pending
         proceedings in a timely manner); U.S. Representative Dan Crenshaw, August 22, 2022
         Letter, Docket Nos. CP16-116, et al., at 1-2 (explaining the importance of LNG exports



                                                                                            JA079
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        action have all been unavailing. In the remand dockets, Commission staff took the
        unprecedented step of opening comment periods on the companies’ responses for
        Commission staff’s information request. Those comment periods closed on November 4,
        2022, and action still has yet to be taken.18

        7.      It is beyond dispute that demand for American LNG has risen dramatically and
        that its importance as a geo-strategic commodity has become more critical than ever
        before. The costs caused by the Commission’s delays are profound.19 Delay in


        and requesting an explanation for the delay in acting on remand).
               18
                 See Commission Staff, Notice Seeking Public Comment on Responses to
        Information Requests re Texas LNG Brownsville LLC, Docket No. CP16-116-000
        (Sept. 30, 2022) (establishing an October 21, 2022 deadline for initial comments and a
        November 4, 2022 deadline for reply comments); Commission Staff, Notice Seeking
        Public Comment on Responses to Information Requests re Rio Grande LNG, LLC and
        Rio Bravo Pipeline Co., LLC, Docket Nos. CP16-454-000, et al. (Sept. 30, 2022) (same).
        But see Chairman Glick Response to U.S. Representative Dan Crenshaw’s August 22,
        2022 Letter, Docket No. CP16-116-000, et al., at 1 (Oct. 31, 2022) (“Once the comment
        period closes, the Commission will move forward with action addressing the Court’s
        remand.”).
               19
                  See, e.g., Nat’l Grid LNG, LLC, 179 FERC ¶ 61,205, at PP 5-7 (2022)
        (explaining that although National Grid LNG, LLC “planned to begin construction of the
        project at the end of 2016[,] . . . it did not receive certificate authorization until October
        2018,” and therefore it requested an increase in its initial recourse rates since the
        estimated cost of the facilities increased from $180,256,679 to $390,829,000—a
        difference of $210,572,321—as a result of increased construction costs due to the timing
        change and construction work plan changes). Cf. Duke Energy, Dominion Energy and
        Duke Energy cancel the Atlantic Coast Pipeline (July 5, 2020), https://news.duke-
        energy.com/releases/dominion-energy-and-duke-energy-cancel-the-atlantic-coast-
        pipeline (announcing Dominion Energy’s and Duke Energy’s cancellation of the Atlantic
        Coast Pipeline Project—a project with a Commission-issued certificate of public
        convenience and necessity—due to “ongoing delays and increasing cost uncertainty
        which threaten[ed] the economic viability of the project” and explaining that the project
        faced many challenges, including: (1) adverse court decisions regarding their federal
        permit for waterbody and wetland crossings (Nationwide Permit 12), which led to
        uncertainty in the companies’ investment; and (2) “legal challenges to the project’s
        federal and state permits[,] [which] caused significant project cost increases and timing
        delays” and resulted in an estimated “project cost . . . increase[] to $8 billion from the
        original estimate of $4.5 to $5.0 billion” as well as an estimated delay of “three-and- a-
        half-year[s]” for the project’s in-service date).




                                                                                              JA080
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        processing applications results in greater project expenses and difficulty securing capital
        on commercially acceptable terms. The climate of uncertainty created by our delays
        threatens the entire LNG industry. When regulatory timelines are uncertain, risk
        premiums rise, and it becomes more difficult for investors to rationally allocate capital in
        this capital-intensive industry. Simply put, regulatory uncertainty chills investment and
        impairs an industry the Commission is charged with promoting.20 Although I am not
        aware of it happening in a recent NGA section 3 application, we have already witnessed
        proposed NGA section 7 projects21 withdrawn due to Commission inaction.22 Had we
        acted quickly, and had those projects met with Commission approval, they could have
        delivered critical, desperately needed natural gas.

        8.    Turning to the substance of today’s order, I disagree with the Commission’s
        attempt to sugarcoat its “analysis” just because we are unable to determine the

               20
                  See NAACP v. FPC, 425 U.S. 662, 669-70 (1976) (recognizing that the purpose
        of the NGA is to “encourage the orderly development of plentiful supplies of . . . natural
        gas at reasonable prices”) (citations omitted).
               21
                    15 U.S.C. § 717f.
               22
                  See, e.g., Adelphia Gateway, LLC, Withdrawal of Prior Notice, Docket
        No. CP21-14-000, at 2 (Oct. 12, 2021) (withdrawing a request to install and operate an
        additional electric-motor driven compressor unit at its already authorized Marcus Hook
        Compressor Unit because “as a result of the extension of the environmental review
        through the supplemental EIS process and a prolonged Commission review process, the
        Project has been delayed well beyond Adelphia’s expectations and, more specifically,
        there is significant uncertainty regarding when an order will issue in this docket” and
        “[i]n light of this, Adelphia has decided not to continue the development of the Project”);
        Eastern Gas Transmission & Storage, Letter Withdrawing its Applications for the Mid-
        Atlantic Cooler Project, Docket No. CP21-97-000, at 1 (Sept. 20, 2021) (withdrawing an
        application for an NGA section 7 certificate—which had been filed nearly six months
        prior and had requested permission to build minor upgrades to three compressor stations
        in Pennsylvania and Virginia—because, “[d]espite [the project’s] limited scope, the
        Commission has not taken action to prepare an Environmental Assessment”); Dominion
        Energy Transmission Inc., Withdrawal of Certificate Application for Sweden Valley
        Project, Docket No. CP18-45-000 (June 28, 2019) (withdrawing an application for a
        project that “involved limited facilities, including modification of an existing compressor
        station and the construction of two measuring stations, approximately five miles of
        pipeline and related ancillary facilities” because “the Project has been adversely
        impacted” and “[t]he Project customer has opted to terminate the requested transportation
        service” as a result of the Commission’s inaction on the application nearly ten months
        after the issuance of an environmental assessment).




                                                                                             JA081
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         significance of GHG emissions. Today’s order states that “[b]y adopting the climate
         impact analysis in the EIS, [the Commission] recognize[s] that the project may release
         GHG emissions that contribute incrementally to future global climate change impacts”
         and that the Commission has “identified climate change impacts in the region.”23 Exactly
         what climate change impacts in the region did the Commission “identif[y]”?24 There
         certainly appear to be no “identified climate change impacts” in the record. Could it be
         that the Commission is referring to no more than the disclosure of estimated emissions
         associated with the project’s construction and operation, or the comparison of the
         project’s GHG emissions to the total GHG emissions of the United States as a whole, or
         the comparison to state GHG inventories, or the comparison of a project’s GHG
         emissions to a state’s GHG emissions reduction goals?25 Is the Commission merely
         referring to its discussion in the Final EIS of the U.S. Global Change Research Program’s
         Fourth Assessment Report, which was published in 2017 and 2018, and that report’s
         “observations” and “projections” of “climate change impacts” for the Southeast region of
         the United States?26 Never mind the “climate change impacts,” where in the record can
         we find the “climate impact analysis” upon which that identification of impacts purports
         to rely? Can the Commission’s mere disclosure of direct emissions estimates and their
         bald comparison to state inventories truly be considered “analysis” when nothing can be
         gleaned from that information?27 This is especially doubtful given that the Commission
         has no means by which to determine the significance of those estimated emissions.

                23
                  Commonwealth LNG, LLC, 181 FERC ¶ 61,143, at P 75 (2022) (citations
         omitted) (Commonwealth).
                24
                     Id.
                25
                     See Final EIS at 4-396 to 4-397.
                26
                 See id. at 4-394 & 4-395 (citing U.S. GLOBAL CHANGE RESEARCH PROGRAM,
         CLIMATE SCIENCE SPECIAL REPORT, FOURTH NATIONAL CLIMATE ASSESSMENT,
         VOLUME I (Donald J. Wuebbles et al. eds) (2017), https://science2017.global
         change.gov/downloads/CSSR2017_FullReport.pdf (USGCRP Report Volume I); U.S.
         GLOBAL CHANGE RESEARCH PROGRAM, FOURTH NATIONAL CLIMATE ASSESSMENT,
         VOLUME II IMPACTS, RISKS, AND ADAPTATION IN THE UNITED STATES (David
         Reidmiller et al. eds.) (2018), https://nca2018.globalchange.gov/downloads/NCA4
         _2018_FullReport.pdf (USGCRP Report Volume II)).
                27
                  See Merriam-Webster, https://www.merriam-webster.com/dictionary/analysis
         (defining “analysis” as “a detailed examination of anything complex in order to
         understand its nature or to determine its essential features : a thorough study”);
         Cambridge Dictionary, https://dictionary.cambridge.org/dictionary/english/analysis
         (defining “analysis” as “the act of studying or examining something in detail, in order to
         discover or understand more about it, or your opinion and judgment after doing this”);



                                                                                            JA082
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        9.     Without a credible, reasoned method to determine significance, the Commission
        has a rocky road ahead should it continue in its pursuit of environmental policy goals.
        Aside from the legal risk under the APA that would attend the establishment of any
        unsupported, arbitrary threshold, a reading of the Supreme Court’s decision in West
        Virginia v. Environmental Protection Agency28 should impress upon the Commission that
        caution is necessary when contemplating the regulation of subjects that have not been
        clearly placed within our jurisdiction by Congress. “Agencies have only those powers
        given to them by Congress, and ‘enabling legislation’ is generally not an ‘open book to
        which the agency [may] add pages and change the plot line.’”29 Notably, the
        Commission received a much-needed reminder of this several months ago when the U.S.
        Court of Appeals for the Fifth Circuit vacated a portion of the Commission’s order that
        was ultra vires because the Commission’s acted outside its statutory authority.30 Because
        the Commission does not have “a clear delegation from [Congress]”31 to regulate GHG
        emissions, the Commission’s charge under the NGA remains “encourag[ing] the orderly
        development of plentiful supplies of . . . natural gas at reasonable prices.”32 In other
        words, the NGA’s purpose, established by Congress and articulated by the Supreme
        Court, is for the Commission to promote the development of natural gas infrastructure.

        10.    What it comes down to is this—until a credible methodology, based on reasoned
        decision making, is established by a competent agency with the requisite statutory
        authority, the Commission cannot conclude whether the estimated GHG emissions from a
        proposed project are significant. The answer to the Commission’s problem is not to

        Oxford Learner’s Dictionaries, https://www.oxfordlearnersdictionaries.com/definition/
        english/analysis (defining “analysis” as “the detailed study or examination of something
        in order to understand more about it; the result of the study”).
               28
                    West Virginia v. EPA, 142 S. Ct. 2587 (2022).
               29
                    Id. at 2609 (citation omitted).
               30
                  See Midship Pipeline Co., L.L.C. v. FERC, 45 F.4th 867, 877 (5th Cir. 2022)
        (vacating part of the Commission’s order and remanding the remainder because “[t]he
        FERC’s interpretation of the NGA to give the agency power to determine ‘the reasonable
        cost’ of remediation efforts ‘change[d] the plot line’ of its enabling legislation, and was
        therefore erroneous” and “[t]he FERC lacks such authority under the NGA, and it
        likewise lacked authority to order an ALJ to make such a determination indirectly”)
        (quoting West Virginia v. EPA, 142 S. Ct. at 2609).
               31
                    West Virginia v. EPA, 142 S. Ct. at 2616.
               32
                NAACP, 425 U.S. at 669-70 (citations omitted); accord Myersville Citizens for
        Rural Cmty., 783 F.3d 1301, 1307 (quoting NAACP, 425 U.S. at 669-70).



                                                                                           JA083
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        paper over the lack of analytical material in its orders by simply declaring that it has
        conducted “analysis” that has led to the identification of unspecified “impacts.” Ignore
        the Commission’s characterization of what it is doing; look instead to what it actually
        does. Equally important is what it fails to do. The Commission has never established a
        reasoned, credible basis upon which to ascribe significance under NEPA to a given
        quantity of project-level GHG emissions, using the Social Cost of Carbon or any other
        metric. Nor has the Commission been able to connect a particular project’s GHG
        emissions to discrete, physical effects on the environment. Why? Because there exist no
        means by which to arrive at such a determination such that it would satisfy our
        obligations under the APA to engage in reasoned decision making.

               For these reasons, I respectfully concur in the judgment.


         ________________________
         James P. Danly
         Commissioner




                                                                                         JA084
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

        Commonwealth LNG, LLC                                       Docket Nos. CP19-502-000
                                                                                CP19-502-001


                                           (Issued November 17, 2022)

        CLEMENTS, Commissioner, concurring:

        1.     I concur with the decision to authorize the Commonwealth LNG Project because it
        is consistent with our precedents on issuing conditional authorizations under the Natural
        Gas Act.1 This project shows why we should reconsider our approach.2

        2.    Commonwealth’s proposed LNG terminal would be located on the shoreline of the
        Calcasieu Ship Channel, less than one mile from the Gulf of Mexico.3 The terminal
        would occupy approximately 105 acres, of which 89 are wetlands that would be
        permanently lost.4 There are also two waterbodies on the site that would be permanently
        impacted.5 The project’s marine facilities will occupy another 47 acres of open water.6
        Commonwealth will excavate and dredge approximately 1.73 million cubic yards of
        sediment from the Calcasieu Ship Channel to create an LNG tanker berthing area; it will
        dredge another 152,000 yards every two years for maintenance. Considering these facts,
        Commonwealth’s proposal could be fairly characterized as a water-based project. Yet,

              1
                See, e.g., Broadwater Energy LLC, 124 FERC ¶ 61,225 (2008); Crown Landing
        LLC, 117 FERC ¶ 61,209 (2006). Courts have found the practice of issuing conditional
        authorizations lawful. See, e.g., Del. Riverkeeper Network v. FERC, 857 F.3d 388, 399
        (2017). However, just because courts have allowed this approach does not mean it is
        good policy.
              2
                I have questioned the wisdom of conditional authorizations in other contexts.
        E.g., PennEast Pipeline Co., LLC, 174 FERC ¶ 61,056 (2021) (Glick, Chair, and
        Clements, Comm’r, concurring).
              3
               Final Environmental Impact Statement for the Commonwealth LNG Project,
        Docket Nos. CP19-502-000 and CP19-502-001 (Sept. 2022) at p. 2-1.
              4
                   Id. at pp. 2-9, 4-83.
               5
                   Id. at p. 4-74.
               6
                   Id. at p. 2-7.




                                                                                         JA085
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        the agencies responsible for issuing critical water-related permits have not yet acted.7
        Their future decisions could well result in changes to the project or to planned
        environmental mitigation measures. As we issue the order today, neither the Commission
        nor the public we serve can predict, let alone evaluate, what those changes might mean
        for the environment or for the health and welfare of the environmental justice and other
        communities affected by the project.

        3.     I am troubled that there will be no opportunity for public comment on these
        moving pieces, at least as part of the Commission’s approval process. The Commission
        should consider whether to provide a formal opportunity for public comment on the final
        environmental impact statement (EIS) to assure we have input on changes made after the
        draft EIS was issued.8 This is not necessarily a question of what is legally required of the
        Commission as the lead agency under the National Environmental Policy Act (though to
        be sure some intervenors and commenters contend we have fallen short of our legal
        obligations, demonstrating the increased legal risk project authorizations face from the
        rush to act without full consideration of material information). Even more
        fundamentally, it is a policy question of how best to protect the public interest, which is
        our charge under the Natural Gas Act. Keeping impacted members of the public fully
        informed is the first step. Genuinely listening to them is the vital next step.

        4.       Perhaps most important, we must continue our efforts to inform affected
        environmental justice communities about proposed projects, as well as potential changes
        to those projects and planned mitigation measures. We then must directly and actively
        solicit their input on potential mitigation measures. As I heard during the Commission’s
        listening sessions leading to the development of our Office of Public Participation and in
        subsequent meetings with environmental justice community representatives, we need


               7
                For example, the Army Corps of Engineers has not yet issued critical Clean
        Water Act section 404 and Rivers and Harbors Act section 10 permits for the project.
        Moreover, the Louisiana Department of Natural Resources has not issued a coastal use
        permit, which will serve as its consistency determination under the federal Coastal Zone
        Management Act.
               8
                   As reflected in the Commission’s order, the location for placement of dredged
         material changed from the time of the draft EIS to the final EIS. Commonwealth LNG,
         LLC, 181 FERC ¶ 61,143, at P 34 (2022) (Order). On October 26, 2022, the National
         Marine Fisheries Service (NMFS) submitted extensive comments to the Commission,
         which raised concerns with the new plan for the dredged material. The Commission’s
         order says these concerns will be addressed sometime in the future by the Army Corps of
         Engineers and possibly the Fish and Wildlife Service. Order at P 34. The public has had
         no opportunity to comment on the issues the NMFS has raised, nor can it possibly know
         at this stage how the agencies will resolve these concerns.




                                                                                            JA086
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         more direct and sustained engagement to assure these communities are fully informed
         and have a meaningful opportunity to explain on the record what specific mitigation
         measures are needed. Today’s conditional authorization cannot assure that a meaningful
         opportunity was provided to environmental justice communities in this instance. The
         Commission’s dedicated staff have helped us to improve our performance in this regard,
         but we must do more.9

         5.      Finally, I support the Chairman’s call for Congress to provide a clear framework
         for the Commission to make its public interest determination under section 3 of the
         Natural Gas Act.10

               For these reasons, I respectfully concur.



         ________________________
         Allison Clements
         Commissioner




               9
                   For example, we should require project sponsors to submit plans for engaging
         with the affected public, including environmental justice communities, on the essential
         elements of emergency response plans for LNG facilities. I am heartened that this order
         at least encourages Commonwealth to do so voluntarily. I hope the company will set a
         strong example for the LNG industry in its engagement with environmental justice
         communities.
               10
                    Order (Glick, Chairman, concurring, at P 7).



                                                                                            JA087
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                                UNITED STATES OF AMERICA
                         FEDERAL ENERGY REGULATORY COMMISSION

        Commonwealth LNG, LLC                                       Docket Nos. CP19-502-000
                                                                                CP19-502-001


                                       (Issued November 17, 2022)

        PHILLIPS, Commissioner, concurring:

        1.     I concur on today’s order as it is consistent with Commission precedent. I believe
        strongly that applicants, environmental groups, and communities are entitled to
        consistent, predictable outcomes from the Commission. With that said, I am concerned
        with our approach to mitigating impacts on environmental justice communities,
        especially those already enduring negative impacts from industrial development.

        2.     Commonwealth LNG is located on the Chenier Plain, an almost treeless, flat
        marsh surrounded by the Sabine Wildlife Refuge on the Calcasieu Ship Channel and the
        Gulf of Mexico. The facility will be adjacent to the existing Calcasieu Pass LNG
        Terminal and the proposed CP2 LNG Terminal, and just over 2 miles away from, and
        within view of Cameron, Louisiana. Cameron is a small town of approximately 219
        people, 36% of whom live below the poverty level, which is a higher percentage than the
        parish in which the town is located. The facility will be directly north, and within view
        of, Holly Beach, a recreational area on the Gulf that serves tourists, who make valuable
        economic contributions to the area, and nearby residents. This is a significant burden for
        any community to bear, and I have deep reservations about the consolidation of these
        negative visual impacts on this small town.

        3.      With that said, the diligent work of our staff did not identify any other
        disproportionately high and adverse health or environmental impacts to this
        environmental justice community. Furthermore, Commonwealth LNG cites its
        community engagement in the area and provides mitigation consistent with our precedent
        for the severity of its impacts.1 I believe as a general matter applicants should make


              1
                 Compare Commonwealth LNG, LLC, 181 FERC ¶ 61,143, at P 72 (2022)
        (describing the Facility Lighting Plan and tree planning to reduce visual impacts) with
        Annova LNG Common Infrastructure, LLC, 169 FERC ¶ 61,132, at P 51 (2019)
        (describing the Facility Lighting Plan to reduce visual impacts); Venture Global
        Plaquemines LNG, 168 FERC ¶ 61,204 at Appendix, Environmental Condition 1
        (requiring proposed mitigation plans); Plaquemines LNG Final Environmental Impact
        Statement, CP17-66-000 at 4-64 (describing the Facility Lighting Plan to reduce visual



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         efforts to improve community outcomes at large and I especially view efforts to recruit
         job applicants within the community to be of great value. Specifically in areas in which
         there are developing and cumulative impacts, I believe such measures may be necessary.

         For these reasons, I respectfully concur.


          ________________________
          Willie L. Phillips
          Commissioner




         impacts).



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                                        183 FERC ¶ 61,173
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Commonwealth LNG, LLC                                        Docket No. CP19-502-002

                     ORDER ADDRESSING ARGUMENTS RAISED ON REHEARING

                                             (Issued June 9, 2023)

                On November 17, 2022, the Commission issued an order authorizing
         Commonwealth LNG, LLC (Commonwealth) to site, construct, and operate a natural gas
         liquefaction and export facility, including a Natural Gas Act (NGA) section 3 natural gas
         pipeline, in Cameron Parish, Louisiana (Commonwealth LNG Project).1 On
         December 19, 2022, Sierra Club, Natural Resources Defense Council, Center for
         Biological Diversity, Healthy Gulf, the Louisiana Bucket Brigade, the National Audubon
         Society, and Turtle Island Restoration Network (together, the Environmental Coalition or
         Coalition) jointly filed a timely request for rehearing of the Authorization Order.

                Pursuant to Allegheny Defense Project v. FERC,2 the rehearing request filed in this
         proceeding may be deemed denied by operation of law. However, as permitted by NGA
         section 19(a),3 we are modifying the discussion in the Authorization Order and continue
         to reach the same result in this proceeding, as discussed below.4



                1
                    Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (2022) (Authorization Order).
                2
                    964 F.3d 1 (D.C. Cir. 2020) (en banc).
                3
                  15 U.S.C. § 717r(a) (“Until the record in a proceeding shall have been filed in a
         court of appeals, as provided in subsection (b), the Commission may at any time, upon
         reasonable notice and in such manner as it shall deem proper, modify or set aside, in
         whole or in part, any finding or order made or issued by it under the provisions of this
         chapter.”).
                4
                Allegheny Def. Project, 964 F.3d at 16-17. The Commission is not changing the
         outcome of the Authorization Order. See Smith Lake Improvement & Stakeholders Ass’n
         v. FERC, 809 F.3d 55, 56-57 (D.C. Cir. 2015).




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         I.    Background

                On August 20, 2019, as amended July 8, 2021, Commonwealth filed an
         application under NGA section 35 and Part 153 of the Commission’s regulations6 for
         authorization to site, construct, and operate the Commonwealth LNG Project in
         Cameron Parish, Louisiana. The Commonwealth LNG Project will be located on the
         west side of the Calcasieu Ship Channel, near the entrance to the Gulf of Mexico.7

                On March 31, 2022, Commission staff issued a Draft Environmental Impact
         Statement (draft EIS) for the Commonwealth LNG Project. The Environmental Coalition
         provided comments on the draft EIS. On September 9, 2022, Commission staff issued
         the final Environmental Impact Statement (final EIS) for the Commonwealth LNG
         Project. As relevant to this proceeding, both the draft and final EIS discussed the
         U.S. Fish and Wildlife Service’s (FWS) biological opinion, which addressed the potential
         effects of the project on eastern black rails. In the Authorization Order, the Commission
         accepted the environmental recommendations in the final EIS, as modified in the order,
         and incorporated the recommendations as conditions in Appendix A of the order.8 The
         Commission concluded that the Commonwealth LNG Project, if implemented as
         described in the final EIS and the order, would constitute an environmentally acceptable
         action, determined that the project is not inconsistent with the public interest, and thus
         authorized Commonwealth under section 3 of the NGA to site, construct, and operate the
         project.9

        II.    Procedural Issues

                On December 8, 2022, the Louisiana Bucket Brigade submitted a comment
         expressing its disagreement with the Commission’s issuance of the Authorization Order
         and requesting its rescission. The comment did not meet our requirements for rehearing
         requests;10 however, Louisiana Bucket Brigade is part of the Environmental Coalition


               5
                   15 U.S.C. § 717b.
               6
                   18 C.F.R. pt. 153 (2021).
               7
                For further discussion of the project’s specifications, see Authorization Order,
         181 FERC ¶ 61,143, at PP 3-6.
               8
                   Authorization Order, 181 FERC ¶ 61,143 at P 84 & app. A.
               9
                   Id. PP 84-86, ordering para. (A).
               10
                  See 18 C.F.R. § 385.713 (2022); Transcon. Gas Pipe Line Co., LLC, 182 FERC
         ¶ 61,148 (2023) (rejecting a rehearing request for failure to comply with Rule 713 of the



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         that submitted the Rehearing Request which raises similar issues; thus, we generally
         address its concerns below.

                On January 3, 2022, Commonwealth filed a motion for leave to answer and
         answer to the Environmental Coalition’s rehearing request. The Commission’s Rules of
         Practice and Procedure generally prohibit answers to a request for rehearing.11
         Accordingly, we deny Commonwealth’s motion to answer and reject its answer.

         III.   Discussion

                On rehearing, the Environmental Coalition argues the Commission erred in the
         Authorization Order by failing to: (1) properly weigh the project’s adverse impacts
         against its benefits under NGA section 3; (2) rigorously explore all reasonable
         alternatives; (3) properly consider greenhouse gas (GHG) emissions; (4) properly
         consider air pollution impacts, particularly on environmental justice communities; and
         (5) properly consider impacts to certain species, including the bottlenose dolphin and
         eastern black rail.

                A.       NGA Section 3

                The Environmental Coalition asserts that the Commission “failed to articulate a
         coherent standard for the exercise of its NGA section 3 authority,” arguing that the
         Commission did not properly balance the benefits and harms of the Commonwealth LNG
         Project when making its public interest determination.12 The Coalition states that
         Congress provided separate authority for the approval of exports of the natural gas
         commodity, which is handled by the Department of Energy (DOE), and the approval of
         natural gas infrastructure which is handled by the Commission.13 The Coalition argues

         Commission’s Rule of Practice and Procedure, including failing to include a Statement of
         Issues).
                11
                     18 C.F.R. § 385.713(d)(1); id. § 385.213(a)(2) (2022).
                12
                     Rehearing Request at 7.
                13
                   See 15 U.S.C. §§ 717b(a), (e). The regulatory functions of NGA section 3 were
         transferred to the Secretary of Energy of the DOE in 1977 pursuant to section 301(b) of
         the Department of Energy Organization Act, Pub. L. No. 95-91, 42 U.S.C. § 7101 et seq.
         The Secretary subsequently delegated to the Commission the authority to approve or
         disapprove the construction and operation of natural gas import and export facilities and
         the site at which such facilities shall be located. The most recent delegation is in DOE
         Delegation Order No. S1-DEL-FERC-2006, effective May 16, 2006. The Commission
         does not authorize importation or exportation of the commodity itself. Rather,
         applications for authorization to import or export natural gas must be submitted to the



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         that approval of the former does not necessarily require approval of the latter.14 The
         Coalition observes that the Commission has previously denied an application for an
         import terminal pursuant to its section 3(e) authority, but argues that the Commission
         cannot limit its rejection of infrastructure to instances where it would violate other
         statutory requirements or another agency’s standards.15 Rather, to determine whether a
         project is not inconsistent with the public interest, the Coalition argues the Commission
         must balance “the degree of the harm against the magnitude of the benefit.”16

                The Commission articulated the appropriate standard for evaluating a proposal
         under NGA section 3. The Authorization Order recognizes that “Section 3 provides that
         an application shall be approved if the Commission finds the proposal ‘will not be
         [in]consistent with the public interest,’ subject to ‘such terms and conditions as the
         Commission [may] find necessary or appropriate.’”17 That an NGA section 3 proposal
         “shall” be authorized unless it “will not be consistent with the public interest,”18 “sets out
         a general presumption favoring such authorization[s].”19 Although NGA section 3(e)
         authorizes the Commission “to approve or deny an application,”20 courts have explained




         DOE. See EarthReports, Inc. v. FERC, 828 F.3d 949, 952-53 (D.C. Cir. 2016) (detailing
         how regulatory oversight for the export of LNG and supporting facilities is divided
         between the Commission and DOE).
                14
                     Rehearing Request at 8.
                15
                    Id. (referencing KeySpan LNG, L.P., 112 FERC ¶ 61,028 (2005) in which the
         Commission rejected an application for an LNG terminal because the proposed facilities
         did not meet the Department of Transportation’s safety standards for LNG import
         facilities).
                16
                     Id. at 9.
                17
                     Authorization Order, 181 FERC ¶ 61,143 at P 10 (citing 15 U.S.C. § 717b(a),
         (e)(3)).
                18
                     15 U.S.C. § 717b(a).
                19
                  Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir. 2023)
         (Alaska LNG); EarthReports v. FERC, 828 F.3d at 953 (quoting W. Va. Pub. Servs.
         Comm’n v. U.S. Dep’t of Energy, 681 F.2d 847, 856 (D.C. Cir. 1982)); see also Sierra
         Club v. U.S. Dep’t of Energy, 867 F.3d 189, 203 (D.C. Cir. 2017).
                20
                     15 U.S.C. § 717b(e).




                                                                                               JA093
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         that to overcome the favorable presumption in NGA section 3(a) there must be an
         “affirmative showing of inconsistency with the public interest.”21

                 As stated in the Authorization Order, “Commission staff [ ] prepared a
         comprehensive EIS thoroughly analyzing all environmental impacts properly associated
         with our action of approving the siting and operation of the Commonwealth LNG
         Project.”22 The EIS found that “although some impacts would be permanent and
         significant, such as impacts on visual resources, most impacts would not be significant or
         would be reduced to less-than-significant levels with the implementation of avoidance,
         minimization, and mitigation measures recommended in the EIS and adopted by
         [the Authorization Order].”23 The Commission determined that the presumption that the
         project is not inconsistent with the public interest was not overcome and explained that
         “after careful consideration of the entire record of this proceeding, including the findings
         and recommendations of the final EIS, [found] that, subject to the conditions imposed in
         [the Authorization Order], Commonwealth’s proposal is not inconsistent with the public
         interest.”24 The Coalition has not shown that the Commission did not satisfy its statutory
         obligation in this case.25

                 In light of this analysis, we disagree with the Environmental Coalition’s claims
         that the Commission ceded its NGA section 3 authority by relying solely on DOE’s
         authorization that permits Commonwealth to export natural gas to nations with which the
         United States has a free trade agreement.26 As discussed above, the Commission

                21
                  Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
         Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d 1105, 1111
         (D.C. Cir. 1987)).
                22
                     Authorization Order, 181 FERC ¶ 61,143 at P 15.
                23
                     Id.
                24
                     Id. P 18.
                25
                 See Alaska LNG, 67 F.4th at 1188 (“The NGA ‘sets out a general presumption
        favoring ... authorization.’ W. Va. Pub. Servs. Comm’n v. Dep’t of Energy, 681 F.2d 847,
        856 (D.C. Cir. 1982). FERC’s approval of the Project easily comports with the NGA.
        The Commission expressly concluded the Project was in the public interest because it
        would have substantial economic and commercial benefits, and these benefits were not
        outweighed by the projected environmental impacts.”).
                26
                  See Authorization Order, 181 FERC ¶ 61,143 at P 6 (“On April 17, 2020, the
         Department of Energy’s Office of Fossil Energy (DOE/FE) authorized Commonwealth to
         export 9.5 MTPA (1.21 Bcf/d) of LNG to nations with which the United States has a Free
         Trade Agreement (FTA) for a 25-year term. Commonwealth’s application to export up to



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        determined that Commonwealth’s proposal is not inconsistent with the public interest
        based on the entirety of the record, subject to certain conditions contained in the
        Authorization Order, and did not rely solely on DOE’s export authorization. The
        Commission made an independent judgment regarding the merits of the application
        before it.

                B.        Alternatives

                The Environmental Coalition argues that the Commission failed to consider the
         following alternatives to the extent required by the National Environmental Policy Act
         (NEPA). We preface our discussion by noting that where, as here, a federal agency is not
         the sponsor of a project, “the Federal government’s consideration of alternatives may
         accord substantial weight to the preferences of the applicant and/or sponsor in the siting
         and design of the project.”27 Moreover, courts have upheld federal agencies’ use of
         applicants’ project purpose and need in environmental documents and as the basis for
         evaluating alternatives.28 When an agency is asked to consider a specific proposal, the
         needs and goals of the parties involved in the application should be taken into account.29
         Further, because the alternatives considered under NEPA are informed both by “the
         project sponsor's goals,” 30 as well as “the goals that Congress has set for the agency,”31




        9. 5 [million tonnes per annum (MTPA)] of LNG to non-FTA nations is pending with
        DOE/FE.”).
                27
                  City of Grapevine, Tex. v. Dep’t of Transp., 17 F.3d 1502, 1506 (D.C. Cir.
         1994) (quoting Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 197 (D.C. Cir.
         1991) (Citizens Against Burlington)).
                28
                   E.g., City of Grapevine v. U.S. Dep’t of Transp., 17 F.3d at 1506; Citizens
         Against Burlington, Inc. v. Busey, 938 F.2d at 199; (explaining that the evaluation of
         alternatives is “shaped by the application at issue and by the function that the agency
         plays in the decisional process.”).
                29
                     Citizens Against Burlington, 938 F.2d at 196.
                30
                     Id. at 196.
                31
                   Sierra Club v. U.S. Forest Serv., 897 F.3d 582, 598-99 (4th Cir. 2018) (finding
         the statement of purpose and need for a Commission-jurisdictional natural gas pipeline
         project that explained where the gas must come from, where it will go, and how much the
         project would deliver, allowed for a sufficiently wide range of alternatives but was
         narrow enough that there were not an infinite number of alternatives).




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         i.e., the goals set in enacting the NGA, the Commission’s consideration of alternatives
         includes the no-action alternative and alternatives that achieve the purpose of the project.

                          1.      Volume of Proposed Exports

                The Coalition raises two arguments in support of its contention that the
         Commission improperly restricted alternatives to those that would allow Commonwealth
         to export the full volume of gas authorized by DOE.32

                                      a.    Liquefaction Process

                 The Coalition first argues that the Commission improperly rejected the “C3MR”
         liquefaction technology alternative, which it asserts is more efficient, requires less gas for
         the liquefaction process, and emits less pollution per ton of LNG produced than
         Commonwealth’s proposed “AP-SMR” process.33 The Coalition admits that the final
         EIS explained that the C3MR process would require an additional 12 acres, but argues
         that the Commission did not explain how it determined that expanding the site by
         12 acres would result in greater impacts than those that would result from the additional
         air pollution from the AP-SMR process, or why the project’s footprint could not remain
         the same and Commonwealth could simply produce less LNG.34 The Coalition asserts
         that the Commission has the authority to approve the project at a lower capacity than
         Commonwealth proposed, and that the Commission could conclude that the benefits of a
         more efficient export terminal outweigh the additional export capacity.35

                Courts review an agency’s selection of alternatives under NEPA using the “rule of
         reason,” where an agency must reasonably define its goals for the proposed action, and an
         alternative is reasonable if it can feasibly achieve those goals.36 When an agency is

                32
                     Rehearing Request at 10-11.
                33
                     Id. at 11.
                34
                     Id. at 11-12.
                35
                     Id. at 12.
                36
                   See, e.g., Friends of Se.’s Future v. Morrison, 153 F.3d 1059, 1066-67
         (9th Cir. 1998) (stating that while agencies are afforded “considerable discretion to define
         the purpose and need of a project,” agencies’ definitions will be evaluated under the rule
         of reason.); City of Alexandria v. Slater, 198 F.3d 862, 867 (D.C. Cir. 1999). See also
         43 C.F.R. § 46.420(b) (2016) (defining “reasonable alternatives” as those alternatives
         “that are technically and economically practical or feasible and meet the purpose and
         need of the proposed action”).




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         tasked to decide whether to adopt a private applicant’s proposal, a reasonable range of
         alternatives to the proposal includes rejecting the proposal (i.e., the no-action alternative),
         adopting the proposal, or adopting the proposal with some modification.37 An agency
         may eliminate those alternatives that will not achieve a project’s goals or which cannot be
         carried out because they are too speculative, infeasible, or impractical.38

                 The Commission adequately considered the C3MR alternative. In response to
         environmental information requests from Commission staff, Commonwealth explained
         that the AP-SMR process is efficient for mid-scale LNG facilities and that the C3MR
         process is most often used in much larger LNG trains than those that would be used at the
         project (i.e., trains over 4-5.5 million tonnes per annum (MTPA) versus the 1.4 MTPA
         trains proposed for the project).39 In the final EIS, Commission staff explained why
         Commonwealth selected the AP-SMR process over the C3MR alternative.40 Specifically,
         Commission staff found that the project footprint would be nearly 70% greater for the
         C3MR technology than for the AP-SMR technology.41 For the Commonwealth project,
         this would extend the footprint of the project an additional 12 acres into eastern black rail




                37
                  See Theodore Roosevelt Conservation P’ship v. Salazar, 661 F.3d 66, 72-74
         (D.C. Cir. 2011).
                38
                   See Alaska LNG, 67 F.4th at 1182 (recognizing that agencies may reject
         alternatives that will be impractical or fail to further the proposed action’s purpose after
         only brief discussion); Fuel Safe Wash. v. FERC, 389 F.3d 1313, 1323 (10th Cir. 2004)
         (stating that the Commission need not analyze “the environmental consequences of
         alternatives it has in good faith rejected as too remote, speculative, or . . . impractical or
         ineffective.”) (quoting All Indian Pueblo Council v. U. S., 975 F.2d 1437, 1444
         (10th Cir. 1992) (internal quotation marks omitted)); Nat. Res. Def. Council, Inc. v.
         Morton, 458 F.2d 827, 837-38 (D.C. Cir. 1972) (same); see also Nat’l Wildlife Fed’n v.
         FERC, 912 F.2d 1471, 1485 (D.C. Cir. 1990) (stating that “NEPA does not require
         detailed discussion of the environmental effects of remote and speculative alternatives”)
         (citation omitted).
                39
                    Commonwealth Response to June 9, 2022 Environmental Information Request
         at 10 (filed June 24, 2022) (June 24 Response).
                40
                     See final EIS at 3-47.
                41
                     Id.




                                                                                                JA097
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         habitat and/or wetlands, and thus would offer no significant environmental advantage to
         the proposed project.42

                 The Coalition fails to offer any argument to support its assertion that the adverse
         effects associated with the using C3MR technology at the project may be outweighed by
         its suggested decrease in air pollution. The Coalition instead argues that the project could
         use the C3MR process without expanding its footprint by producing less LNG. We find
         that the Commission appropriately concluded that AP-SMR technology is preferrable
         based on environmental considerations and because it is Commonwealth’s preferred
         design: the fact that the Coalition disputes this determination does not, in and of itself,
         undermine its propriety.43 NEPA, as a procedural statute, requires nothing more in this
         case.44

                                   b.     System Alternatives

                The Environmental Coalition’s systems alternatives argument fails for the same
         reason. The Coalition argues that the Commission erred by not considering alternatives
         that would reduce the volumes of LNG that Commonwealth is authorized by DOE to
         export and contends that because there are other LNG projects that are not fully

                42
                   Id.; see also Birckhead v. FERC, 925 F.3d 510, 515 (D.C. Cir. 2019)
         (recognizing that the Commission’s determination that an alternative site “does not have
         a significant advantage over the proposed site” is “sufficient under NEPA”).
                43
                   See Minisink Residents for Env’t Pres. & Safety v. FERC, 762 F.3d 97, 112
         (D.C. Cir. 2014) (“Though we can see how Petitioners may disagree with [the
         Commission’s] takeaway, their disagreement does not mean that FERC failed to consider
         the issue altogether, as they suggest.”); W. Watersheds Project v. Bureau of Land Mgmt.,
         721 F.3d 1264, 1278 (10th Cir. 2013) (“[T]he relevant question is whether the impact of
         the [p]roposed [d]ecision can be reasonably predicted from the EA’s analysis, not
         whether it is the best possible decision.”).
                44
                    See Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 756-57 (2004) (“NEPA
         imposes only procedural requirements on federal agencies with a particular focus on
         requiring agencies to undertake analyses of the environmental impact of their proposals
         and actions.”); Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989)
         (“[I]t is now well settled that NEPA itself does not mandate particular results, but simply
         prescribes the necessary process. If the adverse environmental effects of the proposed
         action are adequately identified and evaluated, the agency is not constrained by NEPA
         from deciding that other values outweigh the environmental costs.”) (internal citations
         omitted); Citizens Against Burlington, Inc., 938 F.2d at 194 (explaining that NEPA
         “directs agencies only to look hard at the environmental effects of their decisions, and not
         to take one type of action or another”).




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        subscribed, the unsubscribed capacity at these projects should be considered as an
        alternative to the Commonwealth LNG Project.45 This argument misapprehends the
        division of authority between the Commission and DOE under the NGA. The final EIS
        recognized that because each of the other LNG terminals cited by Environmental
        Coalition is authorized by (or has applied to) DOE to export to FTA countries, the NGA
        provides that those exports are in the public interest and, consequently, the Commission
        is unable to conclude that any of that capacity could be diverted to accommodate the
        purpose and need of the Commonwealth LNG Project.46 The final EIS reasonably
        concluded that shifting any portion of the project’s proposed capacity to another LNG
        facility would necessarily require an expansion or new facilities at the other project(s),
        resulting in similar environmental impacts to those that may occur at the Commonwealth
        LNG Project.47 The final EIS thus found that these system alternatives would not offer a
        significant environmental advantage over the proposed Commonwealth LNG Project.48

                The Coalition takes issue with this conclusion, arguing that the Commission
         should not assume that the environmental impacts at another LNG facility would be as
         adverse as those that may occur at the Commonwealth LNG Project.49 It asserts that
         increased production at another LNG facility may be preferable if that facility uses a
         more efficient liquefaction design.50 However, the Coalition has not identified a specific
         alternative for the Commission’s consideration that could offer evidence to support this
         claim.51 The Commission has previously recognized that “[u]nsupported, hypothetical


                45
                     Rehearing Request at 14.
                46
                     See final EIS at 3-29; see also 15 U.S.C. § 717b(c).
                47
                   Final EIS at 3-29 (“We must conclude Commonwealth’s proposed export
         capacity at any other existing or proposed LNG facility would require an expansion or
         new facilities. Some of the facilities, such as Freeport LNG, are unlikely to have the
         available acreage to expand its facilities to accommodate the purpose and need of the
         Project. For those remaining LNG facilities, there may be available acreage to expand
         the existing or proposed facilities. However, expansion would require similar structures
         as the facilities proposed for the Terminal, resulting in environmental impacts similar to
         the Project.”).
                48
                     Id.
                49
                     Rehearing Request at 15.
                50
                     Id.
                51
                     See Tenn. Gas Pipeline Co., LLC, 181 FERC ¶ 61,051, at P 24 (2022).




                                                                                             JA099
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        alternatives are not reasonable alternatives that warrant further NEPA consideration.”52
        As the Coalition offers no record evidence to substantiate this argument, we need go no
        further.53

                           2.     Design Alternatives

                The Environmental Coalition argues that the Commission also failed to explore
         several design alternatives that would still provide Commonwealth’s proposed export
         capacity.

                                      a.     On-Site Power Generation

                The Environmental Coalition first argues that significant reductions in emissions
         could be achieved by running turbines in combined-cycle (rather than simple-cycle as
         approved) to generate on-site electricity.54 The Coalition contends the Commission
         improperly rejected two ways to employ combined cycle turbines—replacing all turbines
         with 500-megawatts (MW) of electrical generation and replacing the 120-MW of
         proposed on-site generation with combined cycle units.55

                                        i.    Combined-Cycle for all of the Project’s Power

                The Coalition argues that the final EIS failed to discuss the extent to which an
         on-site combined-cycle gas-fired power plant would decrease total air emissions.56 We
         find that Commonwealth adequately explained why this alternative was not proposed for
         the project and Commission staff provided extensive discussion in the final EIS
         considering this alternative and rejecting it as not providing a significant environmental




                52
                     Mountain Valley Pipeline, LLC, 163 FERC ¶ 61,197, at P 139 (2018).
                53
                   The Coalition relatedly disputes the premise that no other facilities have
         available capacity, but this argument is unavailing for the reasons already discussed.
         Rehearing Request at 14-15. Additionally, if, as the Coalition appears to suggest, some
         of the other proposed facilities will not be built, id. at 15, that would presumably result in
         even less capacity that could potentially serve as a substitute for the Commonwealth
         LNG Project.
                54
                     Rehearing Request at 16-17.
                55
                     Id. at 18.
                56
                     Id.




                                                                                               JA100
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        advantage.57 The Coalition’s disagreement with this determination does not undermine
        the fact that the Commission considered the alternative and rejected it with a reasonable
        explanation.58 NEPA does not require anything more.59

                 The Coalition next contends that an increase in acreage needed for the
         combined-cycle power plant may be offset by a reduction in space needed for
         liquefaction equipment.60 However, the Coalition provides no evidence, analysis, or
         citations to substantiate or explain this assertion. We, accordingly, reject this argument.61

                 The Coalition argues the Commission could require Commonwealth to power all
         of the turbines with an on-site combined-cycle gas-fired power plant.62 The Coalition
         asserts that the final EIS’ conclusion that the requisite 500-MW power plant “would
         require an approximately 100-acre footprint” is unsupported and is contradicted by the
         fact that two other facilities—the Orange County Advanced Power Station in Texas and
         Nemadji Trail Energy Center Generation Project in Wisconsin—generate more power in
         a smaller footprint.63 We begin by recognizing that the Coalition has not previously
         identified either of these facilities and thus these examples are not properly before us on
         rehearing.64 Regardless, the Coalition offers no evidence or analysis to support its claim

                57
                   See final EIS at 3-48 (“The additional space of a combined cycle, either
         120 MW or 500 MW, would require an expansion of the Terminal into eastern black rail
         habitat and wetlands. Therefore, we conclude that this alternative would not provide a
         significant environmental advantage to Commonwealth’s proposal to construct the
         smaller simple cycle gas-powered system.”).
                58
                  See Minisink, 762 F.3d at 112; W. Watersheds Project v. Bureau of Land Mgmt.,
         721 F.3d at 1278.
                59
                   See, e.g., Native Ecosystems Council v. U.S. Forest Serv., 428 F.3d 1233, 1247
         (9th Cir. 2005) (“So long as all reasonable alternatives have been considered and an
         appropriate explanation is provided as to why an alternative was eliminated, the
         regulatory requirement is satisfied.”) (internal quotation marks omitted).
                60
                     Rehearing Request at 20.
                61
                 See, e.g., Turlock Irrigation Dist., 140 FERC ¶ 61,207, at P 27 (2012) (“This is
         nothing more than a bald assertion . . . and is waived for lack of specificity.”).
                62
                     Id.
                63
                     Id. at 18-19 (citing final EIS at 3-48).
                64
                   See, e.g., Middletown Coke Co., LLC, 182 FERC ¶ 61,231, at P 10 (2023)
         (“Parties are not permitted to introduce new evidence for the first time on rehearing since



                                                                                              JA101
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        that these facilities would be analogous to the power plant needed for the project. The
        fact that the Orange County Advanced Power Station project is projected to generate
        1,215 MW of power on 26.2 acres and the Nemadji Trail Energy Center Generation
        Project is projected to generate 625 MW of power on 26.3 acres shows the potential for
        significant variability in project output relative to acres occupied.65 As the Coalition fails
        to provide any explanation for why these projects should be considered analogous to the
        combined-cycle plant that would be required for the project, particularly in light of the
        myriad variables at play and the fact that they are built for fundamentally different
        purposes, we are unpersuaded by their argument that a 500 MW combined-cycle power
        plant for the project would not require approximately an additional 100 acres in this
        instance.66

                We also note that the Commission did not reject this alternative solely based on
         the additional acreage that would be required. For example, Commonwealth explained
         that converting natural gas to electricity, then back to mechanical power, with variable
         frequency drive (VFD) electrical motors, is not the most efficient solution because the
         losses associated with the high voltage gear and the VFDs eliminate any benefit such
         solution may have in comparison with gas turbine direct mechanical drive of the
         refrigeration compressors and recovery of the gas turbines waste heat.67 Based on this
         information, we continue to find that the Commission acted reasonably in rejecting this
         alternative.




         such practice would allow an impermissible moving target and would frustrate needed
         administrative finality.”) (quoting Rio Grande LNG, LLC, 170 FERC ¶ 61,046, at P 94
         (2018)).
               65
                    See Rehearing Request at 19.
               66
                  See June 24 Response at 10 (“The use of a combined cycle power plant was also
         evaluated. A 500-MW power plant would be required to drive the refrigeration
         compressors using electric motors, and to also provide the 120-MW auxiliary load
         needed for the balance of the plant. Such a power plant would require an additional
         100 acres, thus essentially doubling the current overall footprint and environmental
         impact.”).
               67
                    Id.




                                                                                              JA102
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                                          ii.   Combined-Cycle for 120-MW of the Project’s
                                                Power

                 The Coalition also argues that the Commission erred by rejecting an alternative
         that would use a combined-cycle 120-MW power plant.68 We disagree. The final EIS
         explained that a combined cycle power plant converts more energy from fuel gas to
         electricity than simple cycle generators, but the refrigerant compressor gas turbine drives
         consume more fuel than simple cycle generators; thus, while converting 120 MW of
         on-site simple cycle power generation to combined cycle would result in a reduction in
         emissions, the reduction would be less than 10%.69 The Coalition argues that even a
         reduction of less than ten percent would be advantageous; however, the final EIS
         balanced that estimated emissions reduction against the increased land usage that would
         be required for a 120-MW combined cycle power plant, ultimately concluding that the
         construction of a 120-MW combined cycle power plant would require expansion of the
         project into eastern black rail habitat and wetlands, and therefore would not provide a
         significant environmental advantage over Commonwealth’s proposed design.70 This sort
         of balancing of benefits and harms as part of the Commission’s alternatives analysis
         under NEPA is squarely within the Commission’s discretion.71 Moreover, it is
         well-settled that NEPA does not mandate particular results or selection of the least
         environmentally damaging alternative so long as each alternative is adequately discussed
         and a brief explanation is provided for why an alternative is rejected.72 For the same
         reasons as discussed above in the context of the 500-MW combined cycle alternative, we
         are unpersuaded by the Coalition’s two examples of combined cycle power stations—the

                68
                     Rehearing Request at 20-22.
                69
                     Final EIS at 3-48.
                70
                     Id.
                71
                  See, e.g., Minisink, 762 F.3d, at 112 (“In reviewing an agency’s compliance
         with NEPA, the rule of reason applies, and we consistently decline to flyspeck an
         agency’s environmental analysis.”) (cleaned up); Klein v. U.S. Dep’t of Energy, 753 F.3d
         576 (6th Cir. 2014) (“In carrying out [NEPA], the agency has considerable discretion.”).
                72
                   See Robertson v. Methow Valley Citizens Council, 490 U.S. at 350 (“[I]t is now
         well settled that NEPA itself does not mandate particular results, but simply prescribes
         the necessary process. If the adverse environmental effects of the proposed action are
         adequately identified and evaluated, the agency is not constrained by NEPA from
         deciding that other values outweigh the environmental costs.”) (citations omitted); see
         also 40 C.F.R. § 1502.14(a) (2022) (“Evaluate reasonable alternatives to the proposed
         action, and, for alternatives that the agency eliminated from detailed study, briefly
         discuss the reasons for their elimination.”).




                                                                                             JA103
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        Malburg Generating Station in California and the Donald Von Raesfeld Project—which
        produce around 120 MW on a footprint that the Coalition asserts, without explanation,
        should be replicable at the project. Accordingly, we disagree that the Commission erred
        in rejecting the 120-MW combined cycle alternative.

                                     b.    Carbon Capture and Sequestration

                 The Environmental Coalition argues that the Commission failed to rigorously
         explore, or to justify the rejection of, carbon capture and sequestration (CCS), either for
         all or part of the project’s emissions.73 The Coalition contends that the final EIS relies on
         Commonwealth’s statement that CCS is not feasible but fails to indicate whether the
         Commission agrees with that position or provide information supporting the position.74
         The Coalition also points to the fact that other developers have proposed to incorporate
         CCS technology into their LNG terminal designs.75

                 We disagree that the final EIS failed to adequately analyze the feasibility of
         incorporating CCS technology into the project design. The final EIS incorporated
         information from a Best Available Control Technology Analysis (BACT Analysis) filed
         by Commonwealth in September 202176 and concluded that, although the project is
         technically able to capture carbon dioxide (CO2) due to Commonwealth’s proposal to use
         an amine-based absorber system, there is insufficient CO2 sequestration infrastructure in
         place to make CCS viable for the project.77 Specifically, there are no CO2 sequestration
         facilities beneath the Gulf of Mexico seabed in Cameron Parish or near the project site,
         and nearby projects are still in development, such as the Gulf Coast Sequestration Project
         (onshore in southwest Louisiana near the Sabine River on the Louisiana-Texas border
         and west of Lake Charles) and the Hackberry Carbon Sequestration project (proposed for
         construction approximately 16 miles northwest of the Project and with the business plan
         of capturing, transporting, and storing CO2 primarily from Cameron LNG).78 The closest
         operating CO2 sequestration facility is the Denbury Green Pipeline (a CO2 pipeline that


                73
                     Id. at 23.
                74
                     Id. at 24.
                75
                     Id.
                76
                  See Commonwealth Response to September 15, 2021 Environmental
         Information Request at app. F (filed Sept. 30, 2021).
                77
                     Final EIS at 4-398.
                78
                     Id.




                                                                                              JA104
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        is 37 miles from the Project).79 With respect to CO2 transport, Commonwealth explained
        in comments on the draft EIS that the required CO2 sequestration pipeline infrastructure
        does not currently exist and that it would have to construct an approximately
        37-mile-long CO2 pipeline and associated infrastructure to transport CO2 from the
        project to the Denbury Green Pipeline.80 Based on the foregoing and because the
        requisite infrastructure does not exist, we find that such an alternative is appropriately
        rejected and infeasible.

                                      c.   Storage Tanks

                The Environmental Coalition disputes the final EIS’ rejection of an alternative that
         would use five storage tanks rather than six.81 The Coalition argues that the EIS’
         conclusion that a five-tank design would increase air pollution through additional flaring
         is unsupported and that the EIS fails to consider that the reduced impacts to 2.3 acres of
         wetlands with a five-tank design may enable Commonwealth to use the aforementioned
         combined-cycle powerplant.82 Additionally, the Coalition argues that the Commission
         has not presented sufficient evidence to show that any increase in air emissions from the
         five-tank design would be offset by a potential 10% reduction in emissions through the
         use of a combined-cycle power plant.83

                 In the final EIS, Commission staff considered Commonwealth’s proposal to
         increase the capacity of its six storage tanks from 40,000 m3 to 50,000 m3 and concluded
         that “the possible benefits of the increased storage capacity, with no increase in the
         [project] footprint from the original application, would be preferable to the potential
         adverse air impacts due to increased flaring events of Commonwealth having to shut




                79
                     Id.
                80
                 See Commonwealth Response to Comments on March 31, 2022 Draft
         Environmental Impact Statement at 20 (filed July 7, 2022).
                81
                     Rehearing Request at 25.
                82
                     Id. at 25-26.
                83
                     Id. at 26-27.




                                                                                            JA105
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        down and restart the [project] at a higher annual frequency than would otherwise
        occur.”84 We continue to agree with that conclusion.85

                Commonwealth stated that the project’s footprint would not be reduced by
        eliminating one of the six storage tanks, and that there are operational reasons for
        requesting Commission authorization of six 50,000 m3 storage tanks.86 For example, in a
        response to a Commission staff data request, Commonwealth explained that, during an
        adverse weather event that closes the channel, the “additional storage capacity allows the
        facility to continue operating, possibly at a reduced rate, until such weather event has
        passed, and LNG carriers can resume operation.”87 In the same response,
        Commonwealth provided a list of 33 instances in which the Calcasieu Ship Channel
        closed from the beginning of January 2021 through the end of August 2021.88 In light of
        this evidence, and noting that the Commonwealth LNG Project is only proposing to
        construct a single berthing dock (which limits the flexibility with which Commonwealth
        could reduce tank inventory when needed compared to facilities with multiple berths),89
        we find these operational considerations well-founded. Accordingly, we are not
        persuaded by the Coalition’s argument.90




                84
                  Final EIS at 3-46. Commonwealth’s initial application proposed a design that
         included six LNG storage tanks with capacities of 40,000 m3 per tank for a total storage
         capacity of 240,000 m3. In Commonwealth’s July 2021 application amendment,
         Commonwealth adjusted the proposed design of the LNG storage tanks to enable
         capacities of 50,000 m3 per tank for total storage capacity of 300,000 m3. Id.
                85
                  See, e.g., Comm. of 100 on Fed. City v. Foxx, 87 F.Supp.3d 191, 201
         (D.D.C. 2015) (“Courts reviewing an agency’s environmental analysis generally defer to
         the informed discretion of the agency on an issue that requires a high degree of technical
         expertise.”) (citing Del. Riverkeeper v. FERC, 753 F.3d 1304, 1313 (D.C. Cir. 2014)).
                86
                  Commonwealth Response to September 15, 2021 Environmental Information
         Request at 36 (filed September 30, 2021) (September 30 Response).
                87
                     Id. at 36.
                88
                     Id. at 37-39.
                89
                     Authorization Order, 181 FERC ¶ 61,143 at P 3.
                90
                 With respect to the Coalition’s argument that the potential reduction in
         emissions that would result from omitting a storage tank could be offset by using
         combined-cycle power, we have already addressed the Coalition’s arguments for



                                                                                             JA106
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                          3.      No-Action Alternative

                 The Environmental Coalition argues that Commission staff’s analysis of the
         No-Action Alternative is inconsistent with NEPA. 91 The Coalition states that the
         No-Action Alternative improperly assumes that the environmental baseline includes
         aspects of the proposed project and that consideration of alternative energy sources is
         beyond the scope of the EIS because such sources would not meet the project’s aims.92
         In other words, the Coalition argues that the No-Action Alternative assumed the
         existence of the proposed project.93 The Coalition contends the Commission also erred
         by failing to address the No-Action Alternative in the Authorization Order.94

                 We disagree that the final EIS failed to properly evaluate the No-Action
         Alternative. As a threshold matter, an agency does not err by rejecting a No-Action
         Alternative that would not fulfill the project’s purpose.95 Regardless, the final EIS did
         not, as the Coalition argues, “assume the baseline includes aspects of the proposed
         project.”96 To the contrary, the final EIS explicitly contemplates a “no build” scenario in
         which the project would not be developed, Commonwealth’s objective of liquefying and
         exporting natural gas to foreign markets would not be realized, and the potential
         environmental impacts associated with the project would not occur.97 Under this
         scenario, however, end users of LNG would be required to make different arrangements
         to meet their needs, and the Commission is unable to speculate that any portion of
         liquefaction capacity at other LNG terminals would be available to meet that demand
         because DOE’s export approval is a determination that the authorized capacity at these



        combined-cycle power and concluded they are without merit. See supra PP 22-25. We
        need not revisit this issue in the context of storage tanks.
                91
                     Rehearing Request at 27.
                92
                     Id. at 28-29.
                93
                     Id. at 29.
                94
                     Id. at 30.
                95
                  Alaska LNG, 67 F.4th at 1182 (holding that the Commission did not err by
         concisely rejecting the No-Action Alternative when it would not fulfill the project’s
         purpose to commercialize natural gas from Alaska’s North Slope).
                96
                     Rehearing Request at 28.
                97
                     Final EIS 3-26.




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        other facilities is in the public interest to satisfy other demand requirements.98 In other
        words, the Commission cannot conclude that any potential environmental impacts that
        may be avoided by forgoing the instant project would not otherwise be replicated by a
        corresponding increase in capacity elsewhere. As any environmental benefits that may
        be realized by adopting the No-Action Alternative are speculative,99 and because the
        no-action alternative would fail to meet the proposal’s purpose and objective,100 we
        continue to find that the discussion and rejection of the No-Action Alternative was
        reasonable and appropriate.

                It follows, then, that Coalition’s argument that the Commission improperly
         dismissed “alternative energy sources” as a component of the No-Action Alternative that
         would obviate the need for the project also fails. As explained above, an agency may
         eliminate alternatives that will not achieve a project’s goals or are otherwise
         unreasonable.101 Here, no entity provided a specific project alternative for Commission
         consideration. The Final EIS concluded that neither the no-action alternative nor any
         alternative energy source is capable of meeting the purpose of the project, and were
         therefore eliminated from further consideration.102 We find this determination
         appropriate; for purposes of NEPA, an agency may take into account an applicant’s needs
         and goals when assessing alternatives, so long as it does not limit the alternatives to only
         those that would adopt the applicant’s proposal.103

                Finally, the Coalition’s contention that the Authorization Order is arbitrary and
         capricious because it did not “discuss or acknowledge the No-Action Alternative” is



                98
                     Id.
                99
                     Id.
                100
                   See Friends of Se.’s Future v. Morrison, 153 F.3d at 1067 (holding that the
         U.S. Forest Service “did not act unreasonably in rejecting the no-action alternative on the
         ground that it would not meet the purpose and need of the proposed project”); see also
         Native Ecosystems, 428 F.3d at 1247 (“Alternatives that do not advance the purpose of
         the [project] will not be considered reasonable or appropriate.”).
                101
                   See Fuel Safe Wash. v. FERC, 389 F.3d at 1323 (quoting All Indian Pueblo
         Council v. U.S., 975 F.2d at 1444); Nat. Res. Def. Council, Inc. v. Morton, 458 F.2d
         at 837-38; see also Nat’l Wildlife Fed’n v. FERC, 912 F.2d at 1485.
                102
                      Final EIS at 3-26.
                103
                      See Theodore Roosevelt Conservation P’ship, 661 F.3d at 73-74.




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        incorrect.104 In the Authorization Order, the Commission reviewed the information and
        analysis contained in the final EIS, including the alternatives analysis, which, as noted
        above, discussed the no-action alternative.105 The fact that the Commission did not
        reproduce the alternatives discussion from the final EIS in the Authorization Order does
        not mean that it disregarded the no-action alternative, only that the recommendations in
        the final EIS were not subsequently modified in the Authorization Order.

               C.        GHGs

                The Environmental Coalition next argues that “FERC is . . . required by NEPA
         and the NGA to consider the direct and cumulative effects on climate change in its public
         interest analysis and to determine whether a project’s reasonably foreseeable GHGs are
         significant.”106 The Environmental Coalition argues the Commission failed to do so and
         thus “violates NEPA, and in turn, poisons FERC’s section 3 NGA public interest
         balancing.”107 Furthermore, the Coalition argues that the Commission must consider
         indirect emissions under NEPA, and therefore its failure to do so was unlawful under the
         NGA.108

                As an initial matter, the Commission’s NGA and NEPA responsibilities are
         separate and distinct.109 The Commission’s balancing under the public interest


               104
                     Rehearing Request at 30.
               105
                   See Authorization Order, 181 FERC ¶ 61,143 at P 84; id. P 25 (“The final EIS
         addresses geology, soils, water resources, wetlands, vegetation, wildlife, aquatic
         resources, threatened and endangered species, land use, recreation, visual resources,
         socioeconomics, environmental justice, cultural resources, air quality, noise, safety,
         cumulative impacts, and identified alternatives.”) (emphasis added).
               106
                     Rehearing Request at 31 (citing 40 C.F.R. § 1502.16(a)(1)).
               107
                     Id. at 32.
               108
                   Id. As we explained in the Authorization Order, under Freeport, the
         Commission need not consider the effects of upstream production or downstream
         transportation, consumption, or combustion of exported gas because the DOE’s
         “independent decision to allow exports . . . breaks the NEPA causal chain and absolves
         the Commission of responsibility to include [these considerations] in its NEPA analysis.”
         Authorization Order, 181 FERC ¶ 61,143 at P 77 (quoting Sierra Club v. FERC, 827 F.3d
         36, 48 (D.C. Cir. 2016) (Freeport)).
               109
                     See Transcon. Gas Pipe Line Co., 182 FERC 61,148, at P 101 (2023).




                                                                                           JA109
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         standard110 is consistent with the purpose of the NGA111 and is therefore afforded
         deference.112 As the U.S. Court of Appeals for the District of Columbia Circuit has
         explained, the NGA section 3 standard that a proposal “shall” be authorized unless it
         “will not be consistent with the public interest[,]”113 “sets out a general presumption
         favoring such authorization[s].”114 To overcome this favorable presumption and support
         denial of an NGA section 3 application, there must be an “affirmative showing of
         inconsistency with the public interest.”115 The Commission explained that this


                110
                    See Authorization Order, 181 FERC ¶ 61,143. See also Alaska LNG, 67 F.4th
         1176, 1188 (D.C. Cir. 2023) (explaining that “[t]he NGA ‘sets out a general presumption
         favoring ... authorization’” and “FERC’s approval of the Project easily comports with the
         NGA”).
                111
                    See NAACP v. Fed. Power Comm’n, 425 U.S. 662, 669 (1976) (explaining that
         the Supreme Court “ha[s] consistently held that the use of the words ‘public interest’ in a
         regulatory statute is not a broad license to promote the general public welfare[,] [r]ather,
         the words take meaning from the purposes of the regulatory legislation”); id. (explaining
         that the purpose of the NGA as to “encourage the orderly development of plentiful
         supplies of . . . natural gas at reasonable prices” and also observing that there are
         subsidiary purposes to the Act) (citation omitted).
                112
                    See Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 844
         (1984) (“a court may not substitute its own construction of a statutory provision for a
         reasonable interpretation made by the administrator of an agency.”); see also Myersville
         Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1308 (D.C. Cir. 2015)
         (“Because the grant or denial of a Section 7 certificate of public convenience and
         necessity is a matter ‘peculiarly within the discretion of the Commission,’ Okla. Natural
         Gas Co. v. Fed. Power Comm’n, 257 F.2d 634, 639 (D.C. Cir. 1958), this court does not
         ‘substitute its judgment for that of the Commission,’ Nat’l Comm. for the New River v.
         FERC, 373 F.3d 1323, 1327 (D.C. Cir. 2004).”).
                113
                   15 U.S.C. § 717b(a). In addition, NGA section 3(c) provides that the
        exportation of gas to FTA nations “shall be deemed to be consistent with the public
        interest.” Id. § 717b(c). Commonwealth has received authorization to export to FTA
        nations.
                114
                 EarthReports v. FERC, 828 F.3d at 953 (quoting W. Va. Pub. Servs. Comm’n v.
        U.S. Dep’t. of Energy, 681 F.2d 847 at 856); see also Sierra Club v. U.S. Dep’t of
        Energy, 867 F.3d at 203).
                115
                 Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
        Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d at 1111).




                                                                                              JA110
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        presumption was not overcome.116 In conducting its public interest analysis under NGA
        section 3, the Commission is not required to characterize the project’s estimated GHG
        emissions as significant or insignificant; no court has held to the contrary.

                 As to NEPA, the Environmental Coalition claims that the Commission failed to
         comply with a CEQ regulation requiring that an environmental impact statement include
         a “discussion” of “the environmental impacts of the proposed action and reasonable
         alternatives to the proposed action and the significance of those impacts.”117 Although
         the Commission did not characterize the estimated emissions as significant or
         insignificant, the Commission’s discussion disclosed and contextualized the reasonably
         foreseeable GHG emissions.118 We explain further below that there currently are no
         accepted tools or methods for the Commission to use to determine significance.119 NEPA
         is not a means of “mandating that agencies achieve particular substantive environmental
         results”;120 rather, it is a procedural statute that “prescribes the necessary process.”121 It



                116
                    See Alaska LNG, 67 F.4th at 1188 (“The NGA ‘sets out a general presumption
         favoring ... authorization.’ W. Va. Pub. Servs. Comm’n v. Dep’t of Energy, 681 F.2d 847,
         856 (D.C. Cir. 1982). FERC’s approval of the Project easily comports with the NGA. The
         Commission expressly concluded the Project was in the public interest because it would
         have substantial economic and commercial benefits, and these benefits were not
         outweighed by the projected environmental impacts.”).
                117
                      Rehearing Request at 31 (citing 40 C.F.R. § 1502.16(a)(1)).
                118
                   See Authorization Order, 181 FERC ¶ 61,143 at PP 74-75 (citing Final EIS
         at 4-397 to 4-398).
                119
                      Infra P 41.
                120
                   Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 371 (1989); accord Robertson v.
         Methow Valley Citizens Council, 490 U.S. 332, 350 (1989) (“[I]t is now well settled that
         NEPA itself does not mandate particular results, but simply prescribes the necessary
         process.”) (Methow Valley).
                121
                    Oglala Sioux Tribe v. U.S. Nuclear Regulatory Comm’n, 45 F.4th 291, 299
         (D.C. Cir. 2022) (“NEPA is a purely procedural statute that ‘does not mandate particular
         results, but simply prescribes the necessary process.’”) (quoting Methow, 490 U.S.
         at 350); see also Methow Valley, 490 U.S. at 351 (1989) (explaining that “it would not
         have violated NEPA if the Forest Service, after complying with [NEPA’s] procedural
         prerequisites, had decided that the benefits to be derived from downhill skiing at Sandy
         Butte justified the issuance of a special use permit, notwithstanding the loss of 15%,
         50%, or even 100% of the mule deer herd” and also explaining that “[o]ther statutes may



                                                                                               JA111
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        is also worth noting that the D.C. Circuit recently affirmed the Commission’s decision to
        not analyze the Social Cost of Carbon in its NEPA analysis,122 rejected the suggestion
        that it was required to do so, found that the petitioner’s arguments “fare no better when
        framed as NGA challenges,” and then, in the very same paragraph, sustained the
        Commission’s public interest determination as “reasonable and lawful.”123

                            1.   Direct Emissions

                The Environmental Coalition argues that the Commission erred by not
         characterizing the significance of the project’s GHG emissions.124 It argues that the
         Commission is not absolved of making a significance determination on the grounds that
         the Interim GHG policy statement remains a draft and the Commission is conducting a
         separate proceeding to evaluate that policy.125

                For informational purposes, Commission staff estimated the social cost of GHGs
         associated with reasonably foreseeable emissions from the project.126 While we have
         recognized in some past orders that social cost of GHGs may have utility in certain
         contexts such as rulemakings,127 we have also found that calculating the social cost of
         GHGs does not enable the Commission to determine credibly whether the reasonably
         foreseeable GHG emissions associated with a project are significant or not significant in
         terms of their impact on global climate change.128 Currently, however, there are no


         impose substantive environmental obligations on federal agencies, but NEPA merely
         prohibits uninformed—rather than unwise—agency action”).
                122
                    Alaska LNG, 67 F.4th at 1184 (“Rather than use the social cost of carbon, the
         Commission compared the Project’s direct emissions with existing Alaskan and
         nationwide emissions. It declined to apply the social cost of carbon for the same reasons
         it had given in a previous order. . . FERC’s approach was reasonable and mirrors analysis
         we have previously upheld.”).
                123
                      Id.
                124
                      Rehearing Request at 33-37.
                125
                      Id. at 33, 37.
                126
                      See Authorization Order 181 FERC ¶ 61,143 at P 75 (citing Final EIS at 4-397
         to 4-398).
                127
                      Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
                128
                   See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043, at P296, (2017), aff’d
         sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.



                                                                                            JA112
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        criteria to identify what monetized values are significant for NEPA purposes, and we are
        currently unable to identify any such appropriate criteria.129 Nor are we aware of any
        other currently scientifically accepted method that would enable the Commission to
        determine the significance of reasonably foreseeable GHG emissions. 130 The D.C.




        Riverkeeper v. FERC, 45 F.4th 104, 111 (D.C. Cir. 2022). The social cost of GHGs tool
        merely converts GHG emissions estimates into a range of dollar-denominated figures; it
        does not, in itself, provide a mechanism or standard for judging “significance.”
               129
                  Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
        Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
        at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, 2019 WL 847199, at 2 (“[The
        Commission] gave several reasons why it believed petitioners’ preferred metric, the
        Social Cost of Carbon tool, is not an appropriate measure of project-level climate change
        impacts and their significance under NEPA or the Natural Gas Act. That is all that is
        required for NEPA purposes.”); EarthReports, 828 F.3d at 949, 956 (D.C. Cir. 2016)
        (accepting the Commission’s explanation why the social cost of carbon tool would not be
        appropriate or informative for project-specific review, including because “there are no
        established criteria identifying the monetized values that are to be considered significant
        for NEPA purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75
        (2022); See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023); Columbia Gulf
        Transmission, LLC, 180 FERC ¶ 61,206, at P 91 (2022).
               130
                  See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023) (“there are
        currently no criteria to identify what monetized values are significant for NEPA
        purposes, and we are currently unable to identify any such appropriate criteria”). The
        Environmental Coalition asserts that “in this docket and others, the Commission has been
        presented with a number of sound options with which it could adopt and utilize to assess
        whether a project’s CO2 emissions are significant.” Rehearing Request at 37 (citing
        Sierra Club et. al., DEIS Comments at 22-23; Motion for Leave and Supplemental Reply
        Comments of Natural Resources Defense Council, Accession No. 20220923-5190,
        Docket Nos. PL18-1-000, PL21-3-000 (September 23, 2022)). To the extent that the
        Environmental Coalition is attempting to submit an argument regarding options for
        assessing significance, we find that these “citation[s]” are “not sufficient to put FERC on
        notice, and it certainly does not amount to ‘set[ting] forth [the argument] specifically.”
        Alaska LNG, 67 F.4th at 1184 (quoting 15 U.S.C. § 717r(a)) (citation omitted).
        Moreover, we address arguments pertaining to the social cost of GHGs in this order. See,
        e.g., PP 40-41.




                                                                                           JA113
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        Circuit has repeatedly upheld the Commission’s decisions not to use the social cost of
        carbon , including to assess significance.131

                The Commission has disclosed the project’s reasonably foreseeable GHG
         emissions in the Authorization Order.132 By adopting the analysis in the final EIS, we
         recognize that the project’s contributions to GHG emissions globally contribute
         incrementally to future climate change impacts,133 including impacts in the region.134 We
         note that there currently are no accepted tools or methods for the Commission to use to
         determine significance, therefore the Commission is not herein characterizing these
         emissions as significant or insignificant.135 Accordingly, we have taken the required
         “hard look” and have satisfied our obligations under NEPA.

                        2.      Indirect Emissions

                The Environmental Coalition argues that the Commission’s approval of the
         Commonwealth LNG Project is a connected action with Commonwealth’s pending
         application for DOE approval of non-FTA exports from the project.136 It contends that

               131
                    See, e.g., EarthReports v. FERC, 848 F.3d 949, 956 (D.C. Cir. 2016)
         (upholding the Commission’s decision not to use the social cost of carbon tool due to a
         lack of standardized criteria or methodologies, among other things); Del. Riverkeeper v.
         FERC, 45 F.4th 104 (D.C. Cir. 2022) (also upholding the Commission’s decision not to
         use the social cost of carbon); Appalachian Voices v. FERC, 2019 WL 847199 (same).
               132
                     See Authorization Order, 181 FERC ¶ 61,143 at P 74.
               133
                     Id. P 75; Final EIS at 4-394.
               134
                  Final EIS at 4-393 – 4-394 (discussing observations from the Fourth
         Assessment Report).
               135
                  The February 18, 2022 Interim GHG Policy Statement, Consideration of
         Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
         (2022), which proposed to establish a NEPA significance threshold of 100,000 tons per
         year of CO2e as a matter of policy, has been suspended, and opened to further public
         comment. Certification of New Interstate at Gas Facilities, 178 FERC ¶ 61,197, at P 2
         (2022).
               136
                   Rehearing Request at 37-38. On April 17, 2020, DOE authorized
         Commonwealth to export 9.5 MTPA (1.21 Bcf/d) of LNG to nations with which the
         United States has a Free Trade Agreement (FTA) for a 25-year term. Commonwealth’s
         application to export up to 9.5 MTPA of LNG to non-FTA nations is pending with DOE.
         Authorization Order, 181 FERC ¶ 61,143 at P 6.




                                                                                           JA114
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        application of the connected actions factors set forth at 40 C.F.R. § 1501.9 evince the
        connection between the Commission’s approval of the terminal and DOE’s consideration
        of Commonwealth’s proposed non-FTA exports.137 Notwithstanding the D.C. Circuit’s
        decision in Freeport,138 the Coalition claims that NEPA requires a single EIS for both
        Commonwealth’s NGA section 3 application and its DOE application for export to
        non-FTA nations, and the EIS must consider indirect emissions.139 The Commission
        considered and rejected this argument in the Authorization Order140 and, for the reasons
        stated below, we continue to reach the same result on rehearing.

                Actions are “connected” for the purpose of NEPA review if they:
         (1) automatically trigger other actions that may require environmental impact statements;
         (2) cannot or will not proceed unless other actions are taken previously or
         simultaneously; or (3) are interdependent parts of a larger action and depend on the larger
         action for their justification.141 An agency is required to consider “connected actions” in
         a single environmental document to prevent the agency from “dividing one project into
         multiple individual actions” with less significant environmental effects.142 The proposal
         before the Commission is to site, construct, and operate the Commonwealth LNG
         Project.143 The export of natural gas from the Commonwealth LNG Project was

                137
                      Id. at 38-39 (citing 40 C.F.R. § 1509.1(e)(1)(i)-(iii) (2022)).
                138
                      Freeport, 827 F.3d 36.
                139
                      Rehearing Request at 38-40.
                140
                      See Authorization Order, 181 FERC ¶ 61,143 at PP 77-83.
                141
                      40 C.F.R. § 1501.9(e)(1)(i)-(iii) (2022).
                142
                    Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1326
         (D.C. Cir. 2015) (upholding the Commission’s determination that, although a
         Dominion-owned pipeline project’s excess capacity may be used to move gas to the Cove
         Point terminal for export, the projects are “unrelated” for purposes of NEPA) (citation
         omitted); see City of W. Chicago, Ill. v. U.S. Nuclear Regul. Comm’n, 701 F.2d 632, 650
         (7th Cir. 1983) (“‘Piecemealing’ or ‘segmentation’ allows an agency to avoid the NEPA
         requirement that an EIS be prepared for all major federal action with significant
         environmental impacts by segmenting an overall plan into smaller parts involving action
         with less significant environmental effects.”) (citing City of Rochester v. U.S. Postal
         Serv., 541 F.2d 967, 972 (2d Cir. 1976)); see also Columbia Gulf Transmission, LLC,
         180 FERC ¶ 61,206, at PP 21, 83 (2022); Tenn. Gas Pipeline Co., L.L.C., 180 FERC
         ¶ 61,205, at PP 30, 67 (2022).
                143
                      Authorization Order, 181 FERC ¶ 61,143 at P 82.




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        proposed before DOE, not the Commission. Therefore, because “[DOE], not the
        Commission, has [the] sole authority to license the export of any natural gas going
        through the [LNG] facilities,”144 we disagree that any of the connected action factors
        apply in this case.145

                In any event, DOE has authorized the export of the project’s full production
         capacity to FTA countries such that the project’s entire production capacity may be
         statutorily deemed in the public interest.146 For this reason, the criteria for determining
         whether the Commission’s proceeding is a connected action with DOE’s pending
         proceeding for additional export authorization to non-FTA countries are not satisfied.
         Specifically, because the export of natural gas to FTA countries is statutorily deemed “to
         be consistent with the public interest, and applications for such . . . shall be granted
         without modification or delay,”147 and the full production capacity of the project is
         authorized for export to FTA countries, the project does not depend on obtaining the
         non-FTA authorization.148 Accordingly, the Commission’s authorization of the project


                144
                   Freeport, 827 F.3d at 47 (“[T]he Commission’s NEPA analysis did not have to
         address the indirect effects of the anticipated export of natural gas.”) (discussing Dep’t of
         Transp. v. Public Citizen, 541 U.S. 752); see also Alaska LNG, 67 F.4th at 1185 (stating
         that the Commission’s “lack of jurisdiction over export approvals also means it has no
         NEPA obligation stemming from the effects of export-bound gas” and that the
         Commission is “forbidden to rely on the effects of gas exports as a justification for
         denying permission to an LNG project”) (cleaned up); Columbia Gulf Transmission,
         LLC, 180 FERC ¶ 61,206 at PP 21, 83; Tenn. Gas Pipeline Co., L.L.C., 180 FERC
         ¶ 61,205 at PP 30, 67.
                145
                    The Environmental Coalition’s argument that NEPA’s “rule of reason”
         compels the consideration of the Commission and DOE actions in a single EIS similarly
         fails because the Commission and DOE are not segmenting an integrated project.
         Moreover, the Commission may not expand its jurisdiction by considering the indirect
         effects of actions beyond its delegated authority. Alaska LNG, 67 F.4th at 1185.
                146
                 See Authorization Order, 181 FERC ¶ 61,143 at PP 4, 6 (citing Commonwealth
         LNG, LLC, FE Docket No. 19-134-LNG, Order No. 4521 (Apr. 17, 2020)).
                147
                   15 U.S.C. § 717b(c); see also Sierra Club v. U.S. Dep’t of Energy, 867 F.3d
         at 192-93 (distinguishing between the export of natural gas to FTA versus non-FTA
         nations for the purpose of whether an independent public interest determination is
         required by DOE, including compliance with NEPA); Freeport, 827 F.3d 36, 40-41
         (same).
                148
                   In its rehearing request, the Environmental Coalition makes the unsupported
         statement that “the terminal will not proceed without a non-FTA authorization.”



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        does not automatically trigger another action that may require an environmental impact
        statement, there is no showing that the project cannot or will not proceed unless other
        actions are taken previously or simultaneously, and the project is not an interdependent
        part of a larger action that depends on the larger action for its justification.

                Finally, the Environmental Coalition argues that Freeport was wrongly decided.149
         For the reasons detailed in the Authorization Order,150 we summarily deny the Coalition’s
         arguments.151 The Coalition acknowledges that the Commission cannot refuse to comply
         with judicial decisions with which it disagrees, but asserts that the Commission should
         advocate in this rehearing order that the D.C. Circuit clarify or overrule the decision.152
         The Commission made clear in the Authorization Order, and we reiterate on rehearing,
         that we must act in accordance with the judicial precedent.153




         Rehearing Request at 39. As the Coalition provides no evidence for this claim, and since
         the Commission has not been delegated authority to approve or disapprove the import or
         export of natural gas, see Authorization Order, 181 FERC ¶ 61,134 at P 13 (citing Alaska
         Gasline Dev. Corp., 171 FERC ¶ 61,134, at P 15 (2020)), we accord no weight to this
         assertion.
                149
                      Rehearing Request at 40-44.
                150
                   See Authorization Order, 181 FERC ¶ 61,143 at PP 77-81 (explaining that “the
         Commission need not consider the effects of upstream production or downstream
         transportation, consumption, or combustion of exported gas because the DOE’s
         ‘independent decision to allow exports . . . breaks the NEPA causal chain and absolves
         the Commission of responsibility to include [these considerations] in its NEPA
         analysis.’”).
                151
                      See Penn East Pipeline Co., LLC, 171 FERC ¶ 61,229, at PP 9-10 (2020).
                152
                      Id. at 40, 42.
                153
                   See Authorization Order, 181 FERC ¶ 61,143 at P 78 n.205 (“The
         Environmental Coalition further argues that Freeport was wrongly decided. The
         Commission is not free to ignore controlling precedent, as the comments acknowledge,
         and declines to ask the D.C. Circuit to clarify or overrule Freeport. The Environmental
         Coalition also urges the Commission to include this information on a voluntary basis to
         provide important information to the public and to cooperating agency decisionmakers.
         We decline to do so.”) (cleaned up).




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                   D.        Air Impacts and Environmental Justice

                As discussed below, the Environmental Coalition raises several arguments in
         support of its position that the final EIS failed to properly evaluate the disproportionate
         adverse air quality impacts that the Commonwealth LNG Project would have in
         environmental justice communities. As discussed below, we agree with the
         Commission’s findings in the Authorization Order, and those in the final EIS that the
         project would not cause or significantly contribute to a potential exceedance of the
         NAAQS and would not result in significant impacts on air quality in the region.

                             1.       Significance of Air Pollution Impacts

                The Environmental Coalition disputes the Commission’s conclusion that the
         Commonwealth LNG Project would have less than significant air quality impacts in
         surrounding environmental justice communities.154 The Coalition argues that the
         Commission’s duty to identify and mitigate adverse impacts under NEPA is broader than
         under the Clean Air Act’s (CAA) Prevention of Significant Deterioration (PSD)
         program.155 The Coalition contends that the PSD program is concerned only with
         whether a new source will cause or contribute to any violation of the National Ambient
         Air Quality Standards (NAAQS) and that a permit may still be issued notwithstanding a
         potential NAAQS violation if the source’s impacts are below the significant impact level.
         The Coalition states that under NEPA, however, the Commission “must evaluate all of
         the direct, indirect, and cumulative effects that project may have on environmental justice
         communities, even if the project’s air emissions do not exceed the significant impact
         level at the precise time and location of any predicted NAAQS violation.”156 The
         Coalition argues that the final EIS failed to evaluate the cumulative impact of air
         pollution from the Commonwealth LNG Project on the surrounding areas.157

               This argument fails for multiple reasons. First, the D.C. Circuit has agreed with
         the Commission’s use of NAAQS as a comparative metric in its NEPA analyses.158 In
         Sabal Trail, the court stated that “[the Commission] appropriately relied on [the U.S.

                   154
                         Rehearing Request at 46 (citing Authorization Order, 181 FERC ¶ 61,143
         at P 63).
                   155
                         Rehearing Request at 46; see also 42 U.S.C. § 7475.
                   156
                         Rehearing Request at 47.
                   157
                         Id. at 48.
                   158
                         See Sierra Club v. FERC, 867 F.3d 1357, 1370 n.7 (D.C. Cir. 2017) (Sabal
         Trail).




                                                                                               JA118
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        Environmental Protection Agency’s (EPA)] [NAAQS] as a standard of comparison for
        air-quality impacts,” and “[b]y presenting the project’s expected emissions levels and the
        NAAQS standards side-by-side, the EIS enabled decisionmakers and the public to
        meaningfully evaluate the project’s air-pollution effects by reference to a generally
        accepted standard.”159 The Commission’s comparison to the NAAQS, a
        generally-accepted standard established by EPA, for its analysis is entitled to
        deference.160 By contrast, the Coalition fails to cite any authority for its assertion that
        NEPA’s requirements cannot be satisfied by considering whether the projected emissions
        are in compliance with the NAAQS.

                Second, the final EIS’s cumulative dispersion modeling analysis included
         stationary source emissions from existing regional sources of air pollution permitted by
         the Louisiana Department of Environmental Quality’s (Louisiana DEQ) within
         50 kilometers of Commonwealth LNG.161 This analysis included Commonwealth’s LNG
         Terminal stationary sources, consistent with PSD requirements for Louisiana DEQ
         permitting under the Clean Air Act, but also included the air quality impact of mobile
         sources such as LNG carriers and tug boats, going beyond PSD requirements.162 Based
         on the cumulative air pollutant dispersion modeling results, the EIS concludes that the
         project would not cause or contribute to an exceedance of the NAAQS, which are
         established to be protective of human health, and would not result in significant impacts
         on local or regional air quality.163

                Moreover, we disagree with the Coalition’s assertion that the Commission failed
         to evaluate alternatives that could avoid or minimize the project’s impacts.164 In the final
         EIS, Commission staff evaluated eight alternative sites in addition to the proposed project
         location, all of which were screened to evaluate the feasibility and potential
         environmental advantage of each site.165 Alternatives 1-3 were deemed infeasible and

                159
                      Id.
                160
                    See id. (citing Cmtys. Against Runway Expansion, Inc. v. FAA, 355 F.3d 678,
         689 (D.C. Cir. 2004) (“The FAA’s choice among reasonable analytical methodologies is
         entitled to deference from this court.”)).
                161
                      Final EIS at 4-228 through 4-232.
                162
                      Id.
                163
                      Id.
                164
                      Rehearing Request at 46.
                165
                      Final EIS at 3-40.




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        thus not carried forward for additional consideration.166 Commission staff determined
        that none of alternatives 4-8 would provide a significant environmental advantage to the
        proposed project location due, in part, to increased air emissions and impacts on
        environmental justice communities.167 With respect to mitigation, the final EIS discussed
        a range of measures that Commonwealth would implement, including leak detection in
        compliance with all applicable legal requirements (e.g., the U.S. Department of
        Transportation’s Pipeline and Hazardous Materials Safety Administration’s codes and
        advisories and LDEQ air quality regulations).168 Commonwealth is also continuing to
        assess additional measures to reduce fugitive emissions of methane and other volatile
        organic compounds that would be determined during final design of the terminal.169

                 The Environmental Coalition next argues that even if the air pollution impacts
         resulting from the project do not exceed the significant impact level at the time and
         location of a NAAQS exceedance, that does not mean the direct and cumulative effects
         on human health will be insignificant.170 Because the Environmental Coalition did not
         raise these arguments about significant impact levels prior to its rehearing request, the
         arguments are not properly before us and we reject them.171 In any event, the EIS



                166
                      Id. at 3-40—3-41.
                167
                    Id. at 3-41—3-45 (in addition to various other adverse environmental impacts
         (e.g., wetlands and habitat loss, increased dredging) the following alternatives suffered
         from the following defects relative to the proposed project location—Alternative 4:
         increased air impacts related to longer vessel transit, almost 75% of the pipeline route
         would be within environmental justice communities; Alternative 5: increased air impacts
         related to longer vessel transit, pipeline crossing through an environmental justice
         community; Alternative 6: increased air impacts related to longer vessel transit, pipeline
         crossing through an environmental justice community; Alternative 7: increased air
         impacts related to longer vessel transit, pipeline crossing through an environmental
         justice community; Alternative 8: increased air impacts related to longer vessel transit).
                168
                  Final EIS at 4-222—4-223 (providing more in-depth discussion of what these
         measures entail).
                169
                      Id. at 4-223.
                170
                      Rehearing Request at 48-49.
                171
                    See, e.g., Turlock Irrigation Dist., 175 FERC ¶ 61,144, at P 14 (2021)
         (rejecting petitioners’ argument because it was presented for the first time on rehearing,
         with no explanation for the delay, and “[t]he Commission looks with disfavor on parties
         raising issues for the first time on rehearing that could have been raised earlier, in part



                                                                                              JA120
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        acknowledges that both construction and operation of the project would result in impacts
        on air quality in the vicinity of the Project. 172 The significant impact level for the
        one-hour nitrogen dioxide (NO2) standard is 7.5 micrograms per cubic meter, which is
        just four percent of the NAAQS threshold (188 micrograms per cubic meter).173 The
        project’s highest contribution to any potential predicted NAAQS exceedance is less than
        1.5% of the NAAQS.174 In other words, existing industry and air pollutant emissions
        sources in the region are driving the potential predicted exceedances in the cumulative
        dispersion model. Accordingly, the Commission appropriately concluded in the
        Authorization Order that because Commonwealth’s contribution to all exceedances is
        estimated to be less than the significant impact level at all exceedance locations, the
        project would not cause or significantly contribute to a potential exceedance of the
        NAAQS and would not result in significant impacts on air quality in the region, including
        to environmental justice communities.175

                The Coalition contends that reliance on the significant impact levels for NO2
         impacts is misplaced because there is no threshold below which respiratory health effects
         do not occur.176 As previously stated, the EIS acknowledges that both construction and
         operation of the project would result in impacts on air quality in the vicinity of the
         Project.177 The Coalition relatedly argues that NO2 contributes to the formation of
         particulate matter and ozone for which EPA has found there are no zero-risk thresholds,
         and thus reliance on the significant impact levels for NO2 is inappropriate because it fails
         to consider environmental justice communities’ cumulative exposure to multiple
         pollutants.178 The fact that the Coalition disagrees with EPA’s use of significant impact
         levels and NAAQS for NO2 impacts because they do not eliminate all risk is inapposite

         because other parties are not permitted to respond to requests for rehearing”); Vill. of
         Morrisville, Vt., 174 FERC ¶ 61,141, at P 18 (2021) (same).
                172
                      Final EIS at 4-201.
                173
                      Id. at 4-227-430.
                174
                    See id. at app. H, Table H-2 (showing that the project’s highest percent
         contribution to the cumulative concentration at a potential NAAQS exceedance receptor
         location is 1.4635%).
                175
                      See Authorization Order, 181 FERC ¶ 61,143 at P 63.
                176
                      Rehearing Request at 49.
                177
                      Final EIS at 4-201.
                178
                      Id. at 49-50.




                                                                                              JA121
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        for our purposes in this order.179 EPA is the agency that is authorized to make those
        determinations and, as previously stated, the D.C. Circuit has held that the Commission
        satisfies its obligation to consider air quality impacts in the context of the effect on
        environmental justice communities when it considers emissions in the context of the
        NAAQS.180 The final EIS details the source contribution analysis undertaken to
        determine whether the project would contribute significantly to a NAAQS exceedance.181
        It found that the exceedances would still be predicted in the absence of the project, that
        the project would have only a minor impact and, therefore, that the project would not
        cause or contribute to the NAAQS exceedance.182 We concur with this analysis and
        disagree with the Coalition’s attempt to impose a more rigorous requirement on the
        Commission than is required by law.

                 The Coalition represents that “courts have rejected use of [significant impact
         levels] as a blanket exemption from the requirement to fully evaluate and mitigate
         harmful air pollution impacts.”183 As a threshold matter, the discussion above, in the
         Authorization Order, and in the final EIS demonstrates that the Commission is not using
         significant impact levels (or anything else) as an exemption from conducting any required
         analysis. Moreover, three of the five cases cited in support—United States v. Clintwood
         Elkhorn Mining Co.,184 Consumer Electronics Ass’n v. FCC,185 and Public Citizen v.
         Young186—do not even arise under the Clean Air Act. The remaining two, Massachusetts




               179
                     Rehearing Request at 49.
               180
                     See supra P 48 & note 158.
               181
                     Final EIS at 4-231.
               182
                     Id.
               183
                     Rehearing Request at 51.
               184
                   553 U.S. 1 (2008) (interpreting the Internal Revenue Code in the context of a
         taxpayer seeking a refund for a tax assessed in violation of the Export Clause of the
         U.S. Constitution).
               185
                347 F.3d 291 (D.C. Cir. 2003) (challenge to action by the Federal
         Communications Commission under the All Channel Receiver Act).
               186
                  831 F.2d 1108 (D.C. Cir. 1987) (challenge to action by the U.S. Food and Drug
         Administration under the Food, Drug, and Cosmetic Act).




                                                                                           JA122
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        v. EPA187 and Alabama Power Co. v. Costle,188 although arising under the Clean Air Act,
        are cited for propositions that have nothing to do with significant impact levels.

                The Coalition contends that the Commission’s determination that project
         emissions that are less than the significant impact level at all exceedance locations, would
         not cause or significantly contribute to a potential exceedance of the NAAQS is in
         violation of the D.C. Circuit Court’s ruling in Sierra Club v. EPA,189 in which the
         Coalition argues that the court vacated the EPA’s use of significant impact levels
         regulation.190 In Sierra Club, the court granted voluntary vacatur and remanded portions
         of an EPA rule that, among other things, codified a significant impact level for particulate
         matter less than 2.5 micrometers (PM2.5).191 At issue in the relevant part of Sierra Club
         were two specific significant impact level provisions that EPA acknowledged were
         promulgated in excess of its authority because they automatically exempted applicable
         sources from the requirements of the Clean Air Act without affording permitting
         authorities discretion in applying the significant impact levels.192

                The Commission’s analysis did not run afoul of the D.C. Circuit’s limited holding
         in Sierra Club. Consistent with the EPA’s position, the D.C. Circuit found that
         permitting authorities must have discretion to consider whether additional air quality
         analysis is required rather than allowing permitting authorities to automatically exempt
         sources with projected impacts below the significant impact levels.193 The Commission



                187
                      549 U.S. 497 (2007).
                188
                      636 F.2d 323 (D.C. Cir. 1979).
                189
                      705 F.3d 458 (D.C. Cir. 2013).
                190
                      Rehearing Request at 52.
                191
                      Sierra Club, 705 F.3d at 466.
                192
                      Id. at 464.
                193
                    Id. at 465; see also id. at 463-64 (“When the EPA responded to commenters in
         the final rule, it explained that notwithstanding the existence of a significant impact level,
         permitting authorities should determine when it may be appropriate to conclude that even
         a de minimis impact will cause or contribute to an air quality problem and to seek
         remedial action from the proposed new source or modification. But as the EPA
         acknowledges in its brief, ‘the regulatory text it adopted does not allow permitting
         authorities the discretion to require a cumulative impact analysis, notwithstanding that the
         source’s impact is below the significant impact level, where there is information that



                                                                                               JA123
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        does not issue Clean Air Act permits and thus any requirement for permitting agencies to
        consider whether extra analysis beyond that required in PSD permitting is warranted
        notwithstanding projected impacts being below the significant impact level is not within
        the Commission’s purview. Commonwealth is required to obtain an Air Emissions
        Permit (Title V and Prevention of Significant Deterioration) from the Louisiana
        DEQ – Air Quality Division, which is the appropriate agency to make such a
        determination.194 For the purpose of the Commission’s NEPA analysis, Commission
        staff conducted a robust air modeling analysis, including impacts from mobile sources
        such as LNG carriers and tugs, which is additional to that which is required by the
        state.195 The analysis showed that the project would not cause or significantly contribute
        to a potential exceedance of the NAAQS and would not result in significant impacts on
        air quality in the region.196 We disagree that NEPA required anything more.

                The Coalition contends that even if the significant impact levels were relevant to
         the Commission’s inquiry, EPA has acknowledged (in PM2.5 PSD guidance) that
         significant impact levels may not be appropriate where modeling shows that an area is
         already exceeding the NAAQS.197 In such cases, the Coalition argues, additional
         discretion may need to be exercised to ensure that public health is protected from
         pollution increases within the significant impact level.198 The Commission is not a
         permitting authority under the Clean Air Act and thus the cited EPA guidance is
         inapposite for guiding the Commission’s analysis under NEPA. Any air permitting
         requirements will be handled by Louisiana DEQ and Commonwealth will be required to
         comply with the permit’s terms.199




         shows the proposed source would lead to a violation of the NAAQS or increments.’”)
         (cleaned up).
               194
                   See final EIS at 1-17. On March 28, 2023 Louisiana DEQ issued
         Commonwealth both a Part 70 Operating Permit and a Prevention of Significant
         Deterioration Permit. On April 27, 2023, Sierra Club petitioned the United States Court
         of Appeals for the Fifth Circuit for review of both permits.
               195
                     See Authorization Order, 181 FERC ¶ 61,143 at P 63.
               196
                     Final EIS at 4-198.
               197
                     Rehearing Request at 52.
               198
                     Id. at 52-53.
               199
                     See Authorization Order, 181 FERC ¶ 61,143 at app. A, envtl. condition 11.




                                                                                            JA124
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                 The Coalition relatedly argues that any increase in NO2 in environmental
         communities in and around Lake Charles where violations of the NAAQS are already
         violating or are projected to occur will make those violation harder to cure.200 We note
         that the project area is currently in attainment with the NAAQS.201 We also emphasize
         that the dispersion modeling analysis is designed to be conservative and to over-state
         pollutant impacts from the Project and LDEQ emission inventory sources. We agree with
         the Commission’s findings in the Authorization Order, and those in the final EIS that the
         project would not cause or significantly contribute to a potential exceedance of the
         NAAQS and would not result in significant impacts on air quality in the region. As
         Commonwealth’s authorization is conditioned upon its compliance with all air permitting
         requirements, nothing further is required by the Commission.

                         2.       Environmental Justice

                The Environmental Coalition argues that the Commission should have provided
         additional analysis of health impacts to which environmental justice communities could
         be subjected in light of the Commonwealth LNG Project.202 In support, the Coalition
         notes that the Commission acknowledged in the final EIS that NAAQS attainment alone
         may not alleviate all risk to environmental justice communities.203 The Authorization
         Order concludes, and we continue to agree, that overall, the construction and operational
         emissions from the proposed project would not have significant adverse air quality
         impacts in the project area, including minority or low-income populations.204

               200
                     Id. at 53.
               201
                    See final EIS at 4-204. (“Cameron Parish, where the facility would operate and
         the transits occur, meets or exceeds the NAAQS for all criteria pollutants and is in
         attainment.”).
               202
                     Rehearing Request at 56.
               203
                   Id. at 57 (citing final EIS at 4-198 (“Although the Project would be in
         compliance with the NAAQS and the NAAQS are designated to protect sensitive
         populations, we acknowledge that NAAQS attainment alone may not assure there is no
         localized harm to such populations due to project emissions of volatile organic
         compounds (VOC), hazardous air pollutants (HAP), as well as issues such as the
         presence of non-Project related pollution sources, local health risk factors, disease
         prevalence, and access (or lack thereof) to adequate care.”)).
               204
                   See Authorization Order, 181 FERC ¶ 61,143 at P 63 (“Environmental justice
         communities in the study area would experience cumulative impacts on air quality;
         however, these impacts would be less than significant.”); see also id. P 71 (“With respect
         to whether impacts on environmental justice communities would be disproportionately
         high and adverse, we clarify that only cumulative impacts to visual resources would be



                                                                                            JA125
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        Accordingly, we reject the Coalition’s argument that the Authorization Order and final
        EIS should have provided additional analysis of health impacts.

                The Environmental Coalition next argues that the project is contrary to the public
         interest because the significant visual impacts on an environmental justice community
         and overall cumulative impacts in the project area would result in disproportionately high
         and adverse impacts on environmental justice communities.205 The Coalition also takes
         issue with the thoroughness of the Commission’s environmental justice analysis.206

                We disagree. In the final EIS, Commission staff thoroughly considered the visual
         impacts of the proposed project on environmental justice communities, ultimately
         concluding that the visual impacts of the project would have a permanent and significant
         adverse effect on those environmental justice communities near the project.207 The
         Commission subsequently adopted this conclusion in the Authorization Order.208 In
         doing so, the Commission satisfied its requirements under NEPA.209


         predominately borne by environmental justice communities and thus disproportionately
         high and adverse. All other direct and cumulative impacts would not be
         disproportionately high and adverse.”).
               205
                     Rehearing Request at 58 (citing final EIS at 5-415).
               206
                     Id. at 59.
               207
                   See final EIS at 4-195 (“While the direct visual changes would be outside the
        boundaries of the identified environmental justice communities, the permanent changes
        in the viewshed, would have a permanent and significant adverse effect on those
        environmental justice communities near the Project.”); see also Authorization Order,
        181 FERC ¶ 61,143 at P 67 (“[D]aytime and nighttime visual renderings of the
        Commonwealth LNG terminal indicate that the facility and associated project lighting
        will be visible from environmental justice communities and up to distances of 10 miles
        from the terminal.”) (citing final EIS at app. E, fig. E-3, E-7, & E-8). For the full
        discussion of visual impacts, see final EIS § 4.8.4.
               208
                   See Authorization Order, 181 FERC ¶ 61,143 at P 67 (“The final EIS concludes
         that while the direct visual changes would be outside the boundaries of the identified
         environmental justice communities, the permanent changes in the viewshed would have a
         permanent and significant adverse effect on those environmental justice communities
         near the project.”).
               209
                   See Methow Valley, 490 U.S. at 350 (“[I]t is now well settled that NEPA itself
         does not mandate particular results, but simply prescribes the necessary process. If the
         adverse environmental effects of the proposed action are adequately identified and



                                                                                           JA126
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                 We similarly disagree that the fact that the project’s impacts on visual resources
         would have a permanent and significant adverse effect on environmental justice
         communities necessarily means that the project is inconsistent with the public interest
         under section 3 of the NGA. As discussed above and in the Authorization Order, NGA
         section 3 sets out a general presumption favoring authorization, the rebuttal of which
         requires an affirmative showing of inconsistency with the public interest.210
         Commonwealth’s authorization is also conditioned upon its implementation of mitigation
         measures described in the Commonwealth Facility Lighting Plan, which would reduce
         visual impacts from facility lighting, as well as the requirement to augment the native
         vegetation by planting native trees approximately 30 feet inside Commonwealth’s
         exclusion fence for approximately 150 feet on the upland chenier area (i.e., their typical
         landscape position).211 Accordingly, we continue to find that Commonwealth’s proposal
         is not inconsistent with the public interest, notwithstanding the visual impacts on
         surrounding communities, including environmental justice communities.

                E.       Species

                         1.     Bottlenose Dolphins

                In the final EIS, Commission staff concluded that construction and operation of
         the project would result in temporary impacts on aquatic organisms, and that the
         operation of the project would result in minimal long-term impacts on aquatic organisms,
         including bottlenose dolphins.212 The Environmental Coalition argues that the

         evaluated, the agency is not constrained by NEPA from deciding that other values
         outweigh the environmental costs.”) (citations omitted); see also Latin Americans for
         Soc. & Econ. Dev. v. Admin. of the Fed. Highway Admin., 756 F.3d 447, 477
         (6th Cir. 2014) (“Just as [an agency] is not required to select an alternative with the least
         environmental impact under NEPA, [an agency] is not required to select an alternative
         with the least environmental justice impact. NEPA requires only that [an agency]
         consider the environmental impacts of its projects in making its decisions . . . .
         Environmental impacts and environmental justice issues are a consideration in agency
         decision making, but are not controlling.”).
                210
                   See supra P 9; Authorization Order, 181 FERC ¶ 61,143 at P 14. In addition,
         NGA section 3(c) provides that the exportation of gas to FTA nations “shall be deemed to
         be consistent with the public interest,” 15 U.S.C. § 717b(c), and Commonwealth has
         received authorization to export to FTA nations. See Authorization Order, 181 FERC
         ¶ 61,143 at P 6.
                211
                      Authorization Order, 181 FERC ¶ 61,143 at P 72, envtl. condition 1.
                212
                      Final EIS at 4-124.




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        Commission deprived the public of a meaningful opportunity to comment on the impacts
        to bottlenose dolphins by underestimating the radius area subject to disturbance at levels
        causing Level B harassment213 under the Marine Mammal Protection Act (MMPA) and
        potential behavioral blockages.214 With respect to impact pile-driving, the Coalition
        notes that the draft EIS estimated the radius of the ensonified area (the area where sound
        would travel) would range from 10 feet to 112 feet, but that the final EIS provided that
        the radius of the ensonified area would be from 961 feet to 3,821 feet.215 The Coalition
        argues that the revised numbers mean that impact driving of the 54 and 96-inch diameter
        piles will ensonify the entire width of the shipping channel to sound levels causing
        Level B harassment and behavioral effects.216 The Coalition states that the information in
        the draft EIS disguised the magnitude of the impacts to the bottlenose dolphins and
        deprived the public of a meaningful opportunity to comment on the Commission’s
        conclusion regarding the significance of the impacts to the dolphins.217

                 We disagree that the information published in the draft EIS deprived the public of
         a meaningful opportunity to comment. To the contrary, as the Environmental Coalition
         states in its rehearing request, Commission staff updated the radial estimates of the
         ensonified area from impact pile-driving in the final EIS in response to comments from
         members of the Coalition.218 This is not evidence of a failure in the analysis, but rather
         Commission staff responded to a comment by members of the Coalition regarding the
         sufficiency of the analysis in the draft EIS and updated its analysis accordingly.219

                With respect to vibratory pile-driving, the Coalition asserts that the Commission
         both failed to provide information to estimate the area that would be ensonified to sound

                213
                    See 50 C.F.R. § 216.3 (2021) (“Level B Harassment means any act of pursuit,
         torment, or annoyance which has the potential to disturb a marine mammal or marine
         mammal stock in the wild by causing disruption of behavioral patterns, including, but not
         limited to, migration, breathing, nursing, breeding, feeding, or sheltering but which does
         not have the potential to injure a marine mammal or marine mammal stock in the wild.”).
                214
                      Rehearing Request at 60.
                215
                      Id. at 60-61.
                216
                      Id. at 61-62.
                217
                      Id. at 62.
                218
                      See Rehearing Request at 60.
                219
                   Final EIS at 4-125; see final EIS vol. II at 124 (“Section 4.6.2 has been updated
         using the most recent NMFS Pile Driving Calculator tool.”).




                                                                                            JA128
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        levels constituting Level B harassment or behavioral impacts and an explanation as to
        why it could not provide such an estimate.220 The final EIS stated that it focused its
        discussion on the effects of impact pile driving because vibratory pile driving would
        produce lower levels (and smaller areas) of effects relative to an impact hammer.221 This
        is further evidenced by the final EIS’ recognition that vibratory pile-driving (versus
        impact pile-driving) is actually a “NMFS-recognized best management practice[]” for
        “reduc[ing] the extent of estimated underwater sound pressure levels produced by
        pile-driving.”222 In other words, because “using an impact hammer would potentially
        impact aquatic species over a larger distance than using a vibratory hammer,”223 the
        ensonification radii from vibratory pile-driving would be less than and subsumed by the
        ensonification radii for impact pile-driving.224

                 The Coalition disputes the sufficiency of the Commission’s finding that
         Commonwealth will apply for an Incidental Harassment Authorization with NMFS prior
         to construction.225 The Coalition objects to the fact that the final EIS does not require
         Commonwealth to obtain an Incidental Harassment Authorization from NMFS, and
         questions whether NMFS could issue an Incidental Harassment Authorization given the
         low stock of Lake Calcasieu bottlenose dolphins without violating the small numbers
         limitation imposed by the MMPA.226 The Coalition also contends that the Commission
         needs to consider whether there is gap between the threshold NMFS applies in evaluating

                220
                      Rehearing Request at 62.
                221
                      Final EIS at 4-123.
                222
                    Id. at ES-7 (“Commonwealth would use NMFS-recommended best
         management practices during pile driving to confirm protected species are not in the
         construction area (i.e., using biological monitors), allow mobile aquatic species to depart
         from the construction area, and reduce the extent of estimated underwater sound pressure
         levels produced by pile driving (e.g., using vibratory pile drivers when possible and using
         cushion blocks and bubble curtains when impact pile drivers are necessary) and reduce
         the potential for injury or behavioral level effects on aquatic species. Therefore, we
         conclude that underwater noise impacts on aquatic resources from pile driving would be
         localized, temporary, and not significant.”).
                223
                      Id. at 4-123.
                224
                   The final EIS, therefore, contemplates the “worst case” scenario for the
         ensonification impacts of pile-driving.
                225
                      Rehearing Request at 63.
                226
                      Id. at 63-64; see also id. at 71-72.




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        whether an Incidental Harassment Authorization is required and whether it can issue the
        Incidental Harassment Authorization, and NEPA’s threshold for evaluating impacts.227

                Environmental Condition 11 in the Authorization Order requires that
         Commonwealth “file with the Secretary documentation that it has received all applicable
         authorizations required under federal law (or evidence of waiver thereof)” before
         commencing construction.228 As an Incidental Harassment Authorization is required
         under the MMPA if the requisite criteria are met, Commonwealth is required to provide
         documentation of its Incidental Harassment Authorization (or evidence that an Incidental
         Harassment Authorization is not required) before commencing construction. Since
         Commonwealth has committed to consulting with NMFS to submit an application for an
         Incidental Harassment Authorization prior to commencing construction,229 nothing
         further is required by the MMPA in the context of this order.230 As to the Coalition’s
         question of whether NMFS could authorize “take” on these facts, NMFS is the agency
         authorized to consider and make that determination and we appropriately rely on its
         expertise to do so.231 We similarly reject the Coalition’s unsupported argument that the


               227
                     Id. at 64-65.
               228
                     Authorization Order, 181 FERC ¶ 61,143 at app. A, envtl. condition 11.
               229
                     See final EIS at 4-115.
               230
                    See Columbia Gulf Transmission, LLC, 180 FERC ¶ 61,206 at P 71 (“Columbia
         Gulf will apply for and obtain an Incidental Harassment Authorization in the event that
         dolphins are observed entering the area in which the behavioral threshold will be
         exceeded during pile driving activities. In that scenario, Columbia Gulf committed to
         obtain the Incidental Harassment Authorization prior to initiating pile-driving activities
         within Barataria Bay and to file a copy of the authorization with the Commission.
         Columbia Gulf appropriately consulted with NMFS and relied on that agency’s expertise
         in selecting mitigation measures. Nothing more is required by the Marine Mammal
         Protection Act.”) (citations omitted).
               231
                    See, e.g., EMR Network v. FCC, 391 F.3d 269 (D.C. Cir. 2004) (finding that
         agency properly relied outside agency expertise); Millennium Pipeline Co., LLC,
         161 FERC ¶ 61,229, at P 134 (2017) (“In carrying out its NEPA responsibilities,
         Commission staff relies on other agencies’ expertise….”); Algonquin Gas Transmission,
         LLC, 154 FERC ¶ 61,048, at P 203 (2016) (“[T]he Commission is entitled to rely on an
         agency’s expertise. The Commission’s capability to assess different types of
         environmental impacts, while extensive, is not infinite. Accordingly, we routinely rely
         on the expertise of other agencies to evaluate the environmental or safety impacts of
         proposed projects, provided we are satisfied as to their competence and the validity of
         their basic data and analysis.”); Tenn. Gas Pipeline Co., L.L.C., 142 FERC ¶ 61,025,



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        Commission must analyze some unspecified gap between NMFS’ threshold for issuing
        an Incidental Harassment Authorization and the Commission’s NEPA analysis. As
        discussed in this section, the Commission met its NEPA obligations through its extensive
        analysis of impacts to bottlenose dolphins in the final EIS; that is separate and apart from
        any obligations NMFS must satisfy to issue an Incidental Harassment Authorization.

                 The Environmental Coalition disputes the Molnar study232 on which the final EIS
         relies for the proposition that behavioral changes in response to pile-driving can be
         transient reflexes after which the animal returns to its normal behavior, arguing that study
         is about fish rather than marine mammals.233 The Coalition cites a different study stating
         that elevated levels of cortisol can have negative effects on dolphins when combined with
         other stressors including microorganism infection, prey scarcity, and competition,234 and
         argues that repeated exposure to impulse sounds over an extended period of time could
         result in such levels.235

                 Although the Molnar Study does not specifically address the effects of pile driving
         on marine mammals, it explicitly states that “the methods specified in this manual
         regarding the estimation of underwater sound pressure may potentially be used to assess
         the effects of pile driving sound on marine mammals.”236 The Coalition does not address
         this statement in its rehearing request, nor does it provide any explanation (other than that
         the title of study says “fish”) for its assertion that the information in the Molnar Study
         cannot apply to bottlenose dolphins. Moreover, for the dolphins’ cortisol levels to be
         elevated to levels that are potentially problematic as described in the Coalition’s

         at P 66 (2013) (“We rely on other agencies to conduct certain studies because they are the
         resource agencies with expertise and responsibilities over the particular subject
         matters.”).
                232
                   Melinda Molnar, David Buehler, Rick Oestman, James Reyeff, Keith
         Pommerenck, Bill Mitchell, Technical Guidance for Assessment of Hydroacoustic
         Effects of Pile Driving on Fish, Div. of Envtl. Analysis—Cal. Dep’t of Transp. (2020)
         (Molnar Study).
                233
                      Rehearing Request at 66.
                234
                   Id. at 67 (citing Yang W-C, et al. (2021) Anthropogenic Sound
         Exposure-Induced Stress in Captive Dolphins and Implications for Cetacean Health.
         Front. Mar. Sci. 8:606736.doi: 10.3389/fmars.2021.606736 at 1, 5 (May 2021),
         https://www.frontiersin.org/articles/10.3389/fmars.2021.606736/full.) (Yang Study).
                235
                      Rehearing Request at 68.
                236
                      Molnar Study at 1-5.




                                                                                              JA131
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        submitted Yang Study,237 the dolphins would presumably need to remain in the
        ensonified area for extended periods of time for most or all of the pile driving process. In
        the final EIS, Commission staff found, and we agree, that marine mammals naturally tend
        to avoid in-water construction activities and would be able to leave the construction area,
        at minimum, during lulls in the pile driving238—decreasing the time periods for exposure
        that could lead to elevated cortisol levels.

                 The Coalition also disputes the sufficiency of the information in table 4.6.2-4 of
         the final EIS regarding the amount of time each day that impact pile-driving would occur,
         arguing that it shows only the total number of strikes per day, but not how much time the
         strikes will take.239 As the Environmental Coalition failed to raise this argument in its
         comments on the draft EIS despite information being available,240 it is not properly
         before us on rehearing. In any event, the final EIS concluded that “given the mitigation
         measures that Commonwealth would implement (e.g., soft starts, bubble curtains, and
         vibratory hammer) and the mobility of each of the species types, we conclude injury
         would be unlikely and behavioral disturbances would not be significant.”241 Moreover,
         the Commission recognized in the final EIS that Commonwealth anticipates pile driving
         activities to require up to 37 days to complete.242 Finally, as previously stated,
         Commonwealth will be required to provide the Commission with evidence of an
         Incidental Harassment Authorization (if required) in which NMFS would determine the
         extent of any take that may be authorized.

               We also reject the Environmental Coalition’s argument that the final EIS fails to
         examine the impacts on dolphins from being behaviorally blocked from passage into or


               237
                    Yang Study at 6 (“However, if cortisol levels persist elevated for extended
         period of time (exposure to high or cumulative noise levels for days to months), the high
         hormone levels can have negative effects on immune response, growth, and reproduction
         (Fair and Becker, 2000), causing the animal to potentially become more vulnerable when
         other stressors are present, such as microorganism infection, prey scarcity and
         competition.”) (emphasis added).
               238
                     Final EIS at 4-123—4-124.
               239
                     Rehearing Request at 68-69.
               240
                  See draft EIS at 4-109 (including Table 4.6.2-4 with the same data as was
         reproduced in the final EIS).
               241
                     Final EIS at 4-124.
               242
                     Id. at 4-368.




                                                                                            JA132
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        out of the Gulf of Mexico for hours within a given day over a period of multiple days.243
        To the contrary, the final EIS explicitly found that marine mammals would have to
        remain within approximately 200 feet of the pile driving location throughout a 12-hour
        period to suffer injury, but that injury would be “extremely unlikely to occur” given the
        species’ mobility and natural tendency to avoid in-water construction activities, and
        Commonwealth’s plan to use the soft-start technique when initiating pile driving.244 The
        final EIS also found that behavioral effects could exist within approximately 0.6 miles of
        the pile driving location, but that behavioral impacts would not be significant in light of
        the aforementioned mitigation measures that Commonwealth will implement.245 These
        data also contradict the Coalition’s unfounded argument that the final EIS does not
        examine what the length of the ensonified area would be to allow for an evaluation of the
        distance a dolphin may traverse during an ensonified period.246

                 The Environmental Coalition asserts that the final EIS fails to properly consider
         the cumulative effects of pile-driving at the proposed CP2 LNG facility located in
         Cameron Parish, Louisiana, which it argues could occur at the same time as pile-driving
         for the Commonwealth LNG Project.247 The Coalition relatedly argues that the final EIS
         did not respond to its comment that the size of the ensonified area for the proposed CP2
         LNG facility may be underestimated.248

                The final EIS extensively discusses the potential cumulative impacts of pile
         driving at the proposed CP2 LNG facility when combined with those of the
         Commonwealth LNG Project. We note that it is highly speculative whether the
         two projects would even have pile driving activities occurring at the same time.
         Commonwealth anticipates pile driving for the project to take only 37 days to
         complete,249 which means there would be only a small window of time where there would
         even be the potential for any overlap with pile driving for the proposed CP2 LNG facility.
         Even if there were cumulative impacts, the final EIS found, after extensive discussion of
         the potential combined impacts, that the mitigation measures to be adopted at both

               243
                     Rehearing Request at 68-69.
               244
                     Final EIS at 4-123.
               245
                     Id.
               246
                     Rehearing Request at 69.
               247
                     Id. at 70.
               248
                     Id.
               249
                     Final EIS at 4-368.




                                                                                           JA133
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        projects would result in “impacts on aquatic species . . . [being] limited in geographic
        scope and readily avoidable by most species.”250 We agree with Commission staff’s
        conclusion in the final EIS. Finally, the Coalition’s argument with respect to the
        potential underestimation of the area disturbed by pile driving for the proposed CP2 LNG
        facility is unavailing, because it does not explain how this impacts the adequacy our
        analysis of the Commonwealth project. If the Coalition has concerns with the adequacy
        of the Commission’s review for the CP2 LNG facility, it should raise its concern in that
        docket.251

                            2.   Eastern Black Rail

                The Environmental Coalition argues on rehearing that FWS’ biological opinion
         regarding potential impacts of the Commonwealth LNG Project on threatened eastern
         black rails is legally insufficient and that the Commission improperly relied on the flawed
         Biological Opinion in violation of the Endangered Species Act (ESA), NEPA and the
         Administrative Procedure Act (APA).252 In the Authorization Order, the Commission
         explained that FWS found that the project would likely adversely affect, but is not likely
         to jeopardize the continued existence of the eastern black rail.253

                                     a.     Lawfulness of the Biological Opinion

                On rehearing, the Environmental Coalition asserts that FWS’ biological opinion
         regarding potential impacts of the Commonwealth LNG Project on threatened eastern
         black rails fails to satisfy ESA requirements. Specifically, the Coalition argues the
         biological opinion: (1) fails to analyze the entire agency action; (2) fails to properly
         define the action area of the proposed project; (3) fails to include an accurate
         environmental baseline; (4) fails to adequately analyze the project’s direct, indirect, and
         cumulative effects; (5) relies on speculative mitigation measures; and (6) fails to
         adequately explain why the take of at least 30 individual rails will not jeopardize the
         continued existence of the species.254

               As the Commission explained in the Authorization Order, “[i]n reviewing whether
         the Commission may appropriately rely on the Biological Opinion, the relevant inquiry is

                250
                      Id.
                251
                      See CP22-21-000; CP22-22-000.
                252
                      Rehearing Request at 6, 73-108.
                253
                      Authorization Order, 181 FERC ¶ 61,143 at P 36.
                254
                      Rehearing Request at 77.




                                                                                              JA134
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        not whether the document is flawed, but rather whether the Commission’s reliance was
        arbitrary and capricious.”255 This reflects the judiciary’s recognition that Congress
        intended the action agency to defer to the determinations of the consultant agency based
        on Congress’ awareness that the latter is “far more knowledgeable than other federal
        agencies about the precise conditions that pose a threat to listed species, and that those
        expert agencies are in the best position to make discretionary factual determinations
        about whether a proposed agency action will create a problem for a listed species and
        what measures might be appropriate to protect the species.”256 Accordingly, while it is
        true that the action agency bears the ultimate responsibility for ensuring compliance with
        the ESA, the expertise of the consultant agency would be “seriously undermined” if the
        law required the action agency to undertake an independent analysis of the issues
        addressed in a biological opinion.257

                The relevant inquiry for determining whether an action agency’s reliance on a
         biological opinion is arbitrary and capricious is not whether the conclusions in the
         biological opinion are based on faulty analyses, but whether the challenging party can
         point to “new” information that the consultant agency did not take into account when
         rendering its conclusions.258 Therefore, our analysis on rehearing is limited to whether




                255
                    Authorization Order, 181 FERC ¶ 61,143 at P 38; see also City of Tacoma, WA
         v. FERC, 460 F.3d 53, 75 (2006) (“Accordingly, when we are reviewing the decision of
         an action agency to rely on a Biological Opinion, the focus of our review is quite
         different than when we are reviewing a Biological Opinion directly. In the former case,
         the critical question is whether the action agency’s reliance was arbitrary and capricious,
         not whether the Biological Opinion itself is somehow flawed.”).
                256
                      City of Tacoma, 460 F.3d at 75 (citing Bennett v. Spear, 520 U.S. 154, 170
         (1997)).
                257
                      Id. at 75-76.
                258
                    See Shafer & Freeman Lakes Envtl. Conservation Corp. v. FERC, 992 F.3d
         1071, 1093 (D.C. Cir. 2021) (“‘[T]he critical question is whether the action agency’s
         reliance was arbitrary and capricious, not whether the [Biological Opinion] itself is
         somehow flawed.’…The Commission ‘satisf[ies] its obligations under the [ESA] if a
         challenging party can point to no ‘new’ information—i.e., information the [Service] did
         not take into account—which challenges the [Biological Opinion's] conclusions.’”)
         (quoting City of Tacoma, 460 F.3d at 75-76); Pyramid Lake Paiute Tribe of Indians v.
         U.S. Dep’t of the Navy, 898 F.2d 1410, 1415 (9th Cir. 1990) (“[E]ven when the
         [consultant agency’s] opinion is based on ‘admittedly weak’ information, another
         agency’s reliance on that opinion will satisfy its obligations under the [ESA] if a



                                                                                             JA135
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        the Environmental Coalition has identified any new information that FWS did not
        consider in rendering the Biological Opinion. As discussed below, we continue to find,
        as we did in the Authorization Order,259 that the Coalition has not identified any such
        information.

                 The Environmental Coalition first argues that FWS did not analyze the entire
         agency action because the Biological Opinion only considered the construction of the
         terminal and the associated pipelines rather than also considering the operation of the
         facility.260 We disagree. The Biological Opinion defines “the Action” as “the
         Commonwealth LNG Project” whose purpose is to “site, construct, and operate a natural
         gas liquefaction and export terminal and an integrated NGA Section 3 gas pipeline.”261
         The Biological Opinion explicitly states that “[g]eneral operations of the Commonwealth
         LNG [Project] are not anticipated to cause further harm to [eastern black rails] . . .after
         construction concludes.”262

                The Environmental Coalition next asserts that the Biological Opinion does not
         properly define the “Action Area” of the proposed action, based on the purported
         exclusion of adjacent property west of the terminal.263 The Biological Opinion
         recognized that “the action area is defined as all areas to be affected directly or indirectly
         by the Federal action and not merely the immediate area involved in the action.”264 It
         included a 393-acre parcel of land west of the Calcasieu Ship Channel (of which only
         118.8 acres will be used for construction of the terminal), the portion of land running
         north-northwest of the terminal site that is designated for the proposed 3.0-mile-long
         natural gas pipeline and associated infrastructure, and the waters within the Calcasieu
         Ship Channel where dredging is planned for construction of the proposed marine

        challenging party can point to no ‘new’ information—i.e., information the [consultant
        agency] did not take into account—which challenges the opinion’s conclusions.”).
                259
                   See Authorization Order, 181 FERC ¶ 61,143 at P 38 (“Here, the alleged
         defects that the Environmental Coalition identifies do not rise to the level of new
         information that would cause the Commission to call into question the factual
         conclusions of FWS’s Biological Opinion.”).
                260
                      Rehearing Request at 77.
                261
                      Biological Opinion at iii (emphasis added).
                262
                      Id. at 19.
                263
                      Rehearing Request at 81.
                264
                      Biological Opinion at 5 (citing 50 C.F.R. § 402.02 (2022)).




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        facility.265 FWS did not restrict its analysis to the 118.8 acre terminal site and we decline
        to second-guess FWS’ judgment in determining the appropriate scope for analyzing
        potential indirect effects on the eastern black rail.

                 The Environmental Coalition argues that the Biological Opinion is based on an
         inaccurate environmental baseline, which refers to the condition of the eastern black rail
         in the action area without the consequences caused by the proposed action, based on the
         best available data.266 By the Coalition’s own admission, this argument is largely
         predicated on the fact that it believes FWS arbitrarily narrowed the scope of the action
         area to only include the immediate project site.267 This argument is without merit, as we
         have already recognized that FWS considered the appropriate scope of the action area.

                The Environmental Coalition next argues that the lack of a properly defined
         “agency action,” “action area,” and “environmental baseline” resulted in a deficient
         analysis of the direct, indirect, and cumulative effects on listed species.268 However, the
         Biological Opinion provides extensive discussion on the effects of the project on the
         eastern black rail.269 With respect to cumulative effects, the Biological Opinion also
         expressly states that “the [Commission] did not describe, and [FWS] is not aware of, any
         future non-Federal activities that are reasonably certain to occur within the action area.
         Therefore, we anticipate no cumulative effects that we must consider in formulating our
         opinion for the Action.”270 The Coalition’s attempt to bootstrap “44 past, present, and
         reasonably foreseeable projects”271 from the final EIS’ cumulative effects analysis is
         inapposite because the cumulative effects analysis in the final EIS is broader than the

                265
                      Id. at 5-8.
                266
                      Rehearing Request at 84.
                267
                    Id. at 85-86 (“There is absolutely no discussion of the past and present impacts
         of all Federal, State, or private actions and other nearby activities, the anticipated impacts
         of the Project that have already undergone consultation, and the impact of non-Federal
         actions which are contemporaneous with the consultation in process . . . This is largely
         attributed to the fact that FWS has arbitrarily narrowed the scope of the action area to
         only include the immediate Project site, thus precluding any discussion of neighboring
         projects and their associated impacts.”).
                268
                      Id. at 87.
                269
                      See Biological Opinion at 17-20.
                270
                      Id. at 9.
                271
                      Rehearing Request at 88 (citing final EIS at 4-346–4-347).




                                                                                               JA137
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        cumulative effects analysis in the Biological Opinion.272 The latter is concerned only
        with the cumulative effects on the eastern black rail in the action area, as defined in the
        Biological Opinion, whereas the scope of the cumulative effects analysis for the eastern
        black rail in the final EIS extends to the hydrologic unit code (HUC)-12 subwatershed.273
        The referenced 44 projects were considered as part of Commission staff’s HUC-12
        subwatershed cumulative effects analysis.274

                The Environmental Coalition argues that the Biological Opinion violates the ESA
         by relying on speculative mitigation measures to support its finding that the project will
         not jeopardize the continued existence of the eastern black rail.275 The Coalition does not
         offer any new information allegedly not considered by FWS, but rather disagrees with
         FWS’ substantive conclusions.

                 The Environmental Coalition argues that the Biological Opinion fails to
         adequately explain why the take of 30 eastern black rails will not jeopardize the
         continued existence of the species. Again, the Coalition does not raise any new
         information not considered by FWS,276 but rather disputes the sufficiency of FWS’
         conclusion. Absent new information, we decline to depart from FWS’ conclusions when
         it is well recognized that FWS is “in the best position to make discretionary factual




                272
                   See Fund for Animals v. Hall, 448 F.Supp.2d 127, at 136 (D.D.C. 2006)
         (providing the different definitions of “cumulative effects” under the two statutes after
         concluding that “the ESA Section 7 consultation process does not define cumulative
         impacts in the same way that NEPA does”).
                273
                    Final EIS at 4-344 (defining a HUC-12 sub-watershed as a “detailed hydrologic
         unit that can accept surface water directly from upstream drainage areas, and indirectly
         from associated surface areas such as remnant, noncontributing, and diversions to form a
         drainage area with single or multiple outlet points.”)
                274
                  Id.; see also id. at 4-377 (recognizing that other LNG projects in the HUC-12
         subwatershed could also affect the eastern black rail).
                275
                      Rehearing Request at 90.
                276
                   See Biological Opinion at 22 (“Our analysis indicates that while the Action
         would have a negative effect on 30 [eastern black rails], such effects to a small portion of
         the Louisiana population would not be appreciable for the survival and recovery of the
         [eastern black rail].”).




                                                                                             JA138
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        determinations about whether a proposed agency action will create a problem for a listed
        species and what measures might be appropriate to protect the species.”277

                 The foregoing demonstrates that the Biological Opinion considered each of the
         grounds raised by the Environmental Coalition and the Commission is, therefore, entitled
         to rely on FWS’ Biological Opinion. Whether the Coalition disputes FWS’ conclusion
         on any or all of these grounds is, according to Pyramid Lake and City of Tacoma, outside
         the scope of the Commission’s inquiry.

                                       b.     Eastern Black Rail NEPA Analysis

                The Environmental Coalition also incorrectly claims that the final EIS is deficient
         under NEPA for its discussion of impacts to the eastern black rail. The Coalition raises a
         number of purported issues with Commission staff’s NEPA analysis of impacts to the
         eastern black rail including: (1) direct impacts to habitat; (2) indirect impacts from the
         noise and light generated from the project’s operations; and (3) various cumulative
         effects arguments.278

                These arguments are largely based on the incorrect premise that the Commission
         should not have relied on the Biological Opinion.279 As established in the previous
         subsection, the Commission may rely on FWS’ determinations in the Biological Opinion
         absent new information that would call into question such conclusions. The Coalition’s
         arguments on this score thus fail at the outset, however we briefly address each below.

                The Environmental Coalition notes the final EIS’s conclusion that the project
         would directly impact 33.6 acres of suitable eastern black rail habitat by permanently
         converting 30.8 acres of this habitat to industrial use and temporarily clearing 2.8 acres of
         habitat to construct the proposed exclusion buffer enclosure,280 and takes issue with the
         approach set forth in the final EIS that would have Commonwealth clear the habitat
         during the winter months when the fewest, least vulnerable individuals would be present,
         and otherwise attempt to “herd” eastern black rail individuals from the project area before


                277
                      City of Tacoma, 460 F.3d at 75.
                278
                      See generally Rehearing Request at 98-108.
                279
                    Rehearing Request at 99 (“FERC has failed to engage in the requisite ‘hard
         look’ analysis and has instead, relied principally on an inadequate Biological Opinion to
         largely sidestep its obligations to rigorously examine the project’s significant impacts to
         the [eastern black rail].”).
                280
                      Id. (referring to final EIS at 4-156).




                                                                                              JA139
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        clearing.281 The Coalition argues that the final EIS does not discuss whether this
        approach, or the approach of flagging nests and relocating eggs, would be feasible or
        effective.282 These methods are set forth as Reasonable and Prudent Measure 4 in the
        Biological Opinion and incorporated into the final EIS.283 FWS is in the best position to
        determine whether a proposed agency action will create a problem for a listed species and
        what measures might be appropriate to protect the species, and the Commission may rely
        on its conclusions.284

                 The Environmental Coalition also alleges that the Commission’s analysis of
         indirect impacts in the final EIS is insufficient because it does not “discuss how noise and
         light generated resulting from the plant’s operations will specifically impact eastern black
         rails that remain on site and in the buffer area.”285 The Biological Opinion concludes that
         individual activities from the project that cause direct or indirect effects—including noise
         impacts and artificial lighting286—could result in harm to a maximum of 30 eastern black
         rails using the action area and authorizes the take of 30 eastern black rails. Based on this
         conclusion, FWS found that the project is not likely to jeopardize the continued existence
         of the eastern black rail.287 In other words, even if the project resulted in the maximum


                281
                      See final EIS at 4-156.
                282
                      Rehearing Request at 99-100.
                283
                   See final EIS at 4-377 (“The FWS further provided the maximum number of
         individual eastern black rails the Project could take; reasonable and prudent measures for
         Commonwealth to follow to minimize take on eastern black rails; and monitoring and
         reporting requirements for Commonwealth to implement to monitor the impacts of
         incidental take of eastern black rails. Given the determination of the FWS and associated
         guidance, and that the other projects in the geographic scope would be required to follow
         the ESA Section 7 consultation process (and applicants would be required to follow the
         terms and conditions of any biological opinion), we conclude cumulative impacts on
         eastern black rails would not be significant.”).
                284
                   City of Tacoma, 460 F.3d at 75; see also Annova LNG Common Infrastructure,
         LLC, 170 FERC ¶ 61,140, at P 55 (2020) (“Because FWS is charged with implementing
         the ESA, it is the recognized expert regarding matters of listed species and their habitats,
         and the Commission may rely on its conclusions.”).
                285
                      Rehearing Request at 100.
                286
                      Biological Opinion at 21.
                287
                      Id. at 22-24.




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        projected take, it would be within bounds of what FWS determined would not likely
        jeopardize the eastern black rail’s continued existence.

                 The Coalition’s related argument that the final EIS fails to discuss secondary
         impacts to populations on adjacent properties is similarly unpersuasive. As recognized
         by the Coalition, the final EIS acknowledged that “noise related to construction and
         operation of the Project would likely result in indirect adverse effects on eastern black
         rails through potential displacement and/or behavior modification of individuals
         throughout 82.6 acres of eastern black rail habitat adjacent to the Project site.”288 This
         conclusion reflects the extensive discussion in the Biological Opinion regarding the
         impacts from noise, light, and day-to-day operations on the displacement of eastern black
         rails to adjacent habitat areas.289 We disagree that anything further is required.

               Finally, the Environmental Coalition disputes the sufficiency of the Commission’s
         cumulative effects analysis for the eastern black rail. The Coalition raises several
         arguments, none of which we find persuasive.

                 The Coalition first argues that the Commission has not identified any past, present,
         and reasonably foreseeable actions, except for the CP2 LNG facility, that may
         cumulatively affect the eastern black rail.290 We find this argument without merit. The
         final EIS explains that the other LNG projects in the HUC-12 sub-watershed could also
         affect eastern black rail habitat, but that their respective EISs did not directly address
         impacts to eastern black rails because the eastern black rail was not a listed species when
         those EISs were developed.291 The final EIS then uses public information from the CP2
         LNG project—which indicates eastern black rail habitat may be present within the
         proposed project footprint but that the habitat is degraded and previously mowed to serve
         as cattle grazing land—coupled with FWS’ determination that the project would not
         jeopardize the continued existence of the species, to draw the conclusion that cumulative
         impacts on eastern black rail would not be significant.292 We disagree with the
         Coalition’s suggestion that the Commission should have had additional discussions with




                288
                      Final EIS at 4-156.
                289
                      Biological Opinion at 18.
                290
                      Rehearing Request at 104.
                291
                      Final EIS at 4-377.
                292
                      Id.




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        FWS.293 As previously discussed, the Commission undertook full ESA section 7
        consultation with FWS, which resulted in FWS issuing the Biological Opinion
        concluding that the project would not jeopardize the continued existence of the eastern
        black rail and authorizing the take of up to 30 eastern black rails.294 As Commonwealth
        is obligated to adhere to the Incidental Take Statement issued by FWS and any new
        projects in the geographic area would need to commence separate section 7 consultation
        with FWS prior to proceeding with construction, we are satisfied that the Commission
        fully discharged its duties on this issue.

                Second, the Coalition questions the scope of the Commission’s cumulative effects
         analysis, contending that the Commission did not explain why other projects identified in
         the EIS should not also be considered as part of the cumulative effects analysis for the
         eastern black rail. The final EIS used a watershed approach to delineate the geographic
         scope of the cumulative effects analysis for the eastern black rail,295 which is fully
         consistent with Commission practice and precedent.296 Moreover, the Commission is
         afforded significant discretion to establish reasonable geographic boundaries for its
         cumulative impacts analyses.297 This argument is, therefore, without merit.


               293
                   See Rehearing Request at 105. This argument was not previously raised and is
         thus not appropriately in front of us on rehearing. See supra note 171.
               294
                     Biological Opinion at 22-24.
               295
                  Final EIS at 4-344; see also id. at 4-377 (recognizing that other LNG projects
         in the HUC-12 sub-watershed could also affect the eastern black rail).
               296
                  See, e.g., Fla. Se. Connection, LLC, 163 FERC ¶ 61,158, at P 42 (2018) (“The
        EA uses different geographic scopes for different resources, correlated to the magnitude
        of the project-related impacts to those resources: within the same construction footprint
        as the project (for soils and land use), within the three Hydrologic Unit Code 12-digit
        watersheds crossed by the project (for water resources, vegetation and wildlife, and
        protected species and habitats), overlapping with known cultural features potentially
        within the Area of Potential Effect (for cultural resources), within 0.5 mile (for an historic
        architectural structure), and within 0.25 mile of active construction or within 0.5 mile of
        horizontal directional drilling operations (for air quality).”) (emphasis added); Nat’l Fuel
        Gas Supply Corp., 162 FERC ¶ 61,239, at P 45 (2018) (“Commission staff identified
        HUC-12 watershed scale as the appropriate standard for this project with which to assess
        cumulative impacts on surface waters, wetlands, vegetation, and wildlife, as the
        watershed scale ‘provides a natural boundary and geographic proxy’ to assess impacts.”)
        (emphasis added).
               297
                    See Kleppe v. Sierra Club, 427 U.S. 390, 414 (1976) (recognizing that the
         “identification of the geographic area within which [cumulative impacts] may occur, is a



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                 The Coalition next argues the Commission did not provide information about any
         non-LNG projects that could affect eastern black rail habitat and that the Commission
         should have considered the impacts from other types of projects.298 Coalition’s premise
         is incorrect. Although one sentence of the eastern black rail cumulative effects analysis
         in the final EIS references “other LNG projects in the HUC-12 watershed,”299 later in the
         paragraph Commission staff references “other projects,” which includes more than just
         other LNG projects.300 These other projects are listed in Table 4.13-2 of the final EIS,
         which clearly shows that projects other than LNG projects were reviewed as potentially
         affecting listed species.301

                Fourth, the Coalition asserts that the Commission and FWS did not discuss how
         the effects of climate change may be exacerbated by the project and how sea level rise
         may affect eastern black rail habitat. To the extent this argument disputes the sufficiency
         of the Biological Opinion, this is not the appropriate forum to raise such an argument and
         we reiterate our previously-stated position that we are entitled to rely on a biological
         opinion issued by the expert agency charged with producing such a document.302 With
         respect to the Commission’s NEPA analysis, the final EIS provided extensive discussion
         on GHGs and climate change,303 but also recognized that, to date, “Commission staff
         have not identified a methodology to attribute discrete, quantifiable, physical effects on
         the environment resulting from the Project’s incremental contribution to GHGs. Without
         the ability to determine discrete resource impacts, Commission staff are unable to assess
         the project’s contribution to climate change through any objective analysis of physical


         task assigned to the special competency of the appropriate agencies”); Freeport, 827 F.3d
         at 49 (same).
                298
                    Rehearing Request at 105-06 (“Such projects could include residential,
         commercial, or industrial development projects, canal dredging projects, pipeline
         projects, and transportation projects.”).
                299
                      Final EIS at 4-377.
                300
                    Id. (“Because the eastern black rail is now listed as Threatened, if the other
         projects in the geographic scope were to proceed with construction, they would need to
         consult with the FWS, per Section 7 of the ESA, to assess whether the projects would
         adversely affect eastern black rails.”) (emphasis added).
                301
                      Final EIS at 4-348—4-357.
                302
                      See supra PP 75, 83.
                303
                      See generally final EIS at §§ 4.11.1, 4-394—4-399.




                                                                                             JA143
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        impact attributable to the Project.”304 Accordingly, the Commission appropriately relied
        on the Biological Opinion’s conclusion that the project would not jeopardize the
        continued existence of the species without purporting to quantify the project’s nexus to
        sea level rise and any corresponding impacts to eastern black rail habitat.305

                 Finally, the Coalition erroneously suggests that the Commission is discounting the
         significance of the project’s cumulative effects by concluding that other projects that may
         affect the eastern black rail will be subsequently analyzed in future ESA section 7
         consultations.306 Not so. The final EIS recognized that one component of the eastern
         black rail’s protection now that it is listed as a threatened species is that any other
         projects in the geographic scope that sought to undertake construction activities would
         need to consult with FWS,307 however, that is not the sole basis on which the
         Commission rested its cumulative impacts analysis. The conclusion that cumulative
         impacts on the eastern black rail would not be significant was also based on the
         Biological Opinion’s conclusion that the project would not jeopardize the continued
         existence of the species and limiting the amount of take to 30 eastern black rail.308 Since
         Commonwealth is obligated to adhere to the terms of the Biological Opinion, including
         the Incidental Take Statement, and other projects in the area would be required to comply
         with the section 7 consultation process, which would also take into account cumulative
         impacts on species, the Commission appropriately concluded that cumulative impacts
         would not be significant.




                304
                      Final EIS at 4-396.
                305
                    The final EIS does acknowledge that the project would contribute
         incrementally to future climate change impacts, final EIS at 4-387, 4-396, and discusses
         the effect of sea level rise on the project at various points throughout, see final EIS at
         app. K (listing the pages on which “sea level rise” is discussed).
                306
                      Rehearing Request at 107.
                307
                      Final EIS at 4-377.
                308
                      Id.



                                                                                             JA144
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         The Commission orders:

               In response to Sierra Club’s request for rehearing, the Authorization Order is
         hereby modified and the result sustained, as discussed in the body of this order.

         By the Commission. Commissioner Danly is concurring with a separate statement
                            attached.
                            Commissioner Clements is dissenting with a separate statement
                            attached.

         (SEAL)



                                                      Debbie-Anne A. Reese,
                                                        Deputy Secretary.




                                                                                           JA145
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Commonwealth LNG, LLC                                        Docket No. CP19-502-002


                                            (Issued June 9, 2023)

         DANLY, Commissioner, concurring:

                I agree with today’s order and write separately for two reasons.

                First, I draw to the reader’s attention my separate statement to the underlying
         Authorization Order.1 While I did not agree with the entirety of the Authorization Order,
         I agreed on the most important aspect of the order: the decision to grant Commonwealth
         LNG, LLC’s Natural Gas Act (NGA)2 authorization to site, construct, and operate a
         natural gas liquefaction and export facility, including an NGA section 3 natural gas
         pipeline, in Cameron Parish, Louisiana (Commonwealth LNG Project).3 In today’s
         order, “the result [is] sustained”4—a decision with which I also agree.

                Second, I wish to emphasize the standard under NGA section 3 which is that “[t]he
         Commission shall issue such order upon application, unless, after opportunity for
         hearing, it finds that the [proposal] will not be consistent with the public interest.”5 In
         applying this standard, “[t]he NGA ‘sets out a general presumption favoring . . .
         authorization.’”6 It therefore follows that, to overcome this presumption, such that the

                1
                 Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (2022) (Authorization Order)
         (Danly, Comm’r, concurring in the judgment).
                2
                    See 15 U.S.C. § 717b.
                3
                 Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (Danly, Comm’r, concurring in
         the judgment at P 1).
                4
                    Commonwealth LNG, LLC, 183 FERC ¶ 61,173, at Ordering Para. (2023).
                5
                    15 U.S.C. § 717b(a) (emphasis added).
                6
                 Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir. 2023)
         (quoting W. Va. Pub. Servs. Comm’n v. Dep’t of Energy, 681 F.2d 847, 856 (D.C. Cir.
         1982)); accord Sierra Club v. United States Dep’t of Energy, 867 F.3d 189, 203 (D.C.
         Cir. 2017) (Freeport) (“We have construed this as containing a ‘general presumption
         favoring . . . authorization.’”) (citation omitted).




                                                                                            JA146
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         application is denied, “there must be ‘an affirmative showing of inconsistency with the
         public interest.’”7

                 The Supreme Court has explained that the inclusion of the term “public interest”
         in our statute is not “a broad license to promote the general public welfare”—instead, it
         “take[s] meaning from the purposes of the regulatory legislation.”8 As to the “meaning”
         and “purposes” of the NGA, the Supreme Court has instructed us in unambiguous terms
         that the purpose of the NGA is “to encourage the orderly development of plentiful
         supplies of . . . natural gas at reasonable prices.”9 Moreover, NGA section 3(c) provides
         that the exportation of gas to Free Trade Agreement nations “shall be deemed to be
         consistent with the public interest.”10 The Commission’s application of the foregoing is
         consistent with the NGA. Simply put, there has been no showing that the
         Commonwealth LNG Project will “not be consistent with the public interest.”11 The
         Commission need not confect complicated rubrics or analytical frameworks to arrive at
         its determinations; such acrobatics are unnecessary.

         For these reasons, I respectfully concur.



         ________________________
         James P. Danly
         Commissioner




                7
                    Freeport, 867 F.3d at 203.
                8
                    NAACP v. Fed. Power Comm’n, 425 U.S. 662, 669 (1976) (NAACP).
                9
                  Id. at 669-70 (citations omitted); accord Myersville Citizens for a Rural Cmty. v.
         FERC, 783 F.3d 1301, 1307 (D.C. Cir. 2015) (quoting NAACP, 425 U.S. at 669-70). I
         note that the Supreme Court has also recognized the Commission has authority to
         consider “other subsidiary purposes,” such as “conservation, environmental, and antitrust
         questions.” NAACP, 425 U.S. at 670 & n.6 (citations omitted). But all subsidiary
         purposes are, necessarily, subordinate to the statute’s primary purpose.
                10
                     15 U.S.C. § 717b(c).
                11
                     Id. § 717b(a).



                                                                                            JA147
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Commonwealth LNG, LLC                                        Docket No. CP19-502-002



                                            (Issued June 9, 2023)

         CLEMENTS, Commissioner, dissenting:

                 I dissent from this Order1 for two principal reasons. First, the Order’s discussion
         of how, if at all, the Commission considered the project’s climate impacts in its public
         interest determination is incomprehensible. By speaking in code that only they can
         decipher, the majority violated the most basic requirement of the Administrative
         Procedure Act (APA) that an agency give a reasoned explanation for its decision. The
         majority also failed to respond to important arguments in the Environmental Coalition’s
         rehearing request, which is yet another violation of the APA. Second, I cannot
         countenance the majority’s refusal to seriously consider whether or how the Commission
         should assess the significance of greenhouse gas (GHG) emissions.2

                 The first reason for my dissent arises from the opaque language in paragraph 37 of
         the Order. The Environmental Coalition argues that the Commission is required to
         consider climate impacts in its public interest determination under section 3 of the NGA.3
         If the Commission had done so, one would expect it to say as much in response. But the
         Order does not say the Commission considered climate impacts in its public interest
         determination. Instead, paragraph 37 says only that “the Commission’s balancing under
         the public interest standard is consistent with the purpose of the NGA and is therefore



                1
                    Commonwealth LNG, LLC, 183 FERC ¶ 61,173 (2023) (Order).
                2
                 I have dissented from other recent orders for the same reason. See, e.g., Rio
         Grande LNG, LLC and Rio Bravo Pipeline Company, LLC, 183 FERC ¶ 61,046 (2023)
         (Clements, Comm’r, dissenting at PP 14-15); Texas LNG Brownsville LLC, 183 FERC ¶
         61,047 (2023) (Clements, Comm’r, dissenting at PP 14-15); Driftwood Pipeline LLC, 183
         FERC ¶ 61,049 (2023) (Clements, Comm’r, dissenting at PP 2-3).
                3
                 Rehearing Request at 31 (“FERC is … required by NEPA and the NGA to
         consider the direct and cumulative effects on climate change in its public interest
         analysis….”).




                                                                                             JA148
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         afforded deference.”4 In a footnote to this sentence, the Order cites the Supreme Court’s
         decision in NAACP v. Fed. Power Comm’n5, and includes a parenthetical explaining that
         the Court said “the purpose of the NGA is to ‘encourage the orderly development of
         plentiful supplies of . . . natural gas at reasonable prices’ and also observ[ed] that there
         are subsidiary purposes to the Act.” The parenthetical fails to mention that
         environmental protection is one of those subsidiary purposes. This cryptic section of the
         Order leaves the reader to wonder whether encouraging plentiful supplies of natural gas
         was the Commission’s driving consideration in its “balancing.” Did climate impacts
         factor into the public interest determination at all? If so, how? Neither the parties nor a
         reviewing court can discern from the Order whether the Commission even agrees that it
         must consider climate impacts and, if so, whether and how it weighed them in its public
         interest determination. In failing to explain its reasoning, the Commission violated the
         APA.6

                 To the extent paragraph 37 of the Order is meant to suggest the Commission is not
         required to consider the environmental impacts of the project’s GHG emissions in its
         public interest determination under section 3 of the NGA, it is plainly wrong. Nearly
         fifty years ago the Supreme Court held in NAACP that environmental protection is a
         purpose of the NGA.7 More recent decisions make clear that the Commission must
         consider the climate impacts of GHG emissions in its public interest determinations under
         the statute.8


                4
                    Order at P 37 (citations omitted).
                5
                    425 U.S. 662, 669 (1976).
                6
                 See, e.g., SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (“[T]he orderly
         functioning of the process of review requires that the grounds upon which the
         administrative agency acted be clearly disclosed and adequately sustained.”); Del.
         Riverkeeper Network v. FERC, 753 F.3d 1304, 1313 (D.C. Cir. 2014) (quoting Motor
         Vehicle Mfrs. Ass’n of the U.S., Inc. v State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
         (1983)) (“[A]n agency action will be set aside as arbitrary and capricious if it is not the
         product of ‘reasoned decisionmaking.’”).
                7
                    425 U.S. at 670 n.6.
                8
                  See, e.g., Vecinos para el Bienstar de la Comunidad Costera v. FERC, 6 F.4th
         1321, 1331 (D.C. Cir. 2021) (finding Commission’s analysis of climate change impacts
         deficient under both NGA and NEPA); Birckhead v. FERC, 925 F.3d 510, 519 (D.C. Cir.
         2019) (in addressing arguments relating to GHG emissions, the court explains that the
         Commission’s public interest determination includes environmental considerations);
         Sierra Club v. FERC, 867 F.3d 1357, 1373 (D.C. Cir. 2017) (in addressing Commission’s
         treatment of GHG emissions, the court explains that the balancing of factors in



                                                                                               JA149
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                Like the NGA, the National Environmental Policy Act (NEPA) also requires the
         Commission to consider climate and other environmental impacts in deciding whether to
         approve a project application. As the Supreme Court has explained, NEPA’s
         environmental impact statement requirement “ensures that the agency, in reaching its
         decision, will have available, and will carefully consider, detailed information concerning
         significant environmental impacts….”9 The Order’s statement that the Commission’s
         responsibilities under the NGA are “separate and distinct” from those under NEPA could
         be interpreted to suggest the statutes bear no relation to each other.10 To the contrary, the
         Commission’s obligations under the two statutes are inextricably linked. In requiring the
         Commission to consider environmental impacts in its substantive decision-making,
         NEPA gives content to the NGA’s broad “public interest” standard.11

                The second reason for my dissent centers on language in paragraphs 40 and 41 of
         the Order indicating the Commission has definitively concluded that it is impossible for it
         to assess the significance of GHG emissions. Although the Environmental Coalition’s
         rehearing request did not expressly contend the Commission must use the Social Cost of
         GHGs protocol to assess significance, the Order gratuitously expounds on the purported
         unsuitability of the protocol, using the same language that appears in other recent
         orders.12 The Order then proclaims that there is no other “currently scientifically
         accepted method that would enable the Commission to determine the significance of
         reasonably foreseeable GHG emissions.”13 Yet, the Order does not substantively respond
         to the Environmental Coalition’s argument that there is an alternative method available14


         determining the public convenience and necessity includes environmental effects).
                9
                Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
         (emphasis added).
                10
                     See Order at P 37.
                11
                   Cf. Village of Barrington v. Surface Transp. Bd., 636 F.3d 650, 665-66 (D.C.
         Cir. 2011) (upholding agency’s interpretation of “public interest” in its organic statute to
         include environmental considerations in light of NEPA’s language and goals).
                12
                  Order at PP 40-41. For comparison, see Rio Grande LNG, LLC and Rio Bravo
         Pipeline Company, LLC, 183 FERC ¶ 61,046 at PP 92-93, 101; Texas LNG Brownsville
         LLC, 183 FERC ¶ 61,047 at PP 20, 25; Driftwood Pipeline LLC, 183 FERC ¶ 61,049 at
         PP 61, 63.
                13
                     Id. at P 41.
                14
                   The Environmental Coalition specifically points to a model for assessing
         significance that the Natural Resources Defense Council submitted for the Commission’s



                                                                                              JA150
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         – one that has been sitting unaddressed in the Commission’s open docket for the GHG
         Policy Statement.15 This too violates the Administrative Procedure Act.16

                 In concentrating its fire on the Social Cost of GHGs protocol, the majority failed
         to provide a reasoned response to the Environmental Coalition’s key contention that the
         Commission violated a Council on Environmental Quality regulation requiring that an
         environmental impact statement include a discussion of “the environmental impacts of
         the proposed action and reasonable alternatives to the proposed action and the
         significance of those impacts.”17 Instead, the Commission merely states that it
         “disclosed and contextualized the reasonably foreseeable GHG emissions.”18 I agree
         with the Environmental Coalition that “to the extent that FERC actually attempted to
         substitute these analyses for a significance determination about the Project’s climate
         effects, it must so state, and failure to do so is arbitrary and capricious ….”19

                Until the last few months, in other recent certificate orders, the Commission has
         explained that it is not determining the significance of GHG emissions because the issue
         of how to do so is under consideration in the docket for the Commission’s draft GHG
         Policy Statement.20 This Order does not say that. Instead, it appears effectively to decide
         some of the central issues raised in the GHG Policy Statement docket.

                I do not know whether the Social Cost of GHGs protocol or another tool can or
         should be used to determine significance. That is because the Commission has never
         seriously studied the answer to that question. Now, the majority has simply decided there


         consideration on September 23, 2022. See Rehearing Request at 37 n.75.
                15
                     Docket No. PL21-3.
                16
                  See New England Power Generators Ass’n, Inc. v. FERC, 881 F.3d 202, 211
         (D.C. Cir. 2018) (finding “that FERC did not engage in the reasoned decisionmaking
         required by the Administrative Procedure Act” because it “failed to respond to the
         substantial arguments put forward by Petitioners and failed to square its decision with its
         past precedent”).
                17
                 Rehearing Request at 31 (citing and quoting 40 C.F.R. § 1502.16(a)(1))
         (emphasis added).
                18
                     Order at P 38.
                19
                     Rehearing Request at 35 (citation omitted).
                20
                  See, e.g., Transcon. Gas Pipe Line Co., 182 FERC ¶ 61,006, at P 73 & n.174
         (2023); Columbia Gas Transmission, LLC, 182 FERC ¶ 61,171, at P 46 & n.93 (2023).




                                                                                             JA151
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         is no acceptable method, with no explanation of why the Commission departs from the
         approach so recently taken in other certificate orders.21 We have yet to address the
         voluminous record in the GHG Policy Statement docket, including comments that speak
         to the significance issue. As I have said before, the Commission should decide the
         important unresolved issues relating to our assessment of GHG emissions through careful
         deliberation in a generic proceeding with full transparency.

         For these reasons, I respectfully dissent.



         ________________________
         Allison Clements
         Commissioner




                21
                  To depart from prior precedent without explanation violates the Administrative
         Procedure Act. See, e.g., West Deptford Energy, LLC v. FERC, 766 F.3d 10, 17 (D.C.
         Cir. 2014) (“[T]he Commission cannot depart from [prior] rulings without providing a
         reasoned analysis.”) (citations omitted).



                                                                                          JA152
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                                       UNITED STATES OF AMERICA
                                              BEFORE THE
                                FEDERAL ENERGY REGULATORY COMMISSION

                                                         )
         Commonwealth LNG, LLC                           )                      Docket No. CP19-__-000
                                                         )

                                   APPLICATION FOR AUTHORIZATION
                                UNDER SECTION 3 OF THE NATURAL GAS ACT

                 Pursuant to Section 3(a) of the Natural Gas Act (“NGA”),1 and in accordance with Parts

        153 and 380 of the regulations of the Federal Energy Regulatory Commission (“Commission” or

        “FERC”),2 Commonwealth LNG, LLC (“Commonwealth”) hereby submits the instant application

        (“Application”) for authorization to site, construct, and operate a natural gas liquefaction and

        export facility (“LNG Facility”), including an NGA Section 3 natural gas pipeline (“Pipeline”), in

        Cameron Parish, Louisiana. The LNG Facility and Pipeline (together, the “Commonwealth LNG

        Project” or “Project”) will be located on the west side of the Calcasieu Ship Channel, near the

        entrance to the Gulf of Mexico.

                 Commonwealth respectfully requests that the Commission issue an order granting the

        authorization requested herein by no later than January 2021 to allow Commonwealth to

        commence commercial exports by the first quarter of 2024.

                 In support of this Application, Commonwealth states as follows:




         1
             15 U.S.C. § 717b(a) (2012).
         2
             18 C.F.R. Parts 153, 380 (2018).




                                                                                                 JA153
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                                                    I.
                                            EXECUTIVE SUMMARY

                The LNG Facility, which is proposed to be located on a 393-acre site in Cameron Parish,

         Louisiana, on the west side of the Calcasieu Ship Channel near its entrance to the Gulf of Mexico,

         will enable the liquefaction and export of U.S.-sourced natural gas to foreign markets. The

         Commonwealth LNG Project encompasses the construction of one liquefied natural gas (“LNG”)

         plant, which includes six liquefaction trains and appurtenant facilities. Each train will have a

         liquefaction design capacity of approximately 65.1 Billion cubic feet (“Bcf”) of natural gas per

         year (equivalent to approximately 1.4 million metric tonnes per annum [“MTPA”]) for a total

         nominal liquefaction and production capacity of 390.3 Bcf per year (equivalent to approximately

         8.4 MTPA of LNG). Under optimal operating conditions the Project will have a peak capacity of

         up to 441.4 Bcf per year (equivalent to approximately 9.5 MTPA of LNG). The Project will also

         include six full-containment LNG storage tanks (each with a capacity of 40,000 cubic meters

         [“m3”]), one marine loading berth (capable of loading LNG carriers of up to a capacity of 216,000

         m3), and a 3.04-mile long, 30-inch diameter natural gas Pipeline that will connect the LNG Facility

         with the existing interstate and intrastate pipeline systems of Kinetica Partners, LLC (“Kinetica”),

         and EnLink Bridgeline Holdings LP, (“Bridgeline”), respectively, for the purpose of supplying

         feed gas to the Project.

                The Pipeline will deliver natural gas to the LNG Facility at the feed gas metering station

         where the gas will be measured before it is sent to the pre-treatment facilities. In this regard, each

         of the six liquefaction trains will include a dedicated feed gas pre-treatment module to remove

         impurities from the feed gas. Gas pre-treatment will consist of mercury removal, acid gas removal

         and dehydration. Removed heavy hydrocarbons will be trucked from the LNG Facility as a single

         condensate product.


                                                           2

                                                                                                      JA154
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                Feed gas will supply the pre-treatment section of each train at approximately 650 pounds

         per square inch gauge (“psig”). Following pre-treatment, the natural gas will enter the liquefaction

         trains, which are designed to utilize the Air Products and Chemicals, Inc. Single Mixed Refrigerant

         (“SMR”) process. Once the feed gas is liquefied, it will be stored in one of the six full-containment

         LNG storage tanks until it is loaded onto LNG carriers for export. The LNG Facility will also

         include a single mooring berth. An average of up to three LNG vessels per week (156 vessels per

         year) are expected to call on the LNG Facility. Electrical power requirements for operation of the

         LNG Facility (estimated at approximately 120 megawatts) will be provided by a gas-fired on-site

         simple cycle electric power generation plant.

                Pipeline construction will occur over a twelve-month period and is anticipated to

         commence between the first quarter of 2022 and the second quarter 2023. Construction of the LNG

         Facility will occur over a 36 to 38-month period and is projected to commence in early 2021. A

         barge dock will be located to the north of the ship berth and will be utilized for unloading

         equipment and materials from barges required for the construction of the LNG Facility. Once

         construction of the LNG Facility is complete, the dock will be utilized for the mooring of tugboats

         and small craft. Commonwealth intends to implement an off-site modular approach with regard to

         construction of significant portions of the liquefaction trains and LNG storage tanks. Modules will

         be designed and fabricated at the vendors’ existing facilities and transported to the site. This

         approach will shorten the overall construction schedule and reduce requirements for laydown areas

         and on-site construction workforce.


                  The Project facilities proposed herein will be constructed and operated in accordance with

         applicable federal, state and local laws, regulations and standards. Resource Reports 11 and 13,

         included as part of Exhibit F, set forth the Project’s design and safety systems.


                                                          3

                                                                                                     JA155
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                Construction of the Project will create an average of 800 on-site engineering and

         construction jobs, with a peak of approximately 2,000 jobs. Construction and operation of the

         Project will represent a substantial capital investment in the state of Louisiana, resulting in the

         employment of a large workforce; use of a considerable amount of construction equipment; and a

         commitment of materials, supplies, and operations equipment. This substantial investment will

         result in widespread economic gains locally, regionally, and nationally.

                As fully detailed in this Application, the Commonwealth LNG Project satisfies the

         requirements of NGA Section 3 and is not inconsistent with the public interest. The Project will

         provide significant public benefits through increased economic activity—including the creation of

         jobs and additional tax revenues. Moreover, the Project will help address the U.S. trade deficit by

         facilitating the export of LNG to overseas markets, which in turn, will provide a politically and

         economically stable and environmentally less intrusive source of fuel to the global energy market.

         Accordingly, Commonwealth respectfully requests that the Commission grant the authorization

         required to site, construct and operate the Project by no later than January 2021, so that exports

         from the Project may commence by the first quarter of 2024.

                                              II.
                              INFORMATION REGARDING THE APPLICANT

                The exact legal name of Commonwealth is Commonwealth LNG, LLC. Commonwealth

         is a Texas limited liability company, with its primary place of business located at One Riverway,

         Suite 500, Houston, TX 77056, and is authorized to do business in the State of Louisiana.

                Commonwealth is a wholly owned subsidiary of Commonwealth Projects, LLC, which is

         in turn wholly-owned by a private individual, Paul Varello.     Commonwealth is not owned, in

         whole or in part, or subsidized, directly or indirectly, by any foreign government. Moreover, it is

         neither contractually committed to ownership nor subsidization by any foreign government entity.


                                                         4

                                                                                                   JA156
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                                                   III.
                                              COMMUNICATIONS

                The persons to whom correspondence and communications concerning this Application

         should be directed and upon whom service is to be made are as follows:

          Robert Powers                                      Lisa M. Tonery
          Hans Verswijver                                    Mariah T. Johnston
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          One Riverway, Suite 500                            51 West 52nd Street
          Houston, TX 77056                                  New York, N.Y. 10019-6142
          Telephone: (346) 352-4444                          Telephone: (212) 506-3710
          Email: rpowers@teamcpl.com                         Email: ltonery@orrick.com
          Email: hverswijver@teamcpl.com                     Email: mjohnston@orrick.com


                                                  IV.
                                        DESCRIPTION OF PROPOSAL

                Through this Application, Commonwealth requests authorization pursuant to Section 3 of

         the NGA to site, construct and operate the Commonwealth LNG Project, to liquefy domestic

         natural gas for export to foreign markets as LNG. The proposed Project facilities are listed below,

         and detailed information is provided in the Environmental Report (Exhibit F hereto).

            A. Overview

                The Project will include one LNG plant, comprised of six liquefaction trains, each with a

         design production capacity of approximately 65.1 Bcf per year (equivalent to 1.4 million MTPA);

         six LNG storage tanks (each with a capacity of 40,000 m3); one marine loading berth (capable of

         loading LNG carriers with a capacity ranging from 10,000 m3 to 216,000 m3); and a 3.04-mile

         long, 30-inch diameter Pipeline. Under optimal operating conditions the Project will have a peak

         capacity of up to 441.4 Bcf per year (equivalent to approximately 9.5 MTPA of LNG).

            B. LNG Facility

                The major components of the LNG Facility include the following:



                                                         5

                                                                                                   JA157
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         Gas Metering
         •      An on-site metering station;

         •      A liquid separation, filtration, and feed gas analyzer; and

         •      Isolation and emergency shut-off systems.

         Pretreatment Facility
         •      Six pretreatment modules (one per liquefaction train); and

         •      Six mercury guard bed, acid gas removal, and dehydration units (one per pretreatment
                module).

         Liquefaction
         •      Six liquefaction trains; with each train including:

                    o An approximately 60-megawatt gas turbine with mechanical drive;

                    o A heavy hydrocarbon removal system;

                    o A feed gas booster compressor;

                    o Liquefaction and separator modules;

                    o A refrigerant compressor package and air coolers; and

                    o A refrigerant make-up system and storage.

         LNG Storage
         •      Six 40,000 m3 (net capacity) full-containment LNG storage tanks;

        •       An earthen berm/dike providing tertiary containment for the tank farm;

        •       Two submersible cryogenic send-out pumps per tank; and

        •       A radiant heat deluge system.

        Marine Facilities

         •      A single berthing dock with the capacity to service vessels from 10,000 m3 to 216,000 m3;

         •      Four 16-inch marine loading arms – three LNG liquid and one vapor return;

         •      A gangway and mooring system;

         •      A separate spill containment system; and


                                                          6

                                                                                                JA158
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         •       A loadout control and operator shelter.

         Utilities
         •       Potable water from existing municipal water supply system;

         •       Demineralized water for amine make-up;

         •       A plant and instrument air system;

         •       A Nitrogen system; and

         •       A hot oil system.

         Electric Power
         •       A 180-megawatt simple cycle electric power generator for the LNG Facility auxiliary
                 loads;

         •       An emergency power generator; and

         •       A back-up battery system for uninterrupted power supply.

         Appurtenant Structures
         •       A guard house;

         •       An administration building and central control room;

         •       A maintenance building and warehouse;

         •       A truck loadout station for loading trucks with condensate;

         •       A dock loading operator building and marine facilities control;

         •       Operator shelters;

         •       Miscellaneous equipment enclosures and electrical rooms; and

         •       A firewater pump house.

         Civil Works

         •       Site grading and placement of structural fill;

         •       Vehicular roadways, storm surge wall, piling and foundations;

         •       Site drainage and spill containment systems; and

         •       A sanitary sewer system.


                                                           7

                                                                                              JA159
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                                FEDERAL ENERGY REGULATORY COMMISSION
                                             WASHINGTON, D.C. 20426


         OFFICE OF ENERGY PROJECTS
                                                           In Reply Refer To:
                                                           OEP/DG2E/Gas Branch 1
                                                           Commonwealth LNG, LLC
                                                           Commonwealth LNG Project
                                                           Docket No. CP19-502-000
                                                           § 375.308(x)
        October 2, 2019

        VIA FERC Service

        Lisa Tonery
        Orrick, Herrington & Sutcliffe LLP
        51 West 52nd Street
        New York, New York 10019-6142

        Re:     Environmental Information Request

        Dear Ms. Tonery:

               The information described in the enclosure is required for our analysis of the
        above-referenced application. Please file a complete response within 20 days of the
        date of this letter.

               If certain information cannot be provided within this time frame, please indicate
        which items will be delayed and provide a projected filing date. You should be aware
        that the information described in the enclosure is necessary for us to continue
        preparation of the Environmental Impact Statement (EIS). We will establish a
        schedule for completing the EIS based upon an expectation of timely and complete
        responses to our information requests.

                File your response in accordance with the provisions of the Commission’s Rules
         of Practice and Procedure. In particular, 18 CFR 385.2005 requires all responses to be
         filed under oath by an authorized Commonwealth LNG, LLC representative, and 18 CFR
         385.2010 (Rule 2010) requires service to each person whose name appears on the official
         service list for this proceeding.

                 Electronic filing is encouraged using the Commission’s eFiling system (see
         http://www.ferc.gov/docs-filing/efiling.asp). Be sure to prepare separate volumes, as
         outlined on the Commission’s website at http://www.ferc.gov/resources/guides/filing-
         guide/file-ceii.asp, and label all controlled unclassified information (CUI) as described at



                                                                                              JA160
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                                                                   JA161
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                                           UNITED STATES OF AMERICA
                                                  BEFORE THE
                                    FEDERAL ENERGY REGULATORY COMMISSION

                                                          )
         Commonwealth LNG, LLC                            )                 Docket No. CP19-502-____
                                                          )

                             APPLICATION OF COMMONWEALTH LNG, LLC
                     FOR LIMITED AMENDMENT TO NGA SECTION 3 APPLICATION TO
                          MODIFY LNG STORAGE TANK DESIGN AND CAPACITY

                    Pursuant to Section 3(a) of the Natural Gas Act (“NGA”) 1 and 18 C.F.R. Part 153,

         Commonwealth LNG, LLC (“Commonwealth”) hereby files this application seeking a limited

         amendment (“Limited Amendment”) to its August 20, 2019 application (“Application”)

         requesting authorization from the Federal Energy Regulatory Commission (“Commission” or

         “FERC”) under Section 3(a) of the NGA to site, construct, and operate a natural gas liquefaction

         and export facility (“LNG Facility”), including an NGA Section 3 natural gas pipeline

         (“Pipeline”), in Cameron Parish, Louisiana. As described in Commonwealth’s Application, the

         LNG Facility and Pipeline (together, the “Commonwealth LNG Project” or “Project” will be

         located on the west side of the Calcasieu Ship Channel, near the entrance to the Gulf of Mexico.

         The Project includes six full-containment LNG storage tanks (“LNG Storage Tanks”). Through

        this Limited Amendment, Commonwealth seeks Commission authorization to amend its

        Application to site, construct, and operate the LNG Facility, with the design and capacity

        modifications to the LNG Storage Tanks described herein. With these modifications, the LNG

        Storage Tanks will comply with the U.S. Pipeline and Hazardous Materials Safety

        Administration (“PHMSA”) regulations under 49 C.F.R. Part 193 and all applicable code

        requirements.

                    In support of this Limited Amendment, Commonwealth states as follows:

         1
             15 U.S.C. § 717b(a).

                                                          1
         310387852.1

                                                                                                  JA162
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                               INFORMATION REGARDING THE APPLICANT

                   The exact legal name of Commonwealth is Commonwealth LNG, LLC. Commonwealth

         is a Texas limited liability company, with its primary place of business located at One Riverway,

         Suite 500, Houston, TX 77056, and is authorized to do business in the State of Louisiana.

                   Commonwealth is a wholly owned subsidiary of Commonwealth Projects, LLC, which is

         in turn wholly owned by a private individual, Paul Varello. Commonwealth is not owned, in

         whole or in part, or subsidized, directly or indirectly, by any foreign government. Moreover, it is

         neither contractually committed to ownership nor subsidization by any foreign government

         entity.

                                               COMMUNICATIONS

                   The persons to whom correspondence and communications concerning this Limited

         Amendment should be directed and upon whom service is to be made are as follows:

         Scott Ray                                              Sandra E. Safro
         Hans Verswijver                                        David L. Wochner
         Commonwealth Projects                                  K&L Gates LLP
         One Riverway, Suite 500                                1601 K Street, NW
         Houston, TX 77056                                      Washington, D.C. 20006
         Telephone: 346.352.4444                                Telephone: 202.778.9100
         Email: sray@teamcpl.com                                Email: sandra.safro@klgates.com
         Email: hverswijver@teamcpl.com                         Email: david.wochner@klgates.com

                                                   BACKGROUND

                   Commonwealth filed its Application on August 20, 2019, 2 seeking FERC authorization

         to site, construct, and operate the Project, which included six (6) 40,000 cubic meter (m3) full-

         containment LNG Storage Tanks. The tank design provided in the Application specified both an

         inner and outer tank fabricated from nine percent (9%) nickel steel. Recognizing that this design

         would require special authorization from PHMSA, Commonwealth submitted an application to

         2
          Application of Commonwealth LNG, LLC for Authorization under Section 3 of the Natural Gas Act, Dkt. No.
         CP19-502-000 (filed Aug. 20, 2019) (Accession Numbers 20190820-5125, 20190820-5126, and 20190820-5127).

                                                            2
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         PHMSA on June 9, 2020, under 49 C.F.R. § 190.341 seeking a Special Permit for the proposed

         tank design.

                  As indicated in its January 27, 2021 submission to FERC,3 Commonwealth has

         determined as a result of advanced engineering and further project development that

         modification of the LNG Storage Tank design is the most sensible path forward to ensure full

         compliance with existing regulations. More specifically, Commonwealth will proceed with a

         traditional full-containment, modular-built, tank design with a nine percent (9%) nickel inner

        tank and a concrete outer tank with carbon steel liner. This revised design is consistent with the

        alternative proposal that Commonwealth described in its July 6, 2020 responses to FERC Staff’s

        June 5, 2020 data requests. 4 Because the revised design for the LNG Storage Tanks will comply

         with all applicable code requirements, Commonwealth has withdrawn its PHMSA Special Permit

         application, as noted in Commonwealth’s June 4, 2021 supplemental responses to FERC Staff’s

         June 5, 2020 data requests. 5

                                          DESCRIPTION OF PROPOSAL

                  Commonwealth herein is seeking authorization pursuant to Section 3(a) of the NGA to

         modify its pending application in this docket specifically to site, construct, and operate the LNG

         Storage Tanks with the design and capacity modifications described herein. As noted above and

         provided in Commonwealth’s June 4, 2021 supplemental responses to FERC Staff data

         requests, 6 Commonwealth proposes to modify the LNG Storage Tank design to include a



         3
          Accession Number 20210127-5153.
         4
          Accession Number 20200706-5146.
        5
          See supplemental response to June 5, 2020 General data request number 1, filed on June 4, 2021, in Dkt. No.
        CP19-502-000 (Accession Numbers 20210604-5170, 20210604-5171, and 20210604-5172).
        6
          Commonwealth LNG, LLC Responses and Supplemental Responses to January 2, 2020; February 11, 2020; June
        5, 2020; July 30, 2020; and March 4, 2021 Data Requests under CP19-502-000, Dkt. No. CP19-502-000 (filed June
        4, 2021) (Accession Numbers 20210604-5170, 20210604-5171, and 20210604-5172) [hereinafter “June 4, 2021
        Supplemental Filing”].

                                                             3
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         concrete outer tank with carbon steel liner instead of the previously proposed nine percent (9%)

         nickel steel.

                   The revised design will comply with all applicable code requirements, including 49

         C.F.R. § 193.2161, and thus will not require a Special Permit from PHMSA. The LNG Storage

         Tanks will remain full-containment to NFPA 2001/2006 standards and there will be no change to

         the daily boil-off gas volume, the fill rate, the emptying rate, the design pressure, the operating

         pressure, the PSV set pressure, the VSV set pressure, or to the P&IDs. In addition, there will not

         be a substantial change in the LNG Facility layout.

                   Commonwealth also proposes to increase the net capacity of the LNG Storage Tanks

         from 40,000 m3 to 50,000 m3, for a total working storage volume of 300,000 m3. This includes a

        minor increase in the outer tank diameter from 40.0 m to 45.5 m and in the outer tank overall

        height from 50.4 m to 51.0 m. The foundation also would be modified from precast concrete pile

        to augured concrete pile. The tank center to center layout and plot plan location have not

        changed.

                   Commonwealth has provided to the Commission Staff substantial additional technical

        design and operational information related to this proposed modification in Commonwealth’s

        June 4, 2021 responses and supplemental responses to FERC Staff’s data requests. 7

         Commonwealth incorporates that information herein by reference.

                   In light of the limited nature of the modifications proposed in this Limited Amendment,

         Commonwealth respectfully requests a shortened intervention and comment period of twenty

         (20) days, limited in scope to the modifications described herein.




         7
             Id.

                                                          4
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                                                                                                   JA165
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                                 UNITED STATES OF AMERICA
                                   DEPARTMENT OF ENERGY
                      FEDERAL ENERGY REGULATORY COMMISSION



 IN THE MATTER OF                               )
                                                )              Docket No. CP19-502-001
 Commonwealth LNG LLC                           )




         Protest of Center for Center for Biological Diversity, Healthy Gulf, Louisiana

 Environmental Action Network, Louisiana Bucket Brigade, Port Arthur Community Action

     Network, Sierra Club, Restore Explicit Symmetry To Our Ravaged Earth, and Turtle

                                    Island Restoration Network

        Commonwealth LNG, LLC (“Commonwealth”) requests authorization, under section 3 of

 the Natural Gas Act, to construct and operate a liquefied natural gas (“LNG”) export facility with

 a nominal capacity of 390.3 billion cubic feet per year (“bcf/y”) on a greenfield site at the mouth

 of the Calcasieu Ship Channel, together with an associated 3-mile supply pipeline. 1 This

 application, as amended, should be denied. 2



 1
  Commonwealth seeks approval of this pipeline as an export facility under section 3 of the
 Natural Gas Act, rather than as a pipeline engaged in interstate service under section 7 of the Act.
 2
   This proceeding is in the early stages. FERC has not yet issued a draft environmental impact
 statement, although FERC has appropriately committed to doing so. Notice of Schedule for
 Environmental Review, https://elibrary.ferc.gov/eLibrary/filedownload?fileid=15380122, as
 modified by https://elibrary.ferc.gov/eLibrary/filedownload?fileid=15484542; see also 18 C.F.R.
 § 380.6(a)(1). Moreover, as FERC has acknowledged, development of project design details is in
 the early stages, and much has changed since the original application was submitted. See
 Environmental Information Request, Accession 20210716-3022. Accordingly, it is appropriate for
 the undersigned to raise issues regarding all environmental impacts of the proposed project, and
 not merely issues specific to the proposed amendment to the application.

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        Approval of any additional LNG export infrastructure is contrary to the public interest.

 Additional infrastructure likely represents an overbuild. As of April 20, 2021, FERC has already

 approved LNG export facilities providing 43.608 bcf/d of capacity. 3 This far exceeds the volume

 of exports that the Energy Information Administration predicts will ultimately be supported by

 global markets. 4 Commonwealth has not provided any evidence of market support for this

 particular project. Absent market support, the project cannot provide public benefits to offset the

 harm to the public and the environment that will result from project construction. Nor does the

 project provide meaningful benefit to the public if it merely poaches demand that would have

 otherwise gone to other, also-constructed projects. See Env. Def. Fund v. FERC, 2 F.4th 953, 973

 (D.C. Cir. 2021) (holding that FERC had failed to demonstrate pipeline was required by the

 public convenience and necessity where, principally, pipeline was not needed to serve any “new

 load demand.”).

        On the other hand, even if there were market support for additional LNG export

 infrastructure, such facilities would still be contrary to the public interest. Responding to

 catastrophic climate change requires the U.S. and the globe to transition away from fossil fuels as

 quickly as possible. Long-lived, carbon-intense infrastructure like LNG exports is irreconcilable

 with this goal. When reviewing proposed projects under section 3 of the Natural Gas Act, FERC

 cannot defer public interest analysis entirely to the Department of Energy, especially as the

 Department has disclaimed authority to consider export-induced gas production and other effects




 3
  https://cms.ferc.gov/media/north-american-lng-export-terminals-existing-approved-not-yet-
 built-and-proposed-1.
 4
  https://www.eia.gov/outlooks/aeo/data/browser/#/?id=13-
 AEO2021&cases=ref2021&sourcekey=0 (attached as Exhibit A).

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 occurring “upstream” of delivery of LNG to an export carrier. See Department of Energy, Final

 Rule: National Environmental Policy Act Implementing Procedures, 85 Fed. Reg. 78,197-01,

 78,198, 78,201 (Dec. 4, 2020). Commonwealth agrees that FERC should consider the impact of

 its proposed project on global greenhouse gas emissions in deciding whether to approve the

 proposed terminal. Amendment Application at 5-6, Accession No. 20210708-5004. FERC cannot

 consider Commonwealth’s asserted indirect or lifecycle benefits without considering

 corresponding harms.

          Finally, even if some additional export project could be shown to be in the public interest,

 this project is not. Commonwealth’s goal is to minimize “capital costs” 5 so that it can compete as

 a “low-cost” 6 source of LNG. Accord Resource Report 1-4, Accession No. 20210629-5230

 (explaining that a design was chosen to “reduce construction costs.”). Commonwealth’s design

 choices may provide economic benefit to Commonwealth and its potential customers, but they

 impose adverse effects on the environment and the public that FERC must consider. For example,

 the “AP-SMR” liquefaction design Commonwealth proposes to use is, by the manufacturer’s

 admission, significantly less efficient than other designs that would be suitable for a project of

 Commonwealth’s scale. 7

          For these reasons, explained in further detail below and which the undersigned will further

 address during the NEPA process, FERC should deny Commonwealth’s application and the

 amendment thereto.


 5
     https://commonwealthlng.com/the-project/ (attached as Exhibit B).
 6
     https://commonwealthlng.com/company (attached as Exhibit C).
 7
   https://www.airproducts.com/-/media/airproducts/files/en/230/230-17-012-glb-sep20-mid-scale-
 lng-capabilities.pdf at 4 (attached as Exhibit D).

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        A.    Commonwealth’s Amendment to the Application Has Not Explained or
              Justified an Increase in Storage Tank Capacity

        In the amendment application, Commonwealth seeks to increase the capacity of the

 proposed six LNG storage tanks from 40,000 to 50,000 cubic meters each. Amendment

 Application at 4, Accession 20210708-5004. Commonwealth does not explain why it is seeking

 this change. Absent any showing as to why an increase in overall storage capacity is warranted,

 FERC should limit Commonwealth to five, rather than six, LNG storage tanks: with the new

 50,000 cubic meter capacity, this would still provide more storage than Commonwealth originally

 proposed, while allowing Commonwealth to reduce the overall facility footprint and scale of

 construction impacts.

        Commonwealth’s initial application had stated that “The 40,000 m3 tanks are the largest

 aboveground storage tanks that can be assembled offsite and then transported by ocean- going

 barge.” Resource Report 10-40. Commonwealth has not explained what has changed—e.g.,

 whether, when, or why 50,000 m3 tanks can be manufactured now despite Commonwealth’s prior

 assertion that it would be impossible to do so. More broadly, the fact that Commonwealth has

 quickly abandoned its prior contention about the limits of engineering possibility or technical

 feasibility on this issue casts a shadow over Commonwealth’s assertions regarding infeasibility of

 other potential alternatives, such as electric transmission.

        Regardless, now that Commonwealth has determined that 50,000 m3 tanks are available

 and feasible here, Commonwealth should be required to reduce the total number of tanks from six

 to five. Commonwealth’s initial application determined that the project would be viable with

 240,000 m3 of storage capacity. Five 50,000 m3 tanks would provide 250,000 m3. The

 amendment application seeks an increase in tank size but does not assert that Commonwealth has



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 determined that an increase in total storage capacity is necessary, or even beneficial to, the project

 purpose.

         On the other hand, if FERC is inclined to consider approving the increase in storage

 capacity, FERC must evaluate whether this increase will contribute to an increase in output

 beyond the stated 390.3 bcf/y, as explained infra.


         B.    Commonwealth States that “The Purpose of the Project Is to Liquefy Up to
               441.4 bcf” per year, and FERC Must Base Its Analysis on the Maximum
               Potential Facility Output

         Authorizations for LNG export infrastructure should “reflect the maximum or peak

 capacity at optimal conditions as such a level represents the actual potential production of LNG.”

 Sabine Pass Liquefaction, LLC, 146 FERC ¶ 61117, P12 (Feb. 20, 2014). Here, FERC’s NEPA

 and Natural Gas Act reviews must consider the impacts of exporting 441.4 bcf/y, or 9.5 MTPA, of

 LNG, rather than the 390.3 bcf/y or 8.4 MTPA for which Commonwealth has requested

 authorization.

         As FERC is aware, many—if not most—LNG export facilities have sought to increase

 their output relative to their initial applications. This demonstrates that, rather than seeking

 authorization for the “maximum” or “optimal” output, as required by Sabine Pass, applicants

 have routinely low-balled facility capacity, confident that they would be able to seek increases in

 authorization later. This practice leads to understating potential impacts, such as from LNG tanker

 traffic, during the analysis phase, in violation of NEPA, FERC precedent, and principles of

 administrative law.

         Here, Commonwealth’s application materials indicate that Commonwealth actually

 expects to produce more than 390.3 bcf/y of LNG. Commonwealth has requested Department of

 Energy authorization to export 441.6 bcf/y (1.21 bcf/day) of LNG. Commonwealth’s Resource

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 being less efficient increases environmental impacts. However, Air Products contends that the

 AP-C3MR process is suitable for a facility of Commonwealth’s site: both for individual trains of

 Commonwealth’s proposed 1.4 MTPA capacity, 9 and for facilities with total capacity in

 Commonwealth’s proposed 8.4 to 9.5 MTPA range. 10

           Commonwealth’s arguments for rejecting “large-scale LNG trains” like the C3MR

 process do not demonstrate that these trains are infeasible or that rejecting them would be

 consistent with the public interest. Commonwealth suggests that larger trains need a bigger

 footprint, Resource Report 10-42, but Commonwealth provides no information to support this

 conclusion, especially not on a per-MTPA basis (i.e., whether, instead of using six small trains,

 Commonwealth could use fewer, larger trains to achieve the same output without increasing total

 facility footprint). Nor has Commonwealth offered any explanation as to how or why “[l]arge-

 scale LNG trains are inconsistent with Commonwealth’s market-based objectives, in particular

 with providing customers the opportunity to subscribe to shorter-term contracts at a lower MTPA

 commitment, made possible by Commonwealth’s modular approach.” RR10-10. Even if

 Commonwealth can provide some argument as to why small-scale trains are essential to its

 purpose (which must be more than that Commonwealth stands to make greater profit if its capital

 costs are lower), NEPA will still require FERC to rigorously explore the environmental impact of

 using a cheaper, more modular design in lieu of a larger and more efficient facility.

           In addition, FERC must consider the alternative of powering liquefaction trains using

 electricity, rather than mechanically with gas turbines. The proposed AP-SMR liquefaction trains


 9
     Id.
 10
   https://www.airproducts.com/-/media/airproducts/files/en/230/230-17-004-glb-feb21-lng-large-
 plant-capabilities-ds-42346.pdf at 3 (attached as Exhibit E).

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 can be electrically driven, 11 as can C3MR trains and other designs. Electrically-driven trains

 decrease direct emissions, and often decrease total emissions even when indirect effects

 associated with electricity generation are accounted for. This is especially so on the multi-decade

 timeframes at issue for LNG facilities, as electric grids are expected to become cleaner in the

 future, whereas emissions from gas-fired liquefaction units will likely remain effectively

 unchained. As we explain below, Commonwealth has not demonstrated that constructing

 additional electric transmission to this site (or to potential alternative sites) would be infeasible.


         F.    Alternatives to Proposed On-Site Electric Generating Units

         Commonwealth states that it expects on-site electric needs to amount to roughly 120

 megawatts, which Commonwealth proposes to supply with two 60-megawatt simple cycle gas

 turbine electric generating units (plus a third unit installed as a spare). Application at 7, Accession

 20190820-5125. Commonwealth has not justified using on-site electric generation instead of the

 grid, using simple-cycle units instead of more efficient combined cycle units, or placing these

 units at the terminal site instead of at a nearby location that may reduce impacts.

         On the first issue, using the grid for electric power, instead of onsite, gas-fired electric

 generation, is likely to reduce environmental impacts. The electric grid is trending toward

 increased use of renewable generation, which means that during the life of the project, emissions

 from a grid-tied alternative would likely decrease, whereas emissions from on-site electric

 generating units would presumably remain constant. Nonetheless, Commonwealth rejects a grid

 tied alternative based on the unsupported assertion that using grid power “would compromise

 reliability of the LNG Facility to an unacceptable extent.” Resource Report 10-39, Accession


 11
    https://www.airproducts.com/-/media/airproducts/files/en/lng/bigger-is-not-always-better-lng-
 article.pdf at page 3 (attached as Exhibit F).

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 20190820-5125. Commonwealth worries that during tropical storms, an electric supply line would

 be at risk of damage. Id. This speculation is not a sufficient basis for rejecting an alternative. A

 hard look would require:

            x   Identifying how common storms capable of disrupting electric transmission lines
                are likely to be, informed, at a minimum, by some discussion of how often such
                disruptions have occurred in the area in the past and by reasoned explanation of
                whether and how the frequency or intensity of such storms may change in the

            x
                future.
                Identifying whether a storm that disrupts electric supply would in fact be likely to
                disrupt terminal operation, or whether terminal operation would need to halt during

            x
                storms capable of disrupting electric transmission lines anyway.
                Addressing whether other LNG terminals in the area have determined that relying
                on the grid for electric power is reasonable, and if so, explaining why
                Commonwealth’s divergence is justified.

        Even if Commonwealth demonstrates that relying on the grid for electric power would

 have some impact on reliability, NEPA and the Natural Gas Act require FERC to evaluate and

 balance this tradeoff. If relying on the grid for electric power would, for example, lead to an

 additional 20 days of downtime over the requested 20+year life of the project, while decreasing

 net emissions by millions of tons, this tradeoff may be in the public interest despite not being

 Commonwealth’s preference. And while Commonwealth is correct to note that construction of a

 new transmission line would have additional environmental impacts, the point of NEPA is to

 rigorously explore the benefits and drawbacks of the tradeoffs between alternatives.

        In the alternative, if dedicated electric generating units are used, FERC must explore an

 alternative that used combined cycle units in lieu of the proposed simple cycle units. It appears

 that Commonwealth expects the facility, like most LNG terminals, to have a relatively constant

 electric load. For constant loads, combined cycle units are generally more efficient than simple

 cycle units, and thereby have lower emissions per unit of electricity generated, whereas less

 expensive simple cycle units are more commonly used for peaking and other intermittent

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 facilities. Combined cycle units are used for similarly sized electric generating units in the Gulf

 region, including an 82 megawatt plant at the Formosa Plastics facility in East Baton Rouge

 County, Louisiana (consisting of two 38 MW turbines and a 12 MW steam unit) 12 and a 96.7

 megawatt plant in Freeport, Texas. 13 FERC must explore whether a combined cycle unit here

 could meet project needs while reducing emission levels and other environmental impacts.

 Combined cycle units are generally more expensive than simple cycle, and Commonwealth may

 argue that combined cycle generation would be inconsistent with its goal of keeping capital costs

 low. But, as explained above, the fact that polluting is cheap is not a justification for exposing the

 public to be additional air pollution.

         Finally, if dedicated generating units are used, then FERC must explore whether

 environmental impacts could be reduced by locating these units away from the terminal site,

 independent of whether these units are simple or combined cycle. The majority of the proposed

 site consists of wetlands, including the location of the proposed electric generating units, on the

 northwest border (adjacent to highway 27/82). Even if Commonwealth demonstrates that a 30-

 mile electric transmission line, sufficient to enable the site to run on grid power, is infeasible, a

 shorter transmission line may be sufficiently reliable.




 12
    See, e.g.,
 https://platform.marketintelligence.spglobal.com/web/client?auth=inherit#powerplant/powerplant
 profile?id=13227.
 13
    See, e.g.,
 https://platform.marketintelligence.spglobal.com/web/client?auth=inherit#powerplant/powerplant
 profile?id=3226 and http://globalenergyobservatory.org/geoid/2257.

 Protest of Center for Biological Diversity, Healthy Gulf, LEAN,                          Page 13 of 23
 Louisiana Bucket Brigade, PACAN, Sierra Club, and RESTORE                               August 3, 2021
 in Commonwealth LNG, CP19-502
                                                                                                JA174
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 Accession 20210714-5122 Figure 3.




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 Louisiana Bucket Brigade, PACAN, Sierra Club, and RESTORE                    August 3, 2021
 in Commonwealth LNG, CP19-502
                                                                                    JA175
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 Resource Report 2-22, Accession 20190820-5125 (note that proposed electric generating units not
 included on this map).

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 Louisiana Bucket Brigade, PACAN, Sierra Club, and RESTORE                       August 3, 2021
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            G.   FERC Must Evaluate Carbon Capture

            Commonwealth estimates that operation of the proposed facility will emit 3,375,890 tons

 of carbon dioxide equivalent (CO2e) per year. Resource Report 9-30, Accession 20190820-5125.

 FERC must evaluate whether carbon capture and sequestration can be used to reduce some or all

 of these emissions. Numerous other LNG export facilities in the region have proposed or are

 exploring this possibility, including Cheniere’s Sabine Pass and Corpus Christi facilities,

 Sempra’s Cameron LNG terminal, and Venture Global’s Calcasieu Pass terminal. FERC must

 require a similar exploration here. If Commonwealth demonstrates that carbon capture is

 infeasible for this project, but carbon capture is shown to be feasible for other projects, then

 FERC must consider this in evaluating whether system alternatives would be more consistent with

 the public interest.


            H.   The Commonwealth Project Will Impact Multiple Sensitive Species

                   1.    Eastern black rail

            Commonwealth LNG is likely to adversely affect eastern black rails, as noted in the

 Commonwealth LNG biological assessment. 14 The Commonwealth Project would directly

 impact approximately 33.6 acres eastern black rail habitat by permanently converting 30.8 acres

 of habitat to industrial use and temporarily clearing 2.8 acres of habitat to construct the proposed

 exclusion buffer enclosure. 15 In addition to a direct loss of habitat, construction-related clearing,

 especially during non-winter months, is likely to result in direct mortality or impaired fitness of



 14
   Letter to U.S. Fish and Wildlife discussing the request to initiate formal consultation for the
 Commonwealth Project under CP19-502 Dkt. No. CP19-502, 30 (May 4, 2021) (eLibrary No.
 20210504-3050) (“Biological Assessment”).
 15
      Id.

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 Louisiana Bucket Brigade, PACAN, Sierra Club, and RESTORE                               August 3, 2021
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                                                                                                JA177
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                                FEDERAL ENERGY REGULATORY COMMISSION
                                             WASHINGTON, D.C. 20426


         OFFICE OF ENERGY PROJECTS
                                                           In Reply Refer To:
                                                           OEP/DG2E/Gas Branch 1
                                                           Commonwealth LNG, LLC
                                                           Commonwealth LNG Project
                                                           Docket Nos. CP19-502-000,
                                                              CP19-502-001
                                                           § 375.308(x)
        September 15, 2021

        VIA FERC Service

        David L. Wochner
        Timothy J. Furdyna
         K&L Gates LLP
         1601 K Street, NW
         Washington, DC 20006

         Re:    Environmental Information Request

         Dear Mr. Wochner:

               The information described in the enclosure is required for our analysis of the
        above-referenced application. Please file a complete response within 15 days of the
        date of this letter.

               If certain information cannot be provided within this time frame, please indicate
        which items will be delayed and provide a projected filing date. You should be aware
        that the information described in the enclosure is necessary for us to continue
        preparation of the National Environmental Policy Act document. We will establish
        a schedule for completing the environmental document based upon an expectation
        of timely and complete responses to our information requests.

               File your response in accordance with the provisions of the Federal Energy
        Regulatory Commission’s (Commission’s) Rules of Practice and Procedure. In
        particular, 18 Code of Federal Regulations (CFR) 385.2005 requires all responses to be
        filed under oath by an authorized Commonwealth LNG, LLC representative, and 18 CFR
        385.2010 (Rule 2010) requires service to each person whose name appears on the official
        service list for this proceeding.




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                 Electronic filing is encouraged using the Commission’s eFiling system (see
         http://www.ferc.gov/docs-filing/efiling.asp). Be sure to prepare separate volumes, as
         outlined on the Commission’s website at http://www.ferc.gov/resources/guides/filing-
         guide/file-ceii.asp, and label all controlled unclassified information (CUI) as described at
         https://www.ferc.gov/docs-filing/labeling-guidance.pdf. Critical Energy Infrastructure
         Information (CEII) (e.g., plot plans showing equipment or piping details) and privileged
         information (PRIV) (e.g., cultural resources material containing location, character, or
         ownership information; trade secret information; proprietary information) should be filed
         as non-public and labeled as: “CUI//CEII– DO NOT RELEASE” (18 CFR 388.113),
         “CUI//PRIV – DO NOT RELEASE” (18 CFR 388.112), and as otherwise appropriate
         with other statutes for labeling CUI (e.g., “CUI//CEII/SSI – DO NOT RELEASE” and
         in accordance with 49 CFR 15.13 marking requirements). All CUI should be filed
         separately from the remaining information, which should be marked “Public.” For
         assistance with the Commission’s eFiling system, please contact FERC Online Support
         at FERCOnlineSupport@ferc.gov, (866) 208-3676 (toll free), or (202) 502-8659 (TTY).

              In addition, effective July 1, 2020, hardcopy deliveries to the Commission’s
        headquarters in Washington D.C. will only be accepted through the U.S. Postal Service.
        Hand-deliveries and submissions sent through carriers other than the U.S. Postal Service
        must be sent to 12225 Wilkins Avenue, Rockville, Maryland 20852 for processing (see
        Docket No. RM19–18–000; Order No. 862).

               For all materials submitted, in addition to the copies filed with the Secretary of the
        Commission, please provide an electronic copy directly to our third-party environmental
        contractor, Cardno (one each to John Brewer and Kim Sechrist).

              If you have any questions, please contact me at (202) 502-8559. Thank you for
        your cooperation.

                                                           Sincerely,


                                                           Nancy Fox-Fernandez
                                                           Environmental Project Manager
                                                           Office of Energy Projects
        Enclosure




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                                                                                             JA179
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        Enclosure

                             Commonwealth LNG, LLC (Commonwealth)
                                Commonwealth LNG Project (Project)
                              Docket Nos. CP19-502-000, CP19-502-001

                         ENVIRONMENTAL INFORMATION REQUEST

         Resource Report 2
         1.    Provide an update regarding the status of the U.S. Army Corps of Engineers
               wetland jurisdictional determination for the newly proposed pipeline route.

        2.     As requested by the National Marine Fisheries Service (NMFS) in their filing on
               June 25, 2021 (accession no. 20210625-5078), provide an update on the status of
               the final Beneficial Use of Dredge Materials (BUDM) plan. The NMFS has stated
               that the following should be included in the BUDM plan:

               a. success criteria and a monitoring plan for the BUDM areas and restoration of
                  the slurry pipeline rights-of-way;
               b. a Dredge Material Management Plan for the BUDM excess dredge materials
                  that would be placed at the Nearshore Disposal Area in the Gulf of Mexico
                  south of Holly Beach; and
              c. a resolution regarding the concern of NMFS that Commonwealth’s currently
                 proposed target construction and target settled elevations for the BUDM
                 could adversely impact essential fish habitat at the site.
              Include NMFS requested information in the final plan.

        Resource Report 5
         3.    Regarding the environmental justice communities within 10 miles of the LNG
               Terminal site and crossed by the pipeline route, as identified by Commonwealth in
               its Response to Environmental Information Request Dated July 16, 2021
               (submitted to FERC on August 5, 2021; accession no. 20210805-5099), describe
               outreach efforts to identify and communicate with these groups and individuals
               and the measures used to avoid and minimize Project impacts on the groups and
               individuals. Also, identify any efforts to continue outreach to environmental
               justice communities, including efforts to provide notices and Project information
               materials at places that are frequently visited within the community.

         4.    Provide an Environmental Justice Analysis by census block group for all off-site
               Park and Ride locations that Commonwealth would use to bus workers to the
               Project site during construction. The analysis should include a discussion of


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                                                                                         JA180
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              impacts on Environmental Justice communities related to traffic, socioeconomics,
              air, and noise.

        5.    For any identified environmental justice communities that would be affected by
              the Park and Ride locations, describe outreach efforts to identify and communicate
              with these groups and individuals and the measures used to avoid and minimize
              Project impacts on the groups and individuals. Also, identify any efforts to
              continue outreach to environmental justice communities that would be affected by
              the Park and Ride locations, including efforts to provide notices and Project
              information materials at places that are frequently visited within the community.

        Resource Report 6
         6.    Regarding the Horizontal Directional Drill (HDD) Feasibility Analysis filed by
               Commonwealth on August 17, 2021 (accession no. 20210817-5051), provide the
               following:

               a. Project HDD-specific geotechnical data consisting of borings associated with
                  the proposed HDD crossing of Highway 27/82;

               b. a hydrofracture analysis based on geotechnical borings collected at the
                  proposed HDD crossing of Highway 27/82; and

              c. an updated HDD Feasibility Analysis containing the site-specific geotechnical
                 data, including the site-specific geotechnical boring data added to the cross
                 sections within the HDD Feasibility Analysis.

        Resource Report 8
         7.    The Traffic Impact Study identified a single 80-acre parcel as a potential site for
               an off-site Park and Ride location. Provide land use impacts associated with this
               site, as well as any additional off-site parking areas that have been identified.

        Resource Report 9
         8.    In response to a comment filed on August 12, 2021 (accession no. 20210812-
               5160), discuss Commonwealth’s rationale for using the Lake Charles Regional
               Airport (WBAN 03937), located approximately 41 kilometers north of the Project
               site, as the representative site for meteorological data for AERMOD modeling
               versus using a more local station, such as the NOAA weather buoy located at
               Calcasieu Pass (Station CAPL1 – 8768094).

         9.    Clarify table 6.2 of Commonwealth’s Class II Modeling Report in Support of Part
               70 (Title V) Operating Permit and Prevention of Significant Deterioration Permit,
               filed on August 17, 2021 (accession no. 20210817-5051) in the following ways:


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               define the scenarios (column 3); provide the National Ambient Air Quality
               Standards (NAAQS) exceedances for each scenario; and provide the Significant
               Impact Levels relative to the values in the table and explain how those values do
               not exceed the Significant Impact Levels.

        10.    Provide the farthest distance from the proposed facility where any exceedance of
               the NAAQS is predicted by the model.

        Resource Report 10
         11.   Regarding Commonwealth’s August 17, 2021 filing containing alternative facility
               sites (accession no. 20210817-5051), as previously requested for alternative
               Terminal sites in the February 11, 2020 Environmental Information Request,
               provide estimated distances for feed gas pipelines, utility lines, and access roads to
               reach each of the alternative Terminal sites assessed. For each, provide the
               corresponding number of waterbodies and roads, acres of wetlands and forested
               land that would require crossing, and the number of residences within 50 feet.

         12.   In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
               on August 3, 2021 (accession no. 20210803-5103) regarding Monkey Island as a
               potential option for an alternative facility site, Commonwealth has previously
               noted that the west side of Monkey Island is under lease by Monkey Island LNG.
               However, the planned CP2 LNG project (PF21-1-000) proposes to construct a
               portion of its facilities within an area that Commonwealth previously noted was
               unavailable. Reassess Monkey Island as a potential alternative facility site.

         13.   In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
               on August 3, 2021 regarding Commonwealth’s proposed LNG storage capacity,
               discuss whether Commonwealth could reduce the footprint of the Terminal site by
               reducing to five the number of 50,000 cubic meter (m3) LNG storage tanks
               Commonwealth would construct and still achieve a total LNG storage capacity
               (250,000 m3) that is 10,000 m3 greater than the volume proposed by
               Commonwealth in its August 2019 application (240,000 m3).

        14.    In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
               on August 3, 2021 regarding Commonwealth’s proposed liquefaction processes,
               assess the feasibility and emissions output of potential alternative liquefaction
               processes (e.g., Air Products and Chemicals, Inc. C3MR or DMR processes) and
               liquefaction train power sources (i.e., electric drives vs. gas-fired turbines; simple-
               cycle vs. combined-cycle on-site generation) relative to Commonwealth’s
               proposed approach.




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                                                                                              JA182
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        15.   In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
              on August 3, 2021 regarding Commonwealth’s proposed Terminal power source,
              provide the following:

              a. a quantification of acreage by land use type of the rights-of-way that would be
                 required for the primary and back-up transmission lines to connect the LNG
                 Terminal to the nearest available substations and connect the Terminal to grid
                 power (as described in section 10.8.1 of Resource Report 10).

              b. a discussion regarding whether Commonwealth could use existing transmission
                 lines in the vicinity of the Project site to provide power to the Terminal;

              c. a discussion, if Commonwealth would not be able to use existing transmission
                 lines, about whether the transmission line that Commonwealth would need to
                 construct to the closest power substation could use or overlap with the right-of-
                 way of the existing transmission lines;

              d. comparison of the feasibility and emissions output of using combined cycle
                 power generating units, which are most commonly used for constant electrical
                 loads, instead of simple cycle electric generation units, which are most
                 commonly used to respond to peaking power demands and often not expected
                 to run constantly; and

              e. a discussion regarding the feasibility of siting Commonwealth’s proposed
                 electric generation units at a location that is not within the currently proposed
                 Terminal footprint as a method to reduce impacts on wetlands and wildlife
                 habitat (including potential eastern black rail habitat).




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                                                                                            JA183
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                                Dated September 15, 2021

                          Submitted to FERC on September 30, 2021

 Resource Report 10 – Alternatives

 13.   In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
       on August 3, 2021 regarding Commonwealth’s proposed LNG storage capacity,
       discuss whether Commonwealth could reduce the footprint of the Terminal site by
       reducing to five the number of 50,000 cubic meter (m3) LNG storage tanks
       Commonwealth would construct and still achieve a total LNG storage capacity
       (250,000 m3) that is 10,000 m3 greater than the volume proposed by
       Commonwealth in its August 2019 application (240,000 m3).

       Response:

       Commonwealth has already reduced the footprint of the Terminal site by approximately
       13% (~17 acres) compared to the initial proposed footprint of the Terminal site. In its
       August 2019 application, Commonwealth proposed the use of six 40,000 cubic meter
       single containment storage tanks. The overall site plan revision A has been provided in
       Attachment Q.

       During the project development, the decision was made to modify the storage tank design
       from a single containment to a full containment tank which significantly reduced the
       required spacing between the storage tanks. As a result the facility’s overall footprint was
       reduced by approximately 17 acres. However, at that time the outer walls of the LNG
       storage tanks were fabricated from 9%-Ni steel.

       Question 94 of FERC’s January 2, 2020, Engineering Information Request addressed the
       9%-Ni steel outer wall of the tank, pointing out that 49 CFR § 193.2161 requires an outer
       wall serving as a dike must be constructed of concrete, and suggested Commonwealth
       consider an alternative approach. Commonwealth knew that current regulations at 49 CFR
       § 193.2161 required concrete but believed that it had a design improvement. However,
       after considerable work Commonwealth concluded the approval process for a special
       permit from PHMSA was not economically feasible and elected to propose an alternative
       approach that used an outer wall constructed of concrete, as required by 49 CFR §
       193.2161. It was this design, as well as increasing the storage tank capacity to 50,000
       cubic meters each that was in the amended Application submitted July 8, 2021. The latest
       overall site plan revision F has been provided in Attachment R.

       Commonwealth increased the storage tanks capacity, and overall storage volume for the
       Commonwealth LNG facility, to benefit operating flexibility during adverse weather events.
       We further assessed channel closures due to fog and other weather-related events and
       determined that additional storage capacity is required to minimize shutdowns and to
       reduce the environmental impact associated with each startup. The additional storage
       capacity allows the facility to continue operating, possibly at a reduced rate, until such
       weather event has passed, and LNG carriers can resume operation.




                                                                                          JA184
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       Importantly, the modification in the amended Application does not increase or decrease
       the overall site plan as shown in revision F. The terminal footprint would not be reduced
       by eliminating one of the six storage tanks.

       The design of the Commonwealth LNG facility has been optimized to make the most
       efficient use of land for any US LNG facility. With a total of 118.8 acres affected by
       construction and operation for the facility producing 8.4 MTPA this results in approximately
       14 acres per million tonnes of LNG produced annually. Comparatively, Commonwealth’s
       footprint is considerably smaller per MTPA than any other existing or approved US LNG
       export facility.

  LNG Export Facility                  Location                 Build       LNG          Acres
                                                                Acres      Design         per
                                                                           MTPA          MTPA
  Commonwealth LNG                  Cameron, LA                 118.8        8.4          14
  Magnolia LNG                    Lake Charles, LA               129          8.8          15
  Freeport LNG                       Freeport, TX                380          20           19
  Gulf LNG                         Pascagoula, MS                227        10.85          21
  Port Arthur LNG                  Port Arthur, TX               600          27           22
  Dominion Cove Point                 Lusby, MD                  115         5.0           23
  Cameron LNG                       Hackberry, LA                572          25           23
  Corpus Christi LNG              Corpus Christi, TX             345          15           23
  Lake Charles LNG                Lake Charles, LA               387         16.5          23
  Calcasieu Pass                    Cameron, LA                  260          10           26
  Jordan Cove                       Coos Bay, OR                 203         7.8           26
  Sabine Pass LNG                Cameron Parish, LA              870          30           29
  Texas LNG                        Brownsville, TX               120           4           30
  Plaquemines LNG              Plaquemines Parish, LA            620          20           31
  Driftwood LNG                 Calcasieu Parish, LA             883         27.6          32
  Rio Grande LNG                   Brownsville, TX               970          27           36
  Golden Pass                      Port Arthur, TX              800+          16          50+
  Eagle LNG                        Jacksonville, FL               92           1           92
  Southern LNG Elba                 Savannah, GA                 247          2.5          99
  Island

       Below is the channel closure history for 2021 showing a typical year with closures from
       high wind, fog, and other weather-related events.

  Closure History
  Event           Date/Time               Remarks
  Channel Closed 12/31/2020 1:15          Due to high winds/rough seas
  Channel Open    1/1/2021 10:00          All traffic




                                                                                          JA185
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  Closure History
  Event             Date/Time          Remarks
  Channel Closed    1/6/2021 23:00     Due to high winds/rough seas
  Channel Open      1/7/2021 6:00      All traffic
  Channel Closed    1/10/2021 16:42    Due to high winds/rough seas
  Channel Open      1/11/2021 11:00    All traffic
  Channel Closed    1/20/2021 4:30     Due to fog
  Channel Open      1/21/2021 8:00     Outbound traffic only
  Channel Closed    1/21/2021 23:30    Due to fog
  Channel Open      1/23/2021 10:00    All traffic
  Channel Closed    1/23/2021 15:15    Due to fog
  Channel Open      1/25/2021 5:30     All traffic, inbounds first
  Channel Open      1/25/2021 12:00    All traffic
  Channel Closed    1/25/2021 9:30     Due to fog
  Channel Open      1/26/2021 3:30     All traffic, inbounds first
  Channel Open      1/26/2021 9:00     All traffic
  Channel Closed    2/9/2021 0:30      Due to fog
  Channel Open      2/11/2021 9:00     All traffic
  Channel Closed    2/14/2021 14:30    Due to inclement (freezing) weather
  Channel Open      2/17/2021 10:00    All traffic
  Channel Closed    2/17/2021 10:10    Due to inclement (freezing) weather
  Channel Open      2/18/2021 7:00     All traffic
  Channel Closed    2/20/2021 5:00     Due to fog
  Channel Open      2/20/2021 11:00    All traffic
  Channel Closed    2/22/2021 1:30     Due to fog
  Channel Open      2/22/2021 8:00     All traffic
  Channel Closed    2/23/2021 3:20     Due to fog
  Channel Open      2/23/2021 10:30    All traffic
  Channel Closed    2/24/2021 20:00    Due to fog
  Channel Open      2/25/2021 9:30     All traffic
  Channel Closed    2/26/2021 1:40     Due to fog
  Channel Open      2/26/2021 14:30    All traffic
  Channel Closed    2/26/2021 19:00    Due to fog
  Channel Open      3/1/2021 15:30     All traffic
  Channel Closed    3/12/2021 23:20    Due to fog
  Channel Open      3/13/2021 12:00    All traffic
  Channel Closed    3/15/2021 1:30     Due to fog
  Channel Open      3/15/2021 13:00    All traffic
  Channel Closed    3/15/2021 21:00    Due to fog
  Channel Open      3/16/2021 11:30    Outbound traffic only
  Channel Open      3/16/2021 17:00    All traffic
  Channel Closed    3/24/2021 23:57    Due to high winds/rough seas




                                                                                   JA186
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  Closure History
  Event             Date/Time          Remarks
  Channel Open      3/25/2021 13:00    Outbound traffic first
  Channel Closed    3/26/2021 19:30    Due to fog
  Channel Open      3/27/2021 12:00    All traffic
  Channel Closed    3/27/2021 23:30    Due to fog
  Channel Open      3/28/2021 10:30    All traffic
  Channel Closed    3/30/2021 20:00    Due to fog
  Channel Open      3/31/20201 14:00   Outbound traffic first
  Channel Closed    4/1/2021 1:45      Due to high winds/rough seas
  Channel Open      4/1/2021 9:30      All traffic
  Channel Closed    4/13/2021 20:45    Due to high winds/rough seas
  Channel Open      4/14/2021 7:30     All traffic
  Channel Closed    4/15/2021 2:00     Due to fog
  Channel Open      4/15/2021 6:00     All traffic
  Channel Closed    4/23/2021 1:40     Due to high winds/rough seas
  Channel Open      4/23/2021 9:00     All traffic
  Channel Closed    4/30/2021 14:30    Due to Riverfest boat races
  Channel Open      4/30/2021 18:00    All traffic
  Channel Closed    5/1/2021 8:30      Due to Riverfest boat races
  Channel Open      5/1/2021 18:00     All traffic
  Channel Closed    5/1/2021 20:30     Due to Riverfest fireworks display
  Channel Open      5/1/2021 22:00     All traffic
  Channel Closed    5/18/2021 12:45    Due to high winds/rough seas
  Channel Open      5/19/2021 10:00    Inbound first, then all traffic
  Channel Closed    5/21/2021 17:30    Due to high winds/rough seas
  Channel Open      5/22/2021 13:30    All traffic
  Channel Closed    5/23/2021 0:30     Due to rough seas and channel obstruction at LB 30
  Channel Open      5/23/2021 10:00    All traffic
  Channel Open      8/26/2021 19:00    Port Condition Whiskey declared by COTP
  Channel Open      8/27/2021 17:00    Port Condition X-Ray declared by COTP
  Channel Open      8/28/2021 17:00    Port Condition Yankee declared by COTP
  Channel Open      8/29/2021 12:00    Port Condition Normal declared by COTP


       Response prepared by:
       Name: Hans Verswijver
       Affiliation: Commonwealth LNG
       Phone: 346-352-4443




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 Resource Report 10 – Alternatives

 14.   In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
       on August 3, 2021 regarding Commonwealth’s proposed liquefaction processes,
       assess the feasibility and emissions output of potential alternative liquefaction
       processes (e.g., Air Products and Chemicals, Inc. C3MR or DMR processes) and
       liquefaction train power sources (i.e., electric drives vs. gas-fired turbines; simple-cycle
       vs. combined-cycle on-site generation) relative to Commonwealth’s proposed approach.

       Response:

       Commonwealth selected the Air Products SMR process because it has been proven to be
       an efficient process for mid-scale LNG facilities. At Commonwealth’s 1.4 MTPA train
       capacity the SMR process has similar, but slightly lower efficiency as the C3MR or DMR
       processes but with fewer pieces of equipment and a substantially reduced footprint. The
       C3MR and DMR processes are most often used in much larger LNG trains, typically over
       4 – 5.5 MTPA each. Within a liquefaction technology, the process efficiency is affected by
       the efficiency performance of the combustion turbine that drives the refrigeration
       compressor. Commonwealth has designed the facility to optimize the amount of time that
       the machine can operate at peak efficiency. If a more efficient process is employed for the
       same available power, the emissions would remain the same, but the volume of LNG
       produced would increase. Emissions would not be reduced.

       Commonwealth has relied on the industry experts to design our mid-scale facility to not
       only be cost-effective, but also to minimize environmental impacts and to minimize the
       overall footprint of the facility.

       One such improvement is the Commonwealth LNG export terminal is designed to take
       advantage of waste heat recovery from the six gas turbines that are driving the mixed
       refrigerant compressors. The gas turbine exhaust heat is recovered and used in the feed
       gas pretreatment facility, thereby eliminating four fired oil heaters which reduces CO2
       emissions by 242,000 metric tons per year.

       Early in the project development, we evaluated the use of electric motor drives versus gas
       turbine drives. When considering the use of electric motors, we evaluated production of
       electrical power on our site using both simple cycle and combined cycle power plants, and
       we evaluated purchasing commercially available electric power. The facility requires
       approximately 60 MW per train to drive the refrigeration compressors, for a total of 360
       MW. An additional 120 MW is necessary for auxiliary electrical loads, for a total of 480
       MW.

       The use of a combined cycle power plant was evaluated. A 500 MW power plant would
       be required to drive the refrigeration compressors using electric motors, and to also
       provide the 120 MW auxiliary load needed for the balance of the plant.




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       Such a power plant would require an additional 100 acres, thus essentially doubling the
       current overall footprint and environmental impact. Upon further analysis, the conclusion
       was reached that converting natural gas to electricity, then back to mechanical power, with
       variable frequency drive (VFD) electrical motors, is not the most efficient solution. The
       losses associated with the high voltage gear and the VFDs eliminate any benefit such
       solution may have in comparison with gas turbine direct mechanical drive of the
       refrigeration compressors and recovery of the gas turbines waste heat.

       We also considered using commercially available electricity in lieu of building an onsite
       500 MW power plant. A comprehensive review was conducted with Jefferson Davis
       Electric Cooperative (JDC). A power distribution company was brought in to assess the
       feasibility to provide the Commonwealth facility with high voltage power from the local
       electrical grid. It was determined that Entergy would need to make modifications to the
       existing grid and to add additional generating capacity within the Lake Charles area in
       order to deliver sufficient power to the Terminal site. When taking into account the various
       parameters such as reliability, availability, efficiency, footprint, and environmental impact,
       as well as the overall economics, the conclusions were reached to: use gas turbines for
       direct drive of the refrigeration compressors; incorporate waste heat recovery and
       eliminate four oil fired heaters thus further reducing emissions; and install a simple cycle
       power plant for the 120 MW auxiliary loads required for the balance of plant.

       Our concerns about reliability and availability were confirmed when hurricanes Laura and
       Delta passed through Cameron Parish during the 2020 hurricane season. The result was
       that the high voltage power transmission lines that delivered electrical power to the
       Cameron LNG facility were damaged and Cameron LNG was left inoperable for an
       extended period of time. On August 20, 2020, Cameron LNG announced that its third train
       had begun commercial operations. Seven days later Hurricane Laura made landfall near
       Cameron Louisiana as a category 4 hurricane damaging, among many other things, the
       power lines that allowed Cameron LNG to operate. The Cameron LNG facility does not
       generate power onsite but relies solely on the purchase of commercially available
       electricity.

       The Cameron LNG facility survived the storm with minimal damage. Entergy restored
       partial electric power to Cameron LNG on September 18, 2020, and Cameron LNG
       resumed receiving feed gas 33 days after the storm, on September 27, 2020. In contrast,
       nearby Sabine Pass LNG was also affected by Hurricane Laura on August 27. But at the
       Sabine Pass terminal, onsite generators consume natural gas to provide the facility with
       electric power. Feed gas deliveries to the Sabine Pass terminal resumed just 6 days later
       on September 2, 2020. Both Cameron LNG and Sabine Pass LNG use gas turbines for
       direct mechanical drive of the refrigeration compressors.

       More recently, on September 14, 2021 hurricane Nicholas made landfall near Sargent,
       Texas as a Category 1 hurricane. As a result, the Freeport LNG facility lost power and
       was forced to shut down and remained offline for an extended period. These experiences




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       confirm that being dependent on the local grid is a risk for an LNG facility in Southwest
       Louisiana and the Texas Gulf coast.

       It is worth mentioning that at Cameron, Louisiana, nearby the Commonwealth LNG site,
       one year after Hurricane Laura, the high voltage power lines have not been restored and
       the community does not have access to electrical power from the state-wide power grid,
       but rather is being serviced by distributed diesel powered generators.

       Commonwealth LNG’s current design uses gas turbines for direct drive of the refrigeration
       compressors and, much like Sabine Pass terminal, has onsite gas turbines – generator
       sets that will consume natural gas to provide the facility with 120 MW of auxiliary electric
       power that is needed. The facility is designed to minimize environmental impacts while
       being almost as efficient as a combined cycle plant.


       Response prepared by:
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 Resource Report 10 – Alternatives

 15.   In response to Sierra Club et. al.’s comments filed on the Commonwealth docket
       on August 3, 2021 regarding Commonwealth’s proposed Terminal power source,
       provide the following:

       a.     a quantification of acreage by land use type of the rights-of-way that would be
              required for the primary and back-up transmission lines to connect the LNG
              Terminal to the nearest available substations and connect the Terminal to grid
              power (as described in section 10.8.1 of Resource Report 10).
       b.     a discussion regarding whether Commonwealth could use existing transmission
              lines in the vicinity of the Project site to provide power to the Terminal;
       c.     a discussion, if Commonwealth would not be able to use existing transmission
              lines, about whether the transmission line that Commonwealth would need to
              construct to the closest power substation could use or overlap with the right-of-
              way of the existing transmission lines;
       d.     comparison of the feasibility and emissions output of using combined cycle
              power generating units, which are most commonly used for constant electrical
              loads, instead of simple cycle electric generation units, which are most
              commonly used to respond to peaking power demands and often not expected
              to run constantly; and
       e.     a discussion regarding the feasibility of siting Commonwealth’s proposed
              electric generation units at a location that is not within the currently proposed
              Terminal footprint as a method to reduce impacts on wetlands and wildlife
              habitat (including potential eastern black rail habitat).

       Response:

       a.
       A comprehensive evaluation for providing electrical power to the Commonwealth site was
       conducted by JDC and their proposed partner American Transmission Company (ATC).
       Their proposed options are included in the Attachment S (CUI/PRIV). Several options
       were considered, and all pose significant issues regarding Entergy upgrades to existing
       systems, new Entergy substations, and long transmission lines. The costs associated with
       the proposed transmission lines are excessive and could not be supported by the Project.

       One of the options included a pole line from the Mud Lake substation to the
       Commonwealth site, with redundant circuits. This is the same substation to which
       Cameron LNG is connected, and which left that LNG export terminal without power for an
       extended period of time during the 2020 hurricane season.

       In all the considered scenarios, the Nelson power station north of Lake Charles would be
       the primary source for the electrical power generation required by the Commonwealth
       facility. The Nelson station is an old facility primary fueled by coal.




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        Please find a quantification of acreage by land use type of the right-of-way that would be
        required for the primary and back-up transmission lines to connect the LNG Terminal to
        the nearest available substations and connect the Terminal to grid power (as described in
        section 10.8.1 of Resource Report 10) in Table EIR-7, RR 10, Request 15a, Table 1.

                              EIR-7, RR 10, Request 15a, Table 1

                  Analysis of the Primary and Back-Up Transmission Lines




                                                                           Transmission



                                                                                          Transmission
                                                                                            Back-Up
                                                                              Primary
  Alternative




                                                                               Line



                                                                                              Line
                                                                Units
  Environmental/ Engineering Factors


  Length                                                         Mile        29.3             45.8
  Parallel/Adjacent to Existing Right-of-Way                     Mile        26.7             33.2
  Land Use (NLCD):
      Barren Land                                               Acres         1.9             5.9
      Cultivated Crops                                          Acres         0.0            85.6
      Deciduous Forest                                          Acres         1.1             0.0
      Developed                                                 Acres        89.5            41.9
      Emergent Herbaceous Wetlands                              Acres        221.3           221.5
      Evergreen Forest                                          Acres          0.1             2.1
      Mixed Forest                                              Acres          1.6             0.7
      Grassland/Herbaceous                                      Acres         5.1             36.2
      Open Water                                                Acres         16.7            34.3
      Pasture/Hay                                               Acres         16.0           121.1
      Shrub/Scrub                                               Acres          0.2             1.6
      Woody Wetlands                                            Acres          1.3             5.0
  Length and area based on GIS analysis and rounded.
  *Acreage based on 100-foot-wide right-of-way.

        b.
        Existing transmission lines do not have the (500 MW) capacity needed to serve the
        Commonwealth LNG export facility. It should also be noted that the existing pole line,
        serviced by JDC, was severely impacted by hurricanes Laura and Delta during the 2020
        hurricane season. JDC has confirmed that to this date, September 2021, more than a year
        since hurricanes Laura and Delta, the power reinstated along Gulf Beach Highway is
        solely provided from temporary rental power generators, approximately 50 MW, running
        on liquefied petroleum gas.




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       The entire JDC distribution grid that serves the local community is less than 60 MW of
       total capacity.

       c.
       The comprehensive evaluation conducted by JDC and ATC, provided in Attachment S
       (CUI PRIV), is based on using existing rights-of-way to the extent practicable.

       d.
       The Commonwealth LNG facility is based on using gas turbines to drive the mixed
       refrigerant compressors, and to recover the gas turbine ‘waste’ heat for use elsewhere in
       the facility. The waste heat generated by the hot gas turbine exhaust is used in the feed
       gas pretreatment process and eliminates the need for four gas fired oil heaters, thus also
       eliminating the associated emissions. The current design includes only one oil heater
       which would only be used during facility start-up.

       During the early engineering development phase, Commonwealth learned that if the
       facility were to use electrical drives, that the electrical losses from the new substation,
       proposed north of the highway, to the six (6) x 60 MW electrical drives was estimated to
       be between 15 to 25 percent. These losses originate from the high voltage switch gear
       and the variable frequency drives needed to operate each of the six (6) 80,000 horsepower
       electrical motors.

       e.
       To relocate the auxiliary load generation units offsite, would expose the facility to the
       reliability issues associated with pole lines and the ever-constant threat from hurricanes
       and weather events. Having the auxiliary generators inside the facility and better protected
       from any storm, hurricane, or adverse weather event by being placed behind the protective
       surge wall, with minimum distances to the loads served, significantly reduces the risk of
       power failures and thereby increases the reliability and availability of the facility. Some
       discussions have been had to consider connecting the facilities auxiliary load generating
       capacity to the local Gulf Beach Highway pole line. Such a connection could serve as a
       backup to the local community in the event of future power outages. As pointed out before,
       more than a year after the 2020 hurricane season, JDC is still operating with rental
       generators.


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         Resource Report 9 – Air and Noise Impacts
         1.         Provide the cumulative modeled concentrations of criteria pollutants at any identified
                    Environmental Justice communities that would exceed the National Ambient Air Quality
                    Standards (NAAQS) during construction or operation of the proposed facility. The
                    cumulative model should include background concentrations and pollutant sources that
                    would impact those communities. Based on the modeling developed, clearly identify the
                    potentially affected Environment Justice populations by block group for the
                    corresponding distance (radius) of air emissions.

                    Response:

                    The Project is not located within an Environmental Justice (EJ) community. The nearest
                    EJ communities identified according to the criteria specified in EIR-6, RR 5, Request 2 are
                    separated from the LNG Facility and Pipeline by major waterbodies (i.e., the Calcasieu
                    River and Calcasieu Ship Channel to the east; Calcasieu Lake to the north).
                    Commonwealth’s Class II Modeling Report in Support of Part 70 (Title V) Operating Permit
                    and Prevention of Significant Deterioration Permit (Class II Modeling Report; Accession
                    No. 20210817-5051) provided the estimated air quality impacts associated with the
                    Project’s direct emissions. For criteria pollutants and averaging periods whose maximum
                    impacts were predicted to be below the Significant Impact Levels (SILs) in the Significance
                    Modeling Analyses (project sources only) in the Class II Modeling Report, air dispersion
                    modeling was performed using receptors located at the point within the identified EJ
                    communities nearest to the Project. The maximum modeled impacts of the project sources
                    only are compared to the SILs and presented in EIR-8, RR 9, Request 1, Table 1 below.
                    Estimated emissions of these criteria pollutants were below the SILs; therefore, no further
                    modeling was necessary.

                                             EIR-8, RR 9, Request 1, Table 1
                          Modeled Air Quality Impacts at Nearest Point within Defined EJ Sector
                                                   Project Sources Only
                                                            Tract 9702.01        Tract 9701       Tract 9702.01
                                         Significant      BG3: Maximum BG1: Maximum BG1: Maximum
                                        Impact Level          Modeled             Modeled            Modeled
                           Averaging         (SIL)         Concentration       Concentration      Concentration
          Pollutant           Time          (µg/m3)            (µg/m3)             (µg/m3)           (µg/m3)
                             3-Hour           25.0                2.1                 0.9               0.5
               SO2          24-Hour            5.0               0.78                0.41              0.20
                             Annual            1.0              0.025               0.015             0.012
              PM2.5a        Annualb            0.2              0.036               0.040             0.022
                            24-Hour            5.0               1.20                0.68              0.45
              PM10
                             Annual            1.0              0.042               0.039             0.021
                             1-Hour          2,000               153                 152                 75
               CO
                             8-Hour           500                107                  34                 23
               O3            8-hour         70 (ppb)                 No direct O3 emissions (see below).
                          Rolling 3-mo.
               Pb
                               avg            0.15                     No Pb emissions (see below).




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                                           EIR-8, RR 9, Request 1, Table 1
                       Modeled Air Quality Impacts at Nearest Point within Defined EJ Sector
                                                Project Sources Only
                                                         Tract 9702.01     Tract 9701      Tract 9702.01
                                        Significant     BG3: Maximum BG1: Maximum BG1: Maximum
                                       Impact Level        Modeled          Modeled          Modeled
                        Averaging          (SIL)        Concentration     Concentration   Concentration
          Pollutant       Time            (µg/m3)           (µg/m3)          (µg/m3)          (µg/m3)
         a Secondary formation impacts added
         b Averaged over 5-years




               Ozone (O3) is not emitted from any project source. However, secondary O3 formation
               resulting from the project were analyzed using EPA’s recommended Modeled Emission
               Rates for Precursors (MERPS) Tier I demonstration tool. MERPS predicts the maximum
               O3 impact based on the Project’s O3 precursor (nitrogen oxides and volatile organic
               compound) emissions. The maximum predicted O3 impact plus ambient background was
               66.9 parts per billion (ppb) (8-hour average), which is below the National Ambient Air
               Quality Standards (NAAQS) (70 ppb).

               The project will not be a source of lead; therefore, no analysis for this criteria pollutant was
               required.

               For criteria pollutants and averaging periods that were shown to have exceeded the SILs
               in the Significance Modeling Analyses in the Class II Modeling Report, cumulative air
               dispersion modeling was performed at EJ receptors. The cumulative modeled design
               concentrations at these locations, which include the ambient background concentrations
               and impacts from nearby sources in addition to the Project, are compared to the NAAQS
               in EIR-8, RR 9, Request 1, Table 2 below:

                                           EIR-8, RR 9, Request 1, Table 2
                    Modeled Air Quality Impacts at Nearest Point within Defined EJ Communities
           Cumulative Modeling Analyses (Project Sources + Off-Site Inventory + Ambient Background)
                                                      Tract 9702.01                     Tract 9702.01
                                                      BG3: Modeled      Tract 9701 BG1: BG1: Modeled
                                                          Design        Modeled Design      Design
                        Averaging        NAAQS        Concentration      Concentration  Concentration
          Pollutant        Time          (µg/m3)         (µg/m3)            (µg/m3)         (µg/m3)
                          1-houra          188             169                172             183
             NO2
                          Annual           100             1.53               1.13            0.31
             SO2          1-Hourb          196             65.3               63.5            59.2
            PM2.5c       24-Hourd           35             21.5               20.8            20.4
         a Max daily H8H averaged over 5-years
         b Max daily H4H averaged over 5-years
         c Secondary formation impacts added
         d Averaged over 5-years




                                                                                                      JA195
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               As can be seen in the table, the predicted emissions from the Project and from nearby
               sources plus ambient background concentrations do not exceed the NAAQS. Additionally,
               for the 1-hour NO2 design concentrations, the contribution from the Project sources to the
               design concentration are well below 1%.

               Response prepared by:
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               Phone: 770-270-1192




                                                                                                JA196
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         Resource Report 9 – Air and Noise Impacts

         2.    Provide the distances, and a map showing the isopleths, for the farthest distances
               from the proposed facility where any exceedance of the NAAQS is predicted by
               the model provided in response to question 2.

               Response:

               All modeled criteria pollutants and averaging periods showed compliance with the NAAQS
               at all points within the EJ communities within 10 miles of the LNG Terminal site or crossed
               by the pipeline route (as identified in EIR-6, RR 5, Request 2), except for the 1-hour NO2
               standard. The Class II Modeling Report (Accession No. 20210817-5051), predicted
               exceedances of the 1-hour NO2 standard. The modeling was conducted in accordance
               with the approved modeling protocol reviewed and accepted by Louisiana Department of
               Environmental Quality (LDEQ; May 12, 2021). These exceedances were predicted to
               occur even in the absence of the Project. That is, these predicted exceedances are not
               the result of the Project; they are the result of other existing emissions sources in the
               multisource modeling inventory provided by LDEQ and Texas Commission on
               Environmental Quality (TCEQ). These exceedances of the 1-hour NO2 standard are
               shown in the figure below as yellow circles.

               The most distant receptor within an identified EJ community within 10 miles of the LNG
               Terminal site or crossed by the pipeline route that would exceed the NAAQS during
               construction or operation of the proposed LNG Facility was for 1-hour NO2, located
               approximately 1.8 miles to the east of the LNG Facility, as shown in the figure below.
               These exceedances are resultant from existing nearby emission sources included in the
               1-hour NO2 multisource modeling inventory and background ambient air concentrations.
               Commonwealth’s estimated contributions to the modeled exceedances are less than 1%.




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         Resource Report 9 – Air and Noise Impacts

         3.    In your October 5, 2021 response, you state in response to Question 1 that there
               was no modeled exceedance of 1-hr NO2 for EJ tracts 9702.01 BG1, 9701 BG1,
               and 9702.01 BG3. Table EIR-8, RR 9, Request 1, Table 2 shows cumulative
               concentrations of 169, 172, 183 ug/m3 respectively which are below the NAAQS
               of 188 ug/m3. However, in your response to Question 2, you state that "The Class
               II Modeling Report (Accession No. 20210817-5051), predicted exceedances of the
               1-hour NO2 standard" and the figure shows several points of exceedance in Tract
               9702.01 BG1 and BG2. Explain the discrepancy in your responses.

               Response:

               The modeling results presented in EIR-8, RR 9, Request 1, Table 2, Modeled Air Quality
               Impacts at Nearest Point within Defined EJ Communities, Cumulative Modeling Analyses
               (Project Sources + Off-Site Inventory + Ambient Background) were based on the nearest
               point within the defined Environmental Justice (EJ) communities (Tract 9702.01 BG3,
               Tract 9701 BG1, Tract 9702.01 BG1). These three unique receptor locations were defined
               to ensure that the maximum potential air quality impacts from the Project were captured.
               As discussed in the response to EIR-8, RR 9, Request 1, no National Ambient Air Quality
               Standards (NAAQS) exceedances were expected at those three locations.

               The predicted exceedances identified in EIR-8, RR 9, Request 2 are from the full Class II
               air dispersion modeling analysis that included a total of 3,667 receptors (see Section V of
               the Class II Modeling Report [Accession No # 20210817-5051] for details on the receptor
               array), several of which fell inside the identified EJ tracts. These additional receptors within
               the EJ tracts did show exceedances of the NAAQS as shown in the figure provided in the
               response to EIR-8, RR 9, Request 2. However, as discussed in that response, these
               exceedances were predicted to occur even in the absence of the Project. That is, these
               predicted exceedances are not the result of the Project; they are the result of other existing
               emissions sources in the multisource modeling inventory provided by the Louisiana
               Department of Environmental Quality and the Texas Commission on Environmental
               Quality.

               To ensure that FERC has sufficient information to continue review of this issue, EIR-9, RR
               9, Request 3, Table 1 provides the concentration at each of the points of exceedance as
               shown in the figure provided in our response to EIR-8, RR 9, Request 2. Commonwealth’s
               estimated contributions to the modeled exceedances are less than 1%.




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                                          EIR-9, RR 9, Request 3, Table 1
               Modeled NO2 Concentrations at Locations within Defined EJ Communities Showing
                                     Exceedances of the 1-hour NO2 Standard
                                                                                          Modeled
                                                                           Modeled
                                                                                       Concentration
                                                                       Concentration
                                                                                        With Project
                                                                      Without Project
                                                                                          (Project
                                                                           (Off-Site
                                                                                      Sources + Off-
                                                                         Inventory +
                                                                                      Site Inventory +
                                                                           Ambient
                                                                                          Ambient
                                                                        Background)
                   Averaging Receptor Location a                                       Background)
         Pollutant   Period        X (m)      Y (m)      EJ Tract           µg/m3           µg/m3
                                  468,700 3,295,300 9702.01 BG3             204.43         204.44
                                  468,600 3,295,400 9702.01 BG3             193.06         193.06
            NO2     1-Hour b      468,800 3,295,400 9702.01 BG3             189.13         189.56
                                  468,700 3,295,100 9702.01 BG3             188.90         188.97
                                  468,600 3,295,100 9702.01 BG3             188.22         188.22
         a
           UTM NAD83 Zone 15N
         b
           Maximum Daily High 8th High (H8H) Averaged Over 5-Years


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              COMMONWEALTH LNG PROJECT




                                                                   JA201
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          Commonwealth’s position notwithstanding, we note that other LNG projects in the general
                                                                  and Venture Global’s CP2 LNG




                                                                                        JA202
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 23 May 2022

 Kimberly D. Bose, Secretary
 Federal Energy Regulatory Commission
 888 First Street NE, Room 1A
 Washington, DC 20426

 RE: CP19-502 Commonwealth LNG Fossil Gas Export Terminal and associated
 facilities

 Dear Commissioners and Ms. Bose,
 I am writing on behalf of Healthy Gulf1 to incorporate the comments and content
 submitted by Sierra Club et al., regarding the Draft Environmental Impact Statement
 (“DEIS”) prepared for the Commonwealth LNG fossil gas export terminal project.2 We
 advocate the “No Action” alternative. We also wish to clarify the Healthy Gulf position
 on carbon capture and sequestration (“CCS”), in partial reference to the Sierra Club et
 al., comments. CCS is not a solution for the climate crisis. While CCS may be
 feasible, or may be found to be feasible in the future by regulating agencies, Healthy
 Gulf maintains that CCS is a false solution that entrenches the fossil fuel industry even
 further at a time when we need to be transitioning to renewable energy.
         While Healthy Gulf agrees that there is inconsistency in the way other agencies
 have handled CCS proposals versus FERC, we maintain that CCS is ineffective,
 inefficient, unproven and entirely not in the public interest. Below, we summarize
 several ways the public is not served by CCS.
         CCS is prohibitively expensive, energy-intensive, unproven at scale, and does
 not reduce carbon in the atmosphere.3 Of particular importance to targeted
 environmental justice and climate justice communities in Louisiana and Texas, the
 technology also poses environmental, safety, and health risks.4 CCS technology
 entrenches reliance on fossil fuels rather than accelerating the needed transition to




 3




                                                                                  JA203
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                     on the Federal Energy Regulatory Commission’s (FERC or




                                                                 NRDC’s position




                                                                              JA204
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 that the DEIS fails to comply with the National Environmental Policy Act’s (NEPA) requirement

 that agencies take a “hard look” at the en




                                              ealth’s application to export to FTA nations on

                              it would address Commonwealth’s application to export to non




                                                        Commonwealth’s application to export




                                                                                         JA205
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 1091 (N.D. Cal. 2009) (“To fulfill NEPA's goal of providing the public with information to

 assess the impact of a proposed action, the ‘no action’ alternative should be based on the status

 quo.”). Thus, the current alternatives anal



                   as the baseline for the Commission’s NEPA analysis.

                      “no action alternative” in instances involving federal decisions on proposed




            communities “would not be disproportionately high and adverse ”




        s they authorize will have a “disproportionately high and adverse” impact on




                                                                                ’

 Thus, while the agency’s “choice among

 deference,” its analysis must nevertheless be “reasonable and adequately explained.”



                                                            –

                                          he Commission’s

                             for meeting NEPA’s requirements




                                                                                            JA206
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                          “                                   ”

                                                                               –




 squared with the Commission’s duties under NEPA, the APA and the NGA.




                                                                                     –
                (remanding a Commission order in part based on a “deficient”




                                                                                     JA207
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 the “Impacts on Environmental Justice Communities” framework laid out




 Commission also rightly recognizes that a “wide range of data” should inform the Commission’s

                                                                                    to “pre

 conditions” that can exacerbate adverse impacts on                   Under the Commission’s

 articulated framework, analysis of factors such as “air pollution, heat vulnerability, and the




                                                                                        “
                                                                                  al”
                                                      “
                             ”                                           “
                                    ,”         –




                                                                                              JA208
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               existing infrastructure (e.g., bus depots, highways, and waste facilities)” can be

 informed “by a wide range

 clusters, asthma rates, social vulnerability data, and community resilience data.”



       frustrates the Commission’s articulated desire (and legal mandate)     “

                                                             ”

                 Commission’s analysis of air quality impacts improperly conflates NAAQS


                                    consider “every significant aspect of the environmental

                               ”




                                                                                            JA209
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                              —

                      —




                      “

                                                                      …

                                              ” (2) that “t




          ” and (3) that “t                                   ion of Cameron Parish’s

                                                                           ”




                                                                               JA210
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 Applicant’s                                indicates that the “ambient pollution concentrations



                         ”




                      attainment, or a project’s

                                                                  —



                agency’s determination.




                                       Commonwealth’s



                                hour NO2 (229 micrograms per meter cubed [μg/m3]) exceeded

 the NAAQS of 188 μg/m3. Commonwealth conducted a source contribution analysis to




          concludes that “construction
 the Terminal and Pipeline would not be significant.” DEIS at 5



                                                                                          JA211
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 “                                                                                  ” as “



                 ,” that “

 existing background emissions sources from LDEQ’s Emissions and Inventory Reporting Ce

                                      )”       Commonwealth’s “



                     .”                                           “



             ”



 Commission’s dismissal of

                     Commission’s conclusion      because an exceedance “

 in the absence of the Project”




                                                                                     JA212
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 determine whether or not the Project’s




                                                                                        2 (Comm’r

 LaFleur, concurring) (noting that the Commission “has the clear resp




        change. In refusing to assess a project’s climate im



                  363. “
                       physical effects on the environment resulting from the Project’s

                                           Project’s contribution to climate change

                                                        determining the Project’s significance

 characterizing the Project’s GHG emissions as significant or insignificant

                                                        .”
                                                                850 (stating that “there is no

 environment to Project’s incremental contribution to GHGs” and “[w]ithout the ability to
 determine discrete resource impacts, we are unable to determine the significance of the Project’s
 contribution to climate change.”);
                   at P 262 (“The Co
 determine whether a project’s contribution to climate change would be significant.”).




                                                                                            JA213
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        quantitatively or qualitatively, whether the Project’s GHG emissions will have a



        assessments of the extent of the Project’s impact on the environment. The
        Commission’s refusal to similarly analyze the Project’s impact on climate change



           til the Commission actually analyzes the Project’s significance and climate impacts,




 for determining a Project’s significance when compared to established GHG reduction targets at

                                   the DEIS is not characterizing the Project’s GHG emissions as




 Commission is “undertaking a proceeding to identify and finalize and appropriate GHG

 significance threshold” does not cure the legal issues presented by the Commission’s failure to

                                roject’s GHG emissions. Essentially, the Commission is saying




                                                                 , at PP 14, 19 (Comm’r Glick,




                                                                                          JA214
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 Commonwealth’s asserted indirect or lifecycle benefits

 alternative could require “potential                                                            ”

                                          ’s




 Harvey, IPCC report: ‘now or never’ if world is to stave off climate disaster,

                                   (“Jim Skea, a professor at Imperial College London and
 cochair of the working group behind the report, said: ‘It’s now or never, if we want to limit

 will be impossible.’”).




                                                                                           JA215
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                                    ’s




       “effects” or “impacts” becau



       definition than the 2020 rule’s definition of “effects”



                          law standards of “close causal relationship” and “but for”



       definition of “effects” to require that the NEPA regulations limit agency



       and “effects that the
                                            of the proposed action.” These qualifications

                                   on with NEPA’s directives to
       statement on the “environmental impact of [a] proposed action,” “any adverse
       environmental effects which cannot be avoided,” and “the relationship between
                      uses of man’s environment and the ma
               term productivity.”


       such as climate effects, frustrating NEPA’s




                                                                                         JA216
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       While in this “Phase One ”




          The Commission’s DEIS




                                             one of Louisiana’s largest




                                                  ’              ’




                                                                                JA217
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                                                 UNITED STATES OF AMERICA
                                                  DEPARTMENT OF ENERGY
                                          FEDERAL ENERGY REGULATORY COMMISSION

         IN THE MATTER OF                                                            )
                                                                                     )
         Commonwealth LNG, LLC                                                       )                Docket No. CP19-502
                                                                                     )


          Sierra Club, Audubon Society, Center for Biological Diversity, Louisiana Bucket Brigade,

                           Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network

                                   Comments on Draft EIS for the Commonwealth LNG Project



                      Sierra Club, Audubon Society, Center for Biological Diversity, Louisiana Bucket

         Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network submit the

         following comments on the draft environmental impact statement (“DEIS”) for the

         Commonwealth LNG project. The DEIS fails to consider many impacts of the proposed project,

        makes unjustifiably optimistic assumptions about others, and fails to rigorously explore

        alternatives that could reduce these impacts. This project will cause adverse impacts—to the

         environment, surrounding communities, and the nation as a whole—that render it contrary to the

         public interest. Thus, while we offer the below comments identifying deficiencies in the NEPA

         analysis, our position is that FERC and the cooperating agencies relying on FERC’s EIS should

         reject the pending applications.

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        Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network                                          May 23, 2022

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                                                                    I.      Facility Output

                     The Draft EIS states that “The Project would produce 8.4 million metric tonnes per
         annum (MTPA) of LNG for export.” DEIS ES-1. But Commonwealth’s application materials
         reveal that Commonwealth expects the facility to actually be capable of producing more than
        this, roughly 9.5 MTPA. 1 Commonwealth has requested that the Department of Energy (“DOE”)
         authorize this higher volume of exports. 2 And as FERC is aware, LNG export terminals routinely
         come back to FERC and request an increase in authorized operations to match peak, rather than
         purportedly nominal, export volumes. As such, operation of the facility at this 9.5 MTPA volume
         is a reasonably foreseeable future action or effect, if not a connected action, and must be
         considered now.
                     FERC should clarify and/or more clearly demonstrate that the DEIS considers this higher
         level of operation. We appreciate the DEIS’s acknowledgment of our prior comment on this
         issue, and the statement that “the modeled emissions output presented [in the DEIS] assume the


         1
             See, e.g., DEIS at 4-295, 5-394.
         2
             https://www.energy.gov/fecm/articles/commonwealth-lng-llc-fe-dkt-no-19-134-lng.

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        Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network                                       May 23, 2022

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         Terminal would be operating at full capacity.” DEIS 4-199 to 4-200. 3 However, we note that in
         prior dockets, FERC has assumed that increasing liquefaction volumes will not increase
         emissions because such an increase occurs when liquefaction units operate more efficiently, by
         producing more LNG for the same intensity of operations and emissions. It is unclear whether
         FERC has made a similar assumption here—i.e., whether the DEIS is assuming that emissions
         would be the same if 8.4 or 9.5 MTPA of LNG are produced. Such an assumption would be
         inappropriate. Even where liquefaction equipment operates more efficiently to increase output
         without increasing emissions from that equipment, increasing output necessarily increases
         emissions from other sources, such as pretreatment of feed gas—when more gas is liquefied,
         there is more feed gas, and thus more impurities, that must be removed, regardless of how
         efficiently the liquefaction equipment runs. Similarly, increasing LNG output and exports
         necessarily requires additional marine vessel traffic. The DEIS assumes “156 LNG carrier calls
         per year.” DEIS 4-202. FERC should clarify what volume of gas could by transported by this
         amount of carrier traffic, and provide additional detail about the size and characteristics of the
         carriers used in estimating carrier emissions.
                  More broadly, the DEIS does not explain how any operational emission estimates were
         calculated, and does not contain an appendix or any apparent citation to some other document in
         the docket explaining where this information can be found. Without this information, we are
         unable to comment on the validity or appropriateness of the DEIS’s emission estimates.


                                                    II.    Alternatives


                  A.   No Action

                  FERC cannot argue that if the Commonwealth project is rejected, some comparable
         project would take its place. In discussing the no action alternative, the DEIS states:

                         Independent of whether the Project is constructed, other LNG
                         export projects may still be developed in the Gulf Coast region or
                         elsewhere in the United States and these projects would cause both
                         adverse and beneficial impacts on the environment. Terminal and
         3
             Accord DEIS at 4-216, -217, -220

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        Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network   May 23, 2022

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                         pipeline projects of similar scope and magnitude to this Project
                         would likely result in environmental impacts of comparable
                         significance, especially those projects in a similar regional setting.

         DEIS 3-26. First, other LNG projects also require FERC approval. Thus, insofar as FERC
         concludes that this or any other LNG project is contrary to the public interest, FERC has the
         power to deny the project and thereby prevent harm to the public. FERC cannot contend that
         LNG exports are inevitable, and that denying this project would merely divert demand to some
         substitute facility.
                 Second, there is no support for FERC’s claim that other projects would have
         “environmental impacts of comparable significance.” DEIS 3-26. FERC entirely fails to compare
         this project to any other project, much less to demonstrate that the environmental impacts are in
         fact comparable. There is no reason to assume that they are; as we discuss below, different LNG
         designs have different environmental impacts, depending on the facility site, whether the project
         is greenfield or brownfield, the liquefaction technology used, the community setting, etc. While
         the undersigned contend that all of the proposed export projects are contrary to the public
         interest, insofar as exports are to occur at all, part of FERC’s job should be to decide which
         export projects do the least harm to the public interest, rather than simply leaving it to “market
         forces [to] ultimately decide which and how many of these facilities are built.” DEIS 3-27.
         FERC has entirely abdicated that responsibility here, and FERC provides no support for its
         suggestion that choosing the no action alternative here would simply shift demand to a
         comparably harmful project that might not otherwise be built.



                 B.    System Alternatives

                 NEPA requires FERC to rigorously explore all feasible alternatives. Here, the DEIS fails
         to demonstrate that it would be infeasible to use capacity at existing or already approved export
         facilities in lieu of construction of the proposed Commonwealth terminal. The DEIS’s
         conclusion that no such terminal has available additional capacity is arbitrary.




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        Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network   May 23, 2022

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                One type of alternative identified in FERC’s Guidance Manual for Environmental Report
         Preparation are “system alternatives.” 4 As the manual explains:
                        System alternatives are those that would meet the objectives of the
                        project, but would use a different (and often existing) natural gas
                        facility/pipeline system or a different configuration of facilities that
                        would eliminate the need to construct all or part of the project. If
                        modifications or additions to the existing facilities/systems would
                        be required to meet the project objectives, you should quantify the
                        environmental impact of these modifications for comparison with
                        those of the proposed project. …

                        System alternatives should include alternative configurations both
                        on your own system and on one or more other companies’
                        facilities. …

                        Examples of … alternatives using other companies’ facilities[]
                        should include an examination of the current capacities of existing
                        systems, to the extent this information is available, and an
                        assessment of these systems’ ability to individually or in
                        combination meet the objectives of the proposed project. If the
                        existing systems are inadequate, you should examine whether any
                        recently proposed facilities are able to individually or in
                        combination meet the objectives of the proposed project. If these
                        recently proposed facilities are also inadequate, you should
                        examine what new facilities one or more companies would likely
                        need to construct to achieve the objectives of the proposed project.

         Manual at 4-136. Implicit in the requirement to evaluate system alternatives is the understanding
         that the public and the environment benefit when infrastructure is fully utilized, and that it is
         better to build one fully-used project than two partially-used ones.
                Here, the DEIS identifies 24 potential system alternatives. DEIS 3-28 to -29. These
         include 19 “approved, proposed, and/or planned expansion(s)”, and 13 projects that have been
         approved but that have not yet started construction. Id. It is our understanding that many of these
         projects, including all of the projects that have not started construction, are not fully subscribed
         and have uncontracted-for capacity. Thus, if Commonwealth LNG were to secure customers,

         4
          FERC, Guidance Manual for Environmental Report Preparation, at 4-136 (Feb. 2017),
         available at https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.

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         those customers’ needs could instead be met by one or more of these system alternatives, alone
         or in combination. 5
                However, rather than investigate reasonably foreseeable utilization or availability of these
         system alternatives (including a discussion of actual contracts), FERC categorically assumes that
        there is not any capacity on any of them, based solely on the fact that each has applied for or
        received DOE authorization to export to Free Trade Agreement (FTA) countries. DEIS at 3-29.
        Under this approach, FERC will never conclude that there is a feasible system alternative for any
        proposed LNG export terminal, because all such projects always seek FTA authorization for
        their full capacity. This effectively renders the manual’s instruction to consider system
        alternatives a nullity for LNG export facilities. And it is arbitrary for FERC to assume that an
        alternative is infeasible solely because that alternative has applied for or received a separate FTA
        export authorization. At most, the Natural Gas Act’s requirement that DOE automatically
        approve exports to FTA countries indicates that, where such exports actually occur, those
        exports provide benefits that are in the public interest. But nothing in the Natural Gas Act or
        NEPA requires or even permits FERC to assume that all approved FTA exports will in fact
        occur. And in other contexts, both FERC and DOE have candidly acknowledged that many of
        these projects do not have, and may not ever otherwise develop, agreements for their full
        capacity. We are not asking FERC to “speculate,” DEIS at 3-29, about the availability of
        capacity at potential system alternatives: we are instead calling on FERC to engage in a
        reasonable investigation and forecasting, based on concrete information such as the presence or
        absence of contracts for these other facilities—exactly the type of inquiry FERC purports to
        require for pipeline proposals.
                It is arbitrary for the DEIS to conclude that the existence of FTA applications or
        authorizations for these other terminals renders system alternatives that would use already-
        approved projects unavailable or infeasible. The DEIS provides no other analysis or justification

         5
           We agree with the DEIS’s implicit rejection of Commonwealth’s argument that a system
         alternative is only feasible if it would provide the entire desired capacity at a single additional
         terminal. See Protest of Sierra Club et al., Accession 20210803-5303 at 6-8 (criticizing this
         argument). As the manual explicitly states, a viable system alternative may consist of using other
         facilities “in combination” to meet the proposed project’s objectives. FERC, Guidance Manual
         for Environmental Report Preparation, at 4-136.

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         for rejecting such system alternatives. Accordingly, the DEIS fails to rigorously explore potential
         system alternatives.

                 C.    Design Alternatives

                 The DEIS fails to justify rejecting three design alternatives previously identified by Sierra
         Club et al.: (1) using fewer, larger storage tanks than originally proposed, (2) using more
         efficient liquefaction units, and (3) adding waste heat recovery units/using combined cycle
         processes for on-site power generation. In addition, as discussed separately below, the DEIS fails
         to take the required hard look at alternatives utilizing carbon capture and sequestration.
                 On the first, Commonwealth initially proposed a facility with 240,000 cubic meters of
         storage tank capacity, to be provided by six 40,000 m3 tanks. After Commonwealth proposed
         increasing the size of these tanks to 50,000 m3, Sierra Club et al. proposed omitting one of the
         tanks, which would still provide more storage capacity than was originally proposed while also
         allowing Commonwealth to reduce the facility footprint. In dismissing this alternative, the DEIS
         first notes that increasing the size of individual tanks did not increase the overall facility
         footprint. But ‘not worse than what the applicant initially proposed’ cannot the standard by
         which FERC determines whether environmental impacts are significant, contrary to the public
         interest, or justified. If it was, applicants would be incentivized to formulate their initial
         proposals to be as damaging or inefficient as possible. FERC has an obligation to rigorously
         explore whether modifications to the proposed design would reduce impacts and further the
         public interest, 15 U.S.C. 717b(e)(3)(A), and this doesn’t merely mean rejecting alternatives that
         would make impacts worse—it also means affirmatively investigating opportunities to make
         things better. FERC’s alternative ground for rejecting this change is to speculate that reducing
         storage from 300,000 to 250,000 m3 (still more than the 240,000 m3 initially proposed) might
         require additional startups and shutdowns of liquefaction equipment, presumably if the Calcasieu
         Ship Channel is closed to vessel traffic for so long that the liquefaction units entirely fill the
         available storage without an opportunity to load a ship. DEIS 3-43. But merely speculating about
         a potential environmental drawback of an alternative is not the same thing as rigorously
         exploring that alternative. FERC offers no discussion whatsoever of how often the ship channel
         closes, how long such closures last, how often such a closure might result in a shutdown and


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         later restart of the liquefaction units, and if the closure would be long enough to require a
         shutdown, whether the shutdown would have occurred anyway (if, for example, the weather that
         shuts down the channel would have required shutting down the terminal anyway). Even if
         omitting one storage tank would foreseeably require some additional shutdowns, such that there
         is, to some degree, a design tradeoff between acres impacted and potential air impacts, the point
         of NEPA is to shine a light on those tradeoffs and inform the public and decisionmakers about
         their consequences. Merely speculating that an alternative might increase air emissions by some
         unspecified amount does not justify rejection of that alternative.
                  On the second issue, Commonwealth proposes liquefaction units using the “AP-SMR”
         process provided by Air Products and Chemicals. Air Products and Chemicals offers an
         alternative process, C3MR, that Air Products and Chemicals itself identifies as more efficient
         and as suitable for the volumes proposed here, both in terms of individual liquefaction trains and
         overall facility capacity, as Sierra Club et al. previously explained. 6
                  The DEIS’s basis for rejecting this process is nonsensical. The DEIS absurdly asserts that
        this argument “misunderstand[s] … the definition of efficiency in this context. The added
        efficiency between the two processes does not result in a reduction in emissions; rather, the
        increased efficiency allows for greater liquefaction capacity.” DEIS 3-44. Reduced emissions
        and greater capacity are two sides of the same coin: if each train has a higher capacity but the
        same emissions, then fewer trains can be used to produce the same amount of LNG, reducing
        overall emissions. Moreover, this argument is not supported by any data about the different
        liquefaction designs’ actual emissions for any given size or output.
                  The DEIS is similarly completely devoid of information in asserting that “the C3MR
        process requires a substantially larger footprint.” DEIS 3-44. Nothing indicates how many acres
        would be required for C3MR trains capable of producing the 9.5 MTPA peak capacity proposed
        here, or whether the existing terminal site could accommodate such a footprint. The Cove Point
        facility is authorized to produce up to 5.75 MTPA using C3MR trains with liquefaction facilities
        that occupy only 59.5 acres. 7 Even if using C3MR trains would take more space than the


         6
             Accession 20210803-5303 at 9-11.
         7
             Environmental Assessment for the Cove Point Project, Accession 20140515-4002, at 1, 8, 76.

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         proposed SMR trains, nothing in the EA demonstrates that such an increased liquefaction
         footprint could not still fit within the overall terminal boundary, especially if one of the six
         storage tanks is also omitted. (We also note that the DEIS does not clearly explain what, if
         anything, will be sited in the large area between the liquefaction units and storage tanks, beyond
         a small impoundment. DEIS 2-3). And even using C3MR trains would require expanding the
         overall terminal footprint, the DEIS does not even assert, much less demonstrate, that such an
         expansion would be infeasible, and it fails to rigorously explore the benefits and drawbacks of
         such an expansion. DEIS 3-44. This failure is galling in that it is the inverse of the DEIS’s
         treatment of storage tanks: for tanks, the DEIS implicitly concludes that avoiding air pollution is
         more important than shrinking the terminal footprint, but for liquefaction design, the DEIS
         prioritizes a small footprint over reducing air emissions. The DEIS’s failure to provide any data
         about the relative magnitude of the impacts to land, wetlands, or emissions from any of these
         alternatives would be arbitrary in any event, but it is especially inappropriate where the DEIS
         appears to treat these issues differently. The only apparent explanation for this disparate
         treatment of environmental resources appears to be that in each instance, the DEIS rubber-stamps
        the design the developer requested.
                Third, independent of whether C3MR or SMR liquefaction designs are used, the same
        volume of LNG can be produced with lower emissions by using additional waste heat recovery.
        The proposed design includes nine simple cycle gas combustion turbines: one for each of the six
        liquefaction units, DEIS 4-199, and three at the on-site simple-cycle power plant, producing
        approximately 120 megawatts, DEIS 2-6, 4-239. Emissions could be reduced by replacing some
        or all of these units with combined cycle units or otherwise implementing additional waste heat
        recovery. A recent industry analysis concluded that powering liquefaction units with combined
        cycle turbines “can significantly reduce CO2 emissions by reducing the required fuel demand. A
        plant that uses combined cycle can avoid approximately 25% of CO2 emissions associated with
         the base case.” 8 Similarly, a combined cycle powerplant could produce the required 120


         8
          Dejan Veskovic et al, Decarbonized LNG Production via Integrated Hydrogen Fueled Power
         Generation, Gastech Technical Conference, at 4 (Sept. 21-23 2021) (hereinafter “Veskovic,
         Decarbonized LNG Production”), available at https://www.airproducts.com/-
         /media/236f4bc68940481cb5cf5afef8e589b6.ashx and attached.

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         megawatts of on-site power with lower emissions. The DEIS claims that a combined cycle plant
         capable of generating 500 megawatts, sufficient to power liquefaction units with electricity
         rather than with gas directly, would take 100 acres, but the DEIS ignores the self-evident
         possibility of using a combined cycle plant solely to meet the purported 120 megawatts of on-site
         power need. 9 FERC has not explained what the footprint of such a unit would be, how much
        bigger this is than the proposed simple-cycle electric generating units, whether the terminal can
        accommodate the extra space, and if an expanded footprint would be required, what the impact
        on wetlands would be, and by how much air emissions would be reduced in exchange.
                  One particular way to integrate additional waste heat recovery was illustrated by Jordan
        Cove’s 2017 application. Like Commonwealth, Jordan Cove proposed to use single mixed
         refrigerant liquefaction units, of comparable size (1.56 mtpa there, vs. 1.58 peak capacity here),
         also powered by associated gas turbines, and also using some waste heat from liquefaction
         turbines as part of the gas pretreatment facility. 10 However, Jordan Cove’s application also
         proposed to meet on-site electric needs, of roughly 50 megawatts, by routing additional waste
         heat from the liquefaction unit’s gas turbines to a series of on-site 30-megawatt steam generating
         turbines, each of which would occupy only 3,150 square feet, or 0.072 acres. 11 Thus, even if
         energy from the six liquefaction turbines’ waste heat cannot be used to power liquefaction itself,
         this energy can reduce or eliminate the need for on-site electrical generation, and both the
         emissions and footprint associated therewith.




         9
           Sierra Club et al. identified this issue in their protest, Accession 20210803-5303 at 12-13,
         which identified other nearby facilities using combined cycle units on this smaller scale for on-
         site power. But even if Sierra Club had not previously identified this alternative, FERC would be
         required to consider it now.
         10
          Jordan Cove Energy Project, Resource Report 1 at 20 (Sept. 21, 2017), Accession
        2017092105142 (describing liquefaction units), id. at 28 (waste head used in part for gas
        “conditioning”), id. at 19 (explaining that conditioning is the pretreatment, i.e., removal of
        impurities)
         11
              Id. at RR1-32, RR1-40.

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                    D.   Site Alternatives

                           1.   Alternative Terminal Sites

                    The DEIS also improperly rejects numerous site alternatives. The DEIS analyzed eight
         alternative sites for the terminal facility all of which met the following criteria: (1) site has a
         minimum of 200 acres, (2) the surrounding land is compatible for construction of an LNG
         terminal, (3) site has waterfront access sufficient to construct a berth for LNG carriers with a
         minimum of 1,500 feet of shoreline, (4) site is adjacent to a navigational channel deep enough to
         accommodate LNG carriers with a depth of 40 feet, (5) navigational channel within the
         proximity of the site is wide enough to accommodate a turning basin, (6) site has reasonably
         close access to a natural gas supply, (7) site has reasonable proximity to utilities, and (8) site has
         suitable road and highway access. 12 Of the eight sites, only two are purportedly commercially
         unavailable, whether for purchase or lease. 13 The DEIS fails to rigorously explore the available
         sites, or to justify their rejection.
                    One way in which the DEIS’s treatment of site alternatives was flawed was discussion of
         species impacts. For example, the DEIS fails to support its conclusion that alternative sites would
         not benefit the Eastern Black Rail (“EBR”). As the DEIS admits, no threatened and endangered
         species consultation has been conducted for alternative sites. DEIS, 3-30. The DEIS “an
         unofficial inquiry of the FWS’s Information for Planning and Consultation [IPaC] online system
         indicates protected species may be present at all eight of the alternative sites, including the
         potential for presence of the eastern black rail at six of the eight alternative sites.” DEIS, 3-30.
         But this is a misuse of the IPaC system, as the system’s documentation makes plain. The IPaC
         system is not intended to be used as biological evidence of a species presence at a particular site.
         As the IPaC website makes clear, “it is for informational purposes only and does not constitute
         an analysis of project level impacts.” 14 It is also not an official species list. 15 It is an


         12
              DEIS at 3-29.
         13
              DEIS at 3-38, 3-39.
         14
              USFWS, IPaC Information for Planning and Consultation, at IPaC: Home (fws.gov).
         15
              Id.

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         informational tool and by no means is it a substitute for consultation under the Endangered
         Species Act (ESA). Therefore, it appears likely that one or more alternative sites would reduce
         impacts of the eastern black rail, and the DEIS’s suggestion to the contrary is unsupported. A
         hard look at the benefits and drawbacks of site alternatives requires a more careful look at
         whether the feasible alternative sites would reduce impacts to the eastern black rail.
                   Similarly, at least one alternative site, site 5, would reduce impacts to wetlands and
         eliminate impacts to cheniers and other important non-wetland ecological features. 16 On the
         other hand, the DEIS provides an unsupported reason for rejecting site 5. The DEIS argues that
         site 5 is close to a community center and local park, the DEIS does not acknowledge the
         proposed site’s proximity to Holly Beach. Both sites would therefore impact the local
         community, and the DEIS fails to demonstrate that site 5 would have a greater impact.
                   The DEIS argues that the proposed site has various other advantages, including “the
         shortest transit from the Gulf of Mexico, thus reducing impacts from vessel traffic; and the least
         amount of dredging, reducing impacts on surface water and aquatic resources.” 17 We agree that
         these are important factors to consider. But NEPA and the Natural Gas Act require FERC to
         balance all impacts in evaluating alternatives, and here, the DEIS fails to analyze whether, for
         example, the reduced dredging provided by the proposed site is a greater or lesser boon than the
         reduced wetland and chenier impact at site 5.

                          2.    Alternative Pipeline Sites and Routes

                   The DEIS fails to rigorously explore alternative pipeline routes, including, in particular,
         route 4, which was recommended by The Louisiana Department of Wildlife and Fisheries. The
         proposed pipeline would be three miles long and is not collocated with existing rights-of-way at
         all. DEIS 3-48. Route 4, on the other hand, would be co-located for 2.6 miles but would increase
         total pipeline length by only 0.1 miles, thereby avoiding 2.5 miles of new right-of-way (an 83%
         reduction in new right-of-way relative to the proposed route). 18 In rejecting this alternative, the


         16
              DEIS at 3-37, 3-38, 3-41.
         17
              DEIS at 3-43.
         18
              DEIS at 3-49.

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         DIES points to the increase in pipeline length, and the fact that it would increase temporary (but
         not permanent) impacts to wetlands by 0.03 miles. DEIS 3-49. The DEIS fails to explain why
         these drawbacks are not de minimus, especially in light of the drastic reduction in new right-of-
         way, and the DEIS fails to grapple with Louisiana Department of Wildlife and Fisheries’ reasons
         for recommending this route or to explain FERC’s disagreement therewith.
                   The DEIS also apparently erred by separating its discussion of alternative pipeline routes
         from discussion of alternatives to ancillary aboveground pipeline facilities, including two
         interconnection facilities at the Kinetica and Bridgeline pipelines, one pig launcher, and one-
         meter station. 19 The DEIS states that no alternative sites for these facilities were identified. DEIS
         3-49. Adopting an alternative pipeline route would generally require moving these facilities, see
         DEIS 3-47 (map of alternative routes), but it is unclear whether aboveground facilities were
         included in the analysis of alternative pipeline routes.


                                          III.    Greenhouse Gas Emissions

                   As courts have repeatedly held, FERC must take a hard look at the project’s greenhouse
         gas (GHG) emissions, including reasonably foreseeable indirect effects. As with other LNG
         projects, here, FERC continues to take an unlawfully narrow view of the scope of greenhouse
         gas emissions FERC must consider, refusing to provide any discussion or analysis of the impact
         of producing, transporting, or using the gas that would be exported by the Commonwealth
         project. But even for those emissions that FERC admits are within its scope, FERC unlawfully
         refuses to provide the public or decisionmakers with the required analysis of the significance,
         severity, or impact of those emissions. FERC also fails to justify rejection of alternatives that
         would reduce direct emissions using carbon capture and sequestration. And finally, FERC’s
         analysis of direct emissions is further flawed by FERC’s continued reliance on outdated
         estimates of the impact of methane and other greenhouse gases other than carbon dioxide.




         19
              DEIS at 3-49; see also DEIS 2-4 (map of these facilities).

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         Thus, information about indirect effects informs FERC’s decisionmaking, notwithstanding
         FERC’s lack of “authority to prevent” those effects. Freeport, 827 F.3d at 49.
                Second, the agencies and public would benefit from comprehensive analysis of the
         impacts of all related projects. Specifically regarding the connection between FERC and DOE,
         Freeport explicitly declined to consider whether the prohibition on segmentation, or FERC’s
         Natural Gas Act obligation to act as lead agency, required FERC to consider upstream and
         downstream effects in the NEPA analysis. 827 F.3d at 45. Nor has the D.C. Circuit addressed
         these questions in any other case. The reasoning of these cases does not support an exception to
         the prohibition on segmentation here. Freeport rests on Department of Transportation v. Public
         Citizen, which affirmed a “rule of reason” under which an EIS only needs to include information
         “useful[] . . . to the decisionmaking process.” 541 U.S. 752, 767 (2004). The prohibition on
         segmentation recognizes the usefulness of a “comprehensive approach,” Del. Riverkeeper, 753
         F.3d at 1314, rather than dividing analysis of an “integrated project” across multiple documents
         and processes. City of Boston Delegation v. FERC, 897 F.3d 241, 251-52 (D.C. Cir. 2018)
         (“City of Boston”). Here, comprehensive analysis in a single EIS would inform each agency’s
         decisionmaking regarding matters squarely within its own jurisdiction.
                In other proceedings, FERC has argued that segmentation caselaw, connected action
         regulation, etc., do not apply to actions of multiple agencies. The D.C. Circuit, in one of the
         cases that developed the segmentation doctrine that was later codified in the 1978 NEPA
         regulations, has explicitly rejected this, holding that “the principles” of the prohibition on
         segmentation “are entirely applicable … where decision-making is accomplished by three federal
         agencies … acting seriatim.” Jones v. D.C. Redevelopment Land Agency, 499 F.2d 502, 510
         (D.C. Cir. 1974); see also Sierra Club v. U.S. Army Corps of Engineers, 803 F.3d 31, 49-51
         (D.C. Cir. 2015) (assuming that the connected actions regulation applies to actions of multiple
         agencies).
                For these reasons, even if Freeport is not overruled, FERC is still required to consider
         indirect effects, both to inform FERC’s own decisionmaking regarding the cumulative impact of
         matters that FERC does have authority to regulate, and to inform DOE’s consideration of the
         connected, interdependent proposal to export the gas liquefied at the terminal.



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                  And finally, even if FERC is correct that it is not required to analyze lifecycle emissions
         in its NEPA analysis, nothing in Freeport or the related D.C. Circuit decisions prohibits FERC
        from doing so, as EPA observes. 25 Providing discussion and analysis of what EPA agreed are
        “these patently foreseeable environmental impacts” in FERC’s NEPA analysis will undoubtedly
        help inform both the public and other agencies of the big picture, and FERC should choose to
        provide this analysis here.


                  B.   Direct GHG Emissions

                  The DEIS estimates that, even within the unlawfully narrow scope of emissions that
        FERC admits it must consider, operation of the Commonwealth LNG project will result in nearly
        four million tons per year of carbon dioxide equivalent (CO2e). DEIS at 4-362. The DEIS’s
         refusal to provide any analysis or express any judgment regarding the severity or significance of
         those impacts is arbitrary. FERC also failed to take a hard look at reducing these emissions
         through carbon capture and sequestration (“CCS”), or even to explain whether or not FERC
         agreed with Commonwealth’s assertion that CCS was infeasible here. And FERC once again
         relies on long-ago superseded estimates of the global warming potential of many greenhouse
         gases.

                         1.    The DEIS Fails to Evaluate the Severity, Significance, or Impact of
                               GHG Emissions

                  NEPA and the Natural Gas Act require that FERC take a hard look at the impact of
         greenhouse gas emissions, evaluate their significance and impact, and ultimately, to factor these
         emissions into FERC’s public interest determination. Sierra Club v. FERC, 867 F.3d 1357, 1376
         (D.C. Cir. 2017) (“Sabal Trail”). But here, FERC explicitly refuses to provide these analyses.
         The DEIS repeatedly asserts that FERC will not “characterize[e] the Project’s GHG emissions as
        significant or insignificant because the Commission is conducting a generic proceeding to
        determine whether and how the Commission will conduct significance determinations going
        forward.” DEIS at ES-10-11, 4-355, 4-363, 5-385. But an aspiration to comply with the law


         25
              EPA, Comments in Dkt. PL21-3, at pdf page 6, Accession 20220425-5440.

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         when reviewing unrelated future projects is not an excuse for failing to comply with the law
         now.
                  If FERC is uncomfortable with or unwilling to apply the interim/draft policy, there are, of
         course, other ways to assess significance. One of those remains the social cost of greenhouse
         gases. In the DEIS, FERC makes no mention of this tool. Elsewhere, FERC has “not[ed] the
         pending litigation challenging federal agencies’ use” of the tool. 26 However, the Fifth Circuit has
        explicitly permitted agencies to use this tool pending resolution of this litigation, staying the
        injunction that was previously entered, Louisiana by & through Landry v. Biden, No. 22-30087,
        2022 WL 866282 (5th Cir. Mar. 16, 2022), and ultimately, these legal challenges are likely to
        fail. The unlikely possibility of a future adverse ruling in this litigation is not an excuse for not
         complying with the cases that have already been decided and that require FERC to do more.
                  Alternatively, FERC has argued that “it has not determined which, if any, modifications
        are needed to render [social cost of greenhouse gases] useful for project-level analyses.” 27 FERC
         does not claim to have actually concluded that the tool is inappropriate for project-level analysis.
         And again, FERC’s suggestion that it will do better next time does not justify its decision to not
         use the available tools for this Project. Sierra Club contends that the social cost of greenhouse
         gases is an appropriate tool for project level analysis, and as FERC has recognized, other
         agencies in fact use this tool in project-specific reviews. 28 And while CEQ is working “to
         review, revise, and update its 2016” GHG guidance, CEQ has encouraged agencies to comply
         with the 2016 guidance pending revision. 29 The 2016 GHG Guidance identifies social cost of
         carbon as “a harmonized, interagency metric that can give decision makers and the public useful


         26
              Evangeline Pass Expansion Project, 178 FERC ¶ 61,199 P92 (Mar. 25, 2022).
         27
              Evangeline Pass Expansion Project, 178 FERC ¶ 61,199 P92 n. 141 (Mar. 25, 2022).
         28
            See Mountain Valley Pipeline, LLC Equitrans, L.P., 163 FERC ¶ 61,197 P281 n.772 (2018)
         (recognizing that BOEM, OSM, DOE, and numerous state agencies have used social cost of
         carbon in environmental review of individual projects). In that order, FERC suggested that
         greenhouse gas emissions were primarily a problem for agencies that regulate production or use
         of fossil fuels. But the direct emissions at issue here are exactly that: emissions that result from
         use of fossil fuels in FERC-jurisdictional compressor stations and other facilities.
         29
              See Accession 20210527-5009.

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         information for their NEPA review.” 30 FERC has not identified any CEQ statement stating that
        social cost of GHGs is, or may be, inappropriate for project-specific review. If FERC actually
        believes social cost of GHGs is inappropriate for project-specific review, FERC can articulate
        that position in the record and in its NEPA review. But FERC cannot conclude that the project is
        in the public interest and thereby approve the project while refusing to provide decisionmakers
        and the public with the analysis and conclusions that are the required predicates for that
        approval, including NEPA and Natural Gas Act analysis of greenhouse gas emissions.
                 Finally, FERC’s comparison of direct project emissions with emissions of the United
        States or Louisiana is not, and does not purport to be, an analysis of significance or of the impact
        of emissions on the public interest. DEIS at 4-363. Observing that emissions here are a small
        portion of regional or national totals does not illustrate their impact. Ctr. for Biological Diversity
        v. Nat’l Highway Traffic Safety Admin., 538 F.3d 1172, 1217 (9th Cir. 2008). Even a “very small
        portion” of a “gargantuan source of … pollution” may “constitute[] a gargantuan source of …
        pollution on its own terms.” Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1032 (5th Cir. 2019).
        Furthermore, the DEIS’s analysis of GHG emissions emphasizes the significance of the Project’s
        contribution to Louisiana’s projected GHG emissions levels and its net-zero GHG emissions by
        2050 target. DEIS at 4-363. Direct emissions from the operation of the Commonwealth Project
        would result in CO2e emissions of about 3,728,015 tpy, which would represent 2.3 percent and
        3.3 percent of Louisiana’s 2025 and 2030 projected GHG emission levels. Id. Given the lifespan
        of this project, its contributions to state GHG emissions would only grow over the remaining
        years.
                 The DEIS has not presented evidence that there is no information or methodology FERC
        could use to evaluate the significance and impact of greenhouse gases—only that FERC hasn’t
        yet decided how to use the available information and tools. But if FERC were to argue that
        information was unavailable, FERC would be in the same position recently considered by the
        D.C. Circuit in Vecinos. FERC would need to address whether the Interagency Working Group’s
        estimates of social cost of greenhouse gases are “generally accepted in the scientific community”


         30
           https://ceq.doe.gov/docs/ceq-regulations-and-guidance/nepa_final_ghg_guidance.pdf at 33
         n.86.

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         (they are) and if so employ this tool, or use some other generally accepted method. 40 C.F.R. §
         1502.21(c)(4); Vecinos, 6 F.4th at 1329.



                        2.    Carbon Capture and Sequestration

                NEPA requires FERC to take a hard look at opportunities to mitigate impacts, including
         greenhouse gas emissions. The Natural Gas Act similarly requires FERC to determine whether
         modifications to the proposed project would better serve the public interest. Here, one way to
         mitigate greenhouse gas emissions would be to use a more efficient facility design to avoid
         emissions in the first place, as discussed above. But another way to mitigate emissions (which
         can be used in addition to or instead of design alternatives) is carbon capture and sequestration,
         as applied to all or part of the terminal emissions. Although there are serious questions about the
         appropriateness of carbon capture and sequestration, the DEIS fails to grapple with those
         questions, and falls far short of NEPA’s requirements.
                To be clear on one threshold issue: FERC has the authority to require project
         modifications that would reduce greenhouse gas emissions, including carbon capture and
         sequestration, regardless of the fact that “Commonwealth has not proposed to implement carbon
         capture technologies.” DEIS 4-364 (emphasis added). To inform FERC’s decisionmaking
         regarding whether, and if so to what extent, exercise that authority and to require carbon capture,
         NEPA requires that FERC rigorously explore alternatives that would incorporate this technology,
         regardless of whether Commonwealth chooses to propose it.
                The DEIS entirely fails to explain whether FERC believes that carbon capture and
         sequestration is economically and technologically feasible here, and if so, whether it would be
         environmentally beneficial and appropriate. The DEIS notes that Commonwealth takes the
         position that carbon capture and sequestration is infeasible, DEIS at 4-363 to -364, but as the
         DEIS notes, Commonwealth’s position is in clear tension with the fact that other LNG facilities
         that have proposed CCS. Inexplicably, the DEIS makes no attempt whatsoever to resolve this
         tension.
                In particular, the DEIS does not indicate whether it agrees with Commonwealth’s
         assertion that CCS is technically infeasible. The DEIS summarizes a 2017 DOE report (itself


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         cited by Commonwealth) as concluding that CCS for natural gas systems “ha[s] been proven
         technically feasible.” DEIS 4-364. 31 Commonwealth apparently concedes that as a general
        matter, but contends that CCS is nonetheless technically infeasible for this particular project,
         “primarily due to a lack of sequestration infrastructure.” DEIS 4-364. The DEIS does not provide
         any facts to support this assertion. It does not explain why available infrastructure is insufficient;
         how the infrastructure at this site differs from that available to nearby facilities, such as Venture
         Global CP2, that do propose CCS; or (insofar as additional infrastructure is in fact needed) what
         it would take to provide that infrastructure. Accordingly, while it is unclear whether FERC
         agrees with Commonwealth’s assertion that CCS is technically infeasible, it is clear that FERC
         shouldn’t, and that the DEIS does not support Commonwealth’s assertion.
                 As to economic feasibility, although DOE’s 2017 report asserted that “carbon capture
         technologies appropriate for natural gas systems … are too expensive to deploy across the
         energy sector,” that assertion did not entail the conclusion that CCS is too expensive to deploy at
         any particular LNG facility, especially as such facilities face very different economics than
         power plants. 32 And now, five years after DOE’s report, multiple other LNG facilities have
         proposed CCS, indicating that CCS is not economically infeasible for LNG terminals, at least in
         all instances. But the DEIS offers no explanation as to why a mitigation strategy that is
         affordable for other facilities is impossible for this project.

         31
            See DEIS H-13 (citing U.S. DOE, Carbon Capture Opportunities for Natural Gas Fired Power
         Systems (2017)). The URL provided in the DEIS,
         https://www.energy.gov/fecm/downloads/carbon-capture-opportunities-natural-gas-fired-power-
         systems, was not publicly accessible at the time of this writing. It appears that the same
         document is also available at
         https://www.energy.gov/sites/prod/files/2017/01/f34/Carbon%20Capture%20Opportunities%20f
         or%20Natural%20Gas%20Fired%20Power%20Systems_0.pdf and attached.
         32
           The DEIS repeats DOE’s 2017 assertion, untethered from actual dollar amounts, that the
         “capital and operating costs” of CCS for gas facilities “are too expensive when compared to the
         limited revenue generating applications for captured CO2 that are currently available.” DEIS 4-
         364. Again, to be clear, FERC can require CCS even if CCS itself is unprofitable, or even quite
         costly, just as FERC requires other expenses aimed at reducing environmental impacts. Here,
         FERC provides no analysis of how much, on net, it would cost to reduce each ton of greenhouse
         gas emissions, nor any discussion of whether those costs would be warranted. And whatever the
         costs were in 2017, other facilities have found the costs to be bearable now.


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                 Finally, even if FERC were to conclude, on the basis of some future NEPA analysis, that
         it was infeasible to capture combustion emissions from the Commonwealth facility, FERC would
         need to consider capture and sequestration of pretreatment emissions. From an engineering and
         economic perspective, much of the hard part of carbon capture is isolating carbon dioxide. But
         here, as with other LNG facilities, Commonwealth already proposes an amine-based absorber
         system that is essentially equivalent to that used for carbon capture, used here as part of pipeline
         pretreatment. DEIS 4-236. Pretreatment produces a nearly-pure CO2 stream that is amenable to
        capture, and capturing these emission does not require many of the added capital and operating
        expenses that DOE suggested were unbearable in 2017. DOE’s 2017 report did not consisder this
        issue.
                 In summary, the DEIS fails to even take a position as to whether some level of CCS
        would be feasible for the Commonwealth project. And while the undersigned contend that the
        project would be contrary to the public interest with or without CCS and should be denied, our
        position is that if FERC does approve the project, FERC must ensure that adverse impacts are
        reduced as much as possible. This requires a rigorous exploration of whether CCS is feasible
        here, including whether carbon can safely be sequestered in this region. If CCS is feasible, FERC
        must explore whether the benefits of CCS outweigh the potential drawbacks, such the impact of
        increased water intake and discharge. 33 These are serious questions, but the DEIS does not even
         attempt to answer them, and as such, the DEIS falls short of what NEPA requires.

                        3.    The DEIS Uses Outdated Global Warming Potentials That Understate
                              the Impact of GHG Emissions

                 The figures provided in the DEIS underestimate emissions by using outdated estimates of
         the potency of greenhouse gases (GHGs) other than carbon dioxide. The DEIS addresses these
         other GHGs by converting them to CO2e. DEIS 4-189. However, the conversion factor (global

         33
           National Energy Technology Laboratory, Cost and Performance Baseline for Fossil Fuel
         Energy Plants Vol. 1: Bituminous Coal and Natural Gas to Electricity, NETL-PUB-22638, at
         527 (Sept. 24, 2019) (hereinafter “NETL 2019”) (estimating that 90% capture at a combined
         cycle gas plant increases water intake by 60% and water discharge by more than 150%),
         available at https://netl.doe.gov/projects/files/CostAnd
         PerformanceBaselineForFossilEnergyPlantsVol1BitumCoalAndNGtoElectBBRRev4-1_092419.pdf
         and attached.

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         information,” 40 C.F.R. R. § 1500.1(b), and provide “full and fair discussion of significant
         environmental impacts,” 40 C.F.R. § 1502.1, by relying on an estimate of methane’s impacts that
         was known to be outdated and an understatement of the true potency of this pollutant, by failing
         to disclose that the analysis it provided only considered the long term (100-year) impacts, and by
         failing to use available tools, such as the estimate of methane’s 20-year GWP, to address more
         near-term impacts. Each of these failures violates NEPA. See W. Org. of Res. Councils v. U.S.
         Bureau of Land Mgmt., No. CV 16-21-GF-BMM, 2018 WL 1475470, at *16 (D. Mont. Mar. 26,
         2018) (holding that agency violated NEPA by estimating emissions solely on the basis of
         methane GWP of 25).

                                              IV.     Other Air Pollution

                In addition to emission of nearly four million tons per year of greenhouse gases, the
         Commonwealth LNG project will emit major volumes of criteria and hazardous air pollutants.
         The DEIS estimates the following operational emissions:

                                             Operational Emissions (tons per year)
                   NOx     SO2     CO        PM10      PM2.5       VOC CO2e                           HAP
                   655     67      1,514     239       238         163     3,728,015                  109
                                                                                           DEIS at 4-201.

                The terminal’s emissions will occur approximately two miles southwest of the town
         center of Cameron, Louisiana, which has a population of 6,973. DEIS at 4-157. Communities
         surrounding Cameron are already disproportionately exposed to significant air and water
        pollution from nearby facilities.
                In discussing the amount and impact of air pollution, the DEIS appears to rely on analysis
         conducted to support Commonwealth’s proposed Part 70 Air Operating Permit and Prevention of
         Significant Deterioration (PSD) Permit. DEIS at 4-182. 37 As Sierra Club has explained in


         (D.C. Cir. 2015) (IPCC’s “peer-reviewed assessments synthesized thousands of individual
         studies on various aspects of greenhouse gases and climate change and drew ‘overarching
         conclusions’ about the state of the science in this field.”).
         37
           See also Accession 20210817-5051, Commonwealth_LNG_Modeling_Report-2021-08-
         12.pdf. “To minimize duplicate efforts” FERC encourages applicants to “file a copy of analyses
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         comments submitted in those dockets, Commonwealth’s analysis therein in flawed. 38 In
         summary:
                   •       The proposed emission limits are unenforceable, and project emissions will therefore
                           likely exceed the amounts predicted in these materials and the DEIS. 39
                   •       The proposed permit fails to include monitoring sufficient to ensure compliance with
                           the Clean Air Act. 40
                   •       Because the modeling relies on these underestimates of emissions, the modeling fails
                           to show that actual emissions will not cause or contribute to a violation of the
                           NAAQS 41
                   •       The Best Available Control Technology Analysis is flawed, establishes limits for
                           multiple pollutants that are deficient, and fails to consider alternative BACT
                           designs. 42

        We incorporate herein the comments explaining these issues in greater detail. Because the DEIS
        rests on these flawed prior analyses, the DEIS fails to support its conclusion that “[t]he
        dispersion modeling analyses, and additional impact analyses performed demonstrated
        compliance with all ambient air quality standards applicable to Commonwealth LNG. The
        analyses showed that operation of the facility would not cause or make a significant contribution
        to any violation of either the NAAQS or the existing PSD increments.” DEIS at 4-207.




         performed under the PSD Permitting Program.” FERC, Guidance Manual for Environmental
         Report Preparation, at 4-121 n. 36.
         38
           Sierra Club Comments and Exhibits re: Commonwealth LNG LLC — Amended Comments of
         Sierra Club on Proposed Part 70 Air Operating Permit, Prevention of Significant Deterioration
         (PSD) Permit and the Associated Environmental Assessment (EAS); AI Number 221642, Permit
         Numbers 0560-00997-V0 and PSD-LA-841, and Activity Numbers PER20210001 and
         PER20210002 (Apr. 12, 2022) (“Sierra Club PSD Comments”), attached.
         39
              Id. at 31.
         40
              Id. at 32-33.
         41
              Id. at 22-25.
         42
              Id. at 25-31.

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                                                     V.     Wetlands
                   A.   The DEIS Fails to Take a Hard Look at Wetland and Chenier Impacts

                   The DEIS estimates that construction of the terminal and pipeline will impact 139.5 acres
         of wetlands, with 89.9 acres of permanent impacts. 43 The DEIS fails to take a hard look at the
        consequences of these impacts.
                   Perhaps most importantly, the DEIS fails to adequately consider the cumulative impact of
        wetland loss in Louisiana. Wetlands are integral to Louisiana in way unlike any other state:
        Louisiana has 40 percent of the country’s wetlands, and wetlands account for 11 percent of the
        state’s landmass. 44 But Louisiana is losing wetlands at an exceptional rate: over 90 percent of
         the coastal marsh loss in the continental United States occurs in Louisiana, 45 and at the current
        rate of loss, Louisiana’s wetlands would entirely disappear in approximately 200 years. 46 The
        DEIS concludes that impacts to wetlands here can be mitigated to insignificance, but this claim
        has been made for many other projects as well, and wetland loss persists nonetheless. Nor does
        the DEIS adequately address the fact that as more wetlands are lost, the state, local communities,
        and the environment become less and less able to tolerate further losses, relying on a diminishing
        acreage of wetlands to, for example, protect against storm surges, 47 or provide habitat. 48



         43
              DEIS at 4-78 to -79.
         44
            Blake Donewar, Saving Louisiana’s Wetlands: Solving the Longstanding Environmental Crisis
         Through Contractual Liability, Loyola Law Review (May 20, 2020), http://www.loyno-
         lawreview.com/2020/05/20/savinglouisianas-wetlands-solving-the-longstanding-environmental-
         crisis-through-contractual-liability/.
         45
            Louisiana’s disappearing WETLANDS, Southeastern Louisiana University,
         https://www2.southeastern.edu/orgs/oilspill/wetlands.html#:%7E:text=While%20Louisiana%20h
         as%2040%25%20 of,the%20turn%20of%20the%20century.
         46
            Blake Donewar, Saving Louisiana’s Wetlands: Solving the Longstanding Environmental Crisis
         Through Contractual Liability, Loyola Law Review (May 20, 2020), http://www.loyno-
         lawreview.com/2020/05/20/savinglouisianas-wetlands-solving-the-longstanding-environmental-
         crisis-through-contractual-liability/.
         47
              Louisiana Coastal Wetland Functions and Values, https://lacoast.gov/reports/rtc/1997/4.htm.
         48
              Louisiana Coastal Wetland Functions and Values, https://lacoast.gov/reports/rtc/1997/4.htm.

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         analysis is to inform that very review: the entire premise of NEPA is that proposed, non-final
         actions will be presented to the public for comment. The DEIS offers no justification for failing
         to present Commonwealth’s proposal regarding the amount, type, and location of wetland
         mitigation bank credits. And again, FERC cannot punt this issue to the Corps. The Corps’
         decision it itself a major federal action subject to NEPA, and FERC has a statutory obligation to
         act as lead agency for the NEPA process and to inform the Corp’s decisionmaking. 15 USC
         § 717n.
                  It is particularly important to present the proposed mitigation plan to the public in a draft
         NEPA document because the current plan appears to be a complete departure from
         Commonwealth's initial proposal. The Corps’ May 11, 2020 notice states the applicant proposes
         that its mitigation will be based on the beneficial use of dredged material (BUDM) and
         “therefore a supplemental compensatory mitigation plan has not been proposed.” 73 The notice
        refers to a BUDM plan, which was not made available with the notice, and the notice does not
        mention wetlands banking. The DEIS does not mention this prior proposal to use BUDM instead
        of “purchase of wetlands mitigation bank credits.” 74 While a change in plan is not itself a
         problem, this change accentuates the problems arising from the DEIS’s failure to provide actual
         specifics about the proposed mitigation: while the public should not be required to look
         elsewhere to find this information, here, such investigation turns up another plan entirely, which
         the applicant and agencies appear to have silently discarded.


                                             VI.     Environmental Justice

                  NEPA requires an environmental impact assessment to examine all potential impacts of a
         project, including “ecological . . . aesthetic, historic, cultural, economic, social, or health,
         whether direct, indirect, or cumulative.” 75 Agencies must consider the environmental justice




         73
              Commonwealth Army Corps Public Notice.
         74
              DEIS at 4-81.
         75
              40 C.F.R. § 1508.8.


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         impacts of their actions on low-income, minority communities in accordance with Executive
         Order 12898. 76
                    Recently, FERC published its draft updated Certificate Policy Statement. 77 With the new
         policy statement, FERC explained that “[t]he Commission’s public interest responsibility
         demands that we seriously evaluate [environmental justice] considerations” and that FERC’s
         obligation to consider impacts to environmental justice communities extends to both Section 3
         and Section 7 approvals. 78
                    The Council on Environmental Quality (CEQ) has also issued guidance on incorporating
        environmental justice (EJ) considerations in the NEPA process. 79 The guidance reads in part:
                           In preparing an EIS or an EA, agencies must consider both impacts
                           on the natural or physical environment and related social, cultural,
                           and economic impacts. Environmental justice concerns may arise
                           from impacts on the natural and physical environment, such as
                           human health or ecological impacts on minority populations, low-
                           income populations, and Indian tribes, or from related social or
                           economic impacts. 80

                    Cameron Parish and neighboring communities are already overburdened with industry
         and polluting facilities and are at the forefront of climate change impacts, which would be
         exacerbated by the Project. Communities within Cameron Parish are inundated with quickly
         rising seas. Toxic pollution from industrial facilities disproportionately impact low-income
         neighborhoods and communities of color along the Gulf Coast. In particular, Cameron Parish
         and the neighboring Calcasieu Parish have at least three existing or under construction LNG


         76
              Coliseum Square, Inc. v. Jackson, 465 F.3d 215, 232 (5th Cir. 2006).
         77
           Certification of New Interstate Natural Gas Facilities, 178 FERC ¶ 61,107 (2022) (Updated
         Policy Statement) (In February, the Commission issued an update to its 1999 Certificate Policy
         Statement, though is now soliciting further comments.)
         78
              Id. at ¶¶ 86, 86 n. 204.
         79
           Council on Envtl. Quality, Environmental Justice: Guidance Under the National
         Environmental Policy Act (1997), available at: https://www.epa.gov/sites/default/files/2015-
         02/documents/ej_guidance_nepa_ceq1297.pdf (hereinafter “CEQ EJ Guidance”).
         80
              Id. at 8.
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         terminals, three approved but not yet constructed LNG terminals, and an additional two proposed
         LNG terminals.

                 A. The Commonwealth LNG Project Will Have Adverse Impacts on Low-Income
                 and Minority Communities

                 FERC uses the 50 percent and the meaningfully greater analysis methods to identify
         minority populations as recommended by the CEQ Environmental Justice Guidance and
         Promising Practices. DEIS at 4-170. Using this methodology, minority populations are defined
         in this EIS where either: (a) the aggregate minority population of the block groups in the affected
         area exceeds 50 percent; or (b) the aggregate minority population in the block group affected is
         10 percent higher than the aggregate minority population percentage in the parish. Id. The
         guidance also directs low-income populations to be identified based on the annual statistical
         poverty thresholds from the U.S. Census Bureau. Id. Using Promising Practices’ low-income
         threshold criteria method, low-income populations are identified as census block groups where
         the percent low-income population in the identified block group is equal to or greater than that of
         the parish. Id.
                 A majority of the population within the geographic scope for environmental justice
         surrounding the project is living in environmental justice communities. DEIS at 5-379. While the
         Commonwealth Project will not be located within an environmental justice block group, eight of
         the surrounding 11 block groups within 23 miles of the LNG Terminal, one-mile of the Park and
         Ride locations, and crossed by the Pipeline segments have been identified as environmental
         justice census blocks. DEIS at 4-171. Five of the block groups are identified as environmental
         justice populations based on poverty levels, one due to a meaningfully greater minority
         population, and two have both high poverty and minority populations. Id. Additionally, one of
         the census block groups within 1-mile of the Park and Ride locations was identified as an
         environmental justice community based on poverty levels. Id.
                 For this project, a disproportionately high and adverse effect on an environmental justice
         community means the adverse effect is predominately borne by such population. Id. The DEIS
         identified that there would be Project-related impacts on wetlands, surface water, visual
         resources, tourism, socioeconomics, traffic, noise, and air quality that may adversely affect the
         identified environmental justice communities. Id. The DEIS concludes that, aside from

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         significant impacts associated with visual resources, “the impacts experienced by these
         environmental justice communities in the project area would not be predominately borne by the
         environmental justice community. Therefore, impacts would not be disproportionately high and
         adverse as the project would not be located in an environmental justice community and the
         closest residents are not located in an environmental justice community.” DEIS at 4-182 to -183.
         Environmental justice concerns cannot be ignored “simply on the basis that those groups will
         experience conditions no worse than the surrounding county—particularly when the surrounding
         county presents many of the same concerns that underlie the CEQ’s and EPA’s environmental
         justice guidance.” 81

                B.    The DEIS Fails to Consider Whether Unique Factors Within Impacted
                      Environmental Justice Communities Will Result in Disproportionate Impacts
                      from the Project

                The DEIS fails to consider that environmental justice populations may be more
         susceptible to environmental degradation than other populations. As EPA has explained in its
         guidance on evaluating environmental justice impacts in NEPA review:

                        Focusing the analysis [on the relevant environmental justice
                        context] may show that potential impacts, which are not significant
                        in the NEPA context, are particularly disproportionate or
                        particularly severe on minority and/or low-income communities.
                        As mentioned previously, disproportionately high and adverse
                        effects should trigger the serious consideration of alternatives and
                        mitigation actions in coordination with extensive community
                        outreach efforts. 82

                Thus, the direct, indirect, and cumulative effects of a project may have a
         disproportionately severe or adverse impact on an environmental justice community even if an


         81
           Rio Grande LNG, LLC and Rio Bravo Pipeline, 169 FERC ¶ 61,131 (Nov. 22, 2019)(Glick,
         Comm’r, dissenting at P9).
         82
           EPA, Final Guidance for Incorporating Environmental Justice Concerns in EPA’s NEPA
        Compliance Analyses § 3.2.2. (Apr. 1998), available at:
        https://www.epa.gov/sites/default/files/2015-02/documents/ej_guidance_nepa_epa0498.pdf
        (hereinafter “EPA EJ Guidance”).


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         EIS determines that the general impacts are not significant. Moreover, as discussed throughout
         this submission, FERC failed to evaluate the full severity of many of the Project’s impacts.
                  One instance of such a failing is the assessment of air quality impacts on environmental
         justice communities. The DEIS simply concludes that because air pollutants will be minimized
         or within the NAAQS, their impacts will be minor. The DEIS conducts no further analysis as to
         whether declining air quality from the Project’s significant air emissions will have an adverse
         and disproportionate impact on EJ communities. By doing so, the DEIS fails to take a hard look
         at the impacts of declining air quality on EJ communities impacted by the Project, regardless of
         compliance with the NAAQS. FERC failed to analyze three factors that could result in
         disproportionate impacts on EJ communities from exposure to increased air emission levels: (1)
         levels of existing asthma or respiratory disease by income, (2) age disparities, and (3) lack of
         access to health care.
                  FERC’s conclusion is based on the erroneous premise that air pollution is of no concern
         so long as there is not a National Ambient Air Quality Standards (NAAQS) violation. FERC
         must recognize that air pollution that does not exceed the individual NAAQS can cause harmful
         health impacts. Particulate matter, nitrogen-dioxide, and ozone are recognized as pollutants for
         which no threshold of exposure fully protects human health. Am. Trucking Ass’n, Inc. v. EPA,
         283 F.3d 355, 359-360 (D.C. Cir. 2002); EPA, NAAQS for Nitrogen Dioxide, 75 Fed. Reg.
         6,474, 6500 (Feb. 9, 2010). For example, although the current NAAQS for ozone is 70 parts per
         billion, EPA has recognized that ozone levels of 65, or even 60 parts per billion adversely impact
         short- and long-term respiratory mortality, and significantly impact morbidity. EPA, Regulatory
         Impact Analysis of the Proposed Revisions to the National Ambient Air Quality Standards for
         Ground-Level Ozone, at 5-78 (2014). 83 Even if FERC is able to demonstrate that the individual
         and cumulative impact of air pollution are not likely to exceed the NAAQS, this does not
         demonstrate that the cumulative effect of air pollution impacts on human health will be
         insignificant.
                  In particular, FERC failed to consider environmental justice communities’ susceptibility
         to air pollution even at levels below the NAAQS. Agencies should conclude that proposed


         83
              Available at https://nepis.epa.gov/Exe/ZyPDF.cgi?Dockey=P100L0HZ.txt.

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        Filed by Sierra Club, Audubon Society, Center for Biological Diversity,
        Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network   May 23, 2022

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         actions will not have disproportionate or adverse impacts on environmental justice communities
         “solely because the potential impacts of the proposed action or alternative on the general
         population would be less than significant (as defined by NEPA).” 84 Thus, a finding that project
         impacts would be insignificant in general does not mean that those effects will not
         disproportionately impact EJ communities, or that such disproportionate impacts are not cause
         for concern. 85 For example, environmental justice communities may be exposed to multiple
         pollutants, in a situation wherein no individual pollutant exceeds some threshold of significance,
         but where the cumulative effect of exposure to multiple pollutants causes concerning health
         impacts. 86 This risk of multiple exposure may not be captured by the NAAQS. EPA sets the
         NAAQS in a context of assessing “acceptable” risks, not eliminating all risk. Murray Energy
         Corp. v. EPA, 936 F.3d 597, 609 (D.C. Cir. 2019). However, risks tolerated by EPA when setting
         one-size-fits-all nationwide regulations may be amplified in the context of EJ communities. See
         e.g., Friends of Buckingham v. State Air Pollution Control Bd., 947 F.3d 68, 86, 92 (4th Cir.
         2020) (finding the Board’s state law EJ analysis incomplete when it failed to consider “the
         potential degree of injury to the local population independent of NAAQS”).



                                                    VII.      Species
                  A. The DEIS Fails to Adequately Assess Impacts on Endangered and Threatened
                  Species

                  A review of the DEIS and materials provided by the Applicant reveals that the analysis
         contains insufficient information to fully determine the extent of adverse effects on listed
         species, or to determine whether proposed mitigation measures are sufficient to eliminate, avoid,
         or minimize adverse effects on those species.



         84
           EPA, Promising Practices for EJ Methodologies in NEPA Reviews: Report of the Federal
         Interagency Working Group on Environmental Justice & NEPA Committee (2016) (“EJ-IWG
         Guidance”) at 39.
         85
              EPA EJ Guidance, at § 3.2.2.
         86
           CEQ EJ Guidance, at 9 (“Agencies should consider ... multiple or cumulative exposures to
         human health or environmental hazards in the affected population”).

        Comments on the Draft EIS for the Commonwealth LNG Project, CP19-502                              Page 41
        Filed by Sierra Club, Audubon Society, Center for Biological Diversity,
        Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network   May 23, 2022

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                                 Commonwealth LNG Project
                               FERC Docket No. CP19-502-000

                       Response to Environmental Information Request
                                    Dated June 9, 2022

                             Submitted to FERC on June 24, 2022

 Alternatives

 7.    Provide a response to the questions posed by the Sierra Club et al. in comments filed on
       May 23, 2022 (accession number 20220523-5173) revisiting the possibility that
       Commonwealth could use a different and/or more efficient liquefaction process (for
       instance, APCI C3MR), which would result in Commonwealth needing to construct fewer
       liquefaction trains and thereby reduce the Project’s footprint and operating emissions,
       and whether emissions could be reduced by replacing some or all Commonwealth’s
       proposed simple cycle gas combustion turbines with combined cycle units or otherwise
       implementing additional waste heat recovery.

       Response:

       As stated in Commonwealth’s response to Resource Report 10, Question 14, of the
       Environmental Information Request issued September 15, 2021 (Accession No.
       20210930-5255), Commonwealth selected the Air Products SMR process because it has
       been proven to be an efficient process for mid-scale LNG facilities. At Commonwealth’s
       1.4 million (metric) tonnes per annum (MTPA) train capacity, the SMR process has similar,
       but slightly lower efficiency as the C3MR or DMR processes but with fewer pieces of
       equipment and a substantially reduced footprint. The C3MR and DMR processes are most
       often used in much larger LNG trains, typically over 4-5.5 MTPA each. For comparison,
       Commonwealth’s six liquefaction trains have a combined footprint of approximately 20
       acres within the overall LNG Facility. At another LNG facility in the same area, a single 5-
       MTPA train occupies approximately 20 acres, and two such trains, as would be needed to
       match Commonwealth’s capacity, would occupy approximately 40 acres, requiring an
       expansion of the overall LNG Facility footprint.

       Within a liquefaction technology, the process efficiency is affected by the efficiency
       performance of the combustion turbine that drives the refrigeration compressor.
       Commonwealth has designed the facility to optimize the amount of time that the machine
       can operate at peak efficiency. If a more efficient process is employed for the same
       available power, the emissions would remain the same, but the volume of LNG produced
       would increase. Emissions would not be reduced.

       The use of a combined cycle power plant was also evaluated. A 500 MW power plant
       would be required to drive the refrigeration compressors using electric motors, and to also
       provide the 120 MW auxiliary load needed for the balance of the plant.

       Such a power plant would require an additional 100 acres, thus essentially doubling the
       current overall footprint and environmental impact. Upon further analysis, the conclusion
       was reached that converting natural gas to electricity, then back to mechanical power, with
       variable frequency drive (VFD) electrical motors, is not the most efficient solution. The
       losses associated with the high voltage gear and the VFDs eliminate any benefit such
       solution may have in comparison with gas turbine direct mechanical drive of the
       refrigeration compressors and recovery of the gas turbines waste heat.




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                                      Dated June 9, 2022

                               Submitted to FERC on June 24, 2022

 Alternatives

 8.    Provide a response to public comments received on May 19, 2022 (accession number
       20220519-5027) comments regarding:

       a.       the feasibility of the flare structure, piping, and pipe rack to withstand not
                only design storm surge loads, but the impacts from heavy debris carried
                by the storm surge; and
       b.       the feasibility of extending the storm surge wall to encompass the elevated
                flare stacks.

       Response:

       Commonwealth’s flare stacks and associated pipeline and pipe racks will be designed to
       withstand storm surge and associated storm loads, in accordance with regulatory
       requirements and industry standards. Speculation regarding the potential for a low-
       probability event, such as the impact of a fishing vessel, is beyond regulatory requirements
       and has not been specifically modeled. Commonwealth’s Hazard Identification (HAZID)
       report has been provided as Appendix 13.G.1 to Resource Report 13 (Accession No.
       20190820-5125).


       Response prepared by:
       Name: Jon Allcock
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                              Submitted to FERC on June 24, 2022

 Alternatives

 9.    Provide additional information regarding the questions posed by the Sierra Club et al. in
       comments filed on May 23, 2022 related to Commonwealth’s application amendment to
       increase the storage capacity of the proposed LNG storage tanks.

       Specifically,

       a.       how often the closures of the Calcasieu Ship Channel due to high winds/rough
                seas, fog, and freezing weather might require a shutdown of the Commonwealth
                facility if the Commonwealth terminal had an LNG storage capacity of 240,000
                cubic meters versus 300,000 cubic meters;
       b.       quantify the impacts of shutting down and restarting the Commonwealth terminal,
                including the amount operating emissions would increase (in tons per year) as a
                result of the shut down and restart process; and
       c.       why reducing the number of LNG storage tanks at the Commonwealth terminal
                from six to five would not reduce the size of the terminal footprint.

       Response:

       The design of the Commonwealth LNG facility has been optimized to make the most
       efficient use of land for any U.S. LNG facility, occupying approximately 14 acres per million
       tonnes of LNG produced annually (Accession No. 20210930-5255). Although reductions
       in size by elimination of equipment are theoretically possible, such reductions
       detrimentally affect the Project’s operational flexibility.

       Commonwealth has based its ratio of LNG storage capacity versus liquefaction and export
       capacity on typical industry practice. The operational buffer provided by the LNG storage
       capacity of the sixth tank equates to approximately one day of operation, which is also
       aligned with industry best practices.

       The frequency of extreme weather events, such as high winds, rough seas, heavy fog,
       and freezing weather during the operational lifespan of the Project is speculative and
       cannot be predicted or planned for with any reasonable degree of certainty, as would be
       the circumstances of the shutdowns and restarts required by each unique event should
       they occur.


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                             Submitted to FERC on June 24, 2022

 Water Resources

 11.   In Commonwealth’s filing from May 23, 2022, it notes a new bridge would be constructed
       to allow access from Highway 27/82 to the temporary access road Commonwealth has
       proposed as part of construction of the pipeline; however, Commonwealth states there
       would be no additional waterbody impacts than those initially described by
       Commonwealth. Explain how Commonwealth would conduct any needed in-water work
       in removing the damaged material of the old bridge and installing a new bridge with no
       potential waterbody impacts.

       Response:

       As shown in Table 2.2-1 of Resource Report 2 (Accession No. 20190820-5125),
       Waterbody C02 will be crossed by a Temporary Access Road. The impact of the 25-foot-
       wide access road over this 65-foot-wide waterbody was estimated at 1,625 feet (i.e., <0.1
       acre). The current/existing waterbody crossing includes four main timber girders,
       nominally 2 feet wide by 1 foot high by 30 feet long, with a 6-foot center-to-center spacing.
       These girders are placed onto a gravel foundation. The partial/remnant crossing deck on
       these timbers is nominally 15 feet long by 8 feet wide. The deck and girder timbers will be
       removed from the canal using equipment located on the approach road from Highway
       27/82. A land-based excavator will be used to skid the timbers onto the approach road,
       from where they will be transported to a disposal site. The new canal bridging will be
       placed in accordance with the permit requirements of both the Cameron Parish Gravity
       Drainage District 7 and the Louisiana Department of Transportation and Development
       (LDOTD). Both these authorities have been contacted with regards to this issue
       (Appendix C). Flow in the drainage ditch will be maintained by a series of either four 48-
       inch or three 52-inch pipe culverts, overlain with gravel to form the wearing surface. A
       land-based excavator will be used to remove in-canal material to the correct elevation, as
       needed. The pipe culverts will be placed sequentially from the south side of the canal, with
       each pipe culvert back-filled and overlaid with a gravel wearing surface. Details will be
       confirmed with Cameron Parish Gravity Drainage District 7 and the LDOTD. The proposed
       workspace will be no more than 25 feet wide (i.e., within the originally proposed width of
       the temporary access road). There will be no change to the impact acreage.


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                                                                                 Office of
                                                                                  Energy
                                                                                 Projects

                                                                           September 2022

                                                                         FERC/FEIS-0316



             FINAL ENVIRONMENTAL IMPACT STATEMENT
                             for the
                  COMMONWEALTH LNG PROJECT


                                           Volume I


             Commonwealth LNG, LLC                           Docket Nos. CP19-502-000
                                                                         CP19-502-001


                                 Federal Energy Regulatory Commission
                                        Office of Energy Projects
                                         Washington, DC 20426

                                       Cooperating Agencies:




                                                                                      JA253
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                                 FEDERAL ENERGY REGULATORY COMMISSION
                                               WASHINGTON, D.C. 20426


         OFFICE OF ENERGY PROJECTS
                                                                          In Reply Refer To:
                                                                          OEP/DG2E/Gas Branch 1
                                                                          Commonwealth LNG, LLC
                                                                          Commonwealth LNG Project
                                                                          Docket Nos. CP19-502-000,
                                                                          CP19-502-001




         TO THE INTERESTED PARTY:
                The staff of the Federal Energy Regulatory Commission (FERC or Commission)
         has prepared a final environmental impact statement (EIS) for the Commonwealth LNG
         Project, proposed by Commonwealth LNG, LLC (Commonwealth) in the above-
         referenced docket. Commonwealth requests authorization to site, construct, and operate a
         natural gas liquefaction and export terminal and an integrated Natural Gas Act Section 3
         natural gas pipeline, in Cameron Parish, Louisiana.
                The final EIS assesses the potential environmental effects of the construction and
         operation of the Commonwealth LNG Project in accordance with the requirements of the
         National Environmental Policy Act (NEPA). FERC staff concludes that approval of the
         proposed project, with the mitigation measures recommended in the EIS, would result in
         some adverse environmental impacts. Most of these impacts on the environment would
         be reduced to less than significant levels; however, FERC staff conclude there would be
         significant impacts on visual resources and impacts on environmental justice
         communities would be disproportionately high and adverse. Regarding climate change
         impacts, this EIS is not characterizing the proposed project’s greenhouse gas emissions as
         significant or insignificant because the Commission is conducting a generic proceeding to
         determine whether and how the Commission will conduct significance determinations
         going forward.1
              The U.S. Army Corps of Engineers, U.S. Coast Guard, U.S. Department of Energy,
         U.S. Department of Transportation’s Pipeline and Hazardous Materials Safety
         Administration, U.S. Environmental Protection Agency, U.S. Fish and Wildlife Service,
         and National Oceanic and Atmospheric Administration’s National Marine Fisheries

         1      Consideration of Greenhouse Gas Emissions in Natural Gas Infrastructure Project Reviews, 178
                FERC ¶ 61,108 (2022); 178 FERC ¶ 61,197 (2022).




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         Service participated as cooperating agencies in the preparation of the final EIS.
         Cooperating agencies have jurisdiction by law or special expertise with respect to resources
         potentially affected by the proposal and participate in the NEPA analysis. Although the
         cooperating agencies provided input to the conclusions and recommendations presented in
         the final EIS, the agencies will present their own conclusions and recommendations in their
         respective Records of Decision for the project.
                The final EIS addresses the potential environmental effects of the construction and
         operation of the following project facilities:
            • six liquefaction trains;
            • six gas pre-treatment trains;
            • two flare systems (containing a total of four flares);
            • six liquefied natural gas (LNG) storage tanks;
            • one marine facility consisting of an LNG carrier berth and barge dock;
            • utilities (e.g., electricity generation, water, plant air, nitrogen, hot oil system);
            • operation and safety systems (e.g., access and haul roads, storm protection
              structures, stormwater drainage systems, spill containment system, fire suppression
              facilities, facility lighting and security, emergency shutdown systems);
            • appurtenant facilities (e.g., administrative facilities, maintenance and warehouse
              buildings, marine facility operator buildings, equipment enclosures and electrical
              rooms);
            • 3.0 miles of 42-inch-diameter pipeline;
            • two interconnection facilities with existing pipelines; and
            • one metering station.
                 The Commission mailed a copy of the Notice of Availability to federal, state, and
         local government representatives and agencies; elected officials; environmental and
         public interest groups; Native American tribes; potentially affected landowners and other
         interested individuals and groups; and newspapers and libraries in the project area. The
         final EIS is only available in electronic format. It may be viewed and downloaded from
         the FERC’s website (www.ferc.gov), on the natural gas environmental documents page
         (https://www.ferc.gov/industries-data/natural-gas/environment/environmental-
         documents). In addition, the final EIS may be accessed by using the eLibrary link on the
         FERC’s website. Click on the eLibrary link (https://elibrary.ferc.gov/eLibrary/search)
         select “General Search” and enter the docket number in the “Docket Number” field (i.e.
         CP19-502). Be sure you have selected an appropriate date range. For assistance, please
         contact FERC Online Support at FercOnlineSupport@ferc.gov or toll free at (866) 208-
         3676, or for TTY, contact (202) 502-8659.



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               The final EIS is not a decision document. It presents Commission staff’s
         independent analysis of the environmental issues for the Commission to consider when
         addressing the merits of all issues in this proceeding.
                Additional information about the project is available from the Commission’s
         Office of External Affairs, at (866) 208-FERC, or on the FERC website (www.ferc.gov)
         using the eLibrary link. The eLibrary link also provides access to the texts of all formal
         documents issued by the Commission, such as orders, notices, and rulemakings.
                In addition, the Commission offers a free service called eSubscription that allows
         you to keep track of all formal issuances and submittals in specific dockets. This can
         reduce the amount of time you spend researching proceedings by automatically providing
         you with notification of these filings, document summaries, and direct links to the
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                        TECHNICAL ACRONYMS AND ABBREVIATIONS
         ACHE               air cooled heat exchanger
         ACI                American Concrete Institute
         ACS                American Community Survey
         AEGL               Acute Exposure Guideline Level
         AERMOD             American Meteorological Society/EPA Regulatory Model
         AIChE              American Institute of Chemical Engineers
         ALPEMA             Aluminum Plate-Fin Heat Exchanger Manufacturer’s Association
         ANSI               American National Standards Institute
         AQCRs              Air Quality Control Regions
         ASME               American Society of Mechanical Engineers
         ASTM               American Society for Testing and Materials
         ATWS               additional temporary workspace
         BA                 Biological Assessment
         Bcf/d              billion cubic feet per day
         BGEPA              Bald and Golden Eagle Protection Act
         BLEVE              boiling liquid expanding vapor explosion
         BMP                best management practice
         BO                 Biological Opinion
         BOG                boil-off gas
         BPVC               Boiler and Pressure Vessel Code
         Bridgeline         EnLink Bridgeline Holdings
         Btu/ft2-hr         British thermal units per square foot per hour
         BUDM               beneficial use of dredged materials
         CAA                Clean Air Act
         CCS                carbon capture and sequestration
         CCPS               Center for Chemical Process Safety
         CEQ                Council on Environmental Quality
         CFR                Code of Federal Regulations
         CH4                methane
         Cl-                chloride ion
         CO                 carbon monoxide
         CO2                carbon dioxide
         CO2e               carbon dioxide equivalent
         COE                United States Army Corps of Engineers
         Commonwealth       Commonwealth LNG, LLC
         COTP               Captain of the Port
         CPRA               Louisiana Coastal Protection Restoration Authority


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         CPT                cone penetration test
         cSEL               cumulative sound exposure level
         CWA                Clean Water Act
         CZMA               Coastal Zone Management Act
         CZMP               Coastal Zone Management Program
         dB                 decibel
         dBA                A-weighted decibel
         DCS                distributed control system
         DOD                Department of Defense
         DOE                United States Department of Energy
         DOT                United States Department of Transportation
         DMMP               Dredged Material Management Plan
         dBpeak             peak sound pressure level
         EEM                estuarine emergent wetland
         EFH                essential fish habitat
         EFO                estuarine forested wetland
         EI                 Environmental Inspector
         EIS                Environmental Impact Statement
         EPA                Environmental Protection Agency
         EPAct              Energy Policy Act
         EO                 Executive Order
         ERP                Emergency Response Plan
         ERPG               Emergency Response Planning Guidelines
         ESA                Endangered Species Act
         ESD                emergency shutdown
         ESS                estuarine scrub-shrub wetland
         FEED               front-end-engineering-design
         FERC               Federal Energy Regulatory Commission
         FHWA               Federal Highway Administration
         FMP                Fisheries Management Plan
         FRA                Federal Rail Administration
         FSA                Facility Security Assessment
         FSP                Facility Security Plan
         FTA                Free Trade Agreement
         FWS                Fish and Wildlife Service
         GHG                greenhouse gases
         GMFMC              Gulf of Mexico Fishery Management Council
         GT                 gas turbine



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         GWP                Global Warming Potential
         H2S                hydrogen sulfide
         HAP                hazardous air pollutants
         HAZID              hazard identification
         HAZOP              Hazard and Operability Review
         HDD                horizontal directional drill
         HEI                Heat Exchanger Institute
         HIPPS              high integrity pressure protection system
         HMB                heat and material balances
         HUC                hydrological unit code
         IBA                Important Bird Area
         IBC                International Building Code
         IHA                Incidental Harassment Authorization
         IMO                International Marine Organization
         ISO                International Organization for Standardization
         ITS                Incidental Take Statement
         IWG                Interagency Working Group
         JPA                Joint Permit Application
         kW/m2              kilowatts per square meter
         Kinetica           LP Kinetica Partners, LLC
         KMLP               Kinder Morgan Louisiana Pipeline
         Ldn                day-night sound level
         Leq                total noise impacts
         Leq(24)            24-hour equivalent sound level
         Lmax               maximum noise impacts
         LAC                Louisiana Administrative Code
         LDEQ               Louisiana Department of Environmental Quality
         LDNR               Louisiana Department of Natural Resources
         LDWF               Louisiana Department of Wildlife and Fisheries
         LFL                lower flammable limit
         LNG                liquefied natural gas
         LOD                Letter of Determination
         LOR                Letter of Recommendation
         LPDES              Louisiana Pollutant Discharge Elimination System
         LPG                liquefied petroleum gas
         m3                 cubic meters
         MAOP               maximum allowable operating pressure
         MBTA               Migratory Bird Treaty Act



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         MCC                motor control center
         MERPS              modeled emission rates for precursors
         MEOW               maximum envelope of water
         Mg/L               milligrams per liter
         MLs                monitoring locations
         MMBtu/hr           million British thermal units per hour
         MMPA               Marine Mammal Protection Act
         MOU                memorandum of understanding
         MP                 milepost
         mph                miles per hour
         MSA                Magnuson-Stevens Fishery Conservation and Management Act of 1976
         MTPA               million metric tonnes per annum
         MTSA               Maritime Transportation Security Act
         MW                 megawatt
         N2O                nitrous oxide
         NAAQS              National Ambient Air Quality Standards
         NAVD               North America Vertical Datum of 1988
         NBSIR              National Bureau of Standards Information Report
         NEHRP              National Earthquake Hazards Reduction Program
         NEPA               National Environmental Policy
         NESHAP             National Emission Standards for Hazardous Air Pollutants
         NFPA               National Fire Protection Association
         NGA                Natural Gas Act
         NGO                non-governmental organization
         NHD                National Hydrographic Dataset
         NHPA               National Historic Preservation Act
         NHTSA              National Highway Traffic Safety Administration
         NM                 nautical miles
         NMFS               National Marine Fisheries Service
         NOAA               National Oceanic and Atmospheric Administration
         NOI                Notice of Intent
         NO2                nitrogen dioxide
         NOX                nitrogen oxides
         NPDES              National Pollutant Discharge Elimination System
         NRCS               Natural Resources Conservation Service
         NRHP               National Register of Historic Places
         NSA                noise sensitive areas
         NSPS               New Source Performance Standards



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         NVIC               Coast Guard’s Navigation and Vessel Inspection Circulars
         NWR                National Wildlife Refuge
         O3                 ozone
         OBE                operating basis earthquake
         OCM                Louisiana Department of Natural Resources Office of Coastal
                            Management
         P&IDs              piping and instrumentation drawings
         Pb                 lead
         PFD                process flow diagram
         PHMSA              Pipeline and Hazardous Materials Safety Administration
         PIPA               Pipelines and Informed Planning Alliance
         Plan               FERC’s Upland Erosion Control, Revegetation, and Maintenance Plan
         Procedures         FERC’s Wetland and Waterbody Construction and Mitigation Procedures
         PM                 particulate matter
         PM10               PM less than 10 microns in diameter
         PM2.5              PM less than 2.5 microns in diameter
         ppe                personal protective equipment
         ppt                parts per thousand
         PSD                Prevention of Significant Deterioration
         psi                pound per square inch
         PTE                potential to emit
         PVBs               pressure vessel bursts
         RHA                Rivers and Harbors Act
         RICE               reciprocating internal combustion engines
         RIE                remove instrument enclosure
         RMP                Risk Management Plan
         RPT                rapid phase transition
         SER                Significant Emission Rate
         SIL                Significant Impact Levels
         SIP                State Implementation Plans
         SIS                safety instrumented system
         SLAMS              State and Local Air Monitoring Stations
         SO2                sulfur dioxide
         SOLAS              International Convention for the Safety of Life at Sea
         SOPEP              Shipboard Oil Pollution Emergency Plan
         SPAR               Spill Prevention and Response Plan
         SSE                safe shutdown earthquake
         SWEL               stillwater flood elevation



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         TEMA               Tubular Exchanger Manufacturers Association
         Terminal           Commonwealth LNG Export Terminal
         tpy                tons per year
         TSS                total suspended solids
         TWIC               Transportation Worker Identification Credential
         UFL                upper flammable limit
         UL                 Underwriters Laboratories
         USC                United States Code
         USCG               United States Coast Guard
         USGS               U.S. Geological Survey
         VOC                volatile organic compounds
         Vs                 velocity
         WSA                Waterway Suitability Assessment




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         EXECUTIVE SUMMARY

         INTRODUCTION

                 On August 20, 2019, Commonwealth LNG, LLC (Commonwealth) filed an application with the
         Federal Energy Regulatory Commission (Commission or FERC). Pursuant to Section 3(a) of the Natural
         Gas Act (NGA), Commonwealth requested authorization to site, construct, and operate a natural gas
         liquefaction and liquefied natural gas (LNG) export terminal, including an integrated NGA Section 3 natural
         gas pipeline, in Cameron Parish, Louisiana. The proposed project was designated as Docket No. CP19-
         502-000 by the Commission and is referred to as the “Commonwealth LNG Project” or “Project” in this
         Environmental Impact Statement (EIS).

                  This is not a decision document. The purpose of the EIS is to inform FERC decision-makers, the
         public, and the permitting agencies about the potential adverse and beneficial environmental impacts of the
         proposed Project and its alternatives and recommend mitigation measures that would reduce adverse
         impacts to the extent practicable. We2 prepared this EIS to assess the environmental impacts associated
         with construction and operation of the Project as required under the National Environmental Policy Act
         (NEPA) of 1969, as amended. Our analysis is based on information provided by Commonwealth, and
         further developed from data requests, field investigations, scoping, literature research, and communications
         with federal, state, and local agencies, and individual members of the public.

                 FERC is the lead agency for the preparation of the EIS. The U.S. Army Corps of Engineers (COE),
         U.S. Coast Guard (USCG), U.S. Department of Energy (DOE), U.S. Department of Transportation (DOT),
         Pipeline and Hazardous Materials Safety Administration (PHMSA), U.S. Environmental Protection
         Agency (EPA), U.S. Fish and Wildlife Service (FWS), and National Oceanic and Atmospheric
         Administration (NOAA) National Marine Fisheries Service (NMFS) are participating in the NEPA review
         as cooperating agencies.3

         Proposed Action
                   The Commonwealth LNG Project consists of two main components: 1) construction and operation
         of the LNG export terminal (Terminal), which includes six LNG plant facilities to liquefy natural gas,4 six
         tanks to store the LNG, an LNG carrier loading/berthing facility (marine facility), and other appurtenant
         facilities; and 2) construction and operation of 3.0 miles of 42-inch diameter pipeline (Pipeline) and one
         new meter station to deliver natural gas to the Terminal. The Project would produce 8.4 million metric
         tonnes per annum (MTPA) of LNG for export on an average of 156 LNG carriers per year.

                  Subject to the receipt of FERC authorization and all other applicable state and federal permits and
         approvals, Commonwealth anticipates beginning construction of the liquefaction facility in 2023 and
         beginning construction of the Pipeline in 2024. Commonwealth proposes to use modular techniques to
         construct the liquefaction plants and portions of the LNG storage tanks off-site in combination with
         traditional on-site construction practices for other Terminal and Pipeline components. Commonwealth




         2       “We,” “us,” and “our” refer to the environmental and engineering staff of the FERC’s Office of Energy Projects.
         3       A cooperating agency is an agency that has jurisdiction over all or part of a project area and must make a decision on a
                 project, and/or an agency that provides special expertise with regard to environmental or other resources.
         4       A liquefaction plant (or train) is a facility that converts natural gas from its gaseous form (as it is transported in
                 pipelines) into its liquefied form, known as LNG. In its liquefied form, natural gas occupies about 1/600th of the
                 volume it does in its gaseous form, which makes it possible to transport large volumes of natural gas by LNG carriers.


                                                                     ES-1                                     Executive Summary
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         asserts this approach would shorten the overall duration of on-site construction such that commercial
         operations could begin by the second quarter of 2026.

         Public Involvement
                  On August 15, 2017, FERC accepted Commonwealth’s request to begin pre-filing and Docket No.
         PF17-8-000 was established to place information related to the Project into the public record. The pre-
         filing review process provides opportunities for interested stakeholders to become involved early in project
         planning, facilitates interagency cooperation, and assists in the identification and resolution of issues prior
         to a formal application being filed with the FERC.

                 We have received comments from the public requesting public hearings regarding the Project
         during the pre-filing process. Commonwealth held an initial open house meeting on October 23, 2017, in
         Johnson Bayou, Louisiana, to introduce the Project to the local community. FERC staff participated in the
         meeting to describe the Commission’s process and provide those attending with information on how to file
         comments with the Commission.

                  On February 22, 2018, FERC issued a Notice of Intent to Prepare an Environmental Impact
         Statement for the Planned Commonwealth LNG Project, Request for Comments on Environmental Issues,
         and Notice of Public Scoping Session (NOI). The NOI was sent during the pre-filing process to about 300
         interested parties, including property owners; elected officials; tribal governments; local, state, and federal
         regulatory agencies; libraries; local emergency responders; and local newspapers in the Project area.
         Publication of the NOI established a 30-day public scoping period.

                 We conducted a public scoping session to provide an opportunity for the public to learn more about
         the Project and provide oral and written comments on environmental issues to be addressed in the EIS. The
         scoping session was held in Johnson Bayou, Louisiana, on March 13, 2018. During the meeting, we
         received oral comments from one individual, which were transcribed by a court reporter, and written
         comments from other members of the public. Additional comments were submitted either by letter or
         electronically. All comments we received were posted to the Commission’s public record through the
         FERC’s online eLibrary system.

                  The pre- filing process ended on August 20, 2019, when Commonwealth filed its application with
         the FERC. On March 16, 2020, the Commission suspended the environmental review schedule for the
         Project pending adequate responses from Commonwealth to Commission staff data requests and an official
         interpretation from PHMSA pertaining to Commonwealth’s proposed LNG storage tank design. On July
         8, 2021, Commonwealth filed an amendment to its Natural Gas Act Section 3 Application to modify the
         proposed LNG storage tank designs and capacities so as not to require an interpretation from PHMSA. On
         July 13, 2021, the Commission issued an additional Notice of Application for Amendment and Establishing
         Intervention Deadline, which established a 21-day comment period for the submission of comments,
         concerns, and issues related to the environmental aspects of the proposed Project. On September 24, 2021,
         the Commission issued a Notice of Intent to Prepare an Environmental Impact Statement, Request for
         Comments on Environmental Issues, and Revised Schedule for Environmental Review for the Project. The
         notice established another 30-day scoping period.

                 During the scoping and comment periods, we received a total of 7 comments from two individuals
         that own land adjacent to the proposed Terminal site; 206 comments from individuals that do not own land
         adjacent to the proposed Project footprint; 11 comments from federal, state, and local agencies; 2 comments
         from Native American tribes; and 13 comments from companies and other non-governmental organizations
         (NGOs). The primary issues raised by the commenters related to potential Project impacts on water quality
         and wetlands, biological resources, recreational activities, local infrastructure, and air quality. We issued
         a Notice of Availability of the Draft Environmental Impact Statement on March 31, 2022. The draft EIS


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         was filed with the EPA and a formal notice of availability was issued in the Federal Register on April 6,
         2022, which established a 45-day comment period on the draft EIS that ended on May 23, 2022. All
         substantive environmental issues identified through this public review process were addressed in the draft
         EIS.5

                  We held two virtual public comment sessions to solicit and receive comments on the draft EIS.
         The sessions were held on April 25, 2022 and April 26, 2022 and provided the public an opportunity to
         present oral comments to a court reporter on the analysis of environmental impacts described in the draft
         EIS. Ten individuals provided oral comments.6 We received written comments from 3 federal agencies, 1
         state agency, 5 non-governmental organizations, and 15 individuals. We also received 1,792 copies of one
         form letter and 579 copies of a second form letter.

                  All comments received in response to the draft EIS are included in our comment responses in
         appendix M. Substantive environmental issues identified through this public review process are addressed
         in this EIS.7

         ENVIRONMENTAL IMPACTS AND MITIGATION
                 We evaluated the potential impacts of construction and operation of the Project on geology; soils
         and sediments; water resources; wetlands; vegetation; wildlife and aquatic resources; threatened,
         endangered, and other special status species; land use, recreation, and visual resources; socioeconomics and
         environmental justice communities; cultural resources; air quality and noise; reliability and safety; and
         cumulative impacts, including climate change. In addition to the no-action alternative, we identified
         potential system, site, configuration, power source, and pipeline route alternatives. Where necessary, we
         recommend additional mitigation measures to minimize or avoid these impacts. Sections 5.1 and 5.2 of the
         EIS contain our conclusions and a compilation of our recommended mitigation measures, respectively.

                 Construction of the Terminal facilities would disturb 118.8 acres of land and 47.0 acres of open
         water. Of this total, 105.7 acres of land and 47.0 acres of open water would be impacted by operation and
         maintenance of the Terminal facilities. The remaining 13.1 acres of land would be temporarily affected
         during construction. Afterward, Commonwealth would restore this area to preconstruction conditions. An
         additional 274.2 acres would be leased by Commonwealth at the Terminal site but would not be affected
         by construction. Construction of the 3.0-mile-long Pipeline would disturb 48.4 acres of land, including
         temporary workspaces, one temporary access road, and aboveground facilities (one meter station and a pig
         launching facility8). Approximately 0.3 acre of land, associated with Pipeline’s aboveground facilities,
         would be affected by operation of the Pipeline. Commonwealth would maintain a 3.5-foot-wide permanent




         5       The transcripts of the public scoping session and all written comments are part of the FERC’s public record for the
                 Project and are available for viewing in eLibrary under docket number CP19-502-000.
         6       The transcripts of the virtual public comment sessions are available for viewing in eLibrary under accession no.
                 20220826-4001.
         7       The transcripts of the public scoping and draft EIS comment meetings and all written comments are part of the FERC’s
                 public record for the Project and are available for viewing in eLibrary under the pre-filing docket number (PF17-8-000)
                 and the certificate proceeding docket numbers (CP19-502-000, CP19-502-001).
         8       A “pig” is a device that travels within a pipeline and is used to clean and dry the pipeline and/or to inspect it for
                 damage or corrosion.



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         right-of-way9 but would restore the entire right-of-way to its pre-construction state, which consists of
         herbaceous estuarine emergent wetland vegetation.

                 Based on our analysis, Project scoping, agency consultations, and public comments, the primary
         Project construction and operational impacts would be on geology, waterbodies and wetlands; vegetation;
         wildlife and aquatic resources; federally listed species; land use, recreation, and visual resources;
         socioeconomics; environmental justice, air quality and noise; reliability and safety; and cumulative impacts,
         including climate change.

         Geology

                 The Project exists within a limited range of geologic conditions and resources. We conclude that
         construction and operation of the Project facilities in accordance with Commonwealth’s proposed
         contingency measures related to mineral and paleontological resources, would not result in a significant
         impact on surface mines, mineral resources, or paleontological resources. Commonwealth would reduce
         the potential for impacts on the Project from natural hazards such as subsidence, coastal erosion, and
         flooding through its proposed engineering design.

                  Commonwealth proposes to use the horizontal directional drill (HDD) method to cross Highway
         27/82, a 10-inch-diameter waterline, and two roadside ditches between and MPs 2.7 and 2.99. The total
         crossing length of the HDD would be approximately 1,940 feet. Commonwealth completed an analysis to
         assess the risk of hydrofracture releases and inadvertent returns of drilling fluid during the HDD process.
         Commonwealth’s risk assessment indicates there is a “moderate” risk of an inadvertent release under
         Highway 27/82 and subsequent highway settlement on the order of one inch. For the remainder of the HDD
         alignment, including the roadside ditch waterbody adjacent to Highway 27/82, Commonwealth’s
         assessment indicates the risk of an inadvertent release is “high” to “very high.” Commonwealth would
         follow FERC’s Guidance for Horizontal Directional Drill Monitoring, Inadvertent Return Response, and
         Contingency Plans. Commonwealth is consulting with the Louisiana Department of Transportation and
         Development to develop an alternative plan for crossing Highway 27/82 if, despite mitigation methods, an
         LDOTD inspector determines during construction that the amount of settlement beneath Highway 27/82 is
         unacceptable. To avoid environmental impacts in such a situation, we recommend in section 4.1.5.6 that
         Commonwealth complete an alternative plan for crossing Highway 27/82 that has been approved by the
         Louisiana Department of Transportation and Development and that Commonwealth should successfully
         complete the HDD or alternative plan for crossing Highway 27/82 prior to the start of construction of the
         remainder of the Pipeline right-of-way. With implementation of Commonwealth’s mitigation methods and
         our recommendations, we conclude that Project impacts on geological resources would be adequately
         minimized and would not be significant.

         Water Resources

                 The primary impacts on water resources from constructing the Terminal would include the filling
         of two unnamed waterbodies at the Terminal site and resuspension of sediments in the water column during
         construction and maintenance dredging of the marine facility. The filling of the waterbodies at the Terminal
         site would result in 2.8 acres of permanent impacts. Impacts on surface waters related to dredging would
         be temporary and would not substantially increase turbidity levels above general ambient conditions within
         the Calcasieu Ship Channel. Commonwealth evaluated the sediments to be dredged in accordance with the



         9       Commonwealth states its permanent easement with the Pipeline right-of-way landowners would include the right to
                 access the right-of-way for activities necessary to protect, inspect, maintain, operate, and repair the Pipeline in
                 accordance with 49 CFR 192 for the duration of Pipeline operation.



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         EPA/COE Evaluation of Dredged Material Proposed for Discharge in Waters of the U.S. – Testing Manual
         and did not identify any evidence of contaminants.

                Construction of the Pipeline would cross three major and two intermediate waterbodies.
         Commonwealth would use open-cut methods to install the Pipeline across the three major waterbodies and
         the horizontal directional drilling (HDD) method for the two intermediate waterbody crossings.
         Commonwealth would restore the open-cut waterbody crossings in accordance with its Wetland and
         Waterbody Construction and Mitigation Procedures (Procedures) and Workspace Restoration Plan.10
         Commonwealth would follow the protocols in its revised HDD Contingency Plan, which includes a detailed
         approach for responding to inadvertent surface releases of drilling fluids in the waterbodies under which
         the HDD would pass.

                 With implementation of the HDD method, revised HDD Contingency Plan, the FERC’s Upland
         Erosion Control, Revegetation, and Maintenance Plan (Plan), Commonwealth’s Procedures (which
         incorporate the FERC’s Procedures)11, we conclude that impacts on water resources would be adequately
         minimized or avoided and would not be significant.

         Wetlands

                  Construction of the Terminal would affect about 95.9 acres of wetlands and result in the permanent
         loss of 89.6 acres of wetlands. Over 70 percent of this permanent impact would affect estuarine emergent
         wetlands, followed by estuarine forested, and estuarine scrub-shrub wetlands. To mitigate unavoidable
         wetland impacts at the Terminal, Commonwealth would purchase wetland mitigation bank credits at a
         quantity specified by the COE and Louisiana Department of Natural Resources Office of Coastal
         Management (OCM) to comply with the Clean Water Act.

                  Construction of the Pipeline facilities would affect a total of 43.6 acres of estuarine emergent
         wetlands, including construction impacts of the additional temporary workspace (ATWS) areas and a
         temporary access road. Approximately 0.3 acre of this impact would result in permanent wetland loss
         resulting from construction of the aboveground facilities. Following construction, the remaining disturbed
         areas, including the permanent right-of-way, would be restored in accordance with Commonwealth’s
         Procedures and Workspace Restoration Plan. Part of Commonwealth’s Procedures and Workspace
         Restoration Plan includes the potential to import fill to offset any loss of backfill volume when restoring
         the right-of-way.

                 With the implementation of Commonwealth’s Procedures to restore wetlands within the temporary
         workspace (and permanent workspace for the Pipeline) and compliance with the COE’s and OCM’s
         mitigation requirements, we conclude that the impacts on wetlands would be adequately minimized.

         Vegetation

                 Construction and operation of the Terminal facilities would permanently impact approximately
         98.5 acres of vegetation habitat, resulting in the loss or conversion of 89.8 acres of wetlands and forested
         chenier habitat, 1.6 acres of tidal slough, and 0.8 acre of open land habitat into industrial land. All impacts

         10      Commonwealth’s Workspace Restoration Plan Rev. 2 was filed on May 23, 2022 as appendix A under accession
                 number 20220523-5182.
         11      The FERC Plan and Procedures are a set of baseline construction and mitigation measures developed to minimize the
                 potential environmental impacts of construction on upland areas, wetlands, and waterbodies. The Plan and Procedures
                 can be viewed on the FERC website at: https://www.ferc.gov/sites/default/files/2020-04/upland-erosion-control-
                 revegetation-maintenance-plan.pdf and https://www.ferc.gov/sites/default/files/2020-04/wetland-waterbody-
                 construction-mitigation-procedures.pdf.



                                                                   ES-5                                    Executive Summary
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         on vegetation related to the Pipeline would occur in estuarine emergent wetland vegetation, as described
         above.

                  One vegetation community of special concern (Coastal Live Oak-Hackberry Forest natural
         community; also known as a chenier habitat) was identified by the FWS and Louisiana Department of
         Wildlife and Fisheries (LDWF) as present within the Terminal footprint. Permanent impacts from the
         Terminal would total 13.3 acres of chenier habitat (23.6 acres of chenier habitat at the Terminal site would
         not be affected by construction). Based on suggestions by LDWF, Commonwealth has proposed mitigation
         that includes fencing the chenier habitat that would not be affected by construction of the Terminal,
         eradicating the feral hogs that are present in the chenier habitat from the fenced areas, and preserving the
         fenced areas from development for the life of the Project.

                 With the implementation of the Commonwealth’s Workspace Restoration Plan and its proposed
         mitigation measures, we conclude that Project impacts on vegetation resources would be mostly short-term
         and minor or adequately mitigated (with the purchase of mitigation credits as required by the COE and
         OCM to comply with the Clean Water Act).

         Wildlife and Aquatic Resources

         Wildlife Resources
                  The primary impact on wildlife from construction of the Terminal and Pipeline would be the loss
         of estuarine emergent, scrub shrub, and forested wetland habitats and chenier habitat, which provide
         nutrients, cover, shelter, and water for a variety of terrestrial and aquatic wildlife species, including
         waterfowl, wading birds, nesting birds, raptors, mammals, reptiles, and amphibians. Construction of the
         Terminal and Pipeline could cause displacement, stress, and direct mortality of individual wildlife species
         that use these types of habitats. Operation of the Terminal would result in increased noise, lighting, and
         human activity that could disturb wildlife in the area and a reduction of usable habitat for most wildlife
         species currently inhabiting the area. However, much of the wildlife known to be present at the site (e.g.,
         racoons, nutria, waterfowl) are common species that are habitat generalists (with the notable exception of
         the eastern black rail, discussed in section 4.7.1.2) and are generally tolerant of anthropogenic activities.
         Operation of the Pipeline would require minimal lighting, activities, or other disturbances that would affect
         wildlife.

                  The wetland and chenier habitats in the Project area are especially important as potential habitat
         for migratory bird species, including songbirds, colonial nesting waterbirds, and raptors. The Project is
         within the Gulf Coast Prairie Bird Conservation Region and the Chenier Plain Important Bird area. Chenier
         habitat provides critical in-transit habitat for migrating birds prior to and after crossing the Gulf of Mexico.
         Commonwealth consulted with the FWS and LDWF to determine measures Commonwealth would
         implement to avoid and minimize impacts on migratory birds. Measures include attempting to adhere to a
         vegetation clearing-restriction window of March 1 through July 31, adhering to FWS-recommended
         conservation measures related to minimizing impacts from flares and lighting, conducting pre-construction
         field surveys for evidence of colonial nesting waterbird rookeries and consulting FWS and LDWF if any
         are found, and protecting chenier habitat present in the Project area that would not be affected by
         construction.

                  We conclude that constructing and operating the Project would not significantly affect wildlife
         populations and wildlife habitat. Commonwealth would minimize impacts on wildlife and habitat by
         implementing its mitigation and avoidance plans for impacts on wetlands and chenier habitat, by following
         the measures outlined in the FERC’s Plan and Commonwealth’s Procedures and Workspace Restoration
         Plan, and by adhering to avoidance and minimization methods recommended by the FWS and LDWF
         related to facility lighting, flare stack design and usage, and conducting nest surveys, as needed.



                                                              ES-6                               Executive Summary
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         Figure 1.0-1   Project Vicinity Map




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         construction equipment and supplies in addition to the modular components of the Terminal during
         construction activities. During operations, Commonwealth would use the barge dock to moor tugboats and
         smaller vessels.

                  Construction of the marine facility would require excavation and dredging along the western
         shoreline of the Calcasieu Ship Channel to provide adequate space to berth LNG carriers and allow passage
         of commercial and recreational vessel traffic in the Calcasieu Ship Channel. Construction would require
         sheet piling within the berthing area and armoring of the adjacent shoreline (upstream and downstream) to
         prevent erosion.

         2.1.1.4    Flare System

                   Commonwealth would install a flare system at the Terminal site for venting excess natural gas, if
         necessary, during maintenance, startup/shutdown, and upset activities. Two flare stacks (comprised of four
         flare systems) would be constructed, one associated with the liquefaction facilities and one associated with
         the marine facility. The liquefaction flare stack would rise to a height of 300 feet and would be the tallest
         structure at the site. It would contain one wet flare for warm relief streams, one dry flare for cold, cryogenic
         relief steams, and a spare flare capable of handling the load of either the wet or dry flares. The marine flare
         stack would rise to a height of 200 feet and would consist of one flare for low-pressure cryogenic vapor
         from the BOG and the vessel dock loading system. Outside of emergency situations, Commonwealth
         estimates flaring would be required for up to 30 days during startup of the Terminal (five days per
         liquefaction train) and then for no more than 12 hours during the first year of operation and 6 hours per year
         in subsequent years. A pilot flare at each stack would be lit at all times. The locations of the flare stacks
         are shown in figure 2.1-1.

         2.1.1.5    Associated Infrastructure

                  Infrastructure associated with the Terminal would include establishment of a power supply and
         construction of access roads, storm protection and stormwater drainage systems, a spill containment system,
         and fire suppression facilities.

                   Power Generation

                  Commonwealth would construct an on-site, natural gas-fired simple cycle electric power
         generation plant. The generation plant would use three 75-mega volt amp natural gas turbine generators to
         produce the approximately 120 megawatts required for operation of the Terminal. Electrical power would
         be distributed throughout the Terminal infrastructure through common industrial electrical distribution
         systems (e.g., transformers, circuit breakers, motor control centers).

                 Commonwealth would also install two diesel stand-by generators with battery backup systems at
         the Project site to provide a source of essential backup power generation for critical equipment and plant
         shutdown if the electrical power system were to fail. Each generator would provide one megawatt of power.
         Diesel for the generators would be stored on-site in a 16,900-gallon capacity storage tank with secondary
         containment. The tank would store enough fuel for seven days of backup power generation.

                   Storm Protection and Stormwater Drainage Systems

                 Commonwealth would construct a storm protection system to encompass the majority of the
         Terminal including the liquefaction trains and LNG storage tanks. The marine facility, flare stacks, and
         maintenance and administrative buildings would not be within the storm protection system (see figure 2.1-
         1). The storm protection system would consist of a new concrete wall that would be 26 feet high on the
         south and east (windward) sides of the site, and 21 feet high on the north and west (leeward) sides. The



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         structure design would be determined during the final design of the Terminal. Commonwealth has
         committed to coordinating with the regulatory community, including NMFS, for design features that would
         minimize impacts of the culvert on aquatic species, wetlands, and EFH.

                 Construction Staging Areas

                 Commonwealth would use one temporary construction and laydown area for construction of the
         Terminal. The 13.1-acre laydown area would be adjacent to the administrative and maintenance buildings
         and extend between Highway 27/82 and the northern extent of the marine facility (see figure 2.1-1).

                 Moran Towing Relocation

                  Moran Towing of Lake Charles, LLC has a tugboat facility on the Calcasieu Ship Channel that is
         currently within the proposed footprint of the Terminal. Commonwealth and Moran Towing have agreed
         to relocate the tugboat facility to the eastern edge of the Terminal footprint, adjacent to the marine facility
         (see figure 2.1-1).

                 Park and Ride Facilities

                 Commonwealth would use two existing gravel parking lots adjacent to Highway 27 in Carlyss,
         Louisiana (approximately 40 miles north of the Terminal site) as Park and Ride facilities for workers to
         park off-site and be shuttled to the Project site during construction. Commonwealth would use an existing
         parking lot at the Southland Airport (Southland Airport Lot) for the duration of the expected 36- to 38-
         month construction period. The Southland Airport Lot is a 6.7-acre lot with a 600-vehicle capacity.
         Commonwealth would use at least part of the existing parking lot near the corner of Highway 27 and State
         Road 1256 (Circle K Lot) on an as-needed basis during peak construction periods. The Circle K Lot is a
         9.9-acre lot with a 1,300-vehicle capacity.

         2.1.2   Pipeline

                 Commonwealth proposes to construct a 3.0-mile-long, 42-inch-diameter natural gas pipeline to
         transport 1.44 Bcf/d of natural gas from three existing pipelines in Cameron Parish (dual 20-inch- and 12-
         inch-diameter Bridgeline pipelines and one 16-inch-diameter Kinetica pipeline) to the Terminal (figure 2.1-
         2). The interconnections with the Bridgeline and Kinetica pipelines are north-northwest of the proposed
         Terminal location. The Bridgeline interconnection would occur at the northern-most point of the Pipeline
         at milepost (MP) 0.0, and the Kinetica interconnection would occur at approximately MP 0.8.
         Commonwealth would construct aboveground facilities, elevated on pilings, at each interconnection point.
         The Bridgeline interconnection would contain a pig launcher and the Kinetica interconnection would
         contain a meter station.

                  As noted in section 2.1.1.1, the southern end of the Pipeline (MP 3.0) would terminate at a metering
         station within the Terminal site. The metering station would consist of a gas separator, a liquid storage and
         loadout facility, custody transfer meters, pressure regulators, emergency shutdown valves, gas analyzers,
         and a pig receiver.

         2.2     LAND REQUIREMENTS

                  Commonwealth would disturb 230.5 acres of land and open water for construction of the Project
         and 153.1 acres during its operation. Of this, 152.8 acres would be permanently disturbed at the Terminal
         site (including the 55.0 acres for the marine facility during both construction and operation) and 0.3 acre
         would be permanently disturbed due to the aboveground facilities associated with the Pipeline. The




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         3.0       ALTERNATIVES
                  As required by NEPA and FERC policy, we evaluated reasonable alternatives to the Project and its
         various components to determine whether any such alternatives would be preferable to the proposed action.
         A reasonable alternative would meet the Project’s purpose and would be technically and economically
         feasible and practical. The range of alternatives analyzed included the No-Action Alternative; system
         alternatives for the proposed Terminal; Terminal site location and layout design alternatives; alternative
         pipeline routes; and dredge spoil disposal location alternatives.

                   As part of the No-Action Alternative, we considered the effects and actions that could conceivably
         result if the proposed Project was not constructed. Under the analysis of system alternatives, we evaluated
         the ability of other existing, planned, or proposed (new or expanded) facilities to meet the Project objectives
         of Commonwealth. Our evaluation of alternative sites for the Terminal focused on several locations in the
         project region. Our evaluation of Terminal layout design alternatives focused on different Terminal
         configurations and our evaluation of alternative pipeline routes assessed different alignments of the Project
         pipeline. Finally, we also assessed onshore and offshore disposal alternatives of Commonwealth’s dredge
         spoils.

                   The principal criteria for considering and weighing the alternatives for the Project were:

               •   the ability of each alternative to reasonably meet Commonwealth’s primary objective of liquefying
                   and exporting to foreign markets 8.4 MTPA of domestically produced natural gas sourced from
                   existing interstate and intrastate pipeline systems in southwest Louisiana;
               •   the technical and economic feasibility and practicality of each alternative; and
               •   whether each alternative would provide a significant environmental advantage relative to the
                   proposed undertaking.
                   Through environmental comparison and application of our professional judgement, each alternative
         is considered to a point where it becomes clear if the alternative could or could not meet the three evaluation
         criteria. Our environmental analysis and this evaluation consider quantitative data (e.g., acreage or mileage)
         and use common comparative factors such as total length, amount of collocation, and land requirements.
         In recognition of the competing interests and the different nature of impacts resulting from an alternative
         that sometimes exist (i.e., impacts on the natural environment versus impacts on the human environment),
         we also consider other factors that are relevant to a particular alternative and discount or eliminate factors
         that are not relevant or may have less weight or significance.

                  The alternatives were reviewed against the evaluation criteria in the sequence presented above. The
         first consideration for including an alternative in our analysis is whether it could satisfy the stated purpose
         of the Project. An alternative that cannot achieve the purpose for the project cannot be considered as an
         acceptable replacement for the Project and would not be considered further.

                  The second evaluation criteria is feasibility and practicality. Many alternatives are technically and
         economically feasible. Technically practical alternatives, with exceptions, would generally require the use
         of common construction methods. Economically practical alternatives would result in an action that
         generally maintains the price competitive nature of the proposed action. Generally, we do not consider the
         cost of an alternative as a critical factor unless the added cost to design, permit, and construct the alternative
         would render the project economically impractical.

                 Alternatives that would not meet the Project’s objective or were not feasible were not brought
         forward to the next level of review (i.e., the third evaluation criterion). Determining if an alternative
         provides a significant environmental advantage requires a comparison of the impacts on affected resources


                                                               3-25                                          Alternatives
                                                                                                                 JA279
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         as well as an analysis of impacts on resources that are not common to the alternatives being considered.
         The determination must then balance the overall impacts and all other relevant considerations. In
         comparing the impact between resources, we also considered the degree of impact anticipated on each
         resource. Ultimately, an alternative that results in equal or minor advantages in terms of environmental
         impact would not compel us to shift the impacts to another location, potentially affecting a new set of
         landowners.

                  Commonwealth participated in our pre-filing process during the preliminary design stage of the
         Project (see section 1.0). This process emphasized identification of stakeholder issues, as well as
         identification and evaluation of alternatives that could reduce environmental impacts. Our analysis of
         alternatives is based on Project-specific information provided by the applicant, affected stakeholders, those
         comments received during Project scoping, publicly available information, our consultations with federal
         and state agencies, and our own research regarding the siting, construction, and operation of the proposed
         pipeline, LNG facilities, and dredge disposal location and their impacts on the environment (i.e., our
         alternatives analysis are comment and resource driven). Unless otherwise noted, we used the same desktop
         sources of information to standardize comparisons between the Project and each alternative (e.g., aerial
         photographs, U.S. Geological Survey [USGS] topographic maps, National Wetland Inventory [NWI] maps,
         agency consultations, and other publicly available information). As a result, some of the information
         presented in this section relative to the Project may differ from information presented in section 4.0, which
         is based on Project specific data derived from field surveys and engineered drawings.

         3.1     NO-ACTION ALTERNATIVE

                 NEPA requires the Commission to consider and evaluate the no-action alternative. According to
         CEQ guidance, in instances involving federal decisions on proposals for projects, no-action would mean
         the proposed activity would not take place and the resulting environmental effects from taking no-action
         would be compared with the effects of permitting the proposed activity. Further, the no action alternative
         provides a benchmark for decisionmakers to compare the magnitude of environmental effects of the
         proposed activity and alternatives.

                 Thus, under the No-Action Alternative, the Project would not be developed and Commonwealth’s
         objective of liquefying and exporting natural gas to foreign markets would not be realized. In addition, the
         potential environmental impacts discussed in section 4.0 of this EIS would not occur.

                 During scoping, we received a comment regarding whether apparently unsubscribed LNG capacity
         at several existing, proposed, or planned LNG Terminals could be contracted and combined to meet the
         projected demand for LNG. While we recognize that liquefaction capacity may not be fully subscribed at
         other Terminals based on contracts executed as of the writing of this EIS, the DOE’s export approval is a
         determination that the export is in the public interest. Therefore, we will not speculate that any portion of
         the liquefaction capacity of other LNG terminals is in “excess” or available as an alternative for use by
         Commonwealth to meet its Project objectives.

                  The No-Action Alternative might result in end users of LNG making different arrangements to
         meet their needs. Although it is speculative to predict what actions might be taken by policymakers or end
         users if the No-Action Alternative is selected, it is possible that renewable energy sources (e.g., solar
         power), traditional energy sources (e.g., coal or fuel oil), or traditional long-term energy sources (e.g.,
         nuclear power) could be used in lieu of the Project. But the location of the facility and use of the fuel (e.g.,
         electricity, heating, industrial feed stock, etc.) would also be speculative. In addition, alternative energy
         sources would not meet the Project objective of liquefying natural gas for export and are beyond the scope
         of this EIS.




                                                              3-26                                          Alternatives
                                                                                                               JA280
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                 We have prepared this EIS to inform the Commission and stakeholders about the expected impacts
         that would occur if the Project were constructed and operated. The Commission will determine the Project
         need and could choose the no-action alternative.

         3.2     SYSTEM ALTERNATIVES

                  We received comments from the public expressing concern that there may be system alternatives
         that would cause fewer land impacts and that these alternatives may be better suited to provide the LNG
         capacity that Commonwealth is proposing. The purpose of the Project is to liquefy and export 8.4 MTPA
         of natural gas to FTA and non-FTA countries. We reviewed system alternatives in the Gulf Coast region
         to evaluate the ability of other existing, modified, approved, planned, or proposed facilities to meet the
         Project purpose and to determine if a system alternative exists that would be technically and economically
         feasible and have a significant environmental advantage over those impacts associated with the Project. In
         the case of the Project, it must also be compatible with project parameters stated in Commonwealth’s DOE
         applications for LNG export to FTA and non-FTA countries. The status identified for each system
         alternative (e.g., planned, proposed, or approved27) is current as of the time this EIS being written, and is
         subject to change over time. By definition, implementation of a system alternative would make construction
         of all or some of the proposed facilities unnecessary; conversely, infrastructure additions or other
         modifications to the system alternative may be required to increase capacity or provide receipt and delivery
         capability consistent with that of the proposed facilities. Such modifications may result in environmental
         impacts that are less than, comparable to, or greater than those associated with construction and operation
         of the proposed facilities. It should also be noted that any future expansion plans do not need to be addressed
         in this document as expansion of the terminal would require an additional NEPA document. For this reason,
         and because the impacts of hypothetical expansion are not reasonably foreseeable, they are not addressed
         here.

                  The system alternatives identified include both existing LNG terminals with planned, proposed, or
         authorized expansions, as well as new LNG terminals planned, proposed, or authorized on greenfield sites.
         We received a comment from the public requesting that the comparison of the Project with potential system
         alternatives be conducted as a comparison of the total liquefaction capacities of both the Terminal and the
         system alternatives. These potential system alternatives, and their total MTPA capacities, are identified in
         table 3.2-1 below. Our analysis was predicated on the assumption that each project has an equal chance of
         being constructed and would therefore be available as a potential alternative. However, market forces will
         ultimately decide which and how many of these facilities are built.




         27      Proposed projects are projects for which the proponent has submitted a formal application to the FERC; planned
                 projects are projects that are either in pre-filing or have been announced but have not been proposed. Approved projects
                 are projects that have received FERC authorization.


                                                                     3-27                                                 Alternatives
                                                                                                                              JA281
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                                                                   TABLE 3.2-1


              Liquefied Natural Gas Export Terminals with Planned, Proposed, or Approved Liquefaction
                          Projects Along the Gulf Coast – Summary Profile of System Alternatives

                                                                                                                          In-Service
                             Project                            MTPA                       FERC Status a/
                                                                                                                         Target Date
          EXISTING LNG TERMINAL EXPANSIONS
          Approved Projects
            Cameron LNG Trains 1-3                               14.95                         In-Service                   2020
            Freeport LNG Trains 1-3                               15.3                         In-Service                   2020
            Corpus Christi LNG Trains 1-3                         16.9                         In-Service                   2021
            Sabine Pass LNG Trains 1-6                            32.1                         In-Service                   2022
            Golden Pass LNG                                       15.6                    Under construction                2024
            Cameron LNG Expansion Train 4                         6.75                Approval received 5/5/16              2026
            Lake Charles/Trunkline LNG                           16.45               Approval received 12/17/15             2028
            Freeport LNG Expansion Train 4                        5.1                 Approval received 5/16/19             2026
            Gulf LNG Liquefaction Company                        10.85                Approval received 7/16/19             2024
            Corpus Christi LNG Stage 3                           11.45               Approval received 11/22/19             2024
          NEW LNG TERMINALS
          Approved Projects
            Driftwood LNG                                         27.6                    Under construction                2026
            Venture Global Calcasieu Pass                         12.0                         In-Service                   2022
            Magnolia LNG                                          8.0                 Approval received 4/15/16             2023
            Delfin LNG Deepwater Port                             9.2                 Approval received 9/28/17             2024
            Port Arthur LNG Phase 1                               13.5                Approval received 4/18/19             2023
            Venture Global Plaquemines LNG                        20.0                    Under construction                2024
            Texas LNG                                             4.0                Approval received 11/22/19           pending b/
            Rio Grande LNG                                        27.0               Approval received 11/22/19             2026
            Magnolia LNG Amendment                                0.8               Approval received 10/7/2020             2026
          Proposed Projects
            Port Arthur LNG Phase 2                               13.5                 Application filed 2/19/20            2028
            Venture Global CP2 LNG                                20.0                Application filed 12/2/2021           2026
          Planned Projects
            Port Fourchon LNG                                     5.0                 Pre-filing initiated 8/21/17         pending
            Venture Global Delta LNG                              24.0                Pre-filing initiated 4/17/19         pending
          a/ Approved indicates the project has been certificated by the Commission.
          b/ Construction for the Texas LNG project has not begun; no estimated start of construction is available




                                                                        3-28                                            Alternatives
                                                                                                                           JA282
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                  As identified in table 3.2-1, there are seven existing LNG terminal sites along the Gulf Coast in the
         southeastern United States with approved, proposed, and/or planned expansion(s) to export to FTA
         countries. We also identified 11 new LNG terminal projects approved, proposed, or planned on greenfield
         sites. Each of the seven expansion projects and 11 new LNG projects was evaluated as a potential system
         alternative to the Project.

                   Each proposed project is authorized from or has applied to DOE to export to FTA countries. The
         NGA, as amended, has deemed FTA exports to be in the public interest; therefore, we cannot speculate or
         conclude that excess capacity is available from the listed proposed projects to accommodate the purpose
         and need of the Commonwealth LNG Project. Consequently, we must conclude Commonwealth’s
         proposed export capacity at any other existing or proposed LNG facility would require an expansion or new
         facilities. Some of the facilities, such as Freeport LNG, are unlikely to have the available acreage to expand
         its facilities to accommodate the purpose and need of the Project. For those remaining LNG facilities, there
         may be available acreage to expand the existing or proposed facilities. However, expansion would require
         similar structures as the facilities proposed for the Terminal, resulting in environmental impacts similar to
         the Project. These systems alternatives, therefore, offer no significant environmental advantage over the
         proposed Project and are not considered to be preferable.

         3.3       ALTERNATIVE TERMINAL SITES

                  To minimize the potential environmental impacts from the proposed action, we evaluated potential
         alternative sites for the Project within the Gulf Coast region that meet the following criteria related to site
         size and zoning, marine operations, and infrastructure.

         Site size and availability:

               •   site has sufficient acreage for the current Project design (at least 200 acres); and
               •   the surrounding land use is compatible for construction of an LNG Terminal.
         Marine Operations:

               •   site has waterfront access sufficient to construct a berth for LNG carriers with capacities of up to
                   216,000 m3 (at least 1,500 feet of shoreline);
               •   site is adjacent to a navigational channel deep enough to accommodate LNG carriers with capacities
                   of up to 216,000 m3 (depth of at least 40 feet); and
               •   navigational channel within proximity of the site is wide enough to accommodate a turning basin.
         Infrastructure:

               •   site has reasonably close access to a natural gas supply that can provide sufficient volumes of
                   natural gas to the Project;
               •   site has reasonable proximity to utilities (water and electricity); and
               •   site has suitable road and highway access.
                  We received multiple comments from the public requesting Commonwealth to consider specific
         alternative locations for the Terminal site. The alternative sites included the parcel of privately owned land
         north of the Cameron Ferry landing on Highway 27/82, and south of St. John’s Island; the land adjacent to
         the Omega Protein, Inc. fish-processing plant approximately 0.75 mile north of the proposed Terminal
         location; on Monkey Island; and along the lower Mississippi River in Plaquemines Parish, Louisiana. These
         suggestions are included in our assessment as Alternative sites 1, 2, 3A, and 5, respectively.



                                                                3-29                                         Alternatives
                                                                                                                JA283
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                  We identified three additional alternative sites and the proposed site for assessment based on the
         above criteria during the Project’s initial development. However, based on the lack of availability of several
         of those sites over time, at our request Commonwealth identified three additional alternatives (Alternative
         Sites 6-8). The locations of the sites are provided in figures 3.3-1a-e and their attributes are summarized in
         table 3.3-1. We have received comments from the public expressing concern that including the alternative
         sites that are no longer commercially available in the EIS presents a false appearance of considering a wide
         range of alternatives despite some of the alternatives not being available. We are including here the sites
         that are no longer commercially available to identify that the sites were previously considered as they are
         sites recommended as alternatives in the public comments. However, we do not provide in-depth
         descriptions of the potential environmental advantages of these sites given that under section 3 of the
         Natural Gas Act these alternatives are no longer feasible.

                   We also received a comment that the proposed Project site is the only site that would directly impact
         protected wildlife species and that typical wetland mitigation plans would not resolve impacts on the eastern
         black rail, a bird species federally classified as threatened and likely present at the Project site, because of
         the limited habitat in the region where they can be found. Threatened and endangered species consultation
         with the FWS has not been conducted for the alternative sites; therefore, we do not have an official
         accounting of the potential presence of protected species at the alternative sites. However, an unofficial
         inquiry of the FWS’ Information for Planning and Consultation online system28 indicates protected species
         may be present at all eight of the alternative sites, including the potential for presence of the eastern black
         rail at six of the eight alternative sites. Project impacts on the eastern black rail are addressed in section
         4.7.1. In short, the FWS issued a Biological Opinion that the Project is not likely to jeopardize the
         continued existence of the eastern black rail. The FWS provided mandatory Reasonable and Prudent
         Measures that were deemed necessary and appropriate by the FWS for Commonwealth to follow to monitor
         and minimize impacts on eastern black rails. Further, the FWS provided a suite of Terms and Conditions
         and Monitoring and Reporting Requirements for Commonwealth to abide by in association with the
         Reasonable and Prudent Measures. Commonwealth accepted the terms and conditions of the BO on
         October 6, 2021.

                  During the public comment period for the draft EIS, we received a comment from the public
         suggesting the alternatives analysis was not conducted in a quantitative manner and recommended that
         FERC use tools such as the CPRA Coastal Master Plan Viewer or the National Fish and Wildlife
         Foundation’s Coastal Resilience Evaluation and Siting Tool. The commenter noted that the CPRA Coastal
         Master Plan Viewer showed the Terminal site as falling within the tool’s highest flood risk category (16-
         feet-plus). Table 3.3.1 provides a quantitative comparison of each of the proposed Alternative Sites and
         while the National Fish and Wildlife Foundation’s Coastal Resilience Evaluation and Siting Tool provides
         quantitative values for a suite of resource parameters, they are not able to integrate many of the parameters
         in table 3.3.1, such as dredging volumes and acreage impacts from feed gas pipelines, that must also be
         weighed. We also note that the CPRA Coastal Master Plan Viewer shows approximately two-thirds of the
         Terminal site to be in the 7 to 9 feet flood risk and even the 1 to 3 feet flood risk in some scenarios.
         Additionally, Alternative Sites 1, 2, 4, 6, and 7 all contain large portions, if not the entirety of the sites,
         within the 16-foot-plus range and Alternative Sites 3A and 5 contain portions of the site within the next
         range of flood risk at 13 to 15 feet. Alternative site 8 is in Texas and therefore does not have CPRA data
         associated with it; however, much of the site is wetland habitat and would therefore be expected to have
         comparable flood risk as Alternative Sites 1, 2, 4, 6, and 7.




         28      See https://ipac.ecosphere.fws.gov/.


                                                              3-30                                          Alternatives
                                                                                                               JA284
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         Figure 3.3-1a   Alternative Terminal Sites




                                                      3-31                          Alternatives
                                                                                       JA285
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         Figure 3.3-1b   Alternative Terminal Sites




                                                      3-32                          Alternatives
                                                                                       JA286
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         Figure 3.3-1c   Alternative Terminal Sites




                                                      3-33                          Alternatives
                                                                                       JA287
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         Figure 3.3-1d   Alternative Terminal Sites




         Figure 3.3-1e   Alternative Terminal Sites




                                                      3-34                          Alternatives
                                                                                       JA288
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                                            3-35                            Alternatives
                                                                               JA289
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         Figure 3.3-1f   Alternative Terminal Sites




                                                      3-36                          Alternatives
                                                                                       JA290
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                                                                                  TABLE 3.3-1


                                              Commonwealth LNG Terminal Alternative Sites 1-8 Location Comparison

                                          Proposed    Alternative   Alternative   Alternative   Alternative   Alternative   Alternative   Alternative   Alternative
                     Criteria
                                             Site        Site 1      Site 2 a/    Site 3A a/       Site 4        Site 5        Site 6        Site 7        Site 8

          Site Size and Availability

          Acres available for
          construction of Project (200      393          300           189          161.9          568           462           251           317            421
          acres needed)

          Availability of site for
                                            Yes           No            No           Yes           Yes           Yes           Yes           Yes            Yes
          purchase or lease

          Marine Operations

          Linear feet of waterfront
                                           2,700        4,900         5,400          0 b/         3,650         5,624         7,328         4,064          2,451
          available (1,500 needed)
          Turning basin construction
                                             No          Yes           Yes           Yes           Yes           Yes           Yes           Yes            Yes
          required
          Dredging Volume (cubic
                                          1,730,000   4,800,000     6,010,000       NA c/       1,340,000        0 d/       5,675,000     5,675,000      4,570,000
          yards)
          Approximate distance from
          Bar Channel Entrance              32.5         35.9          33.6          33.1           56           76 e/         49.4          53.8         91.1 e/
          (miles)

          Infrastructure

          Approximate distance to
          natural gas feed pipelines        3.04          0.7           2             1.2          23.2          20.2          15.6          19.2          69.4
          (miles)
          Distance to utilities (miles)      0            0.7           0             0             1.5           0             0             0.6            0

          Distance to road and/or
                                          Adjacent     Adjacent      Adjacent         0.3        Adjacent      Adjacent      Adjacent      Adjacent      Adjacent
          highway (miles)

          Site Environmental Factors




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                                                                                     3-37                                                               Alternatives
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                                                                             TABLE 3.3-1


                                          Commonwealth LNG Terminal Alternative Sites 1-8 Location Comparison

                                      Proposed   Alternative   Alternative   Alternative   Alternative   Alternative   Alternative   Alternative   Alternative
                    Criteria
                                         Site       Site 1      Site 2 a/    Site 3A a/       Site 4        Site 5        Site 6        Site 7        Site 8
          NWI wetlands mapped
                                        184         132            73          159.7         249 g/          13           155           31.3          402.3
          (acres) f/

          NWI wetlands mapped
                                        46.8        44.0          24.3          98.6         43.8 g/         2.8          61.8           9.9          95.6
          (percent of site)
          USGS National
          Hydrography Dataset
                                       1,060         0             0             0          2,813 g/         0             0             0              0
          Streams (feet) requiring
          filling
          Approximate Distance to
                                       2.5 h/        2.5           2.0           1.0          1.25       0.03 – 0.1        0.7           0.6           0.3
          Residences (miles)

          Feed Gas Pipeline Environmental Factors

          NWI wetlands crossed
                                         24          4             17            7.5           17           178          113.7         142.4          80.9
          (acres) i/

          Roads crossed                  1           0             0             1             26            1             6             8             33

          Co-location with existing
                                         0           0             0             0.1           23            12            0.6           4.2          69.4
          right-of-way (miles)

          Residences Within 50 feet      0           0             0             0             2             0             1             1              4

          Environmental Justice Communities

          Site parcel crosses an
          environmental justice          N           N             N             Y             N             N             Y             N              N
          community (yes/no)
          Feed gas pipeline crosses
          an environmental justice       N           N             N             Y             Y             Y             Y             Y              Y
          community (yes/no)




JA292
                                                                                3-38                                                               Alternatives
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                                                                                            TABLE 3.3-1


                                                   Commonwealth LNG Terminal Alternative Sites 1-8 Location Comparison

                                            Proposed       Alternative      Alternative     Alternative      Alternative      Alternative     Alternative      Alternative      Alternative
                     Criteria
                                               Site           Site 1         Site 2 a/      Site 3A a/          Site 4           Site 5          Site 6           Site 7           Site 8
          a/ Alternatives 2 and 3A include only the parcels available at the time the analysis was completed.
          b/ Linear feet of waterfront at this site noted as zero because the site’s location on the Cameron Loop Channel precludes LNG carriers from begin able to access the site.
          c/ Dredge volume not provided because dredging any sized turning basin at this location was deemed infeasible.
          d/ Dredge volume at this site is noted as zero because the Mississippi River at this location is wide and deep enough such that no turning basin would need to be required.
          e/ Alternative sites 5 and 8 are not accessed through the Bar Channel; therefore, the Alternative 5 measurement is the distance from Alternative 5 to Southwest Pass, where the
          Mississippi River meets the Gulf of Mexico; the Alternative 8 measurement is the distance from the entrance to the Sabine Pass Channel, which access the Sabine Pass Channel
          on which Alternative 8 is located.. Alternative 8 is approximately 7 miles from the Gulf of Mexico.
          f/ Acreages for all of the alternative Terminal sites represent National Wetlands Inventory (NWI) wetlands mapped by the U.S. Fish and Wildlife Service. Because the boundaries
          of jurisdictional wetlands may differ from NWI wetlands, the wetland acreage numbers provided in this table are different than those reported elsewhere in this EIS for the proposed
          Terminal.
          g/ The Alternative Site 4 parcel contains an approximate 125-acre upland area that fronts the Calcasieu Industrial Canal with approximately 2,600 feet of shoreline. If
          Commonwealth restricted the location of the Terminal to this block of upland the impacts on NWI wetlands and USGS National Hydrography Dataset Streams would be much lower
          than the values presented in this table.
          h/ There is also an RV pad that serves as a secondary residence site for the landowner approximately 0.3 mile west of the proposed Terminal footprint.
          i/ Acreage based on a standard 110-foot-wide construction right-of-way.
          j/ The distance assessed for environmental justice block groups is discussed in section 4.9.12.2.




JA293
                                                                                                 3-39                                                                          Alternatives
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                 All site alternatives are zoned for heavy industrial use or have no zoning limitations and are in
         industrial areas. With respect to air permitting, the proposed Terminal site and all eight alternative sites are
         within attainment air quality zones. Screening criteria used to evaluate the feasibility and potential
         environmental advantage of each site to select it for further consideration included the availability of land
         for purchase or long-term lease and a significant reduction in impacts on environmental resources.

         3.3.1   Proposed Terminal Site – Commonwealth, Cameron Parish, Louisiana

                   The proposed Terminal site is on 393 acres of property approximately 2.5 miles southwest of the
         Town of Cameron in Cameron Parish, Louisiana. The southern border of the site is approximately 900 feet
         north of the Gulf of Mexico and the site has about 2,700 feet of frontage on the Calcasieu Ship Channel. It
         is in a remote, industrial region over 2.5 miles from the nearest residential neighborhood.29 The site is not
         in an environmental justice community. There is a concrete pad about 0.15 mile west of the Terminal site
         that is used as an RV parking site by the owner. The proposed Pipeline route would be 3.0 miles long,
         crossing approximately 24 acres of wetlands and one road.

                  This site is made up of developed land, open land, open water, cheniers, and wetlands. NWI
         mapping indicates that approximately 47 percent (184 acres) of the property contains mapped wetlands,
         and 1,060 feet of National Hydrographic Dataset (NHD)-mapped streams would be impacted.
         Commonwealth has sited the Terminal to avoid about 48 percent of the wetlands at the site. The chenier
         habitat, although generally degraded, is rare and important habitat for migratory birds and is not present at
         any of the alternative sites. Commonwealth is working with federal and state agencies to avoid and
         minimize the Project effects on wetland and chenier habitat and to provide sufficient mitigation for the
         unavoidable impacts (see sections 4.4 and 4.6).

                  Dredging and/or construction at the proposed Terminal site and each of the alternative sites would
         impact EFH. Each site would require some amount of mitigation for impacts on wetlands and EFH. The
         channel configuration at the proposed Terminal site would require less dredging for development and
         maintenance compared to five of the seven other alternatives, for which dredging volumes were considered,
         due to its location and the ability to use an existing turning basin.30 The number of vessels transiting to the
         Terminal would remain the same for each alternative; however, the transit distance in the Calcasieu Ship
         Channel would be shortest to the proposed Terminal site. The proposed site also would have the shortest
         approach through the Bar Channel from the Gulf and has sufficient existing road/highway access.

         3.3.2   Alternative Site 1 – North of Cameron Ferry Landing, Cameron Parish, Louisiana

                  Alternative Site 1 is a 300-acre parcel of privately owned land north of the Cameron Ferry landing
         on Highway 27/82, and south of St. John’s Island. This site was available at the time that alternatives were
         first considered; however, it has since become unavailable. Therefore, under section 3 of the Natural Gas
         Act, this alternative is no longer feasible and was not carried forward for additional consideration.

         3.3.3   Alternative Site 2 – South of Cameron Ferry Landing, Cameron Parish, Louisiana

                Alternative Site 2 is a 300-acre parcel of privately owned land south of the Cameron Ferry landing
         in Cameron Parish, Louisiana. Evaluation of this site as an alternative was requested by a local landowner.

         29      There is one residential camp site and a commercial property within the Project boundary; both would be removed or
                 relocated according to negotiated terms. There is also an RV pad that serves as a secondary residence site for the
                 landowner about 0.3 mile west of the Terminal.
         30      Only 7 alternatives have dredging volumes for comparison because the location of Alternative Site 3A on the Cameron
                 Loop Channel precludes the possibility of LNG carriers transiting to the site. Commonwealth intends to use the
                 Calcasieu Pass LNG turning basin on the east side of the Calcasieu Ship Channel, across from the Project (see FERC
                 docket number CP15-550-000).


                                                              3-40                                                  Alternatives
                                                                                                                           JA294
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         The area is zoned for heavy industrial use. It is also on the west bank of the Calcasieu Ship Channel, with
         a channel frontage of approximately 5,400 feet, and is 0.7 mile north of the Gulf of Mexico shoreline.
         Highway 27/82 passes from north to south through the eastern quarter of the site. This site was available
         at the time that alternatives were first considered; however, it has since become unavailable. A portion of
         the site (26 percent) is no longer commercially available, and it is unlikely that the remaining land would
         be of sufficient size to support the proposed Project. Highway 27/82 runs through the center of the site and
         would need to be relocated from its current location to accommodate the footprint of an LNG terminal and
         avoid having the highway pass among the terminal facilities. Under section 3 of the Natural Gas Act, this
         alternative is no longer feasible and was not carried forward for additional consideration.

         3.3.4   Alternative Site 3A – Monkey Island, Cameron Parish, Louisiana

                  Alternative Site 3A is a 161.9-acre parcel of privately owned land on Monkey Island in Cameron
         Parish, Louisiana. While Monkey Island is a 450-acre area of land, Monkey Island LNG and CP2 LNG
         hold lease options for the majority of the site. Therefore, only the unleased area was assessed as part of
         this alternative. The site is across from the proposed Terminal site on the Calcasieu Ship Channel,
         approximately 1.2 miles north of the Gulf of Mexico shoreline. The area is zoned for heavy industrial use,
         and the closest residences are about 0.2 mile from the site; however, no road/bridge access to the island is
         present. A heavy haul bridge/road would have to be constructed to access the site. The site is also part of
         an environmental justice community (Census tract 9702.01 block group 3). Approximately 98.6 percent
         (159.7 acres) of the site is mapped as NWI wetland. The site would require approximately 1.2 miles of
         pipeline to reach the Kinetica and Bridgeline feed gas pipeline systems. The pipeline would cross the
         Calcasieu Ship Channel (requiring horizontal directional drilling) and impact approximately 7.5 acres of
         NWI-mapped wetlands.

                  The only waterfront available is along the barge channel and would not support construction of a
         turning basin. Construction of a turning basin would require additional dredging north or south of the
         island. Navigation of LNG carriers to the site could pose safety hazards due to the narrow channel between
         Monkey Island and the town of Cameron. The site has no road access to the mainland and development of
         a heavy-haul bridge and access road to support the facility would cause additional impacts on aquatic, EFH,
         and water resources (e.g., increases in turbidity and construction noise), as well as impacts on businesses
         and or residences in Cameron where the bridge would connect to the mainland. The bridge would also
         limit the size and types of vessels that could traverse through the channel between Cameron and Monkey
         Island, including LNG carriers. Given the lack of existing infrastructure, its location being part of an
         environmental justice community, the potential environmental disadvantages, and the feasibility limitations
         (especially the lack of turning basin and navigation of LNG carriers), Alternative 3A was not carried
         forward for additional consideration.

         3.3.5   Alternative Site 4 – Industrial Canal West of ALCOA Plant, Calcasieu Parish, Louisiana

                  Alternative Site 4 is a 568-acre parcel situated on the north side of the Calcasieu River Industrial
         Canal, approximately 9 miles southwest of the City of Lake Charles and 24 miles north of the Gulf of
         Mexico shoreline. The site has a shoreline frontage of about 3,650 feet. Two authorized LNG projects are
         immediately east of the site on opposite sides of the Industrial Canal: Lake Charles LNG on the north side
         of the canal and Magnolia LNG on the south side of the canal. The site is not within an environmental
         justice community. The site has no existing roads or utilities and approximately 49 percent (282 acres) of
         the site is mapped as NWI wetland. The site is commercially available for purchase or long-term lease.
         The site would require approximately 23.2 miles of pipeline, extending northeast of the site, to reach a
         feasible feed gas pipeline system (connecting to the Kinetica and Bridgeline systems at the same location
         as the proposed Pipeline would not be feasible). The pipeline would cross 26 roads and approximately 17
         acres of NWI-mapped wetlands.



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                 LNG carriers calling at Alternative Site 4 would have to transit an additional 24 miles up the
         Calcasieu Ship Channel, increasing encounters with ship traffic en route. There could be delays due to
         anchorage times to wait for other LNG tankers transiting in the opposite direction, which would result in
         an increase in air emissions from the LNG carriers and tugboats. Alternative Site 4 is adjacent to an existing
         public road; however, there are no existing utility lines that could provide service. A 1.5-mile utility line
         route would need to be constructed to the site, crossing about 4.3 acres of NWI wetlands. NWI information
         indicates that Alternative Site 4 would also impact an additional 65 acres of wetlands compared to the
         proposed Terminal site.

                  We received a comment during the draft EIS public comment period suggesting that, given the
         large size of the parcel, it may be possible to at least partially avoid wetland impacts at the site and thereby
         increase the environmental advantage of the site. Upon review, the site appears to have an approximately
         125-acre block of near-contiguous upland forested land with approximately 2,600 feet of the shoreline
         frontage. There appears to only be an approximately 2.9-acre, permanently flooded palustrine
         unconsolidated bottom wetland in the northwest portion of this upland block. There also appears to be a
         corridor of upland forested land connecting this upland block to the public road (West Tank Farm Road)
         that parallels the northern boundary of the full parcel. This corridor runs adjacent to and then crosses an
         apparent drainage ditch but otherwise extends, at a width upwards of 260 feet, approximately 1.5 mile from
         the contiguous upland forested block to West Tank Farm Road. Although the entire parcel is comprised of
         about 43 percent wetland habitat, it does appear, as the commenter notes, that there would be enough
         acreage within the parcel to site a terminal of an equivalent size as the proposed Terminal on the waterfront
         of the Calcasieu Industrial Canal, and avoid direct Terminal impacts on wetlands aside from the noted
         approximately 2.9-acre palustrine wetland.

                 As noted in table 3.3-1, dredging for a turning basin at Alternative Site 4 would require removal of
         approximately 390,000 fewer cubic yards than would be required at the proposed marine facility.
         Additionally, the dredged area for this alternative would be at the terminus of the Calcasieu Industrial Canal,
         which is surrounded by industrial buildings on all sides. As noted above, constructing the Project on the
         Alternative Site 4 parcel would require construction of a 23.2-mile feed gas pipeline. The presence of
         existing rights-of-way between the alternative site and the closest feasible natural gas pipeline
         interconnection indicate the feed gas pipeline would have the potential to be co-located with existing rights-
         of-way for 23 of the 23.2 miles.

                  However, as noted above, the additional 24 miles that LNG carriers would be required to transit to
         reach the Terminal would result in increased air emissions and potential impacts on aquatic resources,
         including marine mammals, associated with the Project. Furthermore, the substantially extended pipeline
         length could require additional aboveground facilities, such as a compressor station, which could result in
         permanent land use or vegetation resource impacts and increased air emissions. Although the pipeline
         would cross fewer acres of mapped NWI wetlands than the Project’s Pipeline (17 acres for Alternative Site
         4 versus 24 acres for the proposed Project), the route would require crossings of 26 roads (versus 1 for the
         Proposed Pipeline) and would pass through or be adjacent to numerous houses and neighborhoods (2 of
         which would be within 50 feet of the pipeline). Approximately 17 of the 23 miles of feed gas pipeline
         right-of-way would pass through environmental justice communities (Census Tract 17 Block Group 4 and
         Census Tract 20 Block Group 4), whereas the proposed Project would not cross or be constructed within
         any environmental justice communities.

                  Given the increased air impacts related to the longer vessel transits that would be required to reach
         the site; the associated addition to vessel traffic congestion within the Calcasieu Ship Channel that would
         occur due to having to transit the approximately 24 miles farther than what would be required for the
         proposed Project site; and the potential resource impacts related to the 20 additional miles of feed gas
         pipeline that would be necessary (including road crossings and the potential necessity for a compressor
         station); and that almost 75 percent of the pipeline route would be within environmental justice


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         communities, we conclude that Alternative site 4 does not provide a significant environmental advantage
         over the proposed Project location and was therefore not carried forward for additional consideration.

         3.3.6   Alternative Site 5 – Mississippi River, Plaquemines Parish

                 Alternative Site 5 is a 462-acre site on the lower Mississippi River in Plaquemines Parish,
         Louisiana, within an industrially zoned area. It contains 5,624 feet of waterfront, and the site was
         commercially available at the time of this assessment. The land cover at the site is primarily forested or
         shrubland habitat, with a smaller portion of developed and wetland areas. Connection to the closest feed-
         gas supply would require approximately 20 miles of pipeline. Although the pipeline could be co-located
         with an existing right-of-way for over 11 miles, the route would pass almost entirely through wetlands and
         open water habitat classified as EFH (figure 3.3-1c). Given the location of the site, Commonwealth has
         determined that no additional turning basin would be needed. Any dredging would be limited to
         construction of the berth slip.

                  LNG carriers calling at the Terminal would need to transit approximately 76 river miles upstream
         using the Southwest Pass. This represents the greatest distance for LNG carrier transit from the Gulf of
         Mexico compared to the other alternative locations sited on the Calcasieu Ship Channel. The increased
         travel distance would likely result in a minor increase in air emissions as compared to the proposed Terminal
         site. According to NWI mapping, Alternative Site 5 would impact the least wetland acreage for construction
         of the Terminal. The natural gas feed pipeline would disturb the greatest amount of wetland acreage of all
         alternatives (approximately 176 acres). Although these impacts would be temporary, the longer pipeline
         would likely require construction of additional permanent upstream facilities (e.g., pipeline looping and
         compression stations) resulting in further potential environmental impacts. The pipeline would also cross
         an environmental justice community. Construction and operation would require clearing of about 240 acres
         of forested vegetation.

                  Alternative Site 5 would be adjacent to existing utilities and public roads. However, there are six
         residences along the waterfront between 150 and 750 feet from the site. There is also a community center
         and local park about 0.5 mile from Alternative Site 5. Overall, Alternative Site 5 would result in the fewest
         acres of permanently filled wetlands. However, it would require the permanent removal over almost 250
         acres of trees and would likely require wetland/EFH fill for pipeline aboveground facilities. We received
         comments that this forest is heavily disturbed. However, utilizing this site could also have adverse effects
         on neighboring residents and the community center. Given its potential effects on the local community,
         pipeline impacts on an environmental justice community and the environmental disadvantages associated
         with the site’s distance from natural gas supply, loss of forest habitat due to clearing at the site (even though
         it may be low quality forest), and the extended transit distance required for LNG carriers, Alternative 5
         would not provide a significant environmental advantage to the proposed Project location and was not
         carried forward for additional analysis.

         3.3.7   Alternative Site 6 – South of Cameron LNG

                  Alternative Site 6 is a 251-acre site on the west side of the Calcasieu Ship Channel, south and
         adjacent to the existing Cameron LNG Terminal near Hackberry, Louisiana. This site is within an
         environmental justice community (Census tract 9702.01 block group 1). It contains 7,328 feet of waterfront
         and the site was commercially available at the time of this assessment. The land cover at the site is primarily
         emergent herbaceous wetlands, with a smaller portion of developed and upland herbaceous lands. Given
         the presence of Cameron LNG facilities, Commonwealth would need to create a turning basin to
         accommodate the LNG carriers. Creation of the turning basin would require about 5.6 million cubic yards
         of dredging, plus continued maintenance dredging throughout the life of the Project. LNG carriers calling
         at the Terminal would need to transit an additional 18 miles upstream from the proposed site using the



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         Southwest Pass. The increased travel distance would likely result in a minor increase in air emissions as
         compared to the proposed Terminal site.

                   According to NWI mapping, Alternative Site 6 includes about 155 acres of wetlands. Feed-gas
         supply would be obtained from the same point as the proposed pipeline, resulting in the need for a 15.6-
         mile-long pipeline to the Terminal Site (figure 3.3-1d). The pipeline would cross mainly emergent wetlands
         and would include crossing the town of Hackberry, Louisiana. The extension of the natural gas feed
         pipeline would disturb 113.7 acres of wetlands. Although the right-of-way impacts would be temporary,
         the approximately five-fold increase in the pipeline length may require construction of aboveground
         facilities such as a compressor station, which would result in permanent impacts and increased air
         emissions. Additionally, the Pipeline would also traverse an environmental justice community. Likewise,
         the approximately three-fold increase in dredging volume would have a substantially greater impact on
         EFH than the proposed site, and the Calcasieu Ship Channel adjacent to this site is classified by LDWF as
         Public Seed Grounds for oysters (LDWF, 2022a). Additionally, this area of the Calcasieu Ship Channel
         does not experience the same velocity of current flow as the proposed site (COE, 2010). Therefore, post-
         dredge recovery of water bottom organisms would likely be slower, as the transport of recolonizing benthic
         fauna to the area would not occur as quickly, thereby creating longer term effects at the site (see section
         4.6.2.2 regarding expected post-dredge recovery at the proposed site). We received a public comment
         suggesting the large difference in dredging requirements could be offset by beneficially using the dredge
         materials for wetland creation. Commonwealth has proposed to transport the dredge materials removed
         from the proposed site to wetland habitat south of Calcasieu Lake in the Cameron Prairie National Wildlife
         Refuge, a location listed in the Louisiana Coastal Management Plan as a marsh restoration area (see section
         4.4.2). Given that the alternative site and a portion of the pipeline would be within an environmental justice
         community, the environmental disadvantages associated with the site’s distance from natural gas supply
         and the substantial increase in impacts on aquatic habitat and EFH related to the creation of a turning basin,
         Alternative 6 would not provide a significant environmental advantage to the proposed Project location and
         was not carried forward for additional analysis.

         3.3.8   Alternative Site 7 – North of Cameron LNG

                  Alternative Site 7 is a 317-acre site on the west side of the Calcasieu Ship Channel, north of the
         existing Cameron LNG Terminal. It contains 4,064 feet of waterfront and the site was commercially
         available at the time of this assessment. The land cover at the site is primarily emergent herbaceous
         wetlands and upland grassland/herbaceous, with a smaller portion of developed and cultivated crops.
         Commonwealth would need to create a turning basin to accommodate the LNG carriers. Creation of the
         turning basin would require about 5.6 million cubic yards of dredging, plus continued maintenance dredging
         throughout the life of the Project. LNG carriers calling at the Terminal would need to transit an additional
         21 miles upstream from the proposed site using the Southwest Pass. The increased travel distance would
         likely result in a minor increase in air emissions as compared to the proposed Terminal site.

                  According to NWI mapping, Alternative Site 7 includes about 31.3 acres of wetlands. Feed-gas
         supply would require a 69.4-mile pipeline to the Terminal Site (figure 3.3-1e). The pipeline would cross
         mainly emergent wetlands and would also include crossing the town of Hackberry, Louisiana. The
         extension of the natural gas feed pipeline would disturb 142.4 acres of wetlands. As with previous
         alternatives, the impacts on wetlands within the right-of-way would be temporary; however, the increase in
         the pipeline length may require construction of aboveground facilities such as a compressor station, which
         would result in permanent impacts and increased air emissions. Also, about one-half of the pipeline route
         would pass through the Census tract 9702.01 block group 1 environmental justice community.
         Additionally, there is no direct utility or road service to this site; about 0.6 mile of additional utility line and
         right-of-way would be required for Alternative 7. As with Alternative 6, the approximately three-fold
         increase in dredging volume would have a substantially greater impact on EFH than the proposed site and



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         increasing the volume of dredging necessary by 3.9 million cubic yards (plus regular maintenance
         dredging). Furthermore, this area of the Calcasieu Ship Channel also does not experience the same velocity
         of current flow as the proposed site (COE, 2010). Therefore, post-dredge recovery of the water bottom
         would likely be slower, as the transport of recolonizing benthic fauna to the area would not occur as quickly,
         thereby creating longer term effects at the site Given the environmental disadvantages associated with the
         site’s distance from natural gas supply, that approximately one-half of the pipeline route would pass through
         an environmental justice community, the increased air emissions related to longer ship transits to reach the
         site and the potentially needed compressor station, and the substantially greater impacts on aquatic habitat
         and EFH related to creation of a turning basin, Alternative 7 would not provide a significant environmental
         advantage to the proposed Project location and was not carried forward for additional analysis.

         3.3.9   Alternative Site 8 – South of Golden Pass LNG

                  Alternative Site 8 is a 421-acre site on the west side of the Sabine Pass Ship Channel, south of the
         existing Golden Pass LNG Terminal. It contains 2,451 feet of waterfront and the site was commercially
         available at the time of this assessment. The land cover at the site is almost entirely emergent herbaceous
         wetlands, with a minimal portion of developed land. Commonwealth would need to create a turning basin
         to accommodate the LNG carriers. Creation of the turning basin would require about 4.6 million cubic
         yards of dredging, plus continued maintenance dredging throughout the life of the Project. LNG carriers
         calling at the Terminal would need to transit seven miles upstream on the Sabine Pass Channel from the
         Channel entrance at the Gulf of Mexico, whereas the Commonwealth Terminal is less than 0.5 mile from
         the Gulf of Mexico. The increased travel distance would likely result in a minor increase in air emissions
         as compared to the proposed Terminal site.

                 According to NWI mapping, Alternative Site 8 includes about 402.3 acres of wetlands. Feed-gas
         supply would be obtained from the same point as the proposed pipeline, resulting in the need for a 69.4-
         mile pipeline to the Terminal Site (figure 3.3-1f). The pipeline would cross mainly emergent wetlands,
         pastureland, and woody wetlands. The extension of the natural gas feed pipeline would disturb 80.9 acres
         of wetlands. As with previous alternatives, the impacts on wetlands within the right-of-way would be
         temporary; however, the increase in the pipeline length may require construction of aboveground facilities
         such as a compressor station, which would result in permanent impacts and increased air emissions.
         Furthermore, the approximately two-fold increase in dredging volume would have a substantially greater
         impact on EFH as compared to the proposed site and increase the volume of dredging necessary by 3.9
         million cubic yards (plus regular maintenance dredging). Given its environmental disadvantages associated
         with the site’s distance from natural gas supply relative to the proposed site and the increase in impacts on
         aquatic habitat and EFH related to creation of a turning basin, Alternative 8 would not provide a significant
         environmental advantage to the proposed Project location and was not carried forward for additional
         analysis.

         3.3.10 Conclusion

                  We evaluated the proposed Terminal site and eight possible alternative sites to assess whether any
         of the alternatives would be reasonable and have a significant environmental advantage as compared to the
         proposed Terminal site. The proposed Terminal site contains the largest percentage of wetland habitat
         relative to the size of the location and would cause impacts on chenier habitat. However, Commonwealth
         is working with federal and state agencies to mitigate for the Project effects on wetland and chenier habitat
         where such impacts would be unavoidable (see sections 4.4.2 and 4.5.3). The proposed Terminal site has
         the advantage of being commercially available and requiring the shortest transit from the Gulf of Mexico,
         thus reducing impacts from vessel traffic and neither the Terminal site nor the Pipeline route would be in
         an environmental justice community. The Project would require substantially less dredging than five of the
         alternatives, thus broadly minimizing impacts on surface water and aquatic resources. Based on the site-



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         specific analyses of the alternative sites’ size and availability, potential for marine operations,
         infrastructure, and environmental and environmental justice factors, we conclude that alternatives 1-8
         would not provide significant environmental advantages to the proposed Project location.

         3.4     ALTERNATIVE TERMINAL CONFIGURATIONS

                  Facility design and configuration within the Terminal site is subject to the siting requirements of
         49 CFR 193 and other industry or engineering standards. Regulatory requirements stipulate that potential
         thermal exclusion and vapor dispersion zones remain on site, limiting the potential locations for specific
         terminal components (e.g., LNG storage tanks). Similarly, thermal radiation zones for flares require that
         the flare be set back a minimum distance from other equipment and property lines. Commonwealth’s
         selected locations for each of the components of the Terminal was based on the relevant regulations, codes,
         and guidelines.

                  COE requested that Commonwealth address the feasibility of confining the proposed Project to
         non-wetland portions of the proposed Terminal site, to the greatest extent practicable. Based on NWI
         wetland data, the proposed Terminal site is comprised of almost 48.6 percent wetlands. Commonwealth
         made minor adjustments to its proposed Terminal configuration during the pre-filing process as it acquired
         additional land parcels surrounding the Project site and as a result of changes to its LNG storage tank
         containment designs. Commonwealth was able to adjust the Terminal configuration to reduce impacts on
         wetland habitat from 79.1 acres to 68.5 acres (based on NWI wetlands data) and reduce impacts on chenier
         habitat from approximately 17.0 acres to 13.3 acres. Actual surveyed wetland impacts are slightly higher,
         with construction of the Terminal disturbing 95.9 acres and the permanent fill of 89.6 acres.

                  We received a comment from the public noting that in Commonwealth’s August 2019 application
         to the FERC, the design of the Terminal included 6 LNG storage tanks with capacities of 40,000 m 3 per
         tank for a total storage capacity of 240,000 m3. In Commonwealth’s July 2021 application amendment,31
         Commonwealth adjusted the proposed design of the LNG storage tanks to enable capacities of 50,000 m3
         per tank for total storage capacity of 300,000 m3. Despite the increase in proposed storage capabilities,
         Commonwealth did not propose an increase in LNG production capacity. The commenter requested that
         Commonwealth alter the configuration of the Terminal to include 5 LNG storage tanks with capacities of
         50,000 m3 per tank for a total storage capacity of 250,000 m3, which would be greater than the storage
         capacity that Commonwealth originally proposed and, with the removal of an LNG storage tank from the
         Terminal design, potentially reduce the Terminal footprint and have a smaller acreage impact on wetlands.
         Commonwealth noted in reply that the proposed increase in LNG storage capacity did not increase the
         proposed Terminal footprint from that which was proposed in the August 2019 application. Commonwealth
         also stated that the increase in proposed storage capacity is intended to improve the operational flexibility
         of the Terminal during inclement weather events, such as fog or high winds, that frequently require the
         Calcasieu Ship Channel to be closed to vessel traffic. Commonwealth determined that increased storage
         capacity would reduce the likelihood that the Terminal would need to shut down in circumstances where
         an LNG carrier would not be able to berth at the Terminal and offload LNG from the Terminal in a timely
         fashion. Removing one LNG storage tank would result in a maximum decrease of approximately 2.3 acres.
         Given this modest change in acreage, we conclude the possible benefits of the increased storage capacity,
         with no increase in the Terminal footprint from the original application, would be preferable to the potential
         adverse air impacts due to increased flaring events of Commonwealth having to shut down and restart the
         Terminal at a higher annual frequency than would otherwise occur.




         31      Commonwealth’s amended application to the FERC can be viewed on FERC’s eLibrary
                 (https://elibrary.ferc.gov/eLibrary/search) under accession no. 20210708-5004.


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                 We have not identified any other changes to the Terminal configuration that would meet the
         required regulations, codes, and guidelines and at the same time further avoid or reduce environmental
         impacts associated with the proposed Terminal configuration.

         3.5     ALTERNATIVE LIQUEFACTION DESIGNS

                  Commonwealth’s liquefaction design is described in section 2.1.1. We received a comment from
         the public suggesting that Commonwealth could use fewer larger liquefaction trains that would employ a
         more efficient liquefaction process (Air Products and Chemicals’ C3MR process vs. Commonwealth’s
         proposed AP-SMR process by Air Products and Chemicals), as stated by the manufacturer of the
         liquefaction trains. The commenter stated the larger, more efficient liquefaction trains would have fewer
         environmental impacts during operation due to the general tenet that being less efficient increases
         environmental impacts. However, the facilities required for the C3MR process require a substantially larger
         footprint as the process includes more heat exchanging equipment and additional refrigerant compressors.
         Comparing a recent FERC jurisdictional C3MR facility to Commonwealth’s proposed SMR, the footprint
         of liquefaction and pretreatment area per unit of LNG is nearly 70 percent greater for the C3MR technology
         than for the SMR technology. For the Commonwealth project, this would equate to about a 12-acre increase
         in the area required by the pretreatment and liquefaction process equipment. Public comments point out a
         large area between the LNG storage tanks and the liquefaction units with only a small impoundment. This
         impoundment basin is the largest spill containment for the facility, collecting spills from both the process
         area, and the ship loading area. The area around the impoundment basin is not suited for additional process
         equipment because it presents a safety concern. The Commonwealth layout has the impoundment located
         such that a fire at the impoundment would not expose process vessels to high heat fluxes which could result
         in cascading damage and safety impacts to the public. Therefore, if the C3MR process were pursued,
         Commonwealth would need to increase the footprint of the Terminal (i.e., 12 acres) into eastern black rail
         habitat and/or wetlands, which would offer no significant environmental advantage to the proposed Project.

         3.6     ALTERNATIVE TERMINAL POWER SOURCES

         3.6.1   Grid-Based Electricity vs. Natural Gas-Powered Generators

                 We received a comment from the public suggesting that Commonwealth should use commercial,
         grid-sourced electricity in place of the natural gas-fired simple cycle electric power generators
         Commonwealth has proposed to power the Terminal. The commentor posits that using electricity would
         reduce overall Project emissions based on the assumption that the commercial electric grid will increasingly
         source more power from renewable energy sources, whereas the Terminal would use natural gas for the
         duration of the expected Project life span. The commenter also requested FERC to compare the power
         sources of nearby LNG terminals to Commonwealth’s proposed approach. Commonwealth consulted the
         Jefferson Davis Electric Cooperative to assess the feasibility of using grid-sourced electricity to power the
         Terminal. Powering the Terminal using grid-sourced electricity would require Commonwealth to construct
         a 29.3-mile transmission line to reach the nearest available electrical substation (Mud Lake substation on
         the northern side of Calcasieu Lake) given that the existing transmission lines in the Project area do not
         have the sufficient 500-megawatt (MW) capacity necessary to provide power to the Project.
         Commonwealth would also be required to fund upgrades to the existing grid and increased generating
         capacity at the Nelson power station, which would be the primary source for the electricity that
         Commonwealth would use.

                 Commonwealth contends the cost of funding the upgrades and constructing a transmission line of
         that length would be prohibitive for the Project. Additionally, Commonwealth states that relying on the
         transmission line and substation framework would be too unreliable, noting that severe tropical storm




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         systems are expected to increase in frequency and size and past hurricanes in the Project area have disrupted
         power supplies for extended periods.

                  Regarding grid-based electricity likely being increasingly powered by renewable sources,
         comparison between the emissions associated with the natural gas-driven turbines of the refrigeration
         compressors and the emissions associated with imported power from the grid can be complicated.
         Generally, grid power can be obtained from a variety of power sources (such as fossil fuel and renewable
         fuels). Further, there are likely differences in the contributing fossil fuel‐fired generating stations: they
         may use gas, oil, or coal for fuel; they would have different plant configurations (simple cycle or combined
         cycle power generation); and the plants would likely have different emission control systems. However,
         the Nelson power station, which would be the primary source for the electricity that Commonwealth would
         access, is currently a coal-powered plant. Considering Commonwealth’s assertions that constructing a new
         transmission line and funding upgrades to the Nelson power station would be cost prohibitive, combined
         with its design considerations for power reliability during severe storms, and the uncertainty of whether the
         Nelson power station would use an energy source other than coal, we conclude this alternative would not
         provide a significant environmental advantage to Commonwealth’s proposed method of using an on-site
         source to power the Terminal.

         3.6.2   On-site Electrical Generation vs. Gas-Powered Generators

                  We received comments from the public suggesting that, if Commonwealth could not source its
         power from the commercial grid, Commonwealth should construct electrical generation plants at the
         Terminal to use a combined cycle plant to power the Terminal instead of simple cycle gas-powered system.
         However, the required footprint of such a plant would be much larger than Commonwealth’s proposed
         simple cycle approach. Commonwealth would require a 500 MW plant to power the liquefaction facilities
         and the general auxiliary load of the Terminal in general. A combined cycle power plant capable of
         converting natural gas to that volume of electricity would require an approximately 100-acre footprint.
         Public comments cite a report which states a liquefaction facility with combined cycle drives instead of
         simple cycle drives may reduce emissions by approximately 25 percent. However, any reduction in
         emissions impacts related to converting the natural gas to electricity would be offset by the physical impacts
         of constructing the power plant. Public comments suggest that if combined cycle is not utilized to produce
         all the power required by the liquefaction facilities, then a combined cycle should be considered for the 120
         MW of on-site power instead of the proposed simple cycle electrical generators. A combined cycle power
         plant converts more energy from fuel gas to electricity than simple cycle generators. However, the
         refrigerant compressor gas turbine drives consume more fuel than the simple cycle electric generators. If
         the 120 MW of on-site simple cycle power generation was switched to combined cycle, the overall site fuel
         consumption, and thereby emissions, would be reduced by less than 10 percent. Additionally, a 120 MW
         combined cycle would have a land usage between the proposed simple cycle electrical generators and the
         100-acre 500 MW combined cycle power plant. Even a 120 MW combined cycle power plant would have
         a significant land use compared to the simple cycle to accommodate the waste heat recovery equipment,
         steam turbine, air-cooled condenser, and water treatment facilities. The additional space of a combined
         cycle, either 120 MW or 500 MW, would require an expansion of the Terminal into eastern black rail habitat
         and wetlands. Therefore, we conclude that this alternative would not provide a significant environmental
         advantage to Commonwealth’s proposal to construct the smaller simple cycle gas-powered system.

         3.6.3   On-site vs. Off-site Facility Locations

                 We received comments from the public suggesting that Commonwealth should construct the gas-
         powered or electrical generators off-site in an upland area to reduce the Terminal footprint and thereby
         reduce impacts on wetlands. Placing the power generators off-site would result in the same vulnerabilities
         to storms as described above for the grid-based power. Commonwealth would need to construct a



                                                         3-48                                           Alternatives
                                                                                                             JA302
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         transmission line from the power generators to the Terminal, which would be vulnerable to severe storms.
         Additionally, the generators would require a feed gas source in the form of a lateral pipeline from
         Commonwealth’s proposed Pipeline. This lateral would result in additional environmental impacts, much
         of which would be in wetland habitat based on the proposed location of the Pipeline. Siting the power
         generators within the Terminal storm protection wall would alleviate most storm-related vulnerabilities and
         minimize the infrastructure necessary to connect the power source to the Terminal. Therefore, we conclude
         this alternative would not provide a significant environmental advantage to Commonwealth’s proposal to
         place the electrical generators within the Terminal footprint.

         3.7     ALTERNATIVE USES FOR METHANE

                  We received a comment from the public suggesting that FERC should not promote the use of LNG
         as a fuel but should instead promote the use of methane for fertilizer production. Doing so would be counter
         to Commonwealth’s stated purpose and need for the Project; therefore, this alternative was not considered
         further.

         3.8     ALTERNATIVE PIPELINE ROUTES

                  Commonwealth proposes to construct a 3.0-mile-long, 42-inch-diamater natural gas pipeline with
         interconnections at the existing 12- and 20-inch-diameter Bridgeline pipeline system and an interconnection
         at the 16-inch-diameter Kinetica pipeline system. Commonwealth updated the pipeline route in March
         2021 in response to landowner requests. The Pipeline would deliver 1.44 Bcf/d of natural gas to the
         Terminal to allow Commonwealth to liquefy and export approximately 8.4 MPTA of LNG. Given the
         relatively short length of the proposed Pipeline, the range of alternative pipeline routes is limited to
         locations where the Pipeline could connect to existing natural gas pipelines within 5 miles of the Terminal.

                 We reviewed four major alternatives and the proposed Pipeline route to assess whether an alternate
         Pipeline route would significantly reduce the environmental impacts of the Pipeline (figure 3.8-1). These
         major route alternatives begin at the Terminal and follow different alignments to reach the Kinetica and
         Bridgeline pipelines at different points along the pipelines relative to the proposed Pipeline alignment. The
         analysis was based on comparable information (i.e., NWI data for wetlands (FWS, 2018); National Land
         Cover Database data for land use (National Land Cover Database [NLCD, 2016); and NHD for waterbodies
         (USGS, 2019a)); therefore, impacts for the proposed route may differ from analyses in other sections of
         this EIS that incorporate survey data. The results of this evaluation for Major Route Alternatives 1 through
         4 are summarized in table 3.8-1 and are discussed in the following sections. Commonwealth would
         construct the Pipeline pursuant to section 3 of the NGA, which does not grant the applicant eminent domain.
         Therefore, there is limited ability to ensure that a recommended alternative site would be available unless
         the landowner would make it available for purchase or lease.

         3.8.1    Proposed Pipeline Route – Commonwealth, Cameron Parish, Louisiana

                 The proposed Pipeline route would be 3.0 miles long, with the permanent right-of-way crossing 3.0
         miles of NWI wetlands and one road (table 3.8-1). Commonwealth would use the HDD crossing method
         to avoid direct impacts on the road and minimize impacts on a drainage ditch adjacent to the roadway. The
         pipeline route would not permanently affect any wetlands. Aboveground facilities associated with the
         Pipeline would permanently impact 0.3 acre of wetlands.




                                                        3-49                                           Alternatives
                                                                                                            JA303
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         Figure 3.5-1   Pipeline Route Alternatives




                                                 3-50                             Alternatives
                                                                                       JA304
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                                                             TABLE 3.8-1


                                         Comparison of the Pipeline Route Alternatives

                                                                           Route           Route          Route           Route
                                                          Proposed
                      Criteria                Units a/                  Alternative     Alternative    Alternative     Alternative
                                                            Route
                                                                             1               2              3               4
          Route Length                         Miles          3.0            2.9            3.2             5.9             3.1

          Parallel/Adjacent to Existing
                                               Miles          0.0            0.0            0.3             5.1             2.6
          Right-of-Way

          Land Use (NLCD):
             Barren Land                       Miles          0.0            0.0            0.0             0.1             0.0
             Developed                         Miles         0.06            0.0            0.0             0.1             0.0
             Emergent Herbaceous
             Wetlands (temporary               Miles          2.7            2.6            2.8             5.7             3.0
             impacts)
             Emergent Herbaceous
             Wetlands (permanent               Acres          0.3            0.3            0.2             0.3             0.3
             impacts)
             Herbaceous                        Miles          0.0            0.0            0.3             0.0             0.0
             Open Water                        Miles          0.2            0.2            0.0             0.0             0.0
          Wetlands (NWI)                       Miles          3.0            2.9            2.9             5.9             3.1
          National Hydrography Dataset Features
             Lake/Pond                         Miles          0.0            0.3            0.0             0.2             0.0
             Swamp/Marsh                       Miles          1.9            2.2            0.2             4.6             0.3

          Roads Crossed (Highway
                                              Number           1              1              1               1               1
          27/82)

          Property Holders                    Number          53             54              53             70              53
          a/ Length and area based on Geographic Information System (GIS) analysis and rounded; total may not equal sum of addends.




         3.8.2    Route Alternative 1

                  Route Alternative 1 is 0.1 mile shorter than the proposed route and crosses 0.1 mile fewer emergent
         herbaceous wetlands. However, this route would cross 0.2 mile of habitat identified as land/pond in the
         NHD, whereas the proposed route would not cross any habitat identified in the NHD as lake/pond and
         would result in the same acreage of permanent emergent herbaceous wetland impacts. Route Alternative 1
         would affect one more landowner than the proposed route. In total, Route Alternative 1 would not provide
         a significant environmental advantage or minimize impacts on landowners compared to the proposed route;
         therefore, we did not evaluate this route alternative any further.

         3.8.3    Route Alternative 2

                Route Alternative 2 is 0.2 mile longer than the proposed route, would cross 0.1 mile more emergent
         herbaceous wetlands, but cross 0.2 mile fewer open water, would be co-located with an existing right-of-



                                                               3-51                                                  Alternatives
                                                                                                                           JA305
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         way for 0.3 mile, and would result in 0.1 acre less of permanent emergent herbaceous wetland impacts. All
         other criteria are similar between the Proposed Route and Route Alternative 2. Route Alternative 2 offers
         a slight reduction in wetland impacts and makes some use of an existing right-of-way; however, a segment
         of this route between the Kinetica and Bridgeline pipelines is not available for Commonwealth to obtain an
         easement through. Therefore, under section 3 of the Natural Gas Act, this alternative is not feasible, and
         we did not evaluate this route alternative any further.

         3.8.4   Route Alternative 3

                 Route Alternative 3 would be co-located with an existing right-of-way (Highway 27/82) for
         approximately 5.1 miles. However, it would be almost 3.0 miles longer than the proposed route, would
         cross 2.7 more miles of emergent herbaceous wetlands habitat, and would result in the same acreage of
         permanent emergent herbaceous wetland impacts. Route Alternative 3 would not provide a significant
         environmental advantage relative to the proposed route; therefore, we did not evaluate this route alternative
         any further.

         3.8.5   Route Alternative 4

                  Route Alternative 4 was recommended to Commonwealth by LDWF during a Project status
         meeting in October 2019 as a way to increase collocation of the Pipeline with an existing right-of-way. We
         also received a comment during the public comment period for the draft EIS asking us to consider more
         strongly the LDWF-recommended route. The route is 0.1 mile longer than the proposed route. The route
         would cross 3.04 miles of emergent herbaceous wetlands, 0.03 mile more than the proposed route, and
         would result in the same acreage of permanent emergent herbaceous wetland impacts. Otherwise, the route
         would cross the same land use types, roads, and property holders as the proposed route. Route Alternative
         4 would increase co-location along an existing right-of-way by 2.6 miles, primarily through emergent
         herbaceous wetlands. Although co-location would be increased, emergent herbaceous wetlands are
         generally not strongly affected by habitat fragmentation and Commonwealth would restore the Pipeline
         right-of-way and the emergent vegetation present would be expected to return to pre-construction
         conditions within a short-term period. Most significant to our assessment, the proposed route takes into
         account requests relayed to Commonwealth from affected landowners during landowner approval
         negotiations to route the Pipeline along a different alignment across their properties. Given that
         Commonwealth would construct the Pipeline pursuant to section 3 of the NGA, which does not grant the
         applicant eminent domain , and the short-term impacts anticipated on wetlands that would be impacted by
         the proposed route, we conclude Route Alternative 4 would not provide a significant environmental
         advantage relative to the proposed route. We did not evaluate this route alternative further.

         3.8.6   Conclusion

                  None of the four route alternatives assessed herein would provide a significant environmental
         advantage and/or reduction in impacts on the properties of landowners relative to the proposed Pipeline
         route. Aside from the LDWF recommendation, we did not receive any comments during scoping regarding
         alternatives to the Pipeline route. Therefore, we conclude that Commonwealth’s proposed Pipeline route
         would be the preferred route for the Project.

         3.9     ALTERNATIVE ABOVEGROUND FACILTY SITES

                   We received comments from the public inquiring about the alternatives analysis of aboveground
         facilities for the Pipeline. Proposed aboveground facilities for the Pipeline would include the two
         interconnection facilities at the Kinetica and Bridgeline pipelines, one pig launcher, and one meter station.
         The interconnection facilities would be within the Pipeline permanent right-of-way and the pig launcher
         and meter station would be contiguous with the Pipeline permanent right-of-way. The interconnections,


                                                        3-52                                           Alternatives
                                                                                                            JA306
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         pig launcher, and meter station would permanently impact approximately 0.3 acre of emergent wetlands on
         properties with willing landowners. Wetlands are by far the dominant land cover within the general region
         of the Project and the locations of the aboveground facilities are tied to the locations of the required
         interconnection facilities; therefore, we did not identify or evaluate alternative sites for the aboveground
         facilities (i.e., all of the alternative pipeline routes would result in comparable wetland impacts).
         Additionally, no specific aboveground facility site alternatives were suggested during the public scoping
         period or as part of the comments received during draft EIS comment period. Given that we have not
         identified any other sites for the aboveground facilities that would provide a significant environmental
         advantage, we conclude that the sites proposed by Commonwealth would be the preferred alternative.




                                                        3-53                                          Alternatives
                                                                                                           JA307
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         (Ausenco, 2018), traffic in the channel is projected to double to 2,183 vessel calls in 2023. Approximately
         800 of these new vessel calls are projected to involve LNG carriers.

                  Barge deliveries would occur throughout the Project’s 36- to 38-month construction period, with a
         higher number of deliveries expected to occur during certain phases of construction. Commonwealth
         estimates that an average of seven barges per week would be expected during peak construction. Since the
         Terminal site is near the mouth of the ship channel, we do not anticipate that barge deliveries would result
         in any significant impacts on marine traffic in the ship channel.

                 During operations, up to 156 LNG carriers would call at the Terminal per year. In a letter dated
         March 7, 2019, the USCG issued the LOR for the Project, which stated that the Calcasieu Ship Channel is
         considered suitable for LNG marine traffic in accordance with the guidance in the USCG’s Navigation and
         Vessel Inspection Circular 01-11. The USCG also indicated that if an increase in port calls is expected, it
         recommended that appropriate studies showing additional traffic impact on the waterways be conducted.

                 The proposed increase in vessels over the estimated 2023 number of approximately 2,183 vessels
         annually and projected future increase in vessels would not likely affect the capability of the channel to
         handle the proposed ship movements (Ausenco, 2018). The Terminal would be at the entrance of the ship
         channel, resulting in short inbound and outbound transits. Given the location of the facility, it is possible
         that LNG carriers may be able to proceed directly to the Terminal without forming a convoy, as is required
         for other LNG carriers bound for other facilities.

                 During operations, security zones for LNG carriers in transit would impact recreational and
         commercial fishing vessels within the Calcasieu Ship Channel because they would be required to exit the
         security zone while the LNG carrier passes. The need and size of a security zone would be established by
         the USCG. After the moving security zone passes, recreational boaters and fishermen could return and
         continue their prior activities. However, these delays would be temporary, security zone closures would be
         expected to last no more than one hour and are not expected to significantly impact recreational or
         commercial fishermen.

         4.9.12 Environmental Justice

                  According to the EPA, “environmental justice is the fair treatment and meaningful involvement of
         all people regardless of race, color, national origin, or income with respect to the development,
         implementation, and enforcement of environmental laws, regulations, and policies.” Fair treatment means
         that no group of people should bear a disproportionate share of the negative environmental consequences
         resulting from industrial, governmental, and commercial operations or policies (EPA, 2021). Meaningful
         involvement means:

                 1. people have an opportunity to participate in decisions about activities that may affect their
                    environment and/or health;
                 2. the public’s contributions can influence the regulatory agency’s decision;
                 3. community concerns will be considered in the decision-making process; and
                 4. decision makers will seek out and facilitate the involvement of those potentially affected
                    (EPA, 2021).
                  In conducting NEPA reviews of proposed natural gas projects, the Commission follows the
         instruction of Executive Order 12898, Federal Actions to Address Environmental Justice in Minority
         Populations and Low-Income Populations, which directs federal agencies to identify and address
         “disproportionately high and adverse human health or environmental effects” of their actions on minority
         and low-income populations (i.e., environmental justice communities). Executive Order 14008, Tackling


                                                        4-187                             Environmental Analysis
                                                                                                            JA308
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         the Climate Crisis at Home and Abroad, also directs agencies to develop “programs, policies, and activities
         to address the disproportionately high and adverse human health, environmental, climate-related and other
         cumulative impacts on disadvantaged communities, as well as the accompanying economic challenges of
         such impacts.” The term “environmental justice community” includes disadvantaged communities that
         have been historically marginalized and overburdened by pollution.65 Environmental justice communities
         include, but may not be limited to minority populations, low-income populations, or indigenous peoples.66

                 Commission staff used the Federal Interagency Working Group on Environmental Justice & NEPA
         Committee’s publication, Promising Practices for EJ Methodologies in NEPA Reviews (Promising
         Practices) (EPA, 2016), which provides methodologies for conducting environmental justice analyses
         throughout the NEPA process for this project. Commission staff’s use of these methodologies is described
         throughout this section.

                  Commission staff used EJScreen, EPA’s environmental justice mapping and screening tool, as an
         initial step to gather information regarding minority and/or low-income populations; potential
         environmental quality issues; environmental and demographic indicators; and other important factors. EPA
         recommends that screening tools, such as EJScreen, be used for a “screening-level” look and a useful first
         step in understanding or highlighting locations that may be candidates for further review.

         4.9.12.1 Meaningful Engagement and Public Involvement

                  The Council on Environmental Quality’s (CEQ) Environmental Justice Guidance Under the
         National Environmental Policy Act (CEQ Environmental Justice Guidance) (CEQ, 1997) and Promising
         Practices recommend that federal agencies provide opportunities for effective community participation in
         the NEPA process, including identifying potential effects and mitigation measures in consultation with
         affected communities and improving the accessibility of public meetings, crucial documents, and notices.67
         They also recommend using adaptive approaches to overcome linguistic, institutional, cultural, economic,
         historical, or other potential barriers to effective participation in the decision-making processes of federal
         agencies. In addition, Section 8 of Executive Order 13985, Advancing Racial Equity and Support for
         Underserved Communities Through the Federal Government, strongly encourages independent agencies to
         “consult with members of communities that have been historically underrepresented in the Federal
         Government and underserved by, or subject to discrimination in, federal policies and programs.”

                  As discussed in section 1.2 of this EIS, there have been opportunities for public involvement during
         the Commission’s environmental review process. On July 28, 2017, Commonwealth filed a request with
         FERC to use our pre-filing review process. We approved Commonwealth’s request on August 15, 2017
         and established pre-filing docket number PF17-8-000 for the Terminal and Pipeline. Information and
         documents filed by Commonwealth for the Project, as well as related documents, were placed into the
         public record.68 Commonwealth held an initial open house meeting on October 23, 2017, in Johnson Bayou,
         Louisiana, to introduce the Project to the local community. On February 22, 2018, the Commission issued
         a Notice of Intent to Prepare an Environmental Impact Statement for the Planned Commonwealth LNG



         65      Exec. Order No. 14,008, 86 Fed. Reg. 7619, 7629 (Feb. 1, 2021).Id. § 219, 86 Fed. Reg. 7619, 7629
         66      See EPA, EJ 2020 Glossary (Sep. 7, 2021), https://www.epa.gov/environmentaljustice/ej-2020-glossary.
         67      CEQ, Environmental Justice: Guidance Under the National Environmental Policy Act, 4 (Dec. 1997) (CEQ’s
                 Environmental Justice Guidance), https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-
                 CEQ-EJGuidance.pdf.
         68      The pre-filing review process provides opportunities for interested stakeholders to become involved early in project
                 planning, facilitates interagency cooperation, and assists in the identification and early resolution of issues, prior to a
                 formal application being filed with the FERC.



                                                                 4-188                                       Environmental Analysis
                                                                                                                                   JA309
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         Project, Request for Comments on Environmental Issues, and Notice of Public Scoping Sessions (NOI).69
         In addition, we conducted a public scoping session in Johnson Bayou, Louisiana, on March 13 2018.
         Commonwealth held a second open house meeting on July 30, 2018, in Cameron Parish, Louisiana. Each
         meeting was held close to the Project area and Project information, maps, and schedules were available to
         the public for review.70

                  Commonwealth filed its formal application for the Project on August 20, 2019. On September 3,
         2019, FERC issued a Notice of Availability. On June 8, 2021, Commonwealth filed an Amendment to its
         Application to modify the proposed LNG storage tank designs and capacities and on July 13, 2021, the
         Commission issued a Notice of Application for Amendment and Establishing Intervention Deadline, which
         established an additional 15-day comment period and intervention deadline. On September 24, 2021, the
         Commission issued a Notice of Intent to Prepare an Environmental Impact Statement, Request for
         Comments on Environmental Issues, and Revised Schedule for Environmental Review for the Project, which
         established an additional 30-day scoping period.

                  All documents that form the administrative record for these proceedings are available to the public
         electronically through the internet on the FERC’s website (www.ferc.gov). Anyone may comment to FERC
         about the Project, either in writing or electronically. All substantive environmental comments received
         prior to issuance of this EIS have been addressed within this document.

                 In addition, in 2021, the Commission established the Office of Public Participation (OPP) to
         support meaningful public engagement and participation in Commission proceedings. OPP provides
         members of the public, including environmental justice communities, with assistance in FERC
         proceedings—including navigating Commission processes and activities relating to the Project. For
         assistance with interventions, comments, requests for rehearing, or other filings, and for information about
         any applicable deadlines for such filings, members of the public are encouraged to contact OPP directly at
         202-502-6592 or OPP@ferc.gov for further information.

                 We recognize that not everyone has internet access or is able to file electronic comments. Each
         notice was physically mailed to all parties on the environmental mailing list. Further, FERC staff has
         consistently emphasized in meetings with the public that all comments, whether spoken or delivered in
         person at meetings, mailed in, or submitted electronically, receive equal weight by FERC staff for
         consideration in the EIS. In addition, Commonwealth sent copies of its FERC application in hard copy
         and/or digital format to the Cameron Parish Library in the Project area.

                  Commonwealth has stated it began having its land agents reach out to affected landowners prior to
         the start of any surveys.72 Commonwealth has continued to communicate with affected landowners and
         has continued to receive landowner feedback regarding siting of the Project.

                In its joint comments on the Project, the Sierra Club et al. 73 stated that the Commission must
         adequately consider the environmental justice impacts of the Project. Particularly, Sierra Club et al. stated

         69      The NOI was sent to about 300 interested parties, including affected landowners; elected officials; tribal governments;
                 local, state, and federal regulatory agencies; libraries; local emergency responders; and local newspapers in the Project
                 area.
         70      Commonwealth has stated it began having its land agents reach out to affected landowners prior to the start of any
                 surveys. Commonwealth has continued to communicate with affected landowners and has continued to take landowner
                 feedback regarding siting of the Project.
         72      See page 1-59 of Resource Report 1 of Commonwealth’s application to the FERC (accession no. 20190820-5125).
         73      Commenters in this letter include Sierra Club, Healthy Gulf, National Audubon Society, PACAN, Turtle Island
                 Restoration Network, Scenic Galveston Inc., and the Louisiana Environmental Action Network. (continued)




                                                                4-189                                     Environmental Analysis
                                                                                                                                JA310
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         that given that there are at least eight existing, proposed, or planned LNG Terminals in Calcasieu and
         Cameron Parishes, air quality impacts must be evaluated for all environmental justice communities that
         would be impacted by air emissions from the Project and not limited to a 10-mile radius. Sierra Club et al.
         stated that noise and air impact assessments must consider the cumulative contribution of all of these
         projects within surrounding communities. Discussions of these impacts are provided below in section
         4.9.12.3. Cumulative impacts on environmental justice communities associated with other terminal projects
         are discussed in section 4.13.2.7. We also received several comments regarding the Project’s impact on
         wetland loss and climate change and the effect this would have on the population in the town of Cameron.
         Discussions of population impacts are provided below in section 4.9.12.3.

         4.9.12.2 Identification of Environmental Justice Communities

                 According to the CEQ Environmental Justice Guidance and Promising Practices, minorities are
         those groups that include American Indian or Alaskan Native; Asian or Pacific Islander; Black, not of
         Hispanic origin; or Hispanic. Following the recommendations set forth in Promising Practices, FERC uses
         the 50 percent and the meaningfully greater analysis methods to identify minority populations. Using
         this methodology, minority populations are defined in this EIS where either: (a) the aggregate minority
         population of the block groups in the affected area exceeds 50 percent; or (b) the aggregate minority
         population in the block group affected is 10 percent higher than the aggregate minority population
         percentage in the parish. The guidance also directs low-income populations to be identified based on the
         annual statistical poverty thresholds from the U.S. Census Bureau. Using Promising Practices’ low-
         income threshold criteria method, low-income populations are identified as census block groups where
         the percent low-income population in the identified block group is equal to or greater than that of the parish.
         Here, Commission staff selected Calcasieu Parish, Cameron Parish, and Jefferson Davis Parish in Louisiana
         and Jefferson and Orange Counties Texas, as the comparable reference communities to ensure that affected
         environmental justice communities are properly identified. A reference community may vary according to
         the characteristics of the particular project and the surrounding communities.

                 According to the current U.S. Census Bureau information,74 minority and low-income populations
         exist within the Project area, as discussed further below. Appendix F identifies the minority populations
         by race and ethnicity and low-income populations within Louisiana, for the parishes affected, and census
         block groups within 54 kilometers of the LNG Terminal,75 1 mile of the Park and Ride locations,76 and
         crossed by the Pipeline segments. We have determined that a 54-kilometer radius around the proposed
         aboveground facilities and 1 mile around the Park and Rides are the appropriate distances for assessing
         impacts on the environmental justice communities. As stated, 54-kilometers represents the furthest extent
         of potential impacts on environmental justice communities (air quality) and 1-mile radius around the Park
         and Ride locations is sufficiently broad considering the likely air quality and traffic impacts associated with
         these locations. To ensure we are using the most recent available data, we use U.S. Census American
         Community Survey File# B03002 for the race and ethnicity data and Survey File# B17017 for poverty data


                 Subsequent joint comments on the Project’s potential impacts on environmental justice communities addressed below
                 and in appendix M include the following signatories: Sierra Club, Audubon Society, Center for Biological Diversity,
                 Louisiana Bucket Brigade, Micah 6:8 Mission, RESTORE, and Turtle Island Restoration Network.
         74      Although the U.S. Census Bureau American Community Survey block group data for 2020 was scheduled for release
                 on March 17, 2022, not all block groups associated with this proposal have been updated. U.S. Census Bureau, 2020
                 Data Release Schedule, Mar. 17, 2022, https://www.census.gov/programs-surveys/acs/news/data-releases/2020/release-
                 schedule.html#par_textimage_0. As a result, the most current American Community Survey for identification of
                 environmental justice communities is 2019.
         75      Census block groups are statistical divisions of census tracts that generally contain between 600 and 3,000 people (U.S.
                 Census Bureau, 2019).
         76      See section 2.1.1.5



                                                               4-190                                     Environmental Analysis
                                                                                                                              JA311
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         at the census block group level.77 Figure 4.9-1 provides a geographic representation of potential
         environmental justice communities relative to the location of the Project (see also appendix G).

                  All Project facilities, including the Terminal and the Pipeline, would be within Census Tract
         9702.01, Block Group 2, which is not an environmental justice community. An additional 148 block groups
         are within the 54-kilometer radius of the LNG Terminal site (see appendix F). There are 91 block groups
         within this radius that are identified as environmental justice communities as defined in section 4.9.12
         (figure 4.9-1 and appendixes F and G). Twenty-four of the block groups are identified as environmental
         justice populations based on poverty levels, 18 based on the minority threshold, and 49 based on both the
         poverty and minority thresholds. Additionally, one of the census block groups within 1-mile of the Park
         and Ride locations was identified as an environmental justice community based on poverty levels (Census
         Tract 33, Block Group 2). Appendix F provides detail of race and ethnicity and poverty status for all block
         groups within the geographic scope. Appendix G contains figures illustrating the locations of all block
         groups identified as environmental justice communities within the geographic scope. Potential impacts on
         these communities from the Project are further discussed below.

         4.9.12.3 Environmental Justice Impacts Analysis

                  As previously described, Promising Practices provides methodologies for conducting
         environmental justice analyses. Issues considered in the evaluation of environmental justice include human
         health or environmental hazards; the natural physical environment; and associated social, economic, and
         cultural factors. Consistent with Promising Practices and Executive Order 12898, we reviewed the Project
         to determine if its resulting impacts would be disproportionately high and adverse on minority and low-
         income populations and also whether impacts would be significant.78 Promising Practices provides that
         agencies can consider any of a number of conditions for determining whether an action will cause a
         disproportionately high and adverse impact.79 EPA states in their comment that the presence of any of these
         factors “could indicate a potential disproportionately high and adverse impact.” 80 For this Project, a
         disproportionately high and adverse effect on an environmental justice community means the adverse effect
         is predominantly borne by such population. Relevant considerations for this determination include the
         location of Project facilities and the Project’s human health and environmental impacts on identified
         environmental justice communities, including direct, indirect and cumulative impacts. The EPA
         recommended that the EIS include impacts on environmental justice communities from the Project. The
         analysis of impacts is included in this section.

                  No project related activities would take place in an environmental justice community. All project
         activities would take place within Calcasieu Parish Census Tract 9702.01, Block Group 2 (Terminal, meter
         station, and Pipeline) and Cameron Parish Census Tract 33, Block Group 3 and Census Tract 32, Block
         Group 1 (Park and Rides), which are not environmental justice communities. The closest environmental
         justice community is Census Tract 9702.01, Block Group 3 (approximately 0.1 mile from the LNG

         77      U.S. Census Bureau, American Community Survey 2019 ACS 5-Year Estimates Detailed Tables, File# B17017,
                 Poverty Status in the Past 12 Months by Household Type by Age of Householder,
                 https://data.census.gov/cedsci/table?q=B17017; File #B03002 Hispanic or Latino Origin By Race,
                 https://data.census.gov/cedsci/table?q=b03002.
         78      See Promising Practices at 33 (stating that “an agency may determine that impacts are disproportionately high and
                 adverse, but not significant within the meaning of NEPA” and in other circumstances “an agency may determine that
                 an impact is both disproportionately high and adverse and significant within the meaning of NEPA”).
         79      See Promising Practices at 45-46 (explaining that there are various approaches to determining whether an impact will
                 cause a disproportionately high and adverse impact). We recognize that CEQ and EPA are in the process of updating
                 their guidance regarding environmental justice and we will review and incorporate that anticipated guidance in our
                 future analysis, as appropriate.
         80      See EPA’s comments filed on eLibrary under accession no. 20220523-5141.



                                                              4-191                                    Environmental Analysis
                                                                                                                            JA312
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         Terminal), Census Tract 9701, Block Group 1 (approximately 2.7 miles from the Pipeline) and Census
         Tract 33 Block Group 2 (approximately 0.2 mile from the northern Park and Ride lot).

                  Based on the scope of the Project and our analysis of the Project’s impacts on the environment as
         described throughout this EIS, we have determined Project-related impacts on wetlands, surface water,
         visual resources, tourism, socioeconomics, traffic, noise, and air quality may adversely affect the identified
         environmental justice communities. Impacts on environmental justice communities associated with safety
         are addressed in section 4.12, Reliability and Safety.84

                 In general, the magnitude and intensity of the aforementioned impacts would be greater for
         individuals and residences closest to the Project’s facilities and would diminish with distance. These
         impacts are addressed in greater detail in the associated sections of this EIS. Environmental justice concerns
         are not present for other resource areas, such as geology, groundwater, wildlife, land use, or cultural
         resources due to the minimal overall impact the Project would have on these resources and the absence of
         any suggested connection between such resources and environmental justice communities.

                 .




         84      See supra page 4-286.



                                                        4-192                              Environmental Analysis
                                                                                                             JA313
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         Figure 4.9-1   Low-Income Environmental Justice Communities




                                                   4-193                  Environmental Analysis
                                                                                        JA314
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         justice communities would be less than significant. Project transportation needs and impacts are more fully
         addressed in section 4.9.11.

                  Barge deliveries would occur throughout the Project’s 36- to 38-month construction period, with a
         higher number of deliveries expected to occur during certain phases of construction. Commonwealth
         estimates that an average of seven barges per week would be expected during peak construction. Because
         the Terminal site is near the mouth of the ship channel, we do not anticipate that barge deliveries would
         result in any significant impacts on marine traffic in the ship channel. Recreational boaters and fishers,
         which likely include individuals from environmental justice communities, would not experience any
         significant changes in marine traffic. During operations, up to 156 LNG carriers would call (or stop) at the
         Terminal per year. The proposed increase in vessels would not likely affect the capability of the channel
         to handle the proposed ship movements (Ausenco, 2018). The Terminal would be at the entrance of the
         ship channel, resulting in short inbound and outbound transits. Given the location of the facility, it is
         possible that LNG carriers may be able to proceed directly to the Terminal without forming a convoy, as is
         required for other LNG carriers bound for other facilities. Marine transportation is discussed further in
         section 4.9.11.2.

                 Noise

                  Noise levels above ambient conditions, attributable to construction activities, would vary over time
         and would depend upon the nature of the construction activity, the number and type of equipment operating,
         and the distance between sources and receptors. The closest noise sensitive area (NSA) located within an
         environmental justice community (Census Tract 9702.01 Block Group 3) is located about 3,300 feet east
         of the proposed Terminal site and is a set of temporary houses on the southern tip of Monkey Island that is
         used to house Calcasieu Ship Channel pilots. The human ear’s threshold of perception for noise change is
         considered to be 3 decibels on the A-weighted scale (dBA). Peak construction noise related to Project
         activities would increase noise levels over ambient by 7 decibels at this NSA and would be temporary.
         Commonwealth expects peak construction noise to occur during construction months 10 through 12.
         During this time, Commonwealth expects civil works, facilities equipment assembly, pile driving, and
         dredging to occur simultaneously throughout the Terminal site. All increases over ambient due to
         construction would be temporary and only occur during daytime hours. Operational noise associated with
         the Terminal site would be persistent; however, Commonwealth would be required to meet sound level
         requirements. Operational noise would increase noise levels over ambient by about 3 decibels at the closest
         NSA. With the implementation of proposed mitigation measures, the Project would not result in significant
         noise impacts on local residents and the surrounding communities, including environmental justice
         populations. Noise impacts are more fully addressed in section 4.11.2.

                 Air Quality

                  As discussed in section 4.11.1, construction and operation of the Terminal site would result in long-
         term impacts on air quality. Construction air emissions from the Project, when considered with current
         background concentrations, would be below the NAAQS, which are designated to protect public health.
         Emissions during Terminal and Pipeline construction would generally be associated with onshore
         construction activities conducted using on-road and off-road mobile equipment and offshore construction
         activities conducted using marine vessels such as tugboats or barges and a dredging vessel. Construction
         emissions in the form of particulate matter (e.g., dust) would occur, and construction emissions from
         equipment exhaust would result in short-term, localized impacts in the immediate vicinity of construction
         work areas. Efforts to mitigate exhaust emissions during construction would include using construction
         equipment and vehicles that comply with EPA mobile and non-road emission regulations, and usage of
         commercial gasoline and diesel fuel products that meet specifications of applicable federal and state air
         pollution control regulations. Fugitive dust would be mitigated by applying water to the roadways and
         reducing vehicle speed. We conclude the construction-related impact on local air quality during
         construction of the Terminal and Pipeline would not be significant.

                                                            4-197                          Environmental Analysis
                                                                                                             JA315
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                  Commonwealth conducted air dispersion modeling to assess air quality impacts and show
         compliance with applicable NAAQS and Class II Prevention of Significant Deterioration (PSD) Increments
         for the pollutants subject to PSD review. Additionally, FERC modeled the impacts of mobile sources (LNG
         carriers and tugs) in addition to the PSD and NAAQS modeling required by the state. The cumulative
         modeling indicated that operation of the Project (including LNG Terminal stationary sources and mobile
         sources) would contribute to a potential nitrogen dioxide (NO2) 1-hour NAAQS exceedance, however the
         Project's contribution (including LNG stationary and mobile sources) would be less than the significant
         impact level at each exceedance location. A majority of these potential exceedances within the modeled
         area would be within an environmental justice community (Census Tract 9702.01, Block Group 1) (see
         appendix F). Commonwealth’s contribution to all exceedances is estimated to be less than the significant
         impact level at all exceedance locations. Therefore, we conclude that the Project would not cause or
         significantly contribute to a potential exceedance of the NAAQS and would not result in significant impacts
         on air quality in the region. Although the Project would be in compliance with the NAAQS and the NAAQS
         are designated to protect sensitive populations, we acknowledge that NAAQS attainment alone may not
         assure there is no localized harm to such populations due to project emissions of volatile organic compounds
         (VOC), hazardous air pollutants (HAP), as well as issues such as the presence of non-Project related
         pollution sources, local health risk factors, disease prevalence, and access (or lack thereof) to adequate care.
         Air Quality impacts are more fully addressed in section 4.11.1.

         4.9.12.4 Environmental Justice Mitigation Measures

                 As described in Promising Practices, when an agency identifies potential adverse impacts, it may
         wish to evaluate practicable mitigating measures. Commonwealth has committed to several minimization
         and mitigation measures to reduce impacts related to wetlands, surface water, aquatic resources, visual
         resources, recreation, socioeconomics, traffic, noise, and air quality. Commonwealth has committed to:

              •   implementing its compensatory wetland mitigation plan that requires replanting temporarily
                  disturbed wetlands and purchasing wetland bank mitigation credits;
              •   minimizing the amount of dredging needed within the Calcasieu Ship Channel;
              •   following Commonwealth’s Facility Lighting Plan;
              •   using bus lots in Carlyss, Louisiana to limit the number of vehicles traveling to the site and
                  establishment of temporary travel lanes and the use of flaggers and signs, as necessary, to ensure
                  the safety of local traffic;
              •   using construction equipment and vehicles that comply with EPA mobile and non-road emission
                  regulations, and usage of commercial gasoline and diesel fuel products that meet specifications of
                  applicable federal and state air pollution control regulations;
              •   mitigating fugitive dust applying water to the roadways and reducing vehicle speed;
              •   implementing soft starts, bubble curtains, and vibratory hammers; and
              •   requiring the operational noise associated with the Terminal site to meet sound level requirements.
         4.9.12.5 Disproportionately High and Adverse Impact Determination

                  As described throughout this EIS, the proposed Project would have a range of impacts on the
         environment and on individuals living in the vicinity of the Project facilities, including environmental
         justice populations. The closest environmental justice block groups are Census Tract 9702.01, Block Group
         3 approximately 0.1 mile from the LNG Terminal (with the closest residence [pilot’s temporary housing]
         approximately 3,300 feet away) and Census Tract 9701, Block Group 1 approximately 2.7 miles from the
         Pipeline. The closest town within an environmental justice community is Cameron (within Census Tract
         9702.01, Block Group 3) over 2 miles away. Visual impacts on environmental justice communities near

                                                             4-198                           Environmental Analysis
                                                                                                               JA316
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         the Terminal would be significant. As outlined in section 4.9.12.4, Commonwealth has committed to
         implementing a Facility Lighting Plan, which would reduce visual impacts on the environmental justice
         communities. Environmental justice communities in the area could also experience cumulative impacts
         due to the addition of other projects within the geographic scope (see section 4.13). Due to the presence of
         significant visual impacts on an environmental justice community and overall cumulative impacts in the
         project area, we conclude that impacts on environmental justice communities would be disproportionately
         high and adverse.

         4.10    CULTURAL RESOURCES

                 Section 106 of the NHPA, as amended, requires that the FERC take into account the effects of its
         undertakings on historic properties, and to afford the Advisory Council on Historic Preservation an
         opportunity to comment. Commonwealth, as a non-federal party, is assisting the FERC in meeting our
         obligations under Section 106 by preparing the necessary information, analyses, and recommendations, as
         authorized by 36 CFR 800.2(a)(3).

         4.10.1 Survey Results

                  Cultural resources surveys for the Terminal were conducted in two field studies. The resulting
         reports, an initial report for 2018 surveys (Jordan-Greene et. al., 2019), and an addendum report for 2019
         surveys (TRC, 2019), were provided to the FERC and the Louisiana State Historic Preservation Office
         (SHPO). The 2018 survey covered about 246 acres at the Terminal. About 80 percent of the proposed
         Terminal footprint is inundated marsh, with a few natural levees, alluvial dune remnants, and/or cheniers.
         The entire Terminal, except for areas that were inaccessible, was visually inspected for cultural materials
         by Commonwealth. Special attention was given to potential high-probability areas adjacent to roadways
         and along sand dunes. A total of 51 shovel tests were excavated during the survey, all of which were
         negative for cultural materials.

                  The 2018 survey identified two abandoned shipwrecks of commercial fishing vessels, which are
         approximately 2,743 feet from the Gulf of Mexico shoreline. The shipwrecks were likely deposited during
         Hurricane Rita storm surges, and neither qualifies as a cultural resource. Additionally, the ruins of a circa-
         1960 residence (structure 12-00209) were identified during the survey. Commonwealth recommended
         structure 12-00209 as not eligible for the NRHP. In a letter dated April 3, 2019, the SHPO concurred with
         this recommendation, and indicated that no properties listed in or eligible for listing in the NRHP would be
         affected by the Project. We concur with the SHPO.

                  The 2019 survey covered 128.8 acres, of which 115.8 acres were part of the Terminal, and 13 acres
         comprised of three access roads. A total of 77 shovel tests were excavated, all of which were negative for
         cultural resources. Previously recorded site 16CM149 was reported within the boundary of the Terminal;
         however, the existing site form noted that the site was destroyed, and the current survey did not identify
         any evidence of the site. In a letter dated October 25, 2019, the SHPO indicated that no properties listed in
         or eligible for listing in the NRHP would be affected by the Project. We concur with the SHPO.

                  Commonwealth contacted the SHPO regarding the Pipeline, providing a description of this Project
         component, an assessment of cultural resource probability, and mapping, and requested the SHPO’s
         concurrence that no survey was necessary. On September 28, 2019, the SHPO indicated that no known
         historic properties would be affected by the Pipeline. Commonwealth contacted the SHPO regarding the
         revised Pipeline route, providing a description of this Project component, an assessment of cultural resource
         probability, and mapping, and requested the SHPO’s concurrence that no survey was necessary. On June
         11, 2021, the SHPO indicated that no known historic properties would be affected by the revised Pipeline.
         We concur with the SHPO.



                                                            4-199                          Environmental Analysis
                                                                                                             JA317
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         letter dated April 3, 2019. We also requested revisions to the plan. Commonwealth provided a revised
         plan addressing the SHPO’s and our comments. We have reviewed the revised plan and found it acceptable.

         4.10.4 Cultural Resources Conclusions

                  Cultural resources surveys are complete for the Project and the SHPO and FERC concur that no
         historic properties would be affected. Therefore, compliance with Section 106 of the NHPA is complete.

         4.11    AIR QUALITY AND NOISE

         4.11.1 Air Quality

                  We received comments from the public expressing concern about the Project’s impact on public
         health. Air quality would be affected by construction and operation of the Project. Though air pollutant
         emissions would be generated by Project construction, most air emissions associated with the Project would
         result from the long-term operation of the Terminal site. This section of the EIS addresses the construction-
         and operation-based emissions from the Project, as well as projected impacts on air quality and applicable
         regulatory requirements.

         4.11.1.1 Regional Climate

                  The Project is proposed in Cameron Parish, Louisiana, where the climate is humid and subtropical
         with long, hot summers and short, mild winters. Southern Louisiana is mostly low and level with elevations
         generally less than 60 feet above mean Gulf of Mexico level. The runoff is through numerous sluggish
         streams or bayous, which flow through lakes and marshland. The larger marshlands are mainly in the
         coastal area, extending farthest inland in the southeast. A great part of the southwestern region of the state
         is drained through the Calcasieu River. The principal influences that determine the climate of Louisiana
         are its subtropical latitude and its proximity to the Gulf of Mexico. The average water temperatures of the
         Gulf of Mexico along the Louisiana shore range from 64°F in February to 84°F in August.

                  The average annual temperature is 69°F in the Project area. The number of days with temperatures
         equal to or greater than 90°F averages 75 days. Temperatures dip below freezing on average about 10 days
         per year in the Project vicinity. The Project area receives an annual average of 57.2 inches of rain. February
         is typically the driest month of the year with a monthly mean of 3.3 inches, whereas June tends to be the
         wettest month with a monthly mean of 6.1 inches. Rains of as much as 20 inches in a month have occurred,
         and as much as 10 inches of rain in 24 hours is not rare. Proximity to the Gulf of Mexico and the Calcasieu
         River means that humidity in the Project area is relatively high. Snow events are rare, with an annual mean
         of 0.3 inch of snow, which is most likely to occur in January or February.

                  Wind direction in the Project area is dependent on the time of year. Spring and summer months
         experience winds coming from the south, whereas during the fall and winter months wind direction is
         typically from the north or northeast. In summer, the prevailing southerly winds provide moist, semitropical
         weather often favorable for afternoon thunderstorms. With westerly to northerly winds, periods of hotter
         and drier weather interrupt the prevailing moist condition. In the colder season, the area is subject
         alternately to tropical air and cold, continental air, in periods of varying length (NOAA, 2022b).

         4.11.1.2 Existing Air Quality

                 Air quality would be affected by construction and operation of the Project. Commonwealth would
         construct natural gas liquefaction and export facilities in Cameron Parish, Louisiana. The proposed Project
         would include six liquefaction trains with ancillary utilities and support facilities; two flare systems; six
         LNG storage tanks; one marine facility consisting of an LNG carrier berth, barge dock, and turning basin;
         a 26-foot storm surge protection concrete wall; operation and safety systems; approximately 3 miles of 30-

                                                            4-201                          Environmental Analysis
                                                                                                             JA318
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         inch-diameter pipeline; two interconnection facilities with existing pipelines; and one metering station.
         This section describes existing laws and regulations relevant to air quality and the potential effects related
         to air quality that would result from implementation of the Project.

                 Ambient Air Quality Standards

                 The EPA has established NAAQS for the following “criteria” pollutants: carbon monoxide (CO),
         NO2, O3, particulate matter (PM) less than 10 microns in diameter (PM10), PM less than 2.5 microns in
         diameter (PM2.5), sulfur dioxide (SO2), and lead (Pb). O3 forms in the atmosphere as a result of a chemical
         reaction between nitrogen oxides (NOx) and VOCs in the presence of sunlight. Therefore, NOx and VOCs
         are often referred to as O3 precursors. PM2.5 may be directly emitted and can be secondarily formed in the
         atmosphere as a result of SO2 and NOx emissions. SO2 and NOx are also referred to as PM2.5 precursors.
         Lead emissions are primarily generated by industry such as ore and metals processing, waste incinerators,
         lead-acid battery manufacturers, and lead smelters. Because there are no sources of lead emissions
         associated with the Project, lead is not carried forward in the air analysis.

                  There are two classifications of NAAQS: primary and secondary standards. Primary standards set
         limits the EPA believes are necessary to protect human health, including sensitive populations such as
         children, the elderly, and asthmatics. Secondary standards are set to protect public welfare from detriments
         such as reduced visibility and damage to crops, vegetation, animals, and buildings. States have the authority
         to adopt ambient air quality standards if they are at least as stringent as the NAAQS. While states can
         promulgate more stringent standards than the NAAQS, the LDEQ has adopted all NAAQS established by
         the EPA (LDEQ, 2015). Table 4.11.1-1 lists the NAAQS for the criteria pollutants described above.




                                                            4-202                          Environmental Analysis
                                                                                                             JA319
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                                                                  TABLE 4.11.1-1


                                                National Ambient Air Quality Standards

                                   Primary/         Averaging
                Pollutant                                                 Level                                 Form
                                  Secondary           Time
                                                                     9 parts per         Not to be exceeded more than once per year
                                                    8 hours
           CO a/                 Primary                             million
                                                    1 hour           35 ppm
                                                    Rolling 3-
                                 Primary and
           Pb                                       month            0.15 μg/m3 b/       Not to be exceeded
                                 secondary
                                                    average
                                                                     100 parts per       98th percentile of 1-hour daily maximum
                                 Primary            1 hour
                                                                     billion             concentrations, averaged over 3 years
           NO2
                                 Primary and                                             Annual Mean
                                                    1 year           53 ppb c/
                                 secondary
                                 Primary and                                             Annual fourth-highest daily maximum 8-hour
           Ozone (O3) d/                            8 hours          0.070 ppm e/
                                 secondary                                               concentration, averaged over 3 years
                                 Primary            1 year           12.0 μg/m3          Annual mean, averaged over 3 years
                                 Secondary          1 year           15.0 μg/m3          Annual mean, averaged over 3 years
           PM2.5
                                 Primary and
                                                    24 hours         35 μg/m3            98th percentile, averaged over 3 years
                                 secondary
                                 Primary and                                             Not to be exceeded more than once per year
           PM10                                     24 hours         150 μg/m3
                                 secondary                                               on average over 3 years
                                                                                         99th percentile of 1-hour daily maximum
           Sulfur Dioxide        Primary            1 hour           75 ppb f/
                                                                                         concentrations, averaged over 3 years
           (SO2)
                                 Secondary          3 hours          0.5 ppm             Not to be exceeded more than once per year
          Source: EPA, 2016.
          a/ The federal primary standards for CO are also listed as a secondary standards in LAC 33:711 (LDEQ, 2015).
          b/ In areas designated nonattainment for the Pb standards prior to the promulgation of the current (2008) standards, and for
          which implementation plans to attain or maintain the current (2008) standards have not been submitted and approved, the
          previous standards (1.5 µg/m3 as a calendar quarter average) also remain in effect.
          c/ The level of the annual NO2 standard is 0.053 ppm. It is shown here in terms of ppb for the purposes of clearer comparison
          to the 1-hour standard level.
          d/ Final rule signed October 1, 2015, and effective December 28, 2015. The previous (2008) O3 standards additionally remain
          in effect in some areas. Revocation of the previous (2008) O3 standards and transitioning to the current (2015) standards will be
          addressed in the implementation rule for the current standards.
          e/ Federal ozone standard in LAC 33:711 has not been updated to the 2015 standard (0.070 ppm) (LDEQ, 2015).
          f/ The previous SO2 standards (0.14 ppm 24-hour and 0.03 ppm annual) will additionally remain in effect in certain areas: (1)
          any area for which it is not yet 1 year since the effective date of designation under the current (2010) standards, and (2) any area
          for which an implementation plan providing for attainment of the current (2010) standard has not been submitted and approved
          and which is designated nonattainment under the previous SO2 standards or is not meeting the requirements of a SIP call under
          the previous SO2 standards (40 CFR 50.4(3)). An SIP call is an EPA action requiring a state to resubmit all or part of its SIP to
          demonstrate attainment of the required NAAQS.



                   Air Quality Control Regions and Attainment Status

                  Air Quality Control Regions (AQCRs) are areas established for air quality planning purposes in
         which implementation plans describe how ambient air quality standards will be achieved and maintained.
         AQCRs were established by the EPA and local agencies, in accordance with Section 107 of the CAA and
         its amendments, to implement the CAA and comply with the NAAQS through SIPs. The AQCRs are
         intrastate and interstate regions, such as large metropolitan areas, where the improvement of the air quality
         in one portion of the AQCR requires emission reductions throughout the AQCR.

                                                                        4-203                                 Environmental Analysis
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                  Each AQCR, or portion(s) of an AQCR, is classified as either “attainment,” “non-attainment,”
         “unclassifiable,” or “maintenance” with respect to the NAAQS. Areas where ambient air concentrations
         of the criteria pollutants are below the levels listed in the NAAQS are considered in attainment. If ambient
         air concentrations of criteria pollutants are above the NAAQS levels, then the area is designated non-
         attainment. Areas that have been designated non-attainment but have since demonstrated compliance with
         the NAAQS are reclassified, upon approval by EPA, as a maintenance area for that pollutant. Maintenance
         areas are treated similarly to attainment areas for the permitting of stationary sources; however, specific
         provisions may be incorporated through the state’s approved maintenance plan to ensure that air quality
         will remain in compliance with the NAAQS for that pollutant. Maintenance areas retain the classification
         for 20 years before being reclassified as attainment areas. Areas where air quality data are not available
         are unclassifiable and are treated as attainment areas.

                  The entire Project area (including the Terminal and Pipeline) is in the Southern Louisiana–
         Southeast Texas Interstate AQCR (40 CFR 81.53), which includes Cameron Parish. Likewise, LNG carrier
         transit would impact the same AQCR. Cameron Parish, where the facility would operate and the transits
         occur, meets or exceeds the NAAQS for all criteria pollutants and is in attainment.

                 Air Quality Monitoring and Existing Air Quality

                  Along with state and local agencies, the EPA created a network of ambient air quality monitoring
         stations that collect data on background concentrations of criteria pollutants across the United States. The
         state and local agency sites are designated as part of the State and Local Air Monitoring Stations (SLAMS).
         National Air Monitoring Stations and Photochemical Air Monitoring Stations are a subset of SLAMS (EPA,
         1998). To characterize the existing ambient air quality for the proposed Project, data were gathered from
         SLAMS sites that are closest to and most representative of the Project site.




                                                           4-204                          Environmental Analysis
                                                                                                           JA321
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                                                          TABLE 4.11.1-2


                            Nearest or Most Representative Air Quality Monitoring Stations a/

                  Station Name           Criteria Pollutant            Location (Site ID)          Distance and Direction
                                                                                                       to Project Site
         Carlyss Station                                      Carlyss, LA (22-019-0002)                25 miles North
                                                O3
         SETRPC 40 Sabine Pass                                Sabine Pass, TX (48-245-0101)            33 miles West

         Vinton Station                      O3, PM2.5        Vinton, LA (22-019-0009)               34 miles Northwest

         Westlake Station                    SO2, NO2         Westlake, LA (22-019-0008)               35 miles North

         Port Arthur Memorial School           PM2.5          Port Arthur, TX (48-245-0021)          35 miles Northwest

         Nederland High School                  CO            Nederland, TX (48-245-1035)            42 miles Northwest

         Lafayette/USGS Station                PM10           Lafayette, Louisiana (22-055-0007)     85 miles Northeast

         a/ EPA 2019a



                  For O3, the closest SLAMS site is in Carlyss, Louisiana (Calcasieu Parish). In Texas, the Sabine
         Pass O3 monitoring station lies about 33 miles to the west. For PM2.5 and O3, the Vinton Louisiana
         monitoring station (Calcasieu Parish) lies about 34 miles north of the Project site. The closest site for NO2
         and SO2 monitoring is in Westlake, Louisiana, approximately 35 miles north of the Project site. For CO,
         the closest site is a monitoring location in Nederland, Texas, which is 42 miles northwest of the Project site.
         For PM10, the closest monitoring site is at the USGS facility in Lafayette, Louisiana, 85 miles northeast of
         the Project site. Table 4.11.1-2 provides information on these SLAMS sites.

                 Table 4.11.1-3 shows monitoring data for criteria pollutants for 2016 to 2019, as applicable, from
         the monitoring sites, along with the appropriate primary NAAQS standard. All monitored values were
         below the NAAQS.




                                                               4-205                           Environmental Analysis
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                                                               TABLE 4.11.1-3


                                                      SLAMS Data and NAAQS a/

                  Station Name                  Criteria Pollutant                    Data b/                        NAAQS
         Carlyss Station                                 O3                            0.065                         0.70 ppm
         SETRPC 40 Sabine Pass                           O3                            0.068                         0.70 ppm
                                                         O3                            0.064                         0.70 ppm
         Vinton Station                            PM2.5 annual                         7.76                       12/15 μg/m3
                                                   PM2.5 24-hour                        21.2                         35 μg/m3
                                                    SO2 3-hour                          0.04                         0.5 ppm
                                                    SO2 1-hour                          28.6                          75 ppb
         Westlake Station
                                                    NO2 annual                          6.6                           53 ppb
                                                    NO2 1-hour                          38.8                         100 ppb
                                                   PM2.5 annual                         9.6                         12.0 μg/m3
         Port Arthur Memorial School
                                                   PM2.5 24-hour                         21                          35 μg/m3
                                                    CO 8-hour                           0.5                            9 ppm
         Nederland High School
                                                    CO 1-hour                           1.0                           35 ppm
         Lafayette/USGS Station                        PM10                              80                         150 μg/m3
          a/ EPA 2019a
          b/ Values based on NAAQS criteria; where required, 3-year period = 2016–2018 except for Port Arthur PM2.5, which does not have
         a full 3-year set of data; 205 days of data from 2019 were used to represent year 3 and will be updated in future versions.



                  Greenhouse Gases

                  Greenhouse gases (GHGs) occur in the atmosphere both naturally and as a result of human
         activities, such as the burning of fossil fuels. These gases are the integral components of the atmosphere’s
         greenhouse effect, which warms the Earth’s surface and moderates day/night temperature variation. In
         general, the most abundant GHGs are water vapor, CO2, methane (CH4), nitrous oxide (N2O), and O3. On
         December 7, 2009, the EPA defined air pollution to include a mix of six long-lived and directly emitted
         GHGs, finding that the presence of the following GHGs in the atmosphere may endanger public health and
         welfare through climate change: CO2, CH4, N2O, hydrofluorocarbons, perfluorocarbons, and sulfur
         hexafluoride. Though the EPA’s finding was based on emissions associated with new motor vehicles, the
         EPA has expanded its regulations to include the emission of GHGs from major stationary sources under the
         PSD program. The EPA’s current rules require that a stationary source must be regulated as a major source
         for a non-GHG pollutant to be evaluated as a major source for GHGs. As a result, New Source Review
         (NSR) sources must also obtain a GHG PSD permit prior to beginning construction of a new major source
         with significant net emission increases of carbon dioxide equivalent (CO2e) equal to or greater than 75,000
         tons per year (tpy). There are no NAAQS for GHGs.

                  The principal GHGs that would be produced by the Project are CO2, CH4, and N2O. Emissions of
         GHGs are quantified and regulated in units of CO2e. The CO2e unit of measure takes into account the
         global warming potential (GWP) of each GHG. The GWP is a ratio relative to CO2 that is based on the
         particular GHG’s ability to absorb solar radiation as well as its residence time within the atmosphere. Thus,
         for a 100-year horizon, CO2 has a GWP of 1, CH4 has a GWP of 25, and N2O has a GWP of 298
         (Intergovernmental Panel on Climate Change, 2021). To obtain the CO2e quantity, the mass of the
         particular compound is multiplied by the corresponding GWP, the product of which is the CO 2e for that


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         compound. The CO2e value for each of the GHG compounds is then summed to obtain the total CO2e GHG
         emissions.

         4.11.1.3 Regulatory Requirements for Air Quality

                 The Project would be potentially subject to a variety of federal and state regulations pertaining to
         the construction of the Terminal and Pipeline, and operation of air emission sources. The following sections
         summarize the applicability of various state and federal regulations.

                 Federal Air Quality Requirements

                  The CAA, 42 USC 7401 et seq., as amended in 1977 and 1990, and 40 CFR Parts 50 through 99
         are the basic federal statutes and regulations governing air pollution in the United States. The following
         federal requirements have been reviewed for applicability to the Project:

             •   NSR/PSD;
             •   New Source Performance Standards (NSPS);
             •   National Emission Standards for Hazardous Air Pollutants (NESHAP);
             •   Title V Operating Permits;
             •   General Conformity; and
             •   Greenhouse Gas Reporting.
                 New Source Review/Prevention of Significant Deterioration

                 Federal preconstruction review for sources in nonattainment areas is referred to as Nonattainment
         New Source Review, while federal preconstruction review for sources in attainment areas is referred to as
         PSD. The review process aids in preventing new sources and modifications to existing systems from
         causing existing air quality to deteriorate beyond acceptable levels.

                  A source is classified as PSD major if it has the potential to emit (PTE) more than 100 tpy of a
         pollutant regulated under the CAA and it is listed in one of the 28 named source categories in Section 169
         of the CAA, or if it has PTE more than 250 tpy and is not listed in one of the 28 named source categories
         in Section 169 of the CAA. If a new source is determined to be a major source for any criteria pollutant,
         then other PSD pollutants would be subject to PSD review if those pollutants are emitted at rates that exceed
         significant emission rates (SERs). These include criteria pollutants (100 tpy for CO; 40 tpy for NOx, VOC,
         and SO2; 25 tpy for total suspended particulate; 15 tpy for PM10 and 10 tpy for [direct] PM2.5) and non-
         criteria pollutants (10 tpy for H2S; 7 tpy for sulfuric acid mist; and 75,000 tpy for CO2e). Sources that
         exceed the major source threshold are then subject to a PSD review.

                 The Pipeline would not include any stationary combustion sources of emission and would only
         emit fugitive natural gas during operation. Emissions from the Terminal would be above the PSD major
         source thresholds for NOx and CO. If a source is subject to PSD review for one regulated pollutant, the
         source is also subject to PSD review for all other pollutants causing a significant increase in emissions level,
         as noted above. For this reason, the new Terminal facility would be subject to PSD review.




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                 New Source Performance Standards

                  The NSPS, codified in 40 CFR 60, regulate emission rates and provide requirements for new or
         significantly modified sources. NSPS requirements include emission limits, monitoring, reporting, and
         record keeping.

                  Applicable NSPS for the Project, based on the types of emission units and the expected date of
         installation, would potentially include, but not be limited to, the subparts listed below.

            •    40 CFR 60 Subpart A – General Provisions. Subpart A contains the general requirements
                 applicable to all emission units subject to 40 CFR 60.
            •    40 CFR 60 Subpart Db – Standards of Performance for Industrial-Commercial-Institutional Steam
                 Generating Units. Subpart Db applies to each steam generating unit for which construction,
                 modification, or reconstruction is commenced after June 19, 1984, and which has a maximum
                 design heat input capacity of greater than 29 megawatts (100 MMBtu/hr [million British thermal
                 units per hour]). Commonwealth would operate the hot oil heaters at the Terminal in compliance
                 with Subpart Db.
            •    40 CFR Subpart Kb – Standards of Performance for Volatile Organic Liquid Storage Vessels
                 (including Petroleum Liquid Storage Vessels). This subpart applies to each storage vessel with a
                 capacity greater than or equal to 75 m3 that is used to store volatile organic liquids for which
                 construction, reconstruction, or modification is commenced after July 23, 1984. This subpart does
                 not apply to storage vessels with a capacity greater than or equal to 151 m3 storing a liquid with a
                 maximum true vapor pressure less than 3.5 kilopascals or with a capacity greater than or equal to
                 75 m3 but less than 151 m3 storing a liquid with a maximum true vapor pressure less than 15.0
                 kilopascals. This subpart sets standards for VOC emissions reduction. This subpart applies to any
                 condensate/off-specification fuel storage tank at the Terminal. Commonwealth would comply with
                 all applicable Subpart Kb standards and requirements for monitoring, recordkeeping, and reporting.
            •    40 CFR Subpart IIII – Standards of Performance for Stationary Compression Ignition Internal
                 Combustion Engines. Subpart IIII applies to owners and operators of stationary Compression
                 Ignition Internal Combustion Engines as described in the subpart. This subpart sets emission
                 standards for NOx plus non-methane hydrocarbons, CO, and PM. This subpart applies to
                 emergency generators and firewater pumps slated for the Terminal. Commonwealth would comply
                 with all applicable Subpart IIII standards and requirements for monitoring, recordkeeping, and
                 reporting.
             •   40 CFR Subpart KKKK – Standards of Performance for Stationary Combustion Turbines. This
                 subpart applies to stationary combustion turbines that commenced construction, modification, or
                 reconstruction after February 18, 2005, and have a heat input at peak load equal to or greater than
                 10.7 gigajoules per hour (10 MMBtu/hr). The proposed compressor gas turbines would be subject
                 to NSPS Subpart KKKK as their fuel heat input ratings would exceed 10 MMBtu/hr, and their
                 manufacturing date would be after February 18, 2005. Subpart KKKK regulates emissions of NOx
                 and SO2. The turbines would be subject to a NOx emission limit of 25 parts per million (ppm) at
                 15 percent oxygen. Commonwealth would comply with the fuel sulfur requirements by using fuel
                 with sulfur content at or below 0.060 pound of SO2 per MMBtu. Commonwealth would comply
                 with all applicable Subpart KKKK standards and requirements for monitoring, recordkeeping, and
                 reporting.




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                 National Emissions Standards for Hazardous Air Pollutants

                 The NESHAPs, codified in 40 CFR 61 and 63, regulate the emissions of HAPs from new and
         existing sources. Part 61, promulgated before the 1990 CAA Amendments, regulates eight hazardous
         substances: asbestos, benzene, beryllium, coke oven emissions, inorganic arsenic, mercury, radionuclides,
         and vinyl chloride.

                  The 1990 CAA Amendments established a list of 189 HAPs, resulting in the promulgation of Part
         63, also known as the Maximum Achievable Control Technology standards. Part 63 regulates HAPs from
         major sources of HAPs and specific source categories emitting HAPs. Some NESHAPs may apply to non-
         major sources (area sources) of HAPs. Major source thresholds for NESHAPs are 10 tpy of any single
         HAP or 25 tpy of total HAPs. The highest single total HAP of 1.44 tons per year is expected from each of
         the refrigeration units (RCT A-F), and generators (GCT A-C). The Terminal would not emit more than
         18.4 tpy of all HAPs combined. Therefore, the Project would not be a major source for HAPs and only
         those NESHAPs for relevant area sources at the Project would be applicable. NESHAPs that are applicable
         to the Terminal site are listed below.

                  Applicable NESHAPs for the Project, based on the types of emission units and the expected date
         of installation, would potentially include, but not be limited to, the subparts listed below.

             •   40 CFR 63 Subpart A – General Provisions. Subpart A contains the general requirements
                 applicable to all emission units subject to 40 CFR 63.
             •   40 CFR 63 Subpart HHH – National Emission Standards for Hazardous Air Pollutants from Natural
                 Gas Transmission and Storage Facilities. Although this subpart applies to the facility, there are no
                 glycol dehydration units and thus no applicable requirements.
             •   40 CFR 63 Subpart YYYY – National Emission Standards for Hazardous Air Pollutants for
                 Stationary Combustion Turbines. In 2004, the EPA stayed the effectiveness of the emission and
                 operating limitations for lean-premixed gas-fired and diffusion flame gas-fired turbines. These
                 turbines must only comply with the initial notification requirements at this time.
             •   40 CFR 63 Subpart ZZZZ – National Emission Standards for Hazardous Air Pollutants
                 Reciprocating Internal Combustion Engines (RICE). Subpart ZZZZ applies to any existing, new,
                 or reconstructed stationary RICE located at a major or area source of HAP emissions. For
                 stationary RICE located at an area source of HAP emissions, a stationary RICE is “existing” if
                 construction or reconstruction of the stationary RICE commenced before June 12, 2006. A
                 stationary RICE located at an area source of HAP emissions is “new” if construction of the
                 stationary RICE commenced on or after June 12, 2006. For area sources, this subpart sets operating
                 limitations and emission limitations for CO and formaldehyde, as well as management practices
                 and work practice standards. This subpart applies to the diesel emergency engines and diesel
                 firewater pumps slated for the Terminal. Commonwealth would comply with all applicable Subpart
                 ZZZZ standards and requirements for monitoring, recordkeeping, and reporting.
             •   40 CFR 63 Subpart DDDDD – National Emission Standards for Hazardous Air Pollutants for Major
                 Sources: Industrial, Commercial, and Institutional Boilers and Process Heaters. This subpart
                 applies to major source of HAPs, specifically the hot oil heaters planned for the Terminal.
                 Commonwealth would comply with all applicable Subpart DDDDD standards and requirements
                 for monitoring, recordkeeping, and reporting.
                 Title V Operating Permit

                 The required elements of Title V operating permit programs are outlined in 40 CFR 70 and 40 CFR
         71. Title V operating permits may be referred to as “Part 70” or “Part 71” permits, or as Title V permits.
         A Title V permit should list all air pollution requirements that apply to the source, including emissions limits

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         and monitoring, recordkeeping, and reporting requirements. Regulations also require that the permittee
         annually report the compliance status of its source with respect to permit conditions to the corresponding
         regulatory agency.

                 A Title V major source, as defined in 40 CFR 70.2, is a source or group of stationary sources
         (including new and existing sources) within a contiguous area and under common control, emitting or with
         the PTE criteria pollutants or HAPs above the criteria pollutant threshold values. The Title V major source
         threshold is 100 tpy for any of the criteria pollutants, 10 tpy for any single HAP, and 25 tpy for any
         combination of HAPs. The Project would be subject to Title V permitting requirements.

                 General Conformity

                  General Conformity regulations are designed to ensure that federal actions within nonattainment
         and maintenance areas do not interfere with a state’s ability to attain or maintain compliance with NAAQS.
         As part of the general conformity applicability determination process, the sum of non-exempt direct and
         indirect emissions of nonattainment pollutants or designated precursors associated with a federal action is
         compared to the General Conformity applicability de minimis levels in 40 CFR Part 93.153. If an
         applicability threshold is exceeded, then general conformity applies, and a conformity determination is
         required. If emissions are below the applicability thresholds, the emissions are considered de minimis,
         General Conformity requirements do not apply, and a conformity determination is not required.

                 The new Terminal facility would be entirely within an attainment/unclassifiable area and therefore
         would not be subject to General Conformity. The closest nonattainment areas to the Project site are the
         Houston-Galveston-Brazoria O3 nonattainment area, west of the Project site, and the St. Bernard Parish
         New Orleans) SO2 nonattainment area, east of the Project site. LNG vessels calling at the Terminal would
         not transit through these areas and therefore would not contribute to emissions in the areas. Vessels
         delivering construction equipment to the Project site would likely pass through the Houston-Galveston-
         Brazoria O3 nonattainment area when traveling from Corpus Christi. However, the emissions from these
         vessels would be considered de minimis and therefore General Conformity requirements would not apply.

                 GHG Reporting Rule

                  In September 2009, the EPA issued the final Mandatory Reporting of Greenhouse Gases Rule,
         requiring reporting of GHG emissions from suppliers of fossil fuels and facilities that emit greater than or
         equal to 25,000 metric tpy of GHG (reported as CO2e). In November 2010, the EPA signed a rule finalizing
         GHG reporting requirements for the petroleum and natural gas industry in 40 CFR Part 98, Subpart W. The
         industry separates LNG storage facilities from LNG import and export equipment because the former are
         considered part of the source category regulated by Subpart W. The rule does not apply to construction
         emissions.

                 The Terminal facility would be subject to the GHG Mandatory Reporting Rule. The rule establishes
         reporting requirements based on actual emissions; however, it does not require emission controls.
         Commonwealth would monitor emissions in accordance with the reporting rule. If actual emissions exceed
         the 25,000 metric tpy CO2e reporting threshold, Commonwealth would be required to report its GHG
         emissions to the EPA. Commonwealth would calculate the actual GHG emissions from the Project and
         report GHGs in compliance with the GHG Mandatory Reporting Rule.

                 Applicable State Air Quality Regulations
                  In addition to the federal regulations identified above, the LDEQ has its own air quality regulations
         and is the lead air permitting authority for the Project. The LDEQ’s air quality regulations are codified in
         LAC Title 33, Part III, Chapters 1 through 59. The regulations incorporate the federal program
         requirements listed in 40 CFR 50 through 99 and establish permit review procedures for all facilities that


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         can emit pollutants to the ambient air. Louisiana also requires applicants for an air quality permit to prepare
         an environmental assessment statement pursuant to state-only requirements set forth in Louisiana Revised
         Statute 30:2018.A. New facilities are required to obtain an air quality permit prior to initiating construction.
         LAC Title 33, Part III, Chapters 1 through 59 set forth the air quality regulations for emission sources in
         Louisiana. In addition, LAC Title 33, Part III, Chapter 1 delegates authority to the LDEQ to maintain air
         quality resources in Louisiana and enforce LDEQ air quality regulations. The following regulations are
         applicable the Project:
             •   Chapter 2: Rules and Regulations for the Fee System of the Air Quality Control Program;
             •   Chapter 5: Permit Procedures;
             •   Chapter 9: General Regulations on Control of Emissions and Emission standards;
             •   Chapter 11: Control of Air Pollution from Smoke;
             •   Chapter 13: Emission Standards for Particulate Matter;
             •   Chapter 15: Emission Standards for Sulfur Dioxide;
             •   Chapter 21: Control of Emission of Organic Compounds;
             •   Chapter 51: Comprehensive Toxic Air Pollutant Emission Control Program; and
             •   Chapter 56: Prevention of Air Pollution Emergency Episodes.
         4.11.1.4 Construction Emission Impacts and Mitigation
                  Emissions during Terminal and Pipeline construction would generally be associated with onshore
         construction activities conducted using on-road and off-road mobile equipment and offshore construction
         activities conducted using marine vessels such as tugboats or barges and a dredging vessel. Commonwealth
         anticipates construction and commissioning of the Terminal to be completed in approximately 36 to 38
         months. Commonwealth would construct the Pipeline over a 12-month period, which would occur
         concurrently with the Terminal during the second year of construction. Commonwealth expects peak
         construction emissions would occur over the first 14 months. During this time, most of the concrete
         materials and pilings would be delivered and Commonwealth would prepare the Terminal site and construct
         the facility foundations, barge dock, barge dock off-loading platform, and LNG carrier berth. Increases in
         land vehicle and waterway traffic during this time are described in section 2.5.1.6.
                 Onshore On-road and Off-road Mobile Equipment Emissions
                 Potential impacts on ambient air quality for construction projects typically include generation of
         combustion and fugitive dust emissions from mobile construction equipment operation. Combustion
         emissions would occur as tailpipe emissions from gasoline- or diesel-fueled engines in on-road and off-road
         mobile equipment.
                  Fugitive dust results from construction activities such as land clearing, grading, excavation, and
         concrete work, as well as from vehicles traveling on paved and unpaved roads. Fugitive dust generation
         depends on the area of construction, silt and moisture contents of the soil, wind speed, frequency of
         precipitation, amount of vehicle traffic, and vehicle and roadway type. Fugitive dust would be produced
         during all phases of construction. The control of fugitive particulate emissions is typically addressed
         through compliance with state or local nuisance regulations such as 33 LAC Part 3, Chapter 13, §1305.
         Table 4.11.1-4 provides a summary of expected combustion and fugitive dust construction emissions.




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         Construction is anticipated to occur during 2023 to 2026. Equipment used for the Terminal and Pipeline
                                                                                        86
         construction would contribute GHG emissions, which are estimated here as CO2e.




         86     Commonwealth’s supporting calculations, emissions factors, fuel consumption rates, vehicle power ratings, utilization
                rates, and estimated hours of operation used to estimate construction emissions are available as appendix A of
                accession number 20220728-5187 on the FERC docket.


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                                                                                    TABLE 4.11.1-4


         Summary of Terminal and Pipeline On-road and Off-road Mobile Equipment and Fugitive Dust Construction Phase Emissions a/ (Tons)

         Year Facility        Emission Source            NOx       SO2      CO         PM10     PM2.5          VOC       CO2        CH4         N2O     CO2e b/ HAP

                           Commuter transit               0.97    4.3E-3    5.96        0.08     0.04           0.13     825        0.02       2.9E-3    826      0.02
                           Material delivery
                                                          0.69    1.3E-3    0.39        0.03     0.01           0.02     381       3.2E-3      4.1E-4    381     2.2E-3
                           vehicles
                           On-road vehicles               0.15    2.9E-4    0.14       8.1E-3   4.0E-3         9.2E-3    86.6      7.4E-4      1.4E-4    86.6    1.2E-3
                Terminal
                           Off-road equipment             13.3     23.2     7.40        1.35     1.35           0.91    2,370       1.10        0.09    2,424     0.09
         2023
                           Barge deliveries               4.73     0.06     1.10        0.14     0.13           0.13     333        0.04       9.7E-4    334     9.0E-3
                           Open burning                    -        -        -           -           -           -           -       -           -        -        -
                           Fugitive dust c/          -              -        -          33.7     3.42            -           -       -           -        -        -

                                     2023 Subtotal        19.9     23.3     15.0        35.3     4.95           1.20    3,995       1.16        0.09    4,052     0.11

                           Commuter transit               2.92     0.01     19.8        0.28     0.12           0.37    2,812       0.06       9.7E-3   2,816     0.04
                           Material delivery
                                                          0.64    1.2E-3    0.37        0.03     0.01           0.02     373       3.0E-3      4.1E-4    373     1.9E-3
                           vehicles
                           On-road vehicles               0.62    1.3E-3    0.58        0.03     0.02           0.03     380       3.2E-3      6.1E-4    380     4.3E-3
                Terminal
                           Off-road equipment             41.1     46.5     12.5        3.32     3.32           2.46    11,192      0.36        0.52    11,355    0.22

                           Barge deliveries               17.0     0.23     3.97        0.49     0.48           0.47    1,199       0.16       3.5E-3   1,204     0.03

                           Open burning                   0.43      -       15.1         -           -          2.05     390        0.62         -       406       -
         2024
                           Fugitive dust c/                -        -        -          67.4     6.83            -           -       -           -        -        -
                           Commuter transit              6.4E-4   1.4E-5    0.02       1.7E-4   3.4E-5         1.6E-4    2.05      5.5E-5      7.6E-6    2.06    1.2E-5
                           On-road vehicles              8.6E-3   1.7E-5   5.0E-3      3.9E-4   1.7E-4         2.4E-4    4.97      4.0E-5      5.5E-6    4.97    2.6E-5
                Pipeline Off-road equipment               1.77     0.01     9.51        0.09     0.09           0.41     823        0.03        0.04     835      0.02
                           Open burning
                           Fugitive dust c/                                             23.5     2.41

                                     2024 Subtotal        64.5     46.8     61.9        95.2     13.3           5.82    17,175      1.22        0.57    17,375    0.32




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                                                                                TABLE 4.11.1-4


         Summary of Terminal and Pipeline On-road and Off-road Mobile Equipment and Fugitive Dust Construction Phase Emissions a/ (Tons)

         Year Facility        Emission Source        NOx       SO2      CO         PM10     PM2.5          VOC      CO2         CH4         N2O     CO2e b/ HAP

                           Commuter transit           2.99     0.02     21.6        0.31     0.12           0.38    3,147       0.06        0.01    3,152     0.04
                           Material delivery
                                                      0.61    1.2E-3    0.36        0.03     0.01           0.02     365       2.8E-3      4.1E-4    366     1.7E-3
                           vehicles
                           On-road vehicles           0.25    5.5E-4    0.25        0.01    6.4E-3          0.01     165       1.3E-3      2.7E-4    166     1.6E-3
                Terminal Off-road equipment           26.7     46.5     9.80        2.60     2.60           1.16    4,875       0.16        0.22    4,945     0.28

                           Barge deliveries           16.3     0.22     3.79        0.47     0.46           0.45    1,145       0.15       3.3E-3   1,149     0.03

                           Open burning                -        -        -           -           -           -           -       -           -        -        -
         2025
                           Fugitive dust c/            -        -        -          67.4     6.83            -           -       -           -        -        -

                           Commuter transit          6.4E-4   1.4E-5    0.02       1.7E-4   3.4E-5         1.6E-4   2.05       5.5E-5      7.6E-6    2.06    1.2E-5

                           On-road vehicles          8.6E-3   1.7E-5   5.0E-3      3.9E-4   1.7E-4         2.4E-4   4.97       4.0E-5      5.5E-6    4.97    2.6E-5
                Pipeline
                           Off-road equipment         0.45    1.8E-3    0.17        0.03     0.03           0.08     264       8.4E-3       0.01     268     5.6E-3

                           Fugitive dust c/            -        -        -          5.87     0.60            -           -       -           -        -        -

                                     2025 Subtotal    47.2     46.7     36.0        76.8     10.7           2.09    9,968       0.38        0.25    10,052    0.37

                           Commuter transit           2.99     0.02     21.6        0.31     0.12           0.38    3,147       0.06        0.01    3,152     0.04

                           Material delivery
                                                      0.61    1.2E-3    0.36        0.03     0.01           0.02     365       2.8E-3      4.1E-4    366     1.7E-3
                           vehicles
         2026 Terminal On-road vehicles               0.25    5.5E-4    0.25        0.01    6.4E-3          0.01     165       1.3E-3      2.7E-4    166     1.6E-3

                           Off-road equipment         26.7     46.5     9.80        2.60     2.60           1.16    4,875       0.16        0.22    4,945     0.28

                           Barge deliveries            -        -        -           -           -           -           -       -           -        -        -




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                                                                                        TABLE 4.11.1-4


         Summary of Terminal and Pipeline On-road and Off-road Mobile Equipment and Fugitive Dust Construction Phase Emissions a/ (Tons)

         Year Facility         Emission Source            NOx        SO2         CO          PM10         PM2.5          VOC          CO2          CH4          N2O       CO2e b/ HAP

                           Open burning                     -          -           -            -            -             -            -            -            -           -        -

                           Fugitive dust c/                 -          -           -          33.7         3.42            -            -            -            -           -        -

                                       2026 Subtotal      30.5       46.5        32.0         36.7         6.16          1.57        8,552         0.22         0.24       8,628     0.33

                                               TOTAL 162.1          163.3       144.9        244.0         35.11        10.68        39,690        2.98         1.15      40,107     1.13

          a/ Construction emissions encompass commuter transit vehicles, materials delivery vehicles, on-road construction vehicles, off-road equipment (including dredging equipment and
         vessels), and open burning emissions.
          b/ CO2e emission factors for off-road vehicles, equipment, and vessels are calculated using CO₂, CH₄, and N₂O global warming potentials of 1, 25, and 298, respectively.
          c/ Fugitive dust emissions from WRAP Fugitive Dust Handbook, Countess Environmental, September 2006




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                 Offshore Marine Vessel Emissions

                 Criteria air pollutant emissions from marine vessel operations would also be expected during the
         construction period. The emissions would come from vessels, tugboats, and barges carrying materials and
         equipment needed for construction of the Project traveling to and from the place of origin by barge to the
         supply docks. Marine vessel traffic emissions listed in table 4.11.1-5 would be anticipated across the 3-
         year construction period. Barges are expected to deliver construction supplies such as precast concrete
         materials and pilings over the first 19 months of construction. Once the facility foundations are in place
         and the barge dock and off-loading platform are constructed, the LNG storage tanks, pre-treatment and
         liquefaction train modules, and pipe rack modules would be delivered throughout the following 8 months.

                Commonwealth anticipates approximately 238 barges would be required to deliver construction
         components to the Project site. Commonwealth has yet to source the construction components, but expects
         they would be sourced from, or manufactured in, Louisiana and Texas. For the emissions estimates
         provided in table 4.11.1-5, we assume the barges would originate from Lake Charles.

                 The modular portion of the LNG storage tanks would require three total barge deliveries. Two
         barge deliveries of four LNG storage tanks would likely originate from Corpus Christi, Texas. One barge
         delivery of two LNG storage tanks would likely originate from Morgan City, Louisiana. Barges originating
         from Corpus Christi would transit through the Houston-Galveston-Brazoria O3 nonattainment area en route
         to the Project site. These barges would emit de minimis levels of the O3 precursors NOx and VOC. The
         barges that originate from Morgan City would not transit through a nonattainment or maintenance area. It
         is conservatively assumed that all three barges would originate from Corpus Christi, which is the farthest
         potential port from the Project site.

                 Six barge deliveries of main cryogenic heat exchanger units would originate from Pensacola,
         Florida. Barges that originate in Pensacola would not transit through a nonattainment or maintenance area.
         The Gulf Intracoastal Waterway is near, but does not cross, the St. Bernard Parish SO2 nonattainment area.

                 Approximately 30 tug-assisted barge deliveries of 60 pipe racks would transit to the Terminal site
         via the Gulf Intracoastal Waterway from established fabrication yards. There are several fabrication yards
         with access to the Intracoastal Waterway of Texas and Louisiana that are suited to fabricate the pipe racks.
         The pipe racks would likely originate in either Corpus Christi or Morgan City. Again, it is conservatively
         assumed that these barges would originate from Corpus Christi. As noted above, barges originating from
         Corpus Christi would transit through the Houston-Galveston-Brazoria O3 nonattainment area; however, the
         barges would emit de minimis levels of the O3 precursors NOx and VOC.

                  The pre-treatment and liquefaction modules would likely be manufactured outside of the United
         States and would require transport by general cargo carrier vessels. Each vessel would likely transport one
         pre-treatment module and one liquefaction module. Commonwealth expects that two vessels would be
         used to transport the 12 modules (i.e., 6 pre-treatment modules and 6 liquefaction modules) to the Terminal
         site over a 10-month period.

                  Table 4.11.1-5 provides a summary of construction-related marine vessel emissions. The values,
         presented in tons per year, encompass the total calculated emissions output of the combined number of
         transits (i.e., number of barge-calls at the Terminal) from the listed port of origin to the Terminal.
         Calculations are based on engine emissions values provided by the EPA (2009) and distances to ports
         provided by NOAA (2019).87


         87      Commonwealth’s supporting calculations for its marine vessel emissions are available as appendix A of accession
                 number 20220728-5187 on the FERC docket.



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                                                                   TABLE 4.11.1-5


                     Summary of Construction Phase Material and Equipment Barge Delivery Emissions

                                 Barge                       Annual Pollutant Emissions by Construction Year (tons)
                       Port of
          Year                   Calls      NOx                                VOC
                       Origin                        CO      PM10     PM2.5            SO2      CO2          CH4    N2O     CO2e      HAP
                                  (#)        b/                                 b/
                     Lake
                                 70        4.73    1.10     0.14      0.13     0.13    0.06    333      0.04       9.7E-4   334      9.0E-3
                     Charles
          2023       Corpus
                                 0         --      --       --        --       --      --      --       --         --       --       --
                     Christi
                     Pensacola   0         --      --       --        --       --      --      --       --         --       --       --
          Subtotal               70        4.73    1.10     0.14      0.13     0.13    0.06    333      0.04       9.7E-4   334      9.0E-3
                     Lake
                                 119       8.04    1.87     0.23      0.23     0.22    0.11    566      0.07       1.6E-3   568      0.02
                     Charles
          2024
                     Corpus
                                 17        8.99    2.09     0.26      0.25     0.25    0.12    633      0.08       1.8E-3   635      0.02
                     Christi
                     Pensacola   0         --      --       --        --       --      --      --       --         --       --       --
          Subtotal               136       17.03   3.97     0.49      0.48     0.47    0.23    1,199    0.16       3.5E-3   1,204    0.03
                     Lake
                                 49        3.31    0.77     0.10      0.09     0.09    0.04    233      0.03       6.8E-4   234      6.3E-3
                     Charles
          2025       Corpus
                                 16        8.46    1.97     0.25      0.24     0.23    0.11    596      0.08       1.7E-3   598      0.02
                     Christi
                     Pensacola   6         4.49    1.05     0.13      0.13     0.12    0.06    316      0.04       9.2E-4   317      8.5E-3
          Subtotal               71        16.26   3.79     0.47      0.46     0.45    0.22    1,145    0.15       3.3E-3   1,149    0.03
                     Lake
                                 0         --      --       --        --       --      --      --       --         --       --       --
                     Charles
                     Corpus
          2026                   0         --      --       --        --       --      --      --       --         --       --       --
                     Christi
                     Pensacola   0         --      --       --        --       --      --      --       --         --       --       --
                     Subtotal    0         --      --       --        --       --      --      --       --         --       --       --
          Total                  277       38.02   8.86     1.10      1.07     1.05    0.50    2,677    0.35       0.008    2,688    0.07
          a/ The emissions from transport of pre-treatment and liquefaction equipment from outside of the U.S. were not available for this
          current estimate.
          b/ Vessels transiting from Corpus Christi would pass through the Houston-Galveston-Brazoria O3 nonattainment area; General
          Conformity de minimis emissions thresholds for NOx and VOC (O3 precursors) are 100 tons per year.




                     Mitigation Measures

                   Terminal construction is estimated to last 36 to 38 months and would involve disturbance of the
         entire site. Pipeline construction is estimated to last 12 months and would occur concurrently with Terminal
         construction during the second year of construction. Fugitive dust emissions would range from an estimated
         maximum of 90.9 tons for PM10 and 9.2 tons of PM2.5 in 2024 when initial Terminal and Pipeline
         construction (e.g., earth moving) would be occurring simultaneously to lows of 33.7 tons of PM10 and 3.4
         tons of PM2.5 in 2023 and 2026, which are expected to be partial construction years when only the Terminal
         would be under construction. To minimize impacts on air quality during construction, Commonwealth
         would adopt the following measures:

             •       require that contractors meet all air quality requirements and employ equipment that meets relevant
                     emission standards;



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                                                                                                                                  JA334
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             •   require contractors to properly maintain and operate construction equipment to minimize exhaust
                 emissions, including minimizing engine idling time; use paved roads, when practical; and water
                 unpaved roads, as needed;
             •   apply water to dirt stockpiles;
             •   cover open haul trucks, as needed;
             •   limit vehicle speeds;
             •   apply water to disturbed areas, as needed; and
             •   stabilize disturbed areas upon completion of construction.
                 Vehicular and/or barge exhaust and crankcase emissions from gasoline and diesel engines would
         comply with applicable EPA mobile source emission regulations (40 CFR 85) by using equipment
         manufactured to meet these specifications and using commercial gasoline and diesel fuel products that meet
         specifications of applicable federal and state air pollution control regulations.

                  The combustion and fugitive dust emissions that would occur during construction would be largely
         limited to the immediate vicinity of the existing Terminal site and to a lesser extent in the areas where the
         Pipeline would be constructed. These emissions would represent a small portion of Cameron Parish’s
         yearly emissions inventories and would subside once construction has been completed. Therefore, we
         conclude the construction-related impact on local air quality during construction of the Terminal and
         Pipeline would not be significant.

         4.11.1.5 Operating Emission Impacts and Mitigation

                 Commissioning and Start-up Emissions

                   Commonwealth anticipates that construction of the liquefaction trains would be completed on a
         staggered basis from the fourth quarter of 2025 through the second quarter of 2026. Commonwealth further
         anticipates commissioning of the LNG trains and start-up of the Terminal to begin in the fourth quarter of
         2025, with all trains commissioned by the third quarter of 2026. The commissioning process would last
         nine months and would produce emissions separate from construction and operation. Commonwealth
         anticipates only minor overlap between construction and commissioning activities (e.g., construction of
         utilities systems or common facilities may overlap with the start of commissioning). Commercial
         operations at the Terminal would begin after all of the LNG trains have been commissioned. A summary
         of the emissions associated with the commissioning process is provided in table 4.11.1-6.




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                                                                                                            JA335
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                                                                 TABLE 4.11.1-6


                               Estimated Combined Commissioning and Start-Up Emissions (tons) for the 6 LNG Trains

           Year       Equipment        NOx     SO2       CO     PM10   PM2.5   VOC           CO2     CH4      N2O      CO2e b/    HAP

                   Refrigeration
                   Turbines A, B, C,   2.00    0.08     13.9    1.58   1.58       0.80      7,796    0.14     0.01      7,804     0.27
                   D, E, F
                   Power Generation
                                       4.53    0.15     1.61    2.86   2.86       0.72      17,421   0.32     0.03     17,438     0.48
                   Turbine A
                   Power Generation
                                       2.26    0.07     0.81    1.43   1.43       0.36      8,710    0.16     0.02      8,719     0.24
                   Turbine B
                   Power Generation
           2025                        2.26    0.07     0.81    1.43   1.43       0.36      8,710    0.16     0.02      8,719     0.24
                   Turbine C
                   Startup Hot Oil
                                       2.59    0.02     1.56    0.14   0.14       0.71      2,572    0.05    4.7E-03    2,574     0.05
                   Heater
                   Thermal Oxidizer
                                       0.47    0.61     0.22    0.03   0.03       0.01      10,331   0.01    3.3E-03   10,332    5.6E-03
                   A
                   Wet Flare           29.4    0.44      132    3.26   3.26       259       50,402   357      0.92     59,594     1.05

                   Dry Flare           26.4    0.24      119    2.89   2.89       204       44,810   317      0.84     52,992     0.93
            2025 Commissioning Total   69.9    1.68      270    13.6   13.6       466      150,752   675      1.85     168,173    3.26
                   Refrigeration
                   Turbines A, B, C,   4.00    0.16     27.9    3.16   3.16       1.60      15,592   0.29     0.03     15,608     0.53
                   D, E, F
                   Power Generation
                                       9.05    0.29     3.23    5.71   5.71       1.44      34,842   0.64     0.06     34,877     0.96
                   Turbine A
                   Power Generation
                                       4.53    0.15     1.61    2.86   2.86       0.72      17,421   0.32     0.03     17,438     0.48
           2026    Turbine B
                   Power Generation
                                       4.53    0.15     1.61    2.86   2.86       0.72      17,421   0.32     0.03     17,438     0.48
                   Turbine C
                   Startup Hot Oil
                                       5.19    0.04     3.11    0.28   0.28       1.42      5,143    0.09    9.4E-03    5,148     0.09
                   Heater
                   Thermal Oxidizer
                                       0.94    1.21     0.44    0.06   0.06       0.03      20,662   0.02    6.6E-03   20,665     0.01
                   A




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                                                                 TABLE 4.11.1-6


                               Estimated Combined Commissioning and Start-Up Emissions (tons) for the 6 LNG Trains

                   Wet Flare           58.7    0.88      264    6.52   6.52       518     100,803   714     1.83     119,189   2.10
                   Dry Flare           52.8    0.48      238    5.78   5.78       407      89,620   634     1.69     105,983   1.86
            2026 Commissioning Total   140     3.36      540    27.2   27.2       931     301,504   1,350   3.69     336,346   6.52




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                Routine Operation

                Operation of the Project would result in long-term air emissions from the following stationary
         equipment.

                At the Terminal:

            •   six simple-cycle refrigeration gas turbines, each rated at 58 MW;
            •   three generator turbines (including one installed spare), each rated at 60 MW;
            •   one essential generator in the power generation area rated at 4,290 kW;
            •   three firewater pumphouse diesel generators each rated at 759 kW;
            •   one firewater lift pump diesel generator rated at 821 kW;
            •   hot oil start-up fired heater rated at 122 MMBtu/hr;
            •   six 50,000 m3 LNG storage tanks;
            •   two thermal oxidizers, each rated at 65.4 MMBtu/hr;
            •   condensate and refrigerant storage tanks;
            •   a liquefaction facility flare stack containing: a wet flare, rated at 2.57 million standard cubic feet
                per hour; a dry flare, rated at 3.17 million standard cubic feet per hour, and a spare flare, sized to
                control the load of the dry flare;
            •   a marine facility flare stack containing one marine flare, rated at 2.58 MMBtu/hr;
            •   gas pre-treatment unit (containing equipment for dehydration and heavy hydrocarbon removal);
                and
            •   fugitive emissions from various components.
                At the LNG carrier berth:

            •   LNG carrier loading emissions (emission units located onshore); and
            •   fugitive emissions from various onshore components.
                Emissions common to all facilities:

            •   vehicle travel emissions.
                At the Pipeline:

            •   pig launcher/receivers;
            •   meter station;
            •   block valves; and
            •   fugitive emissions from various components.
                From marine vessels:

            •   LNG carriers at berth (hoteling emissions);
            •   escort tugboats;


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              •   LNG carrier movement within state waters; and
              •   security vessels.
                 Operational emissions, including combustion and dust emissions, are presented in table 4.11.1-7.
         We received comments from the public suggesting that we should assess the potential emissions of the
         Project based on the Terminal operating at full capacity (9.5 MTPA). The modeled emissions output
         presented herein assume the Terminal would be operating at full capacity. Combustion sources primarily
         include engines, turbines, heaters/furnaces, and flares. Non-combustion sources primarily include storage
         tanks, LNG loading and transfer operations, and fugitive emissions from pipeline and equipment leaks.
         Non-combustion emissions would occur from the Terminal facilities, Pipeline, and meter stations, as well
         as from one annually scheduled pipeline pigging event. Commonwealth’s emissions calculations are based
         on the detailed Terminal design, regulatory requirements, the Best Available Control Technology (BACT)
         analysis conducted by Commonwealth for the process equipment, and supplemented by the EPA’s
         Compilation of Air Pollutant Emission Factors (AP-42).88

                  In comments on the draft EIS, EPA requested that Commonwealth identify technologies that it
         would implement to identify leaking equipment at the Terminal. Commonwealth would employ leak
         detection methods at the Terminal in accordance with 49 CFR 192.706. Common methods of leak detection
         include 24-hour per day pressure monitoring of the facilities, monthly volumetric material balances, and
         annual leakage surveys. To identify leaking equipment such as valves, flanges, and seals, Commonwealth
         would use a site-specific program using a combination of design and auditory/visual/olfactory leak
         detection methods. Auditory/visual/olfactory leak detection would involve control system monitoring and
         routine visual inspections and observations (such as fluids dripping, spraying, misting, or clouding from or
         around components), sound (such as hissing), and smell. Leaks detected in this manner would be
         immediately recorded and scheduled for repair in accordance with all applicable laws. Proper design and
         installation practices would include the following:

              •   design piping for adequate/desired pressure;
              •   install proper bracing;
              •   manually verify all joints are tight;
              •   confirm all pipes are properly assembled;
              •   ensure proper seal design/selection;
              •   ensure proper installation of valve packing or O-rings; and
              •   manually inspect the installation of the disk gaskets on pressure-relief devices.
                 Commonwealth Pipeline operations would comply with all applicable PHMSA codes and
         advisories regarding leak detection and repair and LDEQ air quality regulations. Common methods of leak
         detection along the Pipeline are consistent with those of the Terminal and also include 24-hour per day
         pressure monitoring of the Pipeline, monthly volumetric material balances, and annual leakage surveys.
         Commonwealth would determine specific leak detection methods and technologies for the Terminal and
         Pipeline during final design of the Project and provide the information to FERC staff.

                EPA also requested that Commonwealth provide the methane mitigation measures that it would
         commit to implementing at the Terminal. Commonwealth would ensure the appropriate piping design and
         components would be used and installed; equip mechanical seals or an equivalent equipment on all rotary


         88       The methods and calculations Commonwealth used for its emissions estimates are available as appendices A and C
                  under accession number 20210604-5170 on the FERC docket



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         pumps and compressors that handle VOCs with a true vapor pressure of 1.5 per square inch absolute or
         greater at handling conditions; and implement a Leak Detection and Repair program that would consist of
         quarterly monitoring of accessible compressors, pumps, and valves that contain more than 10 percent by
         weight of VOCs or methane following Method 21 of 40 CFR 60, Appendix A. Method 21 entails
         determination of VOC leaks using a portable instrument that meets the specifications and performance
         criteria defined in the code.

                  Commonwealth is continuing to assess additional measures to implement that would reduce
         fugitive emissions of methane and other VOCs. These measures would be determined during final design
         of the Terminal. Mitigation measures for fugitive emissions that Commonwealth would consider include
         maximizing the use of welded pipe connections; using advanced mechanical couplings and enhanced valve
         stem seals with minimum leakage rates; implementing compressor-seal gas recovery to capture potential
         VOC leaks; and using nitrogen to purge flare headers, as opposed to natural gas, which would reduce
         potential non-combusted methane slippage at the flare pilot from escaping to the atmosphere.
         Commonwealth would also determine during final design of the Terminal whether to participate in EPA’s
         Natural Gas STAR Program, which provides a framework for U.S. oil and gas company operations to
         implement methane reducing technologies and practices and document their voluntary emission reduction
         activities, or EPA’s Methane Challenge Program, which consists of transparently reporting systematic and
         comprehensive actions to reduce methane emissions to be publicly recognized as a leader in reducing
         methane emissions in the U.S.




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                                                         TABLE 4.11.1-7


                                              Operational Emissions (tons per year)

               Equipment              NOx        SO2      CO        PM10      PM2.5    VOC       CO2e      HAP
          Stationary Emissions Sources
         Refrigeration
                                      136.8      18.2    56.5       136.8     136.8    57.1    1,776,018    8.6
         Combustion Turbines (6)
         Generator Combustion
                                      68.4       9.1     28.3       68.4      68.4     28.6     888,009     4.3
         Turbines (3)

         Essential Generator (1)      4.00      0.003    0.57       0.03      0.03     0.15       341      0.003

         Flare Systems (wet, dry,
                                      147.8      1.7     804.6      16.2      16.2     23.1     298,318     5.2
         spare, and dock flares)
         Firewater (3) and Canal
         (1) Pump Reciprocating
                                      1.88       0.00    0.19       0.04      0.04     0.13     220.00     0.00
         Internal Combustion
         Engines
         Hot Oil Startup Fired
                                      6.04       0.05    3.63       0.33      0.33     0.24      5,289     0.17
         Heater

         Thermal Oxidizer             14.04     34.04    23.59      2.13      2.13     1.88     566,344    0.06

         LNG Tanks (6)                0.00       0.00    0.00       0.00      0.00     2.14      0.00      0.00

         Terminal Fugitive
                                      0.00       0.00    0.00       0.00      0.00    38.58     14,149     0.00
         Emissions a/
         Pipeline Fugitive
                                       0          0       0             0       0       0        18.65      0
         Emissions b/
         Stationary Emissions
                                      376         63     917        224        224     152     3,548,707   18 c/
         Subtotal
          Mobile Emissions Sources
         Worker Vehicle
                                      1.48      0.006    0.002      0.003     0.003    0.01       263      0.003
         Commutes
         Berthed Vessels d/           158        1.11     57         1.4      1.36     9.76      8,154     3.36
         Main Propulsion
         Engines of Vessels in        1.15       0.11     0.7       0.09      0.09     0.06      1,130     0.02
         Transit e/
         Auxiliary Engines of
                                      16.42      0.09    6.21       0.08      0.08     1.12       735      0.41
         Vessels in Transit f/
         Maintenance Dredging
                                      0.73      1.345    0.105      0.065     0.065   0.001       102      0.001
         g/
         Mobile Emissions
                                      178         3       64            2       2      11       10,384      4
         Subtotal
                              Total   554         66     981        226        226     163     3,559,091    22




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                                                                 TABLE 4.11.1-7


                                                 Operational Emissions (tons per year)

                Equipment                NOx          SO2         CO          PM10          PM2.5        VOC         CO2e          HAP

          a/ Sources of fugitive emissions include valves, compressor seals, pump seals, connectors, flanges, open-ended lines         and
          other components (e.g., compressors, diaphragms, drains, dump arms, hatches, instruments, meters, pressure relief valves,
          polished rods, relief valves, and vents)
          b/ Pipeline emissions are limited to fugitive GHG emissions.
          c/ Highest single HAP constituent is formaldehyde (8.01 tpy)
          d/ Berthed vessel emissions include LNG carrier and tugboat emissions operating in the moored safety zone; these emissions
          include auxiliary engine operation on the carrier for hoteling at berth; estimates based on 156 LNG carrier calls per year by
          Kawasaki Sakaide, Mitsubishi Nagasaki or equivalent (NK Class) carriers with capacities equal to or greater than 145,000 cubic
          meters (which would accommodate export of 9.5 MTPA).
          e/ Main propulsion engines emissions are based on vessel operations within the 9 nautical mile state water boundary;         based
          on 156 LNG carrier calls per year.
          f/ Auxiliary engines emissions are based on vessel operations within the 9 nautical mile state water boundary; based         on
          156 LNG carrier calls per year.
          g/ Commonwealth expects maintenance dredging to be necessary every 2 years.




         4.11.1.6 Air Quality Impacts Analyses for NAAQS and PSD Increments

                  Commonwealth conducted air dispersion modeling to assess the potential air quality impacts of the
         Project and show compliance with applicable NAAQS and Class II PSD Increments for the pollutants
         subject to PSD review. The EPA Guideline on Air Quality Models provides the basic modeling guidance
         and recommendations of specific air dispersion models for use in assessing potential air quality impacts.
         The American Meteorological Society/EPA Regulatory Model (AERMOD) is designated by the guideline
         as a preferred air quality model for assessing potential impacts at receptors within 50 km of a subject source
         and was used for the Class II air dispersion modeling analysis. We received a comment during scoping and
         the draft EIS comment period, expressing concern that Commonwealth used a source for ambient
         meteorological conditions in its AERMOD analyses that is too far from the Project site to be accurate.
         Commonwealth used the Lake Charles Regional Airport National Weather Service station 03937 based on
         guidance specified by LDEQ in its Air Quality Modeling Procedures document (LDEQ, 2006). All
         modeling methods and results are reviewed and assessed for appropriateness and accuracy by LDEQ.
         Additionally, LDEQ staff provided written confirmation to Commonwealth on June 16, 2022 that the Lake
         Charles Regional Airport National Weather Service station 03937 was the appropriate meteorological
         station for Commonwealth to use in the dispersion modeling

                  Commonwealth conducted a PSD Significance Analysis to determine if emissions from the Project
         would cause a significant impact. Generally, the PSD Significance Analysis considers emissions only
         associated with the Project and compares the modeled concentrations to corresponding significant impact
         levels (SIL) to determine if any predicted concentrations at any receptor locations would be “significant.”
         If the predicted Significance Analysis impacts for a particular pollutant are below the applicable SIL(s),
         then no further analyses are required for that pollutant. If the Significance Analysis reveals that modeled
         concentrations for a particular pollutant and averaging period are greater than the applicable SIL, a full
         impact analysis (e.g., NAAQS and PSD Increment Analysis) is performed at the significant receptors. Full
         impact analyses consider emissions from existing regional sources in addition to the Project. In cases where
         a potential NAAQS violation is identified, a source is not considered to have caused or contributed to the
         violation if its own impact from the modeling significance analysis is not significant (e.g., modeled impact
         is less than the SIL) at the violating receptor at the time of the predicted violation. If no simultaneous



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         exceedance of the SIL and the NAAQS is found in this process, the modeling analysis demonstrates that
         the proposed LNG Terminal would not cause or contribute to the potential NAAQS exceedance.

         4.11.1.7 Significance Modeling Results

                 Table 4.11.1-8 presents the initial AERMOD modeling results for the Project sources only. As
         noted in section 4.11.1.2, the Project did not require an air dispersion modeling demonstration for Pb,
         because the Project emissions would not exceed the SER thresholds for that pollutant. O3 was addressed
         using EPA-approved methodology that does not require air dispersion modeling. As required by LDEQ,
         Commonwealth used the modeled emission rates for [O3] precursors (MERPs) Tier 1 demonstration tool to
         evaluate project source impacts for PSD permitting purposes. Using the MERPs and the modeling results
         of the most representative hypothetical source, Commonwealth performed a screening analysis of the O3
         precursors. The resulting emissions were added to the O3 background concentration. The total emissions
         were compared to, and found to be below the NAAQS, thus demonstrating compliance.

                 The maximum modeled impacts from Commonwealth’s sources showed 1-hour and annual NO2,
         1-hour SO2, and 24-hour PM2.5 that exceeded the SIL, therefore, a full impact analysis was performed for
         those air pollutants and averaging periods to assess compliance with the applicable NAAQS and PSD
         increments. For all other pollutants and averaging periods presented, the maximum modeled impacts were
         below the SIL, so compliance was demonstrated with the NAAQS and PSD Increments and no further
         analyses are required for those air pollutants and averaging periods.

                  In addition to the modeling required by the LDEQ, FERC performed additional modeling to analyze
         the impact of the mobile LNG carrier and support vessel emissions in order to fully assess the impacts of
         the LNG Terminal operations. The modeling results summarized in table 4.11.1-9 below include LNG
         carriers and support vessels in addition to the LNG Terminal stationary sources. FERC maintained the
         assumptions used in Commonwealth’s original modeling with respect to background concentrations and
         NOx to NO2 conversion methodology. 90 Marine sources were assumed to have an elevation of zero meters
         based on the elevation of the adjacent building. Cumulative modeling for 1-hour NO2 used the receptor
         grid developed from 1-hour NO2 SIL modeling. Cumulative modeling was not performed for annual NO2,
         1-hour SO2, or 24-hour PM2.5 as the SIL results that included marine sources were nearly identical to the
         modeling performed by Commonwealth without mobile sources.




         90      See appendix C of Accession No. 20210604-5170.



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                                                             TABLE 4.11.1-8

                  AERMOD Significance Modeling Results for Commonwealth LNG Stationary Sources
                                                                            Maximum         Distance from
                                                                            Modeled          Terminal of            Full Impact
                                                                             Impact        Maximum Impact            Analysis
                Pollutant        Averaging Time             SIL (µg/m3)      (µg/m3)        Location (km)           Necessary
                                      1-hour a/                 7.5              37.7              1.9                  Yes
                    NO2
                                       Annual                   1.0              3.02             0.004                 Yes
                                      1-hour a/                 7.8              11.0              0.01                 Yes
                                       3-Hour                  25.0              10.4              0.01                 No
                    SO2
                                      24-Hour                   5.0              2.70              0.3                  No
                                       Annual                   1.0              0.14              0.2                  No
                                       1-Hour                 2,000              449               1.1                  No
                    CO
                                       8-Hour                  500               280              0.004                 No
                                      24-Hour                   5.0              2.76              0.3                  No
                  PM10
                                       Annual                   1.0              0.188             0.3                  No
                                    24-Hour c/                  1.2              2.61              0.4                  Yes
                PM2.5 b/
                                       Annual                   0.2              0.169             0.3                  No
         a/ Maximum daily H1H averaged over 5 years
         b/ Secondary formation impacts added
         c/ Averaged over 5 years
         NOTE: Bold Values = greater than SIL




                                                             TABLE 4.11.1-9

         AERMOD Significance Modeling Results for Commonwealth LNG Stationary and Mobile Sources
                                                                                                                  Distance from
                                                                           Maximum                                 Terminal of
                                                                           Modeled                                  Maximum
                                                                            Impact             SIL Distance          Impact
               Pollutant        Averaging Time          SIL (µg/m3)         (µg/m3)                (km)           Location (km)
                             1-hour a/                7.5                 124.53          54                      0.5
         NO2
                             Annual                   1.0                 4.44            1.4                     0.5
                             1-hour a/                7.8                 11.0            0.8                     0.5
                             3-Hour                   25.0                10.4            N/A                     0.5
         SO2
                             24-Hour                  5.0                 2.70            N/A                     0.6
                             Annual                   1.0                 0.14            N/A                     0.8
                             1-Hour                   2,000               451.5           N/A                     0.5
         CO
                             8-Hour                   500                 279.84          N/A                     0.5
                             24-Hour                  5.0                 2.76            N/A                     0.8
         PM10
                             Annual                   1.0                 0.21            N/A                     0.8
         PM2.5 b/            24-Hour c/               1.2                 2.47            2.9                     0.9
                             Annual                   0.2                 0.18            N/A                     0.8
         a/ Maximum daily H1H averaged over 5 years                       Note: Bold Values = greater than SIL
         b/ Secondary formation impacts added
         c/ Averaged over 5 years




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                  Table 4.11.1-9 indicates that concentrations of 1-hr and annual NO2, 1-hr SO2, and 24-hr PM2.5 due
         to stationary and mobile sources at the LNG Terminal would exceed the respective SIL. With the exception
         of 1-hr NO2, all remaining pollutants with maximum modeled concentrations that exceeded the SIL resulted
         in concentrations nearly equivalent to those in the stationary source-only modeling required by the state.
         Therefore, additional modeling was not completed for those pollutants as the results are expected to be
         similar to the NAAQS modeling results reviewed below. Additional modeling was performed for 1-hr NO2
         impacts due to LNG Terminal stationary and mobile sources and is reviewed further below.



                 NAAQS Analysis Results

                  Commonwealth performed a modeling analysis for each Project pollutant that exceeded the SIL in
         table 4.11.1-8. Commonwealth’s pollutant sources were modeled along with additional (background)
         sources from off-site inventory (obtained from LDEQ’s Emissions and Inventory Reporting Center) within
         the pollutant-specific area of impact and averaged over five years to determine source contribution in
         comparison with the NAAQS. The area of impact was established as the distance from the Project to the
         farthest receptor that showed a modeled impact greater than the SIL in the significance modeling analysis.
         The background sources inventory included all sources within the area of impact plus 15 km and all major
         sources, including the Venture Global Calcasieu Pass LNG project, within the area of impact plus 20 km
         (in either case the area of impact would not extend beyond a 50 km by 50 km grid from the LNG Terminal
         due to the accuracy constraints of dispersion models).91 Table 4.11.1-10 provides the Project sources
         maximum modeled design concentration, plus background values, in comparison to the NAAQS values for
         the respective Project pollutant and averaging period.




         91      Note that due to the 50 by 50 km square receptor grid, some receptors near the corners may be more than 50 km from
                 the LNG Terminal



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                                                                                        TABLE 4.11.1-10


                                 Summary of National Ambient Air Quality Standards Analysis for LNG Terminal Stationary Sources

                            Area of                                                     Project
                            Impact             Modeled              Project          Contribution         Non-Project
                            (major            Maximum            Contribution        to Maximum           Contribution                                       Distance
                          background         Impact Plus         to Maximum             Impact            to Maximum                                         from the
                           sources)          Background             Impact          Concentration            Impact          Background                       Project          NAAQS
          Pollutant /      Distance            Sources          Concentration        (percentage)        Concentration      Concentration        NAAQS       Location       Exceedance?
           Period            (km)             (ug/m3) a/            (ug/m3)                                (ug/m3) b/         (ug/m3) c/         (ug/m3)       (km)           (Yes/No)
            NO2 1-
                               50.0                229              0.00043              0.0002                182                 46.7            188          13.2             Yes
             Hour
             NO2
                               20.3                11                 3.01                27.4                1.35                 6.6             100           0.3              No
            Annual
            SO2 1-
                               20.8                65                 6.69                10.3                1.44                 57.1            196           0.5              No
             Hour
          PM2.5 24-
                               23.0                22                 1.99                 9.0                0.04                 19.8             35           0.6              No
           Hour
          a/ Modeled maximum impact of the 8th highest high
          b/ Non-Project Contributors are non-Commonwealth point-source facilities that emit air pollutants; an inventory of these pollutant sources is included in the LDEQ Emission
          Inventory Survey (LDEQ, 2006).
          c/ Background concentrations are the ambient atmospheric values of pollutants (adjusted to account for the presence of surrounding industry, as applicable); background pollutant
          concentrations are recorded by LDEQ at ambient monitoring sites throughout Louisiana; ambient monitoring data are also available from the EPA (LDEQ, 2006).




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                                                                                        TABLE 4.11.1-11


                               Summary of National Ambient Air Quality Standards Analysis for LNG Stationary and Mobile Sources

                                               Modeled              Project             Project          Non-Project
                            Area of           Maximum            Contribution        Contribution        Contribution                                        Distance
                         Impact (major       Impact Plus         to Maximum          to Maximum          to Maximum                                          from the
                          background         Background             Impact              Impact              Impact           Background                       Project          NAAQS
          Pollutant        sources)            Sources          Concentration       Concentration       Concentration       Concentration        NAAQS       Location       Exceedance?
          / Period       Distance (km)        (ug/m3) a/            (ug/m3)          (percentage)         (ug/m3) b/          (ug/m3) c/         (ug/m3)       (km)           (Yes/No)
            NO2 1-
                               50.0                307              0.0055               0.0018              260.97               46.7             188           3.1             Yes
             Hour
          a/ Modeled maximum impact of the 8th highest high
          b/ Non-Project Contributors are non-Commonwealth point-source facilities that emit air pollutants; an inventory of these pollutant sources is included in the LDEQ Emission
          Inventory Survey (LDEQ, 2006).
          c/ Background concentrations are the ambient atmospheric values of pollutants (adjusted to account for the presence of surrounding industry, as applicable); background pollutant
          concentrations are recorded by LDEQ at ambient monitoring sites throughout Louisiana; ambient monitoring data are also available from the EPA (LDEQ, 2006).




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                  As indicated in table 4.11.1-10, the results of the modeled maximum impact plus background
         stationary sources for 1-hour NO2 (229 micrograms per meter cubed [µg/m3]) also exceeded the NAAQS
         of 188 µg/m3. None of the other three pollutants exceeded the respective NAAQS concentration. In
         addition, FERC conducted an additional analysis inclusive of the LNG carriers and tugs, as summarized in
         table 4.11.1-11.

                  Commonwealth conducted a source contribution analysis to determine whether the Project would
         contribute significantly to the modeled NAAQS exceedance. Appendix H provides predicted modeled
         maximum impact (for stationary sources only and stationary sources plus LNG carriers and tugs) plus
         background sources concentrations for all locations within 50 km of the Project site that exceeded the
         NAAQS for 1-hour NO2. Appendix I includes maps of the Project vicinity and the locations where the
         NAAQS would be exceeded. The proportions of the exceedance concentrations attributable to the project
         are very small. In the instance of the highest overall modeled maximum impact for stationary sources plus
         background sources concentration (229 µg/m3), the Project-only concentration contribution (0.0004 µg/m3)
         is well below the SIL concentration for 1-hour NO2 (7.5 µg/m3). Similarly, in the instance of the highest
         overall modeled maximum impact for LNG stationary sources and LNG carriers and tugs, plus background
         sources concentration (308 µg/m3), the Project-only (inclusive of LNG carriers and tugs) concentration
         contribution (0.005 µg/m3) is well below the SIL concentration for 1-hour NO2 (7.5 µg/m3). The Project-
         only (LNG stationary sources) and Project-only plus LNG carriers and tugs concentration contributions at
         the NAAQS-exceedance locations in which the Project’s contribution is the highest of the total modeled
         maximum impact plus background sources concentration (0.43 µg/m3 and 2.8 µg/m3, respectively) are both
         well below the SIL concentration for 1-hour NO2. In fact, the exceedances would still be predicted in the
         absence of the Project (i.e., the existing background emissions sources from LDEQ’s Emissions and
         Inventory Reporting Center are driving the NAAQS exceedances). This modeling analysis demonstrates
         that the proposed Project would have a minor contribution to the modeled maximum impact. Based on this
         small level of impact that does not exceed the SIL, we do not believe the Project would cause or contribute
         to the potential NAAQS exceedance.

                 PSD Increment Modeling

                  PSD increment is the amount pollution in an area is allowed to increase. PSD increments prevent
         the air quality in clean areas from deteriorating to the level set by the NAAQS. PSD Class II increment
         standards apply to the Project. PSD increments for four pollutants have been established for the Class II
         standards: annual NO2; annual, 24-hour, and 3-hour SO2; annual and 24-hour PM10; and annual and 24-
         hour PM2.5. Commonwealth conducted modeling analyses to assess whether the Project could demonstrate
         compliance with the PSD Increments for the corresponding Project pollutants that exceeded the SIL: annual
         NO2 and 24-hour PM2.5. Commonwealth used the same background sources inventory for the PSD
         incremental modeling as was used for the NAAQS analysis. As shown in table 4.11.1-12, the maximum
         modeled increment concentrations for both pollutants were well below the established PSD increment.




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                                                            TABLE 4.11.1-12


                                  PSD Increment Modeling Results for Commonwealth LNG

                                                        PSD Increment            Maximum Modeled Increment Concentration
              Pollutant       Averaging Time         Concentration (µg/m3)        of the Commonwealth LNG Project (µg/m3)
                NO2                Annual                       25                                       4.4
               PM2.5              24-Hour                        9                                       3.4




         4.11.1.8 Air Quality Conclusions

                  The dispersion modeling analyses, and additional impact analyses performed demonstrated
         compliance with all ambient air quality standards applicable to Commonwealth LNG. The analyses showed
         that operation of the facility would not cause or make a significant contribution to any violation of either
         the NAAQS or the existing PSD increments. Although Project operation would be in compliance with the
         NAAQS and the NAAQS are designated to protect sensitive populations, we acknowledge that NAAQS
         attainment alone may not assure there is no localized harm to such populations due to project emissions of
         VOCs, HAPs, or issues such as the presence of non-Project related pollution sources, local health risk
         factors, disease prevalence, and access (or lack thereof) to adequate care. Project dispersion modeling
         analysis, summarized above, conclude operational emissions from the Project are not significant.

                  We received comments during the public comment period for the draft EIS stating FERC had not
         taken a hard look at the local air quality impacts of the Project. However, the dispersion modeling analysis
         conducted as part of the Project, coupled with source culpability analyses, constitutes an in-depth review
         of local air quality impacts. While modeling predicts potential exceedances of the NAAQS, the project
         contributions to the potential exceedances are negligible. The EPA, in conjunction with LDEQ, works to
         identify and remedy ambient air quality concerns through State Implementation Plans. The output of the
         dispersion modeling analysis and the LDEQ’s permitting of emissions for the Project conclude operational
         emissions from the Project are not significant. We concur. The detailed analyses and results reflected in
         the information provided in this section are contained in Commonwealth’s Class II Modeling Report in
         Support of Part 70 (Title V) Operating Permit and Prevention of Significant Deterioration Permit.93

                  In addition to assessing whether the Project would demonstrate compliance with air quality
         standards, we also assessed the potential effects the Project could have on environmental justice
         communities. Appendix I provides figures from Commonwealth’s modeling illustrating the concentration
         plumes, showing the full range of concentrations for all criteria pollutants that have maximum modeled
         concentrations that exceeded the SIL and NAAQS, in relation to environmental justice populations by block
         group. The potential impacts of Project air emissions on environmental justice communities are discussed
         in section 4.9.12.

         4.11.2 Noise

                   Noise would affect the local environment during both construction and operation of the Project
         facilities. At any location, both the magnitude and frequency of environmental noise may vary considerably
         over the course of the day and throughout the week. This variation is caused in part by changing weather

         93       Commonwealth’s Class II Modeling Report in Support of Part 70 (Title V) Operating Permit and Prevention of
                  Significant Deterioration Permit can be viewed on eLibrary under Accession Number 20210817-5051.



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             •   control systems, including monitoring systems and process alarms, remotely operated control and
                 isolation valves, and operating procedures to ensure that the facility stays within the established
                 operating and design limits;
             •   safety instrumented prevention systems, such as safety control valves and emergency shutdown
                 systems, to prevent a release if operating and design limits are exceeded;
             •   physical protection systems, such as appropriate electrical area classification, proper equipment
                 and building spacing, pressure relief valves, spill containment, and cryogenic, overpressure, and
                 fire structural protection, to prevent escalation to a more severe event;
             •   site security measures for controlling access to the plant, including security inspections and patrols,
                 response procedures to any breach of security, and liaison with local law enforcement officials; and
             •   onsite and offsite emergency response, including hazard detection and control equipment, firewater
                 systems, and coordination with local, state, and federal emergency management officials and first
                 responders, to mitigate the consequences of a release and prevent it from escalating to an event that
                 could impact the public.
                  The inclusion of such protection systems or safeguards in a plant design can minimize the potential
         for an initiating event to develop into an incident that could impact the safety of the offsite public. The
         review of the engineering design for these layers of protection are initiated in the application process and
         carried through to the next phase of the proposed project in final design if authorization is granted by the
         Commission.

                  The reliability of these layers of protection is informed by occurrence and likelihood of root causes
         and the potential severity of consequences based on past incidents and validated hazard modeling. As a
         result of the continuous engineering review, we recommend mitigation measures and continuous oversight
         to the Commission for consideration to include as conditions in the order. If a facility is authorized and
         recommendations are adopted as conditions to the order, FERC staff would continue its engineering review
         through final design, construction, commissioning, and operation.

                 Process Design

                  Commonwealth provided a narrative description and engineering information on the process design
         as part of its application consistent with FERC, Guidance Manual for Environmental Report Preparation
         for Applications filed under the Natural Gas Act, Volume II, Liquefied Natural Gas Project Resource
         Reports 11 & 13 Supplemental Guidance, 2017. The process engineering information includes narrative
         descriptions of each major system of the LNG facilities and process design information, including, but not
         limited to: basis of design and design philosophies, process flow diagrams (PFDs), Heat and Material
         Balances (HMBs), piping and instrumentation drawings (P&IDs), and equipment lists and datasheets. This
         engineering design information in the 2017 Guidance Manual and application are consistent with the
         engineering design defined in NFPA 59A (2019) 3.3.9 and examples of such listed in NFPA 59A (2019)
         Annex A.3.3.9.

                 Title 49 CFR 193 and 33 CFR 127 have relatively minimal to no requirements on the process
         design. Title 49 CFR §193.2703, under Subpart H, does require that persons used for the design have
         demonstrated competence by training or experience in the design of comparable components and similar
         designer competence requirements in NFPA 59A (2001 and thereafter) and there are some other general
         requirements for material compatibility, isolation valves, shutdown valves, emergency shutdown, and
         pressure relief valves, which we will describe in applicable descriptions of each major process system;
         however, there is minimal to no specific requirements on the process design necessary to reliably and safely
         operate the LNG facilities. For example, in order to liquefy natural gas, most liquefaction technologies
         require that the feed gas stream be pre-treated to remove components that could freeze out and clog the


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         liquefaction equipment or would otherwise be incompatible with the liquefaction process or equipment,
         including mercury, H2S, CO2, water, and heavy hydrocarbons. If water and carbon dioxide are not removed
         to certain concentrations the downstream plate heat exchangers could clog and over-pressurize leading to a
         catastrophic failure of equipment or if mercury is not limited to certain concentrations it can induce
         embrittlement and corrosion of downstream brazed aluminum heat exchangers resulting in a catastrophic
         failure of equipment. However, there are no requirements that water, carbon dioxide, or mercury be
         removed and applications have not always included these features. Therefore, FERC engineering staff
         evaluated the FEED process design information to better ensure that the LNG facilities would reliably and
         safely operate. As part of the process design review, FERC staff also evaluated the piping and
         instrumentation (P&ID) drawings to verify equipment operating and design conditions consistent with the
         PFDs and HMBs and that adequate process monitoring, controls, and shutdowns are in place consistent
         with the operating and design conditions and that their reliability or redundancy is commensurate with
         potential consequences of failure. However, the FEED P&IDs are subject to have changes in final design
         after additional details and engineering is conducted. Therefore, we recommend in section 4.12.1.6 that
         Commonwealth provide updated P&IDs reflective of the final design. In addition, the margins between
         operating and design conditions would not be finalized until final design and many of the instrumentation
         and control set points would not be determined until final design. Therefore, we recommend in section
         4.12.1.6 that Commonwealth file the safe operating limits (upper and lower), alarm and shutdown set points
         for all instrumentation (e.g., temperature, pressures, flows, and compositions). Below we discuss each
         major system in the proposed LNG export terminal and specific requirements and recommendations
         applicable to those major systems based upon our process design review. DOT PHMSA and USCG would
         be responsible for enforcing any of the applicable minimum federal requirements in their respective
         regulations that would be applicable.

                 The inlet feed gas would first pass through an insulating kit, followed by a high integrity pressure
         protection system (HIPPS). A HIPPS often is specified downstream of the feed gas pressure control and
         consists of three or more pressure monitors and indicators that commonly would automatically shutdown
         the feed gas flow in the event two or more pressure monitors exceed the design pressure of downstream
         equipment. HIPPS (or other systems) are specified to prevent over-pressurization of downstream
         equipment. FERC staff noted the feed gas coalescer design pressure and associated PSV set pressures
         would match the HIPPS specified pressure. However, the equipment downstream of the HIPPS and Feed
         Gas Coalescer would have a lower design pressure than the HIPPS set point. As a result, the HIPPS would
         not protect downstream equipment from upsets in the pipeline which result in pressures to the process
         higher than the design pressures but lower than the HIPPS set pressure. Therefore, we recommend in
         section 4.12.1.6 that Commonwealth ensure that all piping, equipment, and PSVs between the HIPPS and
         the downstream pressure regulators have designs and set pressures that are equal to the HIPPS specified
         pressure, or that Commonwealth provide justification for why these designs and set pressures are different
         from the HIPPS specified pressure.

                  The inlet feed gas would be conditioned to remove solids and water droplets in a coalescer prior to
         entering feed gas pretreatment processes. Some inlet gas would be taken off as supplemental fuel gas for
         use in start-up operations, fuel gas, and gas turbines. Once the inlet gas is conditioned, the feed gas would
         enter the mercury removal system to reduce the mercury concentration in the feed gas. As aforementioned,
         mercury removal is often specified to prevent mercury embrittlement and corrosion of downstream brazed
         aluminum heat exchangers.

                  After mercury removal, the feed gas would contact an amine-based solvent solution in the acid gas
         absorber column to remove the H2S and CO2 (i.e., acid gas) present in the feed gas, which, as mentioned,
         is designed to prevent freezing in the liquefaction process that can lead to lesser performance, more frequent
         deriming (thawing and disposal of frozen components of the feed gas), or clogging of the downstream heat
         exchangers that if not derimed can lead to failure from over-pressurization. Acid gas can also increase



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         corrosion rates in certain common materials of construction, depending on pressure and concentration, such
         as carbon steel, used to handle the relatively warmer natural gas prior to the refrigeration and liquefaction
         of the natural gas. Once the acid gas components accumulate in the amine solution, the acid gas rich amine
         solution would be routed to an amine regenerator column that utilizes a reboiler. Contact with the reboiler
         discharge would regenerate the acid gas rich amine solution back to an acid gas lean amine solution by
         using heat to release the acid gas. The regenerated amine solution would be recycled back to the acid gas
         absorber column and the removed acid gas would be sent through a sulfur removal unit to remove H2S.
         FERC staff noted that the design includes a swan neck upstream of the acid gas removal column to prevent
         backflow. Commonwealth indicated that the swan neck was intended to prevent liquid backflow, and that
         the calculated liquid inventory determined the height of the swan neck. However, Commonwealth did not
         provide documentation supporting the design basis of the swan neck. Therefore, we recommend in section
         4.12.1.6 that Commonwealth provide a check valve upstream of the acid gas removal column or provide a
         dynamic simulation that demonstrates that the swan neck would be sufficient for preventing backflow.

                 The acid gas stream would then be routed to thermal oxidizers, where CO2, trace amounts of H2S
         not removed in the sulfur removal unit, and trace amounts of hydrocarbons would be incinerated. A thermal
         oxidizer is commonly specified downstream of a sulfur removal unit to further reduce emissions and
         decrease hazard footprints over just venting the acid gas stream. In the event the thermal oxidizers are not
         available, the acid gas would be disposed of through the wet flare. The feed gas exiting the acid gas absorber
         column would be cooled, and then sent to a separator where bulk water would be recovered and recycled
         back to the acid gas absorber column. After the separator, any remaining water in the feed gas would be
         removed using regenerative molecular sieve beds. During the molecular sieve bed regeneration process,
         heated regeneration gas would release water from the molecular sieve beds. The three molecular sieve beds
         would operate in staggered adsorption and regeneration, such that the overall process would be continuous.
         Water collected during the molecular sieve regeneration process would be routed back to the acid gas
         absorber column.

                  After water removal, the treated gas would flow to the natural gas liquids (NGL) extraction unit.
         Heavier hydrocarbons are removed to prevent freezing of the heavier hydrocarbons in the liquefaction
         process that can lead to lesser performance, more frequent deriming, or clogging of the downstream heat
         exchangers that if not derimed can lead to failure from over-pressurization. The NGL extraction unit would
         consist of a main cold box, a low temperature separator, and a demethanizer column with an overhead heat
         exchanger and a reboiler. First, the dry feed gas stream would be cooled in the main cold box, then sent to
         a low temperature separator where the feed gas would be separated from NGLs. The NGL stream exiting
         the low temperature separator would enter the demethanizer column near the middle. The demethanizer
         liquid bottoms would be sent to the debutanizer column. The debutanizer column and reflux accumulator
         vessel would separate the entering liquid stream into three streams: propane-rich fuel gas, which would be
         sent to a fuel gas scrubber; NGLs, which would be recycled to the main cold box; and hydrocarbon
         condensate, which would be sent to a storage tank for truck loading. The flashed feed gas stream exiting
         the low temperature separator would enter the demethanizer column near the top. The purified gas would
         exit the top of the demethanizer column, where it would be used to cool upstream feed gas and would then
         be sent to the liquefaction unit.

                  The liquefaction unit would consist of three heat exchanger bundles: warm, middle, and cold. The
         gas from the demethanizer column would enter the warm bundle first and would be progressively cooled
         and liquefied as it passed to the middle and the cold bundles. The LNG exiting the cold bundle would be
         sent to six full containment LNG storage tanks.

                 In order to achieve the cryogenic temperatures needed to liquefy the natural gas stream in the above
         process, the gas would be cooled by a thermal exchange process driven by a closed loop refrigeration system
         using a single mixed refrigerant (MR). The single mixed refrigerant would be comprised of a mixture of
         nitrogen, methane, ethylene, propane, and isopentane. Methane would be provided from the treated dry


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                                                                                                             JA352
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         lines indicates the risk is low for an incident at any given location. The operation of the Pipeline would
         represent a slight increase in risk to the nearby public.

                  Commonwealth has identified it would use a limited 3.5-foot-wide permanent right-of-way for
         operation of the pipeline, which would accommodate little more than the width of the pipeline (i.e., the
         diameter of a 42-inch pipeline). However, this width would not appear to allow sufficient space for the full
         outer diameter of the pipeline, including the concrete coating, or for maintenance, or repairs of the pipeline.
         In the draft EIS we recommended that Commonwealth file a plan clarifying how it would adequately
         protect, inspect, maintain, operate, and repair the pipeline in accordance with PHMSA’s requirements in
         49 CFR 192 using the proposed 3.5-foot-wide right-of-way, or provide an alternate permanent pipeline
         right-of-way width to accommodate the operational needs of the pipeline.

                  Commonwealth filed a response stating it would develop and implement a Pipeline Operations and
         Maintenance program in accordance with 49 CFR 192 requirements that would serve as the basis for safe
         operation of the Pipeline, and Commonwealth would monitor and operate the Pipeline using a 24 hour per
         day pipeline controller position in accordance with 49 CFR 192 requirements. Commonwealth would
         execute a permanent right-of-way easement with all landowners of parcels that would be traversed by the
         Pipeline for the 3.5-foot-wide right-of-way. This permanent easement would include the right to access the
         right-of-way for activities necessary to protect, inspect, maintain, operate, and repair the Pipeline in
         accordance with 49 CFR 192 for the duration of Pipeline operation. The easement would further allow
         Commonwealth to use airboats, low-ground-pressure vehicles, or timber equipment mats, as needed. If
         additional workspace or access were to be required for an activity, Commonwealth would have the right to
         negotiate appropriate compensation to the landowners to secure the necessary additional workspace or
         access for the duration of the activity and to subsequently monitor the workspace to ensure successful
         restoration and revegetation. We conclude this approach would allow Commonwealth to safely operate
         and maintain the Pipeline.

         4.13    CUMULATIVE IMPACTS

                  In accordance with NEPA, we considered the cumulative impacts of the Project with other projects
         or actions within the geographic and temporal scope of the Project. As defined by CEQ, a cumulative effect
         is the impact on the environment that results from the incremental effects of the proposed action when
         added to other past, present, and reasonably foreseeable actions, regardless of what agency or person
         undertakes such actions.

                 This cumulative impacts analysis uses an approach consistent with the methodology set forth in
         relevant guidance (CEQ, 1997, 2005; EPA, 1999). Under these guidelines, inclusion of actions within the
         analysis is based on identifying commonalities between the impacts that would result from the Project and
         the impacts likely to be associated with other potential projects.

                  The purpose of this analysis is to identify and describe cumulative impacts that would potentially
         result from construction and operation of the Project. To avoid unnecessary discussions of insignificant
         impacts and projects and to adequately address and accomplish the purposes of this analysis, an action must
         first meet the following three criteria to be included in the cumulative analysis:

             •   impact a resource potentially affected by the proposed Project;
             •   impact that resource within all, or part of, the geographic scope of the Project. The geographical
                 area considered varies depending on the resource being discussed, which is the general area in
                 which the Project could contribute to cumulative impacts on that particular resource; and
             •   impact that resource within all, or part of, the time span for the potential impact from the proposed
                 Project.


                                                             4-342                          Environmental Analysis
                                                                                                              JA353
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                 The regional landscape in the Project area has been significantly altered since the latter part of the
         nineteenth century, initially by agriculture and later by the development of industrial complexes, oil and
         gas support facilities, port facilities, residential and commercial centers, and attendant public infrastructure
         (schools, hospitals, roads, etc.). These developments, along with associated upgrades to flood protection
         and drainage systems (levees, ditches, pumping stations, etc.), have had a permanent impact on the regional
         landscape. Consistent with CEQ guidelines (2005), we have aggregated past actions that helped shape the
         current environment into our discussion of the affected environment in section 4.0. Thus, we discuss
         present and reasonably foreseeable actions in this section.

                  To understand the contribution of past actions to the cumulative effects of the proposed action, this
         analysis relies on current environmental conditions as a proxy for the effects of past actions. Existing
         conditions reflect the aggregate effects of all prior human actions and natural events that have affected the
         environment and might contribute to cumulative effects. In this analysis, we generally consider the effects
         of past projects within the resource-specific geographic scopes as part of the affected environment
         (environmental baseline), which was described previously. However, this analysis does consider, as
         applicable, the present effects of past actions. In accordance with the CEQ regulations and guidance160, we
         identified actions near Commonwealth and evaluated the potential for a cumulative impact on the
         environment. This analysis evaluates other actions that affect resources also affected by the Project, within
         the resource-specific geographic scopes described below. Actions outside the geographic scopes are
         generally not evaluated because their potential to contribute to a cumulative impact diminishes with
         increasing distance from the projects.

                  Several present and reasonably foreseeable actions with impacts during the Project’s temporal
         extent would commence construction or operation during the Project’s three-year construction period.
         Commonwealth anticipates beginning construction in the second quarter of 2023 and initiating commercial
         operation by the second quarter of 2026 (assuming receipt of all required certifications, authorizations, and
         permits). Commonwealth anticipates construction and commissioning of the Terminal to be completed in
         approximately 36 to 38 months. Commonwealth proposes a 12-month construction schedule for the
         Pipeline, which would occur concurrent with construction of the Terminal. Commonwealth would initiate
         construction of the Pipeline in the first quarter of 2024 and expect to complete it during the first quarter of
         2025. We received comments stating that given the length of long-term leases, the operational life of the
         Project would be 50 years. However, Commonwealth proposes that the Project would have an operational
         life of 30 years. Although Commonwealth holds lease options for a total of 50 years, Commonwealth has
         not entered into any agreements for service for a period of time longer than 30 years. Commonwealth has
         not identified any plans for future expansion or abandonment. Any plans for expansion or abandonment
         would require the appropriate authorization from the FERC (e.g., environmental analyses, abandonment
         regulations) and other federal, state, and local agencies at that time. A facility lifespan beyond 30 years is
         not reasonably foreseeable. Additionally, as noted in the introductory text of section 4.0, this EIS assesses
         impacts in the context of temporary, short-term, long-term, and permanent impacts. Temporary impacts
         are those that generally would not last beyond the duration of construction; short-term impacts are those
         are likely to continue for up to 3 years following construction; long-term impacts are those that would
         continue for longer than three years but would return to pre-existing conditions within the life of the Project;
         and permanent impacts are those that would not return to pre-existing conditions within the life of the
         Project. The assessments of these impacts would not change with a longer project lifespan. In fact, the
         assessments of long-term and permanent impacts could be considered conservative if the Project lifespan
         was to extend beyond 30 years.


         160     On July 16, 2020, CEQ issued a final rule, Update to the Regulations Implementing the Procedural Provisions of the
                 National Environmental Policy Act (Final Rule, 85 Fed. Reg. 43,304), which was effective as of September 14, 2020;
                 however, the NEPA review of this project was in process at that time and was prepared pursuant to the 1978
                 regulations.



                                                                  4-343                              Environmental Analysis
                                                                                                                          JA354
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                 Actions with resource impacts within the same geographic scope as the Project would occur within
         a prescribed distance from the Project, uniquely defined based on the characteristics of the resource and
         how far the Project’s effects might extend. Geographic scope defines how far out from the Project a
         cumulative impact could occur. Table 4.13-1 provides the geographic scope for each resource and the
         reasoning behind its establishment.

                                                        TABLE 4.13-1


                                    Geographic Scope for Cumulative Impact Analysis

           Resources and Affected
                                         Geographic Scope                 Justification for Geographic Scope
               Communities
          Geologic Resources and      Construction workspaces    Impacts on soils and surficial geology would be highly
          Soils                       and the Calcasieu Ship     localized and not expected to extend beyond the area of
                                      Channel from the Gulf to   direct disturbance associated with the Project.
                                      Commonwealth               Cumulative impacts to riverbanks/shorelines would only
                                                                 occur in areas where Commonwealth LNG carriers
                                                                 operate.
          Water Resources             Hydrological unit code     Impacts on groundwater and surface water resources
          (Groundwater, Surface       “HUC”-12 sub-watersheds    could reasonably extend throughout a HUC-12 sub-
          Water, and Wetlands)                                   watersheds (i.e., a detailed hydrologic unit that can
                                                                 accept surface water directly from upstream drainage
                                                                 areas, and indirectly from associated surface areas
                                                                 such as remnant, noncontributing, and diversions to
                                                                 form a drainage area with single or multiple outlet points
                                                                 [NRCS, 2007]), as could the related impacts on aquatic
                                                                 resources and fisheries.
          Vegetation and Wildlife     HUC-12 sub-watersheds      Consideration of impacts within a HUC-12 sub-
                                                                 watershed sufficiently accounts for impacts on
                                                                 vegetation and wildlife that would be directly affected by
                                                                 construction activities and for indirect impacts such as
                                                                 changes in habitat availability and displacement of
                                                                 transient species.
          Aquatic Resources           HUC-12 sub-watersheds      Consideration of impacts within a HUC-12 sub-
                                                                 watershed sufficiently accounts for impacts on aquatic
                                                                 resources within waterbodies that would be directly
                                                                 affected by construction activities and for indirect
                                                                 impacts such as changes in habitat availability and
                                                                 displacement of transient species.
          Threatened and Endangered HUC-12 sub-watersheds        HUC-12 subwatershed – impacts within the HUC-12
          Species                                                subwatershed could contribute to impacts on vegetation
                                                                 communities and threatened and endangered species
                                                                 habitat within the watershed. For marine species,
                                                                 impacts on marine/estuarine waterbodies in the HUC-12
                                                                 sub-watersheds and established shipping channels
                                                                 used by LNG carriers are also within the geographic
                                                                 scope.
          Land Use and Recreation     1 mile radius              Impacts on general land uses would be restricted to the
                                                                 construction workspaces and the immediate
                                                                 surrounding vicinity; therefore, the geographic scope for
                                                                 land use and recreation is 1.0 mile from the Terminal
                                                                 and Pipeline.




                                                            4-344                            Environmental Analysis
                                                                                                                 JA355
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                                                            TABLE 4.13-1


                                      Geographic Scope for Cumulative Impact Analysis

           Resources and Affected
                                            Geographic Scope                    Justification for Geographic Scope
               Communities
         Visual Resources               For aboveground facilities, Assessing the impact based on the viewshed allows for
                                        distance that the tallest      the impact to be considered with any other feature that
                                        feature at the planned         could have an effect on visual resources.
                                        facility would be visible from
                                        neighboring communities.
                                        For the Pipeline System, a
                                        0.25-mile buffer and existing
                                        visual access points (e.g.,
                                        road crossings).
         Socioeconomics                  Parishes where project        The geographic scope of potential impact for
                                        activities are proposed.       socioeconomics was considered to include Cameron
                                                                       Parish and Calcasieu Parish where Commonwealth
                                                                       would construct the Project.
         Environmental Justice          Affected environmental         The geographic scope of potential impacts for
                                        justice block groups.          environmental justice includes all environmental justice
                                                                       block groups affected by the Project.
         Cultural Resources             Area of Potential Effect of    Overlapping effects within the Area of Potential Effect
                                        the proposed Project           could contribute to cumulative impacts.
         Air Quality – Construction     Within 0.25 mile of the        Air emissions during construction would be limited to
                                        proposed pipeline facilities   vehicle and construction equipment emissions and dust
                                        and within 1.0 mile of the     and would be localized to the project construction sites.
                                        Terminal
         Air Quality – Operations       Within 50 kilometers (31.1     The distance used by the EPA for cumulative modeling
                                        miles) of the proposed         of large PSD sources during permitting (40 CFR 51,
                                        Terminal                       appendix W) which is a 50-kilometer (31.1 mile) radius.
                                                                       Impacts on air quality beyond this would be de minimis.
         Noise - Construction           General construction          Areas in the immediate proximity of pipeline or
                                        activities: within 0.25 mile  aboveground facility construction activities (within 0.25
                                        from pipeline or              mile) would have the potential to be affected by
                                        aboveground facilities, 0.5 construction noise. NSAs within 0.5 mile of an HDD,
                                        mile from HDD entry and       direct pipe installation, or pile driving could be
                                        exit locations; underwater    cumulatively affected if other projects had a concurrent
                                        noise due to pile driving: up impact on the NSA. Aquatic life could be cumulatively
                                        to 3 miles, as determined by affected if other projects conduct pile driving within 3
                                        NMFS (2021)                   miles of the Project
         Noise - Operations             NSAs within 1 mile of a        Noise from the Project’s permanent facilities could result
                                        noise-emitting permanent       in cumulative noise impacts on NSAs within 1 mile.
                                        aboveground facility




                 As in sections 4.1 through 4.12, we use specific terms to describe the intensity and duration of
         cumulative impacts. The intensity of a cumulative impact could be temporary, short-term, long-term, and
         permanent. Temporary cumulative impacts generally occur during construction with the resource returning
         to preconstruction condition almost immediately afterward. Short-term cumulative impacts could continue
         for up to 3 years following construction. Cumulative impacts were considered long-term if the resource
         would require more than 3 years to recover. A permanent cumulative impact could occur as a result of any




                                                                   4-345                           Environmental Analysis
                                                                                                                       JA356
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         activity that modifies a resource to the extent that it would not return to preconstruction conditions during
         the life of the Project.

         4.13.1 Projects and Activities Considered

                 This analysis identified several different types of present, proposed, and permitted actions that
         could cause a cumulative impact when considered along with the Project. The actions were provided by
         Commonwealth and by a general literature review of publicly available sources including, but not limited
         to:

              •   FERC eLibrary;
              •   LDEQ;
              •   Louisiana Economic Development;
              •   COE Regulatory Public Notices;
              •   Southwest Louisiana Economic Development Alliance; and
              •   the Permitting Dashboard for Federal Infrastructure Projects.
                  Table 4.13-2 summarizes the actions that have the potential for cumulative impacts because of their
         location and timing. The actions are mapped on figure 4.13-1. Of the 44 total actions, not including the
         Project, there are:

              •   11 FERC-jurisdictional LNG and pipeline projects;
              •   4 energy projects;
              •   8 industrial projects;
              •   9 transportation, port, and road improvement projects
              •   3 municipal, medical, and educational projects; and
              •   18 commercial and residential projects.




                                                            4-346                         Environmental Analysis
                                                                                                            JA357
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      Figure 4.13-1   Past, Present and Future Activities Considered in the Cumulative Impact Analysis




                                                                              4-347                          Environmental Analysis
                                                                                                                           JA358
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                                                                                 TABLE 4.13-2


                             Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                               Anticipated
                                                                                                              Approximate Impacts
                                       Parish, Distance       Construction                                                         Impacts on           Resources
                                                                                                                Size of      on
                                       from Facility (F)         (C) and       Project Type a/      Workforce                      Waterbodies          Potentially
                                                                                                                Project   Wetlands
                                      and/or Pipeline (P)     Operation (O)                                                        (# crossed)          Affected b/
                                                                                                               (acres) a/  (acres)
             Action (Proponent)                                Start Dates
                                                           FERC-jurisdictional LNG and Pipeline Projects
          Commonwealth LNG
                                           Cameron               C: 2023                             C: 2,000
          (Commonwealth LNG, LLC)                                             LNG export facility                  230.8          89.9         8           N/A
                                         F/O: 0.0 mile           O: 2026                              O: 65

          Calcasieu Pass LNG
          Terminal and Trans               Cameron                                                   C: 1,410
          Cameron Pipeline                                     C: Complete                                        F: 413
                                        F: 0.3 mile east                      LNG export facility     (peak)                      445         123           All
          (Venture Global) Docket #                            O: Ongoing                                         P: 370
                                        P: 0.8 mile east                                              O: 130
          CP15-550-000

          Cameron LNG
                                           Cameron                                                                                                     AO, AR, GW,
          (Cameron LNG Holdings,                               C: Complete
          LLC)                         F: 18 miles north                      LNG export facility     O: 90         824           214          28     LS, RT, S, SW,
                                                               O: Ongoing                                                                               VT, VW, W
          Docket # CP13-25-000         P: 16 miles north

          Cameron LNG Expansion            Cameron                                                   C: 3,269
                                                                C: Pending                                                                             AO, AR, GW,
          (Cameron LNG Holdings,                                                                      (peak)
                                       F: 18 miles north                      LNG export facility                  141 c/          0           0      LS, RT, S, SW,
          LLC)                                                   O: 2026
                                                                                                       O: 69                                            VT, VW, W
          Docket # CP15-560-000
          Driftwood LNG
                                           Calcasieu                                                                            Facility:
          (Driftwood LNG, LLC)                                                                       C: 6,500   Facility: 720                         AO, AR, GW,
                                                               C: Ongoing                                                         319
          Docket # CP17-117-000        F: 22 miles north                      LNG export facility     (peak)     Pipeline:                    317     LS, RT, S, VT,
                                                                O: 2026                                                         Pipeline:                 VW, W
                                       P: 20 miles north                                              O: 539       1,880
                                                                                                                                  426

          Lake Charles LNG
          (Lake Charles LNG                Calcasieu                                                 C: 5,600                                         AO, AR, GW,
                                                                C: Pending
          Company, LLC)                F: 24 miles north                      LNG export facility     (peak)       1,516          253         104     LS, RT, S, VT,
          Docket # CP14-120-000                                  O: 2028                                                                                  VW, W
                                       P: 22 miles north                                              O: 176




JA359
                                                                                     4-348                                                  Environmental Analysis
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                                                                                 TABLE 4.13-2


                             Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                              Anticipated
                                                                                                              Approximate Impacts
                                      Parish, Distance       Construction                                                          Impacts on                Resources
                                                                                                                Size of      on
                                      from Facility (F)         (C) and        Project Type a/      Workforce                      Waterbodies               Potentially
                                                                                                                Project   Wetlands
                                     and/or Pipeline (P)     Operation (O)                                                         (# crossed)               Affected b/
                                                                                                               (acres) a/  (acres)
             Action (Proponent)                               Start Dates
          Magnolia LNG
          (Magnolia LNG, LLC)             Calcasieu                                                                                                         AO, AR, GW,
                                                              C: Pending                             C: 781     Facility: 129
          Docket #s CP14-347-000,     F: 23 miles north                      LNG export facility                                   15            10         LS, RT, S, VT,
          CP14-511-000, CP19-19-                               O: 2026                               O: 67      Pipeline: 76                                    VW, W
                                      P: 21 miles north
          000
          Delfin LNG
          (Delfin LNG LLC)         F/P: 45 miles south-       C: Pending     LNG export facility   C: 200
          Docket #s CP 15-490-000,                                                                          N/A (offshore)         0             1                S
                                        southeast              O: 2024          (offshore)       O: 200-400
          and CP 16-20-000

          Sabine Pass Liquefaction                                                                                              Facility:
          Expansion                     Cameron F: 30                                                C: 2,500   Facility: 401
                                                              C: Present     LNG export facility                                  154         Facility: 0
          (Cheniere LNG)                  miles west                                                  (peak)     Pipeline:                                      S, AO
                                                             O: 2019/2023       expansion                                       Pipeline:   Pipeline: 109
          Docket # CP13-552-000        P: 30 miles west                                               O: 150      1,697
                                                                                                                                  276
          Port Arthur Pipeline     Calcasieu, Cameron
          Louisiana Connector      F: 22.8 miles north-                                              C: 600
          (Sempra LNG & Midstream)                            C: Pending
                                        northwest                            Natural gas pipeline    (peak)        2,807         636.9          167             S, AO
          Docket #s CP17-20-000,                               O: 2028
                                      P: 19.4 miles                                                   O: 10
          CP17-21-000, CP18-7-000
                                     north-northwest
          CP2 LNG and CP Express                                                                 C: 4,400
          Project (Venture Global)                                                                (facility
          Docket # CP22-21-000                                                                     peak)      Facility: 672.2
                                           Cameron                            New LNG Facility                                                               AO, AR, GS,
                                                               C: 2023                             1,625        Pipeline:       Facility:
                                     F: 1.3 miles E P: 1.7                     and 87.5-mile                                                    120          GW, LS, R, S,
                                                               O: 2025                           (pipeline        1,384          86.9
                                            miles E                               pipeline                                                                  SW, VW, VT, W
                                                                                                peak) O:       (estimated)
                                                                                               250 (facility)
                                                                                               10 (pipeline)




JA360
                                                                                     4-349                                                   Environmental Analysis
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                                                                                 TABLE 4.13-2


                              Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                              Anticipated
                                                                                                              Approximate Impacts
                                        Parish, Distance     Construction                                                          Impacts on       Resources
                                                                                                                Size of      on
                                        from Facility (F)       (C) and        Project Type a/      Workforce                      Waterbodies      Potentially
                                                                                                                Project   Wetlands
                                       and/or Pipeline (P)   Operation (O)                                                         (# crossed)      Affected b/
                                                                                                               (acres) a/  (acres)
             Action (Proponent)                               Start Dates
          Cameron Access Project          Calcasieu &
          Docket#CP15-109-000)              Cameron          C: Complete     34 miles of new 30-     C: 200
                                                                                                                 560.1        49.2         96          RT, S,
                                        F 18.7 miles N P:    O: Ongoing      and 36-inch pipeline     O: 3
                                          16.0 miles N
                                                                        Energy Projects
          Cameron LNG – Entergy             Cameron
          Transmission Line and                              C: Complete     12-mile transmission
                                        F: 18 miles north                                              N/A        220         N/A         N/A          AO, S
          Switchyard                                         O: Ongoing       line and switchyard
          (Entergy Louisiana)           P: 16 miles north

          Lake Charles LNG –
          Entergy Transmission Line         Calcasieu
                                                              C: Pending     19-mile transmission
          (Entergy Louisiana)           F: 24 miles north                                              N/A        N/A         N/A         N/A          AO, S
                                                               O: 2025                line
                                        P: 22 miles north

          Magnolia LNG – Entergy
          Transmission Line                 Calcasieu           C: 2022
          (Entergy Louisiana)           F: 23 miles north     (estimated)     Transmission line        N/A        26.1        N/A         N/A          AO, S
                                        P: 21 miles north       O: 2025

          Bayou Bridge Pipeline            Calcas ieu
          (Energy Transfer)                                  C: Complete      163-mile, 24-inch,     C: 2,500
                                       F: 25.5 miles NE P:                                                        N/A        612.76       N/A            S
                                                             O: Ongoing       crude oil pipeline.     O: 12
                                          22.4 miles NE

                                                                       Industrial Projects
          Calcasieu Pass Slurry Line
          (Venture Global)                  Cameron                                                                                                 AC, AO, AR,
                                                             C: Complete
                                           F: Adjacent                        Dredge slurry line       N/A      7.2 miles   N/A (<10)    N/A (1)   LS, S, SW, VT,
                                                             O: Ongoing                                                                                   W
                                        P: 0.8 mile south




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                                                                                     4-350                                              Environmental Analysis
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                                                                                  TABLE 4.13-2


                              Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                               Anticipated
                                                                                                               Approximate Impacts
                                        Parish, Distance      Construction                                                          Impacts on     Resources
                                                                                                                 Size of      on
                                        from Facility (F)        (C) and       Project Type a/       Workforce                      Waterbodies    Potentially
                                                                                                                 Project   Wetlands
                                       and/or Pipeline (P)    Operation (O)                                                         (# crossed)    Affected b/
                                                                                                                (acres) a/  (acres)
              Action (Proponent)                               Start Dates
          Calcasieu Ship Channel          Cameron and                                                                                              AC, AO, AR,
          Dredging                          Calcasieu          Ongoing / as      Maintenance                                                      GS, LS, S, SW,
          (COE Port of Lake Charles)                                                                   N/A     Over 6,000     0          1
                                           F: adjacent           needed           dredging                                                            VT, W
                                         P: 0.4 mile east

          Advanced Refining
                                            Calcasieu             C: 2022
          Technologies                                                           Aluminum
                                                                (estimated)
                                       F: 27.3 miles north                      manufacturing          190        120        N/A        N/A           AO, S
                                                                  O: 2024          facility
                                        P: 24 miles north       (estimated)

          Lake Charles Methanol
                                            Calcasieu
                                                                 C: 2021        Petrochemical
                                       F: 29.3 miles north                                             1,000      250        N/A        N/A           AO, S
                                                                O: Pending     production facility
                                        P: 26 miles north

          Indorama Ventures              Calcasieu F: 29
                                              miles
                                                               C: Complete      Ethane cracker
                                         north-northeast                                               600        125        N/A        N/A           AO, S
                                                               O: Ongoing           facility
                                        P: 26 miles north-
                                            northeast
          Lotte Axiall                   Calcasieu F: 31
                                              miles
                                                               C: Complete    Ethylene production
                                         north-northeast                                               2,000      215        N/A        N/A             S
                                                               O: Ongoing           facility
                                        P: 28 miles north-
                                            northeast




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                                                                                      4-351                                          Environmental Analysis
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                                                                                     TABLE 4.13-2


                                Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                                Anticipated
                                                                                                                Approximate Impacts
                                         Parish, Distance      Construction                                                          Impacts on        Resources
                                                                                                                  Size of      on
                                         from Facility (F)        (C) and         Project Type a/     Workforce                      Waterbodies       Potentially
                                                                                                                  Project   Wetlands
                                        and/or Pipeline (P)    Operation (O)                                                         (# crossed)       Affected b/
                                                                                                                 (acres) a/  (acres)
             Action (Proponent)                                 Start Dates
          G2X Big Lake Fuels                Calcasieu
                                           F: 23.9 miles       C: Present/on
                                                                              Methanol production
                                             northeast              hold                                2,500      200        N/A        N/A              AO, S
                                                                                    facility
                                           P: 20.7 miles       O: unavailable
                                             northeast
          Port of Vinton
                                            Calcasieu
                                                           C: Complete O:
                                        F 31.4 miles NW P:                            Dredging          N/A        N/A        N/A        N/A                S
                                                              Ongoing
                                          28.7 miles NW

                                                      Transportation, Port, and Road Improvement Projects
          Port Louisiana (formerly           Cameron            C: Start date
          Port Cameron)                                         unavailable;                          C: 9,785                                         AO, AR, LU,
                                            F: 2.0 miles        duration four                          (peak)
                                                                                  Deepwater Port                   850        N/A        N/A           LS, R, RT, S,
                                             northeast             years.                             O: 3,860                                        SW, VW, VT, W
                                          P: 1.1 mile east     O: unavailable.
          West Calcasieu Port                Calcasieu                                                                                                   AO, AR,
          Projects                                              C: Complete
                                        F: 20.1 miles north                      Port improvements      N/A        N/A        N/A        N/A           LS, R, RT, S,
                                                                O: Ongoing
                                         P: 19 miles north                                                                                            SW, VW, VT, W
          I-10 Calcasieu River Bridge
          (DOTD)                            Calcasieu            C: Pending
                                         F 32.7 miles N P:                       Bridge replacement     N/A        N/A        N/A        N/A              RT, S
                                           30.2 miles N          O: Pending


          LA-378 Adaptive Traffic
          Management (DOTD)                 Calcasieu                                                                                  Calcasieu
                                                               C: Complete O:      Adaptive traffic
                                         F 32.5 miles N P:                                              N/A        N/A         0    F 32.5 miles N         RT
                                                                  Ongoing          signal system
                                           29.9 miles N                                                                             P: 29.9 miles N




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                                                                                         4-352                                        Environmental Analysis
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                                                                                  TABLE 4.13-2


                              Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                               Anticipated
                                                                                                              Approximate Impacts
                                        Parish, Distance      Construction                                                         Impacts on      Resources
                                                                                                                Size of      on
                                        from Facility (F)        (C) and        Project Type a/     Workforce                      Waterbodies     Potentially
                                                                                                                Project   Wetlands
                                       and/or Pipeline (P)    Operation (O)                                                        (# crossed)     Affected b/
                                                                                                               (acres) a/  (acres)
             Action (Proponent)                                Start Dates
                                                            Municipal, Medical, and Educational Projects
          Cameron Courthouse                Cameron
                                           F: 2.4 miles        C: Complete     Municipal building
                                                                                                      N/A      N/A (<10)   N/A (<10)    N/A (0)      AO, S
                                            northeast          O: Ongoing       improvements
                                        P: 2.0 miles east

                                                               Commercial and Residential Projects
          Port Wonder
                                           Calcasieu
                                                                 C: 2021       New Educational
                                        F 32.7 miles N P:                                             N/A        N/A         N/A         N/A           S
                                                                O: Pending         venue
                                          30.2 miles N

          Subdivision: Belle Savanne
                                            Calcasieu
                                                                C: Present     Subdivision under
                                        F: 29 miles north                                             N/A        N/A         N/A         N/A         AO, S
                                                                O: Ongoing       construction
                                        P: 27 miles north

          Subdivision: Carlyss Place
                                            Calcasieu
                                                                C: Present     Subdivision under
                                        F: 29 miles north                                             N/A        N/A         N/A         N/A         AO, S
                                                                O: Ongoing       construction
                                        P: 27 miles north

          Subdivision: Maple Creek
                                            Calcasieu
                                                                C: Present     Subdivision under
                                        F: 30 miles north                                             N/A        N/A         N/A         N/A           S
                                                                O: Ongoing       construction
                                        P: 28 miles north




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                                                                                      4-353                                            Environmental Analysis
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                                                                                TABLE 4.13-2


                              Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                              Anticipated
                                                                                                           Approximate Impacts
                                        Parish, Distance     Construction                                                       Impacts on    Resources
                                                                                                             Size of      on
                                        from Facility (F)       (C) and      Project Type a/     Workforce                      Waterbodies   Potentially
                                                                                                             Project   Wetlands
                                       and/or Pipeline (P)   Operation (O)                                                      (# crossed)   Affected b/
                                                                                                            (acres) a/  (acres)
             Action (Proponent)                               Start Dates
          Subdivision: Orleans Run          Calcasieu
                                           F: 39 miles
                                                              C: Present     Subdivision under
                                         north-northeast                                           N/A        N/A        N/A        N/A           S
                                                              O: Ongoing       construction
                                        P: 37 miles north-
                                            northeast
          Subdivision: Wisteria Vine        Calcasieu
                                           F: 38 miles
                                                              C: Present     Subdivision under
                                         north-northeast                                           N/A        N/A        N/A        N/A           S
                                                              O: Ongoing       construction
                                        P: 36 miles north-
                                            northeast
          Subdivision: Audubon Place       Calcasieu
                                           F: 31 miles
                                                              C: Present     Subdivision under
                                            northeast                                              N/A        N/A        N/A        N/A           S
                                                              O: Ongoing       construction
                                           P: 29 miles
                                            northeast
          Subdivision: Savannah            Calcasieu
          Lakes                            F: 30 miles        C: Present     Subdivision under
                                            northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                              O: Ongoing       construction
                                           P: 28 miles
                                            northeast
          Subdivision: Lakes at            Calcasieu
          Morganfield                      F: 30 miles
                                                              C: Present     Subdivision under
                                            northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                              O: Ongoing       construction
                                           P: 28 miles
                                            northeast




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                                                                                   4-354                                         Environmental Analysis
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                                                                                 TABLE 4.13-2


                                  Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                               Anticipated
                                                                                                            Approximate Impacts
                                         Parish, Distance     Construction                                                       Impacts on    Resources
                                                                                                              Size of      on
                                         from Facility (F)       (C) and      Project Type a/     Workforce                      Waterbodies   Potentially
                                                                                                              Project   Wetlands
                                        and/or Pipeline (P)   Operation (O)                                                      (# crossed)   Affected b/
                                                                                                             (acres) a/  (acres)
             Action (Proponent)                                Start Dates
          Subdivision: Village at           Calcasieu
          Morganfield                       F: 29 miles        C: Present     Subdivision under
                                             northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                               O: Ongoing       construction
                                            P: 27 miles
                                             northeast
          Subdivision: Cove at              Calcasieu
          Morganfield                       F: 29 miles        C: Present     Subdivision under
                                             northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                               O: Ongoing       construction
                                            P: 27 miles
                                             northeast
          Subdivision: Oak Grove            Calcasieu
                                            F: 29 miles
                                                               C: Present     Subdivision under
                                             northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                               O: Ongoing       construction
                                            P: 27 miles
                                             northeast
          Subdivision: Beau Blanc           Calcasieu
                                            F: 29 miles        C: Present     Subdivision under
                                             northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                               O: Ongoing       construction
                                            P: 27 miles
                                             northeast
          Subdivision: Crest at             Calcasieu
          Morganfield                       F: 30 miles        C: Present     Subdivision under
                                             northeast                                              N/A        N/A        N/A        N/A         AO, S
                                                               O: Ongoing       construction
                                            P: 28 miles
                                             northeast




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                                                                                    4-355                                         Environmental Analysis
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                                                                                 TABLE 4.13-2


                               Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                               Anticipated
                                                                                                            Approximate Impacts
                                         Parish, Distance     Construction                                                       Impacts on     Resources
                                                                                                              Size of      on
                                         from Facility (F)       (C) and       Project Type a/    Workforce                      Waterbodies    Potentially
                                                                                                              Project   Wetlands
                                        and/or Pipeline (P)   Operation (O)                                                      (# crossed)    Affected b/
                                                                                                             (acres) a/  (acres)
             Action (Proponent)                                Start Dates
          Subdivision: Highland Hills       Calcasieu
                                            F: 30 miles        C: Present     Subdivision under
                                             northeast                                              N/A        N/A        N/A        N/A           AO, S
                                                               O: Ongoing       construction
                                            P: 28 miles
                                             northeast
          Graywood Subdivision:
          Jasmine, Willowbrooke,            Calcasieu
                                                               C: Ongoing     Subdivision under
          Myrtle Bay, Sawgrass,          F 25.4 miles N P:                                          N/A        N/A        N/A        N/A           AO, S
                                                               O: Ongoing       construction
          Oleander, Primrose,              23.5 miles N
          Lemongrass
          Morganfield Subdivision:          Calcasieu
          Waterside, Waterside II,         F 29.9 miles
                                                              C: Ongoing O:   Subdivision under
          Ridge, Wildflower,                 northeast                                              N/A        N/A        N/A        N/A           AO, S
                                                                 Ongoing        construction
          Waterside Meadows                P: 27.5 miles
          (Pending)                          northeast

                                                                   Carbon Capture and Sequestration Projects

          Hackberry Carbon              Calcasieu/Cameron
          Sequestration Project            F 16.3 miles
                                                               C: pending     CO2 sequestration                                                AR, GW, LS, S,
                                            northwest                                               N/A         NA        0.2         3
                                                               O: pending          project                                                      SW, VW, W
                                           P: 13.3 miles
                                            northwest




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                                                                                    4-356                                         Environmental Analysis
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                                                                                             TABLE 4.13-2


                                 Past, Present and Reasonably Foreseeable Activities Considered in the Cumulative Impact Analysis

                                                                     Anticipated
                                                                                                                          Approximate Impacts
                                            Parish, Distance        Construction                                                               Impacts on                   Resources
                                                                                                                            Size of      on
                                            from Facility (F)          (C) and            Project Type a/       Workforce                      Waterbodies                  Potentially
                                                                                                                            Project   Wetlands
                                           and/or Pipeline (P)      Operation (O)                                                              (# crossed)                  Affected b/
                                                                                                                           (acres) a/  (acres)
              Action (Proponent)                                     Start Dates
          a/ Estimated acreage is based on publicly available project information.
          b/ Acronyms:
          AC – Air Construction           GW – Groundwater               R – Recreation             VW – Vegetation and Wildlife
          AO – Air Operations             LS – Listed Species            RT – Road Traffic          VT – Vessel Traffic
          AR – Aquatic Resources          LU – Land Use                  S – Socioeconomics         W – Wetlands
          CR – Cultural Resources*                                       SW – Surface Water
                                          NC – Noise Construction
          GS – Geology and Soils          NO – Noise Operation
          * There are no activities that cross the proposed Area of Potential Effect of the Project; therefore, cumulative impacts on cultural resources are not expected
          c/ Based upon readily available public information
          N/A = Information not publicly available or not applicable
          DOTD = Department of Transportation and Development




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                                                                                                 4-357                                                          Environmental Analysis
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         4.13.1.1 FERC-jurisdictional LNG and Pipeline Projects

                  Due to the potential for some overlap in construction schedules, and the proposed project locations
         on the Calcasieu Ship Channel, the Cameron LNG Project Expansion, Driftwood LNG, Calcasieu Pass
         LNG, Lake Charles LNG, CP2 LNG, and Magnolia LNG projects all have the potential to contribute to
         cumulative impacts on multiple environmental resources (see section 4.13-2). These six projects would
         result in a combined permitted LNG export capacity of approximately 117.4 MPTA, an estimated increase
         of 1,233 additional vessels operating within the Calcasieu River Ship Channel, 14.3 million cubic yards of
         dredging, an estimated 22,467 temporary peak construction jobs over the next five years, and approximately
         1,279 permanent positions. It should be noted that these projects include modular construction methods,
         so several of the generated construction jobs may occur outside of Cameron Parish, and even outside of the
         U.S. The Sabine Pass Liquefaction Expansion project, on the Sabine River approximately 30 miles west
         of Commonwealth, would not contribute appreciably to cumulative effects on environmental resources,
         except for air quality during operation and socioeconomics resulting from the creation of temporary
         construction jobs, and permanent jobs within the study area. Additional details regarding these projects
         can be obtained through FERC’s website at www.ferc.gov, by using the eLibrary system and the docket
         number(s) assigned to each project.

                 Given that the G2 LNG and Monkey Island LNG projects are still in early planning stages, there is
         generally limited information in the public domain for these projects, and no docket numbers are available,
         construction is not assumed to overlap with Commonwealth’s construction timeframe. We conclude there
         would be no potential for cumulative impacts in conjunction with these projects.

                 Calcasieu Pass LNG

                  The Calcasieu Pass LNG export terminal is a 12 MTPA liquefaction facility directly across the
         Calcasieu Ship Channel from Commonwealth. The project also includes construction of the TransCameron
         Pipeline, a 23.4-mile-long natural gas pipeline to supply the terminal. The feed-gas pipeline extends to the
         east of the terminal, also within Cameron Parish. The project was approved by FERC in 2019 and is
         currently in the commissioning phase. The project encompasses about 1,069 acres with a portion of the
         project occurring in the Calcasieu Lake-Calcasieu Pass watershed. Calcasieu Pass LNG had an estimated
         peak construction workforce of 1,810 employees and expects a permanent workforce of 130 employees.
         The FERC docket number assigned to the project is CP15-550-000.

                 Cameron LNG

                  The Cameron LNG project completed construction and received authorization to commence service
         on July 24, 2020. The project is currently in operation. The project included expansion of an existing LNG
         facility to include 3 liquefaction trains, 1 additional storage tank, and a new 21- mile, 42-inch-diameter
         pipeline. Capacity increased to 14.9 MTPA. The project is sited next to Cameron’s existing LNG
         facility/dock, with no expected change in vessel traffic. The FERC docket number assigned to the project
         is CP13-25-000.

                 Cameron LNG Expansion

                 FERC approved expansion of the Cameron LNG terminal to include 2 additional liquefaction trains
         in 2016, but no financial investment decision to expand was finalized by the proponent. Cameron LNG
         recently filed for an extension to construct by May 2026. On January 18, 2022, Cameron filed an
         application to amend the project to, in part, only construct one of the liquefaction trains. If constructed, the
         expansion export capacity would increase to 20.9 MTPA. Expansion would occur within the permitted
         footprint of the Cameron LNG Project. The expansion would have a peak construction workforce of 3,269



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         employees. The combined permanent workforce of Cameron LNG and the expansion is expected to total
         225 employees. The FERC docket number assigned to the project is CP22-41-000.

                 Driftwood LNG

                 Driftwood LNG is a 27.6 MTPA LNG export Facility approximately 23 miles north of
         Commonwealth that was certificated by FERC in 2019. Construction of the LNG facility began in March
         2022. The project includes five liquefaction trains, three aboveground LNG storage tanks, a dredged
         turning basin, and three LNG carrier berths to accommodate an expected average of 365 vessel calls
         annually. The project has an expected peak construction workforce of 6,500 employees, and 539 permanent
         employees. The currently anticipated in-service timing for the Driftwood project is 2026. The FERC
         docket number assigned to the project is CP17-117-000.

                 Lake Charles LNG

                 The Lake Charles LNG project has been permitted, and includes modification of an existing LNG
         import terminal, plus construction and operation of new facilities adjacent to the modified terminal. The
         new liquefaction facilities will have a design production capacity of 16.45 MTPA and would not increase
         the number of ships that were previously analyzed to call on the terminal, which is currently 225 annually.
         The Lake Charles LNG Project would have a peak construction workforce of 5,600 employees and a
         permanent workforce of 176 employees. The export facilities would affect about 785 acres in the Calcasieu
         River-Prien Lake watershed approximately 24 miles north of Commonwealth, and the associated pipeline
         segment would affect about 244 acres in the Bayou Arceneaux and Lower Bayou Serpent watersheds.
         Progress reports indicate construction at the site is not currently active. On May 6, 2022, FERC granted an
         extension of time request from Lake Charles LNG to extend the period in which Lake Charles LNG could
         construct and place the project facilities into service through December 16, 2028. The FERC docket number
         assigned to the project is CP14-120-000.

                 Magnolia LNG

                   The Magnolia LNG project, sited on an industrial canal on the east side of the Calcasieu Ship
         Channel approximately 23 miles north of Commonwealth, includes four liquefaction plants, two LNG
         storage tanks, and two LNG carrier berths. During operation, approximately 208 LNG vessels (104 LNG
         carriers and 104 LNG barges) would call on the LNG terminal per year. The project was originally
         approved by FERC in 2016 at a maximum 8.0 MTPA capacity; however, FERC authorized an amendment
         to increase the output by 0.8 MTPA on June 18, 2020. The total capacity for Magnolia LNG will be 8.8
         MTPA. On September 11, 2020, Magnolia requested an extension until April 15, 2026 to construct the
         project. The Magnolia Project would have a peak construction workforce of 781 employees and a
         permanent workforce of 67 employees. Construction has not started on this project as of the issuance of
         this document. To supply the LNG terminal, Kinder Morgan Louisiana Pipeline (KMLP) would modify
         its existing pipeline system to include a new compressor station, new natural gas header pipelines adjacent
         to the existing easement, and modifications at six existing meter stations. Construction of Magnolia LNG
         would affect about 129 acres within the Calcasieu River-Prien Lake watershed. The FERC docket numbers
         assigned to the project are CP14-347-000, CP14-511-000, and CP19-19-000.

                 Delfin LNG

                 The Delfin LNG project would include the construction of a floating liquefaction and LNG terminal
         in the Gulf of Mexico, approximately 45 miles south of Commonwealth. This offshore facility would also
         include an onshore compressor system, monitoring, and piping which would be approximately 20 miles
         west of the Commonwealth LNG Facility. In 2017, the offshore facility was approved by the U.S.
         Department of Energy (DOE) (DOE docket number 13-147-LNG), and FERC approved the onshore


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         facilities (docket numbers CP15-490-000, and CP16-20-000). The project has an estimated construction
         workforce of 200 employees, and 200 to 400 permanent employees. Although the project was slated to
         begin operations in 2021/2022, construction has not begun, and Delfin received an extension from FERC
         in 2019 to begin construction by September 2020. Delfin requested an additional extensions in June 2021
         and July 2022 to place onshore facilities into service to September 2023. The project is now anticipated to
         be operational by 2024.

                 Sabine Pass Liquefaction Expansion

                 Expansion of the Sabine Pass LNG Terminal was approved by FERC in 2015 to include two
         additional LNG trains (Trains 5 and 6), each with an average liquefaction capacity of 4.5 MTPA. Trains 5
         and 6 are constructed and operational. The maximum number of vessel calls (400) did not increase with
         the expansion. The project also includes a 104-mile-long pipeline. The FERC docket number assigned to
         the project is CP13-552-000.

                 Port Arthur Pipeline Louisiana Connector

                  The Port Arthur Pipeline Louisiana Connector Project consists of about 131 miles of new 42-inch-
         diameter natural gas pipeline, one new compressor station, and interconnect facilities in east Texas and
         western Louisiana. A portion of the project in Louisiana would be in Calcasieu Parish, about 23 miles north
         of Commonwealth. FERC approved the project in 2019, and the docket numbers assigned to the project
         are CP17-20-000, CP17-21-000, and CP18-7-000. The Port Arthur Pipeline Louisiana Connector project
         would have a peak construction workforce of 600 employees and a permanent workforce of 10 employees.
         Construction would affect about 2,807 acres within 13 watersheds outside the HUC-12 scope of this
         analysis. On August 2, 2022, the Port Arthur Pipeline, LLC requested from FERC an extension of time
         until June 18, 2028 to complete construction of the project and make the pipeline available for service.

                 CP2 LNG and CP Express Project

                  The CP2 LNG and CP Express project consists of a terminal site, marine facilities, a pipeline, and
         aboveground facilities. The CP2 LNG project would affect about 737 acres of land with the terminal (600
         acres) sited east of the existing Calcasieu Pass Terminal and the associated marine facilities (122 acres)
         located on the southern portion of Monkey Island. CP Express Pipeline would include 85.4 miles of new,
         48-inch-diameter pipeline, 6 miles of new, 24-inch-diameter lateral pipeline, and aboveground facilities.
         About 30 miles of the pipeline would be in Cameron Parish. The CP2 LNG and CP Express project would
         have a peak construction workforce of 4,400 employees at the terminal and 1,625 employees for the pipeline
         and a permanent workforce of 260 employees. Venture Global filed its application in December 2021. The
         FERC docket number assigned to the project is CP22-21-000.

         4.13.1.2 Energy Projects

                  Entergy Louisiana has three ongoing or planned electrical transmission projects to accommodate
         the increased demands from LNG export terminal projects. These transmission projects may include
         construction within existing or new rights-of-way. A 12-mile-long 230-kV transmission line and new
         switchyard project is underway to accommodate Cameron LNG projects, and 19 miles of new 230- kV
         electrical transmission line will support the Lake Charles LNG Project. Additionally, the Bayou Bridge
         Pipeline, a 163-mile-long oil pipeline, was recently completed in 2019. The pipeline crosses about 45 miles
         through Calcasieu Parish from west to east.




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                 This EIS is not characterizing the Project’s GHG emissions as significant or insignificant because
         the Commission is conducting a generic proceeding to determine whether and how the Commission will
         conduct significance determinations going forward.162 GHG impacts are more fully addressed in section
         4.11.1 and cumulative GHG impacts are discussed in this section.

                  As described throughout this EIS, the proposed Project would have a range of impacts on
         individuals living in the vicinity of the Project facilities, including environmental justice populations.
         Based on our analysis, environmental justice communities in the study area would experience cumulative
         impacts on wetlands, surface water, aquatic resources, socioeconomics, traffic, noise, air quality, GHG and
         significant visual impacts related to the project and the additional projects listed in table 4.13-2. Cumulative
         impacts on environmental justice communities related to wetlands, surface water, aquatic resources, visual
         resources, socioeconomics, traffic, noise, and air quality would be less than significant. However,
         cumulative impacts related to visual resources would be significant.

         4.13.2.8 Air Quality

                 Construction

                  Air emissions during construction would be limited to vehicle and construction equipment
         emissions and dust and would be localized to the project construction sites. Construction of the Project
         would result in increases in emissions of criteria pollutants, VOCs, HAPs, GHG, and fugitive dust emissions
         from combustion of fuel in vehicles and equipment; dust generated from excavation, grading, and fill
         activities and driving on unpaved roads; and general construction activities (e.g., coating and welding
         operations). Generally, construction projects within the geographic scope for construction air quality with
         multiple-year overlapping construction schedules or single-year projects that occur in the same year could
         cumulatively contribute to air quality impacts. Construction impacts vary based on factors such as timing
         of the construction projects, intensity and type of construction activity underway at any given time, quantity
         and size of emission-producing equipment in operation, distance separating the projects, soil silt content,
         quantity of dust-producing material being handled, and dry or windy conditions. Other projects that occur
         within the geographic scope for analysis of the cumulative impact on air quality during construction include
         maintenance dredging of the Calcasieu Ship Channel, the Calcasieu Pass LNG project, and the Calcasieu
         Pass Slurry Line.

                  Construction activities at the CP2 LNG project could overlap with construction of Commonwealth.
         Although the main terminal portion of the CP2 LNG project would be constructed beyond the 1.0-mile
         geographic scope of cumulative impacts on air quality related to construction, a portion of the CP2 LNG
         marine facilities would be constructed within 1.0 mile of the Terminal. Fugitive dust emissions would be
         at their peak during facility footprint clearing and earth moving, and if these activities were to occur at the
         same time, there could be a temporary cumulative air quality impact from fugitive dust. Emissions of
         criteria pollutants from combustion of fuel in equipment and vehicle exhausts from construction of both
         projects could also contribute to cumulative air impacts in the region. These emissions would be minimized
         by typical control techniques such as the use of low-sulfur diesel fuel, proper operation of equipment, and
         minimization of daily emissions by only working during daylight hours (versus 24-hour operations). If
         intensive construction activities were occurring simultaneously, such as in the civil phase of construction,
         there would be a temporary cumulative air quality impact from emissions from equipment and vehicle
         exhaust.

                 If maintenance dredging of the Calcasieu Ship Channel and/or operation of CP2 LNG dredge slurry
         line were to occur at the same time as construction of Commonwealth, emissions of criteria pollutants from


         162     See Order on Draft Policy Statements, 178 FERC ¶ 61,197 (2022).



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         combustion of fuel in equipment and vehicle exhausts from the combined projects could also contribute to
         cumulative air impacts in the region. Commonwealth would minimize impacts on air quality during
         construction by adopting the following measures:

             •   require that contractors meet all air quality requirements and employ equipment that meets relevant
                 emission standards;
             •   require contractors to properly maintain and operate construction equipment to minimize exhaust
                 emissions, including minimizing engine idling time; use paved roads, when practical, and water
                 unpaved roads being used, as needed;
             •   apply water to dirt stockpiles;
             •   cover open haul trucks, as needed;
             •   limit vehicle speeds;
             •   apply water to disturbed areas, as needed; and
             •   stabilize disturbed areas upon completion of construction.
                  Additionally, Commonwealth would require vehicular and/or barge exhaust and crankcase
         emissions from gasoline and diesel engines to comply with applicable EPA mobile source emission
         regulations (40 CFR 85) by using equipment manufactured to meet these specifications. The other projects
         in the geographic scope would also be expected to follow similar BMPs to minimize impacts on air quality.

                  The combustion and fugitive dust emissions that would occur during construction would be largely
         limited to the immediate vicinity of the existing Terminal site and to a lesser extent in the areas where the
         Pipeline would be constructed. These would subside once construction has been completed. Therefore,
         we conclude the construction-related impact on local air quality during construction of the Terminal and
         Pipeline would not be significant. Given Commonwealth’s implementation of mitigation, and the
         temporary timeframe of construction activities plus the minor overlap of construction facilities with the
         CP2 LNG Project (i.e., only a portion of the project would be constructed within the geographic cumulative
         impacts scope of the Project), we conclude that the Project would not contribute significantly to cumulative
         impacts on air quality during construction.

                 Operations

                 Emission sources from operation of the Project would be associated with the gas turbines,
         generators, LNG storage tanks, two thermal oxidizers, two flare systems, gas pretreatment unit, LNG carrier
         emissions, and vehicle travel emissions. Under federal and LDEQ regulations, the Terminal is considered
         a major PSD emission source and would contribute to cumulative impacts on air quality within the
         cumulative impact area. The potential for other projects to cumulatively interact with emissions from the
         Project depends on the type of project, its stage of development, and the impact of significant ongoing air
         pollutant emissions to overlap with either a compressor station or the Terminal.

                 Air quality would be affected by operation of the present and future actions considered in the
         cumulative impact analysis (figure 4.13-3). There are 36 cumulative actions identified within the
         geographic scope for operational air quality impacts, which is within 50 kilometers (31.1 miles) of the
         proposed Terminal. These projects include nine FERC-jurisdictional projects, three energy projects, six
         industrial projects, four transportation projects, 11 residential projects, and three municipal, educational,
         and commercial projects. Impacts on air quality from projects beyond 50 kilometers would be below de
         minimis thresholds.




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                 Operational emissions from several projects within the operational cumulative geographic scope
         for air quality are small, dispersed, and accounted for in background concentrations used in NAAQS
         modelling for larger point sources (e.g., underground pipeline or electrical transmission lines with minimal
         emissions, residential heating, and vehicle traffic on roadways). Therefore, these projects were not
         discussed individually.

                 Construction of the other projects with operational air emissions requiring permits for point source
         emissions (e.g., Calcasieu Pass LNG, CP2 LNG) would result in air quality impacts similar to the Project.
         These projects that are considered major sources of air emission would be required to conduct a PSD
         analysis and meet similar permit conditions as the Commonwealth Project. In addition, any other potential
         future projects that are considered major sources of air emissions would be required to conduct a PSD
         analysis. Should operation of a new project result in a significant impact on air quality, the LDEQ would
         enforce operational limitations or require emissions controls that ensure compliance with the state
         implementation plan and attainment with the NAAQS. In addition, Commonwealth would be required to
         comply with any LDEQ permit conditions during operation.

                  As detailed in section 4.11.1.6, Commonwealth performed a cumulative modeling analysis for each
         pollutant that exceeded the SIL (1-hour and annual NO2, 1-hour SO2, and 24-hour PM2.5). Commonwealth’s
         pollutant sources were modeled along with additional (background) sources from off-site inventory
         (obtained from LDEQ’s Emissions and Inventory Reporting Center) within the pollutant-specific area of
         impact and averaged over five years to determine source contribution in comparison with the NAAQS. The
         area of impact was established as the distance from the Project to the farthest receptor that showed a
         modeled impact greater than the SIL in the significance modeling analysis. The background sources
         inventory included all sources within the area of impact plus 15 km and all major sources within the area
         of impact plus 20 km (in either case the area of impact would not extend beyond 50 km due to the accuracy
         constraints of dispersion models). The sources modeled included the Calcasieu Pass LNG facility as well
         as other existing LNG facilities in the Lake Charles vicinity.

                 Modeling indicated the maximum impact plus background sources for 1-hour NO2 also exceeded
         the NAAQS of 188 µg/m3. None of the other three pollutants exceeded the respective NAAQS
         concentrations. Per LDEQ protocols, Commonwealth conducted a source contribution analysis to
         determine whether the Project would contribute significantly to the modeled 1-hour NO2 NAAQS
         exceedance. The modeling output provided the following: the predicted modeled maximum impact plus
         background sources concentrations for all locations within 50 km of the Project site that exceeded the
         NAAQS for 1-hour NO2; the Project-only maximum concentrations at the locations; the respective
         percentage that the Project would contribute to the maximum impact concentrations; and the distance from
         the Project where the NAAQS would be exceeded (see appendix H). FERC conducted additional modeling
         to incorporate the impacts from the Project’s stationary sources as well as LNG carriers and tugs in the
         moored safety zone into the source contribution analysis conducted for LDEQ.




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         Figure 4.13-3 Activities within the Air Quality Study Area




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                  The modeling results indicate the proportions of the NAAQS exceedance concentrations
         attributable to the Project are very small, both for the LNG stationary source-only analysis as well as the
         inclusion of LNG carriers and tugs. In fact, the exceedances would still be predicted in the absence of the
         Project (i.e., the existing background emissions sources from LDEQ’s Emissions and Inventory Reporting
         Center are driving the NAAQS exceedances). In the instance of the highest overall modeled maximum
         impact for stationary sources plus background sources concentration (229 µg/m3), the Project-only
         concentration contribution (0.0004 µg/m3) is well below the SIL concentration for 1-hour NO2 (7.5 µg/m3).
         Similarly, in the instance of the highest overall modeled maximum impact for stationary sources and LNG
         carriers and tugs, plus background sources concentration (308 µg/m3), the Project-only (inclusive of LNG
         carriers and tugs) concentration contribution (0.005 µg/m3) is well below the SIL concentration for 1-hour
         NO2 (7.5 µg/m3). The Project-only (LNG stationary sources) and Project-only plus LNG carriers and tugs
         concentration contributions at the NAAQS-exceedance locations in which the Project’s contribution is the
         highest of the total modeled maximum impact plus background sources concentration (0.43 µg/m3 and 2.8
         µg/m3, respectively) are both well below the SIL concentration for 1-hour NO2. The modeling analysis
         demonstrates that the proposed Project would not cause or contribute to a potential NAAQS exceedance
         and would only contribute a minor amount to cumulative air impacts with the geographic scope of this
         analysis.

         4.13.2.9 Noise

                  The proposed Terminal site is in a primarily rural area with a few industrial sites to the north and
         east along the Calcasieu Ship Channel. The nearest NSA to the proposed Terminal, an RV site used as a
         year-round residence by the landowner (NSA 2), is approximately 0.4 mile to the west. The 3-mile Pipeline
         is also in a rural area, with noise levels along the Pipeline route influenced by rural background sources.
         The RV site west of the Terminal is also within 0.5 mile of the HDD site and the southern terminus of the
         Pipeline route (section 4.11.2). A second NSA, temporary ship pilot residences on the southern end of
         Monkey Island (NSA 1), is approximately 0.5 mile northeast of the Terminal. Construction noise would
         be generated over an extended period of approximately 36 to 38 months at the Terminal site and for about
         12 months for the Pipeline. Construction activity and associated noise levels associated with the Project or
         with other projects within the geographic scope for cumulative impacts would vary depending on the
         construction activities. The highest level of construction noise typically occurs during earth-moving and
         pile-driving work. Commonwealth expects peak construction noise to occur during construction months
         10 through 12 when earth moving activities would coincide with pile driving and dredging at the Terminal.
         The sound level impacts on NSAs due to construction activities would depend on the type of equipment
         used, the duration of use for each piece of equipment, the number of construction vehicles and machines
         used simultaneously, and the distance between the sound source and receptor. Construction of
         Commonwealth and CP2 LNG is likely to overlap if both projects are permitted and constructed. Both
         projects would conduct pile-driving activities during daytime hours. Although the CP2 LNG terminal is
         more than 1.5 miles east of the Project Terminal, the marine facility would be approximately 0.65 mile
         northeast of the Terminal. At approximately 1.25 miles northeast of NSA 2, the CP2 LNG marine facility
         would be beyond the geographic range for cumulative noise impacts on NSA 2. However, NSA 1 is
         immediately adjacent to the proposed location of the CP2 LNG marine terminal and within 0.5 mile of the
         Project marine facilities. Cumulative construction noise impacts on NSA 1 if pile driving and/or dredging
         were to occur simultaneously at both locations would likely be significant, due primarily to impacts from
         the CP2 LNG project. In section 4.11.2.4 we recommend that Commonwealth restrict construction noise
         levels to less than 55 dBA Ldn (48.6 dBA Leq) between the hours of 7:00 p.m. and 7:00 a.m.

                 It is possible that dredging at Commonwealth, Calcasieu Pass LNG, CP2 LNG, and/or periodic
         channel maintenance could occur simultaneously. As detailed in table 4.11.2-5, the likely worst-case noise
         impacts of dredging at the Project alone at NSA 1 would result in 24-hour (Ldn) values of 60.1 dBA. If
         simultaneous dredging activities occurred, the Project has the potential to contribute to cumulative noise



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         impacts on nearby NSAs. In response to our recommendation in the draft EIS, Commonwealth has
         provided measures it would implement to reduce the projected nighttime noise levels to at or below 55 dBA
         Ldn at NSA 1 and how it would monitor the noise levels during dredging activities. With implementation
         of an effective noise mitigation plan for nighttime dredging, Commonwealth’s contribution to cumulative
         noise impacts would be temporary and limited to daytime hours.

                  Operation of the Terminal site would produce noise on a continuous basis, primarily from
         compressor piping and air coolers. The underwater noise impacts on wildlife are discussed in section 4.6.2.
         The combined operation of the Project and the Calcasieu Pass LNG terminal could result in an increase of
         the average ambient noise level at NSA 1 (the CP2 LNG terminal would be more than 1 mile from the
         Project Terminal and NSA 1 and the Calcasieu Pass LNG terminal and the CP2 LNG site are both more
         than 1 mile from NSA 2). The Commission required Calcasieu Pass LNG to implement noise controls to
         ensure operating noise levels at NSAs (including Commonwealth’s NSA 1) would be at or below the 55
         dBA threshold. As detailed in section 4.11.2.4, Commonwealth does not expect 24-hour (Ldn) Terminal
         operation noise levels at NSA 1 to exceed 52.3 dBA (55.5 dBA combined Terminal plus ambient noise).
         We have included a recommendation in section 4.11.2.4 for Commonwealth to modify operation of the
         liquefaction facilities or install additional noise controls to keep operation noise levels below 55 dBA if a
         full power load noise survey conducted by Commonwealth after start-up indicates noise levels due to
         facility operation are above the 55 dBA threshold. The combined operation of the Project and Calcasieu
         Pass LNG, if both terminals are operating at 55 dBA noise levels, would be approximately 58.0 dBA. This
         would be an increase in the average ambient noise level at NSA 1 but, at 3.1 dBA, the increase would likely
         not be perceptible to humans per EPA documentation (1978). Therefore, operation of the Terminal would
         likely contribute to cumulative noise increases but these increases would not be significant.

                 Normal operations of the proposed Pipeline would not result in permanent noise impacts on NSAs.
         Pipeline blowdown events could generate temporary noise impacts (likely lasting 20 minutes to 2 hours)
         and planned events could allow for slower gas release and be scheduled for daytime hours, thus reducing
         the noise impacts. Emergency pipeline blowdowns can occur at any time but are typically infrequent and
         of short duration. All blowdown events for the Pipeline would be routed through the Terminal flaring
         system. Due to their temporary nature, blowdown events (planned or unplanned) would cause a negligible
         contribution to potential cumulative noise impacts on NSAs.

         4.13.2.10 Safety and Reliability

                  Potential impacts on public safety would be mitigated through implementation of applicable
         federal, state, and local rules and regulations for the proposed Project. These rules and regulations,
         described in Section 4.12 would ensure appropriate standards would be applied to design and engineering,
         construction, operation, and maintenance to protect the public and avoid or minimize the potential for
         accidental or intentional incidents. The other LNG projects listed in table 4.13-2 would be required to
         follow the same rules and regulations, and other large industrial projects listed in table 4.13-2 would be
         subject to similar rules and regulations. These rules and regulations are intended to protect the public from
         the potential impacts of industrial projects singularly and cumulatively, and no significant cumulative
         impact on public safety is anticipated. Public services, including emergency services, would need to be
         appropriately sized to accommodate the population at the time the Project was constructed and operated.
         In addition, the Project and the other LNG projects would be required to prepare a comprehensive
         Emergency Response Plan (per 49 CFR 192.615) and identify the cost sharing mechanisms for funding
         these emergency response activities. These plans would minimize the potential for impacts on public safety
         from individual projects or when considered cumulatively with the other concurrent projects. In the
         unlikely event that major incidents occur at multiple facilities concurrently, the acute cumulative demand
         on emergency services would likely be significant; however, assistance from emergency service providers
         from neighboring parishes and communities would serve to mitigate the demand. Therefore, we conclude



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         that the impact of the Project, when considered cumulatively with the other concurrent projects, would not
         have a significant impact on demand for public services.

         4.13.2.11 Climate Change

                 Several commentors raised concerns regarding Project emissions of GHGs and associated climate
         change impacts. Climate change is the variation in the Earth’s climate (including temperature, precipitation,
         humidity, wind, and other meteorological variables) over time. Climate change is driven by accumulation
         of GHGs in the atmosphere due to the increased consumption of fossil fuels (e.g., coal, petroleum, and
         natural gas) since the early beginnings of the industrial age and accelerating in the mid- to late-20th
         century.163 The GHGs produced by fossil-fuel combustion are carbon dioxide, methane, and nitrous oxide.

                  In 2017 and 2018, the U.S. Global Change Research Program164 issued its Climate Science Special
         Report: Fourth National Climate Assessment, Volumes I and II.165 This report and the recently released
         report by the Intergovernmental Panel on Climate Change, Climate Change 2021: The Physical Science
         Basis, state that climate change has resulted in a wide range of impacts across every region of the country
         and the globe. Those impacts extend beyond atmospheric climate change alone and include changes to
         water resources, agriculture, ecosystems, human health, and ocean systems. 166 According to the Fourth
         Assessment Report, the United States and the world are warming; global sea level is rising and oceans are
         acidifying; and certain weather events are becoming more frequent and more severe.167 These impacts have
         accelerated throughout the end of the 20th and into the 21st century.168

                 GHG emissions do not result in proportional local and immediate impacts; it is the combined
         concentration in the atmosphere that affects the global climate system. These are fundamental global
         impacts that feedback to local and regional climate change impacts. Thus, the geographic scope for
         cumulative analysis of GHG emissions is global, rather than local or regional. For example, a project 1
         mile away emitting 1 ton of GHGs would contribute to climate change in a similar manner as a project
         2,000 miles distant also emitting 1 ton of GHGs.

                 Climate change is a global concern; however, for this analysis, we focus on the existing and
         projected climate change impacts on the general Project area. The USGCRP’s Fourth Assessment Report
         notes the following observations of environmental impacts are attributed to climate change in the southeast
         region of the United States (USGCRP, 2017; USGCRP, 2018):


         163     INTERGOVERNMENTAL PANEL ON CLIMATE CHANGE, UNITED NATIONS, Summary for Policymakers of CLIMATE CHANGE
                 2021: THE PHYSICAL SCIENCE BASIS (Valerie Masson-Delmotte et al. eds.) (2021),
                 https://www.ipcc.ch/report/ar6/wg1/downloads/report/IPCC_AR6_WGI_SPM.pdf (IPCC Report) at SPM-5. Other
                 sources contribute to climate change, such as agriculture, forest clearing, and other anthropogenically driven sources.
         164     The U.S. Global Change Research Program is the leading U.S. scientific body on climate change. It comprises
                 representatives from 13 federal departments and agencies and issues reports every 4 years that describe the state of the
                 science relating to climate change and the effects of climate change on different regions of the United States and on
                 various societal and environmental sectors, such as water resources, agriculture, energy use, and human health.
         165     U.S. GLOBAL CHANGE RESEARCH PROGRAM, CLIMATE SCIENCE SPECIAL REPORT, FOURTH NATIONAL CLIMATE
                 ASSESSMENT | VOLUME I (Donald J. Wuebbles et al. eds) (2017),
                 https://science2017.globalchange.gov/downloads/CSSR2017_FullReport.pdf (USGCRP Report Volume I); U.S.
                 GLOBAL CHANGE RESEARCH PROGRAM, FOURTH NATIONAL CLIMATE ASSESSMENT, VOLUME II IMPACTS, RISKS, AND
                 ADAPTATION IN THE UNITED STATES (David Reidmiller et al. eds.) (2018),
                 https://nca2018.globalchange.gov/downloads/NCA4_2018_FullReport.pdf (USGCRP Report Volume II).
         166     IPCC Report at SPM-5 to SPM-10.
         167     USGCRP Report Volume II at 73-75.
         168     See, e.g., USGCRP Report Volume II at 99 (describing accelerating flooding rates in Atlantic and Gulf Coast cities).



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               •   The decade of 2010 through 2017 has been warmer than any previous decade since 1920 for average
                   daily maximum and average daily minimum temperature;
               •   since 1960, there have been lower numbers of days above 95 degrees F compared to the pre-1960
                   period but during the 2010’s the number of nights above 75 degrees F has been nearly double the
                   average over 1901 – 1960. The length of the freeze free season was 1.5 weeks longer on average
                   in the 2010s compared to any other historical period on record;
               •   number of days with 3 or more inches of rain has been historically high over the past 25 years. The
                   1990s, 2000s, and 2010s rank first, third and second, respectively in number of events;
               •   summers have been either increasingly dry or extremely wet, depending on location;
               •   due to a combination of sea level rise and soil subsidence, approximately 2,006 square miles of
                   land has been lost in Louisiana between 1932 and 2016, or about 23 square miles per year; and
               •   in southeast Louisiana, relative sea level is rising at a rate of 1 to 3 feet per 100 years.
                 The USGCRP’S Fourth Assessment Report notes the following projections of climate change
         impacts in the Project region (Southeast US) with a high or very high level of confidence 169 (USGCRP,
         2018):

               •   climate models project nighttime temperatures above 75 degrees Fahrenheit and daytime maximum
                   temperatures above 95 degrees Fahrenheit become the summer norm. Nights above 80 degrees
                   Fahrenheit and days above 100 degrees Fahrenheit, which are now relatively rare, would become
                   common;
               •   lowland coastal areas are expected to receive less rainfall on average, but experience more frequent
                   intense rainfall events followed by longer drought periods;
               •   coastal areas along the Gulf of Mexico are flat; therefore, expected sea level rises may cause
                   inundation in certain low-lying areas;
               •   drought and sea level rise will create stressful conditions for coastal trees that are not adapted to
                   higher salinity levels;
               •   other coastal species may also be stressed by sea level rise and warmer temperatures, prompting
                   migration out of the area; and
               •   tropical storms and hurricanes may become more intense.
                  It should be noted that while the impacts described above taken individually may be manageable
         for certain communities, the impacts of compound events (such as simultaneous heat and drought, wildfires
         associated with hot and dry conditions, or flooding associated with high precipitation on top of saturated
         soils) can be greater than the sum of the parts.170

                 The GHG emissions associated with construction and operation of the Project were identified and
         quantified in section 4.11.1. Project construction would result in 547,314 tpy of CO2e emissions (equivalent
         to 496,515 metric tpy of CO2e), inclusive of pipeline, terminal, barge, and commissioning emissions.

         169       The report authors assessed current scientific understanding of climate change based on available scientific literature.
                   Each “Key Finding” listed in the report is accompanied by a confidence statement indicating the consistency of
                   evidence or the consistency of model projections. A high level of confidence results from “moderate evidence (several
                   sources, some consistency, methods vary and/or documentation limited, etc.), medium consensus.” A very high level of
                   confidence results from “strong evidence (established theory, multiple sources, consistent results, well documented and
                   accepted methods, etc.), high consensus.” https://science2017.globalchange.gov/chapter/front- matter-guide/.
         170       USGCRP Report Volume II.



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         Emissions of GHGs are typically expressed in terms of CO2e.171 Direct GHG emissions from the operation
         of the Project would result in an annual increase of CO2e emissions of about 3,559,091 tpy (equivalent to
         3,228,754 metric tpy). The estimate for operational emissions is based on the facilities being operated at
         maximum capacity for 365 days per year, 24 hours per day. Additionally, the estimate includes fugitive
         and vented blowdown emissions and mobile emissions sources, including berthed vessels, auxiliary engines
         of vessels in transit, and maintenance dredging. Construction and operation of the Project would increase
         the atmospheric concentration of GHGs, in combination with past and future emissions from all other
         sources globally and would contribute incrementally to future climate change impacts. To assess impacts
         on climate change associated with the Project, Commission staff considered whether it could identify
         discrete physical impacts resulting from the Project’s GHG emissions or compare the Project’s GHG
         emissions to established targets designed to combat climate change.

                  To date, Commission staff have not identified a methodology to attribute discrete, quantifiable,
         physical effects on the environment resulting from the Project’s incremental contribution to GHGs.
         Without the ability to determine discrete resource impacts, Commission staff are unable to assess the
         Project’s contribution to climate change through any objective analysis of physical impact attributable to
         the Project. Additionally, Commission staff have not been able to find an established threshold for
         determining the Project’s significance when compared to established GHG reduction targets at the state or
         federal level. This EIS is not characterizing the Project’s GHG emissions as significant or insignificant
         because the Commission is conducting a generic proceeding to determine whether and how the Commission
         will conduct significance determinations going forward.172

                 To provide context for the Project emissions on a national level, we compare the Project’s GHG
         emissions to the total GHG emissions of the United States as a whole. At a national level, 5,222.4 million
         metric tons of CO2e were emitted in 2020 (inclusive of CO2e sources and sinks; EPA, 2021). The
         construction-related emissions of the Project could potentially increase CO2e emissions based on 2020
         levels by 0.01 percent. The operational emissions could potentially increase CO2e emissions based on the
         2020 national levels by 0.06 percent.

                 To provide context of the Project emissions on a state level, we compare the Project’s GHG
         emissions to the state GHG inventories. At the state level, energy related CO2 emissions in Louisiana were
         194.9 million metric tons of CO2e in 2019 (EIA, 2022). GHG emissions in Louisiana would result from
         the Project’s direct construction and operational emissions; no end-use is expected in Louisiana as the
         natural gas would be exported from the United States. Construction emissions from the Project could
         potentially increase CO2e emissions based on the Louisiana 2019 levels by 0.3 percent and Project
         operations could potentially increase emissions by 1.7 percent.

                 The state of Louisiana has established executive targets in 2020 to reduce net GHG emissions 26
         to 28 percent by 2025 and 40 to 50 percent by 2030, compared to 2005 levels. The targets also aim for net-
         zero GHG emissions by 2050. As indicated in table 4.11.1-7, direct GHG emissions from the operation of
         the Terminal would result in an annual increase in CO2e emissions of about 3,559,091 tpy (equivalent to




         171     GHGs are converted to CO2e by means of the global warming potential; the measure of a particular GHG’sability to
                 absorb solar radiation; and its residence time within the atmosphere, consistent with the EPA’s established method for
                 reporting GHG emissions for air permitting requirements that allows a consistent comparison with federal regulatory
                 requirements.
         172     See Order on Draft Policy Statements, 178 FERC ¶ 61,197 (2022).



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         3,228,754 metric tpy). This would represent 3.2 percent of Louisiana’s 2030 projected GHG emission
         levels, assuming the reductions from 2005 levels summarized above.173

                  The social cost of GHGs is an administrative tool intended to quantify, in dollars, estimates of long-
         term damage that may result from future emissions of CO2, nitrous oxide, and methane. We include a
         disclosure of the social cost of GHGs associated with the reasonably foreseeable emissions from the Project
         using the calculations described below. We note there is pending litigation challenging federal agencies’
         use of the Interagency Working Group (IWG) on Social Cost of Greenhouse Gases’ interim values for
         calculating the social cost of GHGs.174 In addition, the CEQ noted that it is working with representatives
         on the GHG IWG to develop additional guidance regarding the application of the Social Cost of Carbon
         tool in federal decision-making processes, including in NEPA analyses.175 The Commission has not
         determined which, if any, modifications are needed to render the Social Cost of Carbon tool useful for
         project-level analyses.176

                   As both EPA and CEQ participate in the IWG, we used the methods and values contained in the
         IWG’s current draft guidance but note that different values would result from the use of other methods.177
         Accordingly, we calculated the social cost of CO2, nitrous oxide, and methane. For the analysis, we
         assumed discount rates of 5 percent, 3 percent, and 2.5 percent,178 assumed the Project would begin service
         in 2026, and, based on Commonwealth’s statements that the Terminal would have a 30-year operational
         life,179 that the Project’s operational emissions would be at a constant rate throughout 2050, the last year of
         values provided by the IWG.180 Noting these assumptions, the emissions from construction and operation
         of this Project up to 2050 are calculated to result in a total social cost of GHGs equal to $909,939,824,
         $3,590,938,694, and $5,481,667,409, respectively (all in 2020 dollars).181 Using the 95th percentile of the

         173     Louisiana’s CO2 emissions in 2005 were 201.9 million metric tons; therefore, we consider the 2025 GHG emission
                 target to be 145.4 million metric tons (assuming a 28 percent reduction) and the 2030 target to be 100.9 million metric
                 tons (assuming a 50 percent reduction).
         174     Missouri v. Biden, 8th Cir. No. 21-3013; Louisiana v. Biden, No. 21-cv-1074-JDC-KK (W.D. La). On February 11,
                 2022, the U.S. District Court for the Western District of Louisiana issued a preliminary injunction limiting federal
                 agencies’ employment of estimates of the social costs of GHGs and use of the IWG’s interim estimates. On March 16,
                 2022, the U.S. Court of Appeals for the Fifth Circuit issued a stay of the district court’s preliminary injunction, finding
                 among other things that the federal agency respondent’s continued use of the interim estimates was lawful. Louisiana
                 v. Biden, No. 22-30087 (5th Cir. Mar. 16, 2022).
         175     Council on Environmental Quality’s May 27, 2021 Comments filed in Docket No. PL18-1-000, at 2.
         176     See Order Issuing Certificates and Approving Abandonment, 178 FERC ¶ 61,199 (2022) at fn 141.
         177     Technical Support Document: Social Cost of Carbon, Methane, and Nitrous Oxide Interim Estimates under Executive
                 Order 13990, Interagency Working Group on Social Cost of Greenhouse Gases, United States Government, February
                 2021 (IWG Interim Estimates Technical Support Document).
         178     IWG Interim Estimates Technical Support Document at 24. To quantify the potential damages associated with
                 estimated emissions, the IWG methodology applies consumption discount rates to estimated emissions costs. The
                 IWG’s discount rates are a function of the rate of economic growth where higher growth scenarios lead to higher
                 discount rates. For example, IWG’s method includes the 2.5% discount rate to address the concern that interest rates
                 are highly uncertain over time; the 3% value to be consistent with Office of Management and Budget Circular A-4
                 (2003) and the real rate of return on 10-year Treasury Securities from the prior 30 years (1973 through 2002); and the
                 5% discount rate to represent the possibility that climate-related damages may be positively correlated with market
                 returns. Thus, higher discount rates further discount future impacts based on estimated economic growth. Values
                 based on lower discount rates are consistent with studies of discounting approaches relevant for intergenerational
                 analysis. Id. at 18-19, 23-24.
         179     See accession no. 20220624-5157
         180     Tables A-1, A-2, and A-3 in the Technical Support Document: Social Cost of Carbon, Methane, and Nitrous Oxide
                 Interim Estimates under Executive Order 13990 provide the cost per year for each GHG through 2050.
         181     The IWG draft guidance identifies costs in 2020 dollars. Id. at 5 (Table ES-1).



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         social cost of GHGs using the 3 percent discount rate,182 the total social cost of GHGs from the Project is
         calculated to be $ $10,924,865,401 (in 2020 dollars).

                 We received comments from the public stating that indirect, upstream, and downstream greenhouse
         gas emissions constitute the vast majority of emissions that would be caused by the Project and therefore
         FERC should analyze these emissions.. The courts have explained that because the authority to authorize
         LNG exports rests with DOE, NEPA does not require the Commission to consider the upstream or
         downstream GHG emissions that may be indirect effects of the export itself when determining whether the
         related LNG export facility satisfies section 3 of the NGA.183 Nevertheless, NEPA requires that the
         Commission consider the direct GHG emissions associated with a proposed LNG export facility.184

                  We also received multiple comments from the public stating that FERC failed to take a hard look
         at the technological and economic feasibility of reducing the Project’s emissions through carbon capture
         and sequestration (CCS), or even to explain whether FERC agreed with Commonwealth’s assertion that
         CCS is economically infeasible in part due to a lack of existing infrastructure to support CCS. We received
         another comment stating that CCS is not a feasible solution to address climate change due to it being
         prohibitively expensive, energy-intensive, and unproven at scale and because it would promote additional
         fossil fuel production.

                 The DOE is a cooperating agency on this Project. DOE has conducted research and development
         to enhance technical understanding and reduce cost for capturing and safely using or storing CO 2. DOE
         has awarded funding to help projects working to accelerate the deployment of Carbon Capture Utilization
         and Sequestration. In implementing the Bipartisan Infrastructure Law, DOE is pursuing further
         advancements in all aspects of Carbon Capture Utilization and Sequestration.

                  To evaluate the feasibility of CCS on this Project, Commonwealth provided a BACT Analysis,
         which reviewed the feasibility of implementing carbon capture on this Project.185 Carbon capture involves
         CO2 capture, CO2 transport, and CO2 sequestration. CO2 capture can be accomplished through amine
         absorption technology or steam methane reforming. CO2 capture through amine absorption is feasible
         based on physical, chemical, and engineering principals, while steam methane reforming is not feasible.
         As Sierra Club notes, Commonwealth is proposing an amine-based absorber system that is essentially
         equivalent to that used for carbon capture for pipeline pretreatment, which is amenable to capture. The
         Project is therefore technically able to capture CO2. Commonwealth also states in their BACT analysis that
         although CO2 transport is feasible, there are no CO2 sequestration facilities beneath the Gulf of Mexico
         seabed in Cameron Parish or near the Project site. Nearby projects, such as the Gulf Coast Sequestration
         Project (onshore in southwest Louisiana between near the Sabine River on the Louisiana-Texas border and
         west of Lake Charles), the Hackberry Carbon Sequestration project (proposed for construction
         approximately 16 miles northwest of the Project and with the business plan of capturing, transporting, and
         storing CO2 primarily from Cameron LNG), and the Denbury Green Pipeline (a CO2 pipeline, which is 37
         miles from the Project) are still in development.. Therefore, Commonwealth states that due to a lack of
         sequestration infrastructure, carbon capture and sequestration are not feasible for the Project.



         182     This value represents “higher-than-expected economic impacts from climate change further out in the tails of the
                 [social cost of CO2] distribution.” Id. at 11. In other words, it represents a higher impact scenario with a lower
                 probability of occurring.
         183     See Freeport, 827 F.3d at 46-47; see also Sierra Club v. FERC, 867 F.3d 1357, 1373 (D.C. Cir. 2017) (Sabal Trail)
                 (discussing Freeport).
         184     See Freeport, 827 F.3d at 41, 46.
         185     See appendix F within the Agency Correspondence under accession no. 20210930-5255.



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         Commonwealth’s position notwithstanding, we note that other LNG projects in the general Project vicinity,
         such as Rio Grande LNG, LLC (Docket No. CP22-17) in Texas and Venture Global’s CP2 LNG project
         (Docket No. CP22-21), which would be constructed about 1.5 miles from the proposed Commonwealth
         LNG terminal, have proposed carbon capture and sequestration as feasible for their projects. To-date Rio
         Grande LNG has not provided details regarding the process it would use to implement CCS at its project.
         Venture Global states that CO2 would be routed from its acid gas removal unit for transport and
         sequestration to an offshore platform approximately 3 miles south of the project site in State of Louisiana
         waters.186 Venture Global states the pipeline alignment, platform location, and well location are in the
         siting stage of project development. Without additional information, we are unable to evaluate the
         feasibility of CP2 LNG’s sequestration site for the Commonwealth Project.




         186     See accession no. 20220722-5160.



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         5.0     CONCLUSIONS AND RECOMMENDATIONS

         5.1     CONCLUSIONS OF THE ENVIRONMENTAL ANALYSIS

                 The conclusions and recommendations in this final EIS are those of the FERC environmental staff.
         Our conclusions and recommendations will be further developed with input from the COE, USCG, DOE,
         DOT, EPA, FWS, and NMFS, as cooperating agencies. However, the cooperating agencies will present
         their own conclusions and recommendations in their respective Records of Decision or determinations. The
         cooperating agencies can adopt this EIS consistent with 40 CFR 1501.3 if, after an independent review of
         the document, they conclude that their requirements have been satisfied. Otherwise, they may elect to
         conduct their own supplemental environmental analyses.

                  We conclude that construction and operation of the Commonwealth LNG Project would result in
         limited adverse environmental impacts. Most adverse environmental impacts would be temporary or short-
         term during construction and operation, but long-term and permanent environmental impacts would also
         occur as part of the Project. As part of our analysis, we developed specific mitigation measures that are
         practical, appropriate, and reasonable for the construction and operation of the Project. We are, therefore,
         recommending that these mitigation measures be attached as conditions to any authorization issued by the
         Commission. Implementation of our recommended mitigation and the mitigation and minimization
         measures proposed by Commonwealth would avoid or reduce impacts to mostly less than significant levels.
         This determination is based on our review of information filed by Commonwealth, and further developed
         from data requests, scoping, literature research, and contacts with federal agencies. A summary of the
         Project impacts and our conclusions are presented below by resource.

         5.1.1   Geologic Resources

                  The Project exists within a limited range of geologic conditions and resources. The topography at
         the Terminal site is primarily flat, ranging from 0 to 8 feet NAVD. Topographical relief throughout the site
         is limited to chenier ridges and shallow wetland ponds. To construct the Terminal in accordance with
         federal safety regulations, Commonwealth would raise site topographic elevations to between 5 and 8 feet
         NAVD using general and engineered fill sourced off-site from state-approved locations free of
         contamination. The Pipeline and associated aboveground facilities would be constructed inland with the
         same topography and geologic characteristics as the Terminal (though no chenier ridges are present along
         the Pipeline right-of-way). The topography of the Pipeline right-of-way is flat, with topographical relief
         limited to shallow wetland ponds and ditches, consisting of Holocene clay and silt that are underlain by
         Pleistocene-age soils encountered 25 feet to 35 feet below ground surface.

                 Oil and natural gas resources are prevalent in Louisiana and offshore of its coastline. However,
         natural gas or unspecified product wells within 0.25 mile of the Project site are dry and plugged, plugged
         and abandoned, or inactive. The Project would not affect active mining or nonfuel mineral resources would
         during construction or operation.

                  Generally, the potential for geologic hazards such as earthquakes,soil liquefaction, landslides, or
         fault-induced subsidence to significantly affect construction or operation of the Project is low. The potential
         for impacts on the Terminal due to geologic hazards discussed in the Reliability and Safety section. The
         potential impacts on the Pipeline are discussed here. Increased storm activities, shortage of sediment
         supply, and sea level rise have made shoreline erosion a major concern in southern Louisiana. We received
         numerous scoping comments regarding the potential susceptibility of the Project to coastal erosion. The
         Project could potentially be affected by erosion of the coast of the Gulf of Mexico immediately south of the
         Terminal and erosion of the western shoreline of the Calcasieu Ship Channel on which the Terminal would
         be constructed. The average shoreline erosion rate in Cameron Parish was 15 feet per year between 1998



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         and 2009. However, the proposed southern edge of the Terminal is more than 900 feet from the Gulf of
         Mexico shoreline and the Pipeline would be more than 0.5 mile inland. Therefore, even at the erosion rate
         of 30 feet per year, the Pipeline would not be affected by erosion of the Gulf of Mexico shoreline within
         the 30-year design lifespan of the Project.

                  Vessel wakes and propeller thrust from the large commercial vessels that transit the Calcasieu Ship
         Channel daily can exacerbate the shoreline erosion of unprotected portions of the riverbank, which occurs
         naturally due to winds and tides. However, stabilizing and armoring the shoreline with seawalls and riprap
         can moderate such impacts. The northern extent of the Terminal site shoreline is currently protected by a
         concrete bulkhead, and the southern extent is protected by an existing riprap revetment that extends to the
         mouth of the Calcasieu River and connects to the western Calcasieu River Jetty. Commonwealth would
         stabilize the shoreline of the marine facility, the only area that currently has exposed shoreline, with a sheet
         pile bulkhead and riprap. Consequently, the full extent of the Terminal site shoreline on the Calcasieu Ship
         Channel would be protected from erosion. The portion of the Pipeline closest to both the Gulf of Mexico
         and Calcasieu Ship Channel shoreline is where the Pipeline would enter the Terminal. This portion of the
         Pipeline would be no closer than approximately 0.5 mile from either shoreline and therefore would not be
         susceptible to impacts from coastal erosion during the lifespan of the Project.

                 The full extent of the proposed 3.0-mile-long pipeline would be buried, protecting it from direct
         physical forces related to waves, wind, and floodwaters. In areas of open water or where the right-of-way
         is generally inundated, the Pipeline would be fitted with a concrete coating as a buoyancy countermeasure.
         This would further protect the Pipeline from the effects of floodwaters.

                  Commonwealth has proposed to use the HDD method to cross Highway 27/82 and a roadside ditch
         immediately adjacent to the highway. The total distance of the HDD would span approximately 1,940 feet.
         Commonwealth’s risk assessment of the hydraulic fracture and drilling fluid surface release potential for
         the Highway 27/82 HDD indicates that, based on the proposed depth of cover, the diameter of the final
         reamed hole, and the low shear-strength fine-grained soils, typical of coastal marsh environments, that are
         expected to be present along the HDD alignment, there is a “moderate” risk of an inadvertent release under
         Highway 27/82 and subsequent highway settlement on the order of one inch. For the remainder of the HDD
         alignment, including the roadside ditch waterbody adjacent to Highway 27/82, Commonwealth’s
         assessment indicates the risk of an inadvertent release is “high” to “very high.” In response to our
         recommendation in the draft EIS, Commonwealth filed a revised HDD Contingency Plan, which provides
         a detailed approach for reducing the potential for inadvertent releases along the HDD alignment and a
         detailed plan for responding to inadvertent releases in wetland and waterbodies. Additionally,
         Commonwealth is engaging the LDOTD to develop an alternative plan for crossing Highway 27/82 if an
         unacceptable amount of settlement beneath Highway 27/82 occurs during construction despite the
         approaches presented in its revised HDD Contingency Plan. To avoid environmental impacts in the event
         LDOTD requires Commonwealth to cross Highway 27/82 at a different location if settlement beneath the
         highway is deemed unacceptable, we recommend in section 4.1.5.6 that Commonwealth complete and file
         with the Secretary an alternative plan for crossing Highway 27/82 that has been developed in consultation
         with the LDOTD and successfully complete the HDD or alternative plan for crossing Highway 27/82 prior
         to the start of construction of the remainder of the Pipeline right-of-way.

                 With implementation of our recommendation and Commonwealth’s revised HDD Contingency
         Plan, we conclude that impacts on geological resources would be adequately minimized and the potential
         for impacts on the Project from geologic hazards also would not be significant.

         5.1.2   Soils

                 The soils of the Project site are relatively uniform. All soils at the Project site are classified as
         hydric soils with high compaction potential and low to moderate potential to be eroded by water or wind.


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         Construction of the Terminal would impact 118.8 acres of soils. The impacts on 105.7 acres would be
         permanent. Construction of the Pipeline would impact 48.4 acres, of which 0.3 acre would be permanent.

                  Commonwealth assessed the Project site for potentially contaminated sediments. A Phase I
         Environmental Site Assessment identified fill and dredged material near the north end of the proposed
         marine facility. Therefore, Commonwealth conducted an Inland Testing Manual Tier I Evaluation, which
         consists of a comprehensive analysis of existing information and data from field evaluations conducted in
         the Project area, to assess whether there are known instances of contaminated soils in the Project area. The
         results of the evaluation indicate there are no known contaminated soils present.

                  Four locations (13 individual sites) of potential contamination were identified within 0.125 mile of
         the Terminal; however, none of the sites are within the proposed construction work area and the regulatory
         status of the sites are such that no further action is required to remediate the locations. Therefore, the
         Project is not anticipated to be affected by any of the identified sites. Consequently, the Terminal site would
         not impact contaminated soils and sediments.

                If construction activities were to uncover any type of contamination, Commonwealth would
         coordinate with the appropriate agencies, and follow the procedures in its Unanticipated Contaminated
         Sediment and Soils Discovery Plan. We have reviewed this plan and found it acceptable.

                  All 48.4 acres of soils that the Pipeline would cross are classified as compaction prone.
         Commonwealth would use low-ground pressure construction equipment and geo-textile fabric or mats
         during construction to reduce potential rutting and compaction, where appropriate. Commonwealth would
         implement the FERC’s Plan and Commonwealth’s Procedures during construction and restoration of the
         Pipeline construction right-of-way. Accordingly, the right-of-way would be graded and restored to natural
         site contours. Restoration would include deep tilling in areas of compaction and Commonwealth would
         repair rutted areas prior to seeding, mulching, and final revegetation.

                 Construction and operation of the Project would convert about 106 acres of hydric and compaction-
         prone soils to industrial/commercial use. This constitutes a permanent, but not significant, impact due to
         the abundance of similar soil types in the vicinity of the Project. Based on the overall soil conditions present
         in the Project area and the Project’s proposed construction and restoration methods, we conclude that
         construction and operation of the Project would not significantly alter the soils of the region.

         5.1.3     Water Resources

         5.1.3.1    Groundwater Resources

                  Although the Project is within the Chicot aquifer system (an EPA designated sole-source aquifer),
         its location is within a coastal area that does not provide recharge to any major Louisiana freshwater
         aquifers; therefore, we conclude the Project would not affect the availability or quality of water within the
         sole-source aquifer. Additionally, Commonwealth conducted several Phase I Environmental Site
         Assessments to gauge the potential for groundwater contamination in the vicinity of the Project. The results
         of these extensive database searches indicate no evidence of groundwater contamination at or within the
         vicinity of the Project location.

                  Project activities with the greatest potential to affect groundwater include excavation, pile
         installation, potential spills of hazardous materials, and groundwater withdrawals. Excavations for
         construction have the potential to intercept groundwater, thereby affecting groundwater quality and/or
         quantity. Although these excavations would generally be shallow (e.g., facility foundation piles driven to
         approximately 120 feet below ground level), groundwater throughout much of the Terminal site is expected
         to be at or near the ground surface. Therefore, dewatering may be required during excavation and would



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         occur in accordance with the FERC Plan and Commonwealth’s Procedures. A potential impact associated
         with driven piles is the cross contamination of lower permeable aquifer zones through downward vertical
         seepage from one layer to another. The piles proposed for the Project facilities are 80 to 120 feet long and
         would not penetrate the confining unit, which is greater than 200 feet under the Project site. At this depth,
         the piles would stay within the upper (shallow) permeable zone of the Chicot aquifer. Subsurface materials
         above the aquifer consist of clay, silty clay, and sandy clay, which reduce permeability and limit both
         vertical and horizontal water flow. Due to the proposed depth of pile foundations and the characteristics of
         the material above the Chicot aquifer, we conclude the potential for cross-contamination of groundwater is
         low.

                   An accidental release of hazardous substances, such as fuels, lubricants, and coolants while
         constructing or operating the Terminal could potentially impact groundwater. Commonwealth would
         construct and operate the Terminal in accordance with its SPAR Plan. The SPAR Plan includes planning
         and measures for spill avoidance; general BMPs, including refueling procedures, lists of required spill
         response equipment to be kept on-site, and proper management of typical fuels, lubricants, and hazardous
         materials management; general spill response procedures; reportable spill response procedures; cleanup
         requirements; and waste storage and disposal requirements. We have reviewed the SPAR Plan and found
         it to be acceptable.

                   Commonwealth would use surface water from the Calcasieu Ship Channel for hydrostatic testing
         of Project components such as the LNG storage tanks and the pipeline. Commonwealth would use
         municipally sourced water from Water District 10 for dust control and needs for fresh and potable water
         during construction and operation. Water District 10 has informed Commonwealth that it has the
         infrastructure and water availability to provide water to the Project site without affecting other users in the
         district.

                  Overall, we conclude that significant impacts on the groundwater resources underlying the
         Terminal would not occur due to a lack of active public or private drinking water supply wells within 150
         feet of the site’s construction work area; construction of the proposed Project would avoid crossing aquifer
         confining layers; and surficial mitigation measures that Commonwealth would implement in the event of a
         hazardous material spill. Further, the Terminal site is underlain by multiple strata of dense clay content,
         which provide a restrictive layer to slow or prevent the downward migration of surface and near-surface
         waters or contaminants, thereby providing a natural protective barrier to groundwater quality.

         5.1.3.2   Surface Water

                  Surface water resources associated with the Project include the Calcasieu Ship Channel, two
         unnamed waterbodies within the 118.8-acre Terminal site workspace, and five unnamed waterbodies along
         the Pipeline right-of-way. The primary impacts on surface waters related to construction and operation of
         the Terminal would result from dredging activities, marine traffic, stormwater runoff, water use, hydrostatic
         testing, and accidental spills or other releases of hazardous substances.

                  To create a recessed berthing area for the marine facility, Commonwealth would dredge the
         Calcasieu Ship Channel at the Terminal location using a barge-mounted cutterhead suction dredge.
         Commonwealth would dredge about 1.73 million cubic yards of material during construction and about
         152,000 cubic yards from a 47-acre area during each maintenance dredge. During construction and the
         subsequent maintenance dredges, the dredged material would be primarily transported via floating pipeline
         to an approved DMPA. In-water dredging would increase the rates of turbidity and sedimentation in the
         Calcasieu Ship Channel and the DMPA. In April 2021, Commonwealth conducted Project site-specific
         turbidity modeling to estimate the potential levels of water column turbidity that could occur during
         construction and maintenance dredging. The modeling report indicates maximum turbidity concentrations
         associated with dredging would range, depending on the velocity of the tidal flow during dredging, from


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         approximately 122 to 128 mg/L adjacent to the cutter head; 3 to 51 mg/L at 1 meter above the cutter head;
         and 0.1 to 10 mg/L at 2 meters above the cutter head. Background turbidity concentrations in the Calcasieu
         River are estimated to range between 10 and 45 mg/L. Based on dredging literature published by NMFS
         and Commonwealth’s site-specific modeling, we conclude the proposed dredging at the Terminal site
         would increase suspended sediment and turbidity levels at the Terminal site in the immediate vicinity of
         the dredging activity; however, sediment and turbidity levels would be indistinguishable from ambient
         water conditions outside of a small radius surrounding the dredge cutterhead. Therefore, we conclude that
         dredging impacts on surface waters at the Project site would be temporary and not significant.

                  Marine traffic associated with construction and operation of the Terminal could impact surface
         water resources as a result of ship movements, including propeller use, wave action, and ballast water
         exchanges. Throughout construction of the Project, general cargo carrier vessels, barges, and support
         vessels would deliver heavy equipment and materials to the Terminal. The marine construction fleet would
         likely include vessels such as dredge barges, heavy lift cranes, derrick crane barges, deck barges, tugs, and
         support vessels. The support vessels anticipated include booster pump barges, tender boats, work barges,
         material barges, fuel barges, personnel shuttles, and survey vessels. Commonwealth estimates an average
         of seven supply barges per week would call at the Terminal site during construction. Commonwealth
         anticipates an average of three LNG carriers per week (156 LNG carriers per year) would call on the
         Terminal during operations.

                 Increased marine traffic related to the Project could impact water quality through an increased
         likelihood of shoreline erosion due to vessel wakes. Shoreline stabilization to prevent erosion related to
         vessel wakes would be achieved using a combination of sheet piles and rip rap along the entire Calcasieu
         Ship Channel-facing shoreline within the LNG Facility. Areas adjacent to the proposed Terminal are
         already armored for erosion. Use of the channel by barges and support vessels to deliver materials during
         construction of the Terminal facilities would be consistent with the use of this active shipping channel, and
         associated impacts on water quality would be minor.

                  The LNG carriers and some construction delivery vessels would discharge ballast water into the
         Calcasieu Ship Channel during LNG loading in accordance with federal regulations. USCG regulations
         require that all vessels that would discharge ballast water into U.S. waters must either ensure the ballast
         water meets the ballast water discharge standard as defined in 33 CFR 151.2030(a), be fitted with approved
         ballast water treatment systems (as described in 33 CFR 151.2025(a)(3)), or ballast exclusively with water
         from a U.S. public water system (33 CFR 151.2035). The ballast water discharged at the LNG carrier berth
         would be composed mainly of Gulf of Mexico ocean water. Because the proposed Terminal site and
         berthing area are within the lower Calcasieu River Ship Channel (about 0.2 mile from the Gulf of Mexico),
         potential differences in salinity, dissolved oxygen, and pH resulting from ballast water discharge are
         expected to be minor and may not be measurable under normal tidal cycles. Furthermore, Commonwealth
         would ensure any visiting vessels possess documentation to demonstrate compliance with ballast water
         regulations and implement BMPs prior to allowing any ballast water to be discharged at the LNG carrier
         berth. Therefore, we conclude that significant impacts on surface waters would not occur as a result of
         ballast water discharge.

                 Commonwealth would grade the Terminal site such that rainwater runoff would flow from north
         to south into a constructed stormwater retention and settling pond at the south end of the Terminal.
         Commonwealth would divert runoff from process equipment areas into drainage piping leading to oil-water
         separators to remove hydrocarbons from the runoff prior to pumping it into the retention and settling pond.
         Commonwealth would subsequently pump stormwater from the retention pond over the Terminal’s storm
         protection wall and into the Calcasieu Ship Channel. Given that the stormwater retention system is designed
         to accommodate significant storm events and minimize erosion, we conclude impacts from stormwater
         runoff at the Terminal would be minor. Further, Commonwealth would construct its stormwater system to
         be in compliance with LPDES permit conditions.


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                 Commonwealth would use surface water from the Calcasieu Ship Channel for LNG storage tank
         hydrostatic testing. Hydrostatic testing of the LNG storage tanks would require about 9.7 million gallons
         of water. The volumetric flow of the Calcasieu Ship Channel is approximately 115 cubic meters per second
         and water for hydrostatic testing would be withdrawn at a rate of less than 0.23 cubic meters per second.
         The anticipated water withdrawal is estimated at about 0.2 percent of the volumetric flow of the Calcasieu
         River. Withdrawals would be only as needed, on an infrequent basis and only during construction.
         Therefore, we conclude the withdrawal of water from the Calcasieu Ship Channel for hydrostatic testing
         would have minimal impacts on surface water.

                  Construction and operation of the Terminal, as well as marine traffic to and from the Terminal,
         have the potential to adversely impact water quality in the event of an accidental release of a hazardous
         substance such as fuel, lubricants, coolants, or other material. Commonwealth would implement the
         measures outlined in the FERC’s Plan and Commonwealth’s Procedures to minimize the likelihood of a
         spill and would implement its SPAR Plan in the event of a spill. Additionally, LNG carriers are required
         to develop and implement a Shipboard Oil Pollution Emergency Plan (SOPEP), which includes measures
         to be taken when an oil pollution incident has occurred, or a ship is at risk of one. Commonwealth would
         further minimize the risk of a spill by implementing general preventative BMPs, including personnel
         training, equipment inspection, secondary and spill containment structures for fuels, vehicles, or equipment,
         and refueling procedures

                 Commonwealth would use open-cut methods to install the Pipeline across the three major
         waterbodies along the right-of-way and HDD methods for the crossings of the two intermediate
         waterbodies. Commonwealth has also proposed to repair an existing but hurricane-damaged bridge to cross
         an intermediate waterbody at MP 2.9 as part of its temporary access road to transport equipment to the
         Pipeline HDD exit point. Crossing the waterbodies using open-cut methods and repairing the damaged
         bridge for the access road would cause temporary increases in sediment and turbidity and risk spills of
         hazardous liquids within the waterbodies. Commonwealth would implement measures outlined in its SPAR
         Plan and Procedures to minimize the potential impacts of sediment and spills of hazardous materials in
         waterbodies. Crossings using HDD methods would reduce the potential for impacts. However, use of the
         HDD method could result in an inadvertent release of drilling fluids in the waterbodies, which could
         temporarily impact water quality. Commonwealth would follow protocols in its revised HDD Contingency
         Plan that include a detailed approach for responding to inadvertent surface releases of drilling fluids in the
         waterbodies under which the HDD would pass..

                 Construction and operation of the Project would impact water quality within the vicinity of the
         Project resulting from dredging, maintenance dredging, marine traffic, stormwater runoff, and pipeline
         waterbody crossings. However, through implementation of Commonwealth’s Procedures, SPAR Plan,
         revised HDD Contingency Plan and general BMPs, potential construction and operation impacts on surface
         waters would be adequately minimized and temporary or avoided and would not be significant.

         5.1.4   Wetlands

                 A total of 95.9 acres of wetlands would be impacted by construction of the Terminal, of which 89.6
         acres would be permanently impacted for operations. The wetlands that would be permanently impact
         include EEM (65.8 acres), EFO (14.3 acres), and ESS (9.5 acres) wetlands. Additionally, 6.3 acres would
         be temporarily impacted for a construction and laydown area within EEM wetlands. Construction of the
         Pipeline would disturb 43.6 acres of wetlands, all EEM communities, of which 0.3 acre would be
         permanently impacted by aboveground facilities. Ninety percent of the Pipeline right-of-way would cross
         wetlands and the other 10 percent of the right-of-way would cross open water (drainage ditches and ponds).
         Commonwealth would construct one temporary access road at the south end of the Pipeline right-of-way
         and otherwise use uses low-ground-pressure equipment and equipment mats during construction.



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                  We received multiple comments from the public expressing concern that construction of the
         Terminal would negatively alter surface water flow of the wetlands surrounding the Project site. As part
         of its application to the FERC, Commonwealth conducted a Hydraulic Impact Analysis study to determine
         how best to maintain water flow through the wetlands. Based on the findings of this study, Commonwealth
         proposes to construct a culvert extending from the west side of the Terminal, along its southern edge, and
         into the Calcasieu River. The preliminary design of the structure includes a variable crest weir at its outlet
         at the Calcasieu River that would allow it to maintain the natural drainage patterns of the existing wetlands.
         Further, Commonwealth would design the outlet structure to allow tidal inflow into the culvert and
         surrounding wetlands (i.e., the structure would not contain a backflow prevention device at the outlet) and
         would contain continuously open fish bays/slots that would allow aquatic fauna to access the culvert and
         surrounding wetlands. Commonwealth would consult with state and federal agencies, including OCM,
         NMFS and the COE, to confirm the final design of the structure.

                  Commonwealth would restore the 6.3 acres of temporarily impacted wetlands at the Terminal site
         by planting native wetland vegetation in accordance with Commonwealth’s Procedures and Workplace
         Restoration Plan. Commonwealth proposes to construct the Pipeline using a 110-foot-wide construction
         right-of-way. After construction, Commonwealth proposes to maintain access to a 3.5-foot-wide permanent
         right-of-way. Commonwealth would restore the entire Pipeline right-of-way (i.e., including the permanent
         right-of-way) with native wetland vegetation in accordance with Commonwealth’s Procedures and revised
         Workplace Restoration Plan. Commonwealth would monitor and record the success of wetland
         revegetation annually for the first three years following construction. If revegetation does not meet the
         prescribed restoration criteria specified in Commonwealth’s Procedures within three years of construction,
         Commonwealth would develop a remedial revegetation and monitoring plan, in consultation with a
         professional wetland ecologist, to continue revegetation efforts and file a report annually documenting
         progress until revegetation is successful.

                 Commonwealth would use the HDD method to cross Highway 27/82 and adjacent waterbodies. As
         noted above, Commonwealth’s revised HDD risk assessment indicated the likelihood of an inadvertent
         release of drilling fluids into the EEM wetlands along the HDD alignment is “high” to “very high.”
         Commonwealth would follow protocols in its revised HDD Contingency Plan, which provides a detailed
         approach for reducing the potential for an inadvertent release of drilling mud, a detailed contingency plan
         for responding to an inadvertent release of drilling mud in wetland habitat, and a plan to mitigate for any
         adverse impacts on wetlands.

                  We conclude that through implementation of the measures in Commonwealth’s revised Workspace
         Restoration Plan, Project-specific Procedures, and revised HDD Contingency Plan, construction impacts
         on wetlands related to the Terminal construction and laydown area and Pipeline construction would be short
         term and not significant. Commonwealth would comply with the CWA and mitigate for permanent impacts
         on 89.9 acres of wetlands through purchase of wetland mitigation bank credits at an amount directed by the
         COE and OCM. We conclude this would sufficiently offset the overall impacts on wetlands of the United
         States to less than significant levels.

         5.1.5   Vegetation

                 The primary vegetation communities in the Project area are EEM, ESS, and EFO wetlands with
         brackish or intermediate salinity. Additionally, during scoping, the FWS and LDWF expressed concern for
         impacts on chenier communities, which are considered communities of special concern in Louisiana, in the
         Project area. Cheniers provide storm barriers, limit saltwater intrusion, and provide stopover sites for
         migratory birds.

                The Project would impact 142.0 acres of vegetation (not including open water) during construction,
         of which 92.4 acres would be permanently impacted during operation. The Terminal would impact 98.4


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         acres during construction, of which 92.1 acres would remain impacted during operation. The Pipeline
         would impact 43.6 acres during construction, of which 0.3 acre would remain impacted during operation.
         The majority of the construction impacts would occur in EEM wetlands (82 percent). The remaining
         vegetation types (EFO wetland and cheniers, ESS wetland, and open) would each comprise 10 percent or
         less of the construction impacts. Operation would primarily impact EEM wetlands (72 percent), EFO
         wetlands and cheniers (16 percent), and ESS wetlands (10 percent). EEM wetlands would comprise the
         entirety of the temporarily impacted vegetation communities. Commonwealth would restore the
         temporarily impacted vegetation as described in the wetlands section. Commonwealth would comply with
         the CWA and mitigate for the permanent loss of wetland vegetation through purchase of wetland mitigation
         bank credits at an amount determined by the COE and OCM. Therefore, we conclude that Project impacts
         on vegetation resources would be short-term and minor or adequately mitigated.

                  Commonwealth would use measures outlined in our Plan and Commonwealth’s Procedures and
         Invasive Species Management Plan to the minimize risk of invasive species proliferating at the Project site
         and would monitor disturbed areas for invasive species. Commonwealth has worked with the NRCS and
         LDWF to establish appropriate restoration seed mixes, weed and invasive plant treatment methods, and
         monitoring protocols. Additionally, Commonwealth would also implement the restoration measures in its
         Workspace Restoration Plan, which includes planting and monitoring a mixture of gulf cordgrass, smooth
         cordgrass, saltmeadow cordgrass, and saltgrass seedlings at 36-inch spacing within the temporary
         construction and laydown area. Eight chenier areas were identified within the Project area, all within the
         Terminal site. Seven of the chenier areas displayed wetland soil and hydrology characteristics and were
         also considered forested marsh. One chenier area was in an area identified as upland. Due to the similarities
         in vegetation composition between the wetland and upland chenier areas, all chenier areas were grouped
         together in the forested marsh/chenier vegetation class used for impact calculations. Permanent impacts
         from the Terminal would total 13.3 acres of chenier and represent a small portion of the overall surrounding
         chenier community. A total of 23.6 acres of existing chenier would remain within the Terminal property.
         The LDNR reports over 2,000 acres of existing chenier habitat in coastal southwest Louisiana. LDWF
         recommended that Commonwealth restore and preserve unaffected chenier habitat in the vicinity of the
         Project to mitigate for unavoidable permanent impacts on chenier habitat at the Project site. Accordingly,
         Commonwealth has committed to eradicating feral hogs from the Terminal property and installing a hog
         exclusion fence around the perimeter of the Terminal property and the 23.6 acres of chenier habitat that
         would not be affected by construction. Commonwealth would preserve the chenier areas on the Terminal
         property for the life of the Project (anticipated to be 30 years). The relatively small permanent loss of
         chenier and the anticipated mitigation would result in a minor overall reduction in acreage, but potentially
         higher value cheniers within the Project area would be preserved. Therefore, we conclude that Project
         impacts on cheniers would not be significant.

         5.1.6   Wildlife Resources

                  Wildlife habitats associated with the Project site are dominated by coastal wetlands, scrub/shrub
         and forested wetlands, areas of open water, cheniers, open land, and beach. The Terminal site consists of
         each of these habitat types, whereas the proposed Pipeline right-of-way is entirely comprised of EEM
         wetlands. Generally, these habitat types support a diverse ecosystem that provides nutrients, cover, shelter,
         and water for a variety of terrestrial and aquatic wildlife species, including waterfowl, wading birds, nesting
         birds, raptors, mammals, fish, reptiles, and amphibians.

                 Project impacts on wildlife habitat broadly consist of replacing the vegetated and open water habitat
         with surfacing materials such as concrete or gravel. Potentially suitable cover, nesting, and foraging habitat
         for some wildlife species would be reduced due to clearing and removal of vegetation. Individuals of
         smaller, less mobile wildlife, such as reptiles and amphibians, could be inadvertently killed by construction
         equipment. More mobile species, such as adult birds and larger mammals, may relocate to similar habitats



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         nearby when construction activities commence. The permanent reduction in available habitat within the
         area as well as the influx of individuals to other nearby areas may increase population densities of certain
         species, resulting in increased inter- and intra-specific competition and reduced reproductive success of
         individuals.

                 Other indirect effects on wildlife may include increased noise and light during construction.
         Construction noise could force individuals to move out of the Project area and expend more energy finding
         replacement habitat. This disruption of normal behavioral patterns could lead to reduced feeding, increased
         risk of predation, delayed reproduction, and increased juvenile mortality. Increased lighting associated
         with Project construction could also result in animal displacement, including the avoidance or abandonment
         of an area. The level of displacement is dependent on the sensitivity of the species and the surrounding
         vegetation types. Most of these construction impacts would only last for the duration of construction;
         however, there would be some displacement resulting from permanent habitat loss.

                  Operation of the Terminal would also result in increased noise, lighting, and human activity that
         could disturb wildlife in the area. The potential disturbance to wildlife would be similar as those described
         for construction. However, much of the wildlife known to be present at the site (e.g., racoons, nutria,
         waterfowl) are common species that are habitat generalists (with the notable exception of the eastern black
         rail) and are generally tolerant of anthropogenic. Other wildlife may be driven away from the site and not
         return. Impacts on wildlife related to operation of the Pipeline would primarily include periodic noise
         associated with maintenance vehicles and human activity near the aboveground facilities. However, these
         impacts would be temporary and infrequent. Therefore, it is anticipated that operational impacts of the
         Project on wildlife would be minimized to the extent practical and would not have any population level
         effects on the wildlife.

                 There are 44 Birds of Conservation Concern species that have been documented in or are probable
         to occur in the vicinity of the proposed Project. Additionally, the Project location is entirely within the
         Chenier Plain IBA, one of Louisiana’s largest IBAs. The extensive wetlands in this IBA are home to over
         360 species of birds, including ducks, egrets, geese, rails, raptors, wading birds, and shorebirds. A small
         but disproportionately important feature of this IBA is the Louisiana Chenier Plain. As noted above,
         cheniers provide important stopover habitat for neotropical migratory birds.

                 Commonwealth would attempt to clear vegetation at the Terminal and Pipeline right-of-way to
         avoid the migratory bird nesting season (March 1 to July 31). If the construction schedule requires clearing
         during the migratory bird nesting season, Commonwealth would consult with the FWS regarding
         appropriate methods to minimize impacts on migratory birds. Additionally, prior to construction,
         Commonwealth would conduct field surveys for the presence of colonial nesting waterbird rookeries,
         following FWS and LDWF guidance. Although there are currently no known rookeries in the vicinity of
         the Project site, if an active rookery is identified, Commonwealth would comply with FWS and LDWF
         requirements for construction activities during nesting season.

                  Commonwealth has also committed to implementing FWS-recommended measures to avoid or
         reduce potential flare impacts on migratory birds during Terminal operations. Commonwealth would
         follow its Facility Lighting Plan to minimize, to the extent feasible for safe operations, light pollution
         impacts on migratory birds. Given the extent of industrial activities and lighting to the north and east on
         the Calcasieu Ship Channel, we conclude Commonwealth’s proposed flare structures, flaring activities, 187
         and artificial lighting at the Terminal would not represent a significant impact on migratory birds.


         187     Outside of emergency situations, Commonwealth estimates flaring would be required for approximately 30 days during
                 startup of the Terminal and then for no more than 12 hours during the first year of operation and 6 hours per year in
                 subsequent years.



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                 As noted, Commonwealth has proposed a compensatory wetland mitigation plan that requires
         replanting temporarily disturbed wetlands and purchasing wetland bank mitigation credits at an amount
         determined by the COE and OCM. Commonwealth has also proposed eradicating feral hogs from the
         chenier habitat at the Terminal site that would not be affected by construction and subsequently fencing the
         chenier habitat to preserve it from human and hog impacts for the life of the Project. The proposed
         compensatory wetland mitigation would preserve migratory bird habitat, in the form of wetlands, in the
         general Project vicinity and removing hogs from the cheniers would promote the recovery of an important
         migratory bird habitat type. Given Commonwealth’s proposed mitigation and its commitment to
         implementing the construction and operation BMPs noted above, we conclude the Project would not
         represent a significant impact on migratory birds.

         5.1.7     Aquatic Resources and Essential Fish Habitat

         5.1.7.1    Aquatic Resources

                  Construction and operation of the Project would impact the estuarine waters of the Calcasieu Ship
         Channel at the mouth of the Calcasieu River, a tidal slough that flows across the Project footprint from its
         west side and into the Calcasieu Ship Channel to the east, and tidally influenced wetlands present within
         the footprint of the Terminal and the Pipeline. Each of these resources likely provides year-round habitat
         for various aquatic species.

                  The primary impacts on aquatic resources during construction and operation of the Terminal
         include those associated with dredging and construction of the marine facility (including pile installation).
         Impacts on aquatic resources resulting from construction and operation of the Pipeline could include loss
         or modification of habitat, increased sedimentation and turbidity levels, and alteration of vegetative cover
         resulting from waterbody crossings; entrainment of small organisms during withdrawal of hydrostatic test
         water; and introduction of pollutants resulting from inadvertent spills or leaks of hazardous materials.

                  Dredging would temporarily increase turbidity, and suspended solids within the water column.
         Increases in turbidity and suspended solids can affect the physiology and behavior of marine organisms.
         Impacts on aquatic resources due to increased turbidity and suspended solid levels would vary by species;
         however, the aquatic resources within the Project area are likely accustomed to regular fluctuations in
         turbidity levels. On this basis, we conclude that impacts on aquatic resources from dredging-related
         turbidity and sediment resuspension would be localized, temporary, and minor.

                 Dredging would remove the estuarine bottom sediments used as habitat by some aquatic species.
         Although the dredging-related impacts would be greatest on the benthic community within the dredging
         area, impacts on fish and shrimp species, such as red drum and brown and white shrimp, could also occur.
         However, these impacts are expected to be localized and temporary.

                  Generally, shallow habitats (less than 60 feet) that frequently experience disturbances from waves,
         wind, and/or currents typically contain early successional species assemblages that reestablish themselves
         relatively quickly after a disturbance. Therefore, we conclude that the impacts on the benthic community
         due to the initial and maintenance dredging of the marine facility would be temporary and minor.

                  Dredging of the marine facility and subsequently placing the dredge spoils at a non-jurisdictional
         BUDM site approximately 6 miles northeast of the Project site, within the Cameron Prairie NWR, would
         temporarily affect 47.0 acres of estuarine mud bottom and estuarine water column at the marine facility and
         666.2 acres of tidal intermediate marsh and estuarine soft bottom and estuarine water column through
         placement of the dredge slurry transport pipeline and deposition of dredged sediment at the BUDM site.
         The FWS would use the dredged sediment at the BUDM site for restoration of estuarine shallow subtidal
         habitat, mudflat habitat, and as substrate for restoration of estuarine emergent marsh. Commonwealth has


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         not proposed to use the placement of the dredged sediment at the DMPA as wetland mitigation under
         Section 404 of the CWA.

                  Pile driving would produce underwater noise sufficient to injure and/or alter the behavior of fish,
         sea turtles, and marine mammals a considerable distance from the point of disturbance. Although existing
         noise levels in the Calcasieu Ship Channel are generally high, NMFS noted that based on the size of the
         piles that Commonwealth would be driving the use of noise attenuation devices and pile driving BMPs
         would be necessary to avoid adverse impacts on aquatic species. Commonwealth has committed to using
         cushion blocks and bubble curtains around the piles during in-water pile driving activities and would also
         implement NMFS-recommended BMPs to mitigate noise impacts on aquatic species.

                  The potential effects of ballast water on water quality are described in the water resources section.
         Resident species within the Calcasieu Ship Channel are euryhaline and are well adapted to natural
         spatiotemporal variation in salinity and oxygen levels. This adaptability and the ability to move over a
         short distance to more suitable conditions minimizes adverse impacts on aquatic resources associated with
         ballast water discharges. Therefore, we conclude that the impacts on aquatic resources from ballast water
         discharges associated with the Project would not be significant.

                  Vessels berthed at the marine facility would also withdraw water from the Calcasieu Ship Channel.
         Ballast and cooling water intake can cause aquatic organisms to become impinged (i.e., becoming trapped
         against an intake screen due to the velocity of the intake flow) or entrained (i.e., being pulled through an
         intake screen and into the cooling water system). Studies indicate each LNG carrier call at the marine
         facility would result in potential entrainment of less than one-tenth of one percent of the ichthyoplankton
         population in the Calcasieu Ship Channel. Given the generally high natural mortality rates of eggs and
         larvae in the water column, we conclude that these impacts would not be significant.

                  Aquatic resources could be adversely affected by an accidental spill or leak of hazardous materials
         into or near a waterbody. To minimize impacts on aquatic resources, Commonwealth would implement its
         SPAR Plan, which would minimize the potential for releases to occur and reduce response time and ensure
         appropriate cleanup if a spill occurred. In addition, LNG carriers are required to develop and implement a
         SOPEP that include measures to be taken when an oil pollution incident has occurred or a ship is at risk of
         one. Increased vessel traffic, related to construction and operation of the Project, could impact marine
         mammals and sea turtles, resulting in an increase in stress, injury, and/or mortality.

                 Commonwealth would implement FWS-recommended measures to minimize impacts on the West
         Indian manatee and measures within the NMFS Vessel Strike Avoidance Measures and Reporting for
         Mariners (NMFS, 2008) to minimize impacts on other marine mammals and sea turtles. Based on existing
         levels of disturbance, the increase in ship traffic would be relatively small, and because of the NMFS-
         recommended vessel strike avoidance measures that would be communicated by Commonwealth to vessel
         captains, we have determined that impacts on marine mammals and turtles would not be significant.

                  The waterbodies that would be crossed by the pipeline are discussed in the Water Resources section.
         The use of open-cut methods would result in temporary loss or modification of aquatic habitat, increase in
         sedimentation and turbidity levels, and alteration of vegetative cover. Increased suspended sediment and
         turbidity levels may cause degradation of benthic and spawning habitat and decreased dissolved oxygen
         levels within and downstream of the crossing location. This temporary increase in suspended solids would
         decrease rapidly following the completion of instream activities.

                  Commonwealth would use the HDD method to cross intermediate waterbodies, which would avoid
         or minimize impacts on aquatic resources within and adjacent to waterbodies unless an inadvertent release
         of drilling mud were to occur. Commonwealth would follow its revised HDD Contingency Plan that, in
         part, provides a detailed approach for reducing the potential for an inadvertent release of drilling fluids, a



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         detailed contingency plan for responding to an inadvertent release in aquatic habitat, and a plan to mitigate
         for any adverse impacts on aquatic habitat, including EFH.

                 With implementation of the measures outlined in its Project-specific Procedures and revised HDD
         Contingency Plan, Commonwealth would minimize impacts on waterbodies and aquatic resources during
         pipeline construction. Once construction is complete, streambeds and banks would be restored to their
         preconstruction conditions and contours to the maximum extent practicable, which would aid in preventing
         erosion and minimize long-term impacts on aquatic resources. With implementation of the mitigation
         measures described above, we anticipate that the Project would have minimal and localized impacts on
         aquatic resources.

         5.1.7.2    Essential Fish Habitat

                  NMFS has emphasized that the aquatic resources potentially affected by the Project, comprising
         tidal brackish marsh, tidal intermediate marsh, estuarine soft bottom and estuarine water column habitat,
         and estuarine oyster reef habitat are areas designated as EFH for various life stages of federally managed
         species. Federal agencies that authorize, fund, or undertake activities that may adversely impact EFH must
         consult with NMFS. We requested NMFS to consider the draft EIS as our initiation of EFH consultation.
         Commonwealth has since revised its plans for dredge materials management and we have revised the final
         EIS accordingly. As such, we are now reinitiating EFH consultation with NFMS with this final EIS and
         appendix D.

                 Based on our review of the Project and correspondence from NMFS, we have concluded that
         construction and operation of the Project could affect EFH for species of shrimp, reef fish, red drum, coastal
         migratory pelagic fishes, and Atlantic highly migratory species in the Gulf of Mexico. Impacts associated
         with the Project would occur in the estuarine zones. The habitat types that would be affected are listed
         below.

             •     Estuarine emergent marsh: EEM wetlands present at the Terminal site, along the Pipeline right-of-
                   way, and at the DMPA that are hydrologically connected to the Calcasieu River and Calcasieu
                   Lake. Includes tidal brackish marsh and tidal intermediate marsh.
             •     Soft bottom: the estuarine mud bottom of the Calcasieu River where construction and operation of
                   the marine facility would occur and on which the dredge slurry pipeline would be placed.
             •     Pelagic: the estuarine water column of the Calcasieu Ship Channel where construction and
                   operation of the marine facility would occur.
             •     Estuarine oyster reef: present on shoreline armoring riprap in the intertidal and subtidal zones of
                   the Calcasieu River shoreline within the proposed footprint of the marine facility.
                  The Project would result in the permanent loss of 21.1 acres of tidal estuarine emergent marsh EFH
         associated with the construction of the Terminal and the Pipeline’s aboveground facilities. The Project
         would also result in the permanent loss of 2.0 acres of estuarine mud/soft bottom EFH within the Terminal
         footprint and short- to long-term loss of 0.05 acre of estuarine oyster reef EFH. It would permanently
         convert 47.0 acres of estuarine mud/soft bottom EFH present in the marine facility dredge footprint,
         including 2.8 acres of intertidal mudflat deemed by the COE to be a “special aquatic site,” from shallow
         water habitat to deep estuarine mud/soft bottom EFH. We conclude these impacts would be appropriately
         mitigated for by Commonwealth’s compliance with the CWA and MSA permitting processes. The Project
         is also expected to cause temporary impacts associated with in-water construction (i.e., dredging, turbidity,
         and pile driving-related underwater noise affecting estuarine and nearshore habitat). Dredging would
         account for the majority of this impact area. These impacts are expected to be of short duration, as
         populations of FMP species and their food sources would be expected to recover quickly following



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         construction and maintenance dredges. Construction impacts would also be minimized through
         implementation of Commonwealth’s Procedures, the SPAR Plan, use of a hydraulic suction dredge during
         dredging and bubble curtains and cushion blocks during pile driving, and the revised HDD Contingency Plan.
         Therefore, we conclude that these Project impacts would adversely affect EFH, but would be temporary to
         short-term in duration and not significant.

         5.1.8   Threatened, Endangered, and Other Special Status Species

                  A total of 20 federally protected species, 1 proposed species, and 1 species that is under federal
         review have the potential to occur in the vicinity of the Project. Of these species, nine are marine mammals,
         four are birds, six are turtles, and three are fish. Potential impacts on aquatic and terrestrial habitats and
         species are described above and those same impacts apply to threatened and endangered species. We
         conclude the Project would have no effect or would be not likely to adversely affect 19 federally listed
         species, would have no effect on the species proposed as threatened, would not contribute to a trend toward
         federal listing for the 1 species under federal review. We conclude the Project is likely to adversely affect
         the threatened eastern black rail.

                   On June 21, 2019, the FWS concurred with our findings that the Project is not likely to adversely
         affect all listed species and critical habitat under the jurisdiction of the FWS that may be found in the vicinity
         of the Project, except the eastern black rail. However, at the time of the FWS notification, the eastern black
         rail was still only proposed for listing (as of October 9, 2018) and the FWS determined that Project
         implementation was not likely to jeopardize the continued existence of the species. The FWS provided
         conservation measures for Commonwealth to consider to minimize impacts on the eastern black rail and
         noted that additional consultation may be required if the status of the eastern black rail changed from
         proposed to threatened. On October 19, 2020, the NMFS stated that because all potential project effects to
         listed species and critical habitat under the jurisdiction of NMFS were found to be extremely unlikely to
         occur, insignificant, or beneficial, NMFS concluded that the proposed action is not likely to adversely affect
         listed species and critical habitat under NMFS’s purview. NMFS continued that their notification
         concluded consultation responsibilities under the ESA for species under NMFS’s purview.

                  The FWS formally listed the eastern black rail as threatened on October 8, 2020, effective
         November 9, 2020. On May 4, 2021, as required by section 7 of the ESA, the FERC submitted a BA to the
         FWS and requested to initiate formal consultation regarding the potential impacts of the Project on the
         eastern black rail. On September 16, 2021, the FWS published a BO, which stated the FWS concurred with
         the findings of the BA that the Project would have no effect, was not likely to adversely affect, or would not
         contribute to a trend toward federal listing for all species potentially affected by the Project, except for the
         eastern black rail. The FWS concurrence fulfilled the FERC’s responsibilities for the Project under section
         7 of the ESA for all federally listed species in the BA other than the eastern black rail. In the BO, the FWS
         reviewed the status of the eastern black rail, the environmental baseline for the Project area and the effects
         of the Project and determined that the Project is not likely to jeopardize the continued existence of the
         eastern black rail.

                 Additionally, the FWS issued an incidental take statement, a list of Terms and Conditions that are
         mandatory for Commonwealth to follow during construction of the Project, accompanying Monitoring and
         Reporting Requirements necessary to monitor the impacts of the allowed incidental take, and conservation
         recommendations for the Project. On October 6, 2021, Commonwealth formally accepted the Terms and
         Conditions of the BO, thereby concluding formal consultation for the Project.188




         188     See accession no. 20211006-5079.



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         5.1.9   Land Use, Recreation, and Visual Resources

                 The Project would be within the Louisiana Coastal Zone. All activities or developments that may
         affect Louisiana’s coastal zone require a federal consistency review under the National Coastal Zone
         Management Program and must obtain a Coastal Use Permit from the LDNR. To ensure compliance with
         this federal requirement, we recommend in section 4.8.5 that Commonwealth file the consistency
         determination with FERC prior to any Project construction.

                 The Terminal would be constructed on open land (106.1 acres), which consists primarily of
         emergent wetlands, developed land (26.4 acres), open water (2.7 acres), and forested land (0.2 acres). The
         Pipeline would be constructed on open land (43.5 acres) and open water (4.8 acres). The Terminal site is
         surrounded by open water and undeveloped open wetlands and the proposed Pipeline right-of-way is
         surrounded by open wetlands. The Terminal site and proposed Pipeline right-of-way are entirely on private
         lands, and no federal or state-managed public lands are within 0.25 mile of the site. There are currently no
         existing or planned residential or commercial developments within 0.25 mile of the Project. There is one
         residential campsite, owned by the property landowner, within the boundaries of the Terminal site. The
         camp residence would be removed as part of the lease agreement between Commonwealth and the
         landowner. There are both existing and planned industrial developments within the vicinity of the Project.
         Due to the industrial use of lands in the general vicinity and the previously disturbed nature of the
         surrounding area, impacts on land use from the Project would not be significant.

                  Several recreational and special interest sites are in proximity to the Project site. While the
         Calcasieu River would be the only one directly impacted by the Project, some may experience indirect
         impacts such as change in viewshed and/or increases in traffic in the area of the recreation sites. Cameron
         Parish is home to vital fishery resources and serves as a conduit for access to such resources in the Calcasieu
         Ship Channel and the Gulf of Mexico. Construction associated with the Project may temporarily impact
         local recreational fishing, bird watching, trapping, hunting, and boating activities as a result of increased
         vessel traffic within the Calcasieu Ship Channel. This increase in vessel traffic related to construction of
         the Project would be short term. During operations, up to 156 LNG carriers would call at the Terminal per
         year. While some delays would be expected during these periods, these delays would be minor and
         temporary and in compliance with the purpose of the waterway. The Calcasieu Ship Channel was originally
         constructed by the COE for navigation in support of industry. Therefore, we have determined the Project
         would not have any significant adverse impacts on recreational or commercial boating or fishing along the
         Calcasieu Ship Channel and Gulf of Mexico.

                  Overall, the proposed Terminal would be visible to varying degrees to users of the Calcasieu Ship
         Channel, nearby beaches and towns, and motorists along the Creole Nature Trail All-American Road.
         Although the addition of the facility would be consistent with the general character of the Calcasieu Ship
         Channel, the addition of the Terminal at this location would represent a significant impact on the viewshed
         of boaters, beachgoers, and local residents, including the RV residence adjacent to the site, as it would
         detract from the overall quality of the scenic views of this portion of the region.

                   The Pipeline would be constructed through generally flat wetlands but would not alter the landscape
         of the region, as the pipeline would be buried during operation. Construction of the Pipeline could result
         in a temporary visual impact within the viewshed of the Creole Nature Trail All-American Road but
         Commonwealth would restore areas disturbed during construction to their prior condition. Aboveground
         facilities associated with the Pipeline would include an interconnection and pig launching facility and a
         meter station. The closest visual receptors of the aboveground facilities would be motorists traveling along
         the Creole Nature Trail All-American Road, which is about 0.9 mile east of the proposed meter station
         location. Although the meter station may be visible from the road, given the distance, it is unlikely that it
         would be noticed by those driving along the road. Therefore, the visual impact of the aboveground facilities
         would not have a significant impact on the aesthetics of the landscape along the Pipeline route.


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         5.1.10 Socioeconomics

                  Construction of the Project would result in temporary positive impacts due to increases in
         construction jobs, payroll taxes, purchases made by the workforce, and expenses associated with the
         acquisition of material goods and equipment. Operation of the Project would not have a significant effect
         on the local governments’ tax revenues. Construction of the Project would not have a significant adverse
         impact on local populations, employment, provision of community services, housing, or property values.

                   Vehicle traffic is anticipated to temporarily increase during construction of the Terminal due to
         worker vehicles, construction vehicles, and trucks taking materials and equipment to and from the site. To
         minimize the increase, Commonwealth would transport a majority of the construction workforce to the
         Project area using passenger buses from two existing parking lots in Carlyss, Louisiana. Commonwealth’s
         traffic models indicate there would be no disruption to local traffic flow related to the off-site parking and
         use of passenger buses. Construction of the Pipeline would result in only minor, temporary impacts on
         traffic in the Project area, and operation would not result in any significant impacts on traffic or roadways.
         Operating the Terminal would require an estimated 65 employees. Commonwealth estimates that operation
         would average about 75 light vehicles per day (includes full time staff and visitors) and 10 heavy vehicles
         per day. No change in the LOS for the area roadways is anticipated. Based on the construction traffic
         assessment along LA-27, we conclude that the additional traffic generated by operations employees,
         visitors, and deliveries would not result in a significant increase in traffic volume on area roadways.

                  A 2018 marine traffic study commissioned by the Port of Lake Charles found that a projected
         twofold increase of vessel traffic within the Calcasieu Ship Channel would not affect the capability of the
         channel to effectively provide deep-water access for maritime commerce. During construction,
         Commonwealth proposes to deliver major material supplies and equipment to the Project via barge
         transport. Commonwealth estimates that an average of seven barges per week would be expected during
         peak construction. During operations, up to 13 LNG vessels per month (156 per year) would call on the
         Terminal. The USCG issued the Letter of Recommendation for the Project, which stated that the Calcasieu
         Ship Channel is considered suitable for LNG marine traffic in accordance with its guidance. During
         operations, security zones for LNG carriers in transit and use of exclusion zones could impact recreational
         and commercial fishing vessels within the Calcasieu Ship Channel because they would be required to stay
         out of the security zone while the LNG carrier passes. After the moving security zone passes, recreational
         boaters and fishing vessels could return and continue their prior activities. Given the Terminal’s proximity
         to the mouth of the Calcasieu River (about 0.5 mile), we conclude the increase in construction vessel traffic
         and the delays associated with LNG carrier security zones are not expected to significantly impact
         recreational or commercial fishing.

         5.1.10.1 Environmental Justice

                  As described throughout this EIS, the proposed Project would have a range of impacts on the
         environment and on individuals living in the vicinity of the Project facilities, including environmental
         justice populations. The closest environmental justice block groups are Census Tract 9702.01, Block Group
         3 approximately 0.1 mile from the LNG Terminal (with the closest residence [pilot’s temporary housing]
         approximately 3,300 feet away) and Census Tract 9701, Block Group 1 approximately 2.7 miles from the
         Pipeline. The closest town within an environmental justice community is Cameron (within Census Tract
         9702.01, Block Group 3) over 2 miles away. Based on the scope of the Project and our analysis of the
         Project’s impacts on the environment, we have determined Project-related impacts on wetlands, surface
         water, aquatic resources, visual resources, recreation, socioeconomics, traffic, noise, and air quality may
         adversely and disproportionately affect the identified environmental justice communities. In general, the
         magnitude and intensity of the impacts would be greater for individuals and residences closest to the
         Project’s facilities and would diminish with distance. Visual impacts on environmental justice communities



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         near the Terminal would be significant. As outlined in section 4.9.12.4, Commonwealth has committed to
         implementing a Facility Lighting Plan, which would reduce visual impacts on the environmental justice
         communities. Environmental justice communities in the area could also experience cumulative impacts
         due to the addition of other projects within the geographic scope (see section 4.13). Due to the presence of
         significant visual impacts on an environmental justice community and overall cumulative impacts in the
         project area, we conclude that impacts on environmental justice communities would be disproportionately
         high and adverse. Cultural Resources

                   Section 106 of the NHPA, as amended, requires that the FERC consider the effects of its
         undertakings on historic properties, and to afford the Advisory Council on Historic Preservation an
         opportunity to comment on proposed projects. Cultural resources surveys for the Terminal were conducted
         in two field studies conducted in 2018 and 2019, respectively. The resulting reports were provided to the
         FERC and the Louisiana SHPO. The entire Terminal, except for areas that were inaccessible, was visually
         inspected for cultural materials. Special attention was given to potential high-probability areas adjacent to
         roadways and along sand dunes. A total of 51 shovel tests were excavated during the 2018 survey and 77
         shovel tests were excavated during the 2019 survey. All of the tests were negative for cultural materials.
         After the 2018 and 2019 surveys, the SHPO provided letters stating that no properties listed in or eligible
         for listing in the NRHP would be affected by the Project. We concur with the SHPO.

                  Commonwealth contacted the SHPO regarding the Pipeline, the marine facility, and the proposed
         Park and Ride lots. Commonwealth did not conduct field surveys for these locations. Instead,
         Commonwealth provided the SHPO a description of the Project component under inquiry, an assessment
         of cultural resource probability, and maps of the area and requested the SHPO’s concurrence that no survey
         was necessary. In each instance, the SHPO indicated that no known historic properties would be affected
         by the project components. We concur with the SHPO.

                  We sent the 2018 and 2021 Project NOI to nine federally recognized Native American tribes. The
         Choctaw Nation of Oklahoma responded with a request for formal consultation with the FERC for the
         Project, GIS shapefiles of the Project area, and the cultural resources survey report. Commonwealth sent a
         copy of the cultural resources survey report, SHPO letter, and GIS shapefiles to the Choctaw Nation of
         Oklahoma. No further comments were received from the Choctaw Nation of Oklahoma. No other tribes
         responded to the NOIs.

                  In 2018 we wrote letters to the nine tribes describing the Project and requesting comments. One
         tribe responded to the letter. The Choctaw Nation of Oklahoma responded that the tribe had requested
         formal consultation with the FERC for the Project and requested GIS shapefiles of the Project area and
         cultural resources surveys. As noted above, Commonwealth provided the Choctaw Nation with the
         requested information. Commonwealth spoke over the telephone with the Coushatta Tribe of Louisiana in
         April 2018. The tribe requested to be kept informed of the Project. Commonwealth sent a copy of the
         cultural resources survey report and SHPO letter to the Coushatta Tribe of Louisiana on August 2, 2019.
         Commonwealth also sent follow-up emails to the Alabama-Coushatta Tribe of Texas, Alabama-Quassarte
         Tribal Town, Chitimacha Tribe of Louisiana, Choctaw Nation of Oklahoma, Coushatta Tribe of Louisiana,
         Jena Band of Choctaw Indians, Mississippi Band of Choctaw Indians, and Tunica-Biloxi Tribe of Louisiana
         on April 2, 2019. No further comments have been received.

                  Commonwealth submitted a plan addressing the unanticipated discovery of cultural resources and
         human remains during construction. The SHPO provided comments to Commonwealth on the plan in a
         letter dated April 3, 2019. We also requested revisions to the plan. Commonwealth provided a revised
         plan addressing the SHPO’s and our comments. We have reviewed the revised plan and found it acceptable.

                  Cultural resources surveys are complete for the Project and the SHPO and FERC concur that no
         historic properties would be affected. Therefore, compliance with Section 106 of the NHPA is complete.


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         5.1.11 Air Quality and Noise

         5.1.11.1 Air Quality

                  Air quality would be affected by construction and operation of the Project; however, most air
         emissions associated with the Project would result from the long-term operation of the Terminal. Emissions
         during Terminal and Pipeline construction would generally be associated with onshore construction
         activities conducted using on-road and off-road mobile equipment and offshore construction activities
         conducted using marine vessels such as tugboats or barges and a dredging vessel. Vehicular and/or marine
         vessel emissions from gasoline and diesel engines would comply with applicable EPA mobile source
         emission regulations (40 CFR 85) by using equipment manufactured to meet these specifications. The
         combustion and fugitive dust emissions that would occur during construction would be largely limited to
         the immediate vicinity of the Terminal site and to a lesser extent in the areas where the Pipeline would be
         constructed. These emissions would represent a small portion of Cameron Parish’s yearly emissions
         inventories and would subside once construction has been completed. Therefore, we conclude the
         construction-related impact on local air quality during construction of the Terminal and Pipeline would not
         be significant.

                  Impacts on air quality during operation of the Project would primarily result from emissions related
         to the liquefaction trains and associated generators and flare systems of the Terminal; mobile emissions
         sources such as cars and trucks associated with the Terminal facility; LNG carriers and associated escort
         tugs arriving to, berthing at, and departing from the marine facility; and emissions related to the
         aboveground facilities of the Pipeline. Combustion sources primarily include engines, turbines,
         heaters/furnaces, and flares. Non-combustion sources primarily include storage tanks, LNG loading and
         transfer operations, and fugitive emissions from pipeline and equipment leaks. Non-combustion emissions
         would occur from the Terminal facilities, Pipeline, and meter stations, as well as from one annually
         scheduled pipeline pigging event. Commonwealth conducted an air quality dispersion modeling analysis,
         which indicates that the ambient pollutant concentrations that would result from these emissions would not
         lead to violation of any ambient air quality standard or exceedance of any other air quality impact criterion.

                   Commonwealth modeled pollutant sources combined with additional (background) pollutant
         sources (e.g., other industry facilities) within the pollutant-specific area of impact to determine source
         contribution in comparison with the NAAQS. The area of impact was established as the distance from the
         Project to the farthest receptor that showed a modeled impact greater than the SIL in the significance
         modeling analysis. Commonwealth conducted a source contribution analysis to determine whether the
         Project would contribute significantly to the modeled NAAQS exceedance, while FERC evaluated the
         additional impact of LNG carriers and tugs. The proportions of the exceedance concentrations attributable
         to the Project are very small. In the instance of the highest overall modeled maximum impact for stationary
         sources plus background sources concentration (229 µg/m3), the Project-only concentration contribution
         (0.0004 µg/m3) is well below the SIL concentration for 1-hour NO2 (7.5 µg/m3). Similarly, in the instance
         of the highest overall modeled maximum impact for LNG stationary sources and LNG carriers and tugs,
         plus background sources concentration (308 µg/m3), the Project-only (inclusive of LNG carriers and tugs)
         concentration contribution (0.005 µg/m3) is well below the SIL concentration for 1-hour NO2 (7.5 µg/m3).
         In fact, the exceedances would still be predicted in the absence of the Project (i.e., the existing background
         emissions sources from LDEQ’s Emissions and Inventory Reporting Center are driving the NAAQS
         exceedances). This modeling analysis demonstrates that the proposed Project would have a minor
         contribution to the modeled maximum impact, however, based on this small level of impact, we do not
         believe the Project would cause or contribute to the potential NAAQS exceedance. Therefore, we conclude
         the impact on local air quality during operation of the Terminal and Pipeline would not be significant.




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                 Commonwealth would use a site-specific program to identify leaking equipment and minimize
         fugitive emissions and Commonwealth Pipeline operations would comply with all applicable PHMSA
         codes and advisories regarding leak detection and repair and LDEQ air quality regulations.

         5.1.11.2 Noise

                   Noise would affect the local environment during both construction and operation of the Project
         facilities. In response to our recommendation in the draft EIS, Commonwealth provided a revised ambient
         noise survey representing current ambient conditions in the vicinity of the Terminal site. Pile driving,
         dredging, and internal combustion engines associated with Terminal construction would generate noise, but
         general construction activities associated with the Terminal would be localized to the Terminal site.
         Commonwealth would conduct land-based and in-water pile-driving activities during construction of the
         Terminal and marine facilities and use heavy machinery (e.g., earth moving equipment) powered by internal
         combustion engines throughout construction. Commonwealth has stated it would conduct pile driving and
         general construction activities between the hours of 7:00 a.m. and 10:00 p.m. We recommend in section
         4.11.2.4 that Commonwealth monitor construction noise levels between the 7:00 p.m. and 7:00 a.m. and
         restrict the noise attributable to construction activities to no more than 55 dBA Ldn (48.6 dBA Leq) at NSAs
         1 and 2. Excavation and dredging would be required to create a berthing area for LNG carriers. Primary
         noise sources from dredging activities would include diesel engines with associated pumps, as well as a
         tugboat used to position the dredge for in-water activities. Construction dredging activities would be
         conducted on a 24-hour basis over the course of about 5 months. Maintenance dredging would require
         about 7 days to complete on a biennial basis. In response to our recommendation in the draft EIS,
         Commonwealth filed a Nighttime Noise Monitoring Plan that details the measures it would implement to
         reduce projected nighttime dredging noise levels to at or below the 55 dBA Ldn threshold.

                 During construction of the Pipeline, noise would be generated primarily by construction equipment,
         including HDD equipment used to install the Pipeline. General construction activities associated with the
         Pipeline would result in relatively temporary increases in ambient noise levels at a given location, the extent
         of which would vary based on the different types of construction equipment used and would only occur
         during daylight hours. HDD-related activities could occur during nighttime hours. Modeled noise values
         indicate HDD-only operations combined with ambient conditions would result in a minor increase over
         ambient conditions but noise levels at nearby NSAs would remain at or below the 55 dBA threshold.
         Normal operations of the proposed Pipeline would not result in noise impacts on NSAs.

                 Operation of the Terminal site would produce noise on a continuous basis. Many of the components
         of the Terminal facilities would be constructed with integrated noise mitigation technologies or approaches.
         Commonwealth conducted modeling exercises using performance data for the proposed Terminal
         equipment to determine whether the Terminal could operate in accordance with FERC criteria. Modeled
         values indicate the sound level of Terminal operations would remain below the FERC’s 55 dBA threshold
         at nearby NSAs. However, the modeled 55 dBA contour was very close to one NSA. Therefore, in section
         4.11.2, we recommend Commonwealth file full power load noise surveys within 60 days of beginning
         operations to confirm that Terminal noise levels do not exceed the 55 dBA threshold or modify operation
         of the Terminal to achieve noise levels less than the prescribed threshold.

                 We conclude that with implementation of the recommended noise mitigation plans for dredging
         and operation of the Terminal, construction and operation of the Project would not result in significant noise
         impacts on NSAs.




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         5.1.12 Reliability and Safety

                  As part of the NEPA review and NGA determinations, Commission staff assesses the potential
         impact on the human environment in terms of safety and whether the proposed facilities would operate
         safely, reliably, and securely.

                   As a cooperating agency, the DOT assists the FERC by determining whether Commonwealth LNG
         Project’s proposed design would meet the DOT’s 49 CFR 193 Subpart B siting requirements. The PHMSA
         provided an LOD on the Project’s compliance with 49 CFR 193 Subpart B on August 2, 2022. This
         determination will be provided to the Commission as further consideration to the Commission on its
         decision to authorize or deny the Project. If the Project is authorized, constructed, and operated, the facility
         would be subject to the DOT’s inspection and enforcement program and final determination of whether a
         facility is in compliance with the requirements of 49 CFR 193 would be made by the DOT staff.

                  As a cooperating agency, the USCG also assisted the FERC staff by reviewing the proposed LNG
         terminal and the associated LNG marine vessel traffic. The USCG reviewed a WSA submitted by
         Commonwealth that focused on the navigation safety and maritime security aspects of LNG marine vessel
         transits along the affected waterway. On March 7, 2019, the USCG issued an LOR that recommended the
         Calcasieu River Ship Channel be considered suitable for accommodating the type and frequency of LNG
         marine traffic associated with this Project based on the WSA and in accordance with the guidance in the
         USCG’s NVIC 01-11. If the Project is authorized, constructed, and operated, the facilities would be subject
         to the USCG’s inspection and enforcement program to ensure compliance with the requirements of 33 CFR
         105 and 33 CFR 127.

                  FERC staff conducted a preliminary engineering and technical review of the Commonwealth LNG
         Project design, including potential external impacts based on the site location. Based on this review, we
         recommend a number of mitigation measures, which would ensure continuous oversight prior to initial site
         preparation, prior to construction of final design, prior to commissioning, prior to introduction of hazardous
         fluids, prior to commencement of service, and throughout life of the facility to enhance the reliability and
         safety of the facility to mitigate the risk of impact on the public. With the incorporation of these mitigation
         measures and oversight, FERC staff concluded that the Commonwealth LNG Project design would include
         acceptable layers of protection or safeguards that would reduce the risk of a potentially hazardous scenario
         from developing into an event that could impact the offsite public.

                  The Pipeline System and associated aboveground facilities would be constructed, operated, and
         maintained in compliance with DOT standards published in 49 CFR 192. These regulations are intended
         to minimize the potential for natural gas facility accidents and protect the public and environment. The
         DOT specifies material selection and qualifications; minimum design requirements; and protection from
         internal, external, and atmospheric corrosion. Because the Pipeline would be constructed according to the
         DOT regulations, we conclude that the Pipeline System would not have a significant impact on public
         safety.

         5.1.13 Cumulative Impacts

                  Our analysis of cumulative impacts includes other projects in the vicinity of the proposed
         Commonwealth Project that could affect the same resources as the Project in the same approximate
         timeframe. We generally conclude that the potential impacts of the Project, when combined with the
         impacts from the other projects considered in the geographic scopes, would not result in a significant impact
         on resources. Commonwealth’s proposed mitigation measures would minimize or offset Project impacts
         on local resources. Additionally, concurrent construction and operation of the Project and the other projects
         in the area would have a beneficial cumulative effect on revenues for the state and the local parishes



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         resulting from increased expenditures from the workforce and their families and increased property taxes
         from the projects.

                  The exceptions to this conclusion are the Project’s impacts on visual resources and environmental
         justice populations. Construction of the Project and other planned area LNG projects and port facilities
         would contribute to cumulative visual impacts on users of the Calcasieu Ship Channel, users of Holly and
         Broussard Beaches, residents in the town of Cameron, and motorists along the Creole Nature Trail All-
         American Road. The Creole Nature Trail is a 180-mile road that runs from Sulphur to Holly Beach and
         from Lake Charles down to Cameron. Construction of Commonwealth, Calcasieu Pass, and CP2 would
         result in several industrial sites in a concentrated area and the additional sites, including flares, lighting, and
         storage tanks, may be visible for several miles. Visual changes in this area would be significant compared
         to the conditions prior to construction of LNG projects along this portion of the Calcasieu Ship Channel.

                  Regarding environmental justice communities, we have determined environmental justice
         communities in the study area would experience cumulative impacts on wetlands, surface water, aquatic
         resources, socioeconomics, traffic, noise, air quality, GHG and significant visual cumulative impacts related
         to the project and the additional projects within the respective geographic scopes of the Project. Cumulative
         impacts on environmental justice communities related to wetlands, surface water, aquatic resources,
         socioeconomics, traffic, noise, and air quality would be less than significant. However, cumulative impacts
         related to visual resources would be significant.

                 Finally, Commonwealth’s filings indicate the Project would increase the atmospheric concentration
         of GHGs, in combination with past and future emissions from all other sources and would contribute to
         climate change. This EIS is not characterizing the Project’s GHG emissions as significant or insignificant
         because the Commission is conducting a generic proceeding to determine whether and how the Commission
         will conduct significance determinations going forward.

         5.1.14 Alternatives

                 We evaluated several alternatives to the proposed Project, including the No-Action Alternative;
         system alternatives for the Terminal; alternative Terminal sites and alternative Pipeline routes. While the
         No-Action Alternative would eliminate the short- and long-term environmental impacts identified in the
         EIS, the stated objectives of the proposed action would not be met.

                   System alternatives evaluated for the Terminal included 7 existing LNG import terminals with
         approved, proposed, or planned expansions to provide liquefaction capabilities and 11 approved, proposed,
         or planned stand-alone LNG projects. We cannot speculate or conclude that excess capacity would be
         available to accommodate Commonwealth’s purpose and need. Consequently, we must conclude that the
         proposed export capacity at any other existing or proposed LNG facility would require an expansion or new
         facilities similar to the facilities proposed for the Terminal, resulting in environmental impacts similar to
         the Project. These systems alternatives, therefore, offer no significant environmental advantage over the
         proposed Project and are not considered to be preferable.

                 The alternative sites we evaluated in addition to the Project site included six locations in southwest
         Louisiana along the Calcasieu Ship Channel, one location along the Sabine Pass Ship Channel, and one
         location in Plaquemines Parish along the Mississippi River. In general, these sites did not provide clear
         evidence of a significant environmental advantage to Commonwealth’s proposed site.

                We also evaluated alternative liquefaction designs for the Terminal as well as alternative power
         sources (i.e., offsite, grid-based electricity versus on-site natural gas-powered generators).
         Commonwealth’s proposed liquefaction design was determined to be the smallest facility footprint that
         would still allow Commonwealth to achieve its stated Project purpose. Pursuing a grid-based electricity



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                                       APPENDIX H


                Predicted Cumulative Concentrations for NAAQS Exceedances
                       Within 50km of the Commonwealth LNG Project




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                   Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary Sources



                                                                              Project Only
                                                                                                 Project
                                                                               Maximum
                                                    Modeled +                                 Contribution
                                                                   NAAQS     Concentration
           Pollutant       Location of NAAQS       Background                                    to the      Distance from the Project NAAQS
                                                                  Standard    Contribution
           Averaging         Exceedance a/        Concentration                               Cumulative             Exceedance (km)
                                                                   (µg/m3)     to NAAQS
            Period                                   (µg/m3)                                 Concentration
                                                                              Exceedance
                                                                                                (Percent)
                                                                                 (µg/m3)

                            (x)         (y)
          NO2   1-hour   450900.00   3322200.00       193.9        188.0           0.0344      0.0177%                     32.7
          NO2   1-hour   466900.00   3319200.00       193.8        188.0           0.0726      0.0375%                     26.1
          NO2   1-hour   464900.00   3323200.00       193.7        188.0           0.0151      0.0078%                     30.1
          NO2   1-hour   468600.00   3295400.00       193.1        188.0           0.0011      0.0005%                     3.6
          NO2   1-hour   453900.00   3321200.00       193.0        188.0           0.0503      0.0261%                     30.5
          NO2   1-hour   449900.00   3325200.00       192.9        188.0           0.0239      0.0124%                     35.8
          NO2   1-hour   448900.00   3326200.00       192.7        188.0           0.0403      0.0209%                     37.1
          NO2   1-hour   467900.00   3324200.00       192.7        188.0           0.0327      0.0170%                     31.2
          NO2   1-hour   449900.00   3323200.00       192.2        188.0           0.0533      0.0277%                     34.0
          NO2   1-hour   448900.00   3327200.00       192.2        188.0           0.0324      0.0169%                     37.8
          NO2   1-hour   467900.00   3323200.00       191.8        188.0           0.0273      0.0142%                     30.2
          NO2   1-hour   467900.00   3321200.00       191.8        188.0           0.0700      0.0365%                     28.2
          NO2   1-hour   453900.00   3320200.00       191.6        188.0           0.0109      0.0057%                     29.6
          NO2   1-hour   466900.00   3318200.00       191.4        188.0           0.0166      0.0087%                     25.1
          NO2   1-hour   467900.00   3322200.00       191.3        188.0           0.0595      0.0311%                     29.2
          NO2   1-hour   449900.00   3324200.00       191.1        188.0           0.0722      0.0378%                     34.9
          NO2   1-hour   467900.00   3320200.00       190.8        188.0           0.0674      0.0353%                     27.2
          NO2   1-hour   463900.00   3320200.00       190.7        188.0           0.0215      0.0113%                     27.2
          NO2   1-hour   452900.00   3322200.00       190.5        188.0           0.0241      0.0126%                     31.8
          NO2   1-hour   464900.00   3322200.00       190.3        188.0           0.0147      0.0077%                     29.1
          NO2   1-hour   466900.00   3317200.00       190.3        188.0           0.0172      0.0090%                     24.1




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                                                                             H-2
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         Table H-2.

            Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                   Sources

                            Location of NAAQS                                                     Project Only           Project
          Pollutant           Exceedance a/                                          NAAQS         Maximum           Contribution ot
                                                          Modeled + Background
          Averaging                                                                 Standard     Contribution to     the Cumulative
                                                          Concentration (µg/m3)
           Period            (x)            (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                    (µg/m3)             (percent)
          NO2   1-hour    468600.00      3295200.00               307.7               188.0           0.0055             0.0018%
          NO2   1-hour    431900.00      3328200.00               283.0               188.0           0.0049             0.0017%
          NO2   1-hour    468700.00      3295400.00               272.8               188.0           0.0107             0.0039%
          NO2   1-hour    465900.00      3333200.00               271.8               188.0           0.0573             0.0211%
          NO2   1-hour    431900.00      3324200.00               271.0               188.0           0.0024             0.0009%
          NO2   1-hour    464900.00      3334200.00               270.0               188.0           0.0491             0.0182%
          NO2   1-hour    464900.00      3332200.00               266.8               188.0           0.0416             0.0156%
          NO2   1-hour    464900.00      3333200.00               265.7               188.0           0.0402             0.0151%
          NO2   1-hour    468600.00      3295300.00               263.3               188.0           0.0086             0.0032%
          NO2   1-hour    432900.00      3326200.00               262.1               188.0           0.0115             0.0044%
          NO2   1-hour    432900.00      3327200.00               261.5               188.0           0.0105             0.0040%
          NO2   1-hour    432900.00      3325200.00               261.0               188.0           0.0027             0.0010%
          NO2   1-hour    468700.00      3295200.00               260.9               188.0           0.0077             0.0030%
          NO2   1-hour    432900.00      3324200.00               258.6               188.0           0.0038             0.0015%
          NO2   1-hour    467900.00      3334200.00               254.9               188.0           0.0520             0.0204%
          NO2   1-hour    468900.00      3333200.00               253.4               188.0           0.0422             0.0167%
          NO2   1-hour    463900.00      3332200.00               252.7               188.0           0.0347             0.0137%
          NO2   1-hour    465900.00      3332200.00               251.4               188.0           0.0530             0.0211%
          NO2   1-hour    463900.00      3331200.00               251.1               188.0           0.0306             0.0122%
          NO2   1-hour    416900.00      3289200.00               250.9               188.0           0.0026             0.0010%
          NO2   1-hour    431900.00      3323200.00               249.4               188.0           0.0026             0.0010%
          NO2   1-hour    464900.00      3331200.00               247.9               188.0           0.0444             0.0179%
          NO2   1-hour    463900.00      3330200.00               243.5               188.0           0.0475             0.0195%
          NO2   1-hour    433900.00      3324200.00               242.0               188.0           0.0018             0.0008%
          NO2   1-hour    468900.00      3334200.00               241.4               188.0           0.0341             0.0141%
          NO2   1-hour    433900.00      3326200.00               240.3               188.0           0.0040             0.0017%
          NO2   1-hour    466900.00      3332200.00               238.6               188.0           0.0436             0.0183%
          NO2   1-hour    432900.00      3323200.00               237.1               188.0           0.0271             0.0114%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    433900.00     3325200.00               235.4               188.0           0.0030             0.0013%
          NO2   1-hour    458900.00     3330200.00               235.0               188.0           0.0717             0.0305%
          NO2   1-hour    456900.00     3332200.00               234.6               188.0           0.0510             0.0217%
          NO2   1-hour    467900.00     3333200.00               232.0               188.0           0.0495             0.0213%
          NO2   1-hour    457900.00     3330200.00               231.4               188.0           0.0293             0.0126%
          NO2   1-hour    466900.00     3331200.00               231.2               188.0           0.0392             0.0169%
          NO2   1-hour    457900.00     3331200.00               230.4               188.0           0.0415             0.0180%
          NO2   1-hour    468900.00     3336200.00               229.8               188.0           0.0436             0.0190%
          NO2   1-hour    456900.00     3331200.00               229.8               188.0           0.0625             0.0272%
          NO2   1-hour    468900.00     3335200.00               229.6               188.0           0.0453             0.0197%
          NO2   1-hour    464900.00     3330200.00               229.6               188.0           0.0686             0.0299%
          NO2   1-hour    455900.00     3331200.00               229.5               188.0           0.0520             0.0227%
          NO2   1-hour    433900.00     3327200.00               228.9               188.0           0.0040             0.0017%
          NO2   1-hour    452900.00     3296200.00               228.8               188.0           0.0032             0.0014%
          NO2   1-hour    457900.00     3329200.00               228.8               188.0           0.0827             0.0361%
          NO2   1-hour    458900.00     3329200.00               227.9               188.0           0.0652             0.0286%
          NO2   1-hour    456900.00     3329200.00               225.2               188.0           0.0339             0.0151%
          NO2   1-hour    459900.00     3328200.00               224.6               188.0           0.0503             0.0224%
          NO2   1-hour    463900.00     3329200.00               223.9               188.0           0.0409             0.0183%
          NO2   1-hour    456900.00     3330200.00               223.4               188.0           0.0645             0.0289%
          NO2   1-hour    467900.00     3331200.00               223.2               188.0           0.0598             0.0268%
          NO2   1-hour    432900.00     3322200.00               222.2               188.0           0.0030             0.0013%
          NO2   1-hour    456900.00     3328200.00               221.4               188.0           0.0423             0.0191%
          NO2   1-hour    465900.00     3331200.00               221.1               188.0           0.0361             0.0163%
          NO2   1-hour    434900.00     3325200.00               220.6               188.0           0.0023             0.0010%
          NO2   1-hour    455900.00     3330200.00               220.4               188.0           0.0563             0.0256%
          NO2   1-hour    466900.00     3330200.00               220.3               188.0           0.0287             0.0130%
          NO2   1-hour    468900.00     3332200.00               220.2               188.0           0.0473             0.0215%
          NO2   1-hour    458900.00     3328200.00               220.2               188.0           0.0418             0.0190%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    469900.00     3333200.00               219.7               188.0           0.0209             0.0095%
          NO2   1-hour    457900.00     3328200.00               219.7               188.0           0.0670             0.0305%
          NO2   1-hour    433900.00     3323200.00               219.3               188.0           0.0027             0.0012%
          NO2   1-hour    455900.00     3333200.00               218.7               188.0           0.0655             0.0299%
          NO2   1-hour    434900.00     3324200.00               218.6               188.0           0.0026             0.0012%
          NO2   1-hour    458900.00     3327200.00               218.2               188.0           0.0347             0.0159%
          NO2   1-hour    455900.00     3332200.00               217.6               188.0           0.0420             0.0193%
          NO2   1-hour    455900.00     3328200.00               217.5               188.0           0.0689             0.0317%
          NO2   1-hour    434900.00     3326200.00               217.1               188.0           0.0026             0.0012%
          NO2   1-hour    455900.00     3329200.00               217.0               188.0           0.0655             0.0302%
          NO2   1-hour    471900.00     3327200.00               216.6               188.0           0.0012             0.0006%
          NO2   1-hour    467900.00     3332200.00               216.5               188.0           0.0465             0.0215%
          NO2   1-hour    459900.00     3327200.00               216.4               188.0           0.0335             0.0155%
          NO2   1-hour    455900.00     3327200.00               215.5               188.0           0.0877             0.0407%
          NO2   1-hour    458900.00     3318200.00               214.9               188.0           0.0057             0.0026%
          NO2   1-hour    454900.00     3329200.00               214.7               188.0           0.0666             0.0310%
          NO2   1-hour    463900.00     3328200.00               214.7               188.0           0.0591             0.0275%
          NO2   1-hour    431900.00     3320200.00               214.3               188.0           0.0024             0.0011%
          NO2   1-hour    457900.00     3326200.00               213.8               188.0           0.0352             0.0164%
          NO2   1-hour    460900.00     3326200.00               213.8               188.0           0.0310             0.0145%
          NO2   1-hour    465900.00     3329200.00               213.5               188.0           0.0310             0.0145%
          NO2   1-hour    456900.00     3327200.00               213.2               188.0           0.0377             0.0177%
          NO2   1-hour    453900.00     3329200.00               213.1               188.0           0.0556             0.0261%
          NO2   1-hour    469900.00     3332200.00               212.5               188.0           0.0475             0.0224%
          NO2   1-hour    434900.00     3327200.00               212.5               188.0           0.0191             0.0090%
          NO2   1-hour    464900.00     3329200.00               212.3               188.0           0.0350             0.0165%
          NO2   1-hour    433900.00     3322200.00               212.1               188.0           0.0150             0.0071%
          NO2   1-hour    454900.00     3328200.00               211.8               188.0           0.0641             0.0302%
          NO2   1-hour    465900.00     3330200.00               211.8               188.0           0.0332             0.0157%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    454900.00     3327200.00               210.7               188.0           0.0311             0.0147%
          NO2   1-hour    468900.00     3331200.00               210.6               188.0           0.0520             0.0247%
          NO2   1-hour    457900.00     3327200.00               210.5               188.0           0.0442             0.0210%
          NO2   1-hour    466900.00     3329200.00               210.3               188.0           0.0288             0.0137%
          NO2   1-hour    465900.00     3328200.00               210.2               188.0           0.0344             0.0164%
          NO2   1-hour    458900.00     3326200.00               209.9               188.0           0.0551             0.0262%
          NO2   1-hour    435900.00     3326200.00               209.7               188.0           0.0025             0.0012%
          NO2   1-hour    452900.00     3329200.00               209.5               188.0           0.0470             0.0224%
          NO2   1-hour    459900.00     3325200.00               209.1               188.0           0.0247             0.0118%
          NO2   1-hour    459900.00     3326200.00               208.9               188.0           0.0337             0.0161%
          NO2   1-hour    460900.00     3325200.00               208.8               188.0           0.0461             0.0221%
          NO2   1-hour    465900.00     3327200.00               208.8               188.0           0.0377             0.0180%
          NO2   1-hour    453900.00     3328200.00               208.6               188.0           0.0415             0.0199%
          NO2   1-hour    467900.00     3330200.00               208.6               188.0           0.0371             0.0178%
          NO2   1-hour    454900.00     3326200.00               208.4               188.0           0.0429             0.0206%
          NO2   1-hour    429900.00     3318200.00               208.1               188.0           0.0010             0.0005%
          NO2   1-hour    427900.00     3296200.00               208.0               188.0           0.0160             0.0077%
          NO2   1-hour    434900.00     3323200.00               207.9               188.0           0.0025             0.0012%
          NO2   1-hour    456900.00     3325200.00               207.3               188.0           0.0691             0.0333%
          NO2   1-hour    462900.00     3327200.00               206.9               188.0           0.0327             0.0158%
          NO2   1-hour    453900.00     3327200.00               206.7               188.0           0.0678             0.0328%
          NO2   1-hour    432900.00     3321200.00               206.6               188.0           0.0037             0.0018%
          NO2   1-hour    453900.00     3326200.00               206.5               188.0           0.0397             0.0192%
          NO2   1-hour    467900.00     3329200.00               205.7               188.0           0.0378             0.0184%
          NO2   1-hour    435900.00     3325200.00               205.2               188.0           0.0090             0.0044%
          NO2   1-hour    452900.00     3328200.00               204.9               188.0           0.0503             0.0245%
          NO2   1-hour    468900.00     3330200.00               204.5               188.0           0.0709             0.0346%
          NO2   1-hour    466900.00     3328200.00               204.5               188.0           0.0203             0.0099%
          NO2   1-hour    468700.00     3295300.00               204.4               188.0           0.0174             0.0085%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    417900.00     3289200.00               204.4               188.0           0.0385             0.0188%
          NO2   1-hour    453900.00     3325200.00               204.1               188.0           0.0405             0.0198%
          NO2   1-hour    456900.00     3326200.00               204.1               188.0           0.0396             0.0194%
          NO2   1-hour    457900.00     3325200.00               204.0               188.0           0.0475             0.0233%
          NO2   1-hour    455900.00     3326200.00               203.8               188.0           0.0393             0.0193%
          NO2   1-hour    452900.00     3325200.00               203.6               188.0           0.0404             0.0198%
          NO2   1-hour    463900.00     3327200.00               203.0               188.0           0.0312             0.0153%
          NO2   1-hour    459900.00     3324200.00               202.7               188.0           0.0259             0.0128%
          NO2   1-hour    452900.00     3327200.00               202.7               188.0           0.0511             0.0252%
          NO2   1-hour    435900.00     3324200.00               202.5               188.0           0.0016             0.0008%
          NO2   1-hour    433900.00     3321200.00               202.3               188.0           0.0107             0.0053%
          NO2   1-hour    465900.00     3326200.00               202.3               188.0           0.0373             0.0184%
          NO2   1-hour    464900.00     3328200.00               202.2               188.0           0.0254             0.0125%
          NO2   1-hour    455900.00     3324200.00               202.2               188.0           0.0681             0.0337%
          NO2   1-hour    430900.00     3318200.00               202.1               188.0           0.0247             0.0122%
          NO2   1-hour    451900.00     3328200.00               202.0               188.0           0.0532             0.0263%
          NO2   1-hour    452900.00     3326200.00               201.9               188.0           0.0678             0.0336%
          NO2   1-hour    458900.00     3324200.00               201.9               188.0           0.0637             0.0316%
          NO2   1-hour    432900.00     3320200.00               201.8               188.0           0.0020             0.0010%
          NO2   1-hour    462900.00     3326200.00               201.7               188.0           0.0385             0.0191%
          NO2   1-hour    464900.00     3324200.00               201.6               188.0           0.0298             0.0148%
          NO2   1-hour    451900.00     3327200.00               201.3               188.0           0.0504             0.0250%
          NO2   1-hour    451900.00     3324200.00               201.0               188.0           0.0412             0.0205%
          NO2   1-hour    452900.00     3324200.00               200.8               188.0           0.0498             0.0248%
          NO2   1-hour    469900.00     3331200.00               200.4               188.0           0.0249             0.0124%
          NO2   1-hour    458900.00     3325200.00               200.3               188.0           0.0326             0.0163%
          NO2   1-hour    434900.00     3322200.00               200.2               188.0           0.0161             0.0080%
          NO2   1-hour    469900.00     3329200.00               200.2               188.0           0.0087             0.0044%
          NO2   1-hour    467900.00     3328200.00               200.1               188.0           0.0479             0.0239%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    464900.00     3326200.00               199.9               188.0           0.0474             0.0237%
          NO2   1-hour    464900.00     3325200.00               199.8               188.0           0.0200             0.0100%
          NO2   1-hour    456900.00     3324200.00               199.7               188.0           0.0249             0.0124%
          NO2   1-hour    466900.00     3321200.00               199.7               188.0           0.0368             0.0184%
          NO2   1-hour    451900.00     3326200.00               199.5               188.0           0.0651             0.0326%
          NO2   1-hour    464900.00     3327200.00               199.0               188.0           0.0236             0.0118%
          NO2   1-hour    461900.00     3325200.00               198.9               188.0           0.0188             0.0095%
          NO2   1-hour    468900.00     3329200.00               198.7               188.0           0.0991             0.0499%
          NO2   1-hour    450900.00     3327200.00               198.6               188.0           0.0540             0.0272%
          NO2   1-hour    455900.00     3325200.00               198.4               188.0           0.0565             0.0285%
          NO2   1-hour    435900.00     3327200.00               198.3               188.0           0.0106             0.0053%
          NO2   1-hour    451900.00     3325200.00               198.2               188.0           0.0653             0.0329%
          NO2   1-hour    450900.00     3323200.00               198.0               188.0           0.0424             0.0214%
          NO2   1-hour    466900.00     3327200.00               198.0               188.0           0.0241             0.0122%
          NO2   1-hour    454900.00     3323200.00               197.9               188.0           0.0271             0.0137%
          NO2   1-hour    462900.00     3325200.00               197.8               188.0           0.0136             0.0069%
          NO2   1-hour    436900.00     3326200.00               197.5               188.0           0.0416             0.0211%
          NO2   1-hour    432900.00     3319200.00               197.5               188.0           0.0020             0.0010%
          NO2   1-hour    466900.00     3320200.00               197.5               188.0           0.0397             0.0201%
          NO2   1-hour    467900.00     3327200.00               197.5               188.0           0.0483             0.0245%
          NO2   1-hour    418900.00     3290200.00               197.4               188.0           0.0128             0.0065%
          NO2   1-hour    450900.00     3326200.00               197.2               188.0           0.0478             0.0242%
          NO2   1-hour    450900.00     3328200.00               197.2               188.0           0.0500             0.0254%
          NO2   1-hour    455900.00     3323200.00               197.0               188.0           0.0495             0.0251%
          NO2   1-hour    468900.00     3328200.00               196.9               188.0           0.0386             0.0196%
          NO2   1-hour    454900.00     3325200.00               196.9               188.0           0.0724             0.0368%
          NO2   1-hour    461900.00     3324200.00               196.7               188.0           0.0164             0.0083%
          NO2   1-hour    434900.00     3321200.00               196.4               188.0           0.0023             0.0011%
          NO2   1-hour    463900.00     3326200.00               196.1               188.0           0.0316             0.0161%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    459900.00     3323200.00               196.1               188.0           0.0169             0.0086%
          NO2   1-hour    451900.00     3323200.00               195.9               188.0           0.0614             0.0314%
          NO2   1-hour    457900.00     3324200.00               195.7               188.0           0.0289             0.0148%
          NO2   1-hour    449900.00     3327200.00               195.7               188.0           0.0454             0.0232%
          NO2   1-hour    450900.00     3325200.00               195.6               188.0           0.0602             0.0308%
          NO2   1-hour    450900.00     3324200.00               195.6               188.0           0.0730             0.0373%
          NO2   1-hour    467900.00     3326200.00               195.5               188.0           0.0381             0.0195%
          NO2   1-hour    449900.00     3322200.00               195.4               188.0           0.0355             0.0182%
          NO2   1-hour    429900.00     3317200.00               195.2               188.0           0.0037             0.0019%
          NO2   1-hour    455900.00     3322200.00               195.2               188.0           0.0559             0.0287%
          NO2   1-hour    458900.00     3323200.00               195.1               188.0           0.0346             0.0177%
          NO2   1-hour    469900.00     3330200.00               195.0               188.0           0.0274             0.0141%
          NO2   1-hour    449900.00     3326200.00               195.0               188.0           0.0535             0.0275%
          NO2   1-hour    466900.00     3322200.00               194.9               188.0           0.0451             0.0231%
          NO2   1-hour    463900.00     3322200.00               194.5               188.0           0.0125             0.0064%
          NO2   1-hour    463900.00     3323200.00               194.5               188.0           0.0371             0.0191%
          NO2   1-hour    463900.00     3325200.00               194.5               188.0           0.0369             0.0190%
          NO2   1-hour    463900.00     3321200.00               194.4               188.0           0.0289             0.0149%
          NO2   1-hour    456900.00     3323200.00               194.4               188.0           0.0242             0.0125%
          NO2   1-hour    460900.00     3324200.00               194.3               188.0           0.0357             0.0184%
          NO2   1-hour    458900.00     3322200.00               194.2               188.0           0.1032             0.0531%
          NO2   1-hour    471900.00     3326200.00               194.2               188.0           0.0249             0.0128%
          NO2   1-hour    457900.00     3323200.00               194.2               188.0           0.0196             0.0101%
          NO2   1-hour    462900.00     3324200.00               194.1               188.0           0.0102             0.0053%
          NO2   1-hour    448900.00     3325200.00               194.1               188.0           0.0391             0.0201%
          NO2   1-hour    465900.00     3325200.00               194.1               188.0           0.0217             0.0112%
          NO2   1-hour    435900.00     3323200.00               194.0               188.0           0.0116             0.0060%
          NO2   1-hour    450900.00     3322200.00               193.9               188.0           0.0453             0.0234%
          NO2   1-hour    466900.00     3319200.00               193.8               188.0           0.0959             0.0495%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    464900.00     3323200.00               193.7               188.0           0.0215             0.0111%
          NO2   1-hour    436900.00     3325200.00               193.7               188.0           0.0402             0.0208%
          NO2   1-hour    454900.00     3322200.00               193.6               188.0           0.0466             0.0241%
          NO2   1-hour    461900.00     3323200.00               193.6               188.0           0.0168             0.0087%
          NO2   1-hour    467900.00     3325200.00               193.5               188.0           0.0353             0.0183%
          NO2   1-hour    454900.00     3324200.00               193.5               188.0           0.0556             0.0287%
          NO2   1-hour    448900.00     3321200.00               193.4               188.0           0.0360             0.0186%
          NO2   1-hour    454900.00     3321200.00               193.3               188.0           0.0244             0.0126%
          NO2   1-hour    453900.00     3322200.00               193.1               188.0           0.0289             0.0150%
          NO2   1-hour    460900.00     3323200.00               193.1               188.0           0.0274             0.0142%
          NO2   1-hour    468600.00     3295400.00               193.1               188.0           0.0070             0.0036%
          NO2   1-hour    468900.00     3327200.00               193.0               188.0           0.0532             0.0276%
          NO2   1-hour    453900.00     3321200.00               193.0               188.0           0.0676             0.0350%
          NO2   1-hour    449900.00     3325200.00               193.0               188.0           0.0317             0.0164%
          NO2   1-hour    453900.00     3324200.00               192.8               188.0           0.0746             0.0387%
          NO2   1-hour    448900.00     3326200.00               192.7               188.0           0.0543             0.0281%
          NO2   1-hour    467900.00     3324200.00               192.7               188.0           0.0430             0.0223%
          NO2   1-hour    466900.00     3326200.00               192.5               188.0           0.0206             0.0107%
          NO2   1-hour    457900.00     3322200.00               192.5               188.0           0.0398             0.0207%
          NO2   1-hour    447900.00     3326200.00               192.4               188.0           0.0593             0.0308%
          NO2   1-hour    436900.00     3327200.00               192.3               188.0           0.0443             0.0230%
          NO2   1-hour    449900.00     3323200.00               192.2               188.0           0.0729             0.0379%
          NO2   1-hour    449900.00     3331200.00               192.2               188.0           0.0447             0.0232%
          NO2   1-hour    448900.00     3327200.00               192.2               188.0           0.0426             0.0222%
          NO2   1-hour    447900.00     3324200.00               192.2               188.0           0.0466             0.0243%
          NO2   1-hour    463900.00     3324200.00               192.1               188.0           0.0130             0.0068%
          NO2   1-hour    468900.00     3326200.00               192.0               188.0           0.0315             0.0164%
          NO2   1-hour    432900.00     3318200.00               192.0               188.0           0.0029             0.0015%
          NO2   1-hour    467900.00     3323200.00               191.8               188.0           0.0489             0.0255%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    456900.00     3321200.00               191.8               188.0           0.0280             0.0146%
          NO2   1-hour    467900.00     3321200.00               191.8               188.0           0.0918             0.0479%
          NO2   1-hour    448900.00     3331200.00               191.8               188.0           0.0524             0.0273%
          NO2   1-hour    456900.00     3322200.00               191.8               188.0           0.0252             0.0131%
          NO2   1-hour    460900.00     3322200.00               191.7               188.0           0.0325             0.0170%
          NO2   1-hour    449900.00     3321200.00               191.7               188.0           0.0358             0.0187%
          NO2   1-hour    457900.00     3321200.00               191.7               188.0           0.0225             0.0117%
          NO2   1-hour    469900.00     3328200.00               191.6               188.0           0.0481             0.0251%
          NO2   1-hour    453900.00     3320200.00               191.6               188.0           0.0164             0.0085%
          NO2   1-hour    449900.00     3328200.00               191.6               188.0           0.0407             0.0212%
          NO2   1-hour    466900.00     3324200.00               191.5               188.0           0.0535             0.0279%
          NO2   1-hour    446900.00     3325200.00               191.5               188.0           0.0506             0.0264%
          NO2   1-hour    458900.00     3321200.00               191.5               188.0           0.0115             0.0060%
          NO2   1-hour    431900.00     3317200.00               191.4               188.0           0.0015             0.0008%
          NO2   1-hour    453900.00     3323200.00               191.4               188.0           0.0314             0.0164%
          NO2   1-hour    466900.00     3318200.00               191.4               188.0           0.0248             0.0130%
          NO2   1-hour    435900.00     3322200.00               191.4               188.0           0.0110             0.0058%
          NO2   1-hour    437900.00     3326200.00               191.3               188.0           0.0253             0.0132%
          NO2   1-hour    467900.00     3322200.00               191.3               188.0           0.0792             0.0414%
          NO2   1-hour    468800.00     3295400.00               191.2               188.0           2.7979             1.4635%
          NO2   1-hour    449900.00     3324200.00               191.1               188.0           0.0938             0.0491%
          NO2   1-hour    462900.00     3320200.00               191.0               188.0           0.0125             0.0066%
          NO2   1-hour    433900.00     3319200.00               191.0               188.0           0.0146             0.0076%
          NO2   1-hour    462900.00     3321200.00               190.9               188.0           0.0153             0.0080%
          NO2   1-hour    467900.00     3320200.00               190.8               188.0           0.0874             0.0458%
          NO2   1-hour    450900.00     3329200.00               190.8               188.0           0.0409             0.0214%
          NO2   1-hour    462900.00     3323200.00               190.7               188.0           0.0339             0.0178%
          NO2   1-hour    447900.00     3320200.00               190.7               188.0           0.0556             0.0292%
          NO2   1-hour    463900.00     3320200.00               190.7               188.0           0.0298             0.0156%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    461900.00     3322200.00               190.7               188.0           0.0387             0.0203%
          NO2   1-hour    436900.00     3323200.00               190.6               188.0           0.0536             0.0281%
          NO2   1-hour    452900.00     3322200.00               190.5               188.0           0.0323             0.0170%
          NO2   1-hour    462900.00     3319200.00               190.5               188.0           0.0189             0.0099%
          NO2   1-hour    459900.00     3322200.00               190.5               188.0           0.0116             0.0061%
          NO2   1-hour    460900.00     3321200.00               190.5               188.0           0.0175             0.0092%
          NO2   1-hour    468900.00     3325200.00               190.4               188.0           0.0567             0.0298%
          NO2   1-hour    447900.00     3325200.00               190.4               188.0           0.0542             0.0285%
          NO2   1-hour    464900.00     3322200.00               190.4               188.0           0.0221             0.0116%
          NO2   1-hour    459900.00     3321200.00               190.3               188.0           0.0188             0.0099%
          NO2   1-hour    462900.00     3318200.00               190.3               188.0           0.0089             0.0047%
          NO2   1-hour    466900.00     3317200.00               190.3               188.0           0.0258             0.0136%
          NO2   1-hour    466900.00     3325200.00               190.2               188.0           0.0316             0.0166%
          NO2   1-hour    457900.00     3320200.00               190.1               188.0           0.0150             0.0079%
          NO2   1-hour    437900.00     3328200.00               190.1               188.0           0.0191             0.0100%
          NO2   1-hour    466900.00     3323200.00               190.0               188.0           0.0284             0.0150%
          NO2   1-hour    430900.00     3317200.00               190.0               188.0           0.0229             0.0120%
          NO2   1-hour    436900.00     3324200.00               190.0               188.0           0.0279             0.0147%
          NO2   1-hour    430900.00     3316200.00               190.0               188.0           0.0322             0.0169%
          NO2   1-hour    456900.00     3319200.00               189.9               188.0           0.0181             0.0095%
          NO2   1-hour    448900.00     3322200.00               189.9               188.0           0.0755             0.0398%
          NO2   1-hour    452900.00     3320200.00               189.9               188.0           0.0284             0.0150%
          NO2   1-hour    452900.00     3323200.00               189.8               188.0           0.0772             0.0407%
          NO2   1-hour    468900.00     3324200.00               189.7               188.0           0.0578             0.0305%
          NO2   1-hour    448900.00     3324200.00               189.7               188.0           0.0454             0.0239%
          NO2   1-hour    446900.00     3324200.00               189.6               188.0           0.0319             0.0168%
          NO2   1-hour    418900.00     3289200.00               189.6               188.0           0.0201             0.0106%
          NO2   1-hour    445900.00     3323200.00               189.5               188.0           0.0406             0.0214%
          NO2   1-hour    451900.00     3321200.00               189.5               188.0           0.0241             0.0127%




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           Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                  Sources

                            Location of NAAQS                                                    Project Only           Project
          Pollutant           Exceedance a/                                         NAAQS         Maximum           Contribution ot
                                                         Modeled + Background
          Averaging                                                                Standard     Contribution to     the Cumulative
                                                         Concentration (µg/m3)
           Period            (x)           (y)                                      (µg/m3)   NAAQS Exceedance       Concentration
                                                                                                   (µg/m3)             (percent)
          NO2   1-hour    465900.00     3324200.00               189.4               188.0           0.0262             0.0138%
          NO2   1-hour    446900.00     3323200.00               189.4               188.0           0.0565             0.0298%
          NO2   1-hour    462900.00     3322200.00               189.3               188.0           0.0192             0.0102%
          NO2   1-hour    452900.00     3319200.00               189.3               188.0           0.0202             0.0107%
          NO2   1-hour    447900.00     3331200.00               189.2               188.0           0.0491             0.0259%
          NO2   1-hour    461900.00     3318200.00               189.2               188.0           0.0169             0.0089%
          NO2   1-hour    444900.00     3322200.00               189.1               188.0           0.0588             0.0311%
          NO2   1-hour    449900.00     3329200.00               189.1               188.0           0.0511             0.0270%
          NO2   1-hour    452900.00     3321200.00               189.1               188.0           0.0276             0.0146%
          NO2   1-hour    459900.00     3320200.00               189.0               188.0           0.0134             0.0071%
          NO2   1-hour    459900.00     3319200.00               189.0               188.0           0.0725             0.0383%
          NO2   1-hour    468700.00     3295100.00               189.0               188.0           0.0930             0.0492%
          NO2   1-hour    445900.00     3325200.00               188.9               188.0           0.0434             0.0230%
          NO2   1-hour    467900.00     3319200.00               188.9               188.0           0.0878             0.0465%
          NO2   1-hour    466900.00     3316200.00               188.9               188.0           0.0389             0.0206%
          NO2   1-hour    461900.00     3317200.00               188.8               188.0           0.0231             0.0122%
          NO2   1-hour    448900.00     3320200.00               188.8               188.0           0.0409             0.0216%
          NO2   1-hour    433900.00     3320200.00               188.8               188.0           0.0271             0.0144%
          NO2   1-hour    445900.00     3324200.00               188.7               188.0           0.0441             0.0234%
          NO2   1-hour    451900.00     3319200.00               188.7               188.0           0.0179             0.0095%
          NO2   1-hour    451900.00     3317200.00               188.7               188.0           0.0420             0.0223%
          NO2   1-hour    444900.00     3324200.00               188.7               188.0           0.0540             0.0286%
          NO2   1-hour    437900.00     3327200.00               188.6               188.0           0.0403             0.0214%
          NO2   1-hour    455900.00     3321200.00               188.6               188.0           0.0191             0.0101%
          NO2   1-hour    435900.00     3321200.00               188.5               188.0           0.0262             0.0139%
          NO2   1-hour    457900.00     3316200.00               188.5               188.0           0.0129             0.0069%
          NO2   1-hour    461900.00     3316200.00               188.5               188.0           0.0080             0.0042%
          NO2   1-hour    447900.00     3333200.00               188.5               188.0           0.0620             0.0329%
          NO2   1-hour    448900.00     3330200.00               188.4               188.0           0.0465             0.0247%




JA416
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            Predicted Cumulative Concentrations for NAAQS Exceedances at the Commonwealth LNG Project for LNG Stationary and Mobile
                                                                   Sources

                                  Location of NAAQS                                                    Project Only         Project
          Pollutant                 Exceedance a/                                         NAAQS         Maximum         Contribution ot
                                                               Modeled + Background
          Averaging                                                                      Standard     Contribution to   the Cumulative
                                                               Concentration (µg/m3)
           Period                 (x)            (y)                                      (µg/m3)   NAAQS Exceedance     Concentration
                                                                                                         (µg/m3)           (percent)
          NO2   1-hour       461900.00        3319200.00               188.4               188.0           0.0083            0.0044%
          NO2   1-hour       452900.00        3318200.00               188.3               188.0           0.0095            0.0050%
          NO2   1-hour       433900.00        3318200.00               188.3               188.0           0.0017            0.0009%
          NO2   1-hour       448900.00        3323200.00               188.3               188.0           0.0445            0.0236%
          NO2   1-hour       462900.00        3317200.00               188.3               188.0           0.0135            0.0071%
          NO2   1-hour       465900.00        3315200.00               188.2               188.0           0.0254            0.0135%
          NO2   1-hour       468600.00        3295100.00               188.2               188.0           0.0031            0.0016%
          NO2   1-hour       468900.00        3323200.00               188.2               188.0           0.1269            0.0674%
          NO2   1-hour       448900.00        3332200.00               188.2               188.0           0.0516            0.0274%
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          a/ UTM NAD83 Zone 15N




JA417
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Document Accession #: 20220909-3017    Filed Date: 09/09/2022
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                                         APPENDIX I


         Environmental Justice Communities and Predicted Project-Only and Cumulative
           Concentrations for SIL and NAAQS Exceedances of the Commonwealth LNG
                               Project for LNG Stationary Sources




                                                                                JA418
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                                                                                                                                           Commonwealth LNG Project
        Proposed Site                                            Census Block Groups
                                                                 Assessed
    E   Existing Facilities
        Cumulative 1-Hour NO2
        NAAQS Exceedances
                                                                                                                                                                                    JA419
        Census Block Groups
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                             APPENDIX M

                     DRAFT ENVIRONMENTAL IMPACT

                STATEMENT COMMENTS AND RESPONSES

                                 Part II




                                                                     JA420
Public Meetings
April 25, 2022

                                                                                  20



                 shouldn ' t be allowing that .     So that ' s the end of my           PM4-6

           2   comments thank you .

           3                 MR . HANOBIC :     Thank you very much for your

               comment .     You comment will be put in the FERC record for

           5     this project .   Thank you .

           6                 MS . YODER :     Great , thank you so much .
                                                                                                                          USCA Case #23-1071




                             MR . HANOBIC :     Hi can you hear me ?

                             MS . BENOIT :     Hello?

           9                 MR . HANOBIC :     Can you hear me?

          10                 MS . BENOIT :     Yes I can .

          11                 MR . HANOBIC :     All right .   My name is David

          12     Hanobic .   I ' m an Environmental Project Manager with the

          13     Federal Energy Regulatory Commission or FERC .         I have on the

          14     line with me a consultant John Brewer , who is our contractor

          15   for Cardno , and also a Court Reporter .         Our job is to
                                                                                                                          Document #2023142




          16   conduct an environmental review of the Commonwealth LNG

          17     Project , and part of that process is gathering information

          18   from the public .

          19                 We issued our Draft Environmental Impact

          20   Statement for the Commonwealth LNG Project on March 31 ,

          21   2022 .    We are here to listen to your comment on the Draft

          22   Environmental Impact Statement , and record that comment in

          23   the FERC records for this project .

          24                 Comments will be addressed in the Final
                                                                                                                          Filed: 10/20/2023




          25     Environmental Impact Statement that is being produced .         In a




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Public Meetings
April 25, 2022

                                                                                          21



               moment I am going to ask you to state and spell your name

           2     for the Court Reporter , and then provide your comment .                The

           3   Court Reporter will start transcribing your comment for the

               official record once you state and spell your name , and we

           5   will provide a warning once you have approximately 30

           6     seconds left .
                                                                                                                                                                                        USCA Case #23-1071




                                 Currently we ' re probably looking at a five minute

                 time limit .         If you do not get to provide all of your

           9   comments within the time limit , you can file additional

          10   written comments using the directions provided in the Notice

          11   of Availability .          When you are finished the Court Reporter

          12   will stop recording your comment .                Are you ready to begin

          13     that process?

          14                     MS . BENOIT :    Yes .

          15                     MR . HANOBIC :    Okay .     Please state and spell your
                                                                                                                                                                                        Document #2023142




          16     name for the Court Reporter , and then you may begin your

          17   comment when you are done doing that .                Go ahead .

          18                     MS . BENOIT :    Mona , M- O- N- A Benoit ,

          19     B- E- N- O- I - T.

          20                     MR . HANOBIC :    You can begin your comment .

          21                     MS . BENOIT :    Yes .     I wish to -- our environment

          22     is full of breathing in all this stuff .              we don ' t need         PM5-1         PM5-1   Purpose and Need of the Project is discussed in section 1.1. Air
          23   anymore we ' ve got more than enough here ,             so that ' s enough .                          impacts of the Project are discussed in section 4.11.1.
          24   We don ' t need it all here .              So we don ' t need any more plants
                                                                                                                                                                                        Filed: 10/20/2023




          25     here .    Go build it somewhere else .           Thank you .




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                                                                                                                                                                                        Page 427 of 516




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           1     primary impacts of wildlife , construction of the terminal ,

           2     pipeline would be loss of estuarine emergent scrub ,           scrub ,

           3     and forest and wetland habitats and chenier habitats which
                                                                                            PM6-7
                 provide nutrients , cover ,     shelter , water for a variety of

           5     terrestrial and aquatic species including water fowl , wading

           6     birds , nesting birds ,   raptors , mammals ,    reptiles , amphibians ,
                                                                                                                              USCA Case #23-1071




                 construction of the terminal and said pipeline would cause

           8     displacement , stress , direct mortality of individual

           9     wildlife species that use these types of habitats .

          10                 Operation of the terminal would result in

          11     increased noise ,   lighting , human activity that could disturb

          12     wildlife in the area and a reduction of usable habitat for

          13     most wildlife species currently inhabiting the area .              And

          14     that -- I am quoting directly from page 1- 5 in your

          15     introduction .
                                                                                                                              Document #2023142




          16                 So there is no way that these minor positive

          17     economic impacts and the goal of Commonwealth export

          18     domestic LNG overseas is , will overwhelm the need to go no

          19     further action on this permit .

          20                 All right .      Now I think I ' m done , Miss Nancy .

          21                 MS . FOX :    Okay , great .     Thank you so much for

          22     your comments ,   John , and we will include them in the record .

          23                 MR . ALLAIRE :     All right .     Thank you all for

          24     letting us get a word in .
                                                                                                                              Filed: 10/20/2023




          25                 MS . FOX :    Okay , bye .




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           1     limit , you can file additional written comments using the

           2     directions provided in the Notice of Availability .

           3                       When you are finished , the court reporter will

                 stop recording your comment .                Are you ready to begin the

           5     process?

                                   MS . HOPKINS :    Sure .
                                                                                                                                                                                               USCA Case #23-1071




                                   MS . FOX :   Okay .   Please say and state your name

           8     for the court reporter , and then you may begin your comment .

                                   MS . HOPKINS :    My name is Lees Hopkins , L- e - e - s

          10     H- o- p - k- i - n- s .   I am opposed to the Commonwealth Liquefied

          11     Natural Gas facility .             It is not going to -- we are not

          12     going to be able to meet our climate goals as a State , and
                                                                                                   PM7-1         PM7-1   See response to comment PM2-1.
          13     from what I understand about the Louisiana Action Plan , you

          14     know         if this plant goes through , we ' re not going to be

          15     able to make those targets , and I would like our State to be
                                                                                                                                                                                               Document #2023142




          16     working in collaboration with the rest of the planet to

          17     fight climate change and not approve facilities like this .

          18                       I also understand that this report doesn ' t look

          19     at the kind of cumulative impacts of all of the already-                          PM7-2         PM7-2   Cumulative Impacts of the Project area addressed in section 4.13;
                                                                                                                         air quality impacts are discussed in section 4.11.1; and the safety
          20     existing types of facilities in the area , and that ' s
                                                                                                                         of the Terminal is discussed in section 4.12.1.
          21     concerning because it ' s not just one more facility . In fact ,

          22     it ' s one more facility on top of many other facilities in

          23     the area , and I know that air pollution is a big issue , and

          24     I ' m also concerned about potential other issues that can
                                                                                                                                                                                               Filed: 10/20/2023




          25     come up , pollution- wise , leaked , what have you ; accidents ,




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           1     explosions .        None of that ' s okay with me .            And I want this

           2     liquefied natural gas plant to not exist in Louisiana .                              PM7-2

           3     That ' s all I have to say .

                                  MS . FOX :     Okay , thank you so much for your

           5     comment , which will be included in the public record and

           6     considered in our review of the project .
                                                                                                                                                                                             USCA Case #23-1071




                                  MS . HOPKINS :       Thank you very much .        Bye .

           8                      MS . FOX :     Thank you .        Bye .

           9                      ( Pause)

          10                      MS . FOX :     Hi there , John , can you hear me?

          11                      MR . ALLAIRE :       I can , Nancy .

          12                      MS . FOX :     Hi there , again .         I 1 m not going to read

          13     this whole thing to you again because you already know

          14     the --

          15                      MR . ALLAIRE :       Oh , yes .
                                                                                                                                                                                             Document #2023142




          16                      MS . FOX :     If you want to just -- if you ' d say and

          17     spell your name for the court reporter , you can begin your

          18     comment .

          19                      MR . ALLAIRE :       Already .      My name is John , J - o- h- n

          20     Allaire , A- 1 - 1- a - i - r - e .   I am an adjoining landowner to the

          21     proposed Commonwealth LNG site .                   Back in 2021 I submitted
                                                                                                                    PM8-1   As noted in section 4.11.1.6, use of the Lake Charles Regional
                                                                                                      PM8-1
          22     comments with regard to the air permit modeling information                                                Airport is based on guidance specified by LDEQ in its Modeling
          23     source that Commonwealth LNG .                They chose to use the Lake                                   Procedures, the publishing date notwithstanding. In written
                                                                                                                            communication provided to Commonwealth on June 16, 2022
          24     Charles Regional Airport ,             that is 41 kilometers away from
                                                                                                                            (see appendix C of accession number 20220624-5165), LDEQ
                                                                                                                                                                                             Filed: 10/20/2023




          25     the site , rather than the NOAA weather station which is                                                   confirmed its approval of Commonwealth's use of this
                                                                                                                            meteorological station.




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                                                                                                                                                                 Public Meeting Comments
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           1                   MR . ALLAIRE :      Hello , Nancy , again .

           2                   MS . FOX :   Feel free to just -- I think the court

           3     reporter has the spelling of your name , so feel free to just

                 go ahead and state your comment .

                               MR . ALLAIRE :      All right .     John Allaire again .

           6                   In the Draft EIS document ,          I 'm concerned about
                                                                                                                                                                                         USCA Case #23-1071




                 Appendix G.      Appendix G is the list of the document

           8     preparers for this Draft EIS .              Of the 36 document preparers ,
                                                                                                PM8~         PM8-7   The preparers of the document are educated professionals that are
           9     none of the academic records presented in this appendix
                                                                                                                     objectively assessing the impacts of the Project on the
          10     indicates that any of the preparers of the document attended                                        environment. There is no cause for any of the preparers to harbor
          11     a Louisiana institution of higher learning or university in
                                                                                                                     any bias against the State of Louisiana. Additionally, the
                                                                                                                     cooperating agencies reviewing this Project, including the COE
          12     the State of Louisiana .
                                                                                                                     and NMFS, have field offices in Louisiana.
          13                   I think that there could be some potential bias

          14     here against the State of Louisiana ; the fact that none of

          15     the preparers listed have attended a university or
                                                                                                                                                                                         Document #2023142




          16     institution of higher learning in the State of Louisiana .

          17                   That ' s my comment with regard to that .

          18                   MS . FOX :   Okay , great .       Thank you so much for

          19     your comment .     You have about 20 minutes left to call in

          20     with another one .

          21                   MR . ALLAIRE :      All right .     Thank you , ma ' am .

          22                   MS . FOX :   Have a good evening .

          23                   (Pause)

          24                   MS . FOX :   Hi ,   there .     My name is Nancy Fox -
                                                                                                                                                                                         Filed: 10/20/2023




          25     Hernandez , and I am an environmental project manager with




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           1     the Federal Energy Regulatory Commission , or FERC .                  I have

           2     on the line with me my coworker Jenifer Fink , and John

           3     Brewer , and a court reporter .

                              My job is to conduct an environmental review of

           5     the Commonwealth LNG Project , and part of that process is

           6     gathering information from the public .
                                                                                                                            USCA Case #23-1071




           7                  We issued our Draft Environmental Impact

           8     Statement for the Commonwealth LNG Project on March 31st ,

           9     2022 .   We are here to listen to your comment on the Draft

          10     Environmental Impact Statement and record that comment in

          11     the FERC record for this project .            Comments will be

          12     addressed in the Final Environmental Impact Statement that

          13     will be issued on September 9th , 2022 .

          14                  In a moment I ' m going to ask you to say and spell

          15     your name for the court reporter , and then provide your
                                                                                                                            Document #2023142




          16     comments .   The court reporter will start transcribing your

          17     comment for the official record once you say and spell your

          18     name .

          19                  When you are finished , the court reporter will

          20     stop recording your comment .            Are you ready to begin the

          21     process?

          22                  MS . ROLLO :     Yes .

          23                  MS . FOX :     Okay .    Please say and state your name

          24     for the court reporter , and then you may begin your comment .
                                                                                                                            Filed: 10/20/2023




          25                  MS . ROLLO :     Vera , V- e - r - a Rollo , R- o- 1- 1- o .




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           1                  MS . FOX :     You can start the comment .

           2                  MS . ROLLO :     I am against this deal they ' re

           3     talking about .      If it ' s not going to do anything for us ,              PM9-1
                                                                                                              PM9-1    Comment noted.
                 that ' s no good .    So I ' m against it .     If we ' re not going to

           5     profit from it , well , that ' s not good .

                              MS . FOX :     Okay .    If that ' s all your comment ,   then
                                                                                                                                                                                      USCA Case #23-1071




                 thank you very much , Vera for your comment , and it will be

           8     included in the public record and considered in our review

           9     of the project .      You can now end the call .

          10                  MS . ROLLO :     Thank you .

          11                  ( Pause)

          12                  MS . FOX :     I hear John again .     This is Nancy .

          13                  MR . ALLAIRE :      John again , Nancy .

          14                  MS . FOX :     Hello .    Go ahead and say your name ,     and

          15     you can start your comment .
                                                                                                                                                                                      Document #2023142




          16                  MR . ALLAIRE :      John Allaire .

          17                  On page 1- 10 of the introduction in the Draft

          18     Environmental Impact Statement , FERC states :            Our analysis

          19     of cumulative impacts includes other projects in the

          20     vicinity of proposed Commonwealth project effects .                           PM10-1         PM10-1   Impacts on coastal wetlands and vegetation are discussed in
          21                  Same research of the project in the same                                                 sections 4.4 and 4.5. The cumulative impacts of the
                                                                                                                       Commonwealth project on coastal wetlands and vegetation are
          22     approximate time frame .         We generally conclude that the
                                                                                                                       discussed in sections 4.13.2.3 and 4.13.2.4. The cumulative
          23     potential of the project combined with the impacts from the                                           impacts section assesses the combined impacts of the two (or
          24     other projects considered in their geographic scopes , will
                                                                                                                       more) projects on the respective resources at the respective
                                                                                                                       project sites
                                                                                                                                                                                      Filed: 10/20/2023




          25     not result in significant impacts on resources .




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                                                                                                                                                            Public Meeting Comments
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           1     Administration for the U. S . Government states :         This is one
                                                                                            PM 10-2
           2     of the two primary factors in LNG rising consumer rates

           3     across the United states .

                             And I think that ' s my final one , Nancy .

                             MS . FOX :    Thanks so much for your comment , John ,

           6     for your comments .      They will be included in the record .        We
                                                                                                                                USCA Case #23-1071




                 appreciate your input .

                             MR . ALLAIRE :    All right .     You all have a great

           9     evening and thank you for your time today .

          10                 MS . FOX :    Thank you . Bye .

          11                  ( Pause)

          12                 MS . FOX :    Let the record show that the scoping

          13     session for the Commonwealth DEIS closed at 5 : 30 p . m. on

          14     April 26 , 2022 .

          15                 Thanks , everybody .
                                                                                                                                Document #2023142




          16                  [Thereupon , at 5 : 30 p . m.    (EST) , the scoping

          17     session concluded .]

          18

          19

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          24
                                                                                                                                Filed: 10/20/2023




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April 26, 2022

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           1                     CERTIFICATE OF OFFICIAL REPORTER

           2

           3                   This is to certify that the attached proceeding

                 before the FEDERAL ENERGY REGULATORY COMMISSION in the

           5     Matter of :

           6                   Name of Proceeding :
                                                                                                            USCA Case #23-1071




           7                   Commonwealth LNG , LLC

           8

           9

          10

          11

          12                   Docket No . :   CP19 - 502 - 000

          13                                   CP19 - 502 - 001

          14                   Place :         Virtual

          15                   Date :          Tuesday , April 26 , 2022
                                                                                                            Document #2023142




          16     were held as herein appears , and that this is the original

          17     transcript thereof for the file of the Federal Energy

          18     Regulatory Commission , and is a full correct transcription

          19     of the proceedings .

          20

          21

          22                                             Mike Williams

          23                                             Official Reporter

          24
                                                                                                            Filed: 10/20/2023




          25




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INDIVIDUALS
IND5- JOHN ALLAIRE
     Document Acceeeion II: 20220511 · 5089              l"i l ed Date, 05/11/2022


                                              FEDERAL ENERGY REGULATORY COMMISSION
                                                          888 First S ree~ NE
                                                        WASH INGTON. D.C. 20426


              Ol' FICE OF ~ ERGY P,ROJE CTh                                       In Rep]y Refer To:
                                                                                  OEP/DG2E/Gas 4
                                                                                  Commonwealth LNG, LLC
                                                                                  Commonwealth LNG Project
                                                                                  Docket os. CP19-502-000 and
                                                                                     CP19-502~001
                                                                                                                                USCA Case #23-1071




              March 31. 2022

              VIA Electronic Mail

              Rusty Swafford
              Acting Assistant Regional Administrator
               ational Marine Fisheries Service
              Habitat Conservation Division, Southeast Region
              rusty.swafford@noaa.gov
                                                                                                                                Document #2023142




              RE: CommonweaUJ1 LNG Pt-oject - Essential Fisll Habitat Assessment

              Dear Mr. Swafford:

                     Commonwealth LNG. LLC (Commonwealth) filed an application with the Federal
              Energy Regul!atory Commission (FERC) for authoriz.at:ion to construct, own. and operate
              the Commonweald1 LNG Project (Project). Commonwealth requests authorization
              pursuant to section 3(a) of the atural Gas Act (NGA) to construct, operate, and maintain
              a liquefied natural gas (LNG) export Terminal and natural gas pipeline system in
              Cameron Parish, Louisiana. The staff of die FERC issued a draft environmental impact
              statement (EIS) for the Project on March 31, 2022. As cequired by the Magnuson-
              Stevens Fishery Conservation and Management Act, and as described in the EIS , I am
                                                                                                                                Filed: 10/20/2023




              requesting an essential fish ha.bi.rat (EFH) consultation with your office for the Project.

                    Commonwealth proposes to construct the following facilities as pan of the
              proposed Project:

                        •         six liquefaction trains at the Commonwealth L G Tenninal, each with a
                                  nominal capacity of 1.4 million tons per annum of LNG for export, cesulting
                                  in the total nominal capacity of 8.4 million tons per annum;




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IND5- JOHN ALLAIRE
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                    •       six LNG storage tanks, each with a net capacity of 50,000 cubic mete.rs~

                    •       a new macme facility with one LNG vessd berth to accommodate loading of
                            LNG vessels with capacities ranging from 10,000 to 216,000 cubic meters,
                            am LNG vessel and support vessel maneuvering area, and an overw.uer barge
                            dock~
                                                                                                                                          USCA Case #23-1071




                    •       am approximately 2,500-foot-long earthen stonnwater culvert along the west
                            amd south sides of the Tenninal perimeter to convey stormwater and drainage
                            from the wetlands west of the Terminal to the Calcasieu River;

                    •       two flare systems.;

                    •       utilities (e.g. , electricity generation, water, plant air, nitrogen, hot oil system);

                    •       operation and safety systems (e.g., acoess and haul mads, storm protection
                            structures, stormwater drainage systems, spill containment system, fire
                            suppression facilities, facility lighting and security, emergency shutdown
                                                                                                                                          Document #2023142




                            systems);

                    •       appurtenant facilities (e.g., admmistrative facilities, maintenance and
                            warehouse buildings, marine facility operator buildings, equipment
                            enclosures and electrical :rooms)~and

                    •       3.0 miles of 42-inch-diameter pipeline, including two interconnection
                            facilities, one metering station, and one pig 1 launcher facility;

                    Please 1der to the EIS for maps and other Project-specific information.

                     The proposed Project would require dredging and in-water pile driving to
              construct the LNG vessd berth and biennial dredging to maintain the depth ofthe
                                                                                                                                          Filed: 10/20/2023




              vessel birth. Construction of the LNG terminal would permanently fill 11.9 acres of
              tidally influenced emergent wetlands,2 1.6 acr,es of tidal slough habitat, arnd 1.2 acres
              of open water; and oonstruction of the pipdine would temporarily affect about 43.6
              acres of tidally mfluenced emergent wetlands along the 3.0-mile right-of-way and

                    A "pig'' is a device that travcls wi1hin a pipeline and is used to dean and dty the pipeline and/or
                    to inspect. it for damage oi: corrosion




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              permanently fill 0.3 acre of tidally influenced emergent wetlands to construct the
              aboveground facilities . Essential Fish Habitat for post laival and juvenile stages of
              white shrimp, brown shrimp, red drum, red snapper, gray snapper, fane snapper, gray
              triggerfish, cobia, greater amberj1ack, king mackerel. Spanish mackerel, scalloped
              hammerhead shark, blaclctip shark, and Atlantic shatpnose shark occms in the Project
              a£ea. We request that NMFS consider the draft ElS (section 4.6.3) as our initiation of
                                                                                                                       USCA Case #23-1071




              EFH consultation. We will update our EFH assessment and consultation with NMFS,
              if necessary, as we receive additional Project information from Commonwealth.

                    We request any potential recommendations you may have for EFH conservation
             measures and request your ultimate concurrence with our assessment. If you have any
             questions or concerns regarding this request, please contact ancy Fox-Fernandez,
             environmenral project manager, at (202) 502-8559.



                                                                    Sincerely,
                                                                                                                       Document #2023142




                                                                    Danny Laffoon,
                                                                    Chief, Gas Branch 1
                                                                    Division of Gas - Environment
                                                                    and Engineering



             Cc:   VIA Electronic Mail

                   JanUa£Y Murray
                                                                                                                       Filed: 10/20/2023




                     OAA Fisheries
                     ational Oceanic and Atmospheric Administration
                   Habitat Conservation Division
                   January.Murray@noaa..gov




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IND10- JOHN ALLAIRE

          Document Accessio n#: 20 22 0 523 -5010                     File d Da te , 05 / 23 / 2 0 22




                            Comments on Docket CP19-502-000 to FERC in response to Draft EIS Report
                             (DEIS) Dated March 31, 2022. Comments on Introductory Statements with
                             Regard to W ildlife Resources and Project Sighting.


                   I am a loca l property owner whose res idence is located directly west of the pro!X)sed project site. All of my 3 11
                   acres of coastal wet1ands adjoin the western boundary of the proposed CWL G site. I am a degreed professional
                   with over thirty of experience in the environme ntal field. I have worked as an Environmental Engineer,
                   Envirmrnental Coordinator and an Environmental Manager for one of the world ' s largest O il and Gas companies in
                                                                                                                                                                        USCA Case #23-1071




                   the world. Over 40 years of my career were spent working in Texas and Louisiana driHing for, producing and
                   refining oil and gas reserves for consumption by US consumers, manufacturers and industries. My credentials are
                   available upon request
                   In Section 4.4.1.1 of the DEIS titled Tnminal FERC states the fo llowing: " A tota l of 95.9 acres of wetlands ·would
                   be impacted by construction of the Terminal, of which 89.6 acres would be permanently impacted for operations and
                   6.3 acres would be temporarily impacted during construc tion for a construction and laydown a rea. The 6.3 acres
                   that would be temporari ly im pacted fo r the construction and laydown area and 65.8 acres of the pennnncntly
                   impacted area arc REM wetlands1 The remaining permanent impact area consists of ESS (9.5 ::icri:s and EFO ( 14.3
                    crt! ~ wt! Ll ands. The maJonty (about 81 t!rcent) of tht! Tt!nnmal sttt! 1s com~ed o f Wt!-tlands '

                   On Page 1-5 of the DEIS Introduction under heading Wildlife Resources FERC states the following: "The primary
                   impect oo wildlife from constnx:tion of the Terminal and Pipeline would be the loss of estuarine emergent, scrub
                   shrub, and forested wetland habitats and chenier habitat, which provide nutrients, cover, shelter, and water for a variety
                   of terrestrial and aquatic wildlife species, including waterfowl, wading birds, nesting birds, raptors, mammals, reptiles,
                   and amphibians. Construction of the Terminal and Ptpehne could cause displacement, stress, and direct mortality of
                   individual wildJife species that use these types of habitats. Operation of the Terminal would result in increased nmse,
                   lighting. and human activ ity that could disturb wildlife m the.! area and a reduction o f usable. habitat for most wildlife
                   species currently inhabiting the area. However. due to the existing heavy ship traffic and other industrial uses along
                                                                                                                                                                        Document #2023142




                   the Calcasieu Ship Channel, most wildlife in the area are likely accustomed to the noise and artificial lighting
                   associated with these activities.    Operation of the Pipeline would require minimal lighti ng. activities, or other
                   disturbances that would a!Tect wi ldli fe.

                            The wetland and chenier habitats in the Proiecl area are especially important as potential habitat for migratory
                   bird species, including songbirds, colonial nesting waterbirds, and raptor,;. The Project is within the Gulf Coast Prairie
                   Bird Conservation Region and the Chenier Plain Important Bird area. Chenier habitat provides critical in-transit
                   habitat for migrating birds prior to and after crossing the Gulf of Mexico. Commonwealth consulted with the FWS
                   a nd LDWF to determine measures Commonwealth would implement to avoid a nd minimize impacts on migratory
                   bird.5. Measures include attem tmg to adh~re to a vegetation clearing-restriction window of March 1 through July 3 1,
                   adhering to FWS-recommended conservation measures related to minimizing impacts from flares end lighting,
                   conducting pre-construction field surveys for evidence of colonial nesting waterbird rookeries and consulting F\1/S
                   and LDWF if any are found, and protecting chcn ier habitat present in the Project area tha t would not be affected by
                   construction.

                            We conc lude that constructing and operating the Project woul d not significantly affect wildlife populations
                   and wildlife habitat."
                                                                                                                                                                        Filed: 10/20/2023




                    Some of the statements and conclusions as stated in this DEIS are inaccurate and misleading. As stated above
                   "Chenier habitat prov ides critical in-transit habitat for migrat ing birds prior to and after crossing the Guff of
                   Mexico." Then FERC states "The primary impact oo wildlife from construction of the Terminal and Pipeline would
                   be the Joss of estuarine emergent, scrub shrub, and forested wetland habitats end chenier habitat, which provide
                   nutrients, cover, shelter, and water fore variety of terrestrial and aquatic wi ldl ife species, including waterfowl,
                   wading birds, nesting birds, raptors, mammals, reptiles, and amphibians. Construction of the Terminal and Pipel ine
                   could cause dISplacement, stress, and direct mortality of indiv1dual wi ldlife species that use these types of habitats.




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IND10- JOHN ALLAIRE

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                                                                                                                                                         IND10-1   The potential impacts of the Project on wildlife species are
                  These are very true statements. They then to go on to conc lude the fo llowing: "However, due to the existing heavy                              discussed in section 4.6.1.
                  ship traffic and other industrial uses along the Calcasieu Ship Channe~ most wi ldlife in the area are like ly
                  accustomed to the noise end artificial lighting associated with these activ ities... This is an incorrect and mis leading
                  conclusion. Perm anent loss of 65.8 acres of Estuari ne Emergent marsh and 14.4 acres of Estuarine Forest at the
                  project site will not only destroy that habitat it will significantly affect adjoining marshes and their resident species.   IND10-1
                  The existing Chenier forest and emergent marsh habitat you are describing. and CWLNG will be destroying,
                  currently prov ides a natural sound and light barrier from the existing heavy ship traffic and other industrial uses
                  along the Calcasieu Ship Channel. These existing features shield the existing migratory and resident wildlife species
                  from exactly the stress, and direct mortality of individual wildli fe species from the increased noise, lighting, and
                  hwnan activity described above. Removal of these existing barriers will destroy the wildlife habitat at the site and
                  cause a significant reduction of usable habitat for all of the wildl ife species by degrading the habitat in the adjoining             IND10-2   As noted in section 4.6.1, if the construction schedule requires
                                                                                                                                                                                                                                      USCA Case #23-1071




                  marsh.                                                                                                                                           clearing during the migratory bird nesting season,
                  In the DEIS the following statement is made: "Measures include attempting to adhere a vege1ation clearmg-restriction                             Commonwealth would consult with the FWS regarding
                  window of March I through July 31 , adhermg to FWS-recommended conservation measures related to minimizing                                       appropriate methods to minimize impacts on migratory birds.
                  impacts from flares and lighting, conducting pre-construction field surveys for evidence of colonial nesting waterbird
                  rookeries and consulting FWS and LDWF if any are found, and protecting chenier habitat present in the Project area
                  that would not be affected by construction. ,.
                                                                                                                                               IND10-2
                  This DEIS fails to define what "attempting to adhere a vegetation clearing-restriction window of March I through
                  July 31 . Will adherence to this restriction be a permit condition or just an attempt to comply with as is stated above.
                  Either they are going to be required to adhere to restrictions or they will not adhere.

                  The second measure states that C\VLNG will "adhere to FWS•recommended conservation measures related to                                 IND10-3   Commonwealth's revised flaring duration and the potential
                  minimi zing impacts from flares and Lighting". Vent ure Global Calcasieu Pass Facil ity flared almost continuously
                  from their comm issioning date in January through the end of April. In a period from January 27, 2022 until April 27,                            impacts of flaring on migratory birds are provided in
                  2022 Venture Global flared night and day thought out the prim e neo-tropical bird migration period. There were 5                                 provided in sections 2.1.1.4, 4.6.1.3, and 4.11.2.4
                  only days during this 90 day period when they were not flaring. See atlached photographs and I wi ll provide additional
                  tim e and date s1amped photos upon request CWLNG states that they will be flaring only 12 days per year in the               IND10-3
                  DEIS. Please define in the EIS what measures will be taken if the proposed project is approved to prevent sim il ar
                                                                                                                                                                                                                                      Document #2023142




                  flaring events from occurring at the CWLNG site.

                  The third measure states that CWLNG will conduct pre-construction surveys for nesting bird colonies. I have been
                  at the site on a daily basis for the past three months and have observed nesting mottled ducks, blue wing teal, black
                  be llied whistling ducks, American avocets, black neck stilts' and many other species of shorebirds. Please confirm
                  that the appropriate agency representatives wi ll assist in or witness these pre-construction surveys. Additionally, I
                  would request that these surveys will be used, in required annual follow up surveys, as a baseline for determi ning                    IND10-4   As noted in section 4.6.1, Commonwealth would
                                                                                                                                               IND10-4
                  that wild li fe populati ons and habitat have not be significan tly affected as is stated by FERC in the DEIS. As a side
                  note several Black Rails have been locate d on the property adjoining the proposed CWLNG facility as recently as of
                                                                                                                                                                   conduct field surveys for colonial waterbird nesting
                  May 2022.                                                                                                                                        colonies using qualified biologists no more than 2
                  How can the public be expected to respond inte lligently to the project's environmental affects if incomplete,
                                                                                                                                                                   weeks prior to the commencement of construction,
                  inaccurate and misleading information and conc lusions are presented in the DEIS. [ respect full y request at a                                  should construction clearing occur between February
                  minimum that FERC formally withdraw this DEIS until they ca n prov ide the public with complete and accurate
                  infonnation re lated to this project If these issues caMot be investigated and resolved I would respectfully request
                                                                                                                                                                   15 and September 15.
                  that the Under the No-Action Alternative. the Project should not be pem1itted at this environmentally productive and
                  sensitive area.
                  Thank for your attention to th is matter
                                                                                                                                                                                                                                      Filed: 10/20/2023




                  John A llaire BS/MS




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                                                                                                                                                                                                                 Individual Comments
INDIVIDUALS
IND12- JOHN ALLAIRE

                                                                                                                                                IND12-1   Comment noted.
          Document Accession#: 20220523-5039                    Fi l ed Date , 05/23/2022




                          Comments on Docket CP 19-502-000 to FERC in response to Draft EIS
                          Report (DEIS) Dated March 31, 2022. Comm ents with Regard to Project
                          Purpose, Conclusions and Bias.
                  I am a local property owner whose residence is located directly west of the pro posed project site. All of
                  my 3 1 I acres of coastal wetlands are adjoin the western bounda ry oftl1e proposed CWLNG site. I am a
                  degreed professional with over thirty of experience in U1e environmental field . I have worked as an
                  Environmental Engineer, Environmental Coordinator and an Envirorunental l\1fana ger for one oftl1e
                  world's largest Oil and Gas companies in the world. Over 40 years of my career were spent working in
                                                                                                                                                                                           USCA Case #23-1071




                  Texas and Louisiana drilling fo r, producing and refinin g oil and gas reserves for consumption by US
                  consumers, manufacturers and industries. My credentials are available upon request.

                  Commonwea lth states that the puivose and ohjective of the proposed Project is '1o liquefy and export to
                  foreign markets, domestically produced natural gas sourced from the existing interstate and intrastate
                  pipeline systenis of Kinetica and Bridgeline, respectively, in southwest Louisiana." FERC
                  In the DEIS Introduction under the Socioeconomics section FERC states the following: "Construction of
                  the Project wo uld result in minor pos iti ve economic impacts due to increases in construction jobs, payroll
                  taxes, purchases made by the workforce, and expenses associated witl1 U1e acquisition of material goods
                  and equipment. Operation of tl1e Proj ect would have a minor positive effect on U1e local governments ' tax
                  revenues due to the increase in property taxes that would be collected. Construction of U1e Project would
                  not have a significant advet~e impact on local populations, employment, and provision of community
                  seivices, housing, or prope1ty va lues. "

                  FERC goes on the stale: "The proposed Project would have a range of im acts on the environment and on
                  ind.ividuals living in the vicinity oftl1e Project facilities, including environmental justice populations. Based
                                                                                                                                                                                           Document #2023142




                  on the scope of the Project and our analysis of the Project 's impacts on the environment, we have determined
                  Project•related impacts on wetlands , surface water,. aquatic resources, visua l resources, recreation,
                  socioeconomics, traffi c, noise, and air quality may adv~rsely affect the identified c:n vironmental j ustice
                  communities. In general, the magnitude and intensity of the impacts would be greater for individuals and
                  residences closest to the Proj ect 's facilities and would diminish witl1 distance. Based on our analysis, tl1e
                  impacts experienced by the env irorunental justice communities in tl1e Project area would not be
                  predom inately borne by the environmental justice community. Therefore, in1 acls would not be
                  dispro ,01tionate lv high and adverse as the Project would not be located in an environmental justice
                  community and the closest residents are not located in an environmental j ustice community." Yes tl1ese
                  impacts will be borne by all of the local communities . "However, environmental justice communities
                  would ex erience s ignificant im :1cL<; associated with the viewshed of th e new Termina l facilities.
                  Regarding environmental justice communities, we have determined environmental justice communities in
                  the study area would experience cumulatiYc impacts on wet lands, surface water, aquatic resources,
                  socioeconomics, traffic, noise, air qua lity, greenhouse gas (GHG) and sign ificanl visual cumulali ve im pacts
                  related to the Project and tl1e additional projects witltin the respective geographic scopes of the Project. " In
                  these comments FERC ment ions several adverse afTected communities and significant and cumulative
                  impacts on tl1e environment and tl1e loca l communities which are somewha t diminished witl1 distance. I            IND12-1
                                                                                                                                                                                           Filed: 10/20/2023




                  would agree with this part of FERC's conclusions that the fu rther away from this proposed noisy. pollution
                  spewing, wetlands destroying, wildlife taking and veiwshed altering facility th.e impacts will be reduced.

                  FERC goes on to state: "Independent of whether tl1e Project is constructed, other LNG export projects
                  ma y still be developed in tl1e Gulf Coast region or elsewhere in tl1e United States and tl1ese projects would
                  cause both adverse and beneficial impacts on the environment. Under the o-Action Alternative, the




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IND12- JOHN ALLAIRE

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                  Project would not be developed and Commonwea lth 's objecti ve o f liquefying and expo1ting natural gas to
                  foreign markets wou ld not be realized." Under the O-Action Alternative the exportin g of natural gas to         IND12-2       IND12-2    Purpose and Need is discussed in section 1.1. The
                  foreign markets wo uld not be realized and costs of energy for US domesti c consum ers, manufacturers and
                                                                                                                                                            Commission will determine if the project meets the public
                  industries would be red uced leading to decreased inflation and lower domesti c prices for goods and
                  services. As has been reported in many studies the people on the lower economi c ladder and fixed                                         interest standard provided in section 3(a) of the Natural
                  incomes suffer the most with in~-reased inflation. In recen t publications the S E nergy Inform ation                                     Gas Act. 15 U.S.C. § 717b(a).
                  Admin istration (USEIA) has reported that increases in domes tic use of dirty coa l by US electric power
                  provider,,. In an Aug ust 2021 report, tl1e USEIA reported th at hi gher US natura l gas prices could be ti ed
                  directly to ris ing consumption fo r sectors other than electric power provider,, and growth in exports of
                  LNG. How is expanded permitting of th ese energy export tenninals consis ten t witl1 the public interest.
                                                                                                                                                                                                                        USCA Case #23-1071




                  In the DEIS Introduction under title Cumulative Impacts FERC states tl1e following: "Our analysis of                           IND12-3   See the response to comment PM10-1.
                  cumulative impacts includes other projects in the vic inity of the proposed Commonwealth Project that cou ld IND12-3
                  affect tl1e same reso urces as the Proj ect in th e same approximate timeframe. We generall y conclude that
                  tl1e potential impacts of the Project, when combined with tlte impacts from tlte otl1er projects considered in
                  the geograpl1ic scopes, would not result in a s ignificant impact on resources ." These statements are
                  inaccurate, 80 % of the Global Venture Calcasieu Pass facility was built on mostly pred isturb ed land. The
                  GV facility was built on land that was used to deposit dredge spoils during tl1e construction of the Calcas ieu
                  River Ship Chann el beginning in the 1920 and in subseq uent maintenance dredging projects. Much oftl1e
                  Global Venture site was also part oftl1e former Calcasieu Pass Gas Field. 11tis changed tlte entire dyna mics                  IND12-4   See the response to comment CO2-29.
                  of tl,e G lobal Venture proj ect site. Piles of dredge spoils and old we ll locations at tl,e Venture Global
                  project site can be observed on USGS quadrang le maps. See attached USGS 1982 Cameron Quadrangle.
                  80% of tl1e G lobal Venture faci lity was built on pre disturbed land. Less than 15% of the proposed
                  CWLNG pipeline, marine bertl1 and facility footprints has been disturbed by otl1et· tltan minor human
                  activity. G lobal Ventures project EIS described tl1e following for pennanent wetlands loss: 20.9 acres of
                  est uarine etnergent wetlands (EEM), .7 acres of estuarine scrub-scrub and O acres of estuarine forest. The
                                                                                                                                                 IND12-5
                                                                                                                                                                                                                        Document #2023142




                  CWLNG DEIS !isl, the permanent loss of 65. 8 acres of estuarine etnergent wetlands, 20.9 acres of estuarine                              The subject of preparer bias is addressed in the response
                  forest (Chertier's) and 9 .5 acres of estuarine scrub-scrub wltich is prime black rai l habitat. No accurate                             to comment PM8-7. Regarding the commenter's
                  comp arative conclusion can be drawn between clearing es tuarine forest, backfilling EEM and concreting
                  over Chenier's and wetlands at tl1e CWLNG proposed location and what has occurred at the GV facili ty.
                                                                                                                                                           statement of location bias in siting projects in Louisiana
                                                                                                                                                           and Texas, the oil and gas industry is well established in
                  FERC also states "Commonwea lth 's proposed mitigation measures would minim ize or offset Project
                                                                                                                                   I   IND12-4             Louisiana and Texas and the location of these projects
                  impacts on loca l resources." TI1ere is no way that any proposed mitigation measures can minimize or
                  offset the loss of these Chenier and wetland habitats that took nature tens of thousands of years to create.                             does not indicate bias against the states. The Project
                                                                                                                                                           Purpose and Need is discussed in section 1.1.
                  With rega rd to bias in preparing this document I noted the following. ln th e List of Preparers for th e            IND12-5
                  DEIS not one of tl1e 34 preparers listed an acadeinic credential from a State of Louisiana institution of
                  hi gher learning, college or uni vers ity. I am very concerned with tl,e apparen t location bias in sightin g
                  tl1 ese projects in Louisiana and Texas. I am also very concerned about the increasing detrimental effects
                  of energy and consumer product inflation on lower and fo,ed income families in th e US due to FERC' s
                  continued pe1mitting of these energy export facilities. I respectfully request that FERC impletnent the
                  NO-Action Alternative fo r tltis and otl1er similar domes tic energy export projects.
                                                                                                                                                                                                                        Filed: 10/20/2023




                  Thank for your attention to this matter.

                  John Allaire BS/MS Physical Sciences




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IND12- JOHN ALLAIRE

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INDIVIDUALS
IND13- JOHN ALLAIRE

                                                                                                                                  IND13-1   Discussion of Commonwealth’s newly proposed BUDM
          Document Accession#: 20220523-5041               Fi l ed Date , 05/23/2022
                                                                                                                                            site in place of the previously proposed DMPA is provided
                                                                                                                                            in sections 2.5.1.1. and 4.4.2.2.
                         Comments on Docket CP1 9-502-000 to FERC in response to Draft EIS Report (DEIS )
                         Dated March 31, 2022. Comments on Ocean Dumping
                  I am a local property owner whose re idence is located directly west of the proposed proj ect site.
                  All ofmy 3 11 acres of coastal wetlands are adjo in the westem boundary of the proposed
                  CW LNG site. My property includes 3000' of shoreline on the Gulf of Mexico which is directly
                  north of the proposed dumping area fo r the CW LNG dredge spoils. See attached USGS map. I
                  am a degreed professional with over thirt y of experience in the enviromnental fi eld. I have
                  worked as an Environmental Engineer, Environmental Coordinator and an Enviromnental
                                                                                                                                                                                                        USCA Case #23-1071




                  Manager for one of the world's largest Oil and Gas companies in the world. Over 40 years of
                  my career were spent working in Texas and Loui simia drilling fo r, producing and refining oil mid
                  ga5 reserves fo r consumption by US consumers, manufacturers and industries. My credentials
                  are avai lable upon request.
                  In Commonwealth 's Response for lnfomiation Request Dated Febmary 18, 2022, in which
                  Commonwealth responded to FERC' s inquiry regardin g dredge disposal locations and the
                  mil igation of impacts to estuarine water bottoms Conunonwealth responded that they abandoned
                  their plans to mitigate by BU DM and instead were utilizing compensatory mitigation credits and
                  coordinating with the Corps to conduct near shore disposal of the marine berth dredge material.
                  In the introduction of the DEIS CWLNG or FE RC tated that the Dredging of the marine fac ility
                  and subsequently placing the dredge spoils at a nearshore dredge materials placement area
                  (DMPA) would temporarily affect 47.0 acres of estuarine mud bottom and estuarine water
                  column at the marine facility and l ,100 acres ofnearshore marine non-vegetated bottom and
                                                                                                                        IND13-1
                                                                                                                                                                                                        Document #2023142




                  marine water column at the DMPA. FERC concludes that sedimentation and turbidit y impacts
                  on aquatic resources fro m dredging would be localized, temporary to short-tenn, and not
                  sign ificant. I disagree and would refer to 40 Code of Federal Regulations (CFR) 220-229.

                  Under the 1PRSA, EPA is responsible for establ ishing criteria fo r reviewing and evaluating
                  pennit applications. EPA is responsible for issuing ocean dumping pennits fo r materials other
                  than dredged materi al. [n the case of dredged material, the U.S. Anny Corps of Engineers
                  (U SACE is responsible for issuing ocean dumping pennits, usin g EPA 's enYironmental criteria.
                  Pi:rmits for ociJan dumping of dn.:dgi:d matl.!nal ari: subjiJl;l to EPA ri: vi -.:-w and written
                  concurrence. EPA is also responsible for designating and managing ocemi disposal sites for all
                  t~ es of materials.

                  EPA and USACE together develop site management and monitoring PLA1\ S (S MMPs) for each
                  designated ocean dredged material disposal site. EPA' s Ocemi Dumping Management Program,
                  often in coordinat ion with USACE, conducts oceanographic surveys at these ocean disposal sites
                  to evaluate environmental condit ions at the site and to detenniue what management actions may
                                                                                                                                                                                                        Filed: 10/20/2023




                  be needed. There were no oceanographic surveys provided in this DEIS at this ocean disposal
                  site to evaluate enviromnental conditions at the site and to detemiine what management actions
                  may be needed. [( is required that the public be provided with this infonnation so they may
                  comment on the site management mid monitoring plans prior to agency approvals.




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IND13- JOHN ALLAIRE

                                                                                                                                       IND13-1   Discussion of Commonwealth’s newly proposed BUDM
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                                                                                                                                                 site in place of the previously proposed DMPA is provided
                                                                                                                                                 in sections 2.5.1.1. and 4.4.2.2.
                  EPA's ocean dumping regulations are published at 40 Code of Federal Regulations (CFR) 220-
                  229, and include the criteria and procedures for ocean dmnping permits and for the designation
                  and management of ocean disposal sites under the MPRSA. In addition, SACE has published
                  regulations tmder various provisions of 33 CFR 320, 322, 324, 325, 329, 331, and 335-337.
                                                                                                                             IND13-1
                   Nowhere in this DEIS is there doctm1entation of the EPA's PLAf\ review of this proposed pem1it
                  for ocean dumping of dredged materia.l and no EPA written concurrence is provided for public
                  review or comment. TI1is infomiat ion is required as is detailed in 40 code of Federal Regula! ions
                  (CFR) 220-229, Title 33, Section 1412 (3), Dredged Material Disposal Sites. In the case of
                  dredged material disposal sites, the EPA Administrator, in conjunction with the Secretary of
                                                                                                                                                                                                             USCA Case #23-1071




                   ACOE, shall develop a site management PLA.'\J for each site designated pursuant to this sect ion.
                  trn dewloping such PLAN S. the Administrator mid the Secretary shall provide opportunity for
                  public comment.

                  Such Pl .Af\ S shall include, but not be limit ed to- (A) a baseline a sessment of conditions at the
                  site; (B) a program fo r monitoring the site; (C) special management conditions or practices to be
                  implemented at each site that are necessary for protection of the environment ; (D) consideration
                  of the quantity of the material to be disposed of at the site, and the presence, nature, and
                  bioavailability of the contaminants in the material; (E) considerat ion of the anticipated use of the
                  site over the long tenu, including the anticipated closure date fo r the site, if app licable, and any
                  need for management of the site after the closure of the site; and (F) a schedul e for review and
                  revision of the plan (which shall not be reviewed and revised less frequently than 10 years after
                  adoption of the plan, and every 10 years thereafter).

                  Section 1413 goes on to state that the Dumping pennit program for dredged material (a) Issuance
                                                                                                                                                                                                             Document #2023142




                  by Secretary of the Ann y Subject to the provisions of subsect ions (b), (c), and (d) of this sect ion,
                  the Secretary may issue ennits. aft er notice and 01JQ_ortunity fo r public hearings, fo r the
                  transportation of dredged material for the purpose of dumping it into ocean waters, where the
                  Secretary detenuines that the dumping will not unreasonably degrade or endanger human health,
                  welfare, or amenities, or the marine environment, ecological systems, or econo1nic potentialities.

                  Nowhere in this DEI S is there documentation of the EPA' s or the ACOE's PLA.:-l or review of
                  this proposed pennit for ocean dumping of dredged material and no EPA written concurrence is
                  provided for public review or co nunent as is required by is required in 40 code of Federal
                  Regulations (CFR) 220-229 Title 33. Without this required infomiation, neither the sister
                  agencies, interested groups or the public can properly evaluate nor conuuent on the severity of the
                  adverse effects of the CWLNG di sposal Plan. Based on lack of statutorily required infomiation,
                  public notice and opportunity for public hearings in this DEIS I respectively request the No action
                  alternative be se lected for this proposed project.
                                                                                                                                                                                                             Filed: 10/20/2023




                  John Allaire BS/MS Physical Sciences




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IND13- JOHN ALLAIRE

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IND14- JOHN ALLAIRE

                                                                                                                                    IND14-1   The summary text in section 4.13.2.9 states NSA 2 is
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                                                                                                                                              approximately 0.4 mile to the west of the proposed
                                                                                                                                              Terminal. As noted, this is an approximation. NSA 2 is
                                                                                                                                              approximately 0.35 mile west of the proposed stormwater
                         Comments on Docket CP19-502-000 to FERC in response to Dmft EIS Repott                                               protection wall on the west side of the Terminal. Section
                         (DEIS) Dated March 31 , 2022. Conm1ents on Noise Concems at NSA 2
                                                                                                                                              4.11.2 provides more specific distances to NSA 2.


                  Contesting Permit Application Due to Noise Impacts at NSA2 .

                  FERC states on page 4-422 of the DEIS the foll owing: "171e nearest NSA to the proposed
                  Tem1inal, is an RV site used as a year-round residence by the landowner (NSA 2), is
                                                                                                                                                                                                          USCA Case #23-1071




                  approxim ately 0.4 mile to the west. " "Terminal constrnction is estimated to last 36 to 38 months
                  and would invo lve di sturbance of the ent ire site and surrounding area. " To be accurate the          IND14-1
                  recently re-designated NSA 2 is located less than 1900' from the CWLNG liquefaction Plant,
                  less than 1800 ' from their main fl are system and only 750' from their fac ility bom1dary where
                  construction activities would occur.
                  F'cdeml Regulato1-:,· Statute 18 CF'R § 157.206( b)(S)(i)X5) states the followin g
                  (i) The no ise attributable to any new co mpressor station. compression added to an existing
                  station, or any modifi cation, upgrade or update of an existing station, must not exceed a day-
                  night level (Ldn) of 55 dBA at any pre-existing no isc-sensit ive area (s uch as schools, hospitals,
                  or residences).
                  (ii) A compressor fac ility installed under this section must be designed to meet the fo llowing
                  no ise emissions criteria. For each new compressor stati on fac ility. and for each addition or
                  modification to an exist ing compress ion station, Ute blanket certificate ho lder must fil e a noise
                  survey with U1e Secretary within 60 days of placing the facility in servi e.
                                                                                                                                                                                                          Document #2023142




                  171e DEIS states the fo llowing: "Operation of the Terminal site would produce noise on a
                  continuous basis. Many of the dominant noise sources (compressor piping and air coolers)
                  would be at elevations of more than 20 feet above grade and, as such, may have a greater
                  influence on NSAs than if grotmd based. "
                  FERC states Uiat "Excavation m1d dredging would be required to construct the marine facility and
                  create a berthing area for LNG carriers. CommonwealU1 would excavate the upland area associated
                  with the marine faci lity using a land-based excavator. Commonwealth would dredge the open
                  water associated with the marine faci lity using a barge-mounted cutterhead suction dredge.
                  Dredging would begin within the first nine months of construction and last for 17 months
                  (Commonwealth would also dredge the marine facility footprint every two years duriJ1g operation,
                  whi ch would require approxim ately 7 days to complete). Dredging would be conducted on a
                  continuous, 24-hour schedule and in accordance with COE and SCG regulations m1d FWS and
                  NOAA gu idelines to minimize potential impacts on protected species .
                                                                                                                                                                                                          Filed: 10/20/2023




                  Prin1ary noise so urces from dredging activities would include diesel engines with associated
                  pumps, as well as a tt1gboat used to position the dredge fo r iJ1-water activities and construction
                  equipment and dump trucks fo r trm1sportation of soil s and 0U1er materials on land. Table 4. 11.2-
                  5 provides the modeled noise impacts for the dredging activities at NSAs I and 2. Given U1e broad
                  ei..1ent along the Tenninal shoreline that dredging would occur, Commonwealth modeled the




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                                                                                                                                     IND14-2   The recommendations in the final EIS are those of the
                           The modeling results indicate that the total no ise impacts (L.q) during peak construction
                  activities (table 4.11 .2-3), and the maximum noise impacts (Lmax) during peak pile driving (table
                                                                                                                                               FERC environmental staff. If the Commission authorizes
                  4.11. 2-4), would exceed expected ambient sound levels at NSA.s I and 2 by more than IO dBA                                  the Commonwealth LNG Project, FERC staff
                  (i.e., the increase in noise would be perceived as twice as loud as ambient conditions). The total                           recommends that the measures listed in section 5.2 be
                  constmction noise impacts appear to be dri ven by Leqvalues of the civil works activities (i.e., earth                       included as specific conditions in the Commission’s
                  moving equipment). However, the modeled results are considered as worst-case scenarios; these                                Order.
                  increases over ambient noise would be short tenn and would occur primarily during da)1ime hours.
                  1l1e only constmction activities to occur during night1ime hours would be dredging operations
                  (table 4.11 .2-5). Dredgin g would increase noise relat ive to ambi ent levels at NSA I by
                  approximately 5 dBA, which would also exceed the 55 dBA threshold. 1l1erefore, we recommend
                  that:

                      • Prior to the end of the draft RIS comment netiod , Commonwca.lth shouJd Ille with the
                                                                                                                                                                                                        USCA Case #23-1071




                          Secretary a dredging noise mitigation plan that includes the measures it would
                         implement to reduce the pro_jected ni ghttime (10 pm to 7 am) noise levels to at 01·
                          below 55 dBA L,i,, at NSA 1, and how it wouJd monitor the noise levels during                    IND14-2
                         dred ging activities. Be aware that a calibrated and certified continuous noise monitoring
                         system with a data recorder will be installed at NSA2 upon beginning of any dredging or
                         constrnction activities if this proposed project is pennitted. If any civil constrnction or



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                          dredging activities exceed the 55d8A Ldn at S. 2. I would then request that the CWLl G
                                                                                                                                                                                                        Document #2023142




                          be ordered. not recommended. lo implement a constru lion and dredg ing mitigati n plan           IND14-2
                          prior to resuming aforement ioned act ivit ies similar to the r«onunendati n indicated for
                          N A I in this document.
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IND14- JOHN ALLAIRE

                                                                                                                                        IND14-3   See section 4.11.2.4, in which we provide noise conditions
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                                                                                                                                                  related to operational noise levels and recommend approaches
                                                                                                                                                  for Commonwealth to comply with the requirement of
                                                                                                                                                  operating the Terminal at noise levels below an Ldn of 55
                  Be aware that a calibrated and certified continuous noise monitoring system with a data recorder                                dBA.
                                                                                                                              IND14-3
                  will be installed at NSA2 upon beginning of operations of this facility. lf operation of this facility
                  noise levels exceed the 55dBA Ldn at NSA 2. I would then request that the CWLNG shutdown
                  until a noise mitigation system be installed and tested prior to resuming operation of the facility.
                  Flares
                                                                                                                                        IND14-4   See comment PM8-2.
                  As noted in section 2.1.1.4 of the DESI FERC states the following: "the Tennina l would include
                  two flare systems, one associated with the liquefaction facilities and one associated with the
                  marine facility, for venting excess natural gas, if necessary, during maintenance,
                                                                                                                                                                                                                 USCA Case #23-1071




                  startup/shutdown, mid upset activities. Outside of emergency situations, Conunonwealth
                  estimates fl aring would be required for approximately 5 days during startup of the Tenninal and
                  then for no more than 12 hours during the fi rst year of operation and 6 hours per year in
                  subsequent years. " Commonwealth expects the durations of different emergency events lo last
                  approximately 1 hour per event at likely frequenc ies of once every 3, 5, or 25 years depending on
                  the emergency type. Commonwealth expects shutting down the Tenninal due to a hurricane
                  would req uire 6 hours of flaring (i.e., one hour per train), which would represent the largest
                  flaring event. The noise associated with the flare operati on as detailed above will clearly exceed
                  the requirements detailed in Statute 18 CFR § 157.206(b)(5 (i))(5) at the propose project
                  location.
                  Venture Global Calcasieu Pass Facility flared almost continuously from their co nunissioning date
                  in Jmrnary through the end of April. In a period from January 27, 2022 ,mtil April 27, 2022 Venture         IND14-4
                  Global fl ared night and day thought out the prime neo-tropical bird migration period. TI1ere were
                  5 only days during this 90 day period when they were not flaring. See attached photographs and I
                                                                                                                                                                                                                 Document #2023142




                  wi ll provide additional time and date stamped photos upon request fo r the aforementioned months
                  and the month of May 2022 if requested. TI1ey continue to flare as I prepare this document. Not
                  onl y can I see both of Global Venture 's flares with the current northeast wind I can hear their flares
                  operating from my patio. See attached photo from 5-22-22. CWLNG states thatthey will be flaring
                  only 12 clays per year in the DEIS . Please define in the EIS what measures will be taken if the
                  proposed project is approved what is to prevent similar flaring events from occurring at the
                  CWLNGsite.

                  Start-up and nonnal operations-related flaring activit y would not result in noise levels in
                  exceedance of the 55 dBA thresho ld at either NSA. Emergency flaring activities cou ld result in
                  maximum (Lmax) and day-night (La,) no ise levels upwards of70 dBA at both NSA 1 and 2.
                  However, these events would be, by defmition, emergency event s and would be temporary
                  (approximately I hour in duration) or during times when the NSAs are unlikely to be populated
                  (i.e., during hurricane evacuations). FERC states the fo llowing about flare operations:
                  "Therefore, we conclude noise impacts from flarin g would not be significant." The noise
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                  associated with the flare operation as detailed above will clearly exceed the requirements
                  detailed in St;1tuk 18 CFR § 157.206(b)(5)(i))(5) at the propose project location.




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IND14- JOHN ALLAIRE

                                                                                                                                  IND14-5   Section 4.11.2 has been revised to reflect that the
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                                                                                                                                            anticipated duration for dredging is 5 months. Impacts
                                                                                                                                            related to construction activities are considered temporary.
                                                                                                                                            Section 4.11.2 also contains our recommendation that
                  ln their- Noise Conclusions fow1d page 4-263 of the DEIS FERC draws the foUowing                                          Commonwealth monitor construction noise levels between
                  conclusions.                                                                                                              7:00 p.m. and 7:00 a.m. and restrict noise attributable to
                  4.11.2.5 Noise Conclusions
                                                                                                                                            construction activities to no more than 55 dBA Ldn (48.6
                                                                                                                                            dBA) at NSAs 1 and 2.
                  Constnaction activities are projected to last approximately 36 months. Civil works (i.e., earth
                  moving) could result in noise impacts greater than 55 dBA at NSA 2; pile driving maximum
                  no ise levels (Lmax) during the peak construction period would result in noise impacts greater than
                  55 dB at NSAs 1 and 2;
                                                                                                                                                                                                           USCA Case #23-1071




                  With implementati on of an effective noise mitigation plan for dredgi ng, the increases in noise                          Comment noted. Commission staff has included the
                  levels during construction would be short-tern, (how is 36 mo nths considered short Lem1) and         IND14-5   IND14-6
                  would occur during daytim e hours (7 a. m. to 10 p.m.) (The January sunset in Cameron Louisiana
                                                                                                                                            recommendations in section 4.11.2.4 to ensure the noise
                  occurs al about 6pm). Based on the analyses conducted and our recommendations, we conclude                                levels are met. As noted in our response to comment
                  that operation of the Tenninal would not result in significant noise impacts on the NSAs.                                 IND14-2, the recommendations in the final EIS are those
                   1l1e facts as presented in the DEIS detail that the operational no ise levels at NSA2 are only .4                        of the FERC environmental staff. If the Commission
                  Lan below required no ise requirements. Even FERC questions these numbers and recommends,             IND14-6             authorizes the Commonwealth LNG Project, FERC staff
                  110 1 requires) that a statutorily required noise survey be conducted.
                                                                                     1l1e construction and flare                            recommends that the measures listed in section 5.2 be
                  noise levels as presented in the DEIS exceed regulatory requirements. One can only conclude                               included as specific conditions in the Commission’s
                  that the noise levels at SA2 will nol meet the regulatory req uirements. I request that the o                             Order.
                  Action Alternat ive for this proposed project be selected.

                  John Allaire
                  621 Gulf Beach HWY Ho lly Beach, Louisiana 7063 1
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IND17- JOHN ALLAIRE

                                                                                                                                    IND17-1   Comment noted. See section 4.8.2.
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                         Comments on Docket CP19-502-000 for Commonwealth LNG Project                                               IND17-2   Comment noted.
                          Response to Commonwealth's "Response to CWLNG Claims of May 23,
                         2022

                  I wou ld like to address several inaccuracies, omissions and misstatements in CW LNG's May 23,
                  2022 su bmittal to FERC. There are several inaccuracies and omissions in their most recent
                  submission to FERC. I will restate that the site pavilion has a 50' by 30', 6" thick con crete slab
                  that is reinforced with nylon fibers and pretensioned stain less steel aircraft cab le. This pavilion
                                                                                                                                                                                                  USCA Case #23-1071




                  was one of the only structures in lower Cameron Parish which was not damaged or destroyed
                  by Hurricanes Laura and Delta . Commonwealth stated that " Mr. Allaire parks his camper trailer
                  on the occasions when he intermittently visits Louisiana". I purchased thi s camper in December
                  of 2016 and the trailer has been parked continuously at this location since that date. The two
                                                                                                                          IND17-1
                  occasions when this trailer was not at this location was during the evacuations related to
                  hurricanes Laura and Delta in 2020.

                  Commonwealth goes on to state that " In this regard Commonwealth personnel have rarely
                  seen Mr. Allaire at this location." I'm not sure if this a misstatement or mistruth. I was unaware
                  that Commonwealth was observing and documenting my presence in Cameron Parish. Upon
                  request I can provide dated, 2022 credit card receipts that will document my presence in
                  Cameron Parish. Additionally, I can provide phone records and statements from Cameron
                  Parish re sidents that will docum ent my presence in Cameron Parish during the past three years.

                  I am currently in discussions with a local builder to construct a permanent residence at this
                                                                                                                                                                                                  Document #2023142




                  location . Due to his current project load he is not avai lable to begin the project in the first or
                  second quarter of 20 22. I am planning to submit plans to the Parish for my new permitted
                  residence in the third or fourth quarter of 2022.

                  On another note CWLNG informed FERC that they moved their pipeline right-of-way because a
                  landowner requested them to move it. This increased the acreage of wetlands affected by the
                  pipeline right-of-way by .1 acre. Ask CWLNG who the landowner was. What really happened is
                  when I informed them that I would not sign their option agreement as presented until my land
                  attorney reviewed it. I then asked to see the Cameron Port Harbor and Terminal Authority's
                  (CPHTA) pipeli ne agreement with CWLNG . Louisiana law requires that the CPHTA must obtain
                  an independent appraisal and make that information available for public review and comment.             IND17-2

                  The CPHTA did not show up at her office at the time published in the pub lic notice and the
                  independent appraisal was not available for review. She said she would send me a copy back in
                                                                                                                                                                                                  Filed: 10/20/2023




                  2021 and I am sti ll wa it ing. I asked who performed and pa id for the appraisal. She stated it was
                  CW LNG's contractor TRC and that CW LNG paid for the appra isal. I have copies of the public
                  notice and emails to confirm my comments. They are availab le upon request. The same outfit
                  that did the pipeline appra isa l for CPHTA did my property appra isal for CWLNG .




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IND17- JOHN ALLAIRE
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                                                                                                                                 IND17-3   Comment noted.



                  In February of 2021 Mr. Karl Jansson VP for Commonwealth requested that I participate a
                  conference call with himself and Mr. Paul Varello with Commonwea lth to di scuss the possibility
                  of purchasing my property. In their response to FERC they stated that " Mr. Alla ire's property
                  has been assessed to have a market value of $385,000." I'm not sure who performed this
                  assessment without visiting the property. My 311 acre tract of land includes all of Sections 26
                  and 27 in Township 155 range lOW. The property has approximately 3200' of frontage on the
                  Gulf of Mexico and 2300' of frontage on the north and south sides of State HWY 27.
                  Improvements on the property include the previously mentioned pavilion, a permitted septic
                  system, drinking water service and Jeff Davis electrical service, a permitted 290' deep 4"water
                  well which is compl eted in the Chicot aquafer, 3500' of heavy industrial grade road which is
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                  double boarded with 36" of limestone and geotextile fabric and a 20,000 sq. /ft. 18" thick
                  heavy industrial raised pad.

                  Recent property improvements after the hurricanes include comp lete replacement of all site
                  electrical components and addition of 92 tons of limestone to the site roads to repair hurricane
                  damage. Additiona ll y, in April 2021 we completed a $10,085.92 habitat improvement project
                  at the site which was funded by Ducks Unlimited and USFW Partners for Fish and Wildlife
                  Program. Cost estimates obtained this month for the repla cement of the site roads and site
                  pad are $700,000 for the road and $100,000 for the pad . The pavilion cost when built in 2018
                  was $27,000. The water well cost was $13,000 when installed in 2011. The utility
                  infrastructure cost of replacement including permit fees would be approximately $15,000.
                                                                                                                       IND17-3
                  Commonwealth misstated in their response to FERC that they offered me $450,000 for my
                  property. That is not accurate. They offered me $40,000 to sign an option agreement to
                  potentially purchase the property. Upon execution of this agreement they woul d then have the
                                                                                                                                                                            Document #2023142




                  option to purchase the property at a price of $400,000 at a future date. I would retain the
                  $40,000 option payment in the event that they decided not to purchase the land .

                  The Commonwealth offer was completely inadequate as the following local real estate listings
                  detail:

                  MLSlt 194304, 1.56 acres of land with frontage on State HWY 27 in Holly Beach. No property
                  improvements, listed for $1,000,000

                  Ml51t SWL21003878, .46 acres of land in Pelican Beach Subdivision. No Gulf frontage or
                  property improvements, listed for $67,000

                  MLSlt SLW21001345, .12 acres of land in Holly Beach. No gulf frontage but includes basic
                  utilities, listed for $69,000

                  MLSlt 193271, 15 acres of Agri cultural land in Johnson Bayou. North of State HWY 27, listed for
                  $13 7,500 for a cost of $9, 166 per acre
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                  MLSlt SWL21001142, .23 acres on the beach front. Vacant land listed for $100,000


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                  Thank you giving me an opportunity to correct and clarify some of the misleading and
                  inaccurate statements Commonwealth has submitted to FERC with regard to myself and my
                  secondary residence. I am concerned about consistent inaccuracies they have submitted to             IND17-3
                  FERC r egarding the purchase my property, how they assessed it and contesting my 2020




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                  presence at my property. In my mind it still raises serious questions about the integrity of their
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                  filings and information provided elsewhere across the docket to FE RC.

                  John Allaire


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IND18- JOHN ALLAIRE

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                           Comments on Docket CP19-502-000 to FERC in response to Draft EIS Report                                    IND18 is a duplicate of IND16
                           (DEIS) Dated March 31, 2022. Comments with regard to tidally influenced
                           areas affected by this project.
                   I am a local property owner whose residence is located directly west of the proposed project site. All of
                  my 311 acres of coastal wetlands drain through main footprint of the proposed CW LNG site. I am a
                  degreed professional with over thirty of experience in the environmental field. I have worked as an
                  Environmenta l Engineer, Environmental Coordinator and an Environmental Manager for one of the
                  world's largest Oil and Gas companies in the world. Over twenty years of career were spent working in
                                                                                                                                                                                      USCA Case #23-1071




                  Louisiana. My credentials are available upon request. Much of my property is tidally influenced and will
                   be directly affected by the proposed project. I have been living at this site since 1998 and have
                  observed the tidal action in this area for 24 years. The current mapping of area drainage plan and tidally
                   influenced areas as presented in the DEIS are incomplete and inaccurate.

                  With regard to delineation of tidally influenced areas affected by this project FERC in a March 31, 2022
                  letter to NOAA NMFS the USACE stated the following: "As of March 31, 2022, the U.S. Army Corps of
                  Engineers had not completed its official accounting of the acreage of wetlands that it considers to be
                  tidally influenced at the LNG terminal site; therefore, the final acreage total of EFH that would be
                  affected by construction of the Project could vary from that presented here." The DEIS presents to the
                  sister agencies or the public "no official accounting of the acreage of wetlands that it considers to be
                   tidally influenced at the LNG terminal site."

                  I contend that the amount of tidally influenced wetlands as currently presented in the DEIS is inaccurate
                  and greatly underreported. In this DEIS the agencies have failed to disclose the extent of the tidally
                  affected wetlands or the how the adjacent area drainage will not be disrupted. I conducted a limited
                                                                                                                                                                                      Document #2023142




                  study of the of the tidal elevations at the tidal drains that connect the water body identified on CWLNG
                  wetland delineation maps as CO2 with the property south of State HWY 27. See the map below. The
                  attached Power Point presentation shows the locations of the tidal drains located along HWY 27. These
                  tidal drains are located under the road and provide tidal flow into the marsh south of Hwy 27. The SW
                  tidal drain is located on Section 27 which adjoins section 28 of the proposed CWLNG project site. GPS
                  coordinate of the SW and NE tidal drains are provided along with a photo of the SW tidal drain.

                  Slides 4 -7 in the PowerPoint presentation are date and time stamped and show the tidal levels at that
                   moment in time . This series of photos detail the tidal elevation variations south of HWY 27 over the last
                  2 weeks. Additional photos and tidal elevations were collected and can be provided upon request.
                  These tidal readings vary by as much as 10.16 inches over period of this study. CWLNG Figure 9, which is
                  included in the Power Point presentation, details the Mean High Water elevations; to +.88' NAVD
                  elevations that are flooded by high tide events. These events occur regularly at this site.

                   In addition the high tides this weekend over topped the gulf shore line dunes and flooded tidal water
                   into water body SLOl which is identified on the aforementioned wetland delineation map. Photos and
                  videos can be provided upon request.
                                                                                                                                                                                      Filed: 10/20/2023




                  How can the public be expected to respond intelligently to the project's environmental affects if tidal
                  information is not provide in this DEIS. I respectfully request at a minimum that FERC formally withdraw
                  this incomplete DEIS until they can provide their sister agencies and the public with complete and
                  accurate information related to this project.




          Document Accession#: 20220524-5201                       Filed Date, 05/24/2022




  JA448
                   If FERC is unable to provide complete and accurate information with regard to the aforementioned issue
                                                                                                                                                                                      Page 453 of 516




                   I would respectfully request that FERC select the NO Action alternative for this project at this
                   environmentally productive and sensitive area. Thank for your attention to this matter.



                                                                                                                                264
                                                                                                                                                                      Individual Comments
INDIVIDUALS
IND19- CYBELE KNOWLES

         Documen t Accession# : 20220523 - 0006                       Filed Da t e: 05/23/2022




                                                                                                                                                   IND19-1    Project impacts on wetlands and Commonwealth's proposed
                                CE NTE R for BIOLOGIC A L D I VERSI TY                                                                                        mitigation are discussed in section 4.4.2. Threatened and
                                                                                                               ::::,                                          endangered species, including the eastern black rail, are
                                                                                                               fT1

                                                                                                               2""11   ~                                      addressed in section 4.7.
                  May 18, 2022                                    _,
                                                          \I' ;,,,.
                                                                 081GINAL
                                                                  _ _____...                                 rrr,
                                                                                                            ~~
                                                                                                            ;o::::,
                                                                                                                       ;
                                                                                                                       --<
                  Secretary Kimberly D. Bose
                  Federal Energy Regulatory Commission                                                      -<F        N                           IND19-2    Impacts on threatened and endangered species, including
                                                                                                            C")l"Tl    w
                  888 First Street NE, Room 1A                                                                                                                the eastern black rail, are addressed in section 4.7.
                  Washington, D.C. 20426                                                                    ~~
                                                                                                            3:::0
                                                                                                                       u
                                                                                                                                                                                                                          USCA Case #23-1071




                                                                                                            ~~         ..
                   Dear Commissioners,                                                                     0
                                                                                                           :z:
                  Enclosed please find 1,793 comments from Center for Biological Diversity supporters urging you                                   IND19-3
                  to deny Commonwealth LNG 's application for a new terminal and pipeline in Cameron Parish ,
                                                                                                                                                              See response to comment IND19-2.
                  Louisiana (CP19-502-000, CP19-502-001 ).

                  The project will destroy more than 30 acres of wetlands, which provide cri tically important                       IIND19-1
                  habitat for federally protected eastern black rails. Noise and human activity associated with the
                  construction and operation of the facil ity will likely further displace and disrupt black rails near
                                                                                                                                     IIND19-2
                  the project site. As many as 30 birds may be killed or injured by the project. Meanwhile, eastern                  IIND19-3      IND19-4    See response to comment IND19-2.
                  black rail populations in Lou isiana and the southeast region are already facing significant
                  threats. The U.S. Fish and Wildlife Service has determined that there may be only 10 or fewer                          IND19-4
                  breeding pairs left in the entire state and that the Southwest Coastal Plain population has "low
                  resiliency" due to low populations threatened by sea-level rise and habitat loss. The species is
                  likely to be extirpated in the United States by 2068 without implementation of better land-
                  management practices . We can't afford to lose any more eastern black rails , especially when
                                                                                                                                                                                                                          Document #2023142




                  cleaner, more efficient, and less harmful alternatives clearl y- exi st for this project.

                  In addition to destroying habitat for black rails and other w ildlife, the pipeline will add to the                    IND19-5   IND19-5    Climate impacts of the Project discussed in section
                  climate emergency. Although natural gas is sometimes touted as a cl imate solution , its ch ief
                  component - methane - is an especially potent climate pollutant that heats the atmosphere                                                   4.13.2.11.
                  87 times more than the same amount of carbon dioxide over a 20-year period.

                  Thank you for your attention to the enclosed letters.

                  For the wild ,



                                                                                                                                                   FERC received 1,793 copies of IND19 and IND20, which
                  Cybele Knowles                                                                                                                   contain the same comments in different formats.
                  Deputy Digital Director
                  cknowles@biologicald iversity.org
                                                                                                                                                                                                                          Filed: 10/20/2023




                  (520) 623-5252 X 324

                  Enclosure: 1,793 letters




                 Alaska . Ar,zona . California. F/or,da . Minnesota . Nevada . New Mexico . New York . Oregon. Vermont. Wash,ngton. DC
                 P.O. Box 7 JO. Tucson. AZ 85702-0710 tel, (520) 623.5252 fax, (520) 623.9797             www.81olog1ca/01verstly.org




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                                                                                                                                        265
                                                                                                                                                                                                          Individual Comments
INDIVIDUALS
IND21- GAIL TUCKER
                                                                                                                                                IND20-1   Project impacts on wetlands and Commonwealth's proposed
          Document Accession#: 20220524-0081                     Filed Date, 05/24/2022                                                                   mitigation are discussed in section 4.4.2. Threatened and
                                                                                                                                                          endangered species, including the eastern black rail, are
                                                                                                                                                          addressed in section 4.7.

                    Secretary Kimberly D. Bose                                    FILED      .
                    Federal Energy Reg ulatory Commission                    SECRETARY OF THE'
                    888 First Street NE, Room lA                               COMMfSSION
                    Wash ington, DC 20426
                                                                            ZOii MAY 21.J A 11: 31                                              IND20-2   Impacts of natural hazards on the Project are addressed in
                    Dear Commissioners,                                    F                                                                              sections 4.1.5 and 4.12.1.5. Climate impacts are
                                                                         R ·EDERAL ENERGY
                    I urge the Federal Energy Regulatory Commission to ~¼(;~!~\l.bn~llti\l!J.)i\9~application for a new                                   addressed in section 4.13.2.11.
                    terminal and pipeline In Cameron Parish, Louisiana (CP19-502-000, CP19-502-001). The project will
                    destroy more than 30 acres of wetlands, which provide critically important habitat for federally
                                                                                                                                                                                                                       USCA Case #23-1071




                    protected eastern black rails . Noise and human activity associated with the construction and operation           IND20-1
                    of the facility will likely further displace and disrupt black rails near the project site. As many as 30 birds
                    may be killed or injured by the project. Meanwhile, eastern black rail populatlons in Louisiana and the
                    southeast region are already facing significant threats. The U.S. Fish and Wildlife Service has
                    determined t hat there may be only 10 or fewer breeding pairs left in the entire state and that the
                    Southwest Coastal Plain population has "low resiliency• due to low populations threatened by sea-level
                    rise and habitat loss. The species is likely to be extirpated in the United States by 2068 without
                    implementation of better land-management practices. On another point, the location along the Gulf is
                    especially prone recently to severe hurricane conditions. It is reasonable ta predict damage to the
                    pipeline with massive releases of the methane contamination that will contribute significantly to the
                    carbon footprint in that area and beyond. as it is distributed by wind from any such tropical                     IND20-2
                    storm/hurri cane conditions. We can't afford to lose any more eastern black rails, especially when
                    cleaner, inore efficient, and less harmful alternatives clearly exist for this project. In addition to
                    destroying habitat for black rails and other wildlife, the pipeline will add to the climate emergency.
                    Although natural gas is sometimes touted as a climate solution, its chief component - methane - is an
                    especially potent climate pollutant that heats the atmosphere 87 times more than the same amount of
                                                                                                                                                                                                                       Document #2023142




                    carbon dioxide over a 20-year period.? FERC must deny Commonwealth's application.

                    Sincerely,

                    Gail S. Tucker
                    Miami, FL33137
                                                                                                                                                                                                                       Filed: 10/20/2023




  JA450
                                                                                                                                                                                                                       Page 455 of 516




                                                                                                                                       266
                                                                                                                                                                                                      Individual Comments
INDIVIDUALS
IND21- RAMEET SINGH


         Document Accession #:        20220527-0021                Filed Date, 05/27/2022



                                         ORIGINAL                                  FILED                                                           IND21-1    Climate Impacts of the Project are discussed in section
                  Rameet Singh                                                SECRITARY OF THE
                  Albuquerque, NM 87106
                                                                                                                                                              4.13.2.11.
                                                                                COMMISSION
                  May20, 2022                                                                                                                      IND21-2
                                                                             ZOZZ HAY 21 A 9, 23                                                              Impacts on air quality are addressed in section 4.11.1.
                  Federal Energy Regulatory Commission
                  Secretary of the Commission, Kimberly D. Bose              FEDERAL ENERGY
                  888 First St, NE, Washington, DC 20426                  REGULATORY COMMISSION                                                    IND21-3    Impacts on threatened and endangered species and marine
                  Re: Commonwealth LNG's Draft Environmental Impact Statement                                                                                 mammals are discussed in sections 4.6.2 and 4.7.1.
                                                                                                                                                                                                                               USCA Case #23-1071




                  Dear Commlsioners,

                  I am writing to express my serious concerns regarding Commonwealth LNG's Draft Environmental Impact Statement                    IND21-4
                  • we simply cannot let this project be built. The people and fragile wetlands in Southwest Louisiana already suffer
                                                                                                                                                              Safety of the Terminal is discussed in section 4.12.1.
                  extreme impacts of the fossil fuel industry. Commonwealth LNG, and the 10 other export terminals proposed for the      IND21-1
                  region, will result in irreparable harm and lock the world into a climate crisis. The Federal Energy Regulatory
                  Commission must put people over corporate profits, and say no to Commonwealth LNG.

                  Commonwealth LNG will contribute significantly to the region's increasingly polluted air. which is already causing               IND21-5    Socioeconomic impacts of the Project are discussed
                  significant public health issues in Southwest Louisiana. There are four LNG terminals planned for the small            IND21-2
                  community of Cameron, and the combined emrsslons would make the region unlnhabltable.
                                                                                                                                                              throughout section 4.9; Climate Impacts of the Project are
                                                                                                                                                              discussed in section 4.13.2.11.
                  In addition. the construction and operation of Commonwealth LNG would result in the destruction of valuable
                  weuands where federally endangered and threatened species like the Eastern Black Rail and Piping Plover nest The
                  Increased ship traffic wMI put the Gulfs Rice's Whale, Bottlenose Dolphin, and other federally threatened and
                                                                                                                                         IND21-3
                  endangered species at risk of marine pollution and ship strikes.                                                                 IND21-6    The Purpose and Need of the Project is discussed in section
                  Commonwealth LNG will also be located in an extremely vulnerable section of shoreline. Hurricanes hit this region
                                                                                                                                                                                                                               Document #2023142




                                                                                                                                                              1.1; impacts on coastal wetlands are discussed in section 4.4.
                  with greater frequency and force, a problem that will only get worse as our climate continues to warm. In recent
                  years, the community of Cameron has recorded 12•14 foot storm surges and the shoreline is eroding away at an           IND21-4
                  average of 13 feet per year. This is a dangerous location for a !racked gas export terminal and all of the hazardous
                  waste and gas that will contaminate the region when the facility is compromised.
                                                                                                                                                   FERC received 597 copies of IND21. Some versions of this letter
                  Finally, Southwest Louisiana is already among the most impacted in the country by climate change. Communities like
                  Cameron, once a thriving fishing community of 10,000 people, have seen most of their residents migrate due to                    contained unique and substantive comments in the seventh
                  climate disasters. The constniction of even more !racked gas export terminals will lock the world Into Irreversible    IND21-5   paragraph. These are included below.
                  climate disaster, and render Southwestern Louisiana uninhabitable.

                  Commonwealth LNG is using the Russian•Ukraine conflict and Europe's energy needs to justify their project. The
                  U.S. already has enough gas export Infrastructure to satisfy Europe's demand for gas. We don't need to export more
                  gas to satisfy global needs. In fact. Commonwealth LNG would not come onfine for at least three more years and
                  woutd contribute nothing to Europe's current energy needs.
                                                                                                                                         IND21-6
                  This proposal does not benefit domestic consumers and it damages essential wetlands. Please do not put the profits
                  a big business in front of our planet in our people.
                                                                                                                                                                                                                               Filed: 10/20/2023




                  We cannot allow the fossil fuel industry to saQ'lfice our Gulf just to export gas. Our environment and human
                  populations are too high a price to pay.

                  Sincerely,
                  RameetSingh




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                                                                                                                                                                                                                               Page 456 of 516




                                                                                                                                         267
                                                                                                                                                                                                             Individual Comments
INDIVIDUALS
IND22- ELLEN JO RUDOLPH
                                                                                                                                                   IND22-1   The impacts of the Project on Environmental Justice
         Document Accession i: 20220527-0008                       Filed Date, 05/27/2022                                                                    communities are discussed in section 4.9.12.3. The impacts of
                                                                                                                                                             the Project on Air Quality are discussed in section 4.11.1. The
                                                                                                                                                             Impacts of the Project on aquatic resources are discussed in
                                                                                                                       FfU'.i5                               section 4.6.2
                  Jo Ellen Rudolph           ORIGINAL
                  Petoskey, MI 49770                                                                          SECRETARY OF THE
                                                                                                                COMMISSION
                  May 20, 2022
                                                                                                             zazz /MY 21 A 8: 26
                  Federal Energy Regulatory Commission
                  Secretary of the Commission, Kimberly D. Bose                                              f EDE:R.6. L ENERGY
                  BBB First SI, NE, Washington, DC 20426                                                  REGULATORY COMMISSION
                  Re: Commonwealth LNG's Draft Environmental Impact Statement

                  Dear Commlsioners,                                                             CJ /9-So-;;1
                                                                                                                                                                                                                               USCA Case #23-1071




                  I am writing to express my serious concems regarding Commonwealth LNG's Draft Environmental Impact Statement
                  -we simply cannol'let this project be built. The people and fragile wetlands in Sou1hwest Louisiana already suffer
                  extreme impacts of the fossil fuel Industry. Commonwealth LNG, and the 10 other export terminals proposed for the
                  region, will result in Irreparable harm and lock the world into a climate crisis. The Federal Energy Regulatory
                  Commission must pu1 people over corporate profits, and say no to Commonwealth LNG.

                  Commonwealth LNG will contribu1e significantly to the region's increasingly polluted air, which is already causing
                  significant publlo health issues in Sou1hwest Louisiana. There are four LNG terminals planned for the small
                  community of Cameron, and the combined emissions would make the ragion uninhabitable.

                  In addition, the construction and operation of Commonwealth LNG would result in the destruction of valuable
                  wetlands where federally endangered and threatened species like the Eastern Black Rall and Piping Plover nesl The
                  Increased ship traffic WIii put the Gulfs Rice's Whale, Bottlenose Dolphln, and other federally threatened and
                  endangered species at risk of marine pallutlan and ship strikes.

                  Commonwealth LNG will also be located In an extremely vulnerable section of shoreline. Hurricanes hit this region
                  with greater frequency and force, a problem that will only gel worse as our climate continues to warm. In recent
                                                                                                                                                                                                                               Document #2023142




                  years, the community of Cameron has recorded 12-14 foot storm surges and the shoraline Is eroding away al an
                  average of 13 feet per year. This is a dangerous location for a tracked gas export terminal and all of the hazardous
                  waste and gas that will contaminate the reg ion when the facility is compromised.

                  Finally, Southwest Louisiana is already among the most Impacted In the country by climate change. Communities like
                  Cameron, once a thriving fishing community of 10,000 people, have seen most of their residenls migrate due to
                  climate fli~steni. The construction of even more tracked gas export term inals will lock the world into irreversible
                  climate disaster, and render Southwestern Louisiana uninhabitable.

                  Commonwealth LNG is using the Russian-Ukraine conflict and Europe's energy needs to justify their project. The
                  U.S. already has enough gas export infrastructure to satisfy Europe's demand for gas. We don't need lo export more
                  gas to safisfy global needs. In feet, Commonwealth LNG would not come online for at least three more years and
                  would contribute nothing to Europe's current energy needs.

                  THIS AREA ALREADY HAS TOO MUCH POLLUTION AND ENVIRONMETNA LINJUSTICE. THE GULF IS ALSO A
                  VERY DAMAGED AREA FROM THE BP OIL SPILL. OCEAN MAMMAL SPECIES AND COMMERCIAL
                  CRUSTEACEAN SUPPLIES HAVE NOT REBOUNDED. OCEANAMAMMALS HAVE BEEN FOUND WITH
                  PHYSICAL DEFORMITIES.THE OCEAN BOTTOM sn L HAS OIL SLUDGE WHICH WILL POLLUTE THE AREA                                  IND22-1
                                                                                                                                                                                                                               Filed: 10/20/2023




                  FOREVER. THE OCEAN DOES NOT NEED MORE POLLUTING INDUSTRIES ESPECIALLY AN INDUSTY THAT
                  WILL ONLY SEND POLLUTING AMERICAN LP GAS OVERSEAS.

                  We cannot allow the fossil fuel industry to sacrtfice our Gulf Just to export gas. Our environment and human
                  populations are too high a price to pay.

                  Sincerely, Jo Ellen Rudolph




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                                                                                                                                                                                                                               Page 457 of 516




                                                                                                                                         268
                                                                                                                                                                                                         Individual Comments
INDIVIDUALS
IND23- MARY BARR

                                                                   Filed Date , 05/27/2022
                                                                                                                                                     IND23-1   Impacts of the Project on the local economy are addressed
         Document Accession #: 20220527 - 0008
                                                                                                                                                               throughout section 4.9. Climate impacts of the Project
                                                                                                                                                               discussed in section 4.13.2.11.
                                                                                                                     FILED
                  Mary Barr
                  Indianapolis, IN 46219
                                                                                                                SECRETARY OF TtlE
                                                                                                                  COMMISSION
                  May 20, 2022
                                                                                                                Z01Z MAY 21 A 8: 21
                  Federal Energy Regulatory Commission
                  Secretary of the Commission, Kimberty D. Bose                                                  FEDERAL-ENERGY
                  see Firs1 SI, NE, Washington, DC 20426                                                      REGULATORY COMMISSION
                  Re: Commonwealth LNG's Draft Environmental Impact Statement

                  Dear Commisioners,
                                                                                                                                                                                                                           USCA Case #23-1071




                  I am writing lo express my serious conoems regarding Commonwealth LNG's Draft Environmental Impact S1atement
                  - .,,,, simply cannot let this project be built. The people and fragile weUands in Southwest Louisiana already suffer
                  exlreme impacts of the fossil fuel industry. Commonwealth LNG, and the 10 other export terminals proposed for the
                  region, will result in Irreparable harm and lock the wortd into a climate crisis. The Federal Energy Regulatory
                  Commission must put people over corporate profits, and say no lo Commonwealth LNG.

                  Commonwealth LNG will contribute significantly to the region's Increasingly polluted air, which Is already causing
                  significant public health Issues In Sout~st Louisiana. There are four LNG terminals planned for the small
                  community of Cameron, and the combined emissions would make the region uninhabitable.

                  In addition, the construclion and operation of Commonwealth LNG would result in the destruction of valuable
                  wettands where federally endangered and threatened species like the Eastern Black Rail and Piping Plover nest. The
                  increased ship traffic will put the Gulfs Rice's Whale, Bottlenose Dolphin, and other federally threatened and
                  endangered species at risk of marine pollution and ship stri<es.

                  Commonwealth LNG will also be located in an exlremely vulnerable section of shoreline. Hurricanes M this region
                  with greater frequency and force, a problem that will only get worse as our climate continues to warm. In recent
                                                                                                                                                                                                                           Document #2023142




                  yeais, the community of Cameron has recorded 12-14 foot S)orrn surges and the shoreline Is eroding away at an
                  average of 13 feet per year. This is a dangerous location for a tracked gas export terminal and all of the hazardous
                  waste and gas that will contaminate the reg ion when the facility Is compromised.

                  Finally, Southwest Louisiana is already among the most impacted in the country by climate change. Communities like
                  Cameron, once a thriving fishing community of 10,000 people, have seen most of their residents migrate due to
                  climate disasteis. The construction of even more tracked gas export terminals will lock the world Into irreveisible
                  ciimate disaster, and render Southwestern Louisiana unlnhab~able.

                  Commonwealth LNG is using the Russian-Ukraine conflict and Europe's energy needs to justify their project The
                  U.S. already has enough gas export infrastructure to satisfy Europe's demand for gas. We don't need to export more
                  gas to satisfy global needs. In fact, Commonwealth LNG would not come onllne for at least three more years and
                  would conbibute nothing to Europe's current energy needs.

                  The residents living in the Gulf area have lost businesses over the past yeais, even decades, due to big oil and gas
                  companies taking over and resulting in loss of fishing rights, loss of damage done l o people?s livelihoods . Families
                  not only are losing their jobs but the health and welfare of their children. Do not give into big business of            IND23-1
                  Commenwealth LNG intending to add to more ruin of lives and climate issues in ii endeavois to get its foothold in
                                                                                                                                                                                                                           Filed: 10/20/2023




                  Cameron. This big company has a history of impacting climate change negatively.

                  We cannot allow the fossil fuel industiy to sacrifice our GuH just to export gas. Our environment and human
                  populations are too high a price to pay.

                  Sincerely,
                  Mary Barr




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                                                                                                                                                                                                                           Page 458 of 516




                                                                                                                                           269
                                                                                                                                                                                                         Individual Comments
INDIVIDUALS
IND24- JOHN ALLAIRE

                                                                                                                                                       IND24-1   Impacts of the Project on commercial fisheries are addressed
          Document Accession #: 20220527-0008                       Filed Date, 05/27/2022                                                                       in section 4.9.7. Impacts and mitigation related to coastal
                                                                                                                                                                 wetlands are addressed in section 4.4 and 4.6.2.

                   Rosenberg, TX TT471                                                                            FILED
                                                                                                         SECRETARY OFTHE
                   May20,2022                                                                              COMMISSION
                   Federal Energy Regulatory Commission
                   Secretary of the Commission, Kimberly D. Bose
                                                                                                         zm 1-IA1 21 A 8: 21
                   888 Flrst St, NE, Washington, DC 20426
                   Re: Commonwealth LNG's Draft Environmental Impact Statement
                                                                                                            FEDERAL rnERG'l .
                                                                                                       REGU~ I\TORY COMMISSION
                   Dear Commisloners,
                                                                                                                                                                                                                                USCA Case #23-1071




                   I am writing to express my serious concerns regarding Commonwealth LNG's Draft Environmental Impact Statement
                   - we simply cannot let this project be built. The people and fragile wetlands in Southwest Louisiana already suffer
                   eX1reme impacts of the fossil fuel industry. Commonwealth LNG, and the 10 other export terminals proposed for the
                   region, will result in Irreparable harm and lock the world into a climate crisis. The Federal Energy Regulatory
                   Commission must put people over corporate profits, and say no to Commonwealth LNG.

                   Commonwealth LNG will contribute signlficanUy to the region's increasingly polluted air, which is already causing
                   significant public health Issues in Southwest Louisiana. There are four LNG terminals planned for the small
                   community of Cameron, and the combined emissions would make the region uninhabitable.

                   In addition, the construction and operation of Commonwealth LNG would result in the destruction of valuable
                   wetlands where federally endangered and threatened species like the Eastern Black Rail and Piping Plover nest. The
                   increased ship traffic will put the Gulfs Rice's Whale, Bottlenose Dolphin, and other federally threatened and
                   endangered species at risk of marine pollution and ship strikes.

                   Commonwealth LNG will also be located in an eX1remely vulnerable section of shoreline. Hurricanes hit this reg ion
                   with greater frequency and force, a problem that will only get worse as our climate corrtlnues to warm. In recent
                   years, the community of Cameron has recorded 12-14 foot storm surges and the shoreline Is eroding away at an
                                                                                                                                                                                                                                Document #2023142




                   average of 13 feet per year. This is a dangerous location for a !racked gas export terminal and all of the hazardous
                   waste and gas that will contaminate the region when the facility is compromised.

                   Finally, Southwest Louisiana is already among the most impacted in the country by climate change. Communities like
                   Cameron, once a thriving fishing community of 10,000 people, have seen most of their residents migrate due to
                   climate disasters. The construction of even more tracked gas export terminals will lock the worid Into irreversible
                   climate disaster, and render Southwestern Louisiana uninhabitable.

                   Commonwealth LNG Is using the Russian-Ukraine conflict and Europe's energy needs to justify their project. The
                   U.S. already has enough gas export infrastructure to satisfy Europe's demand for gas. We don't need to export more
                   gas to satisfy global needs. In fact, Commonwealth LNG would not come onllne for at least three more years and
                   would contribute nothing to Europe's current energy needs.

                   There is no need for another LNG export facility in Cameron Parish.
                   I am a resident of Hackberry, La. and have already seen the effects of
                   the Cameron and Global Venture facilities on our fishing, shrimping; crabbing Industries as well as the destruction of
                   our coestal wetlands which support migratory birds and waterfowl. Please deny the Commonwealth LNG permit. It             IND24-1
                   will only destroy morelll
                                                                                                                                                                                                                                Filed: 10/20/2023




                   Hank Gamble

                   We cannot allow the fossil fuel Industry to sacrifice our Gutt Just to export gas. Our environment and human
                   populations are too high a price to pay.

                   Sincerely,
                   John Allaire




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                                                                                                                                                                                                                                Page 459 of 516




                                                                                                                                            270
                                                                                                                                                                                                            Individual Comments
USCA Case #23-1071            Document #2023142                   Filed: 10/20/2023   Page 460 of 516



                         UNITED STATES OF AMERICA
                                BEFORE THE
                   FEDERAL ENERGY REGULATORY COMMISSION

 IN THE MATTER OF                                  )
                                                   )
 Commonwealth LNG, LLC                             )                Docket No. CP19-502-000
                                                   )

  REQUEST FOR REHEARING OF SIERRA CLUB, NATURAL RESOURCES
  DEFENSE COUNCIL, CENTER FOR BIOLOGICAL DIVERSITY, HEALTHY
  GULF, LOUISIANA BUCKET BRIGADE, NATIONAL AUDUBON SOCIETY,
           AND TURTLE ISLAND RESTORATION NETWORK

         Sierra Club, Natural Resources Defense Council, Center for Biological

 Diversity, Healthy Gulf, the Louisiana Bucket Brigade, the National Audubon

 Society, and Turtle Island Restoration Network request rehearing of the Federal

 Energy Regulatory Commission’s (FERC or Commission) November 17, 2022, order

 (Authorization Order) approving the Commonwealth LNG project (Commonwealth

 LNG or Project). 1 This request is timely, having been filed within 30 days of the

 Commission’s Authorization Order. 2

         The Authorization Order is deeply flawed and should be rescinded. While this

 Request for Rehearing outlines in detail the multitude of reasons why FERC must




 1 Commonwealth LNG, LLC, 181 FERC ¶ 61,143 (Nov. 17, 2022) (hereinafter

 Authorization Order). This Request for Rehearing also uses Commonwealth LNG to
 refer to the Applicant, Commonwealth LNG, LLC.

 2 The Commission issued the Certificate Order on Thursday, November 17, 2022.

 Under the Commission’s regulations, a request for rehearing is due 30 days after
 issuance of the Certificate Order. 18 C.F.R. § 385.713. Thirty days from November
 17, 2022 is Saturday, December 17, 2022. Under the Commission’s rules, when a
 deadline falls on a Saturday, the deadline is extended to the following business day,
 in this case, Monday, December 19, 2020. 18 C.F.R. § 385.2007.

 Environmental Organizations’ Request for Rehearing of Authorization Order                     Page 1
 Commonwealth LNG, LLC, Dkt. No. 19-502                                                  Dec. 19, 2022
                                                                                            JA455
USCA Case #23-1071            Document #2023142                   Filed: 10/20/2023   Page 461 of 516



 reverse the Authorization Order, one point must be stated at the outset: for FERC

 to uncritically greenlight yet another liquefied natural gas (LNG) export facility in

 southwest Louisiana is an affront to the rule of law and to fundamental fairness.

 Cameron Parish, Louisiana deserves better than a FERC that repeatedly applies an

 “ostrich-like” approach to its gas reviews and falsely claims—again—a

 powerlessness to evaluate the Project’s environmental effects and whether the

 Project is consistent with the public interest. 3 For example, if built, Commonwealth

 LNG would increase nitrogen oxide levels beyond current levels—levels that

 already exceed U.S. Environmental Protection Agency (EPA) standards. 4 And the

 people exposed to this additional pollution primarily live in already

 disproportionately burdened environmental justice communities. 5 FERC claims

 that because Commonwealth LNG’s incremental contribution to this pollution is

 small, these increases do not present an environmental justice problem. 6 But this

 profoundly misunderstands the principles of environmental justice, which are

 centrally concerned with the cumulative impacts that environmental justice

 communities suffer when regulators repeatedly incrementally increase the burdens

 on these communities.




 3 See Envtl. Def. Fund v. FERC, 2 F.4th 953, 975 (D.C. Cir. 2021).


 4 Authorization Order P 63.


 5 Id.


 6 Id. at P 63, P 71.


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         Further, this pollution is entirely unjustified. As Chairman Glick’s

 concurrence explicitly admits, FERC simply does not have a framework or

 reasoning for determining whether an LNG project is consistent with the public

 interest. Instead, FERC shirks its duty by treating the U.S. Department of Energy’s

 (DOE) approval to export the commodity as conclusively establishing that the

 infrastructure provides public benefits, but no one—not FERC, not DOE, nor anyone

 else—ever evaluates whether those benefits outweigh and justify the harm caused

 by a particular LNG export terminal. Moreover, the question before FERC is not

 simply whether to approve or deny the application. FERC has the statutory

 responsibility for ensuring that LNG export infrastructure is not designed and

 operated in a needlessly harmful manner. As such, FERC could have approved the

 Project while still requiring a more efficient design or more stringent controls.

         For these and the many others explained below, FERC should grant this

 Request for Rehearing, and rescind its approval of the Commonwealth LNG Project.



                                     STATEMENT OF ISSUES

         Pursuant to 18 C.F.R. § 385.713(c)(1), we offer the following concise

 statements of alleged errors. These errors are explained in greater detail below.



 1. FERC failed to articulate or apply a coherent standard in making the Natural

     Gas Act determination of whether the Commonwealth project’s adverse impacts




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       outweighed its benefits. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm

       Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Section I. 7

 2. The EIS violates NEPA because it fails to rigorously explore all reasonable

       alternatives. Section II.

          a. The EIS improperly dismisses system alternatives, and the possibility of

             using more efficient liquefaction technology, based on the improper

             assumption that FERC can reject alternatives that would not provide the

             full volume of Free Trade Agreement (FTA) exports proposed to DOE.

             Section II.A. 8

          b. The EIS improperly rejects multiple design alternatives without

             demonstrating that those alternatives would be infeasible and without

             rigorously exploring their environmental impacts. Section II.B. 9

          c. The EIS violates the APA and NEPA because it fails to include a true no

             action alternative. Section II.C10




 7 15 U.S.C. §717b; KeySpan LNG, L.P., 112 FERC ¶ 61,028.
 8   N. Buckhead Civic Ass’n v. Skinner, 903 F.2d 1533, 1542 (11th Cir. 1990), 5 U.S.C.
 § 706(2)(A); 15 U.S.C. §717b.

 9   Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43; 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b.
 10 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; 40 C.F.R. § 1502.14; City of Shoreacres v.

 Waterworth, 420 F.3d 440, 450 (5th Cir. 2005); Friends of Yosemite Valley v. Kempthorne,
 520 F.3d 1024, 1026–27 (9th Cir. 2008); N.C. Wildlife Fed’n v. N.C. Dep’t of Transp., 677
 F.3d 596, 603 (4th Cir. 2012); Theodore Roosevelt Conservation P'ship v. Salazar, 744 F.
 Supp. 2d 151, 160 (D.D.C. 2010). aff'd, 661 F.3d 66 (D.C.Cir.2011); N. Plains Res. Council,
 Inc. v. Surface Transp. Bd., 668 F.3d 1067, 1085 (9th Cir. 2011); Friends of Yosemite Valley
 v. Scarlett, 439 F. Supp. 2d 1074, 1105 (E.D. Cal. 2006).



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 3. The EIS fails to take the required hard look at GHGs. Section III. 11

          a. The EIS failed to evaluate the significance or impact of GHGs. Section

              III.A. 12

          b. The EIS’s conclusion that indirect emissions relating to gas production

              and use could be excluded from the scope of analysis, in reliance on

              Sierra Club v. FERC, 827 F.3d 36 (D.C. Cir. 2016) (Freeport I), was

              arbitrary, because DOE’s approval was a connected action. Moreover,

              FERC should inform the D.C. Circuit that FERC believes Freeport I was

              wrongly decided. Section III.B. 13




 11 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; Sierra Club v. FERC, 827 F.3d 36, 40 (D.C. Cir.

 2016) (hereinafter Freeport I); 40 C.F.R. § 1502.16(a)(1); Ctr. for Biological Diversity v. Nat’l
 Highway Traffic Safety Admin., 538 F.3d 1172, 1216 (9th Cir. 2008); Ctr. for Biological
 Diversity, 538 F.3d at 1216; Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land Mgmt.,
 387 F.3d 989, 995 (9th Cir. 2004); 85 Fed. Reg. 78,197.

 12 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; Balt. Gas & Elec. Co. v. N.R.D.C., 462 U.S. 87,

 97, 103 S.Ct. 2246, 76 L.Ed.2d 437 (1983); Venture Global Calcasieu Pass, LLC, 166 FERC
 ¶ 61,144 (2019); Jordan Cove Energy Project L.P., 171 FERC ¶ 61,136, PP 245, 253 (2020);
 (Glick, Comm’r, dissenting at P 7); Utahns for Better Transp. v. U.S. Dep’t of Transp., 305
 F.3d 1152, 1162 (10th Cir. 2002); N. Nat. Gas Co., 174 FERC ¶ 61,189, at P 32 (2021).

 13 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; Sierra Club v. FERC, 827 F.3d 36, 40 (D.C. Cir.

 2016) (hereinafter Freeport I) ;40 C.F.R. § 1502.16(a)(1); Ctr. for Biological Diversity v. Nat’l
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 78,197; 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; 40 C.F.R. § 1501.9; Jones v. D.C.
 Redevelopment Land Agency, 499 F.2d 502, 510 (D.C. Cir. 1974); Sierra Club v. U.S. Army
 Corps of Engineers, 803 F.3d 31, 49-51 (D.C. Cir. 2015); Del. Riverkeeper, 753 F.3d at 1314;
 City of Boston Delegation v. FERC, 897 F.3d 241, 251-52 (D.C. Cir. 2018) (“City of Boston”);
 42 U.S.C. § 7173; Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538
 F.3d 1172, 1213 (9th Cir. 2008).



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 4. FERC’s analysis of air pollution impacts, and the impacts of air pollution on

     environmental justice communities in particular, was arbitrary. Section IV. 14

 5. The EIS fails to take the required hard look at impacts to sensitive species and

     FERC’s order and EIS violate the Endangered Species Act (ESA). Section V. 15

     a. The EIS fails to take the required hard look at impacts to bottlenose

         dolphins. Section V.A. 16

     b. The EIS fails to take the required hard look at impacts to the eastern black

         rail (EBR) and the Authorization Order violate NEPA, the Endangered

         Species Act, and the APA. Section V.B. 17


 14 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16,

 1994); see also 18 C.F.R. § 380.12(g) (2021); 42 U.S.C. § 7475; 42 U.S.C. § 7475; Alaska
 Dep't of Env’t Conservation v. EPA, 540 U.S. 461, 470 (2004); Ala. Power Co. v. Costle, 636
 F.2d 323, 362 (D.C. Cir. 1979); 40 C.F.R. Part 51; 40 C.F.R. § 51.165(b)(2); 42 U.S.C. §
 7475(a)(3)(A)-(B) (emphasis added).

 14 United States v. Clintwood Elkhorn Mining Co., 553 U.S. 1, 7 (2008); Consumer

 Electronics Ass’n v. FCC, 347 F.3d 291, 298 (D.C. Cir. 2003); Massachusetts v. EPA, 549
 U.S. 497, 528-29 (2007); Public Citizen v. Young, 831 F.2d at 1111-13; Alabama Power, 636
 F.2d at 362; Sierra Club v. EPA, 705 F.3d 458; Rise St. James et al. v. Louisiana Dep’t
 Envtl. Quality, Docket No. 694,029, Sec. 27 (19th Dist. La. Sept. 8, 2022); 75 Fed. Reg.
 64,864, 64,894.

 15 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; Friends of Buckingham, 947 F.3d 68, 92 (4th Cir.

 2020); Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321, 1331
 (D.C. Cir. 2021).

 16 5 U.S.C. § 706(2)(A); 15 U.S.C. §717b; EarthReports, Inc. v. FERC, 828 F.3d 949, 955

 (D.C. Cir. 2016); City of Shoreacres v. Waterworth, 420 F.3d 440, 453 (5th Cir. 2005).

 17 5 U.S.C. § 706(2)(A); 16 U.S.C. § 1531 et seq; Tennessee Valley Authority v. Hill, 437 U.S.

 153, 174 (1978); 50 C.F.R. § 402.02; 50 C.F.R. § 402.15; Pyramid Lake Paiute Tribe of
 Indians v. United States Dep’t of the Navy, 898 F.2d 1410, 1415 (9th Cir. 1990); Center for
 Biological Diversity v. Salazar, 804 F.Supp.2d 987, 1010 (D. Ariz. 2010); Florida Key Deer v.
 Brown, 364 F.Supp.2d 1345, 1358 (S.D. Fla. 2005); Wild Fish Conservancy v. Salazar, 628
 F.3d 513, 521 (9th Cir. 2010); Conner v. Burford, 848 F.2d 1441, 1453 (9th Cir. 1988);
 Conner v. Burford, 848 F.2d 1441, 1457-58 (9th Cir. 1988); Greenpeace v. Nat’l Marine


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                                ARGUMENT FOR REHEARING

      I.     FERC FAILED TO ARTICULATE A COHERENT STANDARD FOR
               THE EXERCISE OF ITS NGA SECTION 3 AUTHORITY

           Chairman Glick’s concurrence openly admits something that has been

 apparent for some time: that FERC has no analytical framework for determining

 whether a proposed LNG export facility is consistent with the public interest, and

 that, for such projects, FERC does not engage in any meaningful balancing of the

 benefits and harms to the public interest. 18 FERC’s failure to engage in such

 balancing is contrary to the NGA and to bedrock principles of administrative law.



 Fisheries Serv., 80 F. Supp. 2d 1137, 1150 (W.D. Wash. 2000); Lands Council v. McNair,
 537 F.3d 981, 987 (9th Cir. 2008) (en banc); Winter v. Nat. Res. Def. Council, 129 S. Ct. 365,
 375 (2008); Nat’l Wildlife Fed’n v. National Marine Fisheries Serv., 524 F.3d 917, 930 (9th
 Cir. 2008); American Rivers v. U.S. Army Corps of Eng’rs, 271 F. Supp. 2d 230, 255 (D.D.C.
 2003); Defenders of Wildlife v. Babbitt, 130 F. Supp. 2d 121 (D.D.C. 2001); Nat’l Wildlife
 Fed’n v. NMFS, 481 F.3d 1224, 1235 (9th Cir. 2005); Center for Biological Diversity v.
 Rumsfeld, 198 F.Supp. 2d 1139, 1152 (D. Ariz. 2002); NWF v. NMFS, 481 F.3d 1224, 1240-
 41 (9th Cir. 2007); Southwest Ctr. for Biological Diversity v. Bartel, 470 F.Supp.2d 1118,
 1141, 1144-46 (S.D.Cal. 2006); Northwest Env. Advocates v. EPA, 268 F.Supp.2d 1255, 1273
 (D. Or. 2003); Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 351 (1989); Motor
 Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); Florida Key
 Deer v. Paulison, 522 F.3d 1133, 1145 (11th Cir. 2008); Pyramid Lake Tribe of Indians v.
 U.S. Navy, 898 F.2d 1410, 1415 (9th Cir. 1990); Stop H-3 Ass’n. v. Dole, 740 F.2d 1442, 1460
 (9th Cir. 1984); Baltimore Gas & Electric, 462 U.S. 87, 97 (1983); Envtl. Prot. Info. Ctr. v.
 United States Forest Serv., 451 F.3d 1005 (9th Cir. 2006); Lands Council v. Cottrell, 731 F.
 Supp. 2d 1074, 1090 (D. Idaho 2010)(quoting Native Ecosystems Council v. USFS, 418 F.3d
 953, 964 (9th Cir. 2005); 40 C.F.R. §§ 1508.7, 1508.8; Te-Moak Tribe of Western Shoshone of
 Nevada v. U.S. Dept. of Interior, 608 F.3d 592, 603 (9th Cir. 2010); Neighbors of Cuddy
 Mountain v. U.S. Forest Serv., 137 F.3d 1372, 1380 (9th Cir. 1998); Fritiofson v. Alexander,
 772 F.2d 12225, 1244 (5th Cir 1985); Cascadia Wildlands v. Bureau of Indian Affairs, 801
 F.3d 1105, 1110 (9th Cir. 2015); Fund for Animals v. Hall, 448 F. Supp. 2d 127, 134-36
 (D.D.C. 2006); Southeast Alaska Conservation Council v. United States Forest Serv., 443 F.
 Supp. 3d 995, 1004-1005 (D. Ak. 2020); Nat’l Parks Conservation Ass’n v. Babbitt, 241 F.3d
 722, 732 (9th Cir. 2001).

 18 Authorization Order, Glick, concurring, at P2.




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         DOE’s present or future approval to export LNG as a commodity does not

 deprive FERC of the authority to deny an associated infrastructure proposal, in

 whole or in part. Congress, in drafting the NGA, provided separate authority for the

 approval of exports and for the approval of infrastructure. 19 Nothing in the statute

 indicates that approval under subsection (a) means that an application under

 subsection (e) must be granted. And FERC has previously used its section 717b(e)

 authority to deny an application for an import terminal where FERC concluded

 that, although “the construction and operation of additional facilities to import LNG

 is vitally important to help meet energy demands,” the particular proposed

 infrastructure would be unsafe and contrary to the public interest. 20

         FERC cannot limit itself to rejecting export and import infrastructure only

 when it would violate other statutory requirements or, as in KeySpan, another

 agency’s standards. Congress didn’t. FERC has more than a clerical responsibility

 to ensure that proposed projects check the boxes of securing other needed permits. 21

 FERC is the lead agency with authority over export infrastructure, with the

 authority and responsibility to decide whether a proposed project is contrary to the

 public interest, even where it does not violate other prohibitions. As Chairman



 19 15 U.S.C. §§ 717b(a), (e).


 20 KeySpan LNG, L.P., 112 FERC ¶ 61,028, PP5-6 (July 5, 2005).


 21 Of course, even doing that would in some ways be a more rigorous level of review

 than FERC applied here, as FERC issued its authorization before those boxes had
 been checked.



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 Glick stated, “there must be some degree of adverse impact so great that the public

 interest requires FERC to reject a section 3 application.” 22 And this must be a

 balancing test, weighing the degree of harm against the magnitude of the benefit.

 Would FERC approve the Project if the environmental harms were the same but

 would provide only 50%, or only 10%, of the purported benefit? FERC’s analysis

 here gives no indication. DOE’s present or future of exports is evidence that

 infrastructure that would enable those exports provides public benefits, but FERC

 wrongly treats it as determinative, leaving no room to weigh benefits against

 harms. FERC has failed to articulate a standard for determining whether a project’s

 harms outweigh its benefits, or to apply such a standard here. FERC’s failure to do

 so renders FERC’s decision arbitrary and deserving of reversal.

         We agree that the bifurcation of authority between FERC and DOE makes

 this analysis difficult, although not all of the problems with FERC’s analysis derive

 from that bifurcation. But that bifurcation is not, as Chairman Glick suggests,

 Congress’s fault. DOE, not Congress, bifurcated NGA section 3 authority between

 itself and FERC. Insofar as this division has proven unworkable or unwise in

 practice, DOE should rescind or modify its delegation order, and FERC should

 advocate for such a change. FERC’s hands are not as tied as Chairman Glick

 contends.




 22 Authorization Order, Concurrence of Chairman Glick, at P 7.




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                                        II.     ALTERNATIVES

         As explained in Sierra Club et al.’s protest, 23 Commonwealth LNG explicitly

 proposes a cheap and inefficient facility design and seeks to minimize capital costs

 and to maximize the amount of LNG produced on the available footprint. In

 pursuing these goals, Commonwealth LNG has externalized costs to the

 surrounding communities and environment, by repeatedly choosing, for example,

 less-efficient designs that produce higher emissions.

         FERC shirked its duty to exercise oversight regarding these choices. FERC

 failed to even acknowledge that this is what was happening. Rather than

 acknowledge that Commonwealth LNG had chosen cheap options for economic

 reasons, and pass judgment as to whether doing so was consistent with the public

 interest, the Project’s final EIS invents spurious and unsupported arguments as to

 why less polluting alternatives are unavailable. The EIS fails to provide the

 rigorous exploration of alternatives required by NEPA, and the Authorization Order

 fails FERC’s obligation to ensure that the Project is consistent with the public

 interest under the NGA.


 A.      FERC Cannot Categorically Reject Alternatives That Would Not
         Enable the Full Volume of Proposed Exports

         FERC rejected design alternatives that would use more efficient liquefaction

 technology, and all other system alternatives, for effectively the same reason:

 FERC’s conclusion that neither would allow Commonwealth LNG and other would-


 23 Accession 20210803-5103 at 3.




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         This argument fails even if its absurd premise is accepted. As explained

 above, not all LNG terminals are created equal. Some use more efficient

 liquefaction designs, emitting fewer greenhouse gasses and other pollutants per ton

 of LNG produced. If those more efficient designs can’t be used here, a site and

 project where they can be might better serve the public interest. Thus, there is no

 reason for FERC to assume that a hitherto-unplanned expansion of an existing

 project using a more efficient design would have impacts as bad as Commonwealth

 LNG’s.

         But the absurd premise that no other proposals have available capacity must

 not be accepted. Even FERC doesn’t believe that these other projects will all move

 forward. Instead, FERC acknowledges that many of these proposed projects may

 not be built. EIS 3-27. But rather than exercise its oversight authority, FERC

 abdicates to the market, proclaiming that “market forces will ultimately decide

 which and how many of these facilities are built.” Id. FERC has not justified relying

 on the market to protect the public interest. The same factor that makes

 Commonwealth LNG less beneficial to the public—its choice of cheaper, less-

 efficient liquefaction technology—presumably makes it more attractive to investors.

 Here, as in other arenas, blind deference to the market risks incentivizing a race to

 the bottom that fails to protect the public.


 B.      Design Alternatives

         Even within the scope of alternatives that would provide the proposed export

 capacity, FERC failed to rigorously explore and arbitrarily rejected multiple


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 reasonable alternatives. Although rejection of these design alternatives was

 individually unwarranted, collectively, the situation is even worse, as FERC’s

 reasons for rejecting alternatives appear to contradict one another. Several

 alternatives here potentially require a trade-off between air emissions and terminal

 footprint. FERC rejects one alternative (omitting a storage tank) that would reduce

 the footprint on the ground because it claims that would cause an unacceptable

 increase in air emissions, without any discussion of what that increase would be.

 But FERC rejects other alternatives that would reduce air pollution by potentially

 much greater amounts, on the ground that they would increase the terminal

 footprint. FERC’s failure to address both sides of the scale when discussing these

 tradeoffs, and to explain FERC’s inconsistent treatment of environmental impacts

 across discussions of different alternatives, falls short of the hard look required by

 NEPA. And this incomplete, inconsistent treatment gives the impression that

 rather than meaningfully scrutinizing these alternatives and fulfilling its oversight

 responsibility, FERC merely sought justifications for approving Commonwealth

 LNG’s preferred design.

                 1.       On-Site Power Generation

         The approved design would use two on-site simple-cycle gas turbines (with a

 third, unused spare) to generate electricity used on site, and six additional gas

 turbines mechanically powering liquefaction equipment. Running turbines in

 combined-cycle, rather than simple-cycle, configurations significantly reduces

 emissions for two reasons.



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          First, combined-cycle configurations burn less gas. As the EIS notes, a

 “combined cycle power plant converts more energy from fuel gas to electricity than

 simple cycle generators.” EIS at 3-48. Commonwealth LNG plans to use Siemens

 SGT-A65E combustion turbines. 28 In simple-cycle configuration, these turbines

 operate at roughly 43% efficiency. 29 In a combined cycle power generation

 configuration, these same turbines operate at 54-55% efficiency. 30 Other turbines in

 combined cycle configurations can achieve similar or greater efficiencies. 31

          Second, combined-cycle configurations can emit less pollution per unit of gas

 burned. For example, here, Commonwealth LNG’s air permit imposes a NOx

 emission limitation off 2.5 ppmvd for the nine turbines. 32 Combined-cycle gas




 28 Accession 20210604-5170, Environmental Information Request, Supplemental

 Responses, Appendix A, Initial Part 70 Operating and Prevention of Significant
 Deterioration Permit Application, Appendix F-3.

 29 Siemens, “SGT-A65 gas turbine” (2018), attached.


 30 Id.


 31 National Energy Technology Laboratory, Cost and Performance Baseline for

 Fossil Fuel Energy Plants Vol. 1: Bituminous Coal and Natural Gas to Electricity,
 NETL-PUB-22638, at 493 (Sept. 24, 2019) (“NETL 2019”), available at
 https://netl.doe.gov/projects/files/CostAnd
 PerformanceBaselineForFossilEnergyPlantsVol1BitumCoalAndNGtoElectBBRRev4-
 1_092419.pdf and attached to Sierra Club et al.’s comment on the DEIS.

 32 Accession 20210604-5170, Environmental Information Request, Supplemental

 Responses, Appendix A, Initial Part 70 Operating and Prevention of Significant
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 turbines are routinely subject to “best available control technology” NOx limits of 2.0

 ppmvd. 33

         Because switching to a combined-cycle configuration would use less gas and

 emit less pollution per unit of gas used, it represents an opportunity to significantly

 reduce air pollution from the turbines, which are responsible for most of the

 anticipated emissions of most pollutants, including NOx, GHGs, and particulates.

 EIS at 4-224. The EIS acknowledges two ways to employ combined-cycle turbines:

 by replacing all turbines with 500-MW of electrical generation, and using that to

 power liquefaction equipment, or by replacing just the 120-MW of proposed on-site

 electrical generation with combined cycle units. EIS 3-48. But the EIS then fails to

 take a hard look at these alternatives, and its reasons for rejecting them were

 arbitrary.

                          a.      Electrifying Liquefaction Equipment

         The larger change would be to replace all of these turbines with an on-site

 combined-cycle gas-fired power plant. The EIS concludes that this would require a

 500-megawatt plant. EIS 3-48. The EIS rejects this alternative on the ground that

 such a plant “would require an approximately 100-acre footprint.” Id. This is

 completely unsupported—FERC offers no explanation as to how it arrived at this




 33 Sierra Club, Comments on Commonwealth PSD Application, at 27, and Report of

 Dr. Ranajit Sahu, § B.1, (together attached to Sierra Club’s Comments on the DEIS,
 Accession 20220523-5151,
 https://elibrary.ferc.gov/eLibrary/filedownload?fileid=2E5D3E43-1AF1-C25F-8A51-
 80FCB6600000).


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 estimate, i.e., there is no citation to existing or planned plants that required such a

 footprint, etc.

         This unsupported estimate is also implausible, as demonstrated by the

 footprints required for other modern facilities. For example, Entergy is currently

 developing the Orange County Advanced Power Station in Bridge City, Texas. This

 combined cycle facility will generate 1,215 megawatts of power, 34 but will

 permanently impact only 26.2 acres, 35 generating roughly ten times more power per

 acre than what FERC assumed was possible here. Similarly, the Nemadji Trail

 Energy Center Generation Project in Wisconsin would be a combined-cycle gas plant

 generating 625 megawatts of power on a permanent footprint of 26.3 acres. 36 The

 EIS provides no reason to assume that a similarly space-efficient power plant could

 not be constructed here. Although each of these projects would require additional

 temporary workspace, there is no reason to doubt that the laydown yards and

 temporary workspaces already incorporated into the Commonwealth LNG design

 would be sufficient for construction of the power plant.




 34 Entergy, About the Project, available at

 https://www.entergy.com/entergypowerstexas/project/, attached.

 35 Entergy, Application for major amendment of Texas Pollutant Discharge

 Elimination System (TPDES) Permit No. WQ0000336000 at 13, available at
 https://entergy.com/userfiles/OCPS/TPDES1.pdf, attached.

 36 Wisconsin Department of Natural Resources, Nemadji Trail Energy Center

 Generation Project Final Environmental Impact Statement, at X-XI, available at
 https://apps.psc.wi.gov/ERF/ERFview/viewdoc.aspx?docid=376466, attached.



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         In addition to overestimating the space that would be required for a larger

 powerplant, the EIS ignored the possibility that this increase in space would be

 offset by a reduction in space needed for liquefaction equipment. Switching the

 liquefaction equipment to use of electric motors, rather than individual gas

 turbines, would likely the footprint of the that portion of the project.

         The EIS therefore fails to provide any supported or plausible estimate of the

 extent to which switching to electrically driven liquefaction powered by an on-site

 combined-cycle gas plant would increase the overall facility footprint. Even if such a

 design would require some net increase in footprint, there is no reason to assume

 that this increase would be so large as to make this alternative self-evidentially

 infeasible or more environmentally harmful.

         Nor did the EIS discuss the extent to which such a design would decrease

 total air emissions. Because the EIS fails to demonstrate that an all-electric

 configuration would be infeasible, and because the EIS fails to reasonably estimate

 either the environmental benefits or the environmental drawbacks of this

 alternative, the EIS fails to rigorously explore this alternative, and falls short of

 NEPA’s requirements.

                          b.  Using Combined-Cycle Units for the Proposed 120-
                          MW of on-site power generation

         A second option (and smaller reconfiguration) would be to use a combined-

 cycle generation for the proposed on-site power needs. The EIS’s arguments for

 rejecting this alternative are even less supported than for the preceding alternative.




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         The EIS concludes that switching to a combined-cycle design for on-site

 electrical generation would reduce “overall site fuel consumption, and thereby

 emissions, … by less than 10 percent.” EIS 3-48. Total facility emissions are 3.6

 million tons per year of carbon dioxide equivalent, 554 tons per year of NOx, etc.

 EIS 4-224. Even if this comment was meant to refer solely to stationary source

 emissions, the totals are 3.5 million and 376 tons per year, respectively. Id.

 Reducing any of those numbers by roughly 10% would be a significant

 improvement. FERC cannot write this off, without explanation, as de minimus and

 not worth exploring.

         The EIS also fails to demonstrate that this alternative would be infeasible or

 have major environmental drawbacks. The EIS dismisses this alternative by

 arguing that it would increase the Project’s footprint, but offers no explanation of by

 how much, or why that increase would be significant. Existing combined cycle

 generators demonstrate that a facility capable of providing 120 MW of power need

 not be drastically larger than what is already proposed. It appears that the

 proposed electrical generation facilities would occupy roughly two acres. The

 Malburg Generating Station in California, which has been operating since 2005, 37

 produces 134 megawatts with a footprint of 3.4 acres. 38 The Donald Von Raesfeld



 37 California Energy Commission, Malburg Generating Station, available at

 https://www.energy.ca.gov/powerplant/combined-cycle/malburg-generating-station,
 attached.

 38 California Energy Commission, Staff Assessment: Malburg Generating Station

 Project, at 3-1 (Sept. 26, 2002), available at


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 Project, also known as the Pico Power Project, has also operated since 2005, 39 and

 produces 122 MW, with the ability to peak fire at 147 megawatts, on 2.86 acres. 40

 Further, we note that combined cycle configurations are available for both the

 Siemens SGT-A65 turbines Commonwealth LNG proposes to use here, 41 for smaller

 Siemens A-series turbines that could provide the required power in a combined

 cycle configuration, 42 or for other Siemens turbines.

         Thus, it is unclear whether this option would require expanding the fenceline

 at all. Even if switching to combined cycle electrical generation would require a

 larger footprint than is currently provided for the generating turbines, the increase

 may be small enough that it could be accommodated through a site reconfiguration,

 without expanding the fenceline.




 https://efiling.energy.ca.gov/GetDocument.aspx?tn=31774&DocumentContentId=66
 034, attached.

 39 California Energy Commission, Donald Von Raesfeld Project, available at

 https://www.energy.ca.gov/powerplant/combined-cycle/donald-von-raesfeld-project,
 attached.

 40 California Energy Commission, Staff Assessment: Pico Power Project, at 3-1

 (March 26, 2003), available at
 https://efiling.energy.ca.gov/GetDocument.aspx?tn=28409&DocumentContentId=69
 781, attached.

 41 Siemens, “SGT-A65 gas turbine” (2018), supra note 29.


 42 Siemens, SGT-A35 aeroderivative gas turbine”, https://www.siemens-

 energy.com/global/en/offerings/power-generation/gas-turbines/sgt-a30-a35-rb.html


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         In the alternative, it is hardly self-evident that the environmental impact of a

 1-2 acre increase in footprint would outweigh the environmental benefit of reducing

 greenhouse gas emissions by 300,000 tpy CO2e, NOx by 30 tpy, etc.

         Accordingly, the EIS fails to rigorously explore the option of replacing the 120

 MW of onsite electrical generation with an equivalent combined-cycle facility.

                 2.       Carbon Capture and Sequestration

         FERC similarly fails to rigorously explore, or to justify rejection of, carbon

 capture and sequestration (CCS), either for all or part of the project’s emissions. See

 EIS 4-398 (agreeing that it would be feasible to capture Commonwealth LNG’s

 pretreatment CO2 emissions). 43 While the EIS omits the draft EIS’s (DEIS) absurd

 suggestion that FERC would not consider CCS simply because Commonwealth LNG

 had not proposed it (compare DEIS 4-364 with EIS 4-398 to -399), FERC still fails to

 actually make and support a judgment about whether CCS would be feasible or

 environmentally beneficial.

         FERC did not demonstrate that CCS would be infeasible. The EIS reports

 that “Commonwealth states that due to a lack of sequestration infrastructure,

 carbon capture and sequestration are not feasible for this project.” EIS 4-398

 (emphasis added). The EIS does not indicate whether FERC agrees with this



 43 Although the EIS explicitly agrees that capture of pretreatment emissions would

 be feasible, the EIS does not address capture of combustion emission, and provides
 no reason to believe that it would be infeasible to capture these emissions as well.
 EIS 4-398. Other LNG projects, such as Rio Grande LNG, have proposed capture of
 post-combustion emissions.



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 determination of infeasibility. Nor does the EIS provide information that would

 support such a determination. The Denbury Green Pipeline is not “still in

 development,” id., it was completed more than a decade ago, in 2010. 44 And while

 the Gulf Coast Sequestration Project is still in development, its developers recently

 announced an anticipated launch date of 2024. 45 Given the long lifespan of the

 project, FERC cannot limit analysis to sequestration opportunities that would be

 available in the first year of Commonwealth LNG’s operation. Given the volume of

 emissions at issue here, FERC must explore whether it would be feasible and

 beneficial to develop additional sequestration options, rather than limiting

 consideration to already proposed or operational sequestration projects. Moreover,

 the fact that other developers have proposed to incorporate CCS into multiple other

 LNG terminals, including some in Commonwealth LNG’s immediate vicinity,

 further indicates the potential feasibility of CCS. EIS 4-399. As does the fact that

 DOE continues to invest in CCS research. 46




 44 Denbury, Pipeline Network, available at

 https://www.denbury.com/operations/pipeline-network/.

 45 Gulf Coast Sequestration and Climeworks Sign MOU to Develop First Direct Air

 Capture and Storage Hub on the Gulf Coast in Louisiana, Business Wire (Nov. 21,
 2022), available at
 https://www.businesswire.com/news/home/20221121005556/en/Gulf-Coast-
 Sequestration-and-Climeworks-Sign-MOU-to-Develop-First-Direct-Air-Capture-
 and-Storage-Hub-on-the-Gulf-Coast-in-Louisiana.

 46 See U.S. Dept. of Energy, Office of Fossil Energy and Carbon Management, U.S.

 Department of Energy Invests $31 Million to Advance Carbon Capture and Storage
 for Natural Gas Power and Industrial Sectors, available at


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         Because the EIS did not demonstrate that CCS would be infeasible, NEPA

 requires FERC to rigorously explore the environmental impacts of this alternative.

 CCS, especially if applied to combustion emissions rather than merely

 pretreatment, would reduce direct emissions of greenhouse gases and some other

 pollutants, but it would increase water intake and discharge, net energy usage, and

 could have other impacts relating to the sequestration process. NEPA requires

 FERC to take a hard look at these issues, but FERC provided no discussion

 whatsoever here.

                 3.       Storage tanks

         Commonwealth LNG initially proposed a facility with 240,000 cubic meters of

 storage tank capacity, to be provided by six 40,000 m3 tanks. After Commonwealth

 LNG proposed increasing the size of these tanks to 50,000 m3, Sierra Club et al.

 proposed omitting one of the tanks, which would still provide more storage capacity

 than was originally proposed while also allowing Commonwealth LNG to reduce the

 facility footprint.

         The EIS rejects this alternative by acknowledging that it could reduce

 wetland impacts, but by speculating that this environmental benefit would be

 outweighed by an increase in air pollution. EIS 3-46. Specifically, the EIS concludes

 that omitting one storage tank could reduce wetland impacts by 2.3 acres. Id. The




 https://www.energy.gov/fecm/articles/us-department-energy-invests-31-million-
 advance-carbon-capture-and-storage-natural


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 EIS’s assertion that this alternative would increase air pollution rests on an

 unsupported chain of events:

         1. The EIS argues that inclement weather “frequently” closes the ship

             Calcasieu ship channel, but it does not specify how often this occurs.

         2. The EIS indicates that during a prolonged closure, Commonwealth LNG

             may fill its available storage and have nowhere to send additional LNG,

             requiring the facility to shut down. But the EIS does not indicate how long

             this would take (under either storage configuration), or how often such

             closures occur.

         3. The EIS states that such shutdowns will increase air pollution by

             requiring the facility to shut down and then restart, but the EIS does not

             identify which components this applies to, or the emissions associated

             therewith.

         Because the EIS fails to provide any indication of how much more frequently

 shutdown events would occur under a five storage tank alternative, or any

 indication of what the emissions per event would be, the EIS does not even vaguely

 suggest what effect this alternative would have on reasonably foreseeable annual

 emission levels. This falls short of a hard look, and cannot justify rejection of this

 alternative.

         Moreover, for the reasons stated above, the 2.3 acres of impacts to wetlands

 that the EIS dismisses as not a major factor when discussing storage tanks are

 likely enough to enable Commonwealth LNG to use a combined cycle onsite power



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 plant, an alternative that the EIS states would reduce total facility emissions by up

 to 10%. The EIS offers no reason to believe that the increase in flaring related to

 omission of a storage tank would increase emissions by that amount. Thus, insofar

 as FERC must balance impacts to wetlands and habitat against impacts relating to

 air pollution, it seems as though both resources could be better protected by

 omitting one storage tank while simultaneously switching to combined cycle

 electrical generation.


 C.      In violation of NEPA, FERC authorized the Project without
         evaluating a true “no action” alternative.

         NEPA requires that FERC “[e]valuate reasonable alternatives to the

 proposed action” and “include the No-Action Alternative” 47 This alternatives

 analysis must “[r]igorously explore and objectively evaluate all reasonable

 alternatives” to the proposed action, including the “No-Action Alternative” in which

 it is assumed that the project does not go forward. 48

         Applying these principles here, it is clear that FERC’s No-Action Alternative

 is inconsistent with NEPA. Consistent with Council on Environmental Quality

 (CEQ) guidance, FERC correctly identifies that “in instances involving federal

 decisions on proposals for projects, no-action would mean the proposed activity

 would not take place and the resulting environmental effects from taking no-action

 would be compared with the effects of permitting the proposed activity” and that


 47 40 C.F.R. § 1502.14.


 48 City of Shoreacres v. Waterworth, 420 F.3d 440, 450 (5th Cir. 2005)




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                            III.    GREENHOUSE GAS EMISSIONS

         Despite the “tangled web of regulatory processes” 55 that comprise the review

 of an LNG export terminal project, FERC is still required by NEPA and the NGA to

 consider the direct and cumulative effects on climate change in its public interest

 analysis and to determine whether a project’s reasonably foreseeable GHGs are

 significant. 56 As explained in Part I, supra, Section 3 of the NGA provides for two

 independent public interest determinations: One regarding the import or export of

 LNG and one regarding the facilities used to import or export LNG. DOE

 determines whether the import or export of LNG is consistent with the public

 interest, with transactions among FTA countries legislatively deemed to be as

 such. 57 FERC determines whether “an application for the siting, construction,

 expansion, or operation of an LNG terminal” is consistent with the public interest. 58

 In order to evaluate the environmental consequences of the Project under NEPA,

 FERC must consider the harm caused by the Project’s GHGs and “evaluate the

 incremental impact that these emissions will have on climate change or the

 environment more generally.” 59 While quantification of the Project’s direct GHG


 55 Sierra Club v. FERC, 827 F.3d 36, 40 (D.C. Cir. 2016) (hereinafter Freeport I).


 56 40 C.F.R. § 1502.16(a)(1).


 57 15 U.S.C. § 717b(c).


 58 15 U.S.C. § 717b(e).


 59 Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d

 1172, 1216 (9th Cir. 2008).



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 emissions is a necessary step toward meeting FERC’s NEPA obligations, merely

 counting the volume of emissions is insufficient. 60 For direct emissions, FERC’s

 mandate under NEPA and the NGA is crystal clear – it is obliged to make a

 significance determination of a project’s foreseen operational and construction-

 related direct GHG impacts. 61 FERC’s failure to do so here expressly violates

 NEPA, and in turn, poisons FERC’s Section 3 NGA public interest balancing.

         As for indirect emissions, Freeport I was wrongly decided, and further, its

 conclusions as to indirect emissions are functionally void given the DOE’s 2020

 Categorical Exclusion for LNG projects. 62 FERC should have determined the

 significance of the Project’s indirect emissions, and its failure to do so was arbitrary

 and capricious. FERC’s dereliction of this duty was arbitrary and capricious in

 violation of NEPA and unlawful under the NGA.




 60 See Ctr. for Biological Diversity, 538 F.3d at 1216 (“While the [environmental

 document] quantifies the expected amount of CO2 emitted . . . , it does not evaluate
 the ‘incremental impact’ that these emissions will have on climate change or on the
 environment more generally.”); Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land
 Mgmt., 387 F.3d 989, 995 (9th Cir. 2004) (“A calculation of the total number of acres
 to be harvested in the watershed is a necessary component . . . , but it is not a
 sufficient description of the actual environmental effects that can be expected from
 logging those acres.”).

 61 Freeport I, 827 F.3d at 41, 46.


 62 85 Fed. Reg. 78,197.




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 A.      Direct Emissions

         Turning to FERC’s refusal to make a significance determination for direct

 project GHG’s, FERC’s failure is conclusively unlawful under the NGA and NEPA.

         In the Authorization Order, FERC entirely disclaims itself of the ability to

 consider the significance of direct GHG impacts due to an alleged inability to do so.

 In its EIS, FERC explicitly stated that the document is “not characterizing the

 Project’s GHG emissions as significant or insignificant because the Commission is

 conducting a generic proceeding to determine whether and how the Commission will

 conduct significance determinations going forward.” EIS at 4-396. The EIS includes

 an acknowledgement of the Project’s operational emissions, “contextualizing” them

 in comparison to the total GHG emissions of the United States as a whole, and to

 the State of Louisiana. Id. FERC also utilizes social cost of GHG analysis as a

 method of quantifying, in dollars, “estimates of longterm damage that may result

 from future emissions of CO2, nitrous oxide, and methane,” and utilizes values from

 the Interagency Working Group (IWG) on Social Cost of Greenhouse Gases’ interim

 values for calculating the social cost of GHGs, finding that “emissions from

 construction and operation of this Project up to 2050 are calculated to result in a

 total social cost of GHGs equal to $909,939,824, $3,590,938,694, and

 $5,481,667,409, respectively (all in 2020 dollars).” EIS at 4-397.

         While FERC has demonstrated it can indeed apply administrative tools to

 estimate the social cost of the projects it authorizes, disclose those costs, or compare

 project emissions against other numeric benchmarks, it still refuses to engage in


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 making an actual, explicit assessment as to whether Commonwealth LNG’s

 emissions are significant. FERC’s continued refusal to consider the significance of

 the lifecycle climate impacts associated with the gas that will flow through the

 Project is contrary to the “hard look” that NEPA requires. 63 In its Authorization

 Order, FERC concludes that because it “quantified and contextualized the project’s

 construction and operational GHG emissions[,] recognized that the project’s

 contribution to GHG emissions will incrementally contribute to future global

 climate change impacts, and described those potential impacts in the region” it has

 “substantively complied with NEPA[.]” 64 In expressly declining to make an actual

 significance determination for these emissions or provide a rational explanation for

 why it can’t, it plainly has not. 65

         Since its February 2020 order in the Venture Global Calcasieu Pass LNG

 (Calcasieu Pass) terminal project, 66 FERC has engaged in different games of “logical

 hopscotch[,]” 67 where it disclaims the ability to discern the significance of a project’s




 63 Balt. Gas & Elec. Co. v. N.R.D.C., 462 U.S. 87, 97, 103 S.Ct. 2246, 76 L.Ed.2d

 437 (1983).

 64 Authorization Order, 181 FERC ¶ 61,143 at P 76.


 65 Authorization Order, 181 FERC ¶ 61,143 at P 75 (“[T]he Commission is not

 herein characterizing these emissions as significant or insignificant.”).

 66 Venture Global Calcasieu Pass, LLC, 166 FERC ¶ 61,144 (2019).


 67 See, Jordan Cove Energy Project L.P., 171 FERC ¶ 61,136, PP 245, 253 (2020)

 (Rehearing Order) (Glick, Comm’r, dissenting at P 7).



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 climate effects while ultimately concluding that projects are environmentally

 acceptable. Ironically, the only difference between the GHG significance

 ‘conclusions’ in the Authorization Order at issue here and the flawed approach used

 by FERC in Calcasieu Pass (or Jordan Cove, as another example) is that, here,

 FERC acknowledges that the Project will have significant impacts, and that it

 acknowledges it has an obligation to determine the significance of the

 Commonwealth LNG project’s GHGs. 68 Nonetheless, FERC fails to make that

 determination, punting to “some day intentions” to identify, finalize and apply its

 desired method for making significance determinations. EIS at 4-396.

         Also since Calcasieu Pass, including in this EIS, FERC has included national

 and state emissions for “context” and as described, supra, FERC also utilizes the

 social cost of GHGs administrative tool to output a social cost of GHG’s in this

 review. To the extent that FERC actually attempted to substitute these analyses for

 a significance determination about the Project’s climate effects, it must so state, and

 failure to do so is arbitrary and capricious and violates both the NGA and NEPA. 69


 68 Authorization Order, 181 FERC ¶ 61,143 at P 75. In prior orders, where the

 Commission has identified no significant effects, it has disclaimed an ability to
 determine the significance of a project’s climate change effects. Compare Venture
 Global Calcasieu Pass, LLC, 166 FERC ¶ 61,144 (2019), at P 113 (“The Commission
 has also previously concluded it could not determine whether a project’s
 contribution to climate change would be significant”), with id. at P 16 (“All impacts
 form construction and operation of the facilities will be reduced to less than
 significant levels.”).

 69 See Utahns for Better Transp. v. U.S. Dep’t of Transp., 305 F.3d 1152, 1162 (10th

 Cir. 2002) (NEPA “requires agencies to consider environmentally significant aspects
 of a proposed action, and, in so doing, let the public know that the agency’s


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 It is hard to understand what “context” these figures could play if they were not

 utilized to make an unstated significance determination about the Project’s climate

 effects. Additionally, FERC cannot simultaneously proclaim an inability to analyze

 the significance of an acknowledged environmental effect of the Project while

 concluding that the environmental impacts associated with the projects are

 sufficiently acceptable so as to find Commonwealth LNG consistent with the NGA.

         This continual “punt” on its obligation to conduct significance determinations

 defies reason, has been criticized by Commissioners, and was expressly criticized in

 the concurrences to this order. 70 As raised by Chairman Glick, FERC has, in past

 instances, demonstrated that it can indeed engage in such analysis. 71 In refusing to

 assess the significance of the Project’s GHGs, the Authorization Order “effectively

 writes climate change out of the public interest determination entirely.” 72 Relevant

 to the Chairman’s contention, “as a logical matter, the argument that there is no

 single standard methodology for evaluating the significance of GHG emissions does




 decisionmaking process includes environmental concerns.”). The Commission states
 that it includes the national and state emissions quantities to “contextualize the
 project’s proposed emissions[,]” but how the Commission actually uses this figure in
 its analysis is unstated and is unclear.

 70 See Authorization Order, 181 FERC ¶ 61,143 (Glick, Chairman, concurring at P

 3).

 71 N. Nat. Gas Co., 174 FERC ¶ 61,189, at P 32 (2021).


 72 See Venture Global Calcasieu Pass LLC, 166 FERC ¶ 61,144 (2019) (Glick,

 Comm’r, dissenting at P 6 & n.11).



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 not prevent the Commission from adopting a methodology, even if other potential

 methods are available.” 73 Although FERC’s Interim GHG policy statement 74

 remains a draft, FERC nonetheless bears the obligation to engage in a GHG

 significance determination, and its failure to do so for the Commonwealth LNG

 project is arbitrary and capricious. In its initiation, introduction, and approval of its

 Interim GHG policy statement, FERC itself admitted that it has identified some

 potential pathways for making GHG significance determinations. Additionally, in

 this docket and others, FERC has been presented with a number of sound options

 with which it could adopt and utilize to assess whether a project’s CO2 emissions

 are significant. 75


 B.      Indirect Emissions

         Sierra Club et al. and NRDC submitted comments on the DEIS calling on

 FERC to include, in the NEPA analysis, a hard look at the reasonably foreseeable

 environmental impacts upstream of the Project (sourcing the gas to be exported,

 which U.S. Energy Information Administration modeling says will predominantly



 73 Id. at P 7.


 74 Certification of New Interstate Nat. Gas Facilities Consideration of Greenhouse

 Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,197 at P 2
 (2022).

 75 See e.g., Sierra Club et. al., DEIS Comments at 22-23. See also Motion for Leave

 and Supplemental Reply Comments of Natural Resources Defense Council,
 Accession No. 20220923-5190, Docket Nos. PL18-1-000, PL21-3-000 (September 23,
 2022).



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 segmentation and consider “connected” actions. 93 But courts must interpret statutes

 as a whole, and Freeport I ‘s refusal to consider these aspects of the NGA and NEPA

 undermined Freeport I’s conclusions regarding FERC’s NGA authority and NEPA

 obligations. Indeed, DOE and FERC’s apparent post- Freeport I confusion and

 disagreement about where one agency’s authority ends and another begins

 demonstrates that attempting to draw a sharp line between the agencies’

 authorities is unworkable. Thus, we agree with the EPA that Freeport I and

 subsequent cases erred in holding that there was not a reasonably close causal

 chain linking FERC’s approval of export infrastructure to the production and use of

 exported gas, and that FERC therefore could omit such lifecycle effects from NEPA

 review.

         Articulating its intention to comply with its legal obligations as it relates to

 other, unrelated, possible future projects does not equal fulfillment of FERC’s

 obligation to engage in significance assessments for this project.


                IV.     AIR IMPACTS AND ENVIRONMENTAL JUSTICE

 A.      FERC’s determination that Commonwealth LNG’s air pollution
         impacts would be less than significant is arbitrary and unlawful.

         The final EIS also fails to properly evaluate the disproportionate adverse air

 quality impacts that the Commonwealth LNG facility would have in environmental

 justice communities. As such, the EIS fails to provide the rigorous exploration of

 alternatives and mitigation measures that NEPA requires.



 93 827 F.3d at 45-46.


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         In conducting its NEPA review, FERC follows Executive Order 12898, which

 directs federal agencies to identify and address “disproportionately high and

 adverse human health or environmental effects” of their actions on minority and

 low-income populations (i.e., environmental justice communities). 94 As EPA has

 explained, “disproportionately high and adverse effects should trigger the serious

 consideration of alternatives and mitigation actions in coordination with extensive

 community outreach efforts.” 95

         Here, FERC concluded that there are 91 environmental justice communities

 that may be adversely affected by the Commonwealth LNG project, including

 communities as close as 0.1 mile away from the project. 96 And based on air quality

 modeling Commonwealth LNG conducted under the Clean Air Act’s Prevention of

 Significant Deterioration (PSD) program, 97 FERC found “that operation of the




 94 Authorization Order, 181 FERC ¶ 61,143 at P 45; Exec. Order No. 12,898, 59 Fed.

 Reg. 7629 (Feb. 16, 1994); see also 18 C.F.R. § 380.12(g) (2021) (requiring applicants
 for projects involving significant aboveground facilities to submit information about
 the socioeconomic impact area of a project for the Commission’s consideration
 during NEPA review); Commission, Guidance Manual for Environmental Report
 Preparation at 4-76 to 4-80 (Feb. 2017), available at
 https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.

 95 EPA, Final Guidance for Incorporating Environmental Justice Concerns in EPA’s

 NEPA Compliance Analyses § 3.2.2. (Apr. 1998), available at
 https://www.epa.gov/sites/default/files/2015-
 02/documents/ej_guidance_nepa_epa0498.pdf (hereinafter “EPA EJ Guidance”).

 96 Authorization Order, 181 FERC ¶ 61,143 at P 50.


 97 42 U.S.C. § 7475




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 project (including LNG terminal stationary sources and mobile sources) may

 contribute to a potential nitrogen dioxide (NO2) 1-hour National Ambient Air

 Quality Standards (NAAQS) exceedance” and that a “majority of these potential

 exceedances within the modeled area would be within environmental justice

 communities.” 98 FERC nevertheless concluded that Commonwealth LNG would

 have “insignificant” air quality impacts in surrounding environmental justice

 communities. 99 Thus, FERC failed to evaluate alternatives that could avoid or

 minimize those impacts.

          That determination is arbitrary and unlawful, for several reasons. First,

 FERC’s obligation under NEPA to identify and mitigate adverse impacts

 environmental justice communities is fundamentally different, and broader, than

 the “significance” analysis under the Clean Air Act’s PSD program. Specifically,

 under that program, new sources “demonstrate[s]” that their emissions will “not

 cause or contribute” to any violation of the NAAQS. 100 An applicant

 “demonstrate[s]” compliance with the NAAQS with standardized computer

 modeling. 101 If that modeling demonstrates that the source causes or contributes to




 98 Id. at P 63.


 99 Id.


 100 See 42 U.S.C. § 7475; Alaska Dep't of Env’t Conservation v. EPA, 540 U.S. 461,

 470 (2004); Ala. Power Co. v. Costle, 636 F.2d 323, 362 (D.C. Cir. 1979).

 101 See 40 C.F.R. Part 51, App. W §§ 8.1, 8.3, 9.2.




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 a NAAQS violation, the permitting authority cannot issue a PSD permit unless the

 source reduces its impacts or mitigates the predicted NAAQS violation. 102 Even if

 modeling indicates that an area will violate the NAAQS, however, air permitting

 agencies may issue a permit if the source’s modeled impacts are below the

 significant impact level (SIL).

         But the PSD significant impacts analysis looks only at a source’s pollution

 contribution to potential NAAQS violations at a specific location in “time and space”

 that the model predicts will exceed the NAAQS. 103 The analysis says nothing about

 the source’s maximum pollution contribution. Nor does a SILs analysis say

 anything about the cumulative pollution impacts of the proposed project in areas

 that are already suffering from unhealthy air quality.

         In conducting its NEPA review, by contrast, FERC must evaluate all of the

 direct, indirect, and cumulative effects that project may have on environmental

 justice communities, even if the project’s air emissions do not exceed the SIL at the

 precise time and location of any predicted NAAQS violation. Here, FERC’s own air



 102 See, e.g., 40 C.F.R. § 51.165(b)(2) (requiring a major stationary source that

 contributes to the violation of the NAAQS to “reduce the impact of its emissions
 upon air quality by obtaining sufficient emission reductions to, at a minimum,
 compensate for its adverse ambient impact where the major source or major
 modification would otherwise cause or contribute to a violation . . . .”).

 103 EPA guidance indicates that “the significant contribution analysis should be

 based on a source’s contribution to the modeled violation paired in time and space.”
 EPA, Additional Clarification Regarding Application of Appendix W Modeling
 Guidance for the 1-hour NO2, National Ambient Air Quality Standard at 3 (Mar. 1,
 2011) (hereinafter “NO2 Modeling Guidance”).



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 quality modeling indicates that the areas surrounding Commonwealth LNG,

 including numerous environmental justice communities, already experience or are

 likely to experience unhealthy levels of NO2 pollution. A “majority of these potential

 exceedances within the modeled area would be within environmental justice

 communities.” 104 Yet, the EIS fails to evaluate the cumulative, incremental impact

 of Commonwealth LNG’s additional pollution to those areas already suffering from

 unhealthy air.

         Second, FERC’s “insignificance” determination is based on the erroneous

 premise that air pollution is of no concern so long as Commonwealth LNG’s share of

 that pollution is below the so-called SILs used by state permitting agencies to

 assess whether a source contributes to a violation of the NAAQS. 105 As the record

 makes clear, however, Commonwealth LNG is, by itself, responsible for as much as

 37.7 µg/m3 of NO2 pollution, or approximately 20 ppb—well above the SILs and

 above the levels at which EPA has found to result in adverse health impacts.

 Although those impacts do not occur at the precise time and location of modeled

 violations of the NAAQS, the SILs do not represent a threshold below which there is



 104 Authorization Order, 181 FERC ¶ 61,143 at P 63.


 105 Authorization Order, 181 FERC ¶ 61,143 at P 63, n.159 (citing Final EIS at 4-

 387 to 4-388). In the Final EIS, FERC’s discussion of air quality impacts to
 environmental justice communities is based on its evaluation of the Commonwealth
 LNG facility’s air quality impacts under the NAAQS. See EIS 4-387 to 4-388
 (referencing Section 4.11.1, which “addresses” air quality impacts and concludes
 that Commonwealth’s contribution is “bellow” the significant impact level “at each
 exceedance location.” Final EIS at 4-231); see also 4-197 to 4-198.



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 zero-risk. In fact, EPA and courts have recognized that adverse effects from NO2

 may occur at any ambient concentration, and there is no “threshold” NO2

 concentration below which respiratory health effects do not occur. 106 Thus, even if

 Commonwealth LNG’s individual pollution impacts do not exceed the SIL at the

 precise time and location of any NAAQS exceedance, that does not demonstrate that

 the direct and cumulative effects of Commonwealth LNG’s air pollution on human

 health will be insignificant, or that such disproportionate impacts are not cause for

 concern.

         EPA’s reliance on the SILs for NO2 impacts also fails to address or evaluate

 environmental justice communities’ cumulative exposure to multiple pollutants.

 This risk of multiple exposure may not be captured by the NAAQS because EPA

 sets the NAAQS in a context of assessing “acceptable” risks, not eliminating all risk.

 Murray Energy Corp. v. EPA, 936 F.3d 597, 609 (D.C. Cir. 2019). Moreover, NO2

 pollution also contributes to the formation of harmful particulate matter and ozone

 pollution, for which EPA has similarly found that there are no zero-risk thresholds

 below which adverse health effects will not occur. 107 FERC’s myopic focus on the



 106 EPA Integrated Science Assessment for Oxides of Nitrogen—Health Criteria at

 5-92 (Jan. 2016), available at
 https://cfpub.epa.gov/ncea/isa/recordisplay.cfm?deid=310879; see also NAAQS for
 Nitrogen Dioxide, 75 Fed. Reg. 6,474, 6,480, 6,500 (Feb. 9, 2010); Am. Trucking
 Ass’n, Inc. v. EPA, 283 F.3d 355, 359-360 (D.C. Cir. 2002) (NO2 is recognized as a
 pollutant for which no threshold of exposure fully protects human health).

 107 EPA, Policy Assessment for the Reconsideration of the National Ambient Air

 Quality Standards for Particulate Matter at 3-25, 3-30, 3-31, 3-33, 3-51 (May 2022),
 available at https://www.epa.gov/system/files/documents/2022-


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 SILs fails to account for the cumulative pollution impacts of NO2, including ozone

 and particulate matter formation that may disproportionately affect environmental

 justice communities.

         Despite those impacts and the widespread predicted exceedances of the

 NAAQS across the Lake Charles area, FERC failed to conduct no further analysis of

 adverse and disproportionate impacts on environmental justice communities. Nor

 did FERC give any “serious consideration of alternatives and mitigation actions in

 coordination with extensive community outreach efforts.” 108 In failing to do so,

 FERC arbitrarily and unlawfully failed to take a hard look at the impacts of

 Commonwealth’s significant air pollution on environmental justice communities,

 and whether those impacts could be avoided or minimized. 109




 05/Final%20Policy%20Assessment%20for%20the%20Reconsideration%20of%20the
 %20PM%20NAAQS_May2022_0.pdf; see also 80 Fed. Reg. 65,292, 65,355/2-3 (Oct.
 26, 2015) (EPA’s ozone NAAQS); accord 80 ed. Reg. 65,334/2-3.

 108 EPA, Final Guidance for Incorporating Environmental Justice Concerns in EPA’s

 NEPA Compliance Analyses § 3.2.2. (Apr. 1998), available at
 https://www.epa.gov/sites/default/files/2015-
 02/documents/ej_guidance_nepa_epa0498.pdf (hereinafter “EPA EJ Guidance”).

 109 Cf. Friends of Buckingham v. State Air Pollution Control Bd., 947 F.3d 68, 86, 92

 (4th Cir. 2020) (finding the Board’s state law environmental justice analysis
 incomplete when it failed to consider “the potential degree of injury to the local
 population independent of NAAQS”); see also Rise St. James et al. v. Louisiana Dep’t
 Envtl. Quality, Docket No. 694,029, Sec. 27 (19th Dist. La. Sept. 8, 2022) (vacating a
 PSD permit and the agency’s environmental justice analysis, in part, based on the
 agency’s arbitrary reliance on SILs to conclude that no harm would occur, despite
 impacts below the SIL).



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         Third, courts have rejected the use of SILs as a blanket exemption from the

 requirement to fully evaluate and mitigate harmful air pollution impacts. The

 Clean Air Act requires Commonwealth LNG to demonstrate that emissions from the

 proposed LNG facility “will not cause or contribute” to “any” exceedance of the

 applicable air quality standard. 110 It is clear—“no” means no 111—and, as shown by

 the repeated use of “any,” the statutory mandate must be given broad, sweeping

 effect. 112 Indeed, this is the very sort of “rigid” statutory language that forecloses de

 minimis exemptions. 113 Reliance on SILs to avoid consideration of alternatives or

 minimize pollution impacts is also contrary to the core purposes of the Clean Air

 Act: to prevent incremental, cumulative additions of pollution from deteriorating air

 quality. 114




 110 42 U.S.C. § 7475(a)(3)(A)-(B) (emphasis added).


 111 See United States v. Clintwood Elkhorn Mining Co., 553 U.S. 1, 7 (2008).


 112 See Consumer Electronics Ass’n v. FCC, 347 F.3d 291, 298 (D.C. Cir. 2003) (“the

 Supreme Court has consistently instructed that statutes written in broad, sweeping
 language should be given broad, sweeping application.”); see also Clintwood Elkhorn
 Mining, 553 U.S. at 7 (“Five ‘any’s’ in one sentence and it begins to seem that
 Congress meant the statute to have expansive reach.”); Massachusetts v. EPA, 549
 U.S. 497, 528-29 (2007) (“repeated use of the word ‘any’” demonstrated that
 statutory language was “sweeping” in its protective reach).

 113 See Public Citizen v. Young, 831 F.2d at 1111-13 (quoting statutory language

 whose “natural—almost inescapable—reading” requires certain action and finding
 that language is rigid).

 114 Alabama Power, 636 F.2d at 362.




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         Consistent with those principles and statutory text, in 2013, the D.C. Circuit

 vacated EPA’s SILs regulation for fine particulate matter (“PM2.5”), recognizing

 EPA’s “lack of authority to exempt sources from the requirements of the Act.” 115 The

 court specifically rejected the premise—which FERC erroneously adopts in its

 Authorization Order—that a source does not contribute to violations of the NAAQS

 simply because “a proposed source or modification’s air quality impact is below the

 SIL.” Id. 116 FERC’s willingness to ignore adverse air pollution impacts to

 environmental justice communities based solely on the fact that Commonwealth’s

 contribution to NAAQS violations is estimated to be below the SILs is contrary to

 Clean Air Act precedent and arbitrary. This is especially true given the large

 predicted exceedances of the NO2 NAAQS in the area surrounding the

 Commonwealth LNG facility, as discussed below.

         Finally, even the SILs were relevant to FERC’s significance inquiry (and they

 are not), EPA has made clear that use of the SILs “may not be appropriate” and

 “misuse[d]” where, as here, modeling shows that the area is already exceeding the

 NAAQS. 117 In such cases, “[a]dditional discretion may need to be exercised in such



 115 Sierra Club v. EPA, 705 F.3d 458, 465–66 (D.C. Cir. 2013).


 116 See also Rise St. James et al. v. Louisiana Dep’t Envtl. Quality, Docket No.

 694,029, Sec. 27 (19th Dist. La. Sept. 8, 2022) (vacating a PSD permit and the
 agency’s environmental justice analysis, in part, based on the agency’s arbitrary
 reliance on SILs to conclude that no harm would occur, despite impacts below the
 SIL).

 117 75 Fed. Reg. 64,864, 64,894 (Oct. 10, 2020); EPA, Guidance on SILs for Ozone

 and Fine PM in the PSD Program, p. 3 (2018) (citing 75 FR 64864, 64892 and


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 cases to ensure that public health is protected.” 118 That is because pollution

 increases within the SIL can still cause or contribute to nonattainment. 119 By way

 of example, if a proposed source will emit NO2 that has a potential contribution of

 37.7 µg/m3, or more than 20% of the NAAQS (as the Commonwealth modeling

 projects), 120 it plainly has the potential to tip an area that is at or near the NAAQS

 (like Lake Charles) into nonattainment, and therefore adversely affect public health

 in those communities.

         Moreover, for environmental justice communities in and around Lake

 Charles that are already violating or projected to violate the NAAQS, any increase

 in NO2 will cause the violation to persist and make it harder to cure. Those very

 real, cumulative contributions to unhealthy air quality in environmental justice

 communities cannot be reasonably characterized as insignificant or de minimus,




 Memorandum from Stephen D. Page, EPA OAQPS, to EPA Regional Air Division
 Directors, “Guidance for PM2.5 Permit Modeling,” May 20, 2014), available at
 https://www.epa.gov/sites/production/files/2018-
 04/documents/sils_policy_guidance_document_final_signed_4-17-18.pdf (attached).

 118 NO2 Modeling Guidance at 1, 10; see also EPA, Guidance Concerning the

 Implementation of the I-hour NO NAAQS for the Prevention of Significant
 Deterioration Program at 5 (June 29, 2010) (Where “the applicant can show that the
 NOx emissions increase from the proposed source will not have a significant impact
 at the point and time of any modeled violation, the permitting authority has
 discretion to conclude that the source's emissions do not cause or contribute” to an
 exceedance of the NAAQS) (PSD Guidance).

 119 See 75 Fed. Reg. at 64,892, 64,894/2.


 120 EIS at 4-227, Table 4.11.1-8; see also Final EIS, App’x I.




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 even if, for the purposes of PSD permitting evaluation, Commonwealth LNG itself is

 not projected to exceed the “significant impact level” at a violating modeling

 receptor location. 121

         But that is exactly what FERC’s use of the NO2 SIL would do. As the record

 makes clear, air quality in the area surrounding Commonwealth LNG is expected to

 significantly exceed the NAAQS. In fact, FERC’s own modeling shows that the

 maximum 1-hour NO2 concentration in the area is 229 µg/m3—exceeding the

 NAAQS by more than 20%. EIS at 4-229. That estimate almost certainly

 underestimates the extent and scope of NO2 exceedances in the area. Using

 Commonwealth LNG’s own PSD modeling inputs, and after expanding the size of

 the receptor grid and number of receptors in the area, Wingra Engineering

 conducted an updated, independent modeling analysis demonstrating a maximum

 NO2 concentration of 1,537 µg/m3 in Cameron and Calcasieu Parishes—

 approximately eight times the NAAQS. 122



 121 EPA guidance indicates that “the significant contribution analysis should be

 based on a source’s contribution to the modeled violation paired in time and space.”
 EPA, Additional Clarification Regarding Application of Appendix W Modeling
 Guidance for the 1-hour NO2,National Ambient Air Quality Standard at 3 (Mar. 1,
 2011) (hereinafter “NO2 Modeling Guidance”).

 122 Modeling Comments of Steven Klafka, P.E., BCEE, Wingra Engineering, S.C.,

 Commonwealth LNG Commonwealth Parish, Louisiana, Evaluation of Compliance
 with the 1-hour NAAQS for NO2 (Mar. 18, 2022) (Klafka Report), filed in this docket
 as an attachment to Sierra Club et al. Comments on DEIS, Accession 20220525-
 4151 (starting at pdf page 119 of 131 of the attachment “Sierra Club PSD
 Comments”). Moreover, as discussed in the technical report of Dr. Ron Sahu,
 Commonwealth has almost certainly underestimated its projected emissions, and
 therefore Commonwealth’s air quality modeling almost certainly underestimates


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         In sum, FERC failed to take a hard look at the adverse health or

 environmental effects of the Commonwealth LNG project on minority and low-

 income populations, as required under NEPA and Commission precedent. As the

 record demonstrates, Commonwealth LNG’s emissions, together with other sources

 in the region, will contribute to significant exceedances of the NAAQS, and a

 “majority of these potential exceedances within the modeled area would be within

 environmental justice communities,” including a community just 0.1 mile away

 from the facility. 123 Moreover, FERC’s own modeling shows that Commonwealth

 LNG, by itself, will cause NO2 pollution impacts to adjacent communities that do

 exceed the SIL and the levels at which harm to public health, especially sensitive

 populations, may occur. Under these circumstances, FERC’s reliance on the SIL to




 the impact of those emissions. Exhibit A, Comments of Dr. Ranajit (Ron) Sahu,
 PhD, QEP, CEM, and Ms. Vicki Stamper, Initial Title V Operating Permit No.
 0560-00997-V0 and Prevention of Significant Deterioration Permit PSD-LA-841 For
 the Commonwealth LNG LLC Facility, Cameron Parish, Louisiana (Sahu Report).
 As detailed in the Sahu Report, Commonwealth LNG’s PSD analysis repeatedly and
 systematically relied on generic, unsupported, and unlawful emission factors that
 operate to minimize Commonwealth LNG’s projected total emissions, including its
 projections of NOx emissions. As a result of those generic emission factors, it is
 difficult to quantify precisely the extent to which the facility’s emissions will exceed
 the assumptions Commonwealth used in its modeling—but as Dr. Sahu explains,
 those actual emission will certainly will be higher than Commonwealth suggests.
 And given that Commonwealth LNG’s own modeling indicated that Commonwealth
 LNG’s NO2 impacts are just narrowly below the 7.5 µg/m3 SIL, FERC’s reliance on
 the SILs is inappropriate.

 123 Authorization Order at P 50.




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 conclude that Commonwealth LNG will nevertheless have insignificant impacts to

 such communities is arbitrary.


 B.      The Commission’s environmental justice analysis is problematic and
         not comport with the “hard look’ NEPA requires, and the Project’s
         related environmental justice impacts are inconsistent with the
         public interest.


         “[E]nvironmental justice is not a merely box to be checked[.]” 124 Here FERC’s

 EIS does just that; supplanting one conclusion that a particular class of impact is

 significant 125 for a true, adequately-scoped, holistic hard look at environmental

 justice impacts.

         FERC should actually disclose the actual health impacts that communities

 could face related to a project and its pollutants. In conducting NEPA reviews of

 proposed natural gas projects, FERC follows the instruction of Executive Order

 12898, which directs federal agencies to identify and address “disproportionately

 high and adverse human health or environmental effects” of their actions on

 minority and low-income populations (i.e., environmental justice communities). If

 the Project could lead to adverse health impacts or effects, FERC should spell those

 impacts out in its EIS. FERC staff appear to acknowledge that the classes of

 emissions that Commonwealth LNG will emit can indeed have health-related

 impacts to humans, and that “NAAQS attainment alone may not ensure there is no

 localized harm to such populations due to project emissions of volatile organic



 124 Friends of Buckingham, 947 F.3d 68, 92 (4th Cir. 2020).
 125 Authorization Order at P 26.


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 compounds, hazardous air pollutants, as well as issues such as the presence of non-

 project related pollution sources, local health risk factors, disease prevalence, and

 access (or lack thereof) to adequate care.” EIS at 4-198. We agree with this

 acknowledgement, but find that FERC’s own admission of the fact that NAAQS

 attainment does not inherently correlate with a conclusion that related health

 impacts of pollutants are “cured” highlights a glaring error with FERC not

 expressly disclosing related health effects and impacts associated with a project,

 and is particularly problematic as area cancer and asthma rates are well above the

 national average. 126 There is no reason why FERC’s environmental justice analysis

 in this (and previous) EISes need not include some disclosure of the actual impacts

 to human health that project air pollutants could cause, and doing so would be

 wholly consistent with FERC’s duties under NEPA to take a hard look at potential,

 reasonably foreseeable environmental impacts. 127 Simply disclosing related health

 risks associated with project pollutants would more comport with that duty than




 126 See Authorization Order, 181 FERC ¶ 61,143 (Glick, Chairman, concurring at P

 5) (citing Kimberly A. Terrell & Gianna St. Julien, Air Pollution Is Linked to
 Higher Cancer Rates Among Black or Impoverished Communities In Louisiana,
 Environ. Res. Lett. 17 (Jan. 2022), available at:
 https://iopscience.iop.org/article/10.1088/1748-9326/ac4360/pdf, attached).

         127 Compare with EIS at 4-117, where the Commission analyzes physiological

 effects of construction-related dredging on fish. “Potential physiological effects
 include mechanical abrasion of surface membranes, delayed larval and embryonic
 development, reduced bivalve pumping rates, and interference with respiratory
 functions. Possible behavioral effects from increased turbidity include interference
 with feeding for sight-foraging fish and area-avoidance.” Similar analysis could be
 done for the physiological effects of related project pollutants for human health.


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 merely acknowledging that NAAQS attainment does not mean that a project will

 not impact human health, as the FERC did here.

         FERC’s EIS correctly found that due to the presence of significant visual

 impacts on an environmental justice community and overall cumulative impacts in

 the project area, impacts on environmental justice communities would be

 disproportionately high and adverse. EIS at 5-415. Relatedly, environmental

 condition 1 in the appendix of the order requires Commonwealth LNG to implement

 the mitigation measures described in the “Commonwealth Facility Lighting Plan 128”

 and requires it to plant native sugarberry (Celtis laevigata) trees of 15-25-gallon

 size on 15-foot centers approximately 30 feet inside Commonwealth LNG’s exclusion

 fence for approximately 150 feet on the upland chenier area (i.e., their typical

 landscape position). FERC notes that “although these trees will provide some level

 of visual screening, the mature height of the native trees of the Chenier Plain is

 relatively low compared to the LNG facility’s structures, which will still be visible”

 and that “although Commonwealth is required to implement the mitigation

 described above, significant direct and cumulative visual impacts would still occur

 and cumulative visual impacts on environmental justice communities would remain

 disproportionately high and adverse. 129

         The disproportionately high and adverse visual impacts are but one more

 indication that the Project will have deeply negative impacts on the environmental




 129 See Authorization Order at P 72.


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 justice communities surrounding the project area, and that the project is squarely

 contrary with the public interest, in violation of the NGA. Furthermore, while

 FERC is correct in characterizing visual impacts as disproportionately high and

 adverse, it can only characterize the Project impacts that it considers and

 discloses—FERC’s overall environmental justice analysis remains unlawfully

 meager despite NRDC’s and others’ DEIS comments requesting more robust review.

 Related to environmental justice impacts, the EIS falls short of NEPA’s mandate

 that FERC take a hard look at Project impacts. Ultimately, because FERC’s

 analysis of the Project’s impacts on environmental justice communities was

 deficient, FERC must also revisit its determinations of public interest and

 convenience under Sections 3 of the NGA. 130


                                              V.     SPECIES

 A.      The EIS fails to take a hard look at the impacts of pile driving
         activities on the Lake Calcasieu stock of bottlenose dolphins, in
         violation of NEPA.

         FERC’s review of Commonwealth LNG’s impacts on bottlenose dolphins

 violates both NEPA and the NGA. in various ways. First, FERC violated NEPA by

 depriving the public of a meaningful opportunity comment on the impacts by failing

 to properly introduce these impacts in the DEIS. Second, FERC’s failure to properly

 take a hard look at the Project’s impact on bottlenose dolphins poisoned FERC’s

 Section 3 NGA analysis. We address both issues below.


 130 See Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,

 1331 (D.C. Cir. 2021).


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                                      182 FERC ¶ 62,033
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION


        Commonwealth LNG, LLC                                          Docket No. CP19-502-002

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                             (January 19, 2023)

               Rehearing has been timely requested of the Commission’s order issued on
        November 17, 2022, in this proceeding. Commonwealth LNG, LLC, 181 FERC ¶ 61,143
        (2022). In the absence of Commission action on a request for rehearing within 30 days
        from the date it is filed, the request for rehearing may be deemed to have been denied.
        15 U.S.C. § 717r(a); 18 C.F.R. § 385.713 (2021); Allegheny Def. Project v. FERC,
        964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 15 U.S.C. § 717r(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 15 U.S.C. § 717r(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Debbie-Anne A. Reese,
                                                          Deputy Secretary.




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                                                                          Washington, D.C. 20004-1304
                                                                          Tel: +1.202.637.2200 Fax: +1.202.637.2201
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         Kimberly D. Bose, Secretary
         Federal Energy Regulatory Commission
         888 First Street, N.W.
         Room 1A, East
         Washington, D.C. 20426


                Re:      Venture Global CP2 LNG, LLC and Venture Global CP Express, LLC
                         Docket Nos. CP22-21-000 and CP22-22-000
                         Supplemental Response to Environmental Information Request No. 3

         Dear Secretary Bose:

                 On December 2, 2021, Venture Global CP2 LNG, LLC and Venture Global CP Express,
         LLC (together, the “Applicants”) filed in these proceedings, pursuant to Sections 3 and 7 of the
         Natural Gas Act, as amended, and Parts 153 and 157 of the regulations of the Federal Energy
         Regulatory Commission (“Commission”) respectively, a joint application for authorization to
         construct, install, own, operate and maintain certain liquefied natural gas facilities located in
         Cameron Parish, Louisiana and certain pipeline facilities located in Louisiana and east Texas
         (the “Projects”).

                 The Commission Staff issued its Environmental Information Request No. 3 (“EIR No.
         3”) in this proceeding on July 15, 2022. On July 21, 2022, the Applicants filed their initial
         response to EIR No. 3. Attached are the Applicants’ first supplemental response to EIR No. 3.
         This supplemental information is filed under oath pursuant to 18 C.F.R. § 385.2005 by the
         named individuals identified as respondents to each request.

                This filing is submitted in two Volumes. Public Volume I contains this transmittal letter
         and public responses. Volume II contains cultural resources information that is privileged and
         confidential (“Privileged”). The undersigned requests, pursuant to 18 C.F.R. § 388.112, that the




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         Kimberly D. Bose, Secretary
         Docket Nos. CP22-21-000 and CP22-22-000
         July 22, 2022


         information in Volume II not be released to the public. All Privileged materials have been
         labeled in accordance with the Commission’s regulations.

                The Applicants respectfully renew their request that the Commission issue as soon as
         possible a revised schedule for the issuance of the draft and final EIS for the Projects, and that it
         minimize the length of any delay in the previous schedule.

                 Pursuant to 18 C.F.R. § 385.2010, this filing is being served on each person on the
         official service list for this proceeding. If you have any questions regarding this filing, please
         contact either of the representatives listed below.



                                                                Respectfully submitted,


                                                                /s/ J. Patrick Nevins

                                                                J. Patrick Nevins
                                                                Carlos E. Clemente

                                                                Latham & Watkins LLP
                                                                patrick.nevins@lw.com
                                                                carlos.clemente@lw.com
                                                                D (202) 637-3363
                                                                D (202) 637-2269

                                                                Counsel to:
                                                                Venture Global CP2 LNG, LLC and
                                                                Venture Global CP Express, LLC


         cc:    Kylee Ferrara, FERC Staff
                All parties on the official service list




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                      Venture Global CP2 LNG, LLC and Venture Global CP Express, LLC
                  Response to OEP/DG2E/Gas Branch Environmental Information Request (EIR)
                       Issued July 15, 2022 in Docket Nos. CP22-21-000 and CP22-22-000
                                    CP2 LNG and CP Express Project (Project)

         General

             1.    As stated in the cover letter, provide responses to all comments filed in the
                   Environmental Information Requests (EIRs) issued February 11 and April 11,
                   2022 that were omitted from the response to EIR dated March 4, March 31,
                   April 22, May 2, May 20, June 13, June 30, and July 13, 2022 or provide a
                   projected filing date as indicated below, including the following:

                       a. Provide details regarding CP2 LNG’s proposed carbon capture
                          and sequestration (CCS), including the following information. If
                          details are pending, provide a projected filing date:
                             i. a description and location of all associated facilities (e.g.,
                                  capture equipment, sequestration wells, and pipeline);
                            ii. description of impacts on land use type and acreage, water
                                  resources (including number of impacted waterbodies), safety,
                                  air and noise, and any other impacted resources;
                           iii. any permits that would be required and ensure an updated
                                  table 1.9-1 is provided; and
                           iv. provide all correspondence with permitting agencies, as
                                  applicable, regardless as to whether consultations are ongoing.

         Response 1-a:

         As noted in CP2 LNG’s Application, the CCS facilities are not within the Commission’s Natural
         Gas Act (NGA) jurisdiction; CP2 LNG will pursue all necessary regulatory authorizations for this
         aspect of the Project as the Commission’s processing of the Application progresses.

        Of course, CO 2 is not “natural gas” within the meaning of the term in the NGA, nor is it oil or a
        similar hydrocarbon liquid subject to regulation under the Interstate Commerce Act; thus, the
        Commission has no statutory basis for asserting jurisdiction over CP2’s planned CCS facilities. 1
        The recent report to the U.S. Congress by the White House Council on Environmental Quality
        regarding Carbon Capture, Utilization, and Sequestration provides an inventory of existing
        permitting requirements for CCS deployment and identifies best practices for advancing the



         1
                See Cortez Pipeline Co., 7 FERC ¶ 61,024 (1979) (holding that CO2 is not “natural gas” under the
        NGA and disclaiming jurisdiction over CO2 pipeline) and Cortez Pipeline Co., 45 Fed. Reg. 85,177 (1980)
        (holding by the Commission’s predecessor, the Interstate Commerce Commission, reaching the same
        conclusion under the Interstate Commerce Act).




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        efficient, orderly, and responsible development of CCS projects at increased scale. 2 Notably,
        the report does not identify any role for this Commission in that area.

        The CCS facilities will be subject to regulation by the U.S. Environmental Protection Agency
        (EPA), which requires an Underground Injection Control (UIC) Class VI permit for the geological
        sequestration, as well as other Federal and State agencies (as detailed in attachment General
        1-a). Therefore, there also is no need for Commission jurisdiction over the proposed CCS
        facilities.

        Furthermore, as an analogous example, the Commission recently considered an application to
        modify the approved design and operation of an LNG export facility to incorporate systems to
        extract helium from the boil-off gas pipeline of the LNG terminal’s pretreatment facility. 3 In
        authorizing the modifications, the Commission held specifically that the jurisdictional aspects of
        the facilities proposed were limited to the tie-in points to LNG pretreatment facility, as opposed
        to the entirety of the proposed helium extraction facility. 4 Similarly here, the jurisdictional
        aspects of the CCS facilities are limited to the tie-ins to the Commission-jurisdictional facilities.

             i.   The Carbon Capture and Sequestration (CCS) Project (CCS Project) will capture carbon
                  dioxide from the CP2 LNG Terminal and transport it for injection into a subsurface saline
                  aquifer for permanent storage. As a voluntary investment commitment without regard for
                  Best Available Control Technology (BACT) mitigation, the CCS Project will capture and
                  sequester an estimated 500,000 tons per year of carbon dioxide emissions from CP2 LNG
                  Terminal operations.
                  The CCS system will be located within and outside of the Terminal. Detailed engineering
                  is ongoing for the CCS system; an overview of the design is provided below.
                  Facilities within the Terminal Site

                  The carbon capture equipment will be within the Terminal site. The equipment will route
                  carbon dioxide from the Acid Gas Removal Unit (AGRU) vent stream to three electric-
                  driven compressors with interstage coolers and vessels for water knock-out. After
                  compression to super-critical pressure, pumps will raise the pressure sufficient to enter a
                  pipeline for transport offsite. An aeroderivative simple cycle combustion turbine will be
                  installed as part of the Terminal’s electric generation facilities to provide the additional
                  electric capacity required to operate the CCS Project’s three electric equipment units.

                  Facilities outside of the Terminal Site

                  It is anticipated that the carbon dioxide send-out pipeline will be installed via horizontal


         2
                  Council on Environmental Quality June 30, 2021 Report to Congress on Carbon Capture,
        Utilization, and Sequestration - Delivered to the Committee on Environment and Public Works of the
        Senate and the Committee on Energy and Commerce, the Committee on Natural Resources, and the
        Committee on Transportation and Infrastructure of the House of Representatives, as directed in Section
        102 of Division S of the Consolidated Appropriations Act, 2021 available at
        https://www.whitehouse.gov/wp-content/uploads/2021/06/CEQ-CCUS-Permitting-Report.pdf.
        3
                  Freeport LNG Development, L.P., 175 FERC ¶ 61,237 (2021).
        4
                  Id. at P 19.




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                 directional drill (HDD) under the southern portion of the Terminal’s floodwall. The carbon
                 dioxide pipeline will continue south approximately 3 miles to an offshore platform in State
                 of Louisiana waters. The wellhead for the EPA UIC Class VI injection well will be at the
                 platform, where the carbon dioxide will be injected into underground pore space that is
                 expected to be authorized for use via an operating agreement that has been negotiated
                 with the State of Louisiana for permanent storage and which is expected to receive final
                 state approval in the coming months. The pipeline alignment, platform location, and well
                 location are in the siting stage of project development.

          ii.    Impacts on land use type and acreage, water resources, and air for facilities within the
                 CP2 LNG Terminal were previously addressed in impact tables provided to FERC. Noise
                 generated by operation of the CCS equipment within the Terminal will be incorporated into
                 the Terminal’s noise modeling report.

                 The initial portion of the carbon dioxide pipeline will be installed via HDD, which will extend
                 from the entry point within the floodwall to an exit point south of the beach and within the
                 Gulf of Mexico. The nearshore drilled pipeline will tie into the offshore conventionally laid
                 carbon dioxide pipeline. Except for the CCS Project components within the Terminal and
                 the offshore platform, no other CCS system components will be located on the surface,
                 minimizing permanent land use impacts during operations.

                 Impacts outside the Terminal site cannot be further described at this time. The pipeline
                 alignment, platform location, and well location are in the siting stage of project
                 development. Impacts on land use type and acreage, water resources, air, and noise will
                 be reviewed under the CCS Project permitting (see attachment General 1-a).

          iii.   A preliminary permit table for the CCS Project is provided as attachment General 1-a.
                 The CCS Project will not change CP2 LNG’s regulatory authorizations because
                 components of the CCS Project within the Terminal Site require no change or modification
                 to the CP2 LNG permit applications. The additional aeroderivative simple cycle
                 combustion turbine required to provide electric capacity for the electric-driven CCS
                 compressors is included in the CP2 LNG Terminal’s air permit application, which is
                 planned for submittal to the Louisiana Department of Environmental Quality (LDEQ) by
                 July 29, 2022 and will be provided to FERC promptly thereafter.

          iv.    CP2 LNG will begin consultations with agencies in the third quarter of 2022 for the CCS
                 Project. The operating agreement with the Louisiana Department of Natural Resources
                 for the subsurface pore space is expected to be finalized before the end of 2022.

         Attachment:
                General 1-a, CCS Project Permits, Approvals, and Consultations Table




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                                                                                                         Office of
                                                                                                         Energy Projects




      FERC/FEIS-0333                                                                                              July 2023


                        CP2 LNG and CP Express Project
                     FINAL ENVIRONMENTAL IMPACT STATEMENT

Venture Global CP2 LNG, LLC                                                                    Docket No. CP22-21-000
Venture Global CP Express, LLC                                                                 Docket No. CP22-22-000
                                                                Abstract:
The staff of the Federal Energy Regulatory Commission (Commission) prepared a final environmental impact statement (EIS) for the CP2
LNG and CP Express Projects proposed by Venture Global CP2 LNG, LLC (CP2 LNG) and Venture Global CP Express, LLC (CP
Express). CP2 LNG and CP Express are seeking authorization to construct, install, own, operate, and maintain certain liquefied natural gas
(LNG) facilities in Cameron Parish, Louisiana and certain pipeline facilities in Cameron and Calcasieu Parishes, Louisiana and Jasper and
Newton Counties, Texas. CP2 LNG states that the purpose of the proposed project is to liquefy, store, and export a nameplate liquefaction
capacity of 20 million tonnes per annum (MTPA) of LNG, with approximately 28.0 MTPA capacity possible under optimal conditions, to
overseas markets by ocean-going vessels. CP Express states that the purpose of the pipeline system (about 91 miles) is to create the firm
transportation capacity needed to transport 4.4 billion cubic feet per day of feed gas required for the proposed LNG export operations from
natural gas supply points in east Texas and southwest Louisiana to the Terminal Facilities. CP2 LNG and CP Express proposed impact
avoidance, minimization, and mitigation measures and Commission staff recommend additional measures in this EIS. Commission staff
conclude that construction and operation of the project would result in adverse environmental impacts. For most resources, impacts on the
environment would be less than significant. Commission staff determined that construction and operation of the project would have
significant adverse effects on the visual resources of the surrounding areas, including cumulative visual impacts, and visual impacts on
environmental justice communities in the region. Lastly, climate change impacts are not characterized in the EIS as significant or
insignificant.

                                     Estimate of Staff’s Time Spent in Preparation of this EIS: $303,015.00
                                                     Cooperating agencies cost: $15,667.00
                                                       There were no direct contract costs.

                                           Contact: Office of External Affairs, (866) 208-FERC
                                                Federal Energy Regulatory Commission
                                                        Office of Energy Projects
                                                         Washington, DC 20426

                                                            Cooperating agencies:




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 Traffic Study provided in response to our recommendation in the draft EIS and CP2 LNG’s Traffic
 Management Plan (see section 4.10.8.1).

         Operation of the Project would have a minor positive effect on the local governments’ tax revenues
 due to the increase in property taxes that would be collected. Operation of the Terminal Facilities would
 have permanent but minor impacts on roadway transportation and operation of the Pipeline System would
 not result in significant impacts on traffic or roadways.

          During the draft EIS comment period, we received several comments from individuals expressing
 concern regarding the impact of the Project on commercial fisheries and shrimping. Based on consultations
 between FERC and LDWF, impacts on shrimping vessels would be greatest near the Terminal south of the
 Firing Line where shrimping occurs year-round and vessel traffic and dredging associated with the Terminal
 Facilities would occur. CP2 LNG committed to continuing the development of an Engagement Plan for
 Local Commercial Shrimp Fishery9 to minimize impacts on shrimping vessels and would provide updates
 on its engagement effort and on Community Advisory Group meetings within the monthly construction
 reports.

 Environmental Justice

          The proposed Project would have a range of impacts on the environment and on individuals living
 in the vicinity of the Project facilities, including environmental justice populations. Seventeen block groups
 out of 31 block groups within the geographic scope of the Project are environmental justice communities.
 Of the 17 block groups, five block groups10 within the Project’s area of review are identified as
 environmental justice communities based on the minority population that either exceeds 50 percent or is
 meaningfully greater than their respective counties/parishes. Eight block groups11 within the Project’s area
 of review are identified as environmental justice communities based on a low-income population that is
 equal to or greater than their respective counties/parishes. Four block groups12 within the Project’s area of
 review have both minority and low-income populations that are equal to or greater than their respective
 counties/parishes. For the Terminal Facilities, six block groups (two based on the minority threshold alone
 [CT 9701.02, BG 1 and CT 9701.01, BG 1] three based on the low-income threshold alone [CT 9702.02,
 BG 2; CT 9701.01, BG 2; CT 9702.03, BG 2] and one based on both the minority and low-income
 thresholds [CT 9702.03, BG 1]) out of eight are considered environmental justice block groups. For the
 CP Express Pipeline and Enable Gulf Run Lateral, six block groups (one based on the minority threshold
 alone [CT 9701.02, BG 1] and five based on the low-income threshold alone [CT 9701.01, BG 2; CT
 9702.02, BG 2; CT 34, BG 1; CT 9504, BG 1; CT 36.02, BG 1]) out of 15 are considered environmental
 justice block groups. For the contractor yards, six of the block groups (three based on the low-income
 threshold alone [CT 34, BG 1; CT 35, BG 2; and CT 35, BG 4], two based on the minority threshold alone
 [CT 16, BG 3 and CT 17, BG 4], and one based on both the minority and low-income thresholds [CT 16,
 BG 1]) are considered environmental justice block groups. The Moss Lake Compressor Station is within
 one mile of only one block group (CT 32, BG 2), which is not considered an environmental justice
 community. For the meter stations, three block groups (one based on the minority threshold alone [CT 35,
 BG 1] and two based on the low-income threshold alone [CT 9702.02, BG 2 and CT 36.02, BG 1) out of
 eight are considered environmental justice block groups. For the three park and ride locations, all four of
 the block groups (one based on the low-income threshold alone [CT 9702.02, BG 2] one based on the


 9    See attachment EIR 10 Socioeconomics-2 at accession number 20230522-5195.
 10   Census Tract (CT) 35, Block Group (BG) 1; CT 9701.01, BG 1; CT 9701.02, BG 1; CT 16, BG 3; and CT 17, BG 4
 11   CT 34, BG 1; CT 36.02, BG 1; CT 9504, BG 1; CT 9701.01, BG 2; CT 9702.02, BG 2; CT 9702.03, BG 2; CT 35, BG 2; and
      CT 35, BG 4
 12   CT 9702.03, BG 1; CT 17, BG 5; CT 17, BG 6; and CT 16, BG 1



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 2.1.1.4 Flare System

          At the Terminal Site, CP2 LNG would install a warm/cold flare structure approximately 197-feet-
 tall containing two separate flare headers to handle cold relief fluids and wet/warm relief fluids, a low-
 pressure vent flare structure approximately 70 feet tall for low-velocity, low pressure flaring, and a marine
 vapor control unit for marine flaring activities. More information regarding flaring is provided in sections
 4.11 and 4.12.

 2.1.1.5 Storm Protection and Stormwater Drainage Systems

          CP2 LNG would construct a storm protection system to encompass the majority of the Terminal
 Facilities. Perimeter steel floodwalls would be constructed to protect the site against storm surge and
 potential wave action, as shown in figure 2.1-1. Further information regarding the storm protection system
 of the Terminal Facilities is provided in section 4.12.

        Stormwater from the main plant area would be discharged to receiving waters near the Terminal
 Site. LDEQ would regulate the outfalls under the Louisiana Pollutant Discharge Elimination System
 (LPDES) program, as further discussed in section 4.4.2.1.

 2.1.1.6 Carbon Capture and Sequestration Facilities

        CP2 LNG would construct a system that contains equipment to capture and sequester an estimated
 500,000 tons per year of CO2 emissions for transport and injection into saline aquifers.36 The CCS system
 would be within and outside of the Terminal Site.

          The carbon capture equipment within the Terminal Site would route CO2 from the acid gas removal
 unit vent stream to three electric-driven compressors with interstage coolers and vessels for water knock-
 out. After compression to supercritical pressure, pumps would raise the pressure sufficient to enter a
 pipeline for transport offsite. CP2 LNG would install an aeroderivative simple cycle combustion turbine
 as part of the Terminal Site’s electric generation facilities to provide the additional electric capacity required
 to operate the three electric equipment units associated with the CCS system.

          The CCS facilities described above would be subject to regulation by the EPA as well as other
 federal and state agencies. For purposes of our NEPA analysis, we evaluate the CCS facilities within the
 footprint of the LNG Terminal as FERC jurisdictional components of the Project. CCS Facilities outside
 of the Terminal Site are evaluated as non-FERC jurisdictional facilities in this EIS, and are described further
 in section 1.4.

 2.1.1.7 Buildings and Facility Roads

        The Terminal Facilities would include separate permanent buildings for administration, control
 rooms, a workshop, a warehouse, electrical equipment, and other support structures. The Terminal Site
 would be accessed by road from Lake Charles via SH 27 from either the east or the west, connecting to
 Davis Road. No access roads would be constructed for the Terminal Site.




 36   The wellhead for the injection well will be at the platform, where the carbon dioxide will be injected into underground pore
      space that is expected to be authorized for use via an operating agreement that has been negotiated with the State of Louisiana
      for permanent storage; final approval with the state is pending.



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                      CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of October, 2023, I

 electronically filed the foregoing Joint Appendix with the Clerk of the

 Court using the CM/ECF system, which will send notice of such filing

 to all registered CM/ECF users.

                                   /s/ Nathan Matthews
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